           Case 8:22-bk-10949-SC                    Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                    Desc
                                                    Main Document    Page 1 of 494                                                            7/06/22 3:40PM




Fill in this information to identify the case:

Debtor name         Fitness Anywhere LLC

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA

Case number (if known)     8:22-bk-10949-SC
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration    Statement of Related Cases, Statement of Financial Affairs

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       July 6, 2022                    X
                                                             Signature of individual signing on behalf of debtor

                                                             Mark Reis
                                                             Printed name

                                                             Chief Financial Officer
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
          Case 8:22-bk-10949-SC                      Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                                   Desc
                                                     Main Document    Page 2 of 494                                                                       7/06/22 4:30PM




                                 STATEMENT OF RELATED CASES
                              INFORMATION REQUIRED BY LBR 1015-2
               UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceeding(s).)
None

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
   complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
   and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
   any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
None

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
   pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
   that was filed with any such prior proceeding(s).)
None

I declare, under penalty of perjury, that the foregoing is true and correct.
Executed at      Portland, OR                                      , California.
                                                                                                     Mark Reis
Date:            July 6, 2022                                                                        Signature of Debtor 1



                                                                                                      Signature of Debtor 2




                  This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

October 2018                                                              Page 1              F 1015-2.1.STMT.RELATED.CASES
           Case 8:22-bk-10949-SC                                         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                                                     Desc
                                                                         Main Document    Page 3 of 494                                                                                            7/06/22 4:30PM


Fill in this information to identify the case:

Debtor name           Fitness Anywhere LLC

United States Bankruptcy Court for the:                      CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA

Case number (if known)              8:22-bk-10949-SC
                                                                                                                                                                                  Check if this is an
                                                                                                                                                                                      amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                      $      33,553,972.40

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                     $      33,553,972.40


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      19,375,000.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $       1,943,736.73

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$      22,036,848.39


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                            $        43,355,585.12




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
            Case 8:22-bk-10949-SC                 Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                  Desc
                                                  Main Document    Page 4 of 494                                                         7/06/22 4:30PM


Fill in this information to identify the case:

Debtor name        Fitness Anywhere LLC

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA

Case number (if known)      8:22-bk-10949-SC
                                                                                                                      Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                            12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest
2.         Cash on hand                                                                                                                      $424.00



3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                  Last 4 digits of account
                                                                                                 number


           3.1.   WoodForest National Bank                       Checking                        7087                                 $953,995.60




           3.2.   WoodForest National Bank                       Checking                        8002                                           $0.00




           3.3.   Wells Fargo                                    Checking                        7880                                   $1,513.90




           3.4.   WoodForest National Bank                       Checking                        7996                                           $0.00




           3.5.   WoodForest National Bank                       Checking                        7970                                           $0.00




           3.6.   HSBC                                           Checking                        1317                                        $439.55


Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                                            page 1
         Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                     Desc
                                                 Main Document    Page 5 of 494                                             7/06/22 4:30PM



Debtor          Fitness Anywhere LLC                                            Case number (If known) 8:22-bk-10949-SC
                Name



4.       Other cash equivalents (Identify all)


         4.1.    Bill.com Clearing Account                                                                                 $36,320.88




         4.2.    Concur Expense Report Clearing                                                                            $18,681.14




         4.3.    DIT - Stripe                                                                                             $100,681.58




         4.4.    DIT - Affirm                                                                                                    $0.00




         4.5.    DIT - Stripe for TTC                                                                                            $0.00




         4.6.    DIT - Heartland/Cybersource                                                                                     $0.00




         4.7.    Amazon US DIT                                                                                            $400,996.83




         4.8.    Amazon Canada DIT                                                                                         $16,970.88




         4.9.    Amazon Pay DIT                                                                                                  $0.00



         4.10
         .    Amazon Mexico DIT                                                                                             $8,665.12



         4.11
         .    Amazon UAE DIT                                                                                                $6,339.74



         4.12
         .    Amazon Austrailia DIT                                                                                        $23,152.02



         4.13
         .    Payoneer                                                                                                         $65.09




Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                              page 2
            Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                    Main Document    Page 6 of 494                                                     7/06/22 4:30PM



Debtor            Fitness Anywhere LLC                                                     Case number (If known) 8:22-bk-10949-SC
                  Name


           4.14
           .    PayPal Ecommerce XS5GY                                                                                                $11,996.05



           4.15
           .    Undeposited Funds                                                                                                     $15,364.20




5.         Total of Part 1.                                                                                                   $1,595,606.58
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Deposits for Inventory                                                                                           $172,291.94




           7.2.     VAT on Purchases UAE                                                                                                $423.71




           7.3.     Canada GST & QST Taxes Receivable                                                                                 $64,471.94




           7.4.     Austrailia GST Paid                                                                                                $3,281.23




           7.5.     Canada GST/HST on Purchases                                                                                       $18,171.85




           7.6.     Deposit held by TMA Worldwide for Ontario WH                                                                      $15,261.20




           7.7.     Kuehne & Nagel Fulfillment Warehouse deposit                                                                      $42,438.92




           7.8.     DHL Hong Kong Supply Chain Fullfillment Warehouse deposit                                                         $49,856.20




           7.9.     Receiver General of Canada deposit                                                                                $92,518.23



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                      page 3
            Case 8:22-bk-10949-SC                     Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                      Main Document    Page 7 of 494                                                    7/06/22 4:30PM



Debtor            Fitness Anywhere LLC                                                     Case number (If known) 8:22-bk-10949-SC
                  Name


           7.10
           .    Deposit held by CH Robinson                                                                                            $3,000.00



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     See Exhibit 8 hereto                                                                                             $898,232.42




9.         Total of Part 2.                                                                                                    $1,359,947.64
           Add lines 7 through 8. Copy the total to line 81.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable
           11a. 90 days old or less:                  4,193,454.39      -                                 0.00 = ....              $4,193,454.39
                                        face amount                          doubtful or uncollect ble accounts




12.        Total of Part 3.                                                                                                    $4,193,454.39
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:           Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.
                                                                                                    Valuation method used   Current value of
                                                                                                    for current value       debtor's interest

14.        Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                     Interest in Fitness Anywhere International,
           15.1.     LLC                                                        100         %                                          Unknown



                     Interest in Fitness Anywhere Europe
           15.2.     Coöperatief U.A.                                           99          %                                          Unknown


                     Interest in Fitness Anywhere UK Limited
                     (interest as a result of Debtor's interest in
           15.3.     Fitness Anywhere Europe Cooperatief U.A)                               %                                          Unknown




Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                     page 4
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                   Main Document    Page 8 of 494                                                   7/06/22 4:30PM



Debtor       Fitness Anywhere LLC                                                     Case number (If known) 8:22-bk-10949-SC
             Name

                  Interest in TRX Training Japan Co. Ltd.
                  (interest as a result of Debtor's interest in
          15.4.   Fitness Anywhere Europe Cooperatief U.A)                               %                                         Unknown



16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
          Describe:


17.       Total of Part 4.                                                                                             Unknown

          Add lines 14 through 16. Copy the total to line 83.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No. Go to Part 6.
    Yes Fill in the information below.
          General description               Date of the last         Net book value of         Valuation method used    Current value of
                                            physical inventory       debtor's interest         for current value        debtor's interest
                                                                     (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale
          See Exhibit 21 hereto for
          details                           12/31/2021                      $20,866,878.69     Std. Cost                     $20,866,878.69



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                $20,866,878.69
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
           No
           Yes
25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                              Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes
Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No.   Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 5
Case 8:22-bk-10949-SC   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                Desc
                        Main Document    Page 9 of 494




                                  *Schedule 39-45 includes the Debtor’s office furniture, fixtures, and equipment. Certain line
                                  items have been consolidated in accordance to their General Description. For example, multiple
                                  lines of “Software” were consolidated into one line item and consolidated one amount.
          Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                                 Desc
                                                                                                                                                          7/0ffl2 4:30PM
                                                  Main Document    Page 10 of 494
 Debtor       Fitness Anywhere LLC                                                            Case number (JtknownJ 8:22-bk-10949-SC
             Name


          ■ No
          □ Yes
liililllll Real property
54. Does the debtor own or lease any real property?

   □ No. Go to Part 10.
   ■ Yes Fill in the information below.
55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and               Net book value of              Valuation method used            Current value of
          property                              extent of                debtor's interest              for current value                debtor's interest
          Include street address or other       debtor's interest        (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. Leasehold interest in
                  lease warehouse
                  space located at 1477
                  Cedar Street, Unit A
                  and B, Ontario, CA,
                  San Bernardino
                  County.                       Leasehold                             Unknown                                                            Unknown




 56.      Total of Part 9.                                                                                                                      Unknown
          Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
          Copy the total to line 88.

57.       Is a depreciation schedule available for any of the property listed in Part 9?
          ■ No
          □ Yes
 58.      Has any of the property listed in Part 9 been appraised by a professional within the last year?
          ■ No
          □ Yes
- Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?
                                                  *The exclusion of any intellectual property shall not be construed as an admission that such intellectual property rights
   □ No. Go to Part 11.                           have been abandoned, terminated, assigned, expired by their terms, or otherwise transferred pursuant to a sale,
                                                  acquisition, or other transaction. Conversely, inclusion of certain intellectual property shall not be construed to be an
   ■ Yes Fill in the information below.           admission that such intellectual property rights have not been abandoned, terminated, assigned, expired by their terms,
                                                  or otherwise transferred pursuant to a sale, acquisition, or other transaction.
          General description                                            Net book value of              Valuation method used              Current value of
                                                                         debtor's interest              for current value                  debtor's interest
                                                                         (Where available)

60.       Patents, copyrights, trademarks, and trade secrets
          Various copyrights. See attached Exhibit 60.                                Unknown                                                            Unknown



61.       Internet domain names and websites
          Various Domain Names - See Exhibit 61/64
          hereto                                                                      Unknown                                                            Unknown




62.       Licenses, franchises, and royalties
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                          page 7
           Case 8:22-bk-10949-SC                    Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                     Desc
                                                    Main Document    Page 11 of 494                                                           7/06/22 4:30PM



Debtor        Fitness Anywhere LLC                                                          Case number (If known) 8:22-bk-10949-SC
              Name



63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property
           Intangible Marketing Assets for Fitness
           Anywhere LLC                                                              $250,241.80     SLAmoritization                       $250,241.80


           Intangible Marketing Assets for
           TRXperienceCo                                                             $265,728.34                                           $265,728.34


           Various IP - See Exhibit 61/64 hereto                                           $0.00                                                   $0.00



65.        Goodwill

66.        Total of Part 10.                                                                                                            $515,970.14
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                                  Current value of
                                                                                                                                  debtor's interest


71.        Notes receivable
           Description (include name of obligor)
                                                                       137,000.00 -                                      0.00 =
           Note receivable from Physmodo.                        Total face amount        doubtful or uncollectible amount                 $137,000.00



72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)
           CARES Act Employee Retention Credit Refund. Value
           provided is an estimate and asset is contingent upon,
           among other things, taxing agency approval.                                        Tax year                                   $1,800,000.00



73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                            page 8
Case 8:22-bk-10949-SC                      Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                               Desc
                                           Main Document    Page 12 of 494




                                                                               *In the ordinary course of its business, the Debtor may have accrued, or may
                                                                               subsequently accrue, certain rights to counter-claims, setoffs, refunds, or potential
                                                                               warranty Claims against vendors. Additionally, the Debtor may be a party to
                                                                               pending litigation in which the Debtor has asserted, or may assert, Claims as a
                                                                               plaintiff or counter-Claims as a defendant. Because such Claims are potentially
                                                                               unknown to the Debtor and not quantifiable as of the Petition Date, they are not
                                                                               listed on Schedule AB 74 or 75. The Debtor’s failure to list any contingent and/or
                                                                               unliquidated claim held by the Debtor in response to these questions shall not
                                                                               constitute a waiver, release, relinquishment, or forfeiture of such claim.




*Despite reasonable efforts to identify all known assets, the Debtor may not have listed all of its causes of action or potential causes of action against third-
parties as assets in the Schedules and Statements, including, without limitation, causes of actions arising under the provisions of chapter 5 of the Bankruptcy
Code and any other relevant non-bankruptcy laws to recover assets or avoid transfers. The Debtor reserves all of its rights with respect to any cause of action
(including avoidance actions), controversy, right of setoff, cross-Claim, counter-Claim, or recoupment and any Claim on contracts or for breaches of duties
imposed by law or in equity, demand, right, action, lien, indemnity, guaranty, suit, obligation, liability, damage, judgment, account, defense, power, privilege,
license, and franchise of any kind or character whatsoever, known, unknown, fixed or contingent, matured or unmatured, suspected or unsuspected, liquidated
or unliquidated, disputed or undisputed, secured or unsecured, assertable directly or derivatively, whether arising before, on, or after the Petition Date, in
contract or in tort, in law, or in equity, or pursuant to any other theory of law (collectively, “Causes of Action”) it may have, and the Schedules and Statements
shall not be deemed a waiver of any Claims or Causes of Action or in any way prejudice or impair the assertion of such Claims or Causes of Action.
            Case 8:22-bk-10949-SC                                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                                   Desc
                                                                 Main Document    Page 13 of 494                                                                          7/06/22 4:30PM



Debtor          Fitness Anywhere LLC                                                                                Case number (If known) 8:22-bk-10949-SC
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                        $1,595,606.58

81. Deposits and prepayments. Copy line 9, Part 2.                                                             $1,359,947.64

82. Accounts receivable. Copy line 12, Part 3.                                                                 $4,193,454.39

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                         $20,866,878.69

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                      $3,050,114.96

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $515,970.14

90. All other assets. Copy line 78, Part 11.                                                    +              $1,972,000.00

91. Total. Add lines 80 through 90 for each column                                                       $33,553,972.40             + 91b.                       $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $33,553,972.40




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 10
                           Case 8:22-bk-10949-SC           Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                        Desc
                                                                SCHEDULE B ‐ Page
                                                           Main Document     EXHIBIT
                                                                                  148of 494


Schedule A/B: Part 2, Question 8 ‐ Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
SCHEDULE B ‐ EXHIBIT 8
          Name of Holder of the Prepayment                          Description of the Prepayment                         Current Value of Debtor's Interest
                                                    10IUENDI2122 Carrier Hartford Accident & Indemnity Co
                                                    Policy Business Auto Period : 11/30/21 to 11/30/22 Renewal
Alliant Insurance Services, Inc.                    Business Premium                                                                                      $2,309.07

                                                   Policy number LHR793008 Insurance Carrier Landmark
                                                   American Insurance Co Policy Professional Liability ‐ Other
Alliant Insurance Services, Inc.                   Period : 11/30/21 to 11/30/22 Renewal Business Premium                                                $4,366.33
                                                   Policy number SCI273610931 Insurance Carrier Great
                                                   American Insurance Company Policy Executive Risk
                                                   Management Liability Period : 11/30/21 to 11/30/22 Renewal
Alliant Insurance Services, Inc.                   Business Premium                                                                                      $1,048.57
                                                   Policy number UC2402909321 Insurance Carrier Hiscox
                                                   Insurance Company Inc Policy Foreign Package Period :
Alliant Insurance Services, Inc.                   12/26/21 to 12/26/22 Renewal Business Premium                                                         $1,932.79

                                                   Policy number 10UUNHH8155 Insurance Carrier Hartford Fire
                                                   Insurance Company Policy Commercial Package Period :
Alliant Insurance Services, Inc.                   11/30/21 to 11/30/22 Renewal Business Premium                                                         $8,566.86

                                                   Policy number BGPR005807 Insurance Carrier Berkley
                                                   Assurance Company Policy Product Recall Liability Period :
Alliant Insurance Services, Inc.                   11/30/21 to 11/30/22 Renewal Business Premium                                                       $11,501.30

                                                   Policy number OC91561900 Insurance Carrier AGCS Marine
                                                   Insurance Company Policy Open Cargo Liability Period :
Alliant Insurance Services, Inc.                   11/30/21 to 11/30/22 Renewal Business Premium                                                         $4,075.59

                                                   Policy number 10CPGHH8906 Insurance Carrier Hartford Fire
                                                   Insurance Company Policy Foreign Package Period : 11/30/21
Alliant Insurance Services, Inc.                   to 11/30/22 Renewal Business Premium                                                                  $9,169.48
                                                   Period : 11/30/21 to 11/30/22 ‐ Down Payment ‐‐ Insurance
Alliant Insurance Services, Inc.                   67100 Insurance 980 Legal                                                                           $35,284.32




                                                                               1 of 5
                          Case 8:22-bk-10949-SC     Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                  Desc
                                                         SCHEDULE B ‐ Page
                                                    Main Document     EXHIBIT
                                                                           158of 494


          Name of Holder of the Prepayment                  Description of the Prepayment                   Current Value of Debtor's Interest

                                             Domo BI Tool ‐ Amortize over 2 years August 2020 ‐ July 2022
Domo                                         66100 Hosted Software Services and the 700 IT department                                      $2,909.48
                                             Platform Access License Professional. Professional Bundle
                                             Authorized Users. Bronze Support + Education Bundle.
                                             Professional Bundle Includes 5 Authorized User Licenses.
                                             Amortize over 2 years 66100 Hosted Software Services and
Domo                                         the 700 IT department                                                                        $26,979.32
                                             Renewal 2022 Platform Access License ‐ Professional
                                             Professional Bundle ‐ Includes 25 Authorized User Licenses
                                             Professional Bundle ‐ Includes 5 Authorized User Licenses
Domo                                         Bronze Support + Education Bundle                                                            $41,702.84
                                             SI Maven Coalition TRX Joint Marketing Agreement ‐‐
SI Maven Coalition                           Amortise over 36 months                                                                     $400,000.00
                                             Video Cloud Essential Video Cloud Gold Support Gallery Pro
Brightcove Inc.                              Edition Nov 30 2021 to Nov 29 2022                                                            $8,143.06
                                             Monthly streaming service Service period 05/01/2022 to
Feed Media Inc.                              07/31/2022 ( 66100 Hosted Software ; 710 Exp Co )                                            $22,083.33
                                             June 17‐19 2020 Campus Rec Leadership Summit Sponsorship
                                             Amortize to 69160 Convention & Networking Events 110
Peake Marketing LLC                          Commercial                                                                                   $10,000.00
                                             Product Yotpo Powerhouse Annual ‐ Recurring Visual UGC ‐
                                             Recurring Extra Domain (VMS) ‐ Discount ‐ 100.00% May 04,
Yotpo Inc                                    2022 ‐ Nov 03, 2022                                                                           $7,305.54
Peake Marketing LLC                          2022 Club Solutions Leadership Retreat Sponsorship                                           $11,995.00
                                             2020 Club Solutions Leadership Retreat Sponsorship ‐ Sept
                                             2020 Trade Shows and 110 Commercial ‐ Roll into 2021 due
Peake Marketing LLC                          to COVID                                                                                      $4,947.75
                                             2020 Club Solutions Leadership Retreat Sponsorship ‐ Sept
                                             2020 Trade Shows and 110 Commercial 2 / 2 ‐ Roll into 2021
Peake Marketing LLC                          due to COVId                                                                                  $4,947.75

                                             Explore Professional Subscription 03/30/2022‐06/29/2022
                                             Quarter trxtraining Support: Collaboration Subscription
Zendesk                                      03/30/2022‐06/29/2022 Quarter trxtraining                                                     $3,086.60



                                                                        2 of 5
                            Case 8:22-bk-10949-SC   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                     Desc
                                                         SCHEDULE B ‐ Page
                                                    Main Document     EXHIBIT
                                                                           168of 494


        Name of Holder of the Prepayment                     Description of the Prepayment                     Current Value of Debtor's Interest
                                             Funds required for Deposit 61500 Online Marketing 100
OperationROI, LLC                            ecomm ‐ do not amortize until finance instructs                                                  $3,100.00
                                             First50% ‐ Booth for Athletic Business Show ( 61700 Trade
                                             Shows ; 110 Commercial) NOV. 4‐5, 2020 Baltimore, MD ‐
Athletic Business Media, Inc.                Moved to 2021 due to Covid                                                                       $3,050.00
                                             Brand Connect Plus ‐ Enterprise Edition Webdam Enterprise
                                             Edition (10th April 2022 ‐ 9th July 2022 ) LIC‐0003 Webdam
                                             Connector for Creative Cloud User Licenses (Silicon Publishing)
Bynder LLC                                   LIC‐0062                                                                                        $10,632.08
                                             TRX Training | Final Custom Strategy 4.27.22 ‐‐ Contract term ‐
Power Digital Marketing, Inc.                5/15/2022‐11/14/2022 (61600 and 350)                                                            $37,071.43
                                             Service
                                             HR and People Catalog ‐ Standard
                                             Language Package ‐ Foundry
                                             API (Application Program Interface)
                                             Adding Custom Survey question for 1 course
                                             Equity, Acceptance, and Respect: Global Harassment &
EverFi, Inc                                  Discrimination Prevention                                                                        $2,305.56
Degree, Inc (DBA Lattice)                    Performance & Engagement Mar 1 ‐ Sep 1, 2022                                                     $3,253.60
                                             Slack Enterprise Plan ‐‐ 01/14/22 to 01/13/23 ‐‐ 66100 Hosted
Slack Technologies, Inc.                     Software Services & 700 Technology /IT                                                          $20,296.97
                                             WMS Advanced Package (allowance of 5 customers) at a
                                             monthly rate of $655.99, SmartParcel Platinum 20 at a
                                             monthly rate of $425.00, for the term starting 04/01/2021
3PL Central LLC                              and ending 03/31/22                                                                                    $0.01

                                             SmartParcel Platinum 20 at a monthly rate of $425.00, for the
                                             term starting 04/01/2022 and ending 03/31/2023.
                                             SmartParcel High Volume at a monthly rate of $25.00, for the
                                             term starting 04/01/2022 and ending 03/31/2023. FTP
                                             Connection at a monthly rate of $50.00, for the term starting
3PL Central LLC                              04/01/2022 and ending 03/31/2023.                                                                $3,177.92
                                             12/16/2021 ‐‐ ShipperHQ Account Annual Renewal for 2
                                             accounts on Pro Plan. ‐‐01/30/22 to 01/29/23 ‐‐ 66100 Hosted
Zowta LLC ‐ ShipperHQ                        Software & 700 Technology                                                                        $1,423.89



                                                                         3 of 5
                           Case 8:22-bk-10949-SC   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                    Desc
                                                        SCHEDULE B ‐ Page
                                                   Main Document     EXHIBIT
                                                                          178of 494


        Name of Holder of the Prepayment                    Description of the Prepayment                    Current Value of Debtor's Interest
                                            Razuna Hosted Edition $199/month including 500 GB,
Helpmonks LLC                               Workflow, custom domain                                                                         $1,599.19
                                            Additional Fees – Professional Support Service Service Period:
                                            09/30/2021 – 09/29/2022 Avalara AvaTax – Service Charge
                                            Service Period: 09/30/2021 – 09/29/2022 Avalara AvaTax —
Avalara Inc                                 Platform Charge                                                                                $22,570.57
                                            eSignature DocuSign CLM‐‐ 07/15/2021‐07/14/2022 Amortize
DocuSign                                    to 66100 Hosted SS and 700 IT                                                                   $2,891.87

Alliant Insurance Services, Inc.            Period : 12/26/20 to 01/10/22 ( 67100 Insurance & 980 Legal )                                   $1,559.70

Alliant Insurance Services, Inc.            Period : 11/30/21 to 11/30/22 ( 67100 Insurance & 980 Legal )                                  $41,402.99
                                            Period : 01/10/22 to 01/10/23 ( 67100 Insurance & 980 Legal )
Alliant Insurance Services, Inc.            ‐‐ Policy N0 : AXISO0000592001                                                                  $2,606.37
GS1 US ‐ GSIU01                             Renewal Period : 09/01/2021 ‐‐ 08/31/2022                                                        $253.61
                                            Customer Success Plan Silver Package monday.com Work OS ‐
monday.com Ltd                              Enterprise Plan Jan 5 2022 to Jan 4 , 2023                                                      $5,684.00
Concur Technologies                         IT related Expenses ( 1st April'22 to 30th June'22 ) )                                           $528.61
                                            2022 Crunch Convention Sponsorship ( 61700 Trade Show ;
Crunch Franchising, LLC                     110 Commercial )                                                                               $11,277.78
                                            Vendor Partner Program 2022 ( 61700 Trade Show & 110
Advanced Exercise                           Commercial )                                                                                    $1,409.72
                                            2021 Anytime Fitness Annual Conference ‐ Nov 4‐6 2021 ‐
Anytime Fitness                             61700 Trade Show and Events                                                                     $8,000.00
                                            Nov 26, 2021 ‐ Nov 26,
LoginRadius Inc.                            2022 ‐‐ Business ‐ Annual & Essential Integrations ‐‐                                          $16,107.36

Fitness Industry Suppliers Association      October 4‐6, 2021 (Mon‐Wed), Loews Coronado Bay Resort                                          $7,000.00
                                            TRX Management fees ‐‐ Quaterly Billing , Q2 , 2022 ‐‐ 63200
Equity 38, LLC                              Prof Fees , 930 Finance                                                                        $25,555.56

Crackyl Media Inc.                          Magazyne ‐‐ April to Dec'2022 ( 140 Retail , Advertisement )                                    $3,604.17
                                            Item Description Workday Enterprise Cloud Application
Workday Inc.                                Subscription Fee Downloadable Software                                                         $24,347.02
                                            New Content Management Software‐ April 2022 ‐ October
Canto Inc                                   2022                                                                                            $8,444.05


                                                                       4 of 5
                        Case 8:22-bk-10949-SC     Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06            Desc
                                                       SCHEDULE B ‐ Page
                                                  Main Document     EXHIBIT
                                                                         188of 494


        Name of Holder of the Prepayment                  Description of the Prepayment             Current Value of Debtor's Interest
                                           ChartHop Scale APR 7, 2022 ‐ APR 7, 2023 ( Amortize to
                                           Hosted Software Services ‐HR from Apr 2022 through Apr
ChartHop, Inc.                             2023 )                                                                                  $6,723.42




                                                                     5 of 5
                           Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                        Desc
                                                                Main Document    Page 19 of 494


Schedule A/B: Part 3, Question 11 ‐ Accounts receivable
Exhibit 11 to
Schedule B
                                                                 Doubtful or
  3: AR Aged <90                                                 Uncollectible    Current Value of
       (face)         3: AR Aged >90 (face)     Face Amount       Accounts       Debtor's Interest                                 Due From
$       184,659.23    $        123,499.18     $    308,158.41                    $     308,158.41    TRAN0001 Transatlantic Fitness GmbH
$       240,138.66    $                 ‐     $    240,138.66                    $     240,138.66    2127862875 Woot Services, LLC
$       241,884.59    $         (28,414.22)   $    213,470.37                    $     213,470.37    2127835524 LA Fitness ‐ PARENT
$       158,670.35    $          43,158.79    $    201,829.14                    $     201,829.14    FITN0042 Fitnessmith Inc. ‐ USE THIS ONE
$        96,018.13    $          24,165.51    $    120,183.64                    $     120,183.64    DSG01_WHSE Dick's Sporting Goods ‐ Whlse
$        17,376.95    $          91,390.12    $    108,767.07                    $     108,767.07    WBCG0001 Boxout
$        86,265.65    $           4,897.12    $     91,162.77                    $      91,162.77    0001 Advanced Exercise Equipment ‐ Use This One!
$        84,645.00    $                 ‐     $     84,645.00                    $      84,645.00    2128711234 Spreetail
$        84,600.00    $                 ‐     $     84,600.00                    $      84,600.00    2128669315 XXL
$        82,975.83    $                 ‐     $     82,975.83                    $      82,975.83    GoodLife Fitness ‐ PARENT
$        82,142.04    $          (9,332.02)   $     72,810.02                    $      72,810.02    2127764185 Recreational Equipment Inc.
$        60,054.39    $          12,088.57    $     72,142.96                    $      72,142.96    2127664073 Club Pilates‐ Corporate
$        66,432.93    $                 ‐     $     66,432.93                    $      66,432.93    MEFI0001 MEFITPRO
$        29,531.35    $          36,183.90    $     65,715.25                    $      65,715.25    AMAZONVC Amazon Vendor Central US
$          8,073.20   $          56,353.08    $     64,426.28                    $      64,426.28    FUNC0009 Functional Fitness SRL ‐ NT
$        55,397.65    $           3,855.48    $     59,253.13                    $      59,253.13    POWE0002 Power Plate Mexico USE
$        65,538.65    $          (6,784.56)   $     58,754.09                    $      58,754.09    2128479450 Best Buy
$               ‐     $          58,245.11    $     58,245.11                    $      58,245.11    2128585928 834TH TRANSPORTATION BN / MOTCO
$        57,214.58    $                 ‐     $     57,214.58                    $      57,214.58    FITA0001 Fitagon GmbH
$        18,857.39    $          35,969.55    $     54,826.94                    $      54,826.94    2128361880 Fitness Supply ‐ USE THIS ONE
$               ‐     $          52,310.93    $     52,310.93                    $      52,310.93    2128668465 EVOLVE HEALTH AND FITNESS PTY LTD
$        48,756.84    $            (570.00)   $     48,186.84                    $      48,186.84    POWE0005 Power Systems
$        47,150.75    $            (805.42)   $     46,345.33                    $      46,345.33    MFAT0001 MF Athletic Company
$        44,030.57    $           1,926.45    $     45,957.02                    $      45,957.02    2127768937 Academy Sports and Outdoors
$               ‐     $          44,614.26    $     44,614.26                    $      44,614.26    2127677456 FitDist Sports Limited ‐ NT
$        43,084.81    $                 ‐     $     43,084.81                    $      43,084.81    2127779394 Apple iTunes Connect
$        39,593.08    $            (163.53)   $     39,429.55                    $      39,429.55    ENER0001 EnerG Wellness ‐ USE
$        38,140.64    $           1,210.72    $     39,351.36                    $      39,351.36    DIRE0001 Direct Fitness Solutions, LLC *** USE THIS ONE
$        38,413.46    $                 ‐     $     38,413.46                    $      38,413.46    52852207 Transatlantic Fitness Italia Srl
$               ‐     $          36,412.23    $     36,412.23                    $      36,412.23    2128485042 HiTone Fitness ‐ NT
$        36,075.89    $                 ‐     $     36,075.89                    $      36,075.89    2128080903 NovoFit
$        32,434.75    $                 ‐     $     32,434.75                    $      32,434.75    52814962 Orangetheory Fitness‐ PARENT



                                                                                 1 of 14
                           Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                       Desc
                                                                Main Document    Page 20 of 494


                                                                 Doubtful or
  3: AR Aged <90                                                 Uncollectible    Current Value of
       (face)         3: AR Aged >90 (face)     Face Amount       Accounts       Debtor's Interest                                 Due From
$        32,020.44    $                 ‐     $     32,020.44                    $      32,020.44    2127761820 Fit Supply ‐ USE THIS ONE
$        31,202.62    $              30.53    $     31,233.15                    $      31,233.15    F1 Rec Fitness Mgmt Pte Ltd
$        30,630.12    $                 ‐     $     30,630.12                    $      30,630.12    LIFE0065 Lifefitness
$               ‐     $          30,381.01    $     30,381.01                    $      30,381.01    2128429571 Golds Gym Phoenix ‐ NT
$        30,326.79    $                 ‐     $     30,326.79                    $      30,326.79    2127607627 Fitness in Motion/MyFitnessStore‐USE
$               ‐     $          29,159.30    $     29,159.30                    $      29,159.30    2128468847 FED/VA Tennessee Valley Healthcare System
$        29,002.08    $                 ‐     $     29,002.08                    $      29,002.08    A2ZF0001 A2Z Fitness
$        28,766.50    $              (0.09)   $     28,766.41                    $      28,766.41    2128650740 Xcel Fitness Products
$               ‐     $         28,237.91     $     28,237.91                    $      28,237.91    2128395668 Hitachi Capital America Corp
$        29,796.84    $          (1,964.24)   $     27,832.60                    $      27,832.60    BSNS0002 BSN Sports ‐ PARENT
$            540.00   $         26,805.45     $     27,345.45                    $      27,345.45    2128465572 GFS (Global Fitness Services)
$        27,300.88    $                 ‐     $     27,300.88                    $      27,300.88    2128707918 Amped Fitness‐Parent Florida
$        26,506.96    $                 ‐     $     26,506.96                    $      26,506.96    ActiveAid
$               ‐     $          25,236.79    $     25,236.79                    $      25,236.79    2128305968 Regymen Fitness ‐ NT
$               ‐     $          24,484.60    $     24,484.60                    $      24,484.60    83227 USMC/Iwakuni/MCCS Fitness Center
$        24,333.37    $                 ‐     $     24,333.37                    $      24,333.37    2128710139 Workout Anytime‐Lynchburg, Va
$        23,447.46    $                 ‐     $     23,447.46                    $      23,447.46    SORI0002 Sorinex Exercise Equipment
$        21,541.35    $           1,339.20    $     22,880.55                    $      22,880.55    Power Lift
$          9,240.04   $          13,527.39    $     22,767.43                    $      22,767.43    2128498266 Anytime Fitness ‐ East Bridgewater MA
$        21,845.40    $            (214.85)   $     21,630.55                    $      21,630.55    2128387653 InVite Fitness
$               ‐     $          21,574.44    $     21,574.44                    $      21,574.44    2128643272 Fitness 1440 Dalton
$        20,759.85    $                 ‐     $     20,759.85                    $      20,759.85    GOPH0002 Gopher Sport
$        16,216.51    $           4,419.14    $     20,635.65                    $      20,635.65    F1RE0001 F1 Recreation Taiwan
$               ‐     $         20,633.87     $     20,633.87                    $      20,633.87    Gimnica
$        20,333.86    $                 ‐     $     20,333.86                    $      20,333.86    ADVA0002 Advantage Sport & Fitness
$          9,632.00   $          10,318.00    $     19,950.00                    $      19,950.00    HQAA0001 HQ AAFES
$        19,636.44    $                 ‐     $     19,636.44                    $      19,636.44    BODY0029 Body Basics Fitness Equipment
$        17,310.79    $             909.56    $     18,220.35                    $      18,220.35    GOVX0001 GovX, LLC
$        17,389.75    $                 ‐     $     17,389.75                    $      17,389.75    2128303612 FitnessExperts LLC.
$        17,422.34    $             (46.55)   $     17,375.79                    $      17,375.79    2128580307 Ardent Fitness
$        17,224.21    $              65.48    $     17,289.69                    $      17,289.69    Prosource Fitness Equipment Prosource Fitness Equipment
$        17,288.20    $                 ‐     $     17,288.20                    $      17,288.20    FIRS0009 First Place Fitness Equipment‐USE
$        17,011.21    $                 ‐     $     17,011.21                    $      17,011.21    SIAG0001 SIA G Kolizejs
$        14,997.48    $           1,312.90    $     16,310.38                    $      16,310.38    2128562118 DEXT Capital
$               ‐     $          16,161.40    $     16,161.40                    $      16,161.40    2128483795 Exemplar Design



                                                                                 2 of 14
                           Case 8:22-bk-10949-SC                 Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                        Desc
                                                                 Main Document    Page 21 of 494


                                                                  Doubtful or
  3: AR Aged <90                                                  Uncollectible    Current Value of
       (face)         3: AR Aged >90 (face)     Face Amount        Accounts       Debtor's Interest                                Due From
$        16,132.53    $                 ‐     $     16,132.53                     $      16,132.53    DUMB0001 The Dumbell Man
$        15,997.63    $                 ‐     $     15,997.63                     $      15,997.63    2128236754 The St. James
$        15,978.28    $                 ‐     $     15,978.28                     $      15,978.28    FOUN0004 Foundation Fitness (Use this one)
$        13,500.49    $           2,469.05    $     15,969.54                     $      15,969.54    LIVI0005 VASA Fitness‐ Parent
$        14,837.80    $                 ‐     $     14,837.80                     $      14,837.80    CRUN0179 Crunch Franchise, LLC ‐ PARENT
$        14,326.31    $                 ‐     $     14,326.31                     $      14,326.31    52858837 Youfit Health Clubs ‐ PARENT**
$               ‐     $          14,065.55    $     14,065.55                     $      14,065.55    SPSS0002 SPSS NZ Ltd
$        14,028.07    $              (3.00)   $     14,025.07                     $      14,025.07    OUTF0001 Out‐Fit
$        13,999.86    $                 ‐     $     13,999.86                     $      13,999.86    2128700544 Vista High School
$               ‐     $          13,747.64    $     13,747.64                     $      13,747.64    2128488481 D1 Training Aledo, TX
$        12,578.03    $                 ‐     $     12,578.03                     $      12,578.03    2128367920 Anytime Fitness Lexington, SC ‐ 3667
$               ‐     $          12,435.18    $     12,435.18                     $      12,435.18    2127611998 Aire Fitness
$        12,315.69    $                 ‐     $     12,315.69                     $      12,315.69    2128708717 Workout Anytime‐Crossville, Tn.
$        12,265.99    $                 ‐     $     12,265.99                     $      12,265.99    2128258045 Turnkey Fitness
$        12,028.03    $                 ‐     $     12,028.03                     $      12,028.03    2128708658 Workout Anytime‐Hermitage, Tn.
$        11,926.53    $                 ‐     $     11,926.53                     $      11,926.53    2128703429 Premium Incentive Sales ‐ Premco
$        11,712.92    $                 ‐     $     11,712.92                     $      11,712.92    CONC0001 Concept Traningsredskap AB
$               ‐     $          11,563.58    $     11,563.58                     $      11,563.58    52865758 Maxi Club Belvedere
$        11,545.37    $                 ‐     $     11,545.37                     $      11,545.37    Heartline Fitness‐USE
$        11,241.74    $              (0.14)   $     11,241.60                     $      11,241.60    TOTA0064 Total Strength and Speed
$        10,637.80    $                 ‐     $     10,637.80                     $      10,637.80    2128674489 Polleo Adria d.o.o.
$               ‐     $          10,563.51    $     10,563.51                     $      10,563.51    2128325656 Anytime Fitness Easley, SC ‐ 4774
$          8,572.87   $           1,916.96    $     10,489.83                     $      10,489.83    2127989422 Virgin Voyages
$        10,170.50    $                 ‐     $     10,170.50                     $      10,170.50    52803071 EXOS *(Use This One)
$        10,137.00    $                 ‐     $     10,137.00                     $      10,137.00    PLAN0001 SARL PLANET FITNESS
$               ‐     $           9,991.87    $       9,991.87                    $        9,991.87   2127857926 Assembly Sports Club ‐ NT
$          8,918.45   $             735.82    $       9,654.27                    $        9,654.27   Lifetime Fitness ‐ PARENT
$               ‐     $           9,642.48    $       9,642.48                    $        9,642.48   2128485319 iTrain Studio ‐ NT
$        10,015.93    $            (475.29)   $       9,540.64                    $        9,540.64   2128447115 JAG Consulting LLC
$               ‐     $           9,465.63    $       9,465.63                    $        9,465.63   2128078826 Westin Hotels and Resorts ‐ PARENT
$               ‐     $           9,137.82    $       9,137.82                    $        9,137.82   2128501821 New Evolution Fitness Mexico SdeRL de CV
$          9,183.57   $             (84.17)   $       9,099.40                    $        9,099.40   2128653833 Canadian Tire
$          8,750.00   $                 ‐     $       8,750.00                    $        8,750.00   81670 Fire/Cal Fire Academy
$          8,745.80   $                 ‐     $       8,745.80                    $        8,745.80   Raleigh NC Police Department ELITE/First Responder/LEO/Raleigh Poli
$          8,730.45   $                 ‐     $       8,730.45                    $        8,730.45   2128708646 Workout Anytime‐Cookesville, Tn



                                                                                  3 of 14
                           Case 8:22-bk-10949-SC                 Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                       Desc
                                                                 Main Document    Page 22 of 494


                                                                  Doubtful or
  3: AR Aged <90                                                  Uncollectible    Current Value of
       (face)         3: AR Aged >90 (face)     Face Amount        Accounts       Debtor's Interest                                 Due From
$          8,723.33   $                 ‐     $       8,723.33                    $        8,723.33   2128656144 UFC Gym Plantation
$          8,495.27   $                 ‐     $       8,495.27                    $        8,495.27   2128708653 Workout Anytime‐Chatsworth, Ga
$          8,477.00   $                 ‐     $       8,477.00                    $        8,477.00   NEXC0001 NEXCOM
$          8,471.93   $                 ‐     $       8,471.93                    $        8,471.93   2128708656 Workout Anytime‐Port Orange, Fl.
$          8,427.69   $                 ‐     $       8,427.69                    $        8,427.69   2128708629 Workout Anytime‐Calhoun, Ga
$          8,220.98   $                 ‐     $       8,220.98                    $        8,220.98   2128708718 Workout Anytime‐Sylacauga, AL
$          7,935.66   $                 ‐     $       7,935.66                    $        7,935.66   JOHN0687 Johnson Health Tech North America
$               ‐     $           7,655.51    $       7,655.51                    $        7,655.51   SELB0003 O2 Fitness Clubs***Parent***
$        11,391.05    $          (3,958.62)   $       7,432.43                    $        7,432.43   PREC0001 Pacific Fitness Products, LLC
$               ‐     $           7,134.57    $       7,134.57                    $        7,134.57   Athletic Club Management Company, LLC DESOTO ATHLETIC CLUB
$          7,030.34   $                 ‐     $       7,030.34                    $        7,030.34   2127596498 The Sports Basement Inc.
$          6,757.00   $                 ‐     $       6,757.00                    $        6,757.00   2128257720 USN/NAVSTA Norfolk Deployed Forces Support
$          6,647.75   $                 ‐     $       6,647.75                    $        6,647.75   TOTA0008 Total Fitness Equipment
$          6,896.01   $            (257.61)   $       6,638.40                    $        6,638.40   2128609566 BES, Inc
$          6,606.74   $                 ‐     $       6,606.74                    $        6,606.74   3DFI0005 3d Fitness s. r. o.
$          6,581.57   $                 ‐     $       6,581.57                    $        6,581.57   2128657421 In‐Shape Solutions, LLC
$            175.35   $           6,393.26    $       6,568.61                    $        6,568.61   Hetrick, Randy OutFit Training
$          6,297.81   $             259.60    $       6,557.41                    $        6,557.41   MARA0001 Marathon Fitness
$          6,581.20   $             (54.55)   $       6,526.65                    $        6,526.65   2128622116 BeaverFit USA ‐ USE
$               ‐     $           6,510.34    $       6,510.34                    $        6,510.34   46912128640022 metro fitness club ‐ NT
$          6,295.91   $                 ‐     $       6,295.91                    $        6,295.91   2128683140 Soheil Foroughi
$          6,291.90   $                 ‐     $       6,291.90                    $        6,291.90   2127776920 Google Inc. (Google Play Apps)
$          6,079.94   $                 ‐     $       6,079.94                    $        6,079.94   2128483654 Yoga6
$          7,555.95   $          (1,599.30)   $       5,956.65                    $        5,956.65   2127681446 Scheels All Sports, Inc.
$          5,923.47   $                 ‐     $       5,923.47                    $        5,923.47   2128711055 TOP‐GYM Wolny Spółka Komandytowa
$          5,894.58   $                 ‐     $       5,894.58                    $        5,894.58   Fitness 19 ‐ PARENT
$          5,733.32   $                 ‐     $       5,733.32                    $        5,733.32   2128706755 ELITE/First Responder/LEO/Henry County Sheriffs Office
$          5,615.90   $                 ‐     $       5,615.90                    $        5,615.90   52803885 Ekspertfitness.com
$          5,274.39   $             251.94    $       5,526.33                    $        5,526.33   2128489563 Advanced Rehabilitation Systems
$          5,415.00   $                 ‐     $       5,415.00                    $        5,415.00   2128711248 RowHouse Wholesale Mall
$          5,388.31   $                 ‐     $       5,388.31                    $        5,388.31   COLU0008 Columbia Fitness Systems ‐ USE
$          5,330.69   $                 ‐     $       5,330.69                    $        5,330.69   GGFI0001 G&G Fitness ‐ Parent
$               ‐     $           5,189.94    $       5,189.94                    $        5,189.94   2128365181 Clay's Fitness Works
$          4,958.70   $             130.98    $       5,089.68                    $        5,089.68   FITC0034 Fitcorp USA
$               ‐     $           5,000.00    $       5,000.00                    $        5,000.00   2128496197 ATF ‐ La Canada Flintridge, CA 2589



                                                                                  4 of 14
                           Case 8:22-bk-10949-SC                 Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                                 Main Document    Page 23 of 494


                                                                  Doubtful or
  3: AR Aged <90                                                  Uncollectible    Current Value of
       (face)         3: AR Aged >90 (face)     Face Amount        Accounts       Debtor's Interest                                Due From
$               ‐     $           4,935.90    $       4,935.90                    $        4,935.90   2128661865 Charlotte Wray
$          4,780.34   $                 ‐     $       4,780.34                    $        4,780.34   Commercial Fitness Products
$          4,683.48   $                 ‐     $       4,683.48                    $        4,683.48   2128221316 Club Pilates‐ Retail
$          4,859.60   $            (244.35)   $       4,615.25                    $        4,615.25   52805887 2nd Wind/Johnson Fit Exercise Equipment ‐ Parent
$               ‐     $           4,510.77    $       4,510.77                    $        4,510.77   84405 USMC/MARSOC
$               ‐     $           4,493.25    $       4,493.25                    $        4,493.25   2128594562 STaFit
$          4,448.94   $                 ‐     $       4,448.94                    $        4,448.94   52880452 Coast Fitness‐USE
$          4,489.70   $            (138.04)   $       4,351.66                    $        4,351.66   Club Sport Aliso Viejo Renaissance ClubSport Aliso Viejo Laguna Beach
$          4,339.70   $                 ‐     $       4,339.70                    $        4,339.70   COMM0083 Comm‐Fit
$          4,175.63   $                 ‐     $       4,175.63                    $        4,175.63   Sport & Fitness‐Ft.Collins
$          4,110.35   $                 ‐     $       4,110.35                    $        4,110.35   MOME0002 Momentum Fitness Solutions‐USE
$          4,107.04   $                 ‐     $       4,107.04                    $        4,107.04   2128675056 SPENGA of Valparaiso
$               ‐     $           4,000.00    $       4,000.00                    $        4,000.00   2128471230 Ocean State Community Wellness
$          3,895.76   $                 ‐     $       3,895.76                    $        3,895.76   2128692838 ELITE/OGA/FBI National Academy Association
$               ‐     $           3,852.10    $       3,852.10                    $        3,852.10   2127987641 Spenga***Parent***
$          1,413.00   $           2,362.73    $       3,775.73                    $        3,775.73   RMED0001 R‐Med Kft.
$          3,733.75   $                 ‐     $       3,733.75                    $        3,733.75   2128710897 McSport
$          3,704.39   $                 ‐     $       3,704.39                    $        3,704.39   Show Me Weights
$               ‐     $           3,514.88    $       3,514.88                    $        3,514.88   2128499893 Mid‐America Sports Advantage‐M.A.S.A
$          3,483.03   $                 ‐     $       3,483.03                    $        3,483.03   HEAR0011 Heartline Fitness Systems
$               ‐     $           3,424.00    $       3,424.00                    $        3,424.00   2128663484 CLUB PILATES WEST SAN JOSE
$          3,421.11   $                 ‐     $       3,421.11                    $        3,421.11   2128706131 ELITE/FIrst Responder/LEO/Georgia Public Safety Training
$          3,347.85   $                 ‐     $       3,347.85                    $        3,347.85   FITN0293 Fitness Things Inc‐USE
$            269.05   $           3,061.74    $       3,330.79                    $        3,330.79   2128680670 Lifesport Athletic Club
$          3,232.90   $                 ‐     $       3,232.90                    $        3,232.90   2128691088 Stray Dog Strength/The Equipment Guys, Inc.
$               ‐     $           3,222.19    $       3,222.19                    $        3,222.19   2128239454 Fitness Therapy LLC ‐ NT
$          3,214.51   $                 ‐     $       3,214.51                    $        3,214.51   2128674896 Marios Loizou
$          3,161.50   $                 ‐     $       3,161.50                    $        3,161.50   MEDC0001 MEDCO Supply Company
$          3,036.28   $                 ‐     $       3,036.28                    $        3,036.28   52868719 Carolina Fitness Equipment
$          3,000.00   $                 ‐     $       3,000.00                    $        3,000.00   84414 ELITE/Future Forces/ROTC/Coast Guard Academy
$          2,994.84   $                 ‐     $       2,994.84                    $        2,994.84   52838966 Power Fitness Inc
$               ‐     $           2,989.31    $       2,989.31                    $        2,989.31   2128253474 THE WESTIN HEFEI BAOHE
$          2,806.00   $              78.00    $       2,884.00                    $        2,884.00   2128670152 Nordstrom
$               ‐     $           2,866.22    $       2,866.22                    $        2,866.22   2128443310 Sheryl O'Toole & Associates
$          2,825.29   $                 ‐     $       2,825.29                    $        2,825.29   2128429556 EHFS Elite Hospitality Fitness Solutions



                                                                                  5 of 14
                           Case 8:22-bk-10949-SC                 Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                    Desc
                                                                 Main Document    Page 24 of 494


                                                                  Doubtful or
  3: AR Aged <90                                                  Uncollectible    Current Value of
       (face)         3: AR Aged >90 (face)     Face Amount        Accounts       Debtor's Interest                               Due From
$               ‐     $           2,562.85    $       2,562.85                    $        2,562.85   SPOR0013 SPORTSKI _IVOT d.o.o.
$          3,673.18   $          (1,157.20)   $       2,515.98                    $        2,515.98   PALO0010 Palos Sports Inc
$               ‐     $           2,512.38    $       2,512.38                    $        2,512.38   2127646326 Fitzone Ventura ‐ NT
$               ‐     $           2,500.00    $       2,500.00                    $        2,500.00   2128290938 Hamptons Gym Corp ‐ NT
$               ‐     $           2,500.00    $       2,500.00                    $        2,500.00   2128428903 Alliant
$          2,484.72   $                 ‐     $       2,484.72                    $        2,484.72   Fitness Edge Exercise Equipment
$          2,407.83   $              (8.95)   $       2,398.88                    $        2,398.88   DSG02_ECOM Dick's Sporting Goods
$          2,179.89   $                 ‐     $       2,179.89                    $        2,179.89   2128708623 Workout Anytime‐Homestead, Fl
$          2,158.99   $                 ‐     $       2,158.99                    $        2,158.99   2128065368 Liv North
$          2,120.59   $                 ‐     $       2,120.59                    $        2,120.59   TEK Fitness Distributors
$          2,175.92   $             (59.74)   $       2,116.18                    $        2,116.18   2128653135 Connect Fit, LLC
$          2,007.01   $                 ‐     $       2,007.01                    $        2,007.01   2128395755 Gorila Fitness
$          5,637.79   $          (3,643.01)   $       1,994.78                    $        1,994.78   2128098862 Functional Fitness Products
$          1,698.73   $             263.79    $       1,962.52                    $        1,962.52   SPOR0001 SPORTathlon (Thailand) Ltd.
$               ‐     $           1,950.00    $       1,950.00                    $        1,950.00   2128319262 KaiaFit North Dallas ‐ NT
$          1,947.25   $                 ‐     $       1,947.25                    $        1,947.25   2127751404 Gold’s Gym Socal
$          1,940.87   $                 ‐     $       1,940.87                    $        1,940.87   2127658757 Alaska Fitness Equipment
$          1,921.14   $                 ‐     $       1,921.14                    $        1,921.14   2128580498 Planet Granite‐ Dallas
$          1,901.76   $                 ‐     $       1,901.76                    $        1,901.76   52858037 FitworX
$          1,895.46   $              (0.03)   $       1,895.43                    $        1,895.43   TECN0001 Tecno Sport Condition, SLU
$               ‐     $           1,886.87    $       1,886.87                    $        1,886.87   52855029 Scott Binder
$          1,844.86   $              (0.20)   $       1,844.66                    $        1,844.66   SUMM0033 Summit Commercial Fitness **
$               ‐     $           1,834.83    $       1,834.83                    $        1,834.83   2128213998 THE WESTIN CHANGBAISHAN RESORT
$               ‐     $           1,829.83    $       1,829.83                    $        1,829.83   2128208786 THE WESTIN ZHUJIAJIAN RESORT, ZHOUSHAN
$               ‐     $           1,829.80    $       1,829.80                    $        1,829.80   2128265984 THE WESTIN SANYA HAITANG BAY RESORT
$               ‐     $           1,804.69    $       1,804.69                    $        1,804.69   2127642022 Matrix Fitness South Africa (Pty) Ltd
$          1,763.58   $                 ‐     $       1,763.58                    $        1,763.58   2128634460 Core Health & Fitness
$          1,740.33   $                 ‐     $       1,740.33                    $        1,740.33   52812837 Risher Fitness Equipment Inc.
$          1,665.70   $                 ‐     $       1,665.70                    $        1,665.70   HREY0001 Hreysti Ehf
$          1,552.25   $              87.00    $       1,639.25                    $        1,639.25   MCX00001 MCX
$          1,619.48   $                 ‐     $       1,619.48                    $        1,619.48   2128695278 ADVANCED EXERCISE (GSA)
$          1,607.64   $                 ‐     $       1,607.64                    $        1,607.64   2128644337 Club Corp‐Marketplace
$          1,068.25   $             493.73    $       1,561.98                    $        1,561.98   Fisaf Taiwan
$               ‐     $           1,538.74    $       1,538.74                    $        1,538.74   2128473957 GYMS DIRECT USA
$          1,516.04   $                 ‐     $       1,516.04                    $        1,516.04   2128709508 Westwing



                                                                                  6 of 14
                           Case 8:22-bk-10949-SC                 Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                       Desc
                                                                 Main Document    Page 25 of 494


                                                                  Doubtful or
  3: AR Aged <90                                                  Uncollectible    Current Value of
       (face)         3: AR Aged >90 (face)     Face Amount        Accounts       Debtor's Interest                               Due From
$          1,503.94   $                 ‐     $       1,503.94                    $        1,503.94   GYMS0007 GYM Source
$               ‐     $           1,477.74    $       1,477.74                    $        1,477.74   1062 The Westin Bellevue
$               ‐     $           1,465.71    $       1,465.71                    $        1,465.71   1008 WESTIN CHICAGO NORTHWEST
$          1,425.51   $                 ‐     $       1,425.51                    $        1,425.51   2128116811 Elite Exercise Equipment
$               ‐     $           1,418.96    $       1,418.96                    $        1,418.96   2128674912 Hugo Mensch
$          1,403.10   $                 ‐     $       1,403.10                    $        1,403.10   2127946204 Combat Brands
$          1,391.04   $                 ‐     $       1,391.04                    $        1,391.04   2128693890 InShape Ceres
$               ‐     $           1,375.71    $       1,375.71                    $        1,375.71   2128640868 Melanie VanBeber
$            580.93   $             772.32    $       1,353.25                    $        1,353.25   2128656363 NEX PLAY LLC
$          1,340.19   $                 ‐     $       1,340.19                    $        1,340.19   LEGE0001 Legend Fitness
$               ‐     $           1,323.17    $       1,323.17                    $        1,323.17   2128416355 ATF ‐ Pasadena, CA ‐ 4335
$          1,319.70   $                 ‐     $       1,319.70                    $        1,319.70   2128420519 GSA/703D SUPPORT BATTALION COMPANY A
$               ‐     $           1,200.00    $       1,200.00                    $        1,200.00   2128210710 Panama‐ Fitness Solutions & Wellness S.A
$          1,181.67   $                 ‐     $       1,181.67                    $        1,181.67   52807973 TruMedical Solutions
$          1,177.24   $                 ‐     $       1,177.24                    $        1,177.24   2127934315 GymShop USA
$          1,166.24   $                 ‐     $       1,166.24                    $        1,166.24   52808252 Olympic Club
$               ‐     $           1,147.72    $       1,147.72                    $        1,147.72   2128660968 Blue Ridge ISD
$          1,123.51   $                 ‐     $       1,123.51                    $        1,123.51   USFI0001 (USE THIS ONE) U.S. Fitness Products
$               ‐     $           1,119.59    $       1,119.59                    $        1,119.59   2128431813 BeLife Ventures (ATF ‐ Saskatoon, SK) ‐ 4804
$               ‐     $           1,041.55    $       1,041.55                    $        1,041.55   2127861933 Gearbox Rx
$            616.48   $             424.60    $       1,041.08                    $        1,041.08   WORK0001 Workout Fitness Store‐USE
$               ‐     $           1,026.28    $       1,026.28                    $        1,026.28   2128092087 Catalyst Multisport ‐ NT
$          1,020.00   $                 ‐     $       1,020.00                    $        1,020.00   COLO0031 Colorado Home Fitness
$               ‐     $           1,014.18    $       1,014.18                    $        1,014.18   2127907172 Alys Beach Resort
$          1,004.87   $                 ‐     $       1,004.87                    $        1,004.87   2128596980 Legacy Fitness Products
$               ‐     $           1,002.50    $       1,002.50                    $        1,002.50   2127813212 Elevate
$            985.37   $                 ‐     $         985.37                    $          985.37   Get Some Fitness Equipment
$            963.98   $                 ‐     $         963.98                    $          963.98   COMM0002 Commercial Fitness Equipment
$            950.76   $                 ‐     $         950.76                    $          950.76   PUSH0004 Push Pedal Pull (use)
$            932.08   $                 ‐     $         932.08                    $          932.08   0001SYR Syracuse Fitness Store ‐ USE
$            915.40   $                 ‐     $         915.40                    $          915.40   YMCA0048 YMCA of San Diego County
$            879.80   $                 ‐     $         879.80                    $          879.80   2128702299 GSA/24TH QUARTERMASTER COMPANY
$            879.80   $                 ‐     $         879.80                    $          879.80   2128711230 GSA/102D MILITARY POLICE BATTALION
$            870.10   $                 ‐     $         870.10                    $          870.10   FITN0337 Fitness Equipment Etc., Inc. ‐ NH
$               ‐     $             852.18    $         852.18                    $          852.18   Boothbay Region YMCA ‐ PARENT Boothbay Region YMCA



                                                                                  7 of 14
                          Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                     Desc
                                                               Main Document    Page 26 of 494


                                                                Doubtful or
  3: AR Aged <90                                                Uncollectible    Current Value of
       (face)        3: AR Aged >90 (face)     Face Amount       Accounts       Debtor's Interest                                Due From
$              ‐     $             841.68    $        841.68                    $         841.68    2127627523 Fitness 19 ‐ Parent (So Cal)
$              ‐     $             838.65    $        838.65                    $         838.65    2127856366 Copperwynd Resort and Club
$           837.70   $                 ‐     $        837.70                    $         837.70    2128702416 David Smith LLC
$           814.26   $                 ‐     $        814.26                    $         814.26    Chuze Fitness
$              ‐     $             787.30    $        787.30                    $         787.30    Norwegian Cruise Lines
$              ‐     $             780.31    $        780.31                    $         780.31    2127660902 Mundo Fit, Inc. ‐ NT
$           779.68   $                 ‐     $        779.68                    $         779.68    52827770 Pacillo's Fitness Gear
$        25,886.04   $         (25,115.47)   $        770.57                    $         770.57    52883026 FGL Sports Ltd
$              ‐     $             758.06    $        758.06                    $         758.06    69961 The Treadmill Outlet
$              ‐     $             750.07    $        750.07                    $         750.07    2128408824 Peak Performance Physical Therapy
$           728.43   $                 ‐     $        728.43                    $         728.43    1146 THE WESTIN MEMPHIS BEALE STREET
$              ‐     $             726.10    $        726.10                    $         726.10    2128629148 Blackstone Black Bear project
$              ‐     $             682.16    $        682.16                    $         682.16    2128095005 Anytime Fitness (Shrewsbury, PA)
$           675.50   $                 ‐     $        675.50                    $         675.50    2128709146 The Westin Annapolis
$           659.85   $                 ‐     $        659.85                    $         659.85    2128448733 GSA/0000 HQ HQ ASG KUWAIT
$           659.85   $                 ‐     $        659.85                    $         659.85    2128711301 GSA/W6J6 USAREUR‐AF SSA OPN SPT
$              ‐     $             657.97    $        657.97                    $         657.97    Tri‐County YMCA ‐ PARENT
$              ‐     $             654.96    $        654.96                    $         654.96    2128700454 The Bay Club Company
$              ‐     $             630.86    $        630.86                    $         630.86    MWRC0001 USN/NAVSTA Rota/MWR
$              ‐     $             625.50    $        625.50                    $         625.50    2128297861 Tampa Palms Golf & Country Club
$           625.45   $                 ‐     $        625.45                    $         625.45    2127669007 Advanced Fitness Solutions‐USE
$           586.62   $                 ‐     $        586.62                    $         586.62    2127941273 Universal Athletic/Game‐One‐USE
$           579.99   $                 ‐     $        579.99                    $         579.99    2128709900 Wildflower Country Club
$           577.28   $                 ‐     $        577.28                    $         577.28    2128238189 Harco Incentives
$           576.01   $                 ‐     $        576.01                    $         576.01    76272 Medical Fitness Solutions
$           574.61   $                 ‐     $        574.61                    $         574.61    2128650633 Chiefs Fit Overland Park
$           504.00   $              70.00    $        574.00                    $         574.00    HQAA0002_ECOM AAFES customer
$              ‐     $             561.49    $        561.49                    $         561.49    ClubSport of Pleasanton ClubSport Pleasanton
$           558.21   $                 ‐     $        558.21                    $         558.21    2128275909 Retail Mart Barbados
$              ‐     $             549.10    $        549.10                    $         549.10    SAMS0001 Samson Equipment, Inc.
$           545.32   $                 ‐     $        545.32                    $         545.32    La Crosse Area Family YMCA ‐ PARENT
$              ‐     $             543.34    $        543.34                    $         543.34    2128692821 Bay Club Redwood Shores
$           527.83   $                 ‐     $        527.83                    $         527.83    2128710077 Washoe County School District
$           516.17   $                 ‐     $        516.17                    $         516.17    2128707378 ETF‐ Rancho Santa Margarita
$           500.19   $              (0.02)   $        500.17                    $         500.17    2128657374 Flagship Management, LLC



                                                                                8 of 14
                          Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                        Desc
                                                               Main Document    Page 27 of 494


                                                                Doubtful or
  3: AR Aged <90                                                Uncollectible    Current Value of
       (face)        3: AR Aged >90 (face)     Face Amount       Accounts       Debtor's Interest                                Due From
$              ‐     $             500.00    $        500.00                    $         500.00    00Q6000000tGYaLEAW Logan Superfitness ‐ NT
$           487.14   $                 ‐     $        487.14                    $         487.14    2128426283 Equity Fitness Group
$              ‐     $             469.99    $        469.99                    $         469.99    2127723086 Texas A&M Health Science Center
$           462.20   $                 ‐     $        462.20                    $         462.20    2127802318 Specialty Fitness Equipment
$           439.90   $                 ‐     $        439.90                    $         439.90    2128711229 GSA/0383 MI BN HHD TSB EAC
$           439.90   $                 ‐     $        439.90                    $         439.90    2128711302 GSA/AUG SF HHC AUG
$              ‐     $             430.57    $        430.57                    $         430.57    YMCA Metro DC
$           427.59   $                 ‐     $        427.59                    $         427.59    123 Wellness Inc. 123 Wellness Inc. ‐ USE
$           425.48   $                 ‐     $        425.48                    $         425.48    DESI0004 Design Fitness‐USE
$              ‐     $             413.66    $        413.66                    $         413.66    1109 WESTIN PRINCETON AT FORRESTAL VILLAGE
$              ‐     $             407.37    $        407.37                    $         407.37    2127821393 Gilt City Limited
$              ‐     $             400.00    $        400.00                    $         400.00    2128360690 Philadelphia Freedom Valley YMCA ‐ Christian Street Bran
$              ‐     $             396.74    $        396.74                    $         396.74    2128446585 ABFIT
$              ‐     $             391.05    $        391.05                    $         391.05    2128059225 Saratoga Springs Branch YMCA
$              ‐     $             380.39    $        380.39                    $         380.39    1106 THE WESTIN RESORT & SPA, WHISTLER
$              ‐     $             374.02    $        374.02                    $         374.02    PTPR0001 PrimaFit
$           371.04   $                 ‐     $        371.04                    $         371.04    2128645719 K11 Fitness Management Co Pvt Ltd
$           367.46   $                 ‐     $        367.46                    $         367.46    2127741585 Current Therapeutics
$              ‐     $             354.64    $        354.64                    $         354.64    2128109368 Summerlin Athletics ‐ NT
$              ‐     $             354.47    $        354.47                    $         354.47    2128268618 Westin Boston Waterfront
$              ‐     $             351.21    $        351.21                    $         351.21    COMM0059 Commercial Fitness Systems Inc ‐ NT
$           346.41   $                 ‐     $        346.41                    $         346.41    2127650589 Chesterfield County Police
$              ‐     $             343.23    $        343.23                    $         343.23    2128305626 Oschsner Health Center ‐ Elmwood
$           319.92   $                 ‐     $        319.92                    $         319.92    2128102317 University of Wisconsin Oshkosh
$              ‐     $             316.63    $        316.63                    $         316.63    2128316450 Peak Physical Therapy
$              ‐     $             314.29    $        314.29                    $         314.29    2128663546 Workout Anytime‐Palm Bay
$           306.43   $                 ‐     $        306.43                    $         306.43    POWE0106 Power Wellness Management, LLC
$           305.71   $              (1.00)   $        304.71                    $         304.71    52813056 Opti‐Fit
$           203.94   $              85.97    $        289.91                    $         289.91    2128674970 Shop PO, LLC
$              ‐     $             289.63    $        289.63                    $         289.63    2128306489 Icon Property Management ‐ NT
$           262.41   $                 ‐     $        262.41                    $         262.41    52814540 Innovative Fitness‐USE THIS ONE
$           259.00   $                 ‐     $        259.00                    $         259.00    2128674969 UFC FIT Wayne
$           915.37   $            (659.96)   $        255.41                    $         255.41    Crunch LLC ‐ PARENT
$              ‐     $             250.00    $        250.00                    $         250.00    2128501150 Mike Piercy
$           480.61   $            (232.21)   $        248.40                    $         248.40    52828123 The Edge Fitness Clubs ‐ PARENT



                                                                                9 of 14
                            Case 8:22-bk-10949-SC                 Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                        Desc
                                                                  Main Document    Page 28 of 494


                                                                   Doubtful or
  3: AR Aged <90                                                   Uncollectible    Current Value of
       (face)          3: AR Aged >90 (face)     Face Amount        Accounts       Debtor's Interest                                 Due From
$           240.00     $                 ‐     $        240.00                     $         240.00     2128604929 Health & Fitness System
$               ‐      $            231.64     $        231.64                     $         231.64     2128239569 IncStores, LLC
$               ‐      $            222.17     $        222.17                     $         222.17     2128252255 Westin SFO Airport
$               ‐      $            217.12     $        217.12                     $         217.12     SARGEANTS PROGRAM
$           206.50     $                 ‐     $        206.50                     $         206.50     Hillcrest Family Branch YMCA
$           204.08     $                 ‐     $        204.08                     $         204.08     YMCA GA Kennesaw Dennis Kemp Ln (Metro Atlanta)
$           200.86     $                 ‐     $        200.86                     $         200.86     SUMM0001 Summit Commercial Fitness Inc‐USE THIS ONE
$           188.00     $                 ‐     $        188.00                     $         188.00     1048 The Westin Beach Resort & Spa, Fort Lauderdale
$               ‐      $            186.30     $        186.30                     $         186.30     2128206359 Gearbox, Inc (ATF Portal)
$               ‐      $            184.66     $        184.66                     $         184.66     2128608328 Lake Region Fitness
$               ‐      $            171.30     $        171.30                     $         171.30     2128454759 Planet Fitness‐ Huntington Park
$           168.49     $                 ‐     $        168.49                     $         168.49     2128646162 United PF Management LLC
$           167.13     $                 ‐     $        167.13                     $         167.13     2128028342 Taymax Group, A Planet Fitness Franchisee
$               ‐      $            165.80     $        165.80                     $         165.80     Adrian L. Shuford Jr. YMCA
$           164.94     $                 ‐     $        164.94                     $         164.94     2127729639 Fitness 805/Equipped Fitness Solutions
$               ‐      $            159.89     $        159.89                     $         159.89     2128415707 Cree Nation of Waskaganish (Gathering Place)
$           157.32     $                 ‐     $        157.32                     $         157.32     Athens‐McMinn Family YMCA
$           147.46     $                 ‐     $        147.46                     $         147.46     PREC0004 Precor Home Fitness ‐ Parent
$           144.06     $                 ‐     $        144.06                     $         144.06     52813484 Upper Limit
$           137.15     $                 ‐     $        137.15                     $         137.15     2127626818 Weights and Bars
$           136.96     $                 ‐     $        136.96                     $         136.96     WELL0144 Wellbridge‐Del Norte NM
$               ‐      $            126.82     $        126.82                     $         126.82     2128241524 The Westin Dublin
$           125.70     $                 ‐     $        125.70                     $         125.70     52826229 BeachFIT Training
$               ‐      $            112.75     $        112.75                     $         112.75     2128484268 Workout Anytime (Sanford, NC)
$               ‐      $            112.40     $        112.40                     $         112.40     2127794203 ClubCare, Inc.
$               ‐      $            109.37     $        109.37                     $         109.37     2128474174 TRX B2B Website
$               ‐      $            108.82     $        108.82                     $         108.82     2128494641 Workout Anytime (Lake City, FL)
$           103.92     $                 ‐     $        103.92                     $         103.92     2128703960 ELITE/West Mesa High School
$           101.12     $                 ‐     $        101.12                     $         101.12     2128156965 Direct Fitness Solutions
$             49.83    $                 ‐     $         49.83                     $           49.83    52804486 Club Fitness Equipment‐USE
$             46.91    $                 ‐     $         46.91                     $           46.91    2128700762 Academy Sports Drop Ship
$             40.07    $                 ‐     $         40.07                     $           40.07    2128211498 Goodlife Fitness
$               ‐      $              38.97    $         38.97                     $           38.97    2128642767 Mt. Diablo High School
$             20.65    $             (17.71)   $          2.94                     $            2.94    2128186191 Shopify
$             (0.01)   $                 ‐     $         (0.01)                    $           (0.01)   2127793813 Stone Creek Club and Spa



                                                                                   10 of 14
                            Case 8:22-bk-10949-SC                 Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                       Desc
                                                                  Main Document    Page 29 of 494


                                                                   Doubtful or
  3: AR Aged <90                                                   Uncollectible    Current Value of
       (face)          3: AR Aged >90 (face)     Face Amount        Accounts       Debtor's Interest                                     Due From
$               ‐      $              (0.06)   $         (0.06)                    $            (0.06)   2128602698 TCF National Bank
$             (0.45)   $              (0.05)   $         (0.50)                    $            (0.50)   2128607197 Abir Sport Ltd
$               ‐      $              (0.99)   $         (0.99)                    $            (0.99)   52813621 TJ Distributors, Inc.
$               ‐      $              (1.87)   $         (1.87)                    $            (1.87)   2128674714 Pendry Park City
$               ‐      $              (4.41)   $         (4.41)                    $            (4.41)   N47608 USN/NAS Patuxent River/MWR
$               ‐      $              (5.00)   $         (5.00)                    $            (5.00)   2128387464 Strengthio Fitness LLC
$               ‐      $              (8.11)   $         (8.11)                    $            (8.11)   Fitness Gallery CO
$               ‐      $             (11.74)   $        (11.74)                    $           (11.74)   2128482933 USN/NSW/Naval Special Warfare Group 10/NSWG10
$               ‐      $             (13.50)   $        (13.50)                    $           (13.50)   2128445383 Geneva Capital, LLC ‐ Anytime Fitness ONLY
$               ‐      $             (18.83)   $        (18.83)                    $           (18.83)   2128545827 own your ripple effect
$               ‐      $             (19.33)   $        (19.33)                    $           (19.33)   2128158059 The Wright Fit
$               ‐      $             (19.49)   $        (19.49)                    $           (19.49)   2128155565 The Related Group
$            (22.98)   $                 ‐     $        (22.98)                    $           (22.98)   2128421311 Las Vegas Marriott
$               ‐      $             (22.99)   $        (22.99)                    $           (22.99)   GFIT0004 Gfit Professional Oy
$               ‐      $             (26.46)   $        (26.46)                    $           (26.46)   2128656432 Spenga‐Vero Beach
$               ‐      $             (27.51)   $        (27.51)                    $           (27.51)   Precision Fitness Equipment
$               ‐      $             (28.06)   $        (28.06)                    $           (28.06)   2128421323 Ryan Jarrell
$               ‐      $             (29.06)   $        (29.06)                    $           (29.06)   2127605693 Xsport Fitness (all locations) **
$               ‐      $             (31.24)   $        (31.24)                    $           (31.24)   2128676206 Chinal Fitness
$               ‐      $             (32.00)   $        (32.00)                    $           (32.00)   2128354727 Anytime Fitness (Salisbury and Mooresville, NC)
$               ‐      $             (35.76)   $        (35.76)                    $           (35.76)   2128443346 DE LAGE LANDEN FINANCIAL SERVICES INC.
$               ‐      $             (39.38)   $        (39.38)                    $           (39.38)   2128207036 TruFusion ‐ Parent
$               ‐      $             (42.52)   $        (42.52)                    $           (42.52)   FITT0001 Fitter International Inc.
$               ‐      $             (50.00)   $        (50.00)                    $           (50.00)   2128484216 Intelligent Deals
$               ‐      $             (55.00)   $        (55.00)                    $           (55.00)   2128065283 Huckberry LLC
$               ‐      $             (56.71)   $        (56.71)                    $           (56.71)   2127844494 Gainesville Health and Fitness
$               ‐      $             (70.38)   $        (70.38)                    $           (70.38)   2128365968 Yellowbike
$               ‐      $             (76.58)   $        (76.58)                    $           (76.58)   YMCA of the Foothills YMCA of the Foothills ‐ PARENT
$            (80.89)   $                 ‐     $        (80.89)                    $           (80.89)   IROC0001 iRock Fitness
$               ‐      $             (87.33)   $        (87.33)                    $           (87.33)   2128089808 Elite Sport & Fitness
$               ‐      $            (100.58)   $       (100.58)                    $         (100.58)    2127742460 Kelly Phillips
$               ‐      $            (104.93)   $       (104.93)                    $         (104.93)    Sportski Zivot d.o.o. (Croatia)
$               ‐      $            (107.18)   $       (107.18)                    $         (107.18)    Midtown AC Midtown Athletic Clubs *
$               ‐      $            (110.63)   $       (110.63)                    $         (110.63)    1140 THE WESTIN CHICAGO RIVER NORTH
$               ‐      $            (116.87)   $       (116.87)                    $         (116.87)    45IROC0002 Level Red Boxing Franchising, LLC



                                                                                   11 of 14
                            Case 8:22-bk-10949-SC                 Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                        Desc
                                                                  Main Document    Page 30 of 494


                                                                   Doubtful or
  3: AR Aged <90                                                   Uncollectible    Current Value of
       (face)          3: AR Aged >90 (face)     Face Amount        Accounts       Debtor's Interest                                 Due From
$               ‐      $            (119.72)   $       (119.72)                    $         (119.72)   The Golden Door Spa At The Boulders The Boulders Resort and Spa
$               ‐      $            (120.20)   $       (120.20)                    $         (120.20)   2128299794 Los Angeles Airport Marriott
$               ‐      $            (127.40)   $       (127.40)                    $         (127.40)   2127921583 Virginia Beach Field House
$               ‐      $            (129.72)   $       (129.72)                    $         (129.72)   2128079502 ZOLA, Inc
$               ‐      $            (144.95)   $       (144.95)                    $        (144.95)    2128643181 Vicente Navarro
$           (145.81)   $                 ‐     $       (145.81)                    $        (145.81)    2128709273 LTD Saturni
$               ‐      $            (166.67)   $       (166.67)                    $        (166.67)    Surfside Wellness
$               ‐      $            (178.10)   $       (178.10)                    $        (178.10)    2128639322 Christina Clark
$               ‐      $            (179.95)   $       (179.95)                    $        (179.95)    90173 FED/Palo Alto Veteran's Affairs
$               ‐      $            (180.51)   $       (180.51)                    $        (180.51)    2128637751 Roger DeLaCruz
$           (180.83)   $                 ‐     $       (180.83)                    $         (180.83)   2128704694 TAP IT CYCLE
$               ‐      $            (181.03)   $       (181.03)                    $         (181.03)   2128510733 Anytime Fitness Bellingham, WA
$               ‐      $            (199.00)   $       (199.00)                    $        (199.00)    2128154457 Quest Fitness Maine
$               ‐      $            (210.59)   $       (210.59)                    $        (210.59)    2128025466 S and J Fitness and Kickboxing
$               ‐      $            (242.83)   $       (242.83)                    $        (242.83)    2128497472 carol anderson
$               ‐      $            (254.15)   $       (254.15)                    $         (254.15)   2128599501 Sheila Rowbotham
$               ‐      $            (265.28)   $       (265.28)                    $         (265.28)   2128309805 Anytime Fitness ‐ Ottawa
$               ‐      $            (283.77)   $       (283.77)                    $         (283.77)   2128467639 CITY/East Bay Municipal District/EBMUD
$               ‐      $            (285.61)   $       (285.61)                    $         (285.61)   DYNA0001 Dynatronics
$               ‐      $            (298.92)   $       (298.92)                    $         (298.92)   2128615365 Ernie’s Sports Experts
$               ‐      $            (300.94)   $       (300.94)                    $         (300.94)   2127886787 VS Fitness
$               ‐      $            (301.70)   $       (301.70)                    $         (301.70)   2128494541 Spenga‐Santa Cruz
$               ‐      $            (301.70)   $       (301.70)                    $         (301.70)   2128494575 SPENGA‐Flower Mound
$               ‐      $            (303.13)   $       (303.13)                    $        (303.13)    2127646622 Movement gyms (Planet Granite)‐Parent
$               ‐      $            (313.64)   $       (313.64)                    $        (313.64)    2128646769 Reyes Holdings
$               ‐      $            (367.74)   $       (367.74)                    $         (367.74)   Embarcadero Branch YMCA
$               ‐      $            (386.06)   $       (386.06)                    $         (386.06)   2128558704 Fit Club
$               ‐      $            (388.05)   $       (388.05)                    $         (388.05)   BOIS0001 Boise Fitness Equipment‐USE
$           (413.61)   $                 ‐     $       (413.61)                    $         (413.61)   2128705732 TRX Ecommerce US
$               ‐      $            (461.50)   $       (461.50)                    $         (461.50)   2128646118 Columbine Country Club
$               ‐      $            (489.96)   $       (489.96)                    $         (489.96)   2127936700 LA Fitness ‐ Gresham
$               ‐      $            (494.72)   $       (494.72)                    $        (494.72)    2127611306 Anytime Fitness Brookings, SD
$               ‐      $            (515.51)   $       (515.51)                    $        (515.51)    PENN0011 Pennsylvania State University ‐ Athletics
$               ‐      $            (559.00)   $       (559.00)                    $        (559.00)    2128046227 New Mexico State Police
$               ‐      $            (561.75)   $       (561.75)                    $        (561.75)    2128244742 The Westin Playa Bonita Panama



                                                                                   12 of 14
                            Case 8:22-bk-10949-SC                  Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                                   Main Document    Page 31 of 494


                                                                    Doubtful or
  3: AR Aged <90                                                    Uncollectible    Current Value of
       (face)          3: AR Aged >90 (face)     Face Amount         Accounts       Debtor's Interest                                  Due From
$               ‐      $            (612.53)   $        (612.53)                    $         (612.53)   2128662414 Anytime Fitness‐ Barstow
$               ‐      $            (630.70)   $        (630.70)                    $         (630.70)   2128500688 Anytime Fitness Callaway, FL ‐ 4580
$               ‐      $            (635.19)   $        (635.19)                    $         (635.19)   2128251878 Prestige Fitness Club
$               ‐      $            (709.67)   $        (709.67)                    $        (709.67)    Cedardale Health & Fitness
$               ‐      $            (715.00)   $        (715.00)                    $        (715.00)    2127980577 Zulily LLC
$               ‐      $            (715.52)   $        (715.52)                    $         (715.52)   52804302 Wyandotte Roosevelt High School
$               ‐      $            (787.33)   $        (787.33)                    $        (787.33)    2128418801 Fitness Nutrition Equipement
$               ‐      $            (837.30)   $        (837.30)                    $        (837.30)    Seattle Mariners
$               ‐      $            (839.40)   $        (839.40)                    $        (839.40)    PTAC0001 PT Academy Pty Ltd
$               ‐      $            (873.24)   $        (873.24)                    $        (873.24)    2128049810 The Medallion Club
$               ‐      $            (878.74)   $        (878.74)                    $         (878.74)   2128321654 Fitness 1440 Corporate
$               ‐      $            (891.72)   $        (891.72)                    $        (891.72)    81089 ARMY/FORT SILL
$           (907.53)   $                 ‐     $        (907.53)                    $        (907.53)    2128703347 Coastal Fitness Center
$               ‐      $            (910.89)   $        (910.89)                    $        (910.89)    Yuhui Fitness SBM FITNESS INC
$               ‐      $            (929.24)   $        (929.24)                    $        (929.24)    2128317543 State of Connecticut
$               ‐      $            (975.00)   $        (975.00)                    $         (975.00)   United Fire & Casualty Company
$               ‐      $          (1,022.23)   $      (1,022.23)                    $      (1,022.23)    2127926487 Planet Fitness Wappinger's Falls
$         (1,055.18)   $                 ‐     $      (1,055.18)                    $      (1,055.18)    Newtown Athletic Club
$               ‐      $          (1,127.14)   $      (1,127.14)                    $      (1,127.14)    University of Minnesota ‐ Athletics
$               ‐      $          (1,163.63)   $      (1,163.63)                    $      (1,163.63)    2128369785 BROOKSTONE GOLF & COUNTRY CLUB
$               ‐      $          (1,244.59)   $      (1,244.59)                    $      (1,244.59)    2128312106 ATF ‐Yellowknife, NT
$               ‐      $          (1,261.31)   $      (1,261.31)                    $      (1,261.31)    2128421601 Befit Fitness Center
$               ‐      $          (1,317.46)   $      (1,317.46)                    $      (1,317.46)    2128139396 Sweat Fitness Studios
$               ‐      $          (1,357.10)   $      (1,357.10)                    $      (1,357.10)    The Village Health Club, Gainey Village The Village Health Club Parent
$               ‐      $          (1,386.99)   $      (1,386.99)                    $      (1,386.99)    2128050277 Stony Brook University
$               ‐      $          (1,446.14)   $      (1,446.14)                    $      (1,446.14)    2128454760 Selina PARENT
$         (1,499.07)   $                 ‐     $      (1,499.07)                    $      (1,499.07)    2128661860 BRAEMAR COUNTRY CLUB
$         (1,527.16)   $                 ‐     $      (1,527.16)                    $      (1,527.16)    COMM0082 Commercial Fitness Solutions
$               ‐      $          (1,636.95)   $      (1,636.95)                    $      (1,636.95)    2128675680 Helios Retreats ‐ Bahamas
$               ‐      $          (1,964.81)   $      (1,964.81)                    $      (1,964.81)    2128244754 The Westin Melbourne
$               ‐      $          (2,000.00)   $      (2,000.00)                    $      (2,000.00)    2128105416 Columbine Country Club
$               ‐      $          (2,019.04)   $      (2,019.04)                    $      (2,019.04)    2128500767 YMCA ‐regymen
$               ‐      $          (2,036.26)   $      (2,036.26)                    $      (2,036.26)    2128597341 Country Club of the Rockies
$               ‐      $          (2,555.10)   $      (2,555.10)                    $      (2,555.10)    California Family Fitness‐Corporate
$         (1,640.08)   $          (1,199.54)   $      (2,839.62)                    $      (2,839.62)    DSG_PARENT Dick's Sporting Goods‐Parent



                                                                                    13 of 14
                            Case 8:22-bk-10949-SC                  Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                      Desc
                                                                   Main Document    Page 32 of 494


                                                                    Doubtful or
  3: AR Aged <90                                                    Uncollectible    Current Value of
       (face)          3: AR Aged >90 (face)     Face Amount         Accounts       Debtor's Interest                             Due From
$               ‐      $          (2,871.13)   $      (2,871.13)                    $      (2,871.13)    Jersey Strong
$           (172.93)   $          (3,322.14)   $      (3,495.07)                    $       (3,495.07)   2127786698 Eos Fitness
$               ‐      $          (4,373.10)   $      (4,373.10)                    $       (4,373.10)   2127591599 US Fitness Holdings, LLC
$         (2,098.35)   $          (2,894.89)   $      (4,993.24)                    $      (4,993.24)    BB&B Russia
$               ‐      $          (5,142.37)   $      (5,142.37)                    $      (5,142.37)    52838343 Under Armour ‐ Retail
$               ‐      $          (5,341.17)   $      (5,341.17)                    $       (5,341.17)   2128645798 Montage Big Sky
$               ‐      $          (6,258.82)   $      (6,258.82)                    $      (6,258.82)    00Q6000000X1DBTEA3 Chip Mayberry
$         (6,551.15)   $                 ‐     $      (6,551.15)                    $      (6,551.15)    2128710404 Powerhouse Gym‐Ft Lauderdale
$         (1,603.07)   $          (7,898.63)   $      (9,501.70)                    $      (9,501.70)    52873341 Unidentified Cash Receipts
$        (10,289.66)   $                 ‐     $     (10,289.66)                    $     (10,289.66)    PROF0024 Professional Fitness Pvt Ltd
$        (10,834.18)   $                 ‐     $     (10,834.18)                    $     (10,834.18)    2128450741 Pure Barre
$               ‐      $         (11,533.00)   $     (11,533.00)                    $     (11,533.00)    372128623850 Justin DeJoseph
$               ‐      $         (26,177.86)   $     (26,177.86)                    $     (26,177.86)    2128128359 Kung Fu Data Ltd.
$         (7,841.67)   $         (55,263.05)   $     (63,104.72)                    $     (63,104.72)    GREE0047 Greenage Lifestyle Ltd
                                                                                    $               ‐
                                                                                    $ 4,193,454.39




                                                                                    14 of 14
                            Case 8:22-bk-10949-SC               Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                                Main Document    Page 33 of 494


                     Schedule B ‐ Exhibit 21
    General Description of Property (Raw
    Materials, Work in Progress, Finished    Net Book Value of Debtor's    Current Value of
     Goods, Other Inventory or Supplies)              Interest             Debtor's Interest            Location                         Description
Finished Goods                                                    $13.98                 $13.98   Aero ‐ 3PL       XD Aluminum Jump Rope
Finished Goods                                                 $3,075.60              $3,075.60   Aero ‐ 3PL       XD BLACK REVOLVER JUMP
Finished Goods                                                  $641.55                 $641.55   Aero ‐ 3PL       XD Revolver Rope Aluminum (Silver)
Finished Goods                                                 $4,991.35              $4,991.35   Aero ‐ 3PL       8" Black/Grey Rope
Finished Goods                                                 $4,859.71              $4,859.71   Aero ‐ 3PL       9" Blue Rope
Finished Goods                                                 $1,509.95              $1,509.95   Aero ‐ 3PL       XD RevRoller

Finished Goods                                                $2,197.65              $2,197.65 Ontario Warehouse   XD RevRoller
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                                  $77.25                  $77.25 Unsellable          XD Abwheel
Finished Goods                                                 $443.25                $443.25 Aero ‐ 3PL           XD Pro Ab Sling (Old)
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                                    $5.18                  $5.18 Unsellable          XD Claymore ‐ Black

Finished Goods                                                $2,434.60              $2,434.60 Ontario Warehouse XD Claymore ‐ Black

Finished Goods                                                $1,315.72              $1,315.72 Ontario Warehouse XD Claymore ‐ Grey

Finished Goods                                                  $413.61                $413.61 Ontario Warehouse Kevlar Ab Sling

Finished Goods                                                $1,351.32              $1,351.32 Ontario Warehouse XD 14" Kevlar Ball 6LB
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                                   $54.69                 $54.69 Unsellable        XD 14" Kevlar Ball 16LB
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                                  $122.62               $122.62 Unsellable         XD 14" Kevlar Ball 20LB

Finished Goods                                                  $183.94                $183.94 Ontario Warehouse XD 14" Kevlar Ball 20LB
                                                                                               Tradeshow
Finished Goods                                                  $191.73                $191.73 Warehouse 1       XD 14" Kevlar Ball 30LB


                                                                                   1 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                               Desc
                                                              Main Document    Page 34 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                                  Description
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $31.80                  $31.80 Unsellable           XD 10" Kevlar Ball 6LB
Finished Goods                                                $63.60                  $63.60 Aero ‐ 3PL           XD 10" Kevlar Ball 6LB

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse XD 10" Kevlar Ball 6LB
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $31.14                  $31.14 Unsellable        XD 10" Kevlar Ball 10LB
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $31.22                  $31.22 Unsellable        XD 10" Kevlar Ball 12LB

Finished Goods                                                $93.65                  $93.65 Ontario Warehouse XD 10" Kevlar Ball 12LB
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $33.45                  $33.45 Unsellable        XD 10" Kevlar Ball 16LB

Finished Goods                                              $434.85                $434.85    Ontario Warehouse   XD 10" Kevlar Ball 16LB
Finished Goods                                              $462.15                $462.15    Aero ‐ 3PL          XD 10" Fireball 8LB
Finished Goods                                              $566.46                $566.46    Aero ‐ 3PL          XD 10" Fireball 12LB
Finished Goods                                             $1,338.00              $1,338.00   Aero ‐ 3PL          XD 10" Fireball 16LB
Finished Goods                                              $947.70                $947.70    Aero ‐ 3PL          XD 10" Fireball 20LB

Finished Goods                                               $233.90                $233.90 Ontario Warehouse XD 14" Kevlar Eclipse Medicine Ball 8lb

Finished Goods                                               $468.53                $468.53 Ontario Warehouse XD 14" Kevlar Eclipse Medicine Ball 18lb

Finished Goods                                               $123.24                $123.24 Ontario Warehouse XD 10" Globe 8LB
Finished Goods                                               $462.15                $462.15 Aero ‐ 3PL        XD 10" Globe 8LB
Finished Goods                                               $283.23                $283.23 Aero ‐ 3PL        XD 10" Globe 12LB

Finished Goods                                                $33.45                 $33.45 Ontario Warehouse XD 10" Globe 16LB
Finished Goods                                               $401.40                $401.40 Aero ‐ 3PL        XD 10" Globe 16LB


                                                                                2 of 226
                            Case 8:22-bk-10949-SC              Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                              Desc
                                                               Main Document    Page 35 of 494


    General Description of Property (Raw
    Materials, Work in Progress, Finished   Net Book Value of Debtor's    Current Value of
     Goods, Other Inventory or Supplies)             Interest             Debtor's Interest            Location                             Description
Finished Goods                                                $2,329.87              $2,329.87   Aero ‐ 3PL       XD 14" Kevlar Ball 6LB
Finished Goods                                                $1,304.42              $1,304.42   Aero ‐ 3PL       XD 14" Kevlar Ball 6LB
Finished Goods                                                $7,180.50              $7,180.50   Aero ‐ 3PL       XD 14" Kevlar Ball 10LB
Finished Goods                                                $1,521.00              $1,521.00   Aero ‐ 3PL       XD 14" Kevlar Ball 12LB
Finished Goods                                                $2,187.73              $2,187.73   Aero ‐ 3PL       XD 14" Kevlar Ball 16LB

Finished Goods                                                $283.40                $283.40 Ontario Warehouse XD 14" Kevlar Ball 18LB
Finished Goods                                               $5,732.02              $5,732.02 Aero ‐ 3PL       XD 14" Kevlar Ball 18LB
                                                                                              Tradeshow
Finished Goods                                                 $125.80               $125.80 Warehouse 1       XD 14" Kevlar Ball 25LB

Finished Goods                                                $503.20                $503.20 Ontario Warehouse XD 14" Kevlar Ball 25LB
Finished Goods                                               $1,635.40              $1,635.40 Aero ‐ 3PL       XD 14" Kevlar Ball 25LB

Finished Goods                                               $2,100.98              $2,100.98 Ontario Warehouse XD 14" Kevlar Ball 4LB
Finished Goods                                               $8,013.04              $8,013.04 Aero ‐ 3PL        XD 14" Kevlar Ball 4LB
Finished Goods                                                $120.52                $120.52 Aero ‐ 3PL         XD 10" Kevlar Ball 4LB

Finished Goods                                               $1,627.02              $1,627.02 Ontario Warehouse XD 10" Kevlar Ball 4LB
                                                                                              Tradeshow
Finished Goods                                                  $61.62                 $61.62 Warehouse 1       XD 10" Kevlar Ball 8LB

Finished Goods                                               $2,187.51              $2,187.51 Ontario Warehouse XD 10" Kevlar Ball 8LB

Finished Goods                                               $1,610.75              $1,610.75 Ontario Warehouse XD 10" Kevlar Ball 14LB

Finished Goods                                               $4,431.74              $4,431.74 Ontario Warehouse XD 18" Kevlar Ball 40LB
Finished Goods                                                $578.05                $578.05 Aero ‐ 3PL         XD 18" Kevlar Ball 40LB

Finished Goods                                               $7,790.23              $7,790.23 Ontario Warehouse XD 18" Kevlar Ball 60LB

Finished Goods                                              $10,112.64             $10,112.64 Ontario Warehouse XD 18" Kevlar Ball 80LB
Finished Goods                                                $105.34                $105.34 Aero ‐ 3PL         XD 18" Kevlar Ball 80LB

Finished Goods                                                 $861.75                $861.75 Ontario Warehouse XD 10" Kevlar Ball 18LB
Finished Goods                                                 $137.88                $137.88 Aero ‐ 3PL        XD 10" Kevlar Ball 18LB

Finished Goods                                               $4,414.08              $4,414.08 Ontario Warehouse XD 14" Kevlar Ball 35LB


                                                                                  3 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                              Main Document    Page 36 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                               Description

Finished Goods                                             $2,685.15              $2,685.15 Ontario Warehouse XD 14" Kevlar Ball 40LB
Finished Goods                                             $1,101.60              $1,101.60 Aero ‐ 3PL        XD 14" Kevlar Ball 40LB

Finished Goods                                             $4,351.16              $4,351.16 Ontario Warehouse XD 14" Kevlar Ball 45LB
Finished Goods                                              $643.50                $643.50 Aero ‐ 3PL         XD 14" Kevlar Ball 50LB

Finished Goods                                             $4,147.00              $4,147.00 Ontario Warehouse XD 14" Kevlar Ball 50LB

Finished Goods                                             $9,784.66              $9,784.66   Ontario Warehouse   XD 18" Kevlar Ball 100LB
Finished Goods                                             $7,518.72              $7,518.72   Aero ‐ 3PL          XD 18" Kevlar Ball 125LB
Finished Goods                                            $10,029.60             $10,029.60   Aero ‐ 3PL          XD 18" Kevlar Ball 150LB
Finished Goods                                              $572.47                $572.47    Aero ‐ 3PL          XD 10" Fireball 4LB
Finished Goods                                              $700.58                $700.58    Aero ‐ 3PL          XD 10" Fireball 6LB
Finished Goods                                              $871.92                $871.92    Aero ‐ 3PL          XD 10" Fireball 10LB
Finished Goods                                              $753.94                $753.94    Aero ‐ 3PL          XD 10" Fireball 14LB
Finished Goods                                              $965.16                $965.16    Aero ‐ 3PL          XD 10" Fireball 18LB
Finished Goods                                              $928.34                $928.34    Aero ‐ 3PL          XD 14" Fireball 4LB
Finished Goods                                              $702.38                $702.38    Aero ‐ 3PL          XD 14" Fireball 6LB
Finished Goods                                              $617.76                $617.76    Aero ‐ 3PL          XD 14" Fireball 8LB
Finished Goods                                              $334.80                $334.80    Aero ‐ 3PL          XD 14" Fireball 14LB
Finished Goods                                             $1,345.27              $1,345.27   Aero ‐ 3PL          XD 14" Fireball 18LB
Finished Goods                                                $59.80                 $59.80   Aero ‐ 3PL          XD 14" Fireball 20LB
Finished Goods                                                $62.90                 $62.90   Aero ‐ 3PL          XD 14" Fireball 25LB
Finished Goods                                             $1,094.94              $1,094.94   Aero ‐ 3PL          XD 14" Fireball 40LB
Finished Goods                                             $1,403.60              $1,403.60   Aero ‐ 3PL          XD 14" Fireball 45LB
Finished Goods                                               $715.00                $715.00   Aero ‐ 3PL          XD 14" Fireball 50LB
Finished Goods                                               $673.05                $673.05   Aero ‐ 3PL          XD 18" Fireball 40LB
Finished Goods                                             $1,914.25              $1,914.25   Aero ‐ 3PL          XD 18" Fireball 60LB
Finished Goods                                             $2,528.40              $2,528.40   Aero ‐ 3PL          XD 18" Fireball 80LB
Finished Goods                                             $5,158.62              $5,158.62   Aero ‐ 3PL          XD 18" Fireball 100LB
Finished Goods                                             $1,292.28              $1,292.28   Aero ‐ 3PL          XD 18" Fireball 125LB
Finished Goods                                             $3,510.36              $3,510.36   Aero ‐ 3PL          XD 18" Fireball 150LB
Finished Goods                                              $331.43                $331.43    Aero ‐ 3PL          XD 10" Globe 4LB
Finished Goods                                              $182.76                $182.76    Aero ‐ 3PL          XD 10" Globe 6LB
Finished Goods                                              $467.10                $467.10    Aero ‐ 3PL          XD 10" Globe 10LB
Finished Goods                                              $688.38                $688.38    Aero ‐ 3PL          XD 10" Globe 14LB
Finished Goods                                              $689.40                $689.40    Aero ‐ 3PL          XD 10" Globe 18LB


                                                                                4 of 226
                            Case 8:22-bk-10949-SC              Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                               Main Document    Page 37 of 494


    General Description of Property (Raw
    Materials, Work in Progress, Finished   Net Book Value of Debtor's    Current Value of
     Goods, Other Inventory or Supplies)             Interest             Debtor's Interest            Location                           Description
Finished Goods                                                  $586.32                $586.32   Aero ‐ 3PL       XD 14" Globe 4LB
Finished Goods                                                $1,204.08              $1,204.08   Aero ‐ 3PL       XD 14" Globe 6LB
Finished Goods                                                $1,029.60              $1,029.60   Aero ‐ 3PL       XD 14" Globe 8LB
Finished Goods                                                  $433.36                $433.36   Aero ‐ 3PL       XD 14" Globe 12LB
Finished Goods                                                $1,060.20              $1,060.20   Aero ‐ 3PL       XD 14" Globe 14LB
Finished Goods                                                  $972.06                $972.06   Aero ‐ 3PL       XD 14" Globe 16LB
Finished Goods                                                  $643.39                $643.39   Aero ‐ 3PL       XD 14" Globe 18LB
Finished Goods                                                $2,930.20              $2,930.20   Aero ‐ 3PL       XD 14" Globe 20LB
Finished Goods                                                $2,264.40              $2,264.40   Aero ‐ 3PL       XD 14" Globe 25LB
Finished Goods                                                $1,492.47              $1,492.47   Aero ‐ 3PL       XD 14" Globe 30LB
Finished Goods                                                  $735.68                $735.68   Aero ‐ 3PL       XD 14" Globe 35LB
Finished Goods                                                  $550.80                $550.80   Aero ‐ 3PL       XD 14" Globe 40LB
Finished Goods                                                $1,052.70              $1,052.70   Aero ‐ 3PL       XD 14" Globe 45LB
Finished Goods                                                $1,716.00              $1,716.00   Aero ‐ 3PL       XD 14" Globe 50LB
Finished Goods                                                  $673.05                $673.05   Aero ‐ 3PL       XD 18" Globe 40LB
Finished Goods                                                $2,518.75              $2,518.75   Aero ‐ 3PL       XD 18" Globe 60LB
Finished Goods                                                $2,528.40              $2,528.40   Aero ‐ 3PL       XD 18" Globe 80LB
Finished Goods                                                 $659.64                 $659.64   Aero ‐ 3PL       XD 18" Globe 100LB
Finished Goods                                                $1,527.24              $1,527.24   Aero ‐ 3PL       XD 18" Globe 125LB
Finished Goods                                                $3,008.88              $3,008.88   Aero ‐ 3PL       XD 18" Globe 150LB
Finished Goods                                                $1,438.72              $1,438.72   Aero ‐ 3PL       XD Handle Kevlar Ball 5LB
Finished Goods                                                $1,374.30              $1,374.30   Aero ‐ 3PL       XD Handle Kevlar Ball 10LB
Finished Goods                                                  $288.66                $288.66   Aero ‐ 3PL       XD Handle Kevlar Ball 15LB
Finished Goods                                                  $353.22                $353.22   Aero ‐ 3PL       XD Handle Kevlar Ball 20LB
Finished Goods                                                 $521.52                 $521.52   Aero ‐ 3PL       XD XX‐Light Strength Band 41"
Finished Goods                                                 $298.54                 $298.54   Aero ‐ 3PL       XD X‐Light Strength Band 41"
Finished Goods                                                  $312.80                $312.80   Aero ‐ 3PL       XD Light Strength Band 41"
Finished Goods                                                  $221.76                $221.76   Aero ‐ 3PL       XD Medium Strength Band 41"
Finished Goods                                                   $65.52                 $65.52   Aero ‐ 3PL       XD XX‐Light Strength Band 13"

Finished Goods                                                  $29.48                 $29.48 Ontario Warehouse XD Kevlar Sand Disc 25LB

Finished Goods                                                 $445.20                $445.20 Ontario Warehouse XD Kevlar Sand Disc 30LB
Finished Goods                                                 $954.00                $954.00 Aero ‐ 3PL        XD Kevlar Sand Disc 30LB
Finished Goods                                                 $376.09                $376.09 Aero ‐ 3PL        XD Kevlar Sand Disc 35LB

Finished Goods                                               $1,094.08              $1,094.08 Ontario Warehouse XD Kevlar Sand Disc 35LB



                                                                                  5 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                              Main Document    Page 38 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                              Description

Finished Goods                                              $446.40                $446.40 Ontario Warehouse XD Kevlar Sand Disc 40LB
Finished Goods                                             $1,346.74              $1,346.74 Aero ‐ 3PL       XD Kevlar Sand Disc 45LB

Finished Goods                                               $306.11                $306.11 Ontario Warehouse XD Kevlar Sand Disc 50LB
Finished Goods                                               $174.92                $174.92 Aero ‐ 3PL        XD Kevlar Sand Disc 50LB
                                                                                            Tradeshow
Finished Goods                                                $50.00                 $50.00 Warehouse 1       Men's UA Tech Short Sleeve T‐Shirt Blk//WHT

Finished Goods                                               $390.00                $390.00 Ontario Warehouse Men's UA Tech Short Sleeve T‐Shirt Blk//WHT

Finished Goods                                              $520.00                 $520.00 Ontario Warehouse Men's UA Tech Short Sleeve T‐Shirt Blk//WHT
Finished Goods                                             $1,000.80              $1,000.80 Aero ‐ 3PL        XD Tricep Handle 2FT

Finished Goods                                                 $9.81                   $9.81 SF TRX Office (HQ)   TRX Performance Workout Pullover, Grey, Men's Medium
                                                                                             Tradeshow
Finished Goods                                                $24.62                  $24.62 Warehouse 2          TRX Performance Workout Pullover, Grey, Men's XLarge
                                                                                             Tradeshow            TRX Performance Medium Impact Sports Bra, Black print,
Finished Goods                                                 $0.00                   $0.00 Warehouse 2          Women's, Medium
                                                                                             Tradeshow
Finished Goods                                                $24.83                  $24.83 Warehouse 2          TRX Performance Printed Medium Impact Sports Bra, LG

Finished Goods                                                 $7.00                   $7.00 SF TRX Office (HQ) TRX Under Armour Beanie

Finished Goods                                                $42.37                  $42.37 SF TRX Office (HQ) TRX Performance 1/4 Zip, Grey heather, Men's, LG

Finished Goods                                                $56.29                  $56.29 SF TRX Office (HQ) TRX Performance 1/4 Zip, Grey heather, Men's, MD

Finished Goods                                                $58.52                  $58.52 SF TRX Office (HQ) TRX Performance 1/4 Zip, Grey heather, Men's, SM

Finished Goods                                                $58.39                  $58.39 SF TRX Office (HQ) TRX Performance 1/4 Zip, Grey heather, Men's, XL

Finished Goods                                                 $0.00                   $0.00 SF TRX Office (HQ)

Finished Goods                                                $20.91                  $20.91 SF TRX Office (HQ)

Finished Goods                                                 $0.00                   $0.00 SF TRX Office (HQ)



                                                                                6 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                              Main Document    Page 39 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                              Description

Finished Goods                                                $15.41                  $15.41 SF TRX Office (HQ) TRX Performance Raid Shorts, Men's, Black, X‐Large

Finished Goods                                               $144.24                $144.24 Ontario Warehouse    TRX Raid Tee, Black, Men's, LG Make It Personal
                                                                                            Tradeshow
Finished Goods                                                $26.16                 $26.16 Warehouse 2          We Are TRX Shirt, Men's, Black, Large
                                                                                            Tradeshow
Finished Goods                                                $35.01                 $35.01 Warehouse 2          We Are TRX Shirt, Men's, Black, Medium
                                                                                            Tradeshow
Finished Goods                                                  $0.47                 $0.47 Warehouse 2          We Are TRX Shirt, Men's, Black, Small
                                                                                            Tradeshow
Finished Goods                                                 $5.44                  $5.44 Warehouse 2          We Are TRX Shirt, Men's, Black, Xlarge
                                                                                            Tradeshow
Finished Goods                                               $105.16                $105.16 Warehouse 2          TRX Performance Movement T‐Shirt, Grey, Men's Large
                                                                                            Tradeshow
Finished Goods                                               $132.09                $132.09 Warehouse 2          TRX UA Performance T‐shirt, Men's, I <3 TRX
                                                                                            Tradeshow            TRX Performance Movement Sleeveless T‐Shirt, Men's,
Finished Goods                                                $18.24                 $18.24 Warehouse 2          Black, X‐Large
                                                                                            Tradeshow
Finished Goods                                                  $6.69                 $6.69 Warehouse 2          TRX Raid Tank, Carbon Heather, Men's, XL

Finished Goods                                                 $6.82                   $6.82 SF TRX Office (HQ) TRX Performance Sleeveless Stability T‐Shirt

Finished Goods                                                 $7.57                   $7.57 SF TRX Office (HQ) TRX Performance Training Capri, Black, Women's, Small
                                                                                             Tradeshow          TRX Performance Printed Power Capri, Black print,
Finished Goods                                                 $0.00                   $0.00 Warehouse 2        Women's, Medium

Finished Goods                                                 $8.68                   $8.68 SF TRX Office (HQ) TRX Performance Printed Tie‐Back Tank
                                                                                             Tradeshow
Finished Goods                                                 $7.00                   $7.00 Warehouse 2        TRX Performance Longsleeve, MD
                                                                                             Tradeshow
Finished Goods                                                $56.98                  $56.98 Warehouse 2        TRX Performance Low Impact Sports Bra LG

Finished Goods                                                $28.05                  $28.05 SF TRX Office (HQ) 2016 Influencer Kit UA Storm Roll Trance Sackpack

Finished Goods                                               $107.18                $107.18 SF TRX Office (HQ) TRX Under Armour Undeniable Sackpack




                                                                                7 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                              Main Document    Page 40 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                              Description

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $21.44                  $21.44 TRX Office (HQ)   TRX Under Armour Undeniable Sackpack

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX Influencer Kit, Tech 1/2 zip, Women's, Medium

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX Influencer Kit, Tech 1/2 zip, Women's, Small

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX Influencer Kit UA Play Up short, Women's, Medium

Finished Goods                                                $21.61                  $21.61 SF TRX Office (HQ)   TRX Performance Reflective Pullover SM
                                                                                             Tradeshow
Finished Goods                                                $21.61                  $21.61 Warehouse 2          TRX Performance Reflective Pullover SM
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1          TECH TRAIN PANT, WOMEN'S BLACK
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1          TECH TRAIN PANT, WOMEN'S BLACK

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                  $9.61                  $9.61 TRX Office (HQ)   TRX CoolSwitch Tank, Black, Women's, MD

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                  $9.13                  $9.13 TRX Office (HQ)   TRX Fly‐By Tank, Black, Women's, MD

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX Influencer Kit white logo tank, Women's, Large

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX Influencer Kit white logo tank, Women's, Small

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX Influencer Kit white logo tank, Women's, XLarge

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX Influencer Kit white logo tank, Women's, XSmall

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX Influencer Kit sports bra, Women's, Medium

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX Influencer Kit sports bra, Women's, Small


                                                                                8 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                              Main Document    Page 41 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest           Location                            Description
                                                                                               Tradeshow
Finished Goods                                                 $0.00                   $0.00   Warehouse 1       TRX Influencer Kit sports bra, Women's, Small
                                                                                               Tradeshow
Finished Goods                                                 $0.00                   $0.00   Warehouse 1       TRX Influencer Kit sports bra, Women's, XLarge
                                                                                               Tradeshow
Finished Goods                                                 $0.00                   $0.00   Warehouse 1       TRX Influencer Kit sports bra, Women's, XSmall
                                                                                               Tradeshow
Finished Goods                                               $500.00                $500.00    Warehouse 1       Women's UA Tech Tank ‐ BLACK‐MSV
                                                                                               Tradeshow
Finished Goods                                             $1,930.00              $1,930.00    Warehouse 1       Women's UA Tech Tank ‐ BLACK‐MSV
                                                                                               Tradeshow
Finished Goods                                             $1,550.00              $1,550.00    Warehouse 1       Women's UA Tech Tank ‐ BLACK‐MSV
                                                                                               Tradeshow
Finished Goods                                                $50.00                  $50.00   Warehouse 1       Women's UA Tech Tank ‐ BLACK‐MSV
                                                                                               Tradeshow
Finished Goods                                               $440.00                $440.00    Warehouse 1       Women's UA Tech Tank ‐ BLACK‐MSV
                                                                                               Tradeshow
Finished Goods                                                $77.93                  $77.93   Warehouse 2       We Are TRX Tank,Women's, Black, Medium
                                                                                               Tradeshow
Finished Goods                                                $68.55                  $68.55   Warehouse 2     We Are TRX Tank,Women's, Black, Small
                                                                                                               TRX UA Storm Contain Backpack Duffle 3.0 (Graphite
Finished Goods                                                $40.00                 $40.00 SF TRX Office (HQ) Medium Heather)
                                                                                            Tradeshow          TRX Performance Reflective Print Capri, Women's, Black,
Finished Goods                                               $109.76                $109.76 Warehouse 2        Medium

Finished Goods                                                $33.75                  $33.75 Ontario Warehouse 2016 Influencer Kit Men’s Tactical Polo Shirt

Finished Goods                                                 $1.35                   $1.35 Ontario Warehouse 2016 Influencer Kit Men’s Tactical Polo Shirt

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $14.86                  $14.86 TRX Office (HQ)   TRX Hoodie, Black, Women's, SM

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse UA Influencer Pant, Men's, Black, Large
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1       UA Influencer Pant, Men's, Black, Medium
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1       UA Influencer Pant, Men's, Black, XLarge


                                                                                9 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                              Main Document    Page 42 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1        UA Influencer Pant, Men's, Black, XXLarge
                                                                                             Tradeshow
Finished Goods                                                 $7.25                   $7.25 Warehouse 1        TRX Influencer Kit, TRX logo on arm, Women's, Large

Finished Goods                                                $13.05                  $13.05 Ontario Warehouse TRX Influencer Kit, TRX logo on arm, Women's, Large

Finished Goods                                                $63.80                  $63.80 Ontario Warehouse TRX Influencer Kit, TRX logo on arm, Women's, Medium
                                                                                             Tradeshow
Finished Goods                                                 $8.70                   $8.70 Warehouse 1       TRX Influencer Kit, TRX logo on arm, Women's, Medium

Finished Goods                                                $76.85                  $76.85 Ontario Warehouse TRX Influencer Kit, TRX logo on arm, Women's, Small
                                                                                             Tradeshow
Finished Goods                                                 $2.90                   $2.90 Warehouse 1       TRX Influencer Kit, TRX logo on arm, Women's, Small

Finished Goods                                                 $5.80                   $5.80 Ontario Warehouse TRX Influencer Kit, TRX logo on arm, Women's, XLarge
                                                                                             Tradeshow
Finished Goods                                                 $7.25                   $7.25 Warehouse 1       TRX Influencer Kit, TRX logo on arm, Women's, XLarge
                                                                                             Tradeshow
Finished Goods                                                 $2.90                   $2.90 Warehouse 1       TRX Influencer Kit, TRX logo on arm, Women's, XSmall

Finished Goods                                                $20.30                 $20.30 Ontario Warehouse TRX Influencer Kit, TRX logo on arm, Women's, XSmall
                                                                                            Tradeshow
Finished Goods                                               $247.30                $247.30 Warehouse 1       UA THREADBORNE SEAMLESS SS ‐ BLK

Finished Goods                                               $192.35                $192.35 Ontario Warehouse UA THREADBORNE SEAMLESS SS ‐ BLK

Finished Goods                                               $182.86                $182.86 Ontario Warehouse UA THREADBORNE SEAMLESS SS ‐ BLK

Finished Goods                                               $296.96                $296.96 Ontario Warehouse UA THREADBORNE SEAMLESS SS ‐ BLK
                                                                                            Tradeshow
Finished Goods                                               $167.04                $167.04 Warehouse 1       UA THREADBORNE SEAMLESS SS ‐ BLK

Finished Goods                                                $36.92                 $36.92 Ontario Warehouse UA THREADBORNE SEAMLESS SS ‐ BLK
                                                                                            Tradeshow
Finished Goods                                               $147.70                $147.70 Warehouse 1       UA THREADBORNE SEAMLESS SS ‐ BLK




                                                                               10 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                              Main Document    Page 43 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                            Description

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                 $8.60                   $8.60 TRX Office (HQ)   TRX Threadborne Long sleeve, Black, Men's, LG

Finished Goods                                                $12.00                  $12.00 SF TRX Office (HQ) UA THREADBORNE MUSCLE TANK ‐ BLK
                                                                                             Tradeshow
Finished Goods                                                $48.00                  $48.00 Warehouse 1        UA THREADBORNE MUSCLE TANK ‐ BLK
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1        UA THREADBORNE MUSCLE TANK ‐ BLK

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $12.00                  $12.00 TRX Office (HQ)   UA THREADBORNE MUSCLE TANK ‐ BLK

Finished Goods                                                $12.00                  $12.00 Ontario Warehouse UA THREADBORNE MUSCLE TANK ‐ BLK

Finished Goods                                                 $5.39                   $5.39 Ontario Warehouse UA THREADBORNE MUSCLE TANK ‐ BLK
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1       TRX THREADBORNE HOODIE‐W, WOMEN'S BLACK

Finished Goods                                                $45.00                  $45.00 Ontario Warehouse TRX THREADBORNE HOODIE‐W, WOMEN'S BLACK

Finished Goods                                               $135.00                $135.00 Ontario Warehouse TRX THREADBORNE HOODIE‐W, WOMEN'S BLACK

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $15.00                  $15.00 TRX Office (HQ)   TRX THREADBORNE HOODIE‐W, WOMEN'S BLACK
                                                                                             Tradeshow
Finished Goods                                                 $7.98                   $7.98 Warehouse 2       TRX Raid Short, Men's, Blue, LG

Finished Goods                                                $12.22                 $12.22 SF TRX Office (HQ) TRX Tech 1/4 Zip, Men's, Black, XL
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $44.99                 $44.99 Unsellable         UA Hudson Back Pack ‐ Graphite/Black
                                                                                            Tradeshow
Finished Goods                                               $113.33                $113.33 Warehouse 1        UA WOMENS STADIUM TANK ‐ BLK


                                                                               11 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                        Desc
                                                              Main Document    Page 44 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                           Description
                                                                                            TTC‐ TRX Training
Finished Goods                                                 $6.67                  $6.67 Center              UA WOMENS STADIUM TANK ‐ BLK
                                                                                            Tradeshow
Finished Goods                                               $155.60                $155.60 Warehouse 1         UA WOMENS STADIUM TANK ‐ BLK

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                                 $6.77                  $6.77 TRX Office (HQ)   UA WOMENS STADIUM TANK ‐ BLK
                                                                                            Tradeshow
Finished Goods                                               $114.00                $114.00 Warehouse 1       UA WOMENS STADIUM TANK ‐ BLK

Finished Goods                                                $72.00                  $72.00 Ontario Warehouse UA WOMENS STADIUM TANK ‐ BLK
                                                                                             TTC‐ TRX Training
Finished Goods                                                $10.00                  $10.00 Center            UA WOMENS STADIUM TANK ‐ BLK

Finished Goods                                                $35.94                  $35.94 Ontario Warehouse UA WOMENS STADIUM TANK ‐ BLK

Finished Goods                                                 $7.19                   $7.19 SF TRX Office (HQ) UA WOMENS STADIUM TANK ‐ BLK
                                                                                             Tradeshow
Finished Goods                                                $71.88                  $71.88 Warehouse 1        UA WOMENS STADIUM TANK ‐ BLK
                                                                                             TTC‐ TRX Training
Finished Goods                                                 $0.00                   $0.00 Center             TRX Heatgear Amour Crop, Black, Women's, LG

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                 $9.00                   $9.00 TRX Office (HQ)   TRX THREADBORNE TRAIN TANK, WOMEN'S GREY
                                                                                             Tradeshow
Finished Goods                                                $18.00                  $18.00 Warehouse 1       TRX THREADBORNE TRAIN TANK, WOMEN'S GREY

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                 $9.00                   $9.00 TRX Office (HQ)   TRX THREADBORNE TRAIN TANK, WOMEN'S GREY
                                                                                             Tradeshow
Finished Goods                                                 $9.00                   $9.00 Warehouse 1       TRX THREADBORNE TRAIN TANK, WOMEN'S GREY
                                                                                             Tradeshow
Finished Goods                                                $16.00                  $16.00 Warehouse 1       Men's UA + TRX® Branded Short Sleeve, Men's Grey




                                                                               12 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                              Main Document    Page 45 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest           Location                             Description

                                                                                               SF TRX Office
                                                                                               (HQ):RETURNS ‐ SF
Finished Goods                                                $16.00                  $16.00   TRX Office (HQ)     Men's UA + TRX® Branded Short Sleeve, Men's Grey
                                                                                               Tradeshow
Finished Goods                                                $16.00                  $16.00   Warehouse 1         Men's UA + TRX® Branded Short Sleeve, Men's Grey
                                                                                               Tradeshow
Finished Goods                                                 $8.92                   $8.92   Warehouse 1         Men's UA + TRX® Branded Short Sleeve, Men's Grey
                                                                                               TTC‐ TRX Training
Finished Goods                                                $11.75                  $11.75   Center              Men's UA + TRX® Branded Short Sleeve, Men's Grey

Finished Goods                                                $60.00                  $60.00 Ontario Warehouse Men's UA x TRX Body Machine T‐Shirt, Men's Black

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                 $7.69                   $7.69 TRX Office (HQ)   Men's UA x TRX Body Machine T‐Shirt, Men's Black

Finished Goods                                                $21.00                  $21.00 Ontario Warehouse     TRX Swing Tank, Black, Women's
                                                                                             Tradeshow
Finished Goods                                                $31.50                  $31.50 Warehouse 1           TRX Swing Tank, Black, Women's
                                                                                             Tradeshow
Finished Goods                                                $21.00                  $21.00 Warehouse 1           TRX Swing Tank, Black, Women's
                                                                                             Tradeshow
Finished Goods                                                $10.50                  $10.50 Warehouse 1           TRX Swing Tank, Black, Women's

Finished Goods                                                $26.11                  $26.11 Ontario Warehouse MK1 SS ‐ GRAY

Finished Goods                                               $237.36                $237.36 Ontario Warehouse MK1 SS ‐ GRAY

Finished Goods                                                $45.00                  $45.00 Ontario Warehouse MK1 SS ‐ GRAY
                                                                                             Tradeshow
Finished Goods                                                $45.00                  $45.00 Warehouse 1       MK1 SS ‐ GRAY

Finished Goods                                               $100.00                $100.00 SF TRX Office (HQ) UA MK‐1 Men’s Short Sleeve Shirt

Finished Goods                                                $90.00                  $90.00 SF TRX Office (HQ) UA MK‐1 Men’s Short Sleeve Shirt
                                                                                             TTC‐ TRX Training
Finished Goods                                                $30.00                  $30.00 Center             UA MK‐1 Men’s Short Sleeve Shirt


                                                                               13 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                              Main Document    Page 46 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                            Description

Finished Goods                                                $56.43                  $56.43 SF TRX Office (HQ) UA MK‐1 Men’s Short Sleeve Shirt

Finished Goods                                                $45.14                  $45.14 Ontario Warehouse UA MK‐1 Men’s Short Sleeve Shirt
                                                                                             Tradeshow
Finished Goods                                                $56.43                  $56.43 Warehouse 1       UA MK‐1 Men’s Short Sleeve Shirt

Finished Goods                                                $40.00                 $40.00 SF TRX Office (HQ) UA MK‐1 Men’s Short Sleeve Shirt
                                                                                            Tradeshow
Finished Goods                                               $145.71                $145.71 Warehouse 1        MK1 1/4 Zip ‐ GRAY

Finished Goods                                                $36.43                  $36.43 SF TRX Office (HQ) MK1 1/4 Zip ‐ GRAY

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                                $18.00                 $18.00 TRX Office (HQ)   MK1 1/4 Zip ‐ GRAY
                                                                                            Tradeshow
Finished Goods                                               $108.00                $108.00 Warehouse 1       MK1 1/4 Zip ‐ GRAY

Finished Goods                                               $148.91                $148.91 Ontario Warehouse   MK1 1/4 Zip ‐ GRAY
                                                                                            Tradeshow
Finished Goods                                                $85.09                 $85.09 Warehouse 1         MK1 1/4 Zip ‐ GRAY
                                                                                            TTC‐ TRX Training
Finished Goods                                                $37.29                 $37.29 Center              MK1 1/4 Zip ‐ GRAY
                                                                                            Tradeshow
Finished Goods                                                $93.21                 $93.21 Warehouse 1         MK1 1/4 Zip ‐ GRAY

Finished Goods                                               $867.27                $867.27 Ontario Warehouse   MK1 SHORT ‐ BLACK
                                                                                            Tradeshow
Finished Goods                                               $228.23                $228.23 Warehouse 1         MK1 SHORT ‐ BLACK
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $17.03                 $17.03 Unsellable          MK1 SHORT ‐ BLACK
                                                                                            Tradeshow
Finished Goods                                                $51.10                 $51.10 Warehouse 1         MK1 SHORT ‐ BLACK

Finished Goods                                               $442.84                $442.84 Ontario Warehouse MK1 SHORT ‐ BLACK


                                                                               14 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                      Desc
                                                              Main Document    Page 47 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                          Description

Finished Goods                                               $223.13                $223.13 Ontario Warehouse MK1 SHORT ‐ BLACK
                                                                                            Tradeshow
Finished Goods                                                $91.88                 $91.88 Warehouse 1       MK1 SHORT ‐ BLACK
                                                                                            Tradeshow
Finished Goods                                                $71.08                 $71.08 Warehouse 1       MK1 SHORT ‐ BLACK

Finished Goods                                                $82.92                  $82.92 Ontario Warehouse MK1 SHORT ‐ BLACK

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $10.50                  $10.50 TRX Office (HQ)   TRX MOVE RACERBACK, WOMEN'S BLACK

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $10.50                  $10.50 TRX Office (HQ)   TRX MOVE RACERBACK, WOMEN'S BLACK

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $14.93                  $14.93 TRX Office (HQ)   UA MID CROSSBACK BRA
                                                                                             Tradeshow
Finished Goods                                                $59.74                  $59.74 Warehouse 1       UA MID CROSSBACK BRA

Finished Goods                                                $59.74                  $59.74 Ontario Warehouse UA MID CROSSBACK BRA
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                 $4.83                   $4.83 Unsellable        UA MID CROSSBACK BRA
                                                                                             Tradeshow
Finished Goods                                                $57.99                  $57.99 Warehouse 1       UA MID CROSSBACK BRA

Finished Goods                                                  $9.67                  $9.67 SF TRX Office (HQ) UA MID CROSSBACK BRA
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $15.98                  $15.98 Unsellable         UA MID CROSSBACK BRA




                                                                               15 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                              Main Document    Page 48 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                            Description

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $31.96                  $31.96 TRX Office (HQ)   UA MID CROSSBACK BRA

Finished Goods                                                $95.87                 $95.87 Ontario Warehouse   UA MID CROSSBACK BRA
                                                                                            Tradeshow
Finished Goods                                               $143.81                $143.81 Warehouse 1         UA MID CROSSBACK BRA
                                                                                            TTC‐ TRX Training
Finished Goods                                                $33.00                 $33.00 Center              UA MID CROSSBACK BRA
                                                                                            Tradeshow
Finished Goods                                                $33.00                 $33.00 Warehouse 1         UA MID CROSSBACK BRA

Finished Goods                                                $82.50                  $82.50 Ontario Warehouse UA MID CROSSBACK BRA
                                                                                             Tradeshow
Finished Goods                                                 $1.70                   $1.70 Warehouse 2       TRX Tech 1/2 Zip, Women's, Black, Large

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                                 $6.80                  $6.80 TRX Office (HQ)   TRX Tech 1/2 Zip, Women's, Black, Small
                                                                                            Tradeshow
Finished Goods                                                 $7.89                  $7.89 Warehouse 1       UA HG ARMOUR ANKLE CROP ‐ BLACK
                                                                                            Tradeshow
Finished Goods                                               $189.45                $189.45 Warehouse 1       UA HG ARMOUR ANKLE CROP ‐ BLACK

Finished Goods                                               $568.34                $568.34 Ontario Warehouse UA HG ARMOUR ANKLE CROP ‐ BLACK

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $17.22                  $17.22 TRX Office (HQ)   UA HG ARMOUR ANKLE CROP ‐ BLACK

Finished Goods                                               $586.76                $586.76 Ontario Warehouse UA HG ARMOUR ANKLE CROP ‐ BLACK
                                                                                            Tradeshow
Finished Goods                                                $62.87                 $62.87 Warehouse 1       UA HG ARMOUR ANKLE CROP ‐ BLACK

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $20.14                  $20.14 TRX Office (HQ)   UA HG ARMOUR ANKLE CROP ‐ BLACK


                                                                               16 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                              Main Document    Page 49 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                              Description

Finished Goods                                                $20.14                  $20.14 SF TRX Office (HQ) UA HG ARMOUR ANKLE CROP ‐ BLACK
                                                                                             Tradeshow
Finished Goods                                                $97.92                  $97.92 Warehouse 1        UA Siro Muscle Men’s Tank Top

Finished Goods                                               $108.80                $108.80 SF TRX Office (HQ) UA Siro Muscle Men’s Tank Top
                                                                                            TTC‐ TRX Training
Finished Goods                                                $32.64                 $32.64 Center             UA Siro Muscle Men’s Tank Top

Finished Goods                                                $43.52                  $43.52 Ontario Warehouse UA Siro Muscle Men’s Tank Top
                                                                                             TTC‐ TRX Training
Finished Goods                                                $41.60                  $41.60 Center            UA Siro Muscle Men’s Tank Top
                                                                                             Tradeshow
Finished Goods                                                $62.40                  $62.40 Warehouse 1       UA Siro Muscle Men’s Tank Top

Finished Goods                                                $93.60                  $93.60 SF TRX Office (HQ) UA Siro Muscle Men’s Tank Top

Finished Goods                                                $30.00                  $30.00 SF TRX Office (HQ) UA Siro Muscle Men’s Tank Top
                                                                                             Tradeshow
Finished Goods                                                $41.78                  $41.78 Warehouse 1        UA Siro Muscle Men’s Tank Top

Finished Goods                                                $52.22                  $52.22 SF TRX Office (HQ)   UA Siro Muscle Men’s Tank Top
                                                                                             TTC‐ TRX Training
Finished Goods                                                $10.44                  $10.44 Center               UA Siro Muscle Men’s Tank Top
                                                                                             TTC‐ TRX Training
Finished Goods                                                $18.00                  $18.00 Center               UA Microthread Terry Women's Short Sleeve Shirt
                                                                                             Tradeshow
Finished Goods                                                $54.00                  $54.00 Warehouse 1          UA Microthread Terry Women's Short Sleeve Shirt

Finished Goods                                                $90.00                  $90.00 SF TRX Office (HQ) UA Microthread Terry Women's Short Sleeve Shirt

Finished Goods                                               $191.30                $191.30 SF TRX Office (HQ) UA Microthread Terry Women's Short Sleeve Shirt
                                                                                            Tradeshow
Finished Goods                                               $153.04                $153.04 Warehouse 1        UA Microthread Terry Women's Short Sleeve Shirt
                                                                                            TTC‐ TRX Training
Finished Goods                                                $57.39                 $57.39 Center             UA Microthread Terry Women's Short Sleeve Shirt

Finished Goods                                                $95.65                  $95.65 Ontario Warehouse UA Microthread Terry Women's Short Sleeve Shirt


                                                                               17 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                              Main Document    Page 50 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description

Finished Goods                                               $189.47                $189.47 SF TRX Office (HQ) UA Microthread Terry Women's Short Sleeve Shirt
                                                                                            TTC‐ TRX Training
Finished Goods                                                $94.74                 $94.74 Center             UA Microthread Terry Women's Short Sleeve Shirt

Finished Goods                                                $18.95                 $18.95 Ontario Warehouse UA Microthread Terry Women's Short Sleeve Shirt
                                                                                            Tradeshow
Finished Goods                                               $151.58                $151.58 Warehouse 1       UA Microthread Terry Women's Short Sleeve Shirt

Finished Goods                                                $18.89                  $18.89 Ontario Warehouse UA Microthread Terry Women's Short Sleeve Shirt
                                                                                             TTC‐ TRX Training
Finished Goods                                                $18.89                  $18.89 Center            UA Microthread Terry Women's Short Sleeve Shirt
                                                                                             Tradeshow
Finished Goods                                                $56.67                  $56.67 Warehouse 1       UA Microthread Terry Women's Short Sleeve Shirt

Finished Goods                                                $94.44                  $94.44 SF TRX Office (HQ) UA Microthread Terry Women's Short Sleeve Shirt
                                                                                             TTC‐ TRX Training
Finished Goods                                                $28.67                  $28.67 Center             UA Essentials Banded Graphic Women’s Tank Top

Finished Goods                                                $71.67                  $71.67 SF TRX Office (HQ) UA Essentials Banded Graphic Women’s Tank Top

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $14.33                  $14.33 TRX Office (HQ)   UA Essentials Banded Graphic Women’s Tank Top

Finished Goods                                                $42.00                  $42.00 SF TRX Office (HQ) UA Essentials Banded Graphic Women’s Tank Top
                                                                                             TTC‐ TRX Training
Finished Goods                                                $70.00                  $70.00 Center             UA Essentials Banded Graphic Women’s Tank Top
                                                                                             TTC‐ TRX Training
Finished Goods                                                $14.00                  $14.00 Center             UA Essentials Banded Graphic Women’s Tank Top

Finished Goods                                               $112.00                $112.00 SF TRX Office (HQ) UA Essentials Banded Graphic Women’s Tank Top

Finished Goods                                                $56.00                  $56.00 SF TRX Office (HQ) UA Essentials Banded Graphic Women’s Tank Top
                                                                                             Tradeshow
Finished Goods                                                $38.25                  $38.25 Warehouse 1        Fav Cotton Longline Heather Sports Bra

Finished Goods                                                $63.75                  $63.75 SF TRX Office (HQ) Fav Cotton Longline Heather Sports Bra


                                                                               18 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                              Main Document    Page 51 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                               Description
                                                                                             Tradeshow
Finished Goods                                                $50.67                  $50.67 Warehouse 1          Fav Cotton Longline Heather Sports Bra

Finished Goods                                               $101.33                $101.33 SF TRX Office (HQ) Fav Cotton Longline Heather Sports Bra

Finished Goods                                               $119.25                $119.25 SF TRX Office (HQ) Fav Cotton Longline Heather Sports Bra
                                                                                            Tradeshow
Finished Goods                                                $79.50                 $79.50 Warehouse 1        Fav Cotton Longline Heather Sports Bra
                                                                                            TTC‐ TRX Training
Finished Goods                                                $39.75                 $39.75 Center             Fav Cotton Longline Heather Sports Bra

Finished Goods                                               $106.00                $106.00 Ontario Warehouse Fav Cotton Longline Heather Sports Bra

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $13.25                  $13.25 TRX Office (HQ)   Fav Cotton Longline Heather Sports Bra
                                                                                             TTC‐ TRX Training
Finished Goods                                                $37.20                  $37.20 Center            Fav Cotton Longline Heather Sports Bra
                                                                                             Tradeshow
Finished Goods                                                $12.40                  $12.40 Warehouse 1       Fav Cotton Longline Heather Sports Bra

Finished Goods                                                $49.60                  $49.60 SF TRX Office (HQ)   Fav Cotton Longline Heather Sports Bra
                                                                                             TTC‐ TRX Training    Women's UA + TRX® HeatGear® Armour Crop, Women's
Finished Goods                                                $20.00                  $20.00 Center               Black
                                                                                             Tradeshow            Women's UA + TRX® HeatGear® Armour Crop, Women's
Finished Goods                                                $40.00                  $40.00 Warehouse 1          Black

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF Women's UA + TRX® HeatGear® Armour Crop, Women's
Finished Goods                                                $40.00                  $40.00 TRX Office (HQ)    Black
                                                                                                                Women's UA + TRX® HeatGear® Armour Crop, Women's
Finished Goods                                                $20.00                  $20.00 SF TRX Office (HQ) Black
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐   Women's UA + TRX® HeatGear® Armour Mid Sports Bra,
Finished Goods                                                $11.93                  $11.93 Unsellable         Women's Yellow




                                                                               19 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                              Main Document    Page 52 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest           Location                           Description

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF   Women's UA + TRX® HeatGear® Armour Mid Sports Bra,
Finished Goods                                                $23.86                  $23.86 TRX Office (HQ)     Women's Yellow
                                                                                             Tradeshow           Women's UA + TRX® HeatGear® Armour Mid Sports Bra,
Finished Goods                                                $11.93                  $11.93 Warehouse 1         Women's Yellow
                                                                                             Tradeshow           Women's UA + TRX® HeatGear® Armour Mid Sports Bra,
Finished Goods                                                $72.00                  $72.00 Warehouse 1         Women's Yellow
                                                                                                                 Women's UA + TRX® HeatGear® Armour Mid Sports Bra,
Finished Goods                                               $216.00                $216.00    Ontario Warehouse Women's Yellow
                                                                                               Tradeshow         Women's UA + TRX® HeatGear® Armour Mid Sports Bra,
Finished Goods                                                 $6.00                   $6.00   Warehouse 1       Women's Yellow
                                                                                               Tradeshow
Finished Goods                                               $120.00                $120.00    Warehouse 1       Women's UA + TRX® Tech™ 1/2 Zip, Women's Black
                                                                                               Tradeshow
Finished Goods                                                 $0.00                   $0.00   Warehouse 1       Women's UA + TRX® Tech™ 1/2 Zip, Women's Black
                                                                                               Tradeshow
Finished Goods                                               $221.48                $221.48    Warehouse 1       Women's UA + TRX® Tech™ 1/2 Zip, Women's Black

Finished Goods                                               $664.44                $664.44 Ontario Warehouse Women's UA + TRX® Tech™ 1/2 Zip, Women's Black

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $17.04                  $17.04 TRX Office (HQ)   Women's UA + TRX® Tech™ 1/2 Zip, Women's Black

Finished Goods                                                $17.04                  $17.04 SF TRX Office (HQ) Women's UA + TRX® Tech™ 1/2 Zip, Women's Black
                                                                                             Tradeshow
Finished Goods                                                $60.00                  $60.00 Warehouse 1        Women's UA + TRX® Tech™ 1/2 Zip, Women's Black

Finished Goods                                             $3,800.00              $3,800.00 Ontario Warehouse Men's UA x TRX SuperVent Fitted T‐Shirt, Men's Black
                                                                                            Tradeshow
Finished Goods                                               $120.00               $120.00 Warehouse 1        Men's UA x TRX SuperVent Fitted T‐Shirt, Men's Black

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $20.00                  $20.00 TRX Office (HQ)   Men's UA x TRX SuperVent Fitted T‐Shirt, Men's Black

Finished Goods                                             $1,780.00              $1,780.00 Ontario Warehouse Men's UA x TRX SuperVent Fitted T‐Shirt, Men's Black


                                                                               20 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                              Main Document    Page 53 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                                Description
                                                                                             Tradeshow
Finished Goods                                                $20.00                  $20.00 Warehouse 1           Men's UA x TRX SuperVent Fitted T‐Shirt, Men's Black

Finished Goods                                               $120.00                $120.00 Ontario Warehouse Men's UA x TRX SuperVent Fitted T‐Shirt, Men's Black

Finished Goods                                               $660.00                $660.00 Ontario Warehouse Men's UA x TRX SuperVent Fitted T‐Shirt, Men's Black
                                                                                            Tradeshow
Finished Goods                                               $140.00                $140.00 Warehouse 1       Men's UA x TRX SuperVent Fitted T‐Shirt, Men's Black
                                                                                            TTC‐ TRX Training
Finished Goods                                                $90.00                 $90.00 Center            Men's UA x TRX Cage Shorts‐Black, Men's Black

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                                $36.00                 $36.00 TRX Office (HQ)   Men's UA x TRX Cage Shorts‐Black, Men's Black
                                                                                            Tradeshow
Finished Goods                                               $198.00                $198.00 Warehouse 1       Men's UA x TRX Cage Shorts‐Black, Men's Black

                                                                                               SF TRX Office
                                                                                               (HQ):RETURNS ‐ SF
Finished Goods                                                $12.00                  $12.00   TRX Office (HQ)     Men's UA x TRX Cage Shorts‐Black, Men's Black
                                                                                               Tradeshow
Finished Goods                                                $60.00                  $60.00   Warehouse 1         Men's UA x TRX Cage Shorts‐Black, Men's Black
                                                                                               Tradeshow
Finished Goods                                               $162.00                $162.00    Warehouse 1         Men's UA x TRX Cage Shorts‐Black, Men's Black
                                                                                               TTC‐ TRX Training
Finished Goods                                                $36.00                  $36.00   Center              Men's UA x TRX Cage Shorts‐Black, Men's Black

                                                                                               SF TRX Office
                                                                                               (HQ):RETURNS ‐ SF
Finished Goods                                                $18.00                  $18.00   TRX Office (HQ)     Men's UA x TRX Cage Shorts‐Black, Men's Black
                                                                                               Tradeshow
Finished Goods                                               $270.00                $270.00    Warehouse 1         Men's UA x TRX Cage Shorts‐Black, Men's Black
                                                                                               TTC‐ TRX Training
Finished Goods                                                $36.00                  $36.00   Center              Men's UA x TRX Cage Shorts‐Black, Men's Black
                                                                                               TTC‐ TRX Training
Finished Goods                                                $81.91                  $81.91   Center              Men's UA x TRX Cage Shorts‐Black, Men's Asphalt
                                                                                               Tradeshow
Finished Goods                                               $262.11                $262.11    Warehouse 1         Men's UA x TRX Cage Shorts‐Black, Men's Asphalt


                                                                               21 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                              Main Document    Page 54 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                            Description

Finished Goods                                             $1,113.98              $1,113.98 Ontario Warehouse Men's UA x TRX Cage Shorts‐Black, Men's Asphalt
                                                                                            Tradeshow
Finished Goods                                               $328.00               $328.00 Warehouse 1        Men's UA x TRX Cage Shorts‐Black, Men's Asphalt
                                                                                            TTC‐ TRX Training
Finished Goods                                                $65.60                 $65.60 Center            Men's UA x TRX Cage Shorts‐Black, Men's Asphalt

Finished Goods                                             $1,082.40              $1,082.40 Ontario Warehouse   Men's UA x TRX Cage Shorts‐Black, Men's Asphalt
                                                                                            Tradeshow
Finished Goods                                                $36.00                 $36.00 Warehouse 1         Men's UA x TRX Cage Shorts‐Black, Men's Asphalt
                                                                                            TTC‐ TRX Training
Finished Goods                                                $20.57                 $20.57 Center              Men's UA x TRX Cage Shorts‐Black, Men's Asphalt
                                                                                            Tradeshow
Finished Goods                                                $72.00                 $72.00 Warehouse 1         Men's UA x TRX Cage Shorts‐Black, Men's Asphalt

Finished Goods                                                $51.43                  $51.43 Ontario Warehouse Men's UA x TRX Cage Shorts‐Black, Men's Asphalt

Finished Goods                                               $480.00                $480.00 Ontario Warehouse Men's UA x TRX ¼ Zip, Men's Black

Finished Goods                                               $240.00                $240.00 Ontario Warehouse Men's UA x TRX ¼ Zip, Men's Black

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $16.00                  $16.00 TRX Office (HQ)   Men's UA x TRX ¼ Zip, Men's Black
                                                                                             Tradeshow
Finished Goods                                                $13.24                  $13.24 Warehouse 1       UA HG ARMOUR MESH TANK ‐ BLACK

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $22.34                  $22.34 TRX Office (HQ)   UA HG ARMOUR MESH TANK ‐ BLACK

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $12.14                  $12.14 TRX Office (HQ)   UA HG ARMOUR MESH TANK ‐ BLACK

Finished Goods                                               $303.44                $303.44 Ontario Warehouse UA HG ARMOUR MESH TANK ‐ BLACK

Finished Goods                                                $45.00                  $45.00 Ontario Warehouse UA HG ARMOUR MESH TANK ‐ BLACK


                                                                               22 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                              Main Document    Page 55 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description

Finished Goods                                                $40.00                  $40.00 SF TRX Office (HQ) UA Contain Duffel

Finished Goods                                                $70.00                  $70.00 SF TRX Office (HQ) UA Swyft Men’s Running Short Sleeve Shirt
                                                                                             Tradeshow
Finished Goods                                                $98.00                  $98.00 Warehouse 1        UA Swyft Men’s Running Short Sleeve Shirt
                                                                                             TTC‐ TRX Training
Finished Goods                                                $14.00                  $14.00 Center             UA Swyft Men’s Running Short Sleeve Shirt

Finished Goods                                               $140.00                $140.00 SF TRX Office (HQ) UA Swyft Men’s Running Short Sleeve Shirt
                                                                                            Tradeshow
Finished Goods                                                $70.00                 $70.00 Warehouse 1        UA Swyft Men’s Running Short Sleeve Shirt
                                                                                            TTC‐ TRX Training
Finished Goods                                                $56.00                 $56.00 Center             UA Swyft Men’s Running Short Sleeve Shirt

Finished Goods                                                $70.00                  $70.00 SF TRX Office (HQ) UA Swyft Men’s Running Short Sleeve Shirt
                                                                                             TTC‐ TRX Training
Finished Goods                                                $14.00                  $14.00 Center             UA Swyft Men’s Running Short Sleeve Shirt
                                                                                             TTC‐ TRX Training
Finished Goods                                                $42.00                  $42.00 Center             UA Swyft Men’s Running Short Sleeve Shirt

Finished Goods                                                $70.00                  $70.00 SF TRX Office (HQ) UA Swyft Men’s Running Short Sleeve Shirt
                                                                                             Tradeshow
Finished Goods                                                $22.50                  $22.50 Warehouse 1        UA TECH 1/2 ZIP TWIST ‐ BLACK
                                                                                             Tradeshow
Finished Goods                                                $22.50                  $22.50 Warehouse 1        UA TECH 1/2 ZIP TWIST ‐ BLACK

Finished Goods                                               $257.42                $257.42 Ontario Warehouse UA TECH 1/2 ZIP TWIST ‐ BLACK

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $64.36                  $64.36 TRX Office (HQ)   UA TECH 1/2 ZIP TWIST ‐ BLACK

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $22.44                  $22.44 TRX Office (HQ)   UA TECH 1/2 ZIP TWIST ‐ BLACK

Finished Goods                                               $381.54                $381.54 Ontario Warehouse UA TECH 1/2 ZIP TWIST ‐ BLACK


                                                                               23 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                              Main Document    Page 56 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest           Location                              Description
                                                                                               Tradeshow
Finished Goods                                               $112.22                $112.22    Warehouse 1         UA TECH 1/2 ZIP TWIST ‐ BLACK
                                                                                               Tradeshow
Finished Goods                                               $120.00                $120.00    Warehouse 1         Vanish Seamless SS (BLK/GRY) ‐ Men's LG
                                                                                               Tradeshow
Finished Goods                                                $60.00                  $60.00   Warehouse 1         Vanish Seamless SS (BLK/GRY) ‐ Men's MED
                                                                                               Tradeshow
Finished Goods                                                $80.00                  $80.00   Warehouse 1         Vanish Seamless SS (BLK/GRY) ‐ Men's SM
                                                                                               Tradeshow
Finished Goods                                               $100.00                $100.00    Warehouse 1         Vanish Seamless SS (BLK/GRY) ‐ Men's XL

Finished Goods                                              $247.15                 $247.15    Ontario Warehouse   XD/RWT Vest Plates 2.25lb pair
Finished Goods                                               $543.73                $543.73    Aero ‐ 3PL          XD/RWT Vest Plates 2.25lb pair
Finished Goods                                             $1,221.48              $1,221.48    Aero ‐ 3PL          XD/RWT Vest Plates 4.25lb pair
Finished Goods                                             $1,283.54              $1,283.54    Aero ‐ 3PL          XD/RWT Vest Plates 6.25lb pair
Finished Goods                                             $2,737.80              $2,737.80    Aero ‐ 3PL          XD/RWT Vest Plates 9.25lb pair
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                               $115.26                $115.26    Unsellable          XD Agility Ladder
Finished Goods                                             $1,301.52              $1,301.52    Aero ‐ 3PL          1.5in x 30ft Conditioning Rope with
Finished Goods                                             $2,728.44              $2,728.44    Aero ‐ 3PL          1.5in x 50ft Conditioning Rope with
Finished Goods                                             $1,007.60              $1,007.60    Aero ‐ 3PL          XD Soft Kevlar KB 5LB
Finished Goods                                               $893.12                $893.12    Aero ‐ 3PL          XD Soft Kevlar KB 10LB
Finished Goods                                               $616.86                $616.86    Aero ‐ 3PL          XD Soft Kevlar KB 15LB
Finished Goods                                               $762.72                $762.72    Aero ‐ 3PL          XD Soft Kevlar KB 20LB
Finished Goods                                              $760.80                 $760.80    Aero ‐ 3PL          XD Soft Kevlar KB 25LB
Finished Goods                                              $861.63                $861.63     Aero ‐ 3PL          XD Soft Kevlar KB 30LB
Finished Goods                                             $1,024.32              $1,024.32    Aero ‐ 3PL          XD Soft Kevlar KB 35LB
Finished Goods                                             $1,185.60              $1,185.60    Aero ‐ 3PL          XD Soft Kevlar KB 40LB
Finished Goods                                             $1,372.28              $1,372.28    Aero ‐ 3PL          XD Soft Kevlar KB 45LB
Finished Goods                                             $1,147.70              $1,147.70    Aero ‐ 3PL          XD Soft Kevlar KB 50LB

Finished Goods                                               $179.84                $179.84 Ontario Warehouse 6lb Kevlar Rubber Medicine Ball

Finished Goods                                               $446.76                $446.76 Ontario Warehouse 8lb Kevlar Rubber Medicine Ball




                                                                               24 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                              Main Document    Page 57 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                               Description
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $31.04                  $31.04 Unsellable           10lb Kevlar Rubber Medicine Ball

Finished Goods                                               $243.37                $243.37 Ontario Warehouse 12lb Kevlar Rubber Medicine Ball
Finished Goods                                                 $8.69                  $8.69 Aero ‐ 3PL        12lb Kevlar Rubber Medicine Ball

Finished Goods                                             $2,269.31              $2,269.31 Ontario Warehouse 20lb Kevlar Rubber Medicine Ball

Finished Goods                                             $1,459.28              $1,459.28 Ontario Warehouse 25lb Kevlar Rubber Medicine Ball

Finished Goods                                             $1,582.02              $1,582.02 Ontario Warehouse 30lb Kevlar Rubber Medicine Ball

Finished Goods                                             $1,130.77              $1,130.77 Ontario Warehouse 15lb Kevlar Rubber Medicine Ball
Finished Goods                                                $32.24                 $32.24 Aero ‐ 3PL        4ft Kevlar Medium Covered Cords
Finished Goods                                                $16.12                 $16.12 Aero ‐ 3PL        4ft Kevlar X‐Heavy Covered Cords

Finished Goods                                                $22.23                 $22.23 Ontario Warehouse 4ft Kevlar Light Covered Cords W/Handle &
Finished Goods                                               $696.54                $696.54 Aero ‐ 3PL        4ft Kevlar Light Covered Cords W/Handle &
Finished Goods                                               $125.97                $125.97 Aero ‐ 3PL        4ft Kevlar Medium Covered Cords

Finished Goods                                                $24.18                 $24.18   Ontario Warehouse   4ft Kevlar Heavy Covered Cords
Finished Goods                                              $483.60                $483.60    Aero ‐ 3PL          4ft Kevlar Heavy Covered Cords
Finished Goods                                                $88.66                 $88.66   Aero ‐ 3PL          4ft Kevlar X‐Heavy Covered Cords
Finished Goods                                             $2,406.60              $2,406.60   Aero ‐ 3PL          20FT 50LB KEVLAR COVERED CORD
Finished Goods                                             $1,899.04              $1,899.04   Aero ‐ 3PL          20FT 100LB KEVLAR COVERED CORD
Finished Goods                                             $3,087.08              $3,087.08   Aero ‐ 3PL          20FT 150LB KEVLAR COVERED CORD

Finished Goods                                               $504.87                $504.87 Ontario Warehouse 1.5 X 30FT KEVLAR CONDITIONING

Finished Goods                                             $1,028.76              $1,028.76 Ontario Warehouse 1.5 X 50FT KEVLAR CONDITIONING
Finished Goods                                              $174.00                $174.00 Aero ‐ 3PL         Kevlar Conditioning Rope Cover

Finished Goods                                             $1,588.65              $1,588.65 Ontario Warehouse 2IN X 30FT KEVLAR CONDITIONING

Finished Goods                                             $1,388.00              $1,388.00 Ontario Warehouse 2IN X 50FT KEVLAR CONDITIONING
Finished Goods                                              $353.08                $353.08 Aero ‐ 3PL         Kevlar Rubber Mats 4mm x 72"


                                                                               25 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                              Main Document    Page 58 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest           Location                          Description
                                                                                              Ontario
                                                                                              Warehouse:CS
                                                                                              Returns‐Ontario‐
Finished Goods                                                $21.68                 $21.68   Unsellable         Kevlar Rubber Mat 6mm x 72"
Finished Goods                                                $43.36                 $43.36   Aero ‐ 3PL         Kevlar Rubber Mat 6mm x 72"
Finished Goods                                              $307.71                 $307.71   Aero ‐ 3PL         Kevlar Rubber Mats 6mm x 60"
Finished Goods                                             $5,393.70              $5,393.70   Aero ‐ 3PL         Competition Ring Straps
Finished Goods                                             $1,659.60              $1,659.60   Aero ‐ 3PL         Wood Rings with Kevlar Strap
Finished Goods                                             $1,615.30              $1,615.30   Aero ‐ 3PL         XD Wrist Supports

Finished Goods                                               $242.55                $242.55 Ontario Warehouse XD Kevlar Sand Bag 10lbs
Finished Goods                                               $727.65                $727.65 Aero ‐ 3PL        XD Kevlar Sand Bag 10lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $48.51                 $48.51 Unsellable        XD Kevlar Sand Bag 10lbs

Finished Goods                                                $50.27                  $50.27 Ontario Warehouse XD Kevlar Sand Bag 20lbs

Finished Goods                                               $440.45                $440.45 Ontario Warehouse XD KEVLER SAND BAG 25 LBS

Finished Goods                                               $716.99                $716.99 Ontario Warehouse XD KEVLER SAND BAG 35 LBS

Finished Goods                                               $239.96                $239.96 Ontario Warehouse XD KEVLER SAND BAG 40 LBS

Finished Goods                                             $1,816.59              $1,816.59 Ontario Warehouse XD KEVLER SAND BAG 45 LBS

Finished Goods                                               $437.99                $437.99 Ontario Warehouse XD KEVLER SAND BAG 50 LBS

Finished Goods                                             $1,156.34              $1,156.34 Ontario Warehouse XD KEVLER SAND BAG 60 LBS

Finished Goods                                               $503.50                $503.50 Ontario Warehouse 5 LB KEVLAR SAND DISC W/GRIP
                                                                                            Tradeshow
Finished Goods                                                $40.28                 $40.28 Warehouse 1       5 LB KEVLAR SAND DISC W/GRIP

Finished Goods                                                $27.52                  $27.52 Ontario Warehouse 10 LB KEVLAR SAND DISC W/GRIP
Finished Goods                                                $55.04                  $55.04 Aero ‐ 3PL        10 LB KEVLAR SAND DISC W/GRIP



                                                                               26 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                              Main Document    Page 59 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                            Description
                                                                                             Tradeshow
Finished Goods                                                $82.56                  $82.56 Warehouse 1       10 LB KEVLAR SAND DISC W/GRIP

Finished Goods                                               $907.74                $907.74 Ontario Warehouse 15 LB KEVLAR SAND DISC W/GRIP

Finished Goods                                               $161.52                $161.52 Ontario Warehouse 20 LB KEVLAR SAND DISC W/GRIP
                                                                                            Tradeshow
Finished Goods                                               $121.14                $121.14 Warehouse 1       20 LB KEVLAR SAND DISC W/GRIP

Finished Goods                                               $565.56                $565.56 Ontario Warehouse 25 LB KEVLAR SAND DISC W/GRIP

Finished Goods                                               $600.49                $600.49 Ontario Warehouse 30 LB KEVLAR SAND DISC W/GRIP

Finished Goods                                               $841.26                $841.26 Ontario Warehouse 35 LB KEVLAR SAND DISC W/GRIP

Finished Goods                                             $2,403.18              $2,403.18 Ontario Warehouse 40 LB KEVLAR SAND DISC W/GRIP

Finished Goods                                               $883.96                $883.96 Ontario Warehouse 45 LB KEVLAR SAND DISC W/GRIP

Finished Goods                                             $1,037.76              $1,037.76 Ontario Warehouse 50 LB KEVLAR SAND DISC W/GRIP

Finished Goods                                             $1,080.48              $1,080.48 Ontario Warehouse 75 LB KEVLAR SAND DISC W/GRIP

Finished Goods                                             $1,028.06              $1,028.06 Ontario Warehouse 100 LB KEVLAR SAND DISC W/GRIP
Finished Goods                                             $2,001.34              $2,001.34 Aero ‐ 3PL        '80lb Kevlar Sand Bag'
Finished Goods                                             $2,745.12              $2,745.12 Aero ‐ 3PL        '160lb Kevlar Sand Bag'

Finished Goods                                             $5,536.96              $5,536.96 Ontario Warehouse 100lb Kevlar Slug Bag
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $314.60               $314.60 Unsellable         100lb Kevlar Slug Bag

Finished Goods                                             $4,841.84              $4,841.84 Ontario Warehouse 200lb Kevlar Slug Bag
Finished Goods                                              $371.04                $371.04 Aero ‐ 3PL         250lb Kevlar Slug Bag

Finished Goods                                             $9,368.76              $9,368.76 Ontario Warehouse 250lb Kevlar Slug Bag



                                                                               27 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                              Main Document    Page 60 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                               Description

Finished Goods                                             $7,142.10              $7,142.10 Ontario Warehouse 300lb Kevlar Slug Bag
Finished Goods                                             $1,020.30              $1,020.30 Aero ‐ 3PL        300lb Kevlar Slug Bag

Finished Goods                                             $4,448.29              $4,448.29 Ontario Warehouse 50lb Kevlar Slug Bag

Finished Goods                                             $3,670.09              $3,670.09   Ontario Warehouse   75lb Kevlar Slug Bag
Finished Goods                                             $2,441.60              $2,441.60   Aero ‐ 3PL          Slug Sand Bag 80lbs
Finished Goods                                             $2,143.60              $2,143.60   Aero ‐ 3PL          Slug Sand Bag 85lbs
Finished Goods                                             $3,087.00              $3,087.00   Aero ‐ 3PL          Slug Sand Bag 90lbs

Finished Goods                                             $4,368.00              $4,368.00 Ontario Warehouse Slug Sand Bag 95lbs
Finished Goods                                             $4,312.00              $4,312.00 Aero ‐ 3PL        Slug Sand Bag 95lbs

Finished Goods                                             $4,725.00              $4,725.00 Ontario Warehouse KEVLAR SLUG BAG 200LB
Finished Goods                                             $3,528.00              $3,528.00 Aero ‐ 3PL        KEVLAR SLUG BAG 200LB
Finished Goods                                             $2,030.00              $2,030.00 Aero ‐ 3PL        KEVLAR SLUG BAG 250LB

Finished Goods                                             $3,003.00              $3,003.00   Ontario Warehouse   KEVLAR SLUG BAG 300LB
Finished Goods                                             $2,310.00              $2,310.00   Aero ‐ 3PL          KEVLAR SLUG BAG 300LB
Finished Goods                                              $498.06                 $498.06   Aero ‐ 3PL          XD KEVLAR AMERICAN FLAG 10LB RWB
Finished Goods                                             $2,257.96              $2,257.96   Aero ‐ 3PL          XD KEVLAR AMERICAN FLAG 25LB RWB
Finished Goods                                             $3,849.84              $3,849.84   Aero ‐ 3PL          XD KEVLAR AMERICAN FLAG 45LB RWB
Finished Goods                                              $359.71                $359.71    Aero ‐ 3PL          XD KEVLAR AMERICAN FLAG 10LB B/W
Finished Goods                                              $415.94                $415.94    Aero ‐ 3PL          XD KEVLAR AMERICAN FLAG 25LB B/W
Finished Goods                                             $1,497.16              $1,497.16   Aero ‐ 3PL          XD KEVLAR AMERICAN FLAG 45LB B/W
Finished Goods                                                $97.24                 $97.24   Aero ‐ 3PL          XD Kevlar/Urethane Bumper Plates 15lb
Finished Goods                                              $723.84                $723.84    Aero ‐ 3PL          XD Kevlar Change Plate 2.5 lb
Finished Goods                                              $257.92                $257.92    Aero ‐ 3PL          4" KEVLAR WEIGHTLIFTING BELT
Finished Goods                                              $266.24                $266.24    Aero ‐ 3PL          4" KEVLAR WEIGHTLIFTING BELT
Finished Goods                                              $223.89                $223.89    Aero ‐ 3PL          4" KEVLAR WEIGHTLIFTING BELT
Finished Goods                                              $377.54                $377.54    Aero ‐ 3PL          4" KEVLAR WEIGHTLIFTING BELT
Finished Goods                                              $424.12                $424.12    Aero ‐ 3PL          4" KEVLAR WEIGHTLIFTING BELT
Finished Goods                                              $115.23                $115.23    Aero ‐ 3PL          5" KEVLAR WEIGHTLIFTING
Finished Goods                                              $445.89                $445.89    Aero ‐ 3PL          5" KEVLAR WEIGHTLIFTING
Finished Goods                                              $391.46                $391.46    Aero ‐ 3PL          5" KEVLAR WEIGHTLIFTING
Finished Goods                                              $423.20                $423.20    Aero ‐ 3PL          5" KEVLAR WEIGHTLIFTING
Finished Goods                                              $484.59                $484.59    Aero ‐ 3PL          5" KEVLAR WEIGHTLIFTING


                                                                               28 of 226
                            Case 8:22-bk-10949-SC              Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                               Main Document    Page 61 of 494


    General Description of Property (Raw
    Materials, Work in Progress, Finished   Net Book Value of Debtor's    Current Value of
     Goods, Other Inventory or Supplies)             Interest             Debtor's Interest        Location                            Description
Finished Goods                                                 $256.52                 $256.52Aero ‐ 3PL           4IN SMALL KEVLAR WEIGHTLIFTING BELT
Finished Goods                                                 $210.63                 $210.63Aero ‐ 3PL           4IN MEDIUM KEVLAR WEIGHTLIFTING BELT
Finished Goods                                                 $369.25                 $369.25Aero ‐ 3PL           4IN XLARGE KEVLAR WEIGHTLIFTING BELT
Finished Goods                                                 $422.28                 $422.28Aero ‐ 3PL           4IN XXLARGE KEVLAR
Finished Goods                                                 $327.60                 $327.60Aero ‐ 3PL           5IN SMALL KEVLAR WEIGHTLIFTING BELT
Finished Goods                                                 $319.22                 $319.22Aero ‐ 3PL           5IN MEDIUM KEVLAR WEIGHTLIFTING BELT
Finished Goods                                                 $205.92                 $205.92Aero ‐ 3PL           5IN LARGE KEVLAR WEIGHTLIFTING BELT
Finished Goods                                                 $339.20                 $339.20Aero ‐ 3PL           5IN XLARGE KEVLAR WEIGHTLIFTING BELT
Finished Goods                                                 $427.68                 $427.68Aero ‐ 3PL           5IN XXLARGE KEVLAR
Finished Goods                                                $1,351.50              $1,351.50Aero ‐ 3PL           20LB KEVLAR WEIGHT BELT
                                                                                              Ontario
                                                                                              Warehouse:CS
                                                                                              Returns‐Ontario‐
Finished Goods                                                 $117.60                $117.60 Unsellable           XD Kevlar Weight Vest 40lbs

Finished Goods                                                 $117.60                $117.60 Ontario Warehouse XD Kevlar Weight Vest 40lbs
                                                                                                                 Item# 51052 – 24oz Actives black bottle with yellow
Finished Goods                                                  $60.75                 $60.75 SF TRX Office (HQ) bumper
                                                                                              Ontario
                                                                                              Warehouse:CS
                                                                                              Returns‐Ontario‐
Finished Goods                                                  $25.45                 $25.45 Unsellable         Poster ‐ TRX All Body Flexibility v2
Finished Goods                                                 $534.48                $534.48 Amazon FBA ‐ 3PL Poster ‐ TRX All Body Flexibility v2

Finished Goods                                               $1,832.50              $1,832.50 Ontario Warehouse Poster ‐ TRX All Body Flexibility v2
Finished Goods                                                $763.54                $763.54 Tigers Logistics   Poster ‐ TRX All Body Flexibility v2
                                                                                              Amazon FBA CA ‐
Finished Goods                                                 $547.20               $547.20 3PL                Poster ‐ TRX All Body Flexibility v2

Finished Goods                                                 $305.42                $305.42 Tigers‐UK Thurrock Poster ‐ TRX All Body Flexibility v2

                                                                                              SF TRX Office
                                                                                              (HQ):RETURNS ‐ SF
Finished Goods                                                  $25.45                 $25.45 TRX Office (HQ)   Poster ‐ TRX All Body Flexibility v2
                                                                                              Amazon FBA
Finished Goods                                                 $152.71                $152.71 Returns‐Unusable Poster ‐ TRX All Body Flexibility v2
                                                                                              Tradeshow
Finished Goods                                                  $12.73                 $12.73 Warehouse 2       Poster ‐ TRX All Body Flexibility v2


                                                                                 29 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                               Desc
                                                              Main Document    Page 62 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest          Location                                 Description
                                                                                            IFC Integrated
Finished Goods                                               $381.77                $381.77 Fulfillment            Poster ‐ TRX All Body Flexibility v2

Finished Goods                                               $109.23               $109.23 Tigers‐UK Thurrock      Poster ‐ TRX All Body Strength Advanced v2
                                                                                            Amazon FBA
Finished Goods                                                $54.62                 $54.62 Returns‐Unusable       Poster ‐ TRX All Body Strength Advanced v2
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $13.65                 $13.65 Unsellable             Poster ‐ TRX All Body Strength Advanced v2
                                                                                            Tradeshow
Finished Goods                                                $13.65                 $13.65 Warehouse 2            Poster ‐ TRX All Body Strength Advanced v2
                                                                                            IFC Integrated
Finished Goods                                              $559.82                $559.82 Fulfillment             Poster ‐ TRX All Body Strength Advanced v2
Finished Goods                                                $13.65                 $13.65 Amazon FBA ‐ 3PL       Poster ‐ TRX All Body Strength Advanced v2
Finished Goods                                             $2,689.84              $2,689.84 Tigers Logistics       Poster ‐ TRX All Body Strength Advanced v2

Finished Goods                                               $382.31                $382.31 Ontario Warehouse Poster ‐ TRX All Body Strength Advanced v2

Finished Goods                                                $13.65                  $13.65 SF TRX Office (HQ) Poster ‐ TRX All Body Strength Advanced v2

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $13.65                  $13.65 TRX Office (HQ)   Poster ‐ TRX All Body Strength Advanced v2

                                                                                               SF TRX Office
                                                                                               (HQ):RETURNS ‐ SF
Finished Goods                                                $19.61                  $19.61   TRX Office (HQ)     Poster ‐ TRX All Body Strength v2
                                                                                               Tradeshow
Finished Goods                                                 $9.80                  $9.80    Warehouse 2         Poster ‐ TRX All Body Strength v2
Finished Goods                                                $58.83                 $58.83    Amazon FBA ‐ 3PL    Poster ‐ TRX All Body Strength v2
Finished Goods                                               $745.12                $745.12    Tigers Logistics    Poster ‐ TRX All Body Strength v2

Finished Goods                                             $2,637.33              $2,637.33 Ontario Warehouse Poster ‐ TRX All Body Strength v2
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $9.80                  $9.80 Unsellable        Poster ‐ TRX All Body Strength v2


                                                                               30 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                              Main Document    Page 63 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest          Location                              Description

Finished Goods                                               $196.08                $196.08 Tigers‐UK Thurrock Poster ‐ TRX All Body Strength v2
                                                                                            Amazon FBA
Finished Goods                                               $117.65                $117.65 Returns‐Unusable Poster ‐ TRX All Body Strength v2

Finished Goods                                                 $9.80                  $9.80 SF TRX Office (HQ) Poster ‐ TRX All Body Strength v2
                                                                                            IFC Integrated
Finished Goods                                               $431.38                $431.38 Fulfillment        Poster ‐ TRX All Body Strength v2

Finished Goods                                                 $3.58                   $3.58 SF TRX Office (HQ) TRX All Body Xpress DVD
                                                                                             Tradeshow
Finished Goods                                                 $7.15                   $7.15 Warehouse 2        TRX All Body Xpress DVD

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Insert for ACFT‐BDL‐RTL

Finished Goods                                                 $0.00                  $0.00 Ontario Warehouse   Sleeve for ACFT‐BDL‐RTL
                                                                                            Tradeshow           Set of three acupressure silicone balls‐ soft, medium, hard
Finished Goods                                                 $8.34                  $8.34 Warehouse 1         in polybag
                                                                                            Quarantined         Set of three acupressure silicone balls‐ soft, medium, hard
Finished Goods                                             $1,960.09              $1,960.09 Inventory           in polybag
                                                                                                                Set of three acupressure silicone balls‐ soft, medium, hard
Finished Goods                                             $6,097.12              $6,097.12   Ontario Warehouse in polybag
                                                                                              Inventory ‐
Finished Goods                                               $378.00                $378.00   Manufacturer      Custom Floor Graphic
                                                                                              Ontario
                                                                                              Warehouse:CS      Eat the Frog ‐ Custom Floor Graphic (24 total floor decals)
                                                                                              Returns‐Ontario‐  12 (#1‐12) Green with White Numbers 12 (#1‐12) White
Finished Goods                                               $353.43                $353.43   Unsellable        with Green Numbers
                                                                                                                Eat the Frog ‐ Custom Floor Graphic (24 total floor decals)
                                                                                                                12 (#1‐12) Green with White Numbers 12 (#1‐12) White
Finished Goods                                             $2,827.44              $2,827.44   Ontario Warehouse with Green Numbers
                                                                                              Tradeshow
Finished Goods                                               $419.64                $419.64   Warehouse 1       TRX Floor Run‐Outs (Floor Graphic)

Finished Goods                                             $9,022.25              $9,022.25 Ontario Warehouse TRX Floor Run‐Outs (Floor Graphic)

Finished Goods                                                $83.40                  $83.40 SF TRX Office (HQ) Ankle Strap



                                                                               31 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                              Main Document    Page 64 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                              Description

Finished Goods                                             $5,453.94              $5,453.94 Ontario Warehouse TRX‐BANDIT Box
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $14.87                 $14.87 Unsellable        TRX‐BANDIT Box
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $1.40                  $1.40 Unsellable        TRX‐BANDIT Collateral

Finished Goods                                               $510.19                $510.19 Ontario Warehouse TRX‐BANDIT Collateral

Finished Goods                                               $920.00                $920.00 Ontario Warehouse TRX‐BANDIT Brochure w/Belly Band ‐ CORE
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $0.59                  $0.59 Unsellable        TRX‐BANDIT Insert

Finished Goods                                               $217.83                $217.83 Ontario Warehouse TRX‐BANDIT Insert
Finished Goods                                                 $0.00                  $0.00 Tigers Logistics  Plastic Bandit set of 2 handles

Finished Goods                                             $1,023.02              $1,023.02 Ontario Warehouse Custom tray for TRX‐BANDIT‐RTL
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $2.46                  $2.46 Unsellable        Custom tray for TRX‐BANDIT‐RTL
                                                                                                              TRX‐BANDIT Brochure w/Belly Band ‐ TTC Subscribers &
Finished Goods                                               $920.00               $920.00 Ontario Warehouse Media
                                                                                                              Plastic Bandit Kit ‐ 2 handles and 4 Bands‐ (2) 5/15, (2)
Finished Goods                                                 $0.00                  $0.00 Tigers Logistics  15/30
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $12.71                 $12.71 Unsellable        TRX‐BANDIT/Elastic Resistance Band Set ‐ Box

Finished Goods                                            $21,805.87             $21,805.87 Ontario Warehouse TRX‐BANDIT/Elastic Resistance Band Set ‐ Box



                                                                               32 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                              Main Document    Page 65 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                 $1.11                   $1.11 Unsellable         TRX‐BANDIT/Elastic Resistance Band Set ‐ Collateral

Finished Goods                                               $583.56                $583.56 Ontario Warehouse TRX‐BANDIT/Elastic Resistance Band Set ‐ Collateral
                                                                                            Inventory ‐
Finished Goods                                                 $5.56                  $5.56 Manufacturer      TRX‐BANDIT/Elastic Resistance Band Set ‐ Collateral

Finished Goods                                             $1,468.54              $1,468.54 Ontario Warehouse   TRX‐BANDIT/Elastic Resistance Band Set ‐ Insert
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $2.99                  $2.99 Unsellable          TRX‐BANDIT/Elastic Resistance Band Set ‐ Insert
                                                                                            Inventory ‐
Finished Goods                                                $14.95                 $14.95 Manufacturer        TRX‐BANDIT/Elastic Resistance Band Set ‐ Insert
                                                                                            Inventory ‐
Finished Goods                                                $21.00                 $21.00 Manufacturer        Custom tray for TRX‐BANDIT/ERBAND‐SET‐RTL

Finished Goods                                             $2,219.00              $2,219.00 Ontario Warehouse Custom tray for TRX‐BANDIT/ERBAND‐SET‐RTL
                                                                                            Tradeshow
Finished Goods                                                 $6.63                  $6.63 Warehouse 2       TRX Boot Camp: Ropes + Straps

Finished Goods                                                 $8.83                   $8.83 SF TRX Office (HQ) TRX Boot Camp: Ropes + Straps

Finished Goods                                             $6,853.05              $6,853.05 Ontario Warehouse TRX Performance Beanie ‐ Black
                                                                                            Tradeshow
Finished Goods                                                $28.55                 $28.55 Warehouse 1       TRX Elite Backpack ‐ Charcoal
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $85.65                 $85.65 Unsellable        TRX Elite Backpack ‐ Charcoal

Finished Goods                                             $1,684.45              $1,684.45 Ontario Warehouse TRX Elite Backpack ‐ Charcoal
                                                                                            Tradeshow
Finished Goods                                                 $0.00                  $0.00 Warehouse 1       Black table cloth w/ white TRX logo
                                                                                            Tradeshow
Finished Goods                                                 $0.00                  $0.00 Warehouse 1       Plain black airwall with white TRX logo


                                                                               33 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                              Main Document    Page 66 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description

Finished Goods                                            $11,812.50             $11,812.50 Ontario Warehouse   BOSU® PRO BALANCE TRAINER Includes foot pump
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $94.50                 $94.50 Unsellable          BOSU® PRO BALANCE TRAINER Includes foot pump
                                                                                            Tradeshow
Finished Goods                                                $80.00                 $80.00 Warehouse 1         WECKMETHOD™ BOSU® ELITE ‐ demo only
                                                                                            Tradeshow
Finished Goods                                               $183.70               $183.70 Warehouse 2          DVD and Guide ‐ TRX Basic Training

Finished Goods                                                $66.13                  $66.13 SF TRX Office (HQ) DVD and Guide ‐ TRX Basic Training

Finished Goods                                               $111.59                $111.59 Ontario Warehouse C Clamp for replacements/ Monkey bar accessory
                                                                                            Tradeshow
Finished Goods                                                 $3.29                  $3.29 Warehouse 2       TRX Essentials: Cardio Circuit

Finished Goods                                                 $9.88                  $9.88 SF TRX Office (HQ) TRX Essentials: Cardio Circuit
                                                                                            Tradeshow          Marketing‐ Commercial Collateral Folder, Empty (package
Finished Goods                                               $245.76                $245.76 Warehouse 2        of 50)

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Commercial Licensing‐TRX Premier Blocks Facility License

Finished Goods                                             $1,732.50              $1,732.50 SF TRX Office (HQ) Sandalwood 18‐can Cooler, black

Finished Goods                                            $12,994.36             $12,994.36 Ontario Warehouse Join the Core Welcome Box and Sleeve

Finished Goods                                             $4,249.19              $4,249.19 Ontario Warehouse   CORE Wristband Black
                                                                                            Tradeshow
Finished Goods                                                $13.50                 $13.50 Warehouse 2         CORE Wristband Black
                                                                                            Tradeshow
Finished Goods                                               $375.11               $375.11 Warehouse 1          CORE Wristband Black
                                                                                            Tradeshow
Finished Goods                                               $114.75               $114.75 Warehouse 2          CORE Wristband Black and Yellow

Finished Goods                                               $206.54                $206.54 Ontario Warehouse CORE Wristband Black and Yellow
                                                                                            Tradeshow
Finished Goods                                                $29.26                 $29.26 Warehouse 2       CORE Wristband Gray


                                                                               34 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                              Main Document    Page 67 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest          Location                             Description

Finished Goods                                             $1,237.84              $1,237.84 Ontario Warehouse CORE Wristband Gray
                                                                                            Tradeshow
Finished Goods                                                $74.38                 $74.38 Warehouse 2       CORE Wristband White * Comes with Core subscription *

Finished Goods                                             $2,933.26              $2,933.26 Ontario Warehouse CORE Wristband White * Comes with Core subscription *

Finished Goods                                               $367.84                $367.84 Ontario Warehouse CORE Wristband White
                                                                                            Tradeshow
Finished Goods                                                $95.00                 $95.00 Warehouse 1       CORE Wristband White
                                                                                            Tradeshow
Finished Goods                                                $47.71                 $47.71 Warehouse 2       CORE Wristband Yellow

Finished Goods                                               $591.38                $591.38 Ontario Warehouse CORE Wristband Yellow
                                                                                            Tradeshow
Finished Goods                                                $11.13                 $11.13 Warehouse 2       TRX Core Strength Vol. 1

Finished Goods                                               $421.20                $421.20 Ontario Warehouse Training Manual ‐ TRX Cardio Tennis Playcards

Finished Goods                                               $943.93                $943.93 SF TRX Office (HQ) Dell Monitor for MAPS Kinect

                                                                                              SF TRX Office
                                                                                              (HQ):RETURNS ‐ SF
Finished Goods                                               $943.93                $943.93   TRX Office (HQ)     Dell Monitor for MAPS Kinect
                                                                                              Quarantined
Finished Goods                                             $2,831.78              $2,831.78   Inventory           Dell Monitor for MAPS Kinect
                                                                                              Inventory ‐
Finished Goods                                               $943.93                $943.93   Manufacturer        Dell Monitor for MAPS Kinect
                                                                                              Tradeshow
Finished Goods                                               $943.93                $943.93   Warehouse 4         Dell Monitor for MAPS Kinect
                                                                                              Tradeshow
Finished Goods                                             $3,471.89              $3,471.89   Warehouse 1         Dell Monitor for MAPS Kinect (DEMO ONLY)
                                                                                              Inventory ‐
Finished Goods                                               $867.97                $867.97   Manufacturer        Dell Monitor for MAPS Kinect (DEMO ONLY)
                                                                                              Inventory ‐
Finished Goods                                             $2,314.10              $2,314.10   Manufacturer        Dell Monitor for MAPS V3 Kiosk
                                                                                              Tradeshow
Finished Goods                                             $2,314.10              $2,314.10   Warehouse 4         Dell Monitor for MAPS V3 Kiosk


                                                                               35 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                              Main Document    Page 68 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest       Location                                Description

Finished Goods                                            $12,476.99             $12,476.99 Ontario Warehouse   Dell Monitor for MAPS V3 Kiosk ‐ Demo Only
                                                                                            Tradeshow
Finished Goods                                             $1,134.27              $1,134.27 Warehouse 1         Dell Monitor for MAPS V3 Kiosk ‐ Demo Only
                                                                                            Inventory ‐
Finished Goods                                             $1,134.27              $1,134.27 Manufacturer        Dell Monitor for MAPS V3 Kiosk ‐ Demo Only
                                                                                            Quarantined
Finished Goods                                             $2,241.58              $2,241.58 Inventory           Dell Monitor for MAPS V3 Kiosk
                                                                                            Tradeshow
Finished Goods                                             $1,120.79              $1,120.79 Warehouse 1         Dell Monitor for MAPS V3 Kiosk
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,120.79              $1,120.79 Unsellable          Dell Monitor for MAPS V3 Kiosk
                                                                                            Tradeshow
Finished Goods                                                 $0.00                  $0.00 Warehouse 1         Dell Monitor for MAPS V3 Kiosk‐DEMO
                                                                                            Quarantined
Finished Goods                                                 $0.00                  $0.00 Inventory           Dell Monitor for MAPS V3 Kiosk‐DEMO
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $3,372.09              $3,372.09 Unsellable          Dell Monitor for MAPS 3 Kiosk w. USD Drive (GOV UNIT)
                                                                                            Inventory ‐
Finished Goods                                             $1,423.86              $1,423.86 Manufacturer        Dell Monitor v2 for MAPS V3 Kiosk
                                                                                            Tradeshow
Finished Goods                                                 $5.89                  $5.89 Warehouse 2         Duffel Bag
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $63.70                 $63.70 Unsellable          TRX Elite Duffle ‐ Charcoal

Finished Goods                                                 $0.00                  $0.00 Ontario Warehouse   TRX Elite Duffle ‐ Charcoal
                                                                                            Quarantined
Finished Goods                                             $5,733.00              $5,733.00 Inventory           TRX Elite Duffle ‐ Charcoal
                                                                                            Tradeshow
Finished Goods                                                $31.85                 $31.85 Warehouse 1         TRX Elite Duffle ‐ Charcoal
Finished Goods                                               $183.87               $183.87 Amazon FBA ‐ 3PL     TRX Ab Sling



                                                                               36 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                       Desc
                                                              Main Document    Page 69 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                          Description
                                                                                            Amazon FBA
Finished Goods                                                $30.64                 $30.64 Returns‐Unusable   TRX Ab Sling
Finished Goods                                             $1,869.33              $1,869.33 Tigers Logistics   TRX Ab Sling

Finished Goods                                               $337.09                $337.09 Tigers‐UK Thurrock TRX Ab Sling

Finished Goods                                             $3,278.99              $3,278.99 Ontario Warehouse TRX Ab Sling
Finished Goods                                             $1,162.02              $1,162.02 Amazon FBA ‐ 3PL TRX Ab Cycle
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $27.67                 $27.67 Unsellable        TRX Ab Cycle

Finished Goods                                               $110.67                $110.67 Tigers‐UK Thurrock TRX Ab Cycle
                                                                                            Tradeshow
Finished Goods                                                $27.67                 $27.67 Warehouse 1        TRX Ab Cycle

Finished Goods                                             $9,877.13              $9,877.13 Ontario Warehouse TRX Ab Cycle
Finished Goods                                             $5,865.41              $5,865.41 Tigers Logistics  TRX Ab Cycle

Finished Goods                                            $21,208.00             $21,208.00 Ontario Warehouse TRX 20kg Olympic Bar (Men's)
                                                                                            Tradeshow
Finished Goods                                               $192.80               $192.80 Warehouse 1        TRX 20kg Olympic Bar (Men's)

Finished Goods                                            $16,318.40             $16,318.40 Ontario Warehouse TRX 15kg Olympic Bar (Women's)

Finished Goods                                               $343.93                $343.93 Ontario Warehouse TRX Claymore
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $102.52                $102.52 Unsellable        TRX Hex Rubber Dumbbell 10lbs

Finished Goods                                             $3,212.43              $3,212.43 Ontario Warehouse TRX Hex Rubber Dumbbell 10lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $150.04               $150.04 Unsellable         TRX Hex Rubber Dumbbell 15lbs



                                                                               37 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                      Desc
                                                              Main Document    Page 70 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest       Location                            Description

Finished Goods                                             $5,301.47              $5,301.47 Ontario Warehouse TRX Hex Rubber Dumbbell 15lbs

Finished Goods                                             $2,065.18              $2,065.18 Ontario Warehouse TRX Hex Rubber Dumbbell 2.5lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $177.83               $177.83 Unsellable         TRX Hex Rubber Dumbbell 20lbs

Finished Goods                                             $6,357.32              $6,357.32 Ontario Warehouse TRX Hex Rubber Dumbbell 20lbs

Finished Goods                                             $8,946.93              $8,946.93 Ontario Warehouse TRX Hex Rubber Dumbbell 25lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $111.14               $111.14 Unsellable         TRX Hex Rubber Dumbbell 25lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $166.71               $166.71 Unsellable         TRX Hex Rubber Dumbbell 30lbs

Finished Goods                                            $18,705.19             $18,705.19 Ontario Warehouse TRX Hex Rubber Dumbbell 30lbs

Finished Goods                                            $40,072.07             $40,072.07 Ontario Warehouse TRX Hex Rubber Dumbbell 35lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $78.04                 $78.04 Unsellable        TRX Hex Rubber Dumbbell 35lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $178.41               $178.41 Unsellable         TRX Hex Rubber Dumbbell 40lbs

Finished Goods                                            $65,698.87             $65,698.87 Ontario Warehouse TRX Hex Rubber Dumbbell 40lbs

Finished Goods                                            $24,590.94             $24,590.94 Ontario Warehouse TRX Hex Rubber Dumbbell 45lbs




                                                                               38 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                              Main Document    Page 71 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                              Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $100.37                $100.37 Unsellable           TRX Hex Rubber Dumbbell 45lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $17.11                 $17.11 Unsellable           TRX Hex Rubber Dumbbell 5lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $111.51                $111.51 Unsellable           TRX Hex Rubber Dumbbell 50lbs

Finished Goods                                            $22,581.14             $22,581.14 Ontario Warehouse TRX Hex Rubber Dumbbell 50lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $175.29               $175.29 Unsellable         TRX Hex Rubber Dumbbell 10lbs (version 2)

Finished Goods                                               $569.69               $569.69 Tigers‐UK Thurrock TRX Hex Rubber Dumbbell 10lbs (version 2)
                                                                                            Quarantined
Finished Goods                                             $2,651.27              $2,651.27 Inventory         TRX Hex Rubber Dumbbell 10lbs (version 2)

Finished Goods                                            $50,943.88             $50,943.88 Ontario Warehouse TRX Hex Rubber Dumbbell 10lbs (version 2)
Finished Goods                                             $3,703.02              $3,703.02 Tigers Logistics  TRX Hex Rubber Dumbbell 10lbs (version 2)

Finished Goods                                               $821.68                $821.68 Tigers‐UK Thurrock   TRX Hex Rubber Dumbbell 15lbs (version 2)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $295.80                $295.80 Unsellable           TRX Hex Rubber Dumbbell 15lbs (version 2)
                                                                                            Quarantined
Finished Goods                                             $3,976.91              $3,976.91 Inventory            TRX Hex Rubber Dumbbell 15lbs (version 2)
Finished Goods                                             $5,439.49              $5,439.49 Tigers Logistics     TRX Hex Rubber Dumbbell 15lbs (version 2)

Finished Goods                                           $119,504.48            $119,504.48 Ontario Warehouse TRX Hex Rubber Dumbbell 15lbs (version 2)

Finished Goods                                           $433,735.08            $433,735.08 Ontario Warehouse TRX Hex Rubber Dumbbell 20lbs (version 2)


                                                                               39 of 226
                            Case 8:22-bk-10949-SC              Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                               Main Document    Page 72 of 494


    General Description of Property (Raw
    Materials, Work in Progress, Finished   Net Book Value of Debtor's    Current Value of
     Goods, Other Inventory or Supplies)             Interest             Debtor's Interest          Location                           Description
Finished Goods                                                $7,581.33              $7,581.33 Tigers Logistics     TRX Hex Rubber Dumbbell 20lbs (version 2)

Finished Goods                                               $3,001.85               $3,001.85 Tigers‐UK Thurrock   TRX Hex Rubber Dumbbell 20lbs (version 2)
                                                                                               Tradeshow
Finished Goods                                                  $43.82                  $43.82 Warehouse 1          TRX Hex Rubber Dumbbell 20lbs (version 2)
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                                 $591.61                $591.61 Unsellable            TRX Hex Rubber Dumbbell 20lbs (version 2)
                                                                                               Quarantined
Finished Goods                                               $5,302.55               $5,302.55 Inventory            TRX Hex Rubber Dumbbell 20lbs (version 2)
                                                                                               Quarantined
Finished Goods                                               $6,628.18               $6,628.18 Inventory            TRX Hex Rubber Dumbbell 25lbs (version 2)
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                                 $520.39                $520.39 Unsellable            TRX Hex Rubber Dumbbell 25lbs (version 2)

Finished Goods                                            $352,471.38             $352,471.38 Ontario Warehouse TRX Hex Rubber Dumbbell 25lbs (version 2)

Finished Goods                                               $4,327.49               $4,327.49 Tigers‐UK Thurrock TRX Hex Rubber Dumbbell 25lbs (version 2)
Finished Goods                                               $4,902.66               $4,902.66 Tigers Logistics   TRX Hex Rubber Dumbbell 25lbs (version 2)

Finished Goods                                               $2,004.89               $2,004.89 Tigers‐UK Thurrock TRX Hex Rubber Dumbbell 30lbs (version 2)

Finished Goods                                            $332,318.42             $332,318.42 Ontario Warehouse     TRX Hex Rubber Dumbbell 30lbs (version 2)
Finished Goods                                              $2,234.96               $2,234.96 Tigers Logistics      TRX Hex Rubber Dumbbell 30lbs (version 2)
                                                                                              Quarantined
Finished Goods                                               $7,953.82              $7,953.82 Inventory             TRX Hex Rubber Dumbbell 30lbs (version 2)
                                                                                              Ontario
                                                                                              Warehouse:CS
                                                                                              Returns‐Ontario‐
Finished Goods                                                 $723.07               $723.07 Unsellable             TRX Hex Rubber Dumbbell 30lbs (version 2)
                                                                                              Ontario
                                                                                              Warehouse:CS
                                                                                              Returns‐Ontario‐
Finished Goods                                                 $345.10                $345.10 Unsellable            TRX Hex Rubber Dumbbell 35lbs (version 2)



                                                                                 40 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                              Main Document    Page 73 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                             Description

Finished Goods                                             $1,687.17              $1,687.17 Tigers‐UK Thurrock TRX Hex Rubber Dumbbell 35lbs (version 2)
                                                                                            Quarantined
Finished Goods                                             $9,279.45              $9,279.45 Inventory          TRX Hex Rubber Dumbbell 35lbs (version 2)
Finished Goods                                             $3,259.31              $3,259.31 Tigers Logistics   TRX Hex Rubber Dumbbell 35lbs (version 2)

Finished Goods                                             $1,112.00              $1,112.00 Ontario Warehouse TRX Hex Rubber Dumbbell 35lbs (version 2)

Finished Goods                                             $6,617.23              $6,617.23 Ontario Warehouse   TRX Hex Rubber Dumbbell 40lbs (version 2)
Finished Goods                                             $5,696.95              $5,696.95 Tigers Logistics    TRX Hex Rubber Dumbbell 40lbs (version 2)
                                                                                            Quarantined
Finished Goods                                            $10,605.09             $10,605.09 Inventory           TRX Hex Rubber Dumbbell 40lbs (version 2)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $438.23               $438.23 Unsellable           TRX Hex Rubber Dumbbell 40lbs (version 2)

Finished Goods                                             $4,382.27              $4,382.27 Tigers‐UK Thurrock TRX Hex Rubber Dumbbell 40lbs (version 2)
Finished Goods                                             $6,655.57              $6,655.57 Tigers Logistics   TRX Hex Rubber Dumbbell 45lbs (version 2)

Finished Goods                                             $1,183.21              $1,183.21 Ontario Warehouse TRX Hex Rubber Dumbbell 45lbs (version 2)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $197.20               $197.20 Unsellable         TRX Hex Rubber Dumbbell 45lbs (version 2)

Finished Goods                                             $5,127.25              $5,127.25 Tigers‐UK Thurrock TRX Hex Rubber Dumbbell 45lbs (version 2)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $10.96                 $10.96 Unsellable         TRX Hex Rubber Dumbbell 5lbs (version 2)

Finished Goods                                             $3,538.68              $3,538.68 Ontario Warehouse TRX Hex Rubber Dumbbell 5lbs (version 2)
Finished Goods                                                 $5.48                  $5.48 Tigers Logistics  TRX Hex Rubber Dumbbell 5lbs (version 2)

Finished Goods                                                $32.87                 $32.87 Tigers‐UK Thurrock TRX Hex Rubber Dumbbell 5lbs (version 2)
                                                                                            Quarantined
Finished Goods                                             $1,325.64              $1,325.64 Inventory          TRX Hex Rubber Dumbbell 5lbs (version 2)


                                                                               41 of 226
                            Case 8:22-bk-10949-SC              Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                               Main Document    Page 74 of 494


    General Description of Property (Raw
    Materials, Work in Progress, Finished   Net Book Value of Debtor's    Current Value of
     Goods, Other Inventory or Supplies)             Interest             Debtor's Interest          Location                          Description
Finished Goods                                                $3,834.49              $3,834.49 Tigers Logistics    TRX Hex Rubber Dumbbell 50lbs (version 2)

Finished Goods                                               $3,177.15               $3,177.15 Tigers‐UK Thurrock TRX Hex Rubber Dumbbell 50lbs (version 2)
                                                                                               Quarantined
Finished Goods                                                 $547.78                $547.78 Inventory           TRX Hex Rubber Dumbbell 50lbs (version 2)
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                                 $109.56                $109.56 Unsellable          TRX Hex Rubber Dumbbell 50lbs (version 2)

Finished Goods                                                   $0.00                  $0.00 Ontario Warehouse TRX Hex Rubber Dumbbell 50lbs (version 2)
                                                                                              Amazon FBA
Finished Goods                                                 $224.21                $224.21 Returns‐Unusable TRX EPP Foam Roller ‐18" inch
                                                                                              IFC Integrated
Finished Goods                                                 $154.14                $154.14 Fulfillment       TRX EPP Foam Roller ‐18" inch

Finished Goods                                               $5,023.73              $5,023.73 Ontario Warehouse    TRX EPP Foam Roller ‐18" inch
                                                                                              Tradeshow
Finished Goods                                                   $7.01                  $7.01 Warehouse 2          TRX EPP Foam Roller ‐18" inch
Finished Goods                                                  $14.01                 $14.01 Amazon FBA ‐ 3PL     TRX EPP Foam Roller ‐18" inch
                                                                                              Quarantined
Finished Goods                                               $1,289.21              $1,289.21 Inventory            TRX EPP Foam Roller ‐18" inch
Finished Goods                                                $105.10                 $105.10 Tmall ‐ 3PL          TRX EPP Foam Roller ‐18" inch
Finished Goods                                               $1,765.66              $1,765.66 Tigers Logistics     TRX EPP Foam Roller ‐18" inch
                                                                                              Tradeshow
Finished Goods                                                  $56.05                 $56.05 Warehouse 1          TRX EPP Foam Roller ‐18" inch
                                                                                              Tradeshow
Finished Goods                                                  $63.06                 $63.06 Warehouse 4          TRX EPP Foam Roller ‐18" inch
                                                                                              Ontario
                                                                                              Warehouse:CS
                                                                                              Returns‐Ontario‐
Finished Goods                                                 $308.29               $308.29 Unsellable            TRX EPP Foam Roller ‐18" inch

Finished Goods                                               $5,119.07               $5,119.07 Ontario Warehouse   EPP Foam Roller ‐36" inch
Finished Goods                                                $268.30                 $268.30 Tmall ‐ 3PL          EPP Foam Roller ‐36" inch
                                                                                               IFC Integrated
Finished Goods                                                  $53.66                  $53.66 Fulfillment         EPP Foam Roller ‐36" inch
Finished Goods                                               $1,137.57               $1,137.57 Amazon FBA ‐ 3PL    EPP Foam Roller ‐36" inch


                                                                                 42 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                              Main Document    Page 75 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest            Location                             Description
                                                                                               TTC‐ TRX Training
Finished Goods                                                $10.73                  $10.73   Center              EPP Foam Roller ‐36" inch
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                               $461.47                $461.47    Unsellable          EPP Foam Roller ‐36" inch
Finished Goods                                               $654.64                $654.64    Tigers Logistics    EPP Foam Roller ‐36" inch
                                                                                               Amazon FBA
Finished Goods                                               $139.51                $139.51    Returns‐Unusable    EPP Foam Roller ‐36" inch
                                                                                               Tradeshow
Finished Goods                                                $53.66                  $53.66   Warehouse 4         EPP Foam Roller ‐36" inch
                                                                                               Tradeshow
Finished Goods                                                $32.20                  $32.20   Warehouse 1         EPP Foam Roller ‐36" inch
                                                                                               Tradeshow
Finished Goods                                                $24.60                  $24.60   Warehouse 1         18" Foam Roller DEMO ONLY

Finished Goods                                                $20.94                 $20.94 Ontario Warehouse 36" Foam Roller DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                                $20.94                 $20.94 Warehouse 1       36" Foam Roller DEMO ONLY
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $174.96                $174.96 Unsellable        TRX 100lb XD Heavy Bag

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                                $21.07                 $21.07 TRX Office (HQ)   TRX Overmolded Jump Rope (unboxed)
                                                                                            Quarantined
Finished Goods                                             $3,075.83              $3,075.83 Inventory         TRX Overmolded Jump Rope (unboxed)

Finished Goods                                                $52.67                  $52.67 Ontario Warehouse TRX Overmolded Jump Rope (unboxed)
                                                                                             Tradeshow
Finished Goods                                                $10.53                  $10.53 Warehouse 1       TRX Overmolded Jump Rope (unboxed)

Finished Goods                                             $1,159.03              $1,159.03 Ontario Warehouse Box for EXJMRP (RETAIL) *Not for individual resale
Finished Goods                                             $2,130.21              $2,130.21 Tigers Logistics  TRX Overmolded Jump Rope

Finished Goods                                             $1,319.81              $1,319.81 Tigers‐UK Thurrock TRX Overmolded Jump Rope


                                                                               43 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                              Main Document    Page 76 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description
                                                                                             Amazon FBA
Finished Goods                                                $57.89                  $57.89 Returns‐Unusable   TRX Overmolded Jump Rope

Finished Goods                                            $27,692.78             $27,692.78 Ontario Warehouse   TRX Overmolded Jump Rope
                                                                                            Quarantined
Finished Goods                                                $11.58                 $11.58 Inventory           TRX Overmolded Jump Rope
Finished Goods                                             $2,801.69              $2,801.69 Amazon FBA ‐ 3PL    TRX Overmolded Jump Rope
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $69.46                 $69.46 Unsellable          TRX Overmolded Jump Rope

Finished Goods                                            $28,151.48             $28,151.48 Ontario Warehouse TRX Plastic Handle Jump Rope
Finished Goods                                              $523.26                $523.26 Tigers Logistics   TRX Plastic Handle Jump Rope
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $378.36               $378.36 Unsellable         TRX Plastic Handle Jump Rope

Finished Goods                                               $938.71                $938.71 Tigers‐UK Thurrock Gravity Cast KB 12kg
                                                                                            IFC Integrated
Finished Goods                                               $278.14                $278.14 Fulfillment        Gravity Cast KB 12kg
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $625.81                $625.81 Unsellable         Gravity Cast KB 12kg

Finished Goods                                                $34.77                  $34.77 SF TRX Office (HQ) Gravity Cast KB 12kg
                                                                                             Tradeshow
Finished Goods                                                $69.53                  $69.53 Warehouse 4        Gravity Cast KB 12kg

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                                $69.53                 $69.53 TRX Office (HQ)   Gravity Cast KB 12kg
                                                                                            Tradeshow
Finished Goods                                               $521.51                $521.51 Warehouse 1       Gravity Cast KB 12kg

Finished Goods                                                $48.50                  $48.50 SF TRX Office (HQ) Gravity Cast KB 16kg


                                                                               44 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                              Main Document    Page 77 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest           Location                              Description

Finished Goods                                             $3,298.04              $3,298.04 Tigers‐UK Thurrock Gravity Cast KB 16kg

                                                                                               SF TRX Office
                                                                                               (HQ):RETURNS ‐ SF
Finished Goods                                              $145.50                $145.50     TRX Office (HQ)     Gravity Cast KB 16kg
Finished Goods                                             $6,305.07              $6,305.07    Tigers Logistics    Gravity Cast KB 16kg
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                             $3,346.54              $3,346.54    Unsellable          Gravity Cast KB 16kg
                                                                                               IFC Integrated
Finished Goods                                               $291.00                $291.00    Fulfillment         Gravity Cast KB 16kg
                                                                                               Tradeshow
Finished Goods                                                $97.00                  $97.00   Warehouse 4         Gravity Cast KB 16kg
                                                                                               Tradeshow
Finished Goods                                               $388.00                $388.00    Warehouse 1         Gravity Cast KB 16kg

Finished Goods                                             $9,674.45              $9,674.45 Tigers‐UK Thurrock Gravity Cast KB 20kg

Finished Goods                                                $54.97                 $54.97 SF TRX Office (HQ) Gravity Cast KB 20kg
                                                                                            IFC Integrated
Finished Goods                                               $274.84                $274.84 Fulfillment        Gravity Cast KB 20kg

                                                                                               SF TRX Office
                                                                                               (HQ):RETURNS ‐ SF
Finished Goods                                               $109.94                $109.94    TRX Office (HQ)     Gravity Cast KB 20kg
                                                                                               Tradeshow
Finished Goods                                               $274.84                $274.84    Warehouse 2         Gravity Cast KB 20kg
                                                                                               Tradeshow
Finished Goods                                              $769.56                $769.56     Warehouse 1         Gravity Cast KB 20kg
Finished Goods                                            $20,063.50             $20,063.50    Tigers Logistics    Gravity Cast KB 20kg
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                               $714.59                $714.59    Unsellable          Gravity Cast KB 20kg
                                                                                               Tradeshow
Finished Goods                                               $217.44                $217.44    Warehouse 1         Gravity Cast KB 24kg


                                                                               45 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                              Main Document    Page 78 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                             Description

Finished Goods                                            $18,264.96             $18,264.96 Ontario Warehouse Gravity Cast KB 24kg
Finished Goods                                            $19,207.20             $19,207.20 Tigers Logistics  Gravity Cast KB 24kg
                                                                                            IFC Integrated
Finished Goods                                               $217.44               $217.44 Fulfillment        Gravity Cast KB 24kg

Finished Goods                                             $7,900.32              $7,900.32 Tigers‐UK Thurrock Gravity Cast KB 24kg

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                               $144.96               $144.96 TRX Office (HQ)    Gravity Cast KB 24kg
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $3,334.08              $3,334.08 Unsellable        Gravity Cast KB 24kg
                                                                                            Tradeshow
Finished Goods                                               $239.93               $239.93 Warehouse 1        Gravity Cast KB 28kg

Finished Goods                                            $38,229.64             $38,229.64 Ontario Warehouse Gravity Cast KB 28kg

Finished Goods                                             $5,518.50              $5,518.50 Tigers‐UK Thurrock Gravity Cast KB 28kg
Finished Goods                                            $16,235.60             $16,235.60 Tigers Logistics   Gravity Cast KB 28kg
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $5,838.42              $5,838.42 Unsellable         Gravity Cast KB 28kg

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                               $159.96                $159.96 TRX Office (HQ)   Gravity Cast KB 28kg

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                               $175.14                $175.14 TRX Office (HQ)   Gravity Cast KB 32kg

Finished Goods                                            $40,281.80             $40,281.80 Ontario Warehouse Gravity Cast KB 32kg




                                                                               46 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                              Desc
                                                              Main Document    Page 79 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                                 Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $262.71               $262.71 Unsellable               Gravity Cast KB 32kg
                                                                                            Tradeshow
Finished Goods                                                $87.57                 $87.57 Warehouse 1             Gravity Cast KB 32kg
Finished Goods                                             $1,138.40              $1,138.40 Tigers Logistics        Gravity Cast KB 32kg

Finished Goods                                            $63,212.79             $63,212.79 Ontario Warehouse Gravity Cast KB 36kg
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                              $204.90                $204.90 Unsellable         Gravity Cast KB 36kg
Finished Goods                                             $2,766.20              $2,766.20 Tigers Logistics  Gravity Cast KB 36kg

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                               $204.90                $204.90 TRX Office (HQ)   Gravity Cast KB 36kg

                                                                                               SF TRX Office
                                                                                               (HQ):RETURNS ‐ SF
Finished Goods                                                $22.87                 $22.87    TRX Office (HQ)      Gravity Cast KB 4kg
Finished Goods                                             $5,031.36              $5,031.36    Tigers Logistics     Gravity Cast KB 4kg
                                                                                               Tigers
                                                                                               Logistics:Tigers ‐
Finished Goods                                                $34.30                  $34.30   Returns              Gravity Cast KB 4kg
                                                                                               Tradeshow
Finished Goods                                                $22.87                  $22.87   Warehouse 4          Gravity Cast KB 4kg

Finished Goods                                             $2,104.02              $2,104.02 Tigers‐UK Thurrock      Gravity Cast KB 4kg
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $34.30                 $34.30 Unsellable              Gravity Cast KB 4kg
                                                                                            IFC Integrated
Finished Goods                                                $91.48                 $91.48 Fulfillment             Gravity Cast KB 4kg
Finished Goods                                             $3,600.89              $3,600.89 Tigers Logistics        Gravity Cast KB 40kg



                                                                               47 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                              Main Document    Page 80 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                               $109.12               $109.12 TRX Office (HQ)    Gravity Cast KB 40kg
                                                                                            Inventory ‐
Finished Goods                                             $1,964.12              $1,964.12 Manufacturer      Gravity Cast KB 40kg

Finished Goods                                             $1,091.18              $1,091.18 Tigers‐UK Thurrock Gravity Cast KB 40kg

Finished Goods                                            $62,197.23             $62,197.23 Ontario Warehouse Gravity Cast KB 40kg

Finished Goods                                            $25,171.85             $25,171.85 Ontario Warehouse Gravity Cast KB 44kg

Finished Goods                                            $24,688.53             $24,688.53 Ontario Warehouse   Gravity Cast KB 48kg
                                                                                            IFC Integrated
Finished Goods                                                $92.20                 $92.20 Fulfillment         Gravity Cast KB 6kg
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $239.72               $239.72 Unsellable           Gravity Cast KB 6kg
                                                                                            Tradeshow
Finished Goods                                                $18.44                 $18.44 Warehouse 2         Gravity Cast KB 6kg
Finished Goods                                             $6,122.19              $6,122.19 Tigers Logistics    Gravity Cast KB 6kg
                                                                                            Tradeshow
Finished Goods                                                $36.88                 $36.88 Warehouse 4         Gravity Cast KB 6kg
                                                                                            Tradeshow
Finished Goods                                                $36.88                 $36.88 Warehouse 1         Gravity Cast KB 6kg

Finished Goods                                            $11,008.88             $11,008.88 Ontario Warehouse Gravity Cast KB 6kg

Finished Goods                                             $1,825.59              $1,825.59 Tigers‐UK Thurrock Gravity Cast KB 6kg

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $36.88                  $36.88 TRX Office (HQ)   Gravity Cast KB 6kg

Finished Goods                                               $329.79                $329.79 Tigers‐UK Thurrock Gravity Cast KB 8kg



                                                                               48 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                              Main Document    Page 81 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                               Description
                                                                                            TTC‐ TRX Training
Finished Goods                                                $23.56                 $23.56 Center                 Gravity Cast KB 8kg
                                                                                            Tradeshow
Finished Goods                                               $447.58                $447.58 Warehouse 2            Gravity Cast KB 8kg
                                                                                            Tradeshow
Finished Goods                                                $47.11                 $47.11 Warehouse 4            Gravity Cast KB 8kg

                                                                                               SF TRX Office
                                                                                               (HQ):RETURNS ‐ SF
Finished Goods                                                $70.67                  $70.67   TRX Office (HQ)     Gravity Cast KB 8kg
                                                                                               Tradeshow
Finished Goods                                               $117.78                $117.78    Warehouse 1         Gravity Cast KB 8kg
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                               $188.45                $188.45    Unsellable          Gravity Cast KB 8kg
                                                                                               IFC Integrated
Finished Goods                                               $188.45                $188.45    Fulfillment         Gravity Cast KB 8kg
                                                                                               Tradeshow
Finished Goods                                                $88.51                  $88.51   Warehouse 1         Kettle bell 12 kg DEMO ONLY

Finished Goods                                                $66.38                  $66.38 Ontario Warehouse Kettle bell 12 kg DEMO ONLY

Finished Goods                                               $118.32                $118.32 Ontario Warehouse Kettle bell 16 kg DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                               $266.22                $266.22 Warehouse 1       Kettle bell 16 kg DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                               $134.05                $134.05 Warehouse 1       Kettle bell 20 kg DEMO ONLY

Finished Goods                                               $134.05                $134.05 Ontario Warehouse Kettle bell 20 kg DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                               $128.76                $128.76 Warehouse 1       Kettle bell 24 kg DEMO ONLY

Finished Goods                                                $85.84                  $85.84 Ontario Warehouse Kettle bell 24 kg DEMO ONLY

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Kettle bell 28 kg DEMO ONLY

Finished Goods                                               $562.20                $562.20 Ontario Warehouse Kettle bell 32 kg DEMO ONLY


                                                                               49 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                              Main Document    Page 82 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                               Description
                                                                                            Tradeshow
Finished Goods                                               $112.44                $112.44 Warehouse 1         Kettle bell 32 kg DEMO ONLY

Finished Goods                                               $126.48                $126.48 Ontario Warehouse Kettle bell 36 kg DEMO ONLY

Finished Goods                                                $48.15                  $48.15 Ontario Warehouse Kettle bell 4 kg DEMO ONLY
                                                                                             Tradeshow
Finished Goods                                                $19.26                  $19.26 Warehouse 1       Kettle bell 4 kg DEMO ONLY

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Kettle bell 40 kg DEMO ONLY

Finished Goods                                                $68.05                  $68.05 Ontario Warehouse Kettle bell 6 kg DEMO ONLY
                                                                                             Tradeshow
Finished Goods                                                $27.22                  $27.22 Warehouse 1       Kettle bell 6 kg DEMO ONLY

Finished Goods                                                $33.42                 $33.42 Ontario Warehouse   Kettle bell 8 kg DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                                $66.84                 $66.84 Warehouse 1         Kettle bell 8 kg DEMO ONLY
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                              $188.23                $188.23 Unsellable           TRX Gravity Cast KB 12kg (version 2)
Finished Goods                                             $4,109.75              $4,109.75 Tigers Logistics    TRX Gravity Cast KB 12kg (version 2)

Finished Goods                                               $166.21                $166.21 Ontario Warehouse   TRX Gravity Cast KB 16kg (version 2)
Finished Goods                                             $6,232.81              $6,232.81 Tigers Logistics    TRX Gravity Cast KB 16kg (version 2)
Finished Goods                                             $7,759.80              $7,759.80 Tigers Logistics    TRX Gravity Cast KB 20kg (version 2)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $103.46               $103.46 Unsellable           TRX Gravity Cast KB 20kg (version 2)

Finished Goods                                             $1,086.37              $1,086.37 Ontario Warehouse TRX Gravity Cast KB 20kg (version 2)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                              $247.65                $247.65 Unsellable         TRX Gravity Cast KB 24kg (version 2)
Finished Goods                                             $7,739.00              $7,739.00 Tigers Logistics  TRX Gravity Cast KB 24kg (version 2)


                                                                               50 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                              Main Document    Page 83 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description

Finished Goods                                             $8,358.12              $8,358.12 Ontario Warehouse TRX Gravity Cast KB 24kg (version 2)
Finished Goods                                             $3,604.60              $3,604.60 Tigers Logistics  TRX Gravity Cast KB 28kg (version 2)

Finished Goods                                            $17,229.98             $17,229.98 Ontario Warehouse TRX Gravity Cast KB 28kg (version 2)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $72.09                 $72.09 Unsellable        TRX Gravity Cast KB 28kg (version 2)

Finished Goods                                             $9,461.27              $9,461.27 Ontario Warehouse TRX Gravity Cast KB 32kg (version 2)
Finished Goods                                             $2,468.16              $2,468.16 Tigers Logistics  TRX Gravity Cast KB 32kg (version 2)

Finished Goods                                             $7,488.60              $7,488.60 Ontario Warehouse TRX Gravity Cast KB 36kg (version 2)
Finished Goods                                             $1,849.04              $1,849.04 Tigers Logistics  TRX Gravity Cast KB 36kg (version 2)

Finished Goods                                              $132.15                $132.15 Ontario Warehouse TRX Gravity Cast KB 4kg (version 2)
Finished Goods                                             $1,101.22              $1,101.22 Tigers Logistics TRX Gravity Cast KB 4kg (version 2)

Finished Goods                                             $3,900.01              $3,900.01 Ontario Warehouse TRX Gravity Cast KB 40kg (version 2)
Finished Goods                                             $2,052.64              $2,052.64 Tigers Logistics  TRX Gravity Cast KB 40kg (version 2)

Finished Goods                                             $1,804.99              $1,804.99 Ontario Warehouse TRX Gravity Cast KB 44kg (version 2)

Finished Goods                                             $1,967.87              $1,967.87 Ontario Warehouse TRX Gravity Cast KB 48kg (version 2)
Finished Goods                                             $1,610.22              $1,610.22 Tigers Logistics  TRX Gravity Cast KB 6kg (version 2)

Finished Goods                                              $611.88                $611.88 Ontario Warehouse TRX Gravity Cast KB 6kg (version 2)
Finished Goods                                             $2,667.15              $2,667.15 Tigers Logistics TRX Gravity Cast KB 8kg (version 2)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $20.36                 $20.36 Unsellable       TRX Gravity Cast KB 8kg (version 2)

Finished Goods                                                $40.72                  $40.72 Ontario Warehouse TRX Gravity Cast KB 8kg (version 2)

Finished Goods                                              $634.64                $634.64 Tigers‐UK Thurrock TRX Agility Ladder
Finished Goods                                            $13,644.65             $13,644.65 Tigers Logistics  TRX Agility Ladder


                                                                               51 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                              Desc
                                                              Main Document    Page 84 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                                  Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $148.08                $148.08 Unsellable             TRX Agility Ladder

Finished Goods                                             $3,871.27              $3,871.27 Ontario Warehouse      TRX Agility Ladder
                                                                                            Tradeshow
Finished Goods                                                $21.15                 $21.15 Warehouse 1            TRX Agility Ladder
                                                                                            Amazon FBA
Finished Goods                                                $29.67                 $29.67 Returns‐Unusable       TRX Agility Ladder ‐ w/retail packaging
                                                                                            Amazon FBA CA ‐
Finished Goods                                               $296.75               $296.75 3PL                     TRX Agility Ladder ‐ w/retail packaging

Finished Goods                                             $5,816.29              $5,816.29    Ontario Warehouse   TRX Agility Ladder ‐ w/retail packaging
Finished Goods                                              $207.72                $207.72     Amazon FBA ‐ 3PL    TRX Agility Ladder ‐ w/retail packaging
Finished Goods                                               $148.37                $148.37    Tigers Logistics    TRX Agility Ladder ‐ w/retail packaging
Finished Goods                                              $406.24                 $406.24    Tmall ‐ 3PL         TRX Mat
                                                                                               Tradeshow
Finished Goods                                               $125.00                $125.00    Warehouse 4         TRX Mat
                                                                                               IFC Integrated
Finished Goods                                              $164.06                $164.06     Fulfillment         TRX Mat
Finished Goods                                             $7,507.72              $7,507.72    Amazon FBA ‐ 3PL    TRX Mat
                                                                                               Amazon FBA
Finished Goods                                               $156.25                $156.25    Returns‐Unusable    TRX Mat
                                                                                               Tradeshow
Finished Goods                                                $54.69                  $54.69   Warehouse 1         TRX Mat

Finished Goods                                            $23,280.95             $23,280.95 Ontario Warehouse      TRX Mat
                                                                                            Amazon FBA CA ‐
Finished Goods                                               $359.37               $359.37 3PL                     TRX Mat
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,796.85              $1,796.85 Unsellable             TRX Mat
Finished Goods                                            $12,968.58             $12,968.58 Tigers Logistics       TRX Mat

Finished Goods                                             $2,257.78              $2,257.78 Tigers‐UK Thurrock TRX Mat



                                                                               52 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                              Main Document    Page 85 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                                 Description

Finished Goods                                                $30.82                 $30.82 Ontario Warehouse TRX NBR Mat DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                               $169.53                $169.53 Warehouse 1       TRX NBR Mat DEMO ONLY

Finished Goods                                               $983.37               $983.37 Tigers‐UK Thurrock   Med Ball 10in Ball 10lb
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                              $431.72                $431.72 Unsellable           Med Ball 10in Ball 10lb
Finished Goods                                             $2,062.67              $2,062.67 Tigers Logistics    Med Ball 10in Ball 10lb
                                                                                            Tradeshow
Finished Goods                                                $23.98                 $23.98 Warehouse 4         Med Ball 10in Ball 10lb

Finished Goods                                            $11,944.29             $11,944.29 Ontario Warehouse Med Ball 10in Ball 10lb

Finished Goods                                               $533.43                $533.43 Tigers‐UK Thurrock Med Ball 10in Ball 12lb
                                                                                            Tradeshow
Finished Goods                                                $76.20                 $76.20 Warehouse 4        Med Ball 10in Ball 12lb

Finished Goods                                             $3,581.61              $3,581.61 Ontario Warehouse Med Ball 10in Ball 12lb
Finished Goods                                             $3,810.22              $3,810.22 Tigers Logistics  Med Ball 10in Ball 12lb
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $254.01               $254.01 Unsellable         Med Ball 10in Ball 12lb

Finished Goods                                               $885.08                $885.08 Tigers‐UK Thurrock Med Ball 10in Ball 4lb

Finished Goods                                             $1,416.13              $1,416.13 Ontario Warehouse Med Ball 10in Ball 4lb
Finished Goods                                             $1,180.10              $1,180.10 Tigers Logistics  Med Ball 10in Ball 4lb
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $216.35               $216.35 Unsellable         Med Ball 10in Ball 4lb

Finished Goods                                             $6,768.20              $6,768.20 Ontario Warehouse Med Ball 10in Ball 6lb



                                                                               53 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                              Desc
                                                              Main Document    Page 86 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                                 Description

Finished Goods                                               $719.12               $719.12 Tigers‐UK Thurrock   Med Ball 10in Ball 6lb
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                              $296.11                $296.11 Unsellable           Med Ball 10in Ball 6lb
Finished Goods                                             $1,142.13              $1,142.13 Tigers Logistics    Med Ball 10in Ball 6lb
                                                                                            Tradeshow
Finished Goods                                                $63.45                 $63.45 Warehouse 4         Med Ball 10in Ball 6lb
                                                                                            Tradeshow
Finished Goods                                                $21.15                 $21.15 Warehouse 1         Med Ball 10in Ball 6lb
Finished Goods                                             $2,031.08              $2,031.08 Tigers Logistics    Med Ball 10in Ball 8lb
                                                                                            Tradeshow
Finished Goods                                                $67.70                 $67.70 Warehouse 4         Med Ball 10in Ball 8lb
                                                                                            Tradeshow
Finished Goods                                                $22.57                 $22.57 Warehouse 1         Med Ball 10in Ball 8lb

Finished Goods                                               $812.43                $812.43 Tigers‐UK Thurrock Med Ball 10in Ball 8lb
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $428.78                $428.78 Unsellable         Med Ball 10in Ball 8lb

Finished Goods                                             $5,822.43              $5,822.43 Ontario Warehouse Med Ball 10in Ball 8lb

Finished Goods                                               $118.91               $118.91 SF TRX Office (HQ)   Wall Ball 14in Ball 10lb
                                                                                            Tradeshow
Finished Goods                                              $118.91                $118.91 Warehouse 1          Wall Ball 14in Ball 10lb
Finished Goods                                             $2,942.93              $2,942.93 Tigers Logistics    Wall Ball 14in Ball 10lb
                                                                                            Tradeshow
Finished Goods                                               $237.81               $237.81 Warehouse 2          Wall Ball 14in Ball 10lb

Finished Goods                                             $1,753.86              $1,753.86 Tigers‐UK Thurrock Wall Ball 14in Ball 10lb

Finished Goods                                             $6,480.38              $6,480.38 Ontario Warehouse Wall Ball 14in Ball 10lb




                                                                               54 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                               Desc
                                                              Main Document    Page 87 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                                   Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $416.17                $416.17 Unsellable           Wall Ball 14in Ball 10lb

Finished Goods                                              $127.18                $127.18 SF TRX Office (HQ) Wall Ball 14in Ball 12lb
Finished Goods                                             $1,367.23              $1,367.23 Tigers Logistics  Wall Ball 14in Ball 12lb
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $317.96               $317.96 Unsellable         Wall Ball 14in Ball 12lb

Finished Goods                                             $2,162.13              $2,162.13 Tigers‐UK Thurrock Wall Ball 14in Ball 12lb
                                                                                            Tradeshow
Finished Goods                                               $349.76               $349.76 Warehouse 2         Wall Ball 14in Ball 12lb

Finished Goods                                            $16,692.89             $16,692.89 Ontario Warehouse Wall Ball 14in Ball 12lb

Finished Goods                                                $33.87                  $33.87 SF TRX Office (HQ) Wall Ball 14in Ball 14lb

Finished Goods                                             $1,320.75              $1,320.75 Tigers‐UK Thurrock Wall Ball 14in Ball 14lb

Finished Goods                                             $7,247.20              $7,247.20 Ontario Warehouse    Wall Ball 14in Ball 14lb
Finished Goods                                             $2,065.79              $2,065.79 Tigers Logistics     Wall Ball 14in Ball 14lb
                                                                                            Tradeshow
Finished Goods                                               $609.58               $609.58 Warehouse 2           Wall Ball 14in Ball 14lb
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $304.79               $304.79 Unsellable            Wall Ball 14in Ball 14lb

Finished Goods                                                $33.39                  $33.39 SF TRX Office (HQ) Wall Ball 14in Ball 16lb

Finished Goods                                             $1,402.39              $1,402.39 Tigers‐UK Thurrock Wall Ball 14in Ball 16lb
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $300.51               $300.51 Unsellable          Wall Ball 14in Ball 16lb


                                                                               55 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                              Main Document    Page 88 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                                Description

Finished Goods                                               $934.92                $934.92 Ontario Warehouse Wall Ball 14in Ball 16lb
                                                                                            Tradeshow
Finished Goods                                               $667.80                $667.80 Warehouse 2       Wall Ball 14in Ball 16lb

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                                $33.39                 $33.39 TRX Office (HQ)   Wall Ball 14in Ball 16lb
Finished Goods                                               $868.14                $868.14 Tigers Logistics  Wall Ball 14in Ball 16lb

Finished Goods                                             $1,702.06              $1,702.06 Tigers‐UK Thurrock Wall Ball 14in Ball 18lb
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                              $106.38                $106.38 Unsellable          Wall Ball 14in Ball 18lb
Finished Goods                                             $4,255.15              $4,255.15 Tigers Logistics   Wall Ball 14in Ball 18lb

Finished Goods                                             $3,120.44              $3,120.44 Ontario Warehouse Wall Ball 14in Ball 18lb
Finished Goods                                                 $0.00                  $0.00 Tigers Logistics  Wall Ball 14in Ball 20lb

Finished Goods                                               $120.22                $120.22 SF TRX Office (HQ) Wall Ball 14in Ball 20lb
                                                                                            Tradeshow
Finished Goods                                               $200.37                $200.37 Warehouse 1        Wall Ball 14in Ball 20lb
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $400.74                $400.74 Unsellable         Wall Ball 14in Ball 20lb

Finished Goods                                             $1,242.29              $1,242.29 Tigers‐UK Thurrock Wall Ball 14in Ball 20lb

Finished Goods                                             $8,134.98              $8,134.98 Ontario Warehouse Wall Ball 14in Ball 20lb
                                                                                            Tradeshow
Finished Goods                                               $120.22               $120.22 Warehouse 4        Wall Ball 14in Ball 20lb

Finished Goods                                            $15,714.39             $15,714.39 Ontario Warehouse Wall Ball 14in Ball 24lb




                                                                               56 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                              Desc
                                                              Main Document    Page 89 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                                 Description
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $59.08                  $59.08 Unsellable         Wall Ball 14in Ball 24lb

Finished Goods                                             $2,244.91              $2,244.91 Tigers‐UK Thurrock Wall Ball 14in Ball 24lb
Finished Goods                                             $3,249.22              $3,249.22 Tigers Logistics   Wall Ball 14in Ball 24lb

Finished Goods                                             $1,762.57              $1,762.57 Tigers‐UK Thurrock Wall Ball 14in Ball 4lb
                                                                                            IFC Integrated
Finished Goods                                               $326.40               $326.40 Fulfillment         Wall Ball 14in Ball 4lb

Finished Goods                                            $10,379.55             $10,379.55 Ontario Warehouse Wall Ball 14in Ball 4lb
Finished Goods                                             $4,798.10              $4,798.10 Tigers Logistics  Wall Ball 14in Ball 4lb

Finished Goods                                             $5,461.16              $5,461.16 Ontario Warehouse Wall Ball 14in Ball 6lb
                                                                                            IFC Integrated
Finished Goods                                               $576.07               $576.07 Fulfillment        Wall Ball 14in Ball 6lb

Finished Goods                                             $1,244.31              $1,244.31 Tigers‐UK Thurrock Wall Ball 14in Ball 6lb
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $46.09                 $46.09 Unsellable         Wall Ball 14in Ball 6lb
Finished Goods                                             $6,175.49              $6,175.49 Tigers Logistics   Wall Ball 14in Ball 6lb

Finished Goods                                                $82.97                 $82.97 SF TRX Office (HQ) Wall Ball 14in Ball 8lb
Finished Goods                                             $1,659.42              $1,659.42 Tigers Logistics   Wall Ball 14in Ball 8lb

Finished Goods                                             $4,535.76              $4,535.76 Ontario Warehouse Wall Ball 14in Ball 8lb

Finished Goods                                             $1,327.54              $1,327.54 Tigers‐UK Thurrock Wall Ball 14in Ball 8lb
                                                                                            Tradeshow
Finished Goods                                                $27.66                 $27.66 Warehouse 1        Wall Ball 14in Ball 8lb
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $55.31                 $55.31 Unsellable         Wall Ball 14in Ball 8lb


                                                                               57 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                Desc
                                                              Main Document    Page 90 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                                    Description
                                                                                            Tradeshow
Finished Goods                                               $525.48                $525.48 Warehouse 2            Wall Ball 14in Ball 8lb
                                                                                            Tradeshow
Finished Goods                                                $61.95                 $61.95 Warehouse 1            Med Ball 10in Ball 10lb DEMO ONLY

Finished Goods                                             $1,739.00              $1,739.00 Ontario Warehouse Box for EXMDBL‐10 ‐12 (RETAIL) *Not for individual resale

Finished Goods                                               $590.49                $590.49 Ontario Warehouse Med Ball 10in Ball 12lb DEMO ONLY

                                                                                               SF TRX Office
                                                                                               (HQ):RETURNS ‐ SF
Finished Goods                                                $52.36                  $52.36   TRX Office (HQ)     TRX 10" Medicine Ball ‐ 12 lbs (Retail)
                                                                                               Tradeshow
Finished Goods                                               $654.53                $654.53    Warehouse 2         TRX 10" Medicine Ball ‐ 12 lbs (Retail)
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                            $10,446.32             $10,446.32    Unsellable          TRX 10" Medicine Ball ‐ 12 lbs (Retail)
                                                                                               Tradeshow
Finished Goods                                                $19.37                  $19.37   Warehouse 1         Med Ball 10in Ball 4lb DEMO ONLY
                                                                                               Tradeshow
Finished Goods                                                $40.08                  $40.08   Warehouse 1         Med Ball 10in Ball 6lb DEMO ONLY

Finished Goods                                             $1,880.00              $1,880.00 Ontario Warehouse Box for EXMDBL‐10‐8 (RETAIL) *Not for individual resale
                                                                                            Tradeshow
Finished Goods                                                $40.08                 $40.08 Warehouse 1       Med Ball 10in Ball 8lb DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                               $775.25               $775.25 Warehouse 2        TRX 10" Medicine Ball ‐ 8 lbs (Retail)

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                                $46.98                 $46.98 TRX Office (HQ)   TRX 10" Medicine Ball ‐ 8 lbs (Retail)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $9,302.98              $9,302.98 Unsellable        TRX 10" Medicine Ball ‐ 8 lbs (Retail)

Finished Goods                                                $78.60                  $78.60 Ontario Warehouse Med Ball 14in Ball 10lb DEMO ONLY


                                                                               58 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                              Main Document    Page 91 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                                 Description
                                                                                            Tradeshow
Finished Goods                                               $117.90                $117.90 Warehouse 1            Med Ball 14in Ball 10lb DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                                $81.19                 $81.19 Warehouse 1            Med Ball 14in Ball 12lb DEMO ONLY

Finished Goods                                                 $9.95                   $9.95 Ontario Warehouse Med Ball 14in Ball 14lb DEMO ONLY
                                                                                             Tradeshow
Finished Goods                                                 $9.95                   $9.95 Warehouse 1       Med Ball 14in Ball 14lb DEMO ONLY

Finished Goods                                                $88.92                  $88.92 Ontario Warehouse Med Ball 14in Ball 16lb DEMO ONLY

Finished Goods                                                $48.29                 $48.29 Ontario Warehouse      Med Ball 14in Ball 20lb DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                                 $0.00                  $0.00 Warehouse 1            Med Ball 14in Ball 4lb DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                                 $0.00                  $0.00 Warehouse 1            Med Ball 14in Ball 6lb DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                                $75.08                 $75.08 Warehouse 1            Med Ball 14in Ball 8lb DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                               $100.44                $100.44 Warehouse 1            Mini Bands 12" Heavy
                                                                                            Tradeshow
Finished Goods                                                 $3.04                  $3.04 Warehouse 2            Mini Bands 12" Heavy

Finished Goods                                                $51.74                  $51.74 SF TRX Office (HQ) Mini Bands 12" Heavy
                                                                                             TTC‐ TRX Training
Finished Goods                                                $57.83                  $57.83 Center             Mini Bands 12" Heavy
                                                                                             IFC Integrated
                                                                                             Fulfillment:IFC ‐
Finished Goods                                                 $3.04                   $3.04 Returns            Mini Bands 12" Heavy

                                                                                               SF TRX Office
                                                                                               (HQ):RETURNS ‐ SF
Finished Goods                                                $21.31                  $21.31   TRX Office (HQ)     Mini Bands 12" Heavy
                                                                                               Inventory ‐
Finished Goods                                             $3,500.13              $3,500.13    Manufacturer        Mini Bands 12" Heavy
Finished Goods                                             $3,265.77              $3,265.77    Amazon FBA ‐ 3PL    Mini Bands 12" Heavy
                                                                                               Tradeshow
Finished Goods                                                 $9.13                   $9.13   Warehouse 4         Mini Bands 12" Heavy


                                                                               59 of 226
                            Case 8:22-bk-10949-SC              Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                               Main Document    Page 92 of 494


    General Description of Property (Raw
    Materials, Work in Progress, Finished   Net Book Value of Debtor's    Current Value of
     Goods, Other Inventory or Supplies)             Interest             Debtor's Interest          Location                              Description
Finished Goods                                                $4,458.86              $4,458.86 Tigers Logistics     Mini Bands 12" Heavy
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                                 $118.70                 $118.70 Unsellable           Mini Bands 12" Heavy

Finished Goods                                                 $763.94                $763.94 Tigers‐UK Thurrock Mini Bands 12" Heavy

Finished Goods                                               $1,677.02              $1,677.02 Ontario Warehouse Mini Bands 12" Heavy
                                                                                              IFC Integrated
Finished Goods                                                 $255.66               $255.66 Fulfillment        Mini Bands 12" Heavy

Finished Goods                                                 $951.57                $951.57 Tigers‐UK Thurrock Mini Bands 12" Light
                                                                                              Tradeshow
Finished Goods                                                   $8.30                  $8.30 Warehouse 4        Mini Bands 12" Light
                                                                                              IFC Integrated
                                                                                              Fulfillment:IFC ‐
Finished Goods                                                   $2.77                  $2.77 Returns            Mini Bands 12" Light

                                                                                                SF TRX Office
                                                                                                (HQ):RETURNS ‐ SF
Finished Goods                                                  $16.60                 $16.60   TRX Office (HQ)     Mini Bands 12" Light
                                                                                                Tradeshow
Finished Goods                                                  $69.15                 $69.15   Warehouse 1         Mini Bands 12" Light
Finished Goods                                               $3,305.59              $3,305.59   Tigers Logistics    Mini Bands 12" Light
                                                                                                IFC Integrated
Finished Goods                                                 $199.16                $199.16   Fulfillment         Mini Bands 12" Light

Finished Goods                                                 $771.76               $771.76 Ontario Warehouse      Mini Bands 12" Light
                                                                                              Tradeshow
Finished Goods                                                  $11.06                 $11.06 Warehouse 2           Mini Bands 12" Light
Finished Goods                                               $2,968.11              $2,968.11 Amazon FBA ‐ 3PL      Mini Bands 12" Light
                                                                                              Ontario
                                                                                              Warehouse:CS
                                                                                              Returns‐Ontario‐
Finished Goods                                                 $113.41               $113.41 Unsellable             Mini Bands 12" Light
                                                                                              TTC‐ TRX Training
Finished Goods                                                  $52.56                 $52.56 Center                Mini Bands 12" Light


                                                                                 60 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                              Main Document    Page 93 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description

Finished Goods                                                $47.03                 $47.03 SF TRX Office (HQ) Mini Bands 12" Light
                                                                                            Inventory ‐
Finished Goods                                             $3,181.11              $3,181.11 Manufacturer       Mini Bands 12" Light
                                                                                            Inventory ‐
Finished Goods                                             $3,469.75              $3,469.75 Manufacturer       Mini Bands 12" Medium

Finished Goods                                               $684.90                $684.90 Tigers‐UK Thurrock Mini Bands 12" Medium
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $156.89                $156.89 Unsellable         Mini Bands 12" Medium

Finished Goods                                             $3,557.24              $3,557.24 Ontario Warehouse   Mini Bands 12" Medium
                                                                                            IFC Integrated
                                                                                            Fulfillment:IFC ‐
Finished Goods                                                 $3.02                  $3.02 Returns             Mini Bands 12" Medium
                                                                                            IFC Integrated
Finished Goods                                                 $6.03                  $6.03 Fulfillment         Mini Bands 12" Medium
Finished Goods                                             $3,237.42              $3,237.42 Amazon FBA ‐ 3PL    Mini Bands 12" Medium
                                                                                            TTC‐ TRX Training
Finished Goods                                                $60.34                 $60.34 Center              Mini Bands 12" Medium
                                                                                            Tradeshow
Finished Goods                                                 $9.05                  $9.05 Warehouse 4         Mini Bands 12" Medium
Finished Goods                                             $1,967.19              $1,967.19 Tigers Logistics    Mini Bands 12" Medium
                                                                                            Tradeshow
Finished Goods                                                $96.55                 $96.55 Warehouse 1         Mini Bands 12" Medium

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $24.14                  $24.14 TRX Office (HQ)   Mini Bands 12" Medium

Finished Goods                                                $51.29                  $51.29 SF TRX Office (HQ) Mini Bands 12" Medium

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $22.99                  $22.99 TRX Office (HQ)   Mini Bands 12" XLight



                                                                               61 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                              Main Document    Page 94 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                                 Description
                                                                                            Inventory ‐
Finished Goods                                             $2,938.04              $2,938.04 Manufacturer          Mini Bands 12" XLight
Finished Goods                                             $2,741.32              $2,741.32 Amazon FBA ‐ 3PL      Mini Bands 12" XLight

Finished Goods                                               $623.38                $623.38 Tigers‐UK Thurrock Mini Bands 12" XLight

Finished Goods                                             $1,576.32              $1,576.32 Ontario Warehouse     Mini Bands 12" XLight
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $12.77                 $12.77 Unsellable            Mini Bands 12" XLight
                                                                                            Tradeshow
Finished Goods                                                 $7.66                  $7.66 Warehouse 2           Mini Bands 12" XLight
                                                                                            Tradeshow
Finished Goods                                                $89.42                 $89.42 Warehouse 1           Mini Bands 12" XLight
                                                                                            IFC Integrated
Finished Goods                                              $235.04                $235.04 Fulfillment            Mini Bands 12" XLight
Finished Goods                                             $2,033.64              $2,033.64 Tigers Logistics      Mini Bands 12" XLight
                                                                                            Tradeshow
Finished Goods                                                 $7.66                  $7.66 Warehouse 4           Mini Bands 12" XLight

Finished Goods                                                $43.43                  $43.43 SF TRX Office (HQ)   Mini Bands 12" XLight
                                                                                             TTC‐ TRX Training
Finished Goods                                                $30.66                  $30.66 Center               Mini Bands 12" XLight
                                                                                             IFC Integrated
                                                                                             Fulfillment:IFC ‐
Finished Goods                                                 $2.55                   $2.55 Returns              Mini Bands 12" XLight
                                                                                             Tradeshow
Finished Goods                                                 $4.56                   $4.56 Warehouse 1          Mini Bands 12" Heavy DEMO ONLY
                                                                                             Tradeshow
Finished Goods                                                  $4.33                  $4.33 Warehouse 1          Mini Bands 12" Light DEMO ONLY
                                                                                             Tradeshow
Finished Goods                                                 $0.31                   $0.31 Warehouse 1          Mini Bands 12" Medium DEMO ONLY
                                                                                             Tradeshow
Finished Goods                                                 $2.30                   $2.30 Warehouse 1          Mini Bands 12" XLight DEMO ONLY




                                                                               62 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                              Main Document    Page 95 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                              Description

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                 $3.48                   $3.48 TRX Office (HQ)   TRX Mesh Wristlet Bag

Finished Goods                                             $5,119.64              $5,119.64 Tigers‐UK Thurrock Soft Plyo Boxes 12"
Finished Goods                                             $7,622.58              $7,622.58 Tigers Logistics   Soft Plyo Boxes 12"

Finished Goods                                             $8,191.43              $8,191.43 Ontario Warehouse Soft Plyo Boxes 12"
                                                                                            Tradeshow
Finished Goods                                               $160.40               $160.40 Warehouse 1        Soft Plyo Boxes 18"

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                               $160.40                $160.40 TRX Office (HQ)   Soft Plyo Boxes 18"
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $160.40                $160.40 Unsellable        Soft Plyo Boxes 18"

Finished Goods                                             $5,774.44              $5,774.44 Tigers‐UK Thurrock Soft Plyo Boxes 18"

Finished Goods                                            $33,363.43             $33,363.43 Ontario Warehouse Soft Plyo Boxes 18"
                                                                                            Tradeshow
Finished Goods                                              $320.80                $320.80 Warehouse 4        Soft Plyo Boxes 18"
Finished Goods                                            $18,927.33             $18,927.33 Tigers Logistics  Soft Plyo Boxes 18"

Finished Goods                                             $8,955.03              $8,955.03 Tigers‐UK Thurrock Soft Plyo Boxes 24"

Finished Goods                                            $23,880.09             $23,880.09 Ontario Warehouse Soft Plyo Boxes 24"
                                                                                            Tradeshow
Finished Goods                                              $398.00                $398.00 Warehouse 4        Soft Plyo Boxes 24"
Finished Goods                                            $23,482.09             $23,482.09 Tigers Logistics  Soft Plyo Boxes 24"

Finished Goods                                               $199.00                $199.00 SF TRX Office (HQ) Soft Plyo Boxes 24"




                                                                               63 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                       Desc
                                                              Main Document    Page 96 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                          Description

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                               $199.00                $199.00 TRX Office (HQ)   Soft Plyo Boxes 24"
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $70.35                 $70.35 Unsellable        Soft Plyo Boxes 6"

Finished Goods                                             $5,838.93              $5,838.93 Ontario Warehouse Soft Plyo Boxes 6"
Finished Goods                                            $10,130.19             $10,130.19 Tigers Logistics  Soft Plyo Boxes 6"

Finished Goods                                             $3,165.68              $3,165.68 Tigers‐UK Thurrock Soft Plyo Boxes 6"
                                                                                            Tradeshow
Finished Goods                                               $140.70               $140.70 Warehouse 4         Soft Plyo Boxes 6"

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $70.35                  $70.35 TRX Office (HQ)   Soft Plyo Boxes 6"

Finished Goods                                                $70.35                 $70.35 SF TRX Office (HQ) Soft Plyo Boxes 6"
                                                                                            Tradeshow
Finished Goods                                               $172.56                $172.56 Warehouse 1        Soft Plyo Boxes 12" DEMO ONLY

Finished Goods                                                $86.28                  $86.28 Ontario Warehouse Soft Plyo Boxes 12" DEMO ONLY

Finished Goods                                               $118.69                $118.69 Ontario Warehouse Soft Plyo Boxes 18" DEMO ONLY

Finished Goods                                            $19,055.69             $19,055.69 Ontario Warehouse TRX Pull Up Bar
Finished Goods                                            $25,407.59             $25,407.59 Tigers Logistics  TRX Pull Up Bar
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $64.02                 $64.02 Unsellable        Power Bag 10lb

Finished Goods                                             $2,304.74              $2,304.74 Tigers‐UK Thurrock Power Bag 10lb

Finished Goods                                             $2,240.72              $2,240.72 Ontario Warehouse Power Bag 10lb


                                                                               64 of 226
                            Case 8:22-bk-10949-SC              Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                    Desc
                                                               Main Document    Page 97 of 494


    General Description of Property (Raw
    Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
     Goods, Other Inventory or Supplies)             Interest            Debtor's Interest          Location                      Description
Finished Goods                                              $14,084.52             $14,084.52 Tigers Logistics   Power Bag 10lb

Finished Goods                                               $703.71                $703.71 Tigers‐UK Thurrock Power Bag 20lb
Finished Goods                                             $15,129.78             $15,129.78 Tigers Logistics  Power Bag 20lb

Finished Goods                                             $14,308.79             $14,308.79 Ontario Warehouse Power Bag 20lb
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $273.67               $273.67 Unsellable         Power Bag 20lb
                                                                                             Tradeshow
Finished Goods                                                 $78.19                 $78.19 Warehouse 4       Power Bag 20lb

Finished Goods                                                $692.70               $692.70 Tigers‐UK Thurrock   Power Bag 30lb
                                                                                             Tradeshow
Finished Goods                                                 $92.36                 $92.36 Warehouse 1         Power Bag 30lb
Finished Goods                                             $11,960.57             $11,960.57 Tigers Logistics    Power Bag 30lb
                                                                                             Tradeshow
Finished Goods                                                $138.54               $138.54 Warehouse 4          Power Bag 30lb
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $230.90               $230.90 Unsellable           Power Bag 30lb

Finished Goods                                              $6,926.97              $6,926.97 Ontario Warehouse Power Bag 30lb
                                                                                             IFC Integrated
Finished Goods                                                $230.90               $230.90 Fulfillment        Power Bag 30lb

Finished Goods                                             $16,991.40             $16,991.40 Ontario Warehouse Power Bag 40lb

Finished Goods                                               $319.59                $319.59 Tigers‐UK Thurrock   Power Bag 40lb
Finished Goods                                              $6,125.43              $6,125.43 Tigers Logistics    Power Bag 40lb
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $426.12               $426.12 Unsellable           Power Bag 40lb
                                                                                             Tradeshow
Finished Goods                                                $372.85               $372.85 Warehouse 1          Power Bag 40lb


                                                                                65 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                        Desc
                                                              Main Document    Page 98 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest            Location                         Description
                                                                                              IFC Integrated
Finished Goods                                               $266.32                $266.32   Fulfillment        Power Bag 40lb
                                                                                              Tradeshow
Finished Goods                                              $106.53                $106.53    Warehouse 4        Power Bag 40lb
Finished Goods                                             $7,422.97              $7,422.97   Tigers Logistics   Power Bag 50lb
                                                                                              Tradeshow
Finished Goods                                               $181.05                $181.05   Warehouse 1        Power Bag 50lb

Finished Goods                                             $8,629.96              $8,629.96 Ontario Warehouse Power Bag 50lb

Finished Goods                                               $362.10               $362.10 Tigers‐UK Thurrock Power Bag 50lb
                                                                                            IFC Integrated
Finished Goods                                              $120.70                $120.70 Fulfillment        Power Bag 50lb
Finished Goods                                            $10,519.73             $10,519.73 Tigers Logistics  Power Bag 60lb

Finished Goods                                             $6,743.41              $6,743.41 Ontario Warehouse Power Bag 60lb
                                                                                            IFC Integrated
Finished Goods                                               $134.87               $134.87 Fulfillment        Power Bag 60lb

Finished Goods                                             $2,023.02              $2,023.02 Tigers‐UK Thurrock   Power Bag 60lb
                                                                                            Tradeshow
Finished Goods                                               $741.78               $741.78 Warehouse 1           Power Bag 60lb
                                                                                            Tradeshow
Finished Goods                                                 $0.00                  $0.00 Warehouse 1          Power Bag 10lb DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                               $116.24               $116.24 Warehouse 1           Power Bag 20lb DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                                $96.93                 $96.93 Warehouse 1          Power Bag 30lb DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                                 $0.00                  $0.00 Warehouse 1          Power Bag 40lb DEMO ONLY

Finished Goods                                               $153.07                $153.07 SF TRX Office (HQ) Soft Plyo Boxes 18"
                                                                                            Tradeshow
Finished Goods                                                $96.91                 $96.91 Warehouse 4        Rubber Coated Kettlebell 12kg
Finished Goods                                            $37,550.80             $37,550.80 Tigers Logistics   Rubber Coated Kettlebell 12kg




                                                                               66 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                              Main Document    Page 99 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                             Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $193.81                $193.81 Unsellable          Rubber Coated Kettlebell 12kg

Finished Goods                                            $11,628.63             $11,628.63 Tigers‐UK Thurrock Rubber Coated Kettlebell 12kg

Finished Goods                                            $10,853.39             $10,853.39 Ontario Warehouse Rubber Coated Kettlebell 12kg
                                                                                            Tradeshow
Finished Goods                                               $416.63               $416.63 Warehouse 1        Rubber Coated Kettlebell 16kg

Finished Goods                                            $10,485.20             $10,485.20 Tigers‐UK Thurrock Rubber Coated Kettlebell 16kg

Finished Goods                                            $29,025.24             $29,025.24 Ontario Warehouse   Rubber Coated Kettlebell 16kg
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $4,444.06              $4,444.06 Unsellable          Rubber Coated Kettlebell 16kg
                                                                                            Tradeshow
Finished Goods                                               $277.75                $277.75 Warehouse 4         Rubber Coated Kettlebell 16kg
Finished Goods                                            $34,649.75             $34,649.75 Tigers Logistics    Rubber Coated Kettlebell 16kg

Finished Goods                                            $45,498.91             $45,498.91 Tigers‐UK Thurrock Rubber Coated Kettlebell 20kg
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $7,428.39              $7,428.39 Unsellable         Rubber Coated Kettlebell 20kg

Finished Goods                                            $46,174.22             $46,174.22 Ontario Warehouse   Rubber Coated Kettlebell 20kg
                                                                                            Tradeshow
Finished Goods                                               $422.07               $422.07 Warehouse 1          Rubber Coated Kettlebell 20kg
                                                                                            Tradeshow
Finished Goods                                              $168.83                 $168.83 Warehouse 4         Rubber Coated Kettlebell 20kg
Finished Goods                                            $12,577.62             $12,577.62 Tigers Logistics    Rubber Coated Kettlebell 20kg
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $4,142.91              $4,142.91 Unsellable          Rubber Coated Kettlebell 24kg


                                                                               67 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                             Main Document    Page 100 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                             Description

Finished Goods                                             $9,519.88              $9,519.88 Tigers‐UK Thurrock Rubber Coated Kettlebell 24kg

Finished Goods                                            $46,277.20             $46,277.20 Ontario Warehouse   Rubber Coated Kettlebell 24kg
                                                                                            Tradeshow
Finished Goods                                              $352.59                $352.59 Warehouse 1          Rubber Coated Kettlebell 24kg
Finished Goods                                            $25,298.20             $25,298.20 Tigers Logistics    Rubber Coated Kettlebell 24kg
                                                                                            Tradeshow
Finished Goods                                               $176.29               $176.29 Warehouse 4          Rubber Coated Kettlebell 24kg

Finished Goods                                            $31,471.67             $31,471.67 Ontario Warehouse Rubber Coated Kettlebell 28kg
                                                                                            Tradeshow
Finished Goods                                               $197.31               $197.31 Warehouse 4        Rubber Coated Kettlebell 28kg
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $493.29               $493.29 Unsellable         Rubber Coated Kettlebell 28kg

Finished Goods                                             $5,426.15              $5,426.15 Tigers‐UK Thurrock Rubber Coated Kettlebell 28kg
                                                                                            Tradeshow
Finished Goods                                                $98.66                 $98.66 Warehouse 1        Rubber Coated Kettlebell 28kg
Finished Goods                                            $18,350.25             $18,350.25 Tigers Logistics   Rubber Coated Kettlebell 28kg

Finished Goods                                               $197.31               $197.31 SF TRX Office (HQ) Rubber Coated Kettlebell 28kg
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $3,003.95              $3,003.95 Unsellable        Rubber Coated Kettlebell 32kg

Finished Goods                                            $77,727.33             $77,727.33 Ontario Warehouse Rubber Coated Kettlebell 32kg
                                                                                            Tradeshow
Finished Goods                                               $250.33                $250.33 Warehouse 4       Rubber Coated Kettlebell 32kg
Finished Goods                                             $6,007.91              $6,007.91 Tigers Logistics  Rubber Coated Kettlebell 32kg

Finished Goods                                               $250.33                $250.33 SF TRX Office (HQ) Rubber Coated Kettlebell 32kg




                                                                               68 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                        Desc
                                                             Main Document    Page 101 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                             Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $250.66                $250.66 Unsellable         Rubber Coated Kettlebell 36kg

Finished Goods                                               $250.66                $250.66 SF TRX Office (HQ) Rubber Coated Kettlebell 36kg

Finished Goods                                            $54,519.23             $54,519.23 Ontario Warehouse Rubber Coated Kettlebell 36kg

Finished Goods                                             $1,879.97              $1,879.97 Tigers‐UK Thurrock Rubber Coated Kettlebell 36kg
Finished Goods                                             $7,645.23              $7,645.23 Tigers Logistics   Rubber Coated Kettlebell 36kg

Finished Goods                                             $4,020.48              $4,020.48 Ontario Warehouse Rubber Coated Kettlebell 4kg
Finished Goods                                             $4,258.99              $4,258.99 Tigers Logistics  Rubber Coated Kettlebell 4kg
                                                                                            Tradeshow
Finished Goods                                                $68.14                 $68.14 Warehouse 4       Rubber Coated Kettlebell 4kg

Finished Goods                                             $5,707.04              $5,707.04 Tigers‐UK Thurrock Rubber Coated Kettlebell 4kg
                                                                                            Tradeshow
Finished Goods                                                $51.11                 $51.11 Warehouse 1        Rubber Coated Kettlebell 4kg
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $306.65               $306.65 Unsellable          Rubber Coated Kettlebell 4kg

Finished Goods                                             $2,318.60              $2,318.60 Tigers‐UK Thurrock Rubber Coated Kettlebell 40kg
Finished Goods                                            $10,511.00             $10,511.00 Tigers Logistics   Rubber Coated Kettlebell 40kg
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $154.57               $154.57 Unsellable          Rubber Coated Kettlebell 40kg

Finished Goods                                               $309.15                $309.15 SF TRX Office (HQ) Rubber Coated Kettlebell 40kg

Finished Goods                                            $50,545.55             $50,545.55 Ontario Warehouse Rubber Coated Kettlebell 40kg
                                                                                            Tradeshow
Finished Goods                                                $54.98                 $54.98 Warehouse 1       Rubber Coated Kettlebell 6kg



                                                                               69 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                             Main Document    Page 102 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description
                                                                                            Tradeshow
Finished Goods                                               $109.96               $109.96 Warehouse 4          Rubber Coated Kettlebell 6kg
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                              $632.25                $632.25 Unsellable           Rubber Coated Kettlebell 6kg
Finished Goods                                            $11,682.91             $11,682.91 Tigers Logistics    Rubber Coated Kettlebell 6kg

Finished Goods                                             $5,827.71              $5,827.71 Tigers‐UK Thurrock Rubber Coated Kettlebell 6kg

Finished Goods                                            $17,867.97             $17,867.97 Ontario Warehouse   Rubber Coated Kettlebell 6kg
                                                                                            Tradeshow
Finished Goods                                                $64.95                 $64.95 Warehouse 1         Rubber Coated Kettlebell 8kg
                                                                                            Tradeshow
Finished Goods                                              $129.89                $129.89 Warehouse 4          Rubber Coated Kettlebell 8kg
Finished Goods                                            $14,905.33             $14,905.33 Tigers Logistics    Rubber Coated Kettlebell 8kg
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $519.58               $519.58 Unsellable           Rubber Coated Kettlebell 8kg

Finished Goods                                             $4,351.45              $4,351.45 Tigers‐UK Thurrock Rubber Coated Kettlebell 8kg
                                                                                            Tradeshow
Finished Goods                                                 $0.00                  $0.00 Warehouse 1        Rubber Coated Kettlebell 12kg ‐ DEMO

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Rubber Coated Kettlebell 12kg ‐ DEMO

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Rubber Coated Kettlebell 16kg ‐ DEMO
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1       Rubber Coated Kettlebell 16kg ‐ DEMO
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1       Rubber Coated Kettlebell 20kg ‐ DEMO

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Rubber Coated Kettlebell 20kg ‐ DEMO

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Rubber Coated Kettlebell 24kg ‐ DEMO

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Rubber Coated Kettlebell 6kg ‐ DEMO


                                                                               70 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                             Main Document    Page 103 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest           Location                              Description

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Rubber Coated Kettlebell 8kg ‐ DEMO
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1       Rubber Coated Kettlebell 8kg ‐ DEMO

                                                                                               SF TRX Office
                                                                                               (HQ):RETURNS ‐ SF
Finished Goods                                                $32.65                  $32.65   TRX Office (HQ)     Conditioning Rope 1.5" X 30'
                                                                                               Tradeshow
Finished Goods                                                $97.94                 $97.94    Warehouse 1         Conditioning Rope 1.5" X 30'
Finished Goods                                             $6,855.91              $6,855.91    Tigers Logistics    Conditioning Rope 1.5" X 30'
                                                                                               Tradeshow
Finished Goods                                                $65.29                  $65.29   Warehouse 4         Conditioning Rope 1.5" X 30'
                                                                                               IFC Integrated
Finished Goods                                                $65.29                  $65.29   Fulfillment         Conditioning Rope 1.5" X 30'

Finished Goods                                             $3,558.54              $3,558.54 Tigers‐UK Thurrock Conditioning Rope 1.5" X 30'
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,599.71              $1,599.71 Unsellable         Conditioning Rope 1.5" X 30'
Finished Goods                                              $198.86                $198.86 Tigers Logistics    Conditioning Rope 1.5" X 50'

Finished Goods                                             $9,396.04              $9,396.04 Tigers‐UK Thurrock Conditioning Rope 1.5" X 50'

Finished Goods                                             $5,568.03              $5,568.03 Ontario Warehouse      Conditioning Rope 1.5" X 50'
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $596.57               $596.57 Unsellable              Conditioning Rope 1.5" X 50'
                                                                                            Tradeshow
Finished Goods                                                $49.71                 $49.71 Warehouse 4            Conditioning Rope 1.5" X 50'
                                                                                            IFC Integrated
Finished Goods                                               $497.15               $497.15 Fulfillment             Conditioning Rope 1.5" X 50'
                                                                                            Tradeshow
Finished Goods                                               $646.29               $646.29 Warehouse 2             Conditioning Rope 1.5" X 50'

Finished Goods                                               $339.36                $339.36 Ontario Warehouse Conditioning Rope 1.5" X 30' DEMO ONLY


                                                                               71 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                             Main Document    Page 104 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest           Location                           Description
                                                                                              Tradeshow
Finished Goods                                               $127.26                $127.26   Warehouse 1        Conditioning Rope 1.5" X 30' DEMO ONLY
                                                                                              Tradeshow
Finished Goods                                             $1,179.00              $1,179.00   Warehouse 1        Conditioning Rope 1.5" X 50' DEMO ONLY
Finished Goods                                              $712.50                $712.50    Tigers Logistics   Cordura Battle Rope Anchor ‐ bulk
                                                                                              Ontario
                                                                                              Warehouse:CS
                                                                                              Returns‐Ontario‐
Finished Goods                                             $1,628.53              $1,628.53   Unsellable         Slam Ball 10lb

Finished Goods                                           $153,809.11            $153,809.11 Ontario Warehouse Slam Ball 10lb
Finished Goods                                              $276.54                $276.54 Tmall ‐ 3PL        Slam Ball 10lb
                                                                                            Tradeshow
Finished Goods                                                $30.73                 $30.73 Warehouse 4       Slam Ball 10lb

Finished Goods                                               $471.15               $471.15 Tigers‐UK Thurrock Slam Ball 10lb
                                                                                            IFC Integrated
Finished Goods                                              $143.39                $143.39 Fulfillment        Slam Ball 10lb
Finished Goods                                             $3,236.58              $3,236.58 Tigers Logistics  Slam Ball 10lb

Finished Goods                                                $20.48                  $20.48 SF TRX Office (HQ) Slam Ball 10lb

Finished Goods                                               $720.61                $720.61 Tigers‐UK Thurrock Slam Ball 15lb
                                                                                            Amazon FBA CA ‐
Finished Goods                                                $50.57                 $50.57 3PL                Slam Ball 15lb
Finished Goods                                               $252.84                $252.84 Tmall ‐ 3PL        Slam Ball 15lb

Finished Goods                                                $12.64                 $12.64 SF TRX Office (HQ) Slam Ball 15lb
Finished Goods                                             $4,538.56              $4,538.56 Tigers Logistics   Slam Ball 15lb
                                                                                            Tradeshow
Finished Goods                                                $75.85                 $75.85 Warehouse 1        Slam Ball 15lb

Finished Goods                                           $141,454.01            $141,454.01 Ontario Warehouse Slam Ball 15lb
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $2,262.96              $2,262.96 Unsellable        Slam Ball 15lb



                                                                               72 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                     Desc
                                                             Main Document    Page 105 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                         Description
                                                                                            Tradeshow
Finished Goods                                                $37.93                 $37.93 Warehouse 4          Slam Ball 15lb
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $624.81                $624.81 Unsellable           Slam Ball 20lb

Finished Goods                                           $108,503.43            $108,503.43 Ontario Warehouse Slam Ball 20lb
                                                                                            Tradeshow
Finished Goods                                                $16.44                 $16.44 Warehouse 4       Slam Ball 20lb

Finished Goods                                              $575.48                $575.48 Tigers‐UK Thurrock    Slam Ball 20lb
Finished Goods                                             $5,573.98              $5,573.98 Tigers Logistics     Slam Ball 20lb
                                                                                            Tradeshow
Finished Goods                                                $16.44                 $16.44 Warehouse 1          Slam Ball 20lb
                                                                                            Tradeshow
Finished Goods                                               $263.08               $263.08 Warehouse 2           Slam Ball 20lb
Finished Goods                                               $279.52               $279.52 Tmall ‐ 3PL           Slam Ball 20lb

Finished Goods                                            $89,671.13             $89,671.13 Ontario Warehouse    Slam Ball 25lb
                                                                                            Tradeshow
Finished Goods                                                $20.12                 $20.12 Warehouse 4          Slam Ball 25lb
                                                                                            Amazon FBA CA ‐
Finished Goods                                                $20.12                 $20.12 3PL                  Slam Ball 25lb
                                                                                            Tradeshow
Finished Goods                                               $241.48               $241.48 Warehouse 2           Slam Ball 25lb

Finished Goods                                             $2,756.94              $2,756.94 Tigers‐UK Thurrock   Slam Ball 25lb
Finished Goods                                            $10,242.95             $10,242.95 Tigers Logistics     Slam Ball 25lb
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $503.09               $503.09 Unsellable            Slam Ball 25lb
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $460.11               $460.11 Unsellable            Slam Ball 30lb



                                                                               73 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                     Desc
                                                             Main Document    Page 106 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                         Description

Finished Goods                                                $25.56                 $25.56 SF TRX Office (HQ)   Slam Ball 30lb
                                                                                            Tradeshow
Finished Goods                                                $25.56                 $25.56 Warehouse 4          Slam Ball 30lb
                                                                                            Tradeshow
Finished Goods                                               $332.30                $332.30 Warehouse 2          Slam Ball 30lb
                                                                                            IFC Integrated
Finished Goods                                               $204.50                $204.50 Fulfillment          Slam Ball 30lb

Finished Goods                                            $10,403.69             $10,403.69 Ontario Warehouse Slam Ball 30lb

Finished Goods                                             $4,319.96              $4,319.96 Tigers‐UK Thurrock   Slam Ball 30lb
Finished Goods                                             $5,214.63              $5,214.63 Tigers Logistics     Slam Ball 30lb
                                                                                            Tradeshow
Finished Goods                                                $36.93                 $36.93 Warehouse 4          Slam Ball 40lb
Finished Goods                                             $1,624.79              $1,624.79 Tigers Logistics     Slam Ball 40lb
                                                                                            IFC Integrated
Finished Goods                                               $110.78               $110.78 Fulfillment           Slam Ball 40lb
                                                                                            Tradeshow
Finished Goods                                                $73.85                 $73.85 Warehouse 1          Slam Ball 40lb

Finished Goods                                            $11,742.81             $11,742.81 Ontario Warehouse Slam Ball 40lb
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $147.71               $147.71 Unsellable         Slam Ball 40lb

Finished Goods                                             $3,692.71              $3,692.71 Tigers‐UK Thurrock Slam Ball 40lb
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $600.49               $600.49 Unsellable          Slam Ball 50lb

Finished Goods                                            $10,162.21             $10,162.21 Ontario Warehouse Slam Ball 50lb

Finished Goods                                             $5,450.64              $5,450.64 Tigers‐UK Thurrock Slam Ball 50lb
                                                                                            IFC Integrated
Finished Goods                                               $138.58               $138.58 Fulfillment         Slam Ball 50lb


                                                                               74 of 226
                            Case 8:22-bk-10949-SC              Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                              Main Document    Page 107 of 494


    General Description of Property (Raw
    Materials, Work in Progress, Finished   Net Book Value of Debtor's    Current Value of
     Goods, Other Inventory or Supplies)             Interest             Debtor's Interest          Location                            Description
Finished Goods                                                $2,725.32              $2,725.32 Tigers Logistics      Slam Ball 50lb

Finished Goods                                              $31,121.37             $31,121.37 Ontario Warehouse Slam Ball 6lb

                                                                                                 SF TRX Office
                                                                                                 (HQ):RETURNS ‐ SF
Finished Goods                                                   $7.37                   $7.37   TRX Office (HQ)     Slam Ball 6lb
                                                                                                 Amazon FBA
Finished Goods                                                  $14.73                  $14.73   Returns‐Unusable    Slam Ball 6lb
                                                                                                 Tradeshow
Finished Goods                                                  $22.10                  $22.10   Warehouse 4         Slam Ball 6lb
                                                                                                 Ontario
                                                                                                 Warehouse:CS
                                                                                                 Returns‐Ontario‐
Finished Goods                                                 $250.44                $250.44    Unsellable          Slam Ball 6lb
                                                                                                 IFC Integrated
Finished Goods                                                  $73.66                 $73.66    Fulfillment         Slam Ball 6lb
Finished Goods                                               $5,222.50              $5,222.50    Tigers Logistics    Slam Ball 6lb

Finished Goods                                               $1,237.49               $1,237.49 Tigers‐UK Thurrock Slam Ball 6lb

Finished Goods                                               $1,494.38               $1,494.38 Tigers‐UK Thurrock Slam Ball 8lb

Finished Goods                                                   $9.00                   $9.00 SF TRX Office (HQ) Slam Ball 8lb

Finished Goods                                             $13,134.38              $13,134.38 Ontario Warehouse      Slam Ball 8lb
                                                                                              Tradeshow
Finished Goods                                                  $27.01                 $27.01 Warehouse 4            Slam Ball 8lb
Finished Goods                                               $5,554.43              $5,554.43 Tigers Logistics       Slam Ball 8lb
                                                                                              IFC Integrated
Finished Goods                                                  $90.02                 $90.02 Fulfillment            Slam Ball 8lb
                                                                                              Ontario
                                                                                              Warehouse:CS
                                                                                              Returns‐Ontario‐
Finished Goods                                                 $306.08               $306.08 Unsellable              Slam Ball 8lb

Finished Goods                                               $8,881.60              $8,881.60 Ontario Warehouse Box for EXSLBL‐10 (RETAIL) *Not for individual resale



                                                                                 75 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                              Desc
                                                             Main Document    Page 108 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                                 Description
                                                                                             Tradeshow
Finished Goods                                                $44.76                  $44.76 Warehouse 1          Slam Ball 10lb DEMO ONLY

Finished Goods                                                 $9.27                   $9.27 SF TRX Office (HQ) TRX 9" Slam Ball ‐ 10 lbs (Retail)

Finished Goods                                            $10,952.80             $10,952.80 Ontario Warehouse Box for EXSLBL‐15 (RETAIL) *Not for individual resale
                                                                                            Tradeshow
Finished Goods                                                $34.14                 $34.14 Warehouse 1       Slam Ball 15lb DEMO ONLY

Finished Goods                                                $11.60                  $11.60 SF TRX Office (HQ) TRX 9" Slam Ball ‐ 15 lbs (Retail)

Finished Goods                                             $6,940.15              $6,940.15 Ontario Warehouse Box for EXSLBL‐20 (RETAIL) *Not for individual resale
                                                                                            Tradeshow
Finished Goods                                                 $0.00                  $0.00 Warehouse 1       Slam Ball 20lb DEMO ONLY

Finished Goods                                                $15.11                 $15.11 SF TRX Office (HQ)    TRX Slam Ball ‐ 20 lbs (Retail)
                                                                                            Tradeshow
Finished Goods                                                $45.21                 $45.21 Warehouse 1           Slam Ball 25lb DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                                $29.81                 $29.81 Warehouse 1           Slam Ball 30lb DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                                $44.69                 $44.69 Warehouse 1           Slam Ball 50lb DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                                $42.75                 $42.75 Warehouse 1           Slam Ball 6lb DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                                $81.27                 $81.27 Warehouse 1           Slam Ball 8lb DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                                $39.72                 $39.72 Warehouse 4           Strength Bands Heavy
                                                                                            Tradeshow
Finished Goods                                               $701.66                $701.66 Warehouse 1           Strength Bands Heavy
                                                                                            TTC‐ TRX Training
Finished Goods                                               $225.06                $225.06 Center                Strength Bands Heavy
                                                                                            IFC Integrated
Finished Goods                                               $370.69                $370.69 Fulfillment           Strength Bands Heavy

Finished Goods                                                $79.43                  $79.43 SF TRX Office (HQ) Strength Bands Heavy




                                                                               76 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 109 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                               Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $860.52                $860.52 Unsellable           Strength Bands Heavy

Finished Goods                                             $2,263.84              $2,263.84 Tigers‐UK Thurrock Strength Bands Heavy

Finished Goods                                            $17,316.38             $17,316.38 Ontario Warehouse Strength Bands Heavy
Finished Goods                                            $11,107.37             $11,107.37 Tigers Logistics  Strength Bands Heavy

Finished Goods                                               $495.47                $495.47 Tigers‐UK Thurrock   Strength Bands Light
                                                                                            IFC Integrated
                                                                                            Fulfillment:IFC ‐
Finished Goods                                                 $6.04                  $6.04 Returns              Strength Bands Light
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $36.25                 $36.25 Unsellable           Strength Bands Light
                                                                                            Tradeshow
Finished Goods                                                $48.34                 $48.34 Warehouse 1          Strength Bands Light

Finished Goods                                                $56.70                 $56.70 SF TRX Office (HQ)   Strength Bands Medium
                                                                                            Tradeshow
Finished Goods                                               $274.05                $274.05 Warehouse 1          Strength Bands Medium
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $793.81                $793.81 Unsellable           Strength Bands Medium
                                                                                            Tradeshow
Finished Goods                                                $18.90                 $18.90 Warehouse 4          Strength Bands Medium
                                                                                            IFC Integrated
Finished Goods                                                $56.70                 $56.70 Fulfillment          Strength Bands Medium

Finished Goods                                             $1,152.91              $1,152.91 Tigers‐UK Thurrock Strength Bands Medium
                                                                                            IFC Integrated
                                                                                            Fulfillment:IFC ‐
Finished Goods                                                 $9.45                  $9.45 Returns            Strength Bands Medium



                                                                               77 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                             Main Document    Page 110 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                                Description

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $37.80                  $37.80 TRX Office (HQ)   Strength Bands Medium

Finished Goods                                             $4,800.66              $4,800.66 Ontario Warehouse   Strength Bands Medium
Finished Goods                                             $2,835.03              $2,835.03 Tigers Logistics    Strength Bands Medium
                                                                                            Tradeshow
Finished Goods                                               $321.74               $321.74 Warehouse 1          Strength Bands X‐Light
                                                                                            Tradeshow
Finished Goods                                                $15.08                 $15.08 Warehouse 4         Strength Bands X‐Light

Finished Goods                                               $603.26                $603.26 Tigers‐UK Thurrock Strength Bands X‐Light
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $175.95                $175.95 Unsellable         Strength Bands X‐Light

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                                 $5.03                  $5.03 TRX Office (HQ)   Strength Bands X‐Light
Finished Goods                                               $346.87                $346.87 Tigers Logistics  Strength Bands X‐Light

Finished Goods                                               $527.85                $527.85 Ontario Warehouse Strength Bands X‐Light
                                                                                            IFC Integrated
                                                                                            Fulfillment:IFC ‐
Finished Goods                                                 $5.03                  $5.03 Returns           Strength Bands X‐Light

Finished Goods                                                $20.11                 $20.11 SF TRX Office (HQ) Strength Bands X‐Light
                                                                                            IFC Integrated
Finished Goods                                               $271.47                $271.47 Fulfillment        Strength Bands X‐Light

Finished Goods                                               $267.90                $267.90 Tigers‐UK Thurrock Strength Bands XX‐Light
                                                                                            IFC Integrated
Finished Goods                                                $76.11                 $76.11 Fulfillment        Strength Bands XX‐Light




                                                                               78 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                             Main Document    Page 111 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                                   Description
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $45.66                  $45.66 Unsellable            Strength Bands XX‐Light

                                                                                               SF TRX Office
                                                                                               (HQ):RETURNS ‐ SF
Finished Goods                                                 $3.04                   $3.04   TRX Office (HQ)     Strength Bands XX‐Light
                                                                                               Tradeshow
Finished Goods                                                 $9.13                   $9.13   Warehouse 4         Strength Bands XX‐Light
                                                                                               Tradeshow
Finished Goods                                               $109.60                $109.60    Warehouse 1         Strength Bands XX‐Light
Finished Goods                                                $85.24                 $85.24    Tigers Logistics    Strength Bands XX‐Light

Finished Goods                                             $4,207.26              $4,207.26 Ontario Warehouse Strength Bands XX‐Light
                                                                                            Tradeshow
Finished Goods                                                 $3.04                  $3.04 Warehouse 2       Strength Bands XX‐Light

Finished Goods                                                 $6.09                   $6.09 SF TRX Office (HQ) Strength Bands XX‐Light

Finished Goods                                               $128.63                $128.63 Ontario Warehouse Strength Bands Heavy DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                               $142.92                $142.92 Warehouse 1       Strength Bands Heavy DEMO ONLY

Finished Goods                                            $19,070.19             $19,070.19 Ontario Warehouse Box for EXSTBD‐LGT (RETAIL) *Not for individual resale

Finished Goods                                                $69.98                 $69.98 Ontario Warehouse Strength Bands Light DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                               $131.20                $131.20 Warehouse 1       Strength Bands Light DEMO ONLY

Finished Goods                                            $21,955.44             $21,955.44 Ontario Warehouse Box for EXSTBD‐MED (RETAIL) *Not for individual resale
                                                                                            Tradeshow
Finished Goods                                                $46.38                 $46.38 Warehouse 1       Strength Bands Medium DEMO ONLY

Finished Goods                                                $32.11                  $32.11 Ontario Warehouse Strength Bands Medium DEMO ONLY

Finished Goods                                                $89.81                  $89.81 SF TRX Office (HQ) TRX Medium Strength Band (Retail)



                                                                               79 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                               Desc
                                                             Main Document    Page 112 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest           Location                                Description
                                                                                               Tradeshow
Finished Goods                                               $140.31                $140.31    Warehouse 1         Strength Bands X‐Light DEMO ONLY
                                                                                               Tradeshow
Finished Goods                                                $31.17                  $31.17   Warehouse 1         Strength Bands XX‐Light DEMO ONLY
                                                                                               Amazon FBA MX ‐
Finished Goods                                                 ‐$5.47                 ‐$5.47   3PL                 Stability Ball ‐ 55 cm
                                                                                               Amazon FBA
Finished Goods                                                $71.16                  $71.16   Returns‐Unusable    Stability Ball ‐ 55 cm
Finished Goods                                                $32.85                  $32.85   Tmall ‐ 3PL         Stability Ball ‐ 55 cm

Finished Goods                                                $27.37                 $27.37 SF TRX Office (HQ) Stability Ball ‐ 55 cm
                                                                                            Amazon FBA CA ‐
Finished Goods                                               $109.48                $109.48 3PL                Stability Ball ‐ 55 cm
                                                                                            Tradeshow
Finished Goods                                                $10.95                 $10.95 Warehouse 4        Stability Ball ‐ 55 cm

Finished Goods                                               $684.28                $684.28 Tigers‐UK Thurrock Stability Ball ‐ 55 cm
Finished Goods                                               $426.99                $426.99 Amazon FBA ‐ 3PL Stability Ball ‐ 55 cm
                                                                                            Tradeshow
Finished Goods                                                $10.95                 $10.95 Warehouse 1        Stability Ball ‐ 55 cm

Finished Goods                                             $5,293.58              $5,293.58 Ontario Warehouse Stability Ball ‐ 55 cm
                                                                                            IFC Integrated
Finished Goods                                               $147.80               $147.80 Fulfillment        Stability Ball ‐ 55 cm
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $268.24               $268.24 Unsellable         Stability Ball ‐ 55 cm

                                                                                               SF TRX Office
                                                                                               (HQ):RETURNS ‐ SF
Finished Goods                                                $27.37                 $27.37    TRX Office (HQ)     Stability Ball ‐ 55 cm
Finished Goods                                             $1,384.98              $1,384.98    Tigers Logistics    Stability Ball ‐ 55 cm
                                                                                               IFC Integrated
Finished Goods                                                $25.91                  $25.91   Fulfillment         Stability Ball ‐ 65 cm
                                                                                               Tradeshow
Finished Goods                                                $38.87                  $38.87   Warehouse 4         Stability Ball ‐ 65 cm



                                                                               80 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                              Desc
                                                             Main Document    Page 113 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest          Location                                Description

Finished Goods                                               $200.82               $200.82 Tigers‐UK Thurrock     Stability Ball ‐ 65 cm
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                              $447.00                $447.00 Unsellable             Stability Ball ‐ 65 cm
Finished Goods                                             $1,042.99              $1,042.99 Amazon FBA ‐ 3PL      Stability Ball ‐ 65 cm
                                                                                            Tradeshow
Finished Goods                                                $12.96                 $12.96 Warehouse 1           Stability Ball ‐ 65 cm
Finished Goods                                                $90.69                 $90.69 Tmall ‐ 3PL           Stability Ball ‐ 65 cm
                                                                                            Amazon FBA CA ‐
Finished Goods                                                $97.17                 $97.17 3PL                   Stability Ball ‐ 65 cm

Finished Goods                                             $5,065.94              $5,065.94 Ontario Warehouse Stability Ball ‐ 65 cm
Finished Goods                                                $84.22                 $84.22 Tigers Logistics  Stability Ball ‐ 65 cm
                                                                                            Amazon FBA
Finished Goods                                                $12.96                 $12.96 Returns‐Unusable Stability Ball ‐ 65 cm

Finished Goods                                                $94.68                  $94.68 Ontario Warehouse Stability Ball ‐ 55 cm DEMO ONLY
                                                                                             Tradeshow
Finished Goods                                                $10.52                  $10.52 Warehouse 1       Stability Ball ‐ 55 cm DEMO ONLY
                                                                                             Tradeshow
Finished Goods                                                $13.56                  $13.56 Warehouse 1       Stability Ball ‐ 65 cm DEMO ONLY

Finished Goods                                                $47.46                  $47.46 Ontario Warehouse Stability Ball ‐ 65 cm DEMO ONLY

Finished Goods                                               $359.52                $359.52 Ontario Warehouse FBINAA Insert Card for TRX ELITE Team (2x3)
                                                                                            Tradeshow
Finished Goods                                               $416.98                $416.98 Warehouse 2       TRX Essentials: Flexibility

Finished Goods                                                 $4.58                   $4.58 SF TRX Office (HQ) TRX Essentials: Flexibility

Finished Goods                                                $32.14                 $32.14 Ontario Warehouse Black w/ yellow TRX block logo ‐ 12oz; 4.75"W x 10.5"H
                                                                                            Tradeshow
Finished Goods                                             $1,194.78              $1,194.78 Warehouse 2       Black w/ yellow TRX block logo ‐ 12oz; 4.75"W x 10.5"H

Finished Goods                                             $1,690.86              $1,690.86 SF TRX Office (HQ) Black w/ yellow TRX block logo ‐ 12oz; 4.75"W x 10.5"H



                                                                               81 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                             Main Document    Page 114 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest          Location                              Description

Finished Goods                                             $2,979.58              $2,979.58 Ontario Warehouse Training Manual ‐ TRX FORCE Trainer Course Users Manual
                                                                                                              Force Tactical Conditioning Program Super App Access
Finished Goods                                               $457.36               $457.36 Ontario Warehouse Tokens (Bundle of 25)
                                                                                                              Force Tactical Conditioning Program Super App Access
Finished Goods                                               $206.55               $206.55 Tigers Logistics   Tokens (Bundle of 25)

Finished Goods                                                $90.36                 $90.36 Ontario Warehouse Training Guide ‐ TRX® Force Field Reference Guide v. 2
                                                                                                              Training Manual ‐ TRX Functional Training Course‐Single
Finished Goods                                             $9,039.62              $9,039.62 Tigers Logistics  Manual 2015 ‐ English
                                                                                                              Training Manual ‐ TRX Functional Training Course‐Single
Finished Goods                                                 $0.00                  $0.00 Tigers Logistics  Manual 2015 ‐ French
                                                                                                              Training Manual ‐ TRX Functional Training Course‐Single
Finished Goods                                                 $0.00                  $0.00 Tigers Logistics  Manual 2015 ‐ German
                                                                                                              Training Manual ‐ TRX Functional Training Course‐Single
Finished Goods                                                 $0.00                  $0.00 Tigers Logistics  Manual 2015 ‐ Italian
                                                                                                              Training Manual ‐ TRX Functional Training Course‐Single
Finished Goods                                             $3,526.00              $3,526.00 Tigers Logistics  Manual 2015 ‐ Russian
                                                                                                              Training Manual ‐ TRX Functional Training Course‐Single
Finished Goods                                             $3,924.00              $3,924.00 Ontario Warehouse Manual 2015 ‐ Spanish

Finished Goods                                                 $4.56                   $4.56 SF TRX Office (HQ) DVD ‐ TRX¨ Force Training

Finished Goods                                               $262.68               $262.68 SF TRX Office (HQ) FORCE Tactical Kit
Finished Goods                                               $315.22               $315.22 TRX In‐Transit      FORCE Tactical Kit
                                                                                            Tradeshow
Finished Goods                                             $1,838.79              $1,838.79 Warehouse 2        FORCE Tactical Kit
                                                                                                               TRXå FORCE Tactical Door Anchor (Replacement ONLY‐
Finished Goods                                                 $0.00                  $0.00 Ontario Warehouse Customer Service)
                                                                                                               FORCE Tactical Xtender (Replacement ONLY‐Customer
Finished Goods                                                 $0.00                  $0.00 SF TRX Office (HQ) Service)
                                                                                                               TRXå FORCE Tactical Suspension Anchor (Replacement
Finished Goods                                                 $5.31                  $5.31 SF TRX Office (HQ) ONLY‐Customer Service)

Finished Goods                                                 $0.45                   $0.45 Tigers Logistics    Box sleeve for TRX FORCE kit **Not for individual resale
                                                                                             IFC Integrated
                                                                                             Fulfillment:IFC ‐
Finished Goods                                                $34.38                  $34.38 Returns             Tactical Suspension Trainer


                                                                               82 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 115 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest          Location                            Description
                                                                                            IFC Integrated
Finished Goods                                             $1,856.72              $1,856.72 Fulfillment         Tactical Suspension Trainer

Finished Goods                                            $82,727.37             $82,727.37 Ontario Warehouse   Tactical Suspension Trainer
Finished Goods                                            $42,223.28             $42,223.28 Tigers Logistics    Tactical Suspension Trainer
                                                                                            Tradeshow
Finished Goods                                             $2,406.86              $2,406.86 Warehouse 1         Tactical Suspension Trainer
Finished Goods                                             $3,025.77              $3,025.77 Sorinex             Tactical Suspension Trainer
                                                                                            Quarantined
Finished Goods                                            $44,183.16             $44,183.16 Inventory           Tactical Suspension Trainer
                                                                                            TTC‐ TRX Training
Finished Goods                                              $275.07                $275.07 Center               Tactical Suspension Trainer
Finished Goods                                            $10,005.68             $10,005.68 Amazon FBA ‐ 3PL    Tactical Suspension Trainer
                                                                                            Amazon FBA CA ‐
Finished Goods                                             $1,512.89              $1,512.89 3PL                 Tactical Suspension Trainer
                                                                                            Tradeshow
Finished Goods                                               $481.37               $481.37 Warehouse 2          Tactical Suspension Trainer
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                            $16,882.44             $16,882.44 Unsellable          Tactical Suspension Trainer

Finished Goods                                            $17,157.51             $17,157.51 Tigers‐UK Thurrock Tactical Suspension Trainer
                                                                                            Amazon FBA
Finished Goods                                             $2,647.55              $2,647.55 Returns‐Unusable Tactical Suspension Trainer

Finished Goods                                                $11.94                  $11.94 SF TRX Office (HQ) Suspension Trainer ‐ TRX¨ FORCE Kit:Tactical (DEMO)
                                                                                             Tradeshow
Finished Goods                                                $29.85                  $29.85 Warehouse 1        Suspension Trainer ‐ TRX¨ FORCE Kit:Tactical (DEMO)

Finished Goods                                               $179.12                $179.12 Ontario Warehouse Suspension Trainer ‐ TRX¨ FORCE Kit:Tactical (DEMO)

Finished Goods                                                $53.60                 $53.60 Ontario Warehouse Box sleeve for TRX TACTICAL kit *Not for individual resale
                                                                                                              Custom ‐ Tactical Suspension Trainer ($17.35) , Suspension
                                                                                                              Anchor ($5.25), Extender ($2.87), Running Bag ($4.60),
Finished Goods                                               $745.80               $745.80 Tigers Logistics   Gray X‐Mount ($5.80)
                                                                                                              Training Manual ‐TRX Group Rip Training Course‐Single
Finished Goods                                             $1,817.93              $1,817.93 Tigers Logistics  Manual‐ English


                                                                               83 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 116 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                             Description
                                                                                                              Training Manual ‐TRX Group Rip Training Course‐Single
Finished Goods                                               $608.68               $608.68 Ontario Warehouse Manual‐ English
                                                                                                              Training Manual‐TRX Group Rip Training Course‐Single
Finished Goods                                                 $0.00                  $0.00 Tigers Logistics  Manual‐FRE
                                                                                                              Training Manual‐TRX Group Rip Training Course‐Single
Finished Goods                                                 $0.00                  $0.00 Tigers Logistics  Manual‐German
                                                                                                              Training Manual‐TRX Group Rip Training Course‐Single
Finished Goods                                            $30,800.09             $30,800.09 Ontario Warehouse Manual‐Spanish
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $100.65               $100.65 Unsellable         PRO4‐X Poster ‐ 15" x 21.5" set up and use, plus 2 workouts
                                                                                                              PRO4‐X Poster ‐ 15" x 21.5" set up and use, plus 2 workouts
Finished Goods                                                $86.29                 $86.29 Tigers Logistics  ‐ UK
                                                                                            Tradeshow         Training Manual‐TRX Group Suspension Training Course‐
Finished Goods                                                 $5.47                  $5.47 Warehouse 2       Single Manual‐English‐V3
                                                                                                              Training Manual‐TRX Group Suspension Training Course‐
Finished Goods                                                $16.41                 $16.41 Tigers Logistics  Single Manual‐English‐V3
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐  Training Manual‐TRX Group Suspension Training Course‐
Finished Goods                                               $218.74               $218.74 Unsellable         Single Manual‐English‐V3
                                                                                                              Training Manual ‐ Group TRX® Suspension Training Course
Finished Goods                                             $3,226.20              $3,226.20 Tigers Logistics  Single Manual ‐ Italian
                                                                                                              Training Manual ‐ Group TRX® Suspension Training Course
Finished Goods                                             $7,121.92              $7,121.92 Ontario Warehouse Single Manual ‐ Portuguese
                                                                                                              Training Manual ‐ Group TRX¨ Suspension Training Course ‐
Finished Goods                                             $1,299.60              $1,299.60 Tigers Logistics  Single Manual ‐ Spanish
                                                                                                              Training Manual ‐ TRX Group Training Course 2015 ‐ Single
Finished Goods                                             $8,875.86              $8,875.86 Ontario Warehouse Manual ‐ English
                                                                                            Tradeshow
Finished Goods                                               $765.00               $765.00 Warehouse 2        TRX hair tie Swag

Finished Goods                                               $136.50                $136.50 Ontario Warehouse TRX Meshback Digicam Snapback ‐ Black
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $39.00                 $39.00 Unsellable        TRX Meshback Digicam Snapback ‐ Black


                                                                               84 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 117 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                              Description

Finished Goods                                                $12.65                 $12.65 SF TRX Office (HQ) TRX Biomechanics: Healthy Back
                                                                                                               Box sleeve for TRX Home kit English *Not for individual
Finished Goods                                                $16.36                 $16.36 Tigers Logistics   resale
                                                                                                               Box sleeve for TRX Home kit English *Not for individual
Finished Goods                                                $80.15                 $80.15 Ontario Warehouse resale
                                                                                                               Box sleeve for TRX Home2 kit English *Not for individual
Finished Goods                                               $221.25                $221.25 Ontario Warehouse resale

Finished Goods                                                $66.75                  $66.75 SF TRX Office (HQ) TRX Camo Hoodie, ML

Finished Goods                                                $22.25                 $22.25 SF TRX Office (HQ) TRX Camo Hoodie, MM
Finished Goods                                               $903.84                $903.84 Tigers Logistics   Long Infinity Anchor for DUO

Finished Goods                                                $25.58                  $25.58 SF TRX Office (HQ) Long Infinity Anchor for DUO

Finished Goods                                             $3,231.65              $3,231.65 Ontario Warehouse Long Infinity Anchor for DUO

Finished Goods                                                $45.99                 $45.99 SF TRX Office (HQ)   Short Infinity Anchor for DUO
Finished Goods                                                 $7.67                  $7.67 Tigers Logistics     Short Infinity Anchor for DUO
                                                                                            IFC Integrated
Finished Goods                                               $110.00                $110.00 Fulfillment          Commercial Exercise Poster MYBYM 12"X46"
Finished Goods                                               $132.00                $132.00 Tigers Logistics     Commercial Exercise Poster MYBYM 12"X46"
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $22.00                 $22.00 Unsellable           Commercial Exercise Poster MYBYM 12"X46"

Finished Goods                                             $1,540.00              $1,540.00 Ontario Warehouse Commercial Exercise Poster MYBYM 12"X46"

Finished Goods                                             $1,078.00              $1,078.00 Ontario Warehouse TRX Functional Training Zone Commercial Poster 42"x15"

Finished Goods                                             $1,460.00              $1,460.00 Ontario Warehouse MBODY Commercial Poster 30"X42"

Finished Goods                                             $1,023.75              $1,023.75 Ontario Warehouse MYBYM Logo Commercial Poster 36"X36"

Finished Goods                                             $1,769.16              $1,769.16 Ontario Warehouse ST Group MYBYM Commercial Poster 30"X42"



                                                                               85 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 118 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                              Description

Finished Goods                                             $6,046.32              $6,046.32 Ontario Warehouse TRX Logo Commercial Poster 36"X36" Yellow
                                                                                                              TRX Commercial Window Cling: Vinyl decal with adhesive
Finished Goods                                               $439.43               $439.43 Ontario Warehouse back to put on windows
                                                                                                              TRX MBODY Commercial Window Cling: Vinyl decal with
Finished Goods                                               $353.23               $353.23 Ontario Warehouse adhesive back to put on windows
                                                                                            Tradeshow
Finished Goods                                               $120.00               $120.00 Warehouse 1        UA Tech 1/4 Zip ‐ Black INFLUENCER SS 2018

Finished Goods                                               $580.00                $580.00 Ontario Warehouse    UA Tech 1/4 Zip ‐ Black INFLUENCER SS 2018
                                                                                            Tradeshow
Finished Goods                                               $120.00                $120.00 Warehouse 1          UA Tech 1/4 Zip ‐ Black INFLUENCER SS 2018
                                                                                            Tradeshow
Finished Goods                                                 $0.00                  $0.00 Warehouse 1          TRX Raid Tee, Black, Men's, LG Influencer
                                                                                            Tradeshow
Finished Goods                                                 $0.00                  $0.00 Warehouse 1        TRX Raid Tee, Black, Men's, XL Influencer
                                                                                                               TRX Performance Sleeveless T‐shirt, Black, Men's, Large
Finished Goods                                                  $0.00                  $0.00 Ontario Warehouse Influencer
                                                                                                               TRX Performance Sleeveless T‐shirt, Black, Men's, Xlarge
Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Influencer
                                                                                             Tradeshow         TRX Performance Sleeveless T‐shirt, Black, Men's, Xlarge
Finished Goods                                                 $0.00                   $0.00 Warehouse 1       Influencer

Finished Goods                                                  $0.00                  $0.00 Ontario Warehouse Threadborne Streaker Tank ‐ White INFLUENCER SS 2018
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1       Threadborne Streaker Tank ‐ White INFLUENCER SS 2018
                                                                                             Tradeshow
Finished Goods                                                  $0.00                  $0.00 Warehouse 1       Threadborne Streaker Tank ‐ White INFLUENCER SS 2018

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Threadborne Streaker Tank ‐ White INFLUENCER SS 2018
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1       Threadborne Streaker Tank ‐ White INFLUENCER SS 2018

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse   Threadborne Streaker Tank ‐ White INFLUENCER SS 2018
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1         Threadborne Streaker Tank ‐ White INFLUENCER SS 2018
                                                                                             Tradeshow           UA Hudson Back Pack ‐ Black/Black/Black INFLUENCER SS
Finished Goods                                                 $0.00                   $0.00 Warehouse 1         2018


                                                                               86 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 119 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest           Location                            Description
                                                                                                                 UA Hudson Back Pack ‐ Black/Black/Black INFLUENCER SS
Finished Goods                                                 $0.00                   $0.00   Ontario Warehouse 2018
                                                                                               Tradeshow
Finished Goods                                                 $0.00                   $0.00   Warehouse 1       Influencer kit Women's Influencer Tank MYBYM
                                                                                               Tradeshow
Finished Goods                                                 $0.00                   $0.00   Warehouse 1       Influencer kit Women's Influencer Tank MYBYM
                                                                                               Tradeshow
Finished Goods                                                 $0.00                   $0.00   Warehouse 1       Influencer kit Women's Influencer Tank MYBYM

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Influencer kit Women's Influencer Tank MYBYM
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1       Influencer kit Women's Influencer Tank MYBYM

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Influencer kit Women's Influencer Tank MYBYM
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1       Influencer kit Women's UA + TRX® HeatGear® Armour Crop
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1       Influencer kit Women's UA + TRX® HeatGear® Armour Crop

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse   Influencer kit Women's UA + TRX® HeatGear® Armour Crop
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1         Influencer kit Women's UA + TRX® HeatGear® Armour Crop
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1         Influencer kit Women's UA + TRX® Tech™ 1/2 Zip
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1         Influencer kit Women's UA + TRX® Tech™ 1/2 Zip
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1         Influencer kit Women's UA + TRX® Tech™ 1/2 Zip
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1         Influencer kit Men's UA x TRX SuperVent Fitted T‐Shirt
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1         Influencer kit Men's UA x TRX SuperVent Fitted T‐Shirt
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1         Influencer kit Men's UA x TRX SuperVent Fitted T‐Shirt
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1         Influencer kit Men's UA x TRX SuperVent Fitted T‐Shirt

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Influencer kit Men's UA x TRX Cage Shorts‐Black


                                                                               87 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 120 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1        Influencer kit Men's UA x TRX Cage Shorts‐Black
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1        Influencer kit Men's UA x TRX Cage Shorts‐Black

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Influencer kit Men's UA x TRX Cage Shorts‐Black
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1       Influencer kit Men's UA x TRX Cage Shorts‐Black

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Influencer kit Men's UA x TRX Cage Shorts‐Black

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Influencer kit Men's UA x TRX Cage Shorts‐Black
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1       Influencer kit Men's UA x TRX Cage Shorts‐Black
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1       Influencer kit Men's UA x TRX Cage Shorts‐Asphalt

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Influencer kit Men's UA x TRX Cage Shorts‐Asphalt

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Influencer kit Men's UA x TRX Cage Shorts‐Asphalt
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1       Influencer kit Men's UA x TRX Cage Shorts‐Asphalt
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1       Influencer kit Men's UA x TRX Cage Shorts‐Asphalt

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Influencer kit Men's UA x TRX ¼ Zip

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX AMP 2 Men's Shoes ‐ INFLUENCER 2018

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX AMP 2 Men's Shoes ‐ INFLUENCER 2018

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX AMP 2 Men's Shoes ‐ INFLUENCER 2018

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX AMP 2 Men's Shoes ‐ INFLUENCER 2018

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX AMP 2 Men's Shoes ‐ INFLUENCER 2018

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX AMP 2 Men's Shoes ‐ INFLUENCER 2018


                                                                               88 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 121 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX AMP 2 Women's Shoes ‐ INFLUENCER 2018

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX AMP 2 Women's Shoes ‐ INFLUENCER 2018

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX AMP 2 Women's Shoes ‐ INFLUENCER 2018

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX AMP 2 Women's Shoes ‐ INFLUENCER 2018

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX AMP 2 Women's Shoes ‐ INFLUENCER 2018

Finished Goods                                                $28.52                 $28.52 Ontario Warehouse Box for Invizimount *Not for individual resale
                                                                                            Tradeshow
Finished Goods                                               $784.62                $784.62 Warehouse 2       Marketing ‐ JTC Shopping Bag

Finished Goods                                               $845.73               $845.73 Ontario Warehouse Marketing ‐ JTC Shopping Bag
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐  Join the CORE Welcome Kit with Men Large Black "TRX
Finished Goods                                                $19.04                 $19.04 Unsellable        CORE" Trainer t‐shirt
                                                                                                              Join the CORE Welcome Kit with Women Large Black "TRX
Finished Goods                                               $368.92               $368.92 Ontario Warehouse CORE" Trainer t‐shirt
                                                                                                              Join the CORE Welcome Kit with Women Medium Black
Finished Goods                                             $1,105.46              $1,105.46 Ontario Warehouse "TRX CORE" Trainer t‐shirt
                                                                                                              Join the CORE Welcome Kit with Women Small Black "TRX
Finished Goods                                               $568.10               $568.10 Ontario Warehouse CORE" Trainer t‐shirt

Finished Goods                                               $195.60                $195.60 Ontario Warehouse CORE Marketing Sticker (in welcome kit)

Finished Goods                                               $300.96                $300.96 Ontario Warehouse CORE Patch Black

Finished Goods                                               $493.92                $493.92 Ontario Warehouse CORE Patch Grey
                                                                                            Tradeshow
Finished Goods                                               $147.76                $147.76 Warehouse 1       Buddy Lee's Master Jump Rope

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $29.55                  $29.55 TRX Office (HQ)   Buddy Lee's Master Jump Rope


                                                                               89 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                              Desc
                                                             Main Document    Page 122 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest             Location                             Description
                                                                                               Tradeshow
Finished Goods                                               $177.31                $177.31    Warehouse 2         Buddy Lee's Master Jump Rope
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                               $310.30                $310.30    Unsellable          Buddy Lee's Master Jump Rope
Finished Goods                                                $14.78                 $14.78    Tigers Logistics    Buddy Lee's Master Jump Rope
                                                                                               IFC Integrated
Finished Goods                                               $443.29                $443.29    Fulfillment         Buddy Lee's Master Jump Rope
                                                                                               Tradeshow
Finished Goods                                                 $9.66                   $9.66   Warehouse 1         Buddy Lee's Master Jump Rope ‐ DEMO
                                                                                               Tradeshow
Finished Goods                                                 $8.09                   $8.09   Warehouse 2         TRX Kettlebell: Iron Circuit Conditioning

Finished Goods                                                 $8.09                   $8.09 SF TRX Office (HQ) TRX Kettlebell: Iron Circuit Conditioning
                                                                                             Tradeshow
Finished Goods                                                $95.74                  $95.74 Warehouse 2        TRX Kettlebell: Iron Circuit Power

Finished Goods                                                 $2.34                   $2.34 SF TRX Office (HQ) TRX Kettlebell: Iron Circuit Power

                                                                                               SF TRX Office
                                                                                               (HQ):RETURNS ‐ SF
Finished Goods                                                $76.64                  $76.64   TRX Office (HQ)     Motion sensing input for TRX Maps
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                               $153.28                $153.28    Unsellable          Motion sensing input for TRX Maps
                                                                                               Quarantined
Finished Goods                                               $153.28                $153.28    Inventory           Motion sensing input for TRX Maps
                                                                                               Inventory ‐
Finished Goods                                                $76.64                  $76.64   Manufacturer        Motion sensing input for TRX Maps
                                                                                               Tradeshow
Finished Goods                                               $198.76                $198.76    Warehouse 4         Kinect Adapter for TRXMAPS

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                               $198.76                $198.76 TRX Office (HQ)   Kinect Adapter for TRXMAPS



                                                                               90 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                             Main Document    Page 123 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                                Description
                                                                                            Quarantined
Finished Goods                                             $1,391.34              $1,391.34 Inventory            Kinect Adapter for TRXMAPS
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $397.53               $397.53 Unsellable            Kinect Adapter for TRXMAPS

Finished Goods                                                $57.03                 $57.03 SF TRX Office (HQ)   Kinect Adapter for TRXMAPS ‐ by Physmodo
                                                                                            Quarantined
Finished Goods                                                $57.03                 $57.03 Inventory            Kinect Adapter for TRXMAPS ‐ by Physmodo
                                                                                            Inventory ‐
Finished Goods                                                $57.03                 $57.03 Manufacturer         Kinect Adapter for TRXMAPS ‐ by Physmodo
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $228.10                $228.10 Unsellable           Kinect Adapter for TRXMAPS ‐ by Physmodo
                                                                                            Tradeshow
Finished Goods                                               $171.09                $171.09 Warehouse 1          Kinect Adapter for TRXMAPS ‐ by Physmodo ‐ DEMO ONLY

Finished Goods                                                $28.41                 $28.41 SF TRX Office (HQ)   Maps Kiosk v.2 ‐ Base
                                                                                            Quarantined
Finished Goods                                                $56.81                 $56.81 Inventory            Maps Kiosk v.2 ‐ Base
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $113.62                $113.62 Unsellable           Maps Kiosk v.2 ‐ Base
                                                                                            Inventory ‐
Finished Goods                                                $28.41                 $28.41 Manufacturer         Maps Kiosk v.2 ‐ Base
                                                                                            Tradeshow
Finished Goods                                                $92.19                 $92.19 Warehouse 1          Maps Kiosk v.2 ‐ Base ‐ DEMO
                                                                                            Quarantined
Finished Goods                                                $76.82                 $76.82 Inventory            Maps Kiosk v.2 ‐ Base ‐ DEMO
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $246.17                $246.17 Unsellable           Maps Kiosk v.2 ‐ Acrylic Top
                                                                                            Inventory ‐
Finished Goods                                               $164.11                $164.11 Manufacturer         Maps Kiosk v.2 ‐ Acrylic Top


                                                                               91 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 124 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description

Finished Goods                                                $82.06                 $82.06 SF TRX Office (HQ) Maps Kiosk v.2 ‐ Acrylic Top
                                                                                            Quarantined
Finished Goods                                               $240.97                $240.97 Inventory          Maps Kiosk v.2 ‐ Acrylic Top ‐ DEMO
                                                                                            Tradeshow
Finished Goods                                               $120.48                $120.48 Warehouse 1        Maps Kiosk v.2 ‐ Acrylic Top ‐ DEMO

Finished Goods                                                $83.40                 $83.40 SF TRX Office (HQ) Knuckle Connector
                                                                                                               Key To Free sticker for content on TRXSTART.COM (TRX
Finished Goods                                             $1,018.65              $1,018.65 Tigers‐UK Thurrock Training Club) (3.5"x3")
                                                                                                               Key To Free sticker for content on TRXSTART.COM (TRX
Finished Goods                                             $7,318.83              $7,318.83 Tigers Logistics   Training Club) (3.5"x3")
                                                                                                               Key To Free sticker for content on TRXSTART.COM (TRX
Finished Goods                                             $4,075.10              $4,075.10 Ontario Warehouse Training Club) (3.5"x3")
                                                                                                               Key To Free sticker for content on TRXSTART.COM (TRX
Finished Goods                                               $278.40                $278.40 Ontario Warehouse Training Club) (4.375" x 5") ‐ ACFT Only
                                                                                                               Key To Free sticker for content on TRXSTART.COM (TRX
Finished Goods                                             $4,200.00              $4,200.00 Ontario Warehouse Training Club) (3.5"x3") ‐ DSG Only
                                                                                            Inventory ‐        Key To Free sticker for content on TRXSTART.COM (TRX
Finished Goods                                             $1,650.00              $1,650.00 Manufacturer       Training Club) (3.5"x3") ‐ FFF Only
Finished Goods                                             $8,898.00              $8,898.00 Tigers Logistics   Kevlar Fillable Sandbag‐ 160lb

Finished Goods                                            $14,681.70             $14,681.70 Ontario Warehouse Kevlar Fillable Sandbag‐ 160lb

Finished Goods                                            $21,971.81             $21,971.81 Ontario Warehouse Kevlar Fillable Sandbag‐ 80lb
Finished Goods                                            $11,096.88             $11,096.88 Tigers Logistics  Kevlar Fillable Sandbag‐ 80lb
                                                                                            Quarantined
Finished Goods                                            $15,091.24             $15,091.24 Inventory         Kevlar Slug Round with handles ‐ 50lbs

Finished Goods                                            $28,132.04             $28,132.04 Ontario Warehouse Kevlar Slug Round with handles ‐ 50lbs
                                                                                            Tradeshow
Finished Goods                                                $82.02                 $82.02 Warehouse 1       Kevlar Slug Round with handles ‐ 50lbs

Finished Goods                                             $9,397.37              $9,397.37 Ontario Warehouse TRX XD Kevlar Ab Slider with Soft Backing (1 pair)
                                                                                            Amazon FBA
Finished Goods                                                 $24.76                $24.76 Returns‐Unusable TRX XD Kevlar Ab Slider with Soft Backing (1 pair)
Finished Goods                                                ‐$12.38               ‐$12.38 Amazon FBA ‐ 3PL TRX XD Kevlar Ab Slider with Soft Backing (1 pair)



                                                                               92 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 125 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                               Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $198.10                $198.10 Unsellable          TRX XD Kevlar Ab Slider with Soft Backing (1 pair)

Finished Goods                                               $136.19               $136.19 Tigers‐UK Thurrock   TRX XD Kevlar Ab Slider with Soft Backing (1 pair)
Finished Goods                                               $916.21               $916.21 Tigers Logistics     TRX XD Kevlar Ab Slider with Soft Backing (1 pair)
                                                                                            Quarantined
Finished Goods                                             $2,278.15              $2,278.15 Inventory           TRX XD Kevlar Ab Slider with Soft Backing (1 pair)
                                                                                            Tradeshow
Finished Goods                                                $12.38                 $12.38 Warehouse 1         TRX XD Kevlar Ab Slider with Soft Backing (1 pair)
                                                                                            Tradeshow
Finished Goods                                                $11.28                 $11.28 Warehouse 1         TRX XD Kevlar Ab Slider with Hard Backing (1 pair)
                                                                                            Quarantined
Finished Goods                                             $2,075.75              $2,075.75 Inventory           TRX XD Kevlar Ab Slider with Hard Backing (1 pair)

Finished Goods                                               $564.06                $564.06 Tigers‐UK Thurrock TRX XD Kevlar Ab Slider with Hard Backing (1 pair)

Finished Goods                                             $5,008.88              $5,008.88 Ontario Warehouse TRX XD Kevlar Ab Slider with Hard Backing (1 pair)
Finished Goods                                             $6,080.59              $6,080.59 Tigers Logistics  TRX XD Kevlar Ab Slider with Hard Backing (1 pair)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $122.94               $122.94 Unsellable         TRX XD Kevlar Weight Belt 10lbs

Finished Goods                                             $5,901.30              $5,901.30 Tigers‐UK Thurrock TRX XD Kevlar Weight Belt 10lbs

Finished Goods                                            $12,007.51             $12,007.51 Ontario Warehouse TRX XD Kevlar Weight Belt 10lbs
Finished Goods                                            $22,006.93             $22,006.93 Tigers Logistics  TRX XD Kevlar Weight Belt 10lbs
                                                                                            Tradeshow
Finished Goods                                                $46.62                 $46.62 Warehouse 1       TRX XD Kevlar/Urethane Bumper Plates 10lbs

Finished Goods                                            $11,142.98             $11,142.98 Ontario Warehouse TRX XD Kevlar/Urethane Bumper Plates 10lbs
                                                                                            Tradeshow
Finished Goods                                               $270.49               $270.49 Warehouse 1        TRX XD Kevlar/Urethane Bumper Plates 25lbs

Finished Goods                                            $25,877.11             $25,877.11 Ontario Warehouse TRX XD Kevlar/Urethane Bumper Plates 25lbs



                                                                               93 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                        Desc
                                                             Main Document    Page 126 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                            Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $180.33                $180.33 Unsellable         TRX XD Kevlar/Urethane Bumper Plates 25lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $210.92                $210.92 Unsellable         TRX XD Kevlar/Urethane Bumper Plates 35lbs
                                                                                            Tradeshow
Finished Goods                                               $105.46                $105.46 Warehouse 1        TRX XD Kevlar/Urethane Bumper Plates 35lbs

Finished Goods                                            $34,169.74             $34,169.74 Ontario Warehouse TRX XD Kevlar/Urethane Bumper Plates 35lbs

Finished Goods                                            $20,880.59             $20,880.59 Ontario Warehouse TRX XD Kevlar/Urethane Bumper Plates 45lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,084.71              $1,084.71 Unsellable        TRX XD Kevlar/Urethane Bumper Plates 45lbs
                                                                                            Tradeshow
Finished Goods                                               $271.18               $271.18 Warehouse 1        TRX XD Kevlar/Urethane Bumper Plates 45lbs

Finished Goods                                             $2,035.38              $2,035.38 Ontario Warehouse TRX XD Kevlar Change Plate 1.25lbs
                                                                                            Tradeshow
Finished Goods                                                 $9.93                  $9.93 Warehouse 1       TRX XD Kevlar Change Plate 1.25lbs

Finished Goods                                             $5,225.47              $5,225.47 Ontario Warehouse TRX XD Kevlar Change Plate 10lbs
                                                                                            Tradeshow
Finished Goods                                                $65.32                 $65.32 Warehouse 1       TRX XD Kevlar Change Plate 10lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $65.32                 $65.32 Unsellable        TRX XD Kevlar Change Plate 10lbs

Finished Goods                                             $3,387.62              $3,387.62 Ontario Warehouse TRX XD Kevlar Change Plate 2.5lbs
                                                                                            Tradeshow
Finished Goods                                                $17.83                 $17.83 Warehouse 1       TRX XD Kevlar Change Plate 2.5lbs

Finished Goods                                             $2,019.55              $2,019.55 Ontario Warehouse TRX XD Kevlar Change Plate 5lbs


                                                                               94 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 127 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description
                                                                                             Tradeshow
Finished Goods                                                $33.66                  $33.66 Warehouse 1        TRX XD Kevlar Change Plate 5lbs

Finished Goods                                             $8,319.62              $8,319.62 Ontario Warehouse TRX XD Kevlar Sand Disc 10lbs

Finished Goods                                              $461.09                $461.09 Tigers‐UK Thurrock TRX XD Kevlar Sand Disc 10lbs
Finished Goods                                             $2,165.11              $2,165.11 Tigers Logistics  TRX XD Kevlar Sand Disc 10lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,423.36              $1,423.36 Unsellable        TRX XD Kevlar Sand Disc 10lbs

Finished Goods                                             $9,403.51              $9,403.51 Ontario Warehouse TRX XD Kevlar Sand Disc 15lbs

Finished Goods                                               $456.74               $456.74 Tigers‐UK Thurrock   TRX XD Kevlar Sand Disc 15lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,880.70              $1,880.70 Unsellable          TRX XD Kevlar Sand Disc 15lbs
Finished Goods                                             $3,412.13              $3,412.13 Tigers Logistics    TRX XD Kevlar Sand Disc 15lbs
Finished Goods                                             $3,223.18              $3,223.18 Tigers Logistics    TRX XD Kevlar Sand Disc 20lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $743.81               $743.81 Unsellable           TRX XD Kevlar Sand Disc 20lbs

Finished Goods                                            $10,696.70             $10,696.70 Ontario Warehouse TRX XD Kevlar Sand Disc 20lbs

Finished Goods                                              $602.13                $602.13 Tigers‐UK Thurrock TRX XD Kevlar Sand Disc 20lbs
Finished Goods                                             $2,810.46              $2,810.46 Tigers Logistics  TRX XD Kevlar Sand Disc 25lbs

Finished Goods                                            $11,563.04             $11,563.04 Ontario Warehouse TRX XD Kevlar Sand Disc 25lbs

Finished Goods                                               $321.20                $321.20 Tigers‐UK Thurrock TRX XD Kevlar Sand Disc 25lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $361.34                $361.34 Unsellable         TRX XD Kevlar Sand Disc 25lbs


                                                                               95 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 128 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $133.40                $133.40 Unsellable          TRX XD Kevlar Sand Disc 30lbs
Finished Goods                                               $444.67                $444.67 Tigers Logistics    TRX XD Kevlar Sand Disc 30lbs

Finished Goods                                            $11,027.77             $11,027.77 Ontario Warehouse TRX XD Kevlar Sand Disc 30lbs
Finished Goods                                              $488.53                $488.53 Tigers Logistics   TRX XD Kevlar Sand Disc 35lbs

Finished Goods                                             $7,181.38              $7,181.38 Ontario Warehouse TRX XD Kevlar Sand Disc 35lbs
Finished Goods                                             $1,185.78              $1,185.78 Tigers Logistics  TRX XD Kevlar Sand Disc 40lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $177.87               $177.87 Unsellable         TRX XD Kevlar Sand Disc 40lbs

Finished Goods                                             $5,691.75              $5,691.75 Ontario Warehouse TRX XD Kevlar Sand Disc 40lbs
Finished Goods                                             $1,897.88              $1,897.88 Tigers Logistics  TRX XD Kevlar Sand Disc 45lbs

Finished Goods                                            $10,564.88             $10,564.88 Ontario Warehouse TRX XD Kevlar Sand Disc 45lbs
Finished Goods                                             $1,206.97              $1,206.97 Tigers Logistics  TRX XD Kevlar Sand Disc 5lbs

Finished Goods                                                $95.29                  $95.29 Tigers‐UK Thurrock TRX XD Kevlar Sand Disc 5lbs

Finished Goods                                             $6,146.00              $6,146.00 Ontario Warehouse TRX XD Kevlar Sand Disc 5lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $15.88                 $15.88 Unsellable        TRX XD Kevlar Sand Disc 5lbs
Finished Goods                                             $2,078.97              $2,078.97 Tigers Logistics  TRX XD Kevlar Sand Disc 50lbs

Finished Goods                                             $7,692.17              $7,692.17 Ontario Warehouse TRX XD Kevlar Sand Disc 50lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $207.90               $207.90 Unsellable         TRX XD Kevlar Sand Disc 50lbs

Finished Goods                                               $374.77                $374.77 Ontario Warehouse TRX 14" Eclipse Kevlar Medball


                                                                               96 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 129 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                              Description

Finished Goods                                               $179.10                $179.10 Ontario Warehouse TRX 14" Eclipse Kevlar Medball

Finished Goods                                               $260.68                $260.68 Ontario Warehouse TRX 14" Eclipse Kevlar Medball

Finished Goods                                               $425.15                $425.15 Ontario Warehouse TRX 14" Eclipse Kevlar Medball

Finished Goods                                               $493.35                $493.35 Ontario Warehouse TRX 14" Eclipse Kevlar Medball

Finished Goods                                               $686.56                $686.56 Ontario Warehouse TRX 14" Eclipse Kevlar Medball

Finished Goods                                               $319.40                $319.40 Ontario Warehouse TRX 14" Eclipse Kevlar Medball

Finished Goods                                               $522.40                $522.40 Ontario Warehouse TRX 14" Eclipse Kevlar Medball

Finished Goods                                              $233.45                $233.45 Ontario Warehouse TRX 14" Eclipse Kevlar Medball
Finished Goods                                             $4,549.52              $4,549.52 Tigers Logistics TRX 10" XD Kevlar Ball 10lbs

Finished Goods                                             $1,399.85              $1,399.85 Tigers‐UK Thurrock TRX 10" XD Kevlar Ball 10lbs
                                                                                            Quarantined
Finished Goods                                                $38.88                 $38.88 Inventory          TRX 10" XD Kevlar Ball 10lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $155.54               $155.54 Unsellable          TRX 10" XD Kevlar Ball 10lbs

Finished Goods                                             $4,899.48              $4,899.48 Ontario Warehouse TRX 10" XD Kevlar Ball 10lbs

Finished Goods                                             $1,532.80              $1,532.80 Tigers‐UK Thurrock TRX 10" XD Kevlar Ball 12lbs
Finished Goods                                             $4,679.06              $4,679.06 Tigers Logistics   TRX 10" XD Kevlar Ball 12lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $80.67                 $80.67 Unsellable         TRX 10" XD Kevlar Ball 12lbs

Finished Goods                                             $8,591.72              $8,591.72 Ontario Warehouse TRX 10" XD Kevlar Ball 12lbs

Finished Goods                                             $4,057.39              $4,057.39 Ontario Warehouse TRX 10" XD Kevlar Ball 14lbs


                                                                               97 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 130 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                                Description

Finished Goods                                             $1,510.73              $1,510.73 Tigers‐UK Thurrock TRX 10" XD Kevlar Ball 14lbs
Finished Goods                                             $4,618.51              $4,618.51 Tigers Logistics   TRX 10" XD Kevlar Ball 14lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $86.33                 $86.33 Unsellable         TRX 10" XD Kevlar Ball 14lbs

Finished Goods                                             $1,784.63              $1,784.63 Tigers‐UK Thurrock TRX 10" XD Kevlar Ball 16lbs

Finished Goods                                             $3,569.25              $3,569.25 Ontario Warehouse TRX 10" XD Kevlar Ball 16lbs
Finished Goods                                             $5,532.34              $5,532.34 Tigers Logistics  TRX 10" XD Kevlar Ball 16lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $44.62                 $44.62 Unsellable        TRX 10" XD Kevlar Ball 16lbs

Finished Goods                                             $5,598.23              $5,598.23 Ontario Warehouse TRX 10" XD Kevlar Ball 18lbs

Finished Goods                                             $1,423.28              $1,423.28 Tigers‐UK Thurrock TRX 10" XD Kevlar Ball 18lbs
Finished Goods                                             $5,740.55              $5,740.55 Tigers Logistics   TRX 10" XD Kevlar Ball 18lbs

Finished Goods                                             $2,961.85              $2,961.85 Ontario Warehouse TRX 10" XD Kevlar Ball 20lbs

Finished Goods                                             $2,309.24              $2,309.24 Tigers‐UK Thurrock   TRX 10" XD Kevlar Ball 20lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $50.20                 $50.20 Unsellable           TRX 10" XD Kevlar Ball 20lbs
Finished Goods                                             $5,271.08              $5,271.08 Tigers Logistics     TRX 10" XD Kevlar Ball 20lbs
Finished Goods                                             $3,169.48              $3,169.48 Tigers Logistics     TRX 10" XD Kevlar Ball 4lbs

Finished Goods                                             $1,725.60              $1,725.60 Tigers‐UK Thurrock TRX 10" XD Kevlar Ball 4lbs

Finished Goods                                             $3,909.02              $3,909.02 Ontario Warehouse TRX 10" XD Kevlar Ball 4lbs




                                                                               98 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 131 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                               Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $422.57                $422.57 Unsellable          TRX 10" XD Kevlar Ball 6lbs

Finished Goods                                             $2,354.29              $2,354.29 Tigers‐UK Thurrock TRX 10" XD Kevlar Ball 6lbs
                                                                                            Quarantined
Finished Goods                                                $60.37                 $60.37 Inventory          TRX 10" XD Kevlar Ball 6lbs

Finished Goods                                             $3,078.69              $3,078.69 Ontario Warehouse TRX 10" XD Kevlar Ball 6lbs
Finished Goods                                             $7,425.07              $7,425.07 Tigers Logistics  TRX 10" XD Kevlar Ball 6lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $155.23               $155.23 Unsellable         TRX 10" XD Kevlar Ball 8lbs

Finished Goods                                             $1,513.50              $1,513.50 Tigers‐UK Thurrock TRX 10" XD Kevlar Ball 8lbs
Finished Goods                                             $4,540.51              $4,540.51 Tigers Logistics   TRX 10" XD Kevlar Ball 8lbs

Finished Goods                                             $9,663.15              $9,663.15 Ontario Warehouse TRX 10" XD Kevlar Ball 8lbs
Finished Goods                                             $4,576.34              $4,576.34 Tigers Logistics  TRX 14" XD Kevlar Ball 10lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $586.71               $586.71 Unsellable         TRX 14" XD Kevlar Ball 10lbs

Finished Goods                                             $2,112.16              $2,112.16 Tigers‐UK Thurrock TRX 14" XD Kevlar Ball 10lbs
                                                                                            Tradeshow
Finished Goods                                                $58.67                 $58.67 Warehouse 1        TRX 14" XD Kevlar Ball 10lbs

Finished Goods                                             $2,933.55              $2,933.55 Ontario Warehouse TRX 14" XD Kevlar Ball 10lbs

Finished Goods                                             $6,144.00              $6,144.00 Ontario Warehouse TRX 14" XD Kevlar Ball 12lbs
                                                                                            Tradeshow
Finished Goods                                                $65.36                 $65.36 Warehouse 1       TRX 14" XD Kevlar Ball 12lbs
Finished Goods                                             $6,928.34              $6,928.34 Tigers Logistics  TRX 14" XD Kevlar Ball 12lbs

Finished Goods                                             $2,614.47              $2,614.47 Tigers‐UK Thurrock TRX 14" XD Kevlar Ball 12lbs


                                                                               99 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 132 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                              Description

Finished Goods                                             $2,568.20              $2,568.20 Tigers‐UK Thurrock TRX 14" XD Kevlar Ball 14lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                              $658.51                $658.51 Unsellable          TRX 14" XD Kevlar Ball 14lbs
Finished Goods                                             $6,321.71              $6,321.71 Tigers Logistics   TRX 14" XD Kevlar Ball 14lbs

Finished Goods                                             $8,758.21              $8,758.21 Ontario Warehouse TRX 14" XD Kevlar Ball 14lbs

Finished Goods                                             $1,373.56              $1,373.56 Tigers‐UK Thurrock TRX 14" XD Kevlar Ball 16lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $274.71               $274.71 Unsellable          TRX 14" XD Kevlar Ball 16lbs

Finished Goods                                             $9,614.94              $9,614.94 Ontario Warehouse TRX 14" XD Kevlar Ball 16lbs
Finished Goods                                             $8,378.73              $8,378.73 Tigers Logistics  TRX 14" XD Kevlar Ball 16lbs

Finished Goods                                            $17,518.75             $17,518.75 Ontario Warehouse TRX 14" XD Kevlar Ball 18lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $71.51                 $71.51 Unsellable        TRX 14" XD Kevlar Ball 18lbs
Finished Goods                                             $7,436.53              $7,436.53 Tigers Logistics  TRX 14" XD Kevlar Ball 18lbs

Finished Goods                                             $2,860.20              $2,860.20 Tigers‐UK Thurrock TRX 14" XD Kevlar Ball 18lbs

Finished Goods                                             $3,682.23              $3,682.23 Ontario Warehouse TRX 14" XD Kevlar Ball 20lbs

Finished Goods                                             $1,841.11              $1,841.11 Tigers‐UK Thurrock TRX 14" XD Kevlar Ball 20lbs
Finished Goods                                             $7,585.39              $7,585.39 Tigers Logistics   TRX 14" XD Kevlar Ball 20lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $736.45               $736.45 Unsellable          TRX 14" XD Kevlar Ball 20lbs




                                                                               100 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 133 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                               Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $394.97                $394.97 Unsellable          TRX 14" XD Kevlar Ball 25lbs

Finished Goods                                            $56,796.10             $56,796.10 Ontario Warehouse TRX 14" XD Kevlar Ball 25lbs

Finished Goods                                             $1,974.83              $1,974.83 Tigers‐UK Thurrock TRX 14" XD Kevlar Ball 25lbs
Finished Goods                                             $9,874.15              $9,874.15 Tigers Logistics   TRX 14" XD Kevlar Ball 25lbs

Finished Goods                                            $21,080.89             $21,080.89 Ontario Warehouse TRX 14" XD Kevlar Ball 30lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $418.27               $418.27 Unsellable         TRX 14" XD Kevlar Ball 30lbs

Finished Goods                                             $2,091.36              $2,091.36 Tigers‐UK Thurrock TRX 14" XD Kevlar Ball 30lbs
Finished Goods                                            $16,814.52             $16,814.52 Tigers Logistics   TRX 14" XD Kevlar Ball 30lbs

Finished Goods                                            $11,922.59             $11,922.59 Ontario Warehouse TRX 14" XD Kevlar Ball 35lbs

Finished Goods                                             $2,119.57              $2,119.57 Tigers‐UK Thurrock TRX 14" XD Kevlar Ball 35lbs
Finished Goods                                            $15,720.15             $15,720.15 Tigers Logistics   TRX 14" XD Kevlar Ball 35lbs
Finished Goods                                             $5,588.09              $5,588.09 Tigers Logistics   TRX 14" XD Kevlar Ball 4lbs

Finished Goods                                             $7,102.62              $7,102.62 Ontario Warehouse TRX 14" XD Kevlar Ball 4lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $52.23                 $52.23 Unsellable        TRX 14" XD Kevlar Ball 4lbs

Finished Goods                                             $2,506.81              $2,506.81 Tigers‐UK Thurrock TRX 14" XD Kevlar Ball 4lbs

Finished Goods                                             $4,927.76              $4,927.76 Ontario Warehouse TRX 14" XD Kevlar Ball 40lbs

Finished Goods                                             $2,324.41              $2,324.41 Tigers‐UK Thurrock TRX 14" XD Kevlar Ball 40lbs
Finished Goods                                            $11,993.98             $11,993.98 Tigers Logistics   TRX 14" XD Kevlar Ball 40lbs



                                                                               101 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 134 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                              Description

Finished Goods                                             $2,507.97              $2,507.97 Tigers‐UK Thurrock TRX 14" XD Kevlar Ball 45lbs
Finished Goods                                            $16,953.91             $16,953.91 Tigers Logistics   TRX 14" XD Kevlar Ball 45lbs

Finished Goods                                             $1,404.47              $1,404.47 Ontario Warehouse TRX 14" XD Kevlar Ball 45lbs

Finished Goods                                             $2,309.56              $2,309.56 Ontario Warehouse TRX 14" XD Kevlar Ball 50lbs

Finished Goods                                             $2,624.50              $2,624.50 Tigers‐UK Thurrock TRX 14" XD Kevlar Ball 50lbs
Finished Goods                                            $15,117.14             $15,117.14 Tigers Logistics   TRX 14" XD Kevlar Ball 50lbs

Finished Goods                                             $7,717.82              $7,717.82 Ontario Warehouse TRX 14" XD Kevlar Ball 6lbs

Finished Goods                                             $1,087.02              $1,087.02 Tigers‐UK Thurrock TRX 14" XD Kevlar Ball 6lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $54.35                 $54.35 Unsellable         TRX 14" XD Kevlar Ball 6lbs
Finished Goods                                             $7,174.31              $7,174.31 Tigers Logistics   TRX 14" XD Kevlar Ball 6lbs

Finished Goods                                             $2,366.31              $2,366.31 Tigers‐UK Thurrock TRX 14" XD Kevlar Ball 8lbs

Finished Goods                                            $17,155.77             $17,155.77 Ontario Warehouse TRX 14" XD Kevlar Ball 8lbs
Finished Goods                                             $5,265.05              $5,265.05 Tigers Logistics  TRX 14" XD Kevlar Ball 8lbs

Finished Goods                                            $28,280.29             $28,280.29 Ontario Warehouse TRX 18" XD Kevlar Ball 100lbs

Finished Goods                                             $9,577.63              $9,577.63 Ontario Warehouse TRX 18" XD Kevlar Ball 40lbs

Finished Goods                                            $12,340.95             $12,340.95 Ontario Warehouse TRX 18" XD Kevlar Ball 60lbs

Finished Goods                                            $13,574.83             $13,574.83 Ontario Warehouse TRX 18" XD Kevlar Ball 80lbs
                                                                                            Tradeshow
Finished Goods                                                $20.26                 $20.26 Warehouse 1       TRX XD Kevlar Rubber Medicine Ball 10lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $60.79                 $60.79 Unsellable        TRX XD Kevlar Rubber Medicine Ball 10lbs


                                                                               102 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                        Desc
                                                             Main Document    Page 135 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                            Description

Finished Goods                                               $648.44                $648.44 Ontario Warehouse TRX XD Kevlar Rubber Medicine Ball 10lbs

Finished Goods                                             $1,370.34              $1,370.34 Ontario Warehouse TRX XD Kevlar Rubber Medicine Ball 12lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $23.23                 $23.23 Unsellable        TRX XD Kevlar Rubber Medicine Ball 12lbs

Finished Goods                                             $6,820.90              $6,820.90 Ontario Warehouse TRX XD Kevlar Rubber Medicine Ball 15lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $53.92                 $53.92 Unsellable        TRX XD Kevlar Rubber Medicine Ball 15lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $37.38                 $37.38 Unsellable        TRX XD Kevlar Rubber Medicine Ball 20lbs

Finished Goods                                            $10,691.86             $10,691.86 Ontario Warehouse TRX XD Kevlar Rubber Medicine Ball 20lbs

Finished Goods                                            $28,329.22             $28,329.22 Ontario Warehouse TRX XD Kevlar Rubber Medicine Ball 25lbs

Finished Goods                                            $38,373.58             $38,373.58 Ontario Warehouse TRX XD Kevlar Rubber Medicine Ball 30lbs

Finished Goods                                             $1,300.16              $1,300.16 Ontario Warehouse TRX XD Kevlar Rubber Medicine Ball 4lbs

Finished Goods                                               $607.51                $607.51 Ontario Warehouse TRX XD Kevlar Rubber Medicine Ball 6lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $14.46                 $14.46 Unsellable        TRX XD Kevlar Rubber Medicine Ball 6lbs

Finished Goods                                             $2,333.85              $2,333.85 Ontario Warehouse TRX XD Kevlar Rubber Medicine Ball 8lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $51.86                 $51.86 Unsellable        TRX XD Kevlar Rubber Medicine Ball 8lbs


                                                                               103 of 226
                            Case 8:22-bk-10949-SC              Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                              Main Document    Page 136 of 494


    General Description of Property (Raw
    Materials, Work in Progress, Finished   Net Book Value of Debtor's    Current Value of
     Goods, Other Inventory or Supplies)             Interest             Debtor's Interest          Location                             Description
Finished Goods                                                $2,437.25              $2,437.25 Tigers Logistics    TRX XD Kevlar Sand Bag 10lbs

Finished Goods                                               $4,495.36               $4,495.36 Ontario Warehouse TRX XD Kevlar Sand Bag 10lbs

Finished Goods                                                $758.25                 $758.25 Tigers‐UK Thurrock TRX XD Kevlar Sand Bag 10lbs
Finished Goods                                               $2,575.47               $2,575.47 Tigers Logistics  TRX XD Kevlar Sand Bag 15lbs

Finished Goods                                                 $819.47                $819.47 Tigers‐UK Thurrock TRX XD Kevlar Sand Bag 15lbs

Finished Goods                                               $8,136.14               $8,136.14 Ontario Warehouse   TRX XD Kevlar Sand Bag 15lbs
Finished Goods                                               $2,459.03               $2,459.03 Tigers Logistics    TRX XD Kevlar Sand Bag 20lbs
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                                 $184.43                $184.43 Unsellable           TRX XD Kevlar Sand Bag 20lbs
                                                                                               Tradeshow
Finished Goods                                                  $61.48                  $61.48 Warehouse 1         TRX XD Kevlar Sand Bag 20lbs

Finished Goods                                                 $307.38                $307.38 Ontario Warehouse TRX XD Kevlar Sand Bag 20lbs

Finished Goods                                                 $122.95                $122.95 Tigers‐UK Thurrock TRX XD Kevlar Sand Bag 20lbs

Finished Goods                                               $3,234.65               $3,234.65 Ontario Warehouse TRX XD Kevlar Sand Bag 25lbs

Finished Goods                                                 $264.05                $264.05 Tigers‐UK Thurrock TRX XD Kevlar Sand Bag 25lbs
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                                  $66.01                  $66.01 Unsellable        TRX XD Kevlar Sand Bag 25lbs
Finished Goods                                               $2,904.58               $2,904.58 Tigers Logistics  TRX XD Kevlar Sand Bag 25lbs

Finished Goods                                               $3,815.24               $3,815.24 Ontario Warehouse TRX XD Kevlar Sand Bag 30lbs
Finished Goods                                               $3,260.30               $3,260.30 Tigers Logistics  TRX XD Kevlar Sand Bag 30lbs

Finished Goods                                                 $485.58                $485.58 Tigers‐UK Thurrock TRX XD Kevlar Sand Bag 30lbs




                                                                                 104 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                             Main Document    Page 137 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                             Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $138.74                $138.74 Unsellable         TRX XD Kevlar Sand Bag 30lbs

Finished Goods                                              $370.90                $370.90 Tigers‐UK Thurrock TRX XD Kevlar Sand Bag 35lbs
Finished Goods                                             $3,709.02              $3,709.02 Tigers Logistics  TRX XD Kevlar Sand Bag 35lbs

Finished Goods                                             $3,189.76              $3,189.76 Ontario Warehouse TRX XD Kevlar Sand Bag 35lbs
Finished Goods                                             $1,550.71              $1,550.71 Tigers Logistics  TRX XD Kevlar Sand Bag 40lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $77.54                 $77.54 Unsellable        TRX XD Kevlar Sand Bag 40lbs

Finished Goods                                             $5,117.33              $5,117.33 Ontario Warehouse TRX XD Kevlar Sand Bag 40lbs
Finished Goods                                             $1,649.70              $1,649.70 Tigers Logistics  TRX XD Kevlar Sand Bag 45lbs

Finished Goods                                             $8,825.92              $8,825.92 Ontario Warehouse TRX XD Kevlar Sand Bag 45lbs

Finished Goods                                            $12,658.92             $12,658.92 Ontario Warehouse TRX XD Kevlar Sand Bag 50lbs
Finished Goods                                             $1,722.30              $1,722.30 Tigers Logistics  TRX XD Kevlar Sand Bag 50lbs

Finished Goods                                            $10,005.83             $10,005.83 Ontario Warehouse TRX XD Kevlar Sand Bag 60lbs
                                                                                            Tradeshow
Finished Goods                                                $33.73                 $33.73 Warehouse 1       TRX XD Kevlar Sand Disc with Grips 10lbs

Finished Goods                                              $775.76                $775.76 Tigers‐UK Thurrock TRX XD Kevlar Sand Disc with Grips 10lbs
Finished Goods                                             $2,765.74              $2,765.74 Tigers Logistics  TRX XD Kevlar Sand Disc with Grips 10lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $33.73                 $33.73 Unsellable        TRX XD Kevlar Sand Disc with Grips 10lbs

Finished Goods                                             $6,408.42              $6,408.42 Ontario Warehouse TRX XD Kevlar Sand Disc with Grips 10lbs

Finished Goods                                            $15,922.27             $15,922.27 Ontario Warehouse TRX XD Kevlar Sand Disc with Grips 100lbs
Finished Goods                                             $6,368.91              $6,368.91 Tigers Logistics  TRX XD Kevlar Sand Disc with Grips 100lbs


                                                                               105 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 138 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $40.62                  $40.62 Unsellable         TRX XD Kevlar Sand Disc with Grips 15lbs

Finished Goods                                             $1,177.90              $1,177.90 Tigers‐UK Thurrock TRX XD Kevlar Sand Disc with Grips 15lbs

Finished Goods                                             $6,620.60              $6,620.60 Ontario Warehouse TRX XD Kevlar Sand Disc with Grips 15lbs
Finished Goods                                             $4,792.82              $4,792.82 Tigers Logistics  TRX XD Kevlar Sand Disc with Grips 15lbs

Finished Goods                                             $1,585.31              $1,585.31 Tigers‐UK Thurrock TRX XD Kevlar Sand Disc with Grips 20lbs
Finished Goods                                             $6,143.06              $6,143.06 Tigers Logistics   TRX XD Kevlar Sand Disc with Grips 20lbs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $99.08                 $99.08 Unsellable         TRX XD Kevlar Sand Disc with Grips 20lbs

Finished Goods                                             $7,381.58              $7,381.58 Ontario Warehouse TRX XD Kevlar Sand Disc with Grips 20lbs

Finished Goods                                             $2,689.36              $2,689.36 Tigers‐UK Thurrock TRX XD Kevlar Sand Disc with Grips 25lbs

Finished Goods                                             $3,683.26              $3,683.26 Ontario Warehouse TRX XD Kevlar Sand Disc with Grips 25lbs
Finished Goods                                             $9,763.56              $9,763.56 Tigers Logistics  TRX XD Kevlar Sand Disc with Grips 25lbs
Finished Goods                                            $14,032.06             $14,032.06 Tigers Logistics  TRX XD Kevlar Sand Disc with Grips 30lbs

Finished Goods                                             $5,040.64              $5,040.64 Ontario Warehouse TRX XD Kevlar Sand Disc with Grips 30lbs

Finished Goods                                             $2,792.79              $2,792.79 Tigers‐UK Thurrock TRX XD Kevlar Sand Disc with Grips 30lbs
Finished Goods                                            $14,557.73             $14,557.73 Tigers Logistics   TRX XD Kevlar Sand Disc with Grips 35lbs

Finished Goods                                             $3,855.83              $3,855.83 Tigers‐UK Thurrock TRX XD Kevlar Sand Disc with Grips 35lbs

Finished Goods                                            $11,095.35             $11,095.35 Ontario Warehouse TRX XD Kevlar Sand Disc with Grips 35lbs

Finished Goods                                             $3,961.33              $3,961.33 Ontario Warehouse TRX XD Kevlar Sand Disc with Grips 40lbs
Finished Goods                                            $11,170.95             $11,170.95 Tigers Logistics  TRX XD Kevlar Sand Disc with Grips 40lbs

Finished Goods                                             $3,961.33              $3,961.33 Tigers‐UK Thurrock TRX XD Kevlar Sand Disc with Grips 40lbs


                                                                               106 of 226
                            Case 8:22-bk-10949-SC              Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                              Main Document    Page 139 of 494


    General Description of Property (Raw
    Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
     Goods, Other Inventory or Supplies)             Interest            Debtor's Interest          Location                            Description
Finished Goods                                              $12,904.16             $12,904.16 Tigers Logistics   TRX XD Kevlar Sand Disc with Grips 45lbs

Finished Goods                                              $4,797.70               $4,797.70 Ontario Warehouse TRX XD Kevlar Sand Disc with Grips 45lbs

Finished Goods                                              $2,481.57              $2,481.57 Tigers‐UK Thurrock TRX XD Kevlar Sand Disc with Grips 45lbs

Finished Goods                                              $1,026.50              $1,026.50 Tigers‐UK Thurrock TRX XD Kevlar Sand Disc with Grips 5lbs

Finished Goods                                              $2,805.77              $2,805.77 Ontario Warehouse TRX XD Kevlar Sand Disc with Grips 5lbs
Finished Goods                                              $2,554.85              $2,554.85 Tigers Logistics  TRX XD Kevlar Sand Disc with Grips 5lbs

Finished Goods                                              $1,728.35              $1,728.35 Tigers‐UK Thurrock TRX XD Kevlar Sand Disc with Grips 50lbs

Finished Goods                                              $8,036.84              $8,036.84 Ontario Warehouse TRX XD Kevlar Sand Disc with Grips 50lbs
Finished Goods                                              $8,987.43              $8,987.43 Tigers Logistics  TRX XD Kevlar Sand Disc with Grips 50lbs

Finished Goods                                             $13,797.48             $13,797.48 Ontario Warehouse TRX XD Kevlar Sand Disc with Grips 75lbs

Finished Goods                                             $11,151.43             $11,151.43 Ontario Warehouse TRX XD Kevlar Slug Bag 100lbs

Finished Goods                                             $18,597.93             $18,597.93 Ontario Warehouse TRX XD Kevlar Slug Bag 150lbs

Finished Goods                                              $7,672.39               $7,672.39 Ontario Warehouse TRX XD Kevlar Slug Bag 50lbs

Finished Goods                                              $9,202.37               $9,202.37 Ontario Warehouse TRX XD Kevlar Slug Bag 75lbs

Finished Goods                                                $835.27                $835.27 Ontario Warehouse TRX XD Kevlar Foam Tire 100lbs
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                 $80.13                 $80.13 Unsellable        TRX Kevlar Weight Vest ‐ 10lbs

Finished Goods                                             $30,290.94             $30,290.94 Ontario Warehouse TRX Kevlar Weight Vest ‐ 10lbs

Finished Goods                                             $18,911.81             $18,911.81 Tigers‐UK Thurrock TRX Kevlar Weight Vest ‐ 10lbs
Finished Goods                                            $143,681.65            $143,681.65 Tigers Logistics   TRX Kevlar Weight Vest ‐ 10lbs
                                                                                             Tradeshow
Finished Goods                                                 $92.21                 $92.21 Warehouse 1        TRX XD Kevlar Weight Vest 20lbs


                                                                                107 of 226
                            Case 8:22-bk-10949-SC              Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                              Main Document    Page 140 of 494


    General Description of Property (Raw
    Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
     Goods, Other Inventory or Supplies)             Interest            Debtor's Interest         Location                            Description
Finished Goods                                            $117,748.40            $117,748.40 Tigers Logistics    TRX XD Kevlar Weight Vest 20lbs
                                                                                              Ontario
                                                                                              Warehouse:CS
                                                                                              Returns‐Ontario‐
Finished Goods                                              $1,383.11               $1,383.11 Unsellable         TRX XD Kevlar Weight Vest 20lbs

Finished Goods                                             $14,292.09             $14,292.09 Tigers‐UK Thurrock TRX XD Kevlar Weight Vest 20lbs

Finished Goods                                             $25,541.35             $25,541.35 Ontario Warehouse TRX XD Kevlar Weight Vest 20lbs

Finished Goods                                                $120.82                $120.82 Ontario Warehouse TRX XD Kevlar Weight Vest 40lbs

Finished Goods                                              $8,699.06              $8,699.06 Tigers‐UK Thurrock TRX XD Kevlar Weight Vest 40lbs
Finished Goods                                            $117,558.19            $117,558.19 Tigers Logistics   TRX XD Kevlar Weight Vest 40lbs
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $966.56               $966.56 Unsellable          TRX XD Kevlar Weight Vest 40lbs

Finished Goods                                                 $83.25                 $83.25 SF TRX Office (HQ) Leash
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                 $93.62                 $93.62 Unsellable         PRO4‐X Letter from Randy ‐ 8.5" x 11"

Finished Goods                                                $741.26                $741.26 Ontario Warehouse PRO4‐X Letter from Randy ‐ 8.5" x 11"
Finished Goods                                                $459.69                $459.69 Tigers Logistics  PRO4‐X Letter from Randy ‐ 8.5" x 11"‐ UK

Finished Goods                                                $462.65                $462.65 Ontario Warehouse   Lip Moisturizer ‐ All Natural USA Made (#LBO)
Finished Goods                                                $154.85                $154.85 Tigers Logistics    Lip Moisturizer ‐ All Natural USA Made (#LBO)
                                                                                             TTC‐ TRX Training
Finished Goods                                                 $68.00                 $68.00 Center              LLL Metal Vent Tech SS (Black, LG)
                                                                                             TTC‐ TRX Training
Finished Goods                                                 $34.00                 $34.00 Center              LLL Metal Vent Tech SS (Black, MD)
                                                                                             TTC‐ TRX Training
Finished Goods                                                 $34.00                 $34.00 Center              LLL Metal Vent Tech SS (Gray, LG)
                                                                                             TTC‐ TRX Training
Finished Goods                                                $196.00                $196.00 Center              LLL Metal Vent Tech Hoodie (Black/White, LG)


                                                                                108 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                               Desc
                                                             Main Document    Page 141 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest            Location                               Description
                                                                                               TTC‐ TRX Training
Finished Goods                                               $147.00                $147.00    Center              LLL Metal Vent Tech Hoodie (Black/White, MD)
                                                                                               TTC‐ TRX Training
Finished Goods                                                $49.00                  $49.00   Center              LLL Metal Vent Tech Hoodie (Black/White, SM)
                                                                                               TTC‐ TRX Training
Finished Goods                                                $39.00                  $39.00   Center              LLL Metal Vent Tech Surge SS (Royal Ruby, LG)
                                                                                               TTC‐ TRX Training
Finished Goods                                               $195.00                $195.00    Center              LLL Metal Vent Tech Surge SS (Royal Ruby, MD)
                                                                                               TTC‐ TRX Training
Finished Goods                                                $78.00                  $78.00   Center              LLL Metal Vent Tech Surge SS (Royal Ruby, SM)
                                                                                               TTC‐ TRX Training
Finished Goods                                               $156.00                $156.00    Center              LLL Metal Vent Tech Surge SS (Royal Ruby, XL)
                                                                                               TTC‐ TRX Training
Finished Goods                                                $87.00                  $87.00   Center              LLL Somatic Aero SL (Black, LG)
                                                                                               TTC‐ TRX Training
Finished Goods                                                $87.00                  $87.00   Center              LLL Somatic Aero SL (Black, MD)
                                                                                               TTC‐ TRX Training
Finished Goods                                                $58.00                  $58.00   Center              LLL Somatic Aero SL (Black, XL)
                                                                                               TTC‐ TRX Training
Finished Goods                                               $118.00                $118.00    Center              LLL Surge Jogger (Obsidian, LG)
                                                                                               TTC‐ TRX Training
Finished Goods                                                $59.00                  $59.00   Center              LLL Surge Jogger (Obsidian, XL)
                                                                                               TTC‐ TRX Training
Finished Goods                                               $116.00                $116.00    Center              LLL T.H.E. Short 9" Linerless (Black, LG)
                                                                                               TTC‐ TRX Training
Finished Goods                                                $29.00                  $29.00   Center              LLL T.H.E. Short 9" Linerless (Black, MD)
                                                                                               TTC‐ TRX Training
Finished Goods                                                $29.00                  $29.00   Center              LLL T.H.E. Short 9" Linerless (Black, XL)

Finished Goods                                             $1,124.76              $1,124.76 Ontario Warehouse      Journey Luggage Tag, black 4.5"x2.25" (#97525)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $24.00                 $24.00 Unsellable             LLL Breeze Through Twist Tank (White, 04)
                                                                                            TTC‐ TRX Training
Finished Goods                                                $96.00                 $96.00 Center                 LLL Breeze Through Twist Tank (White, 08)
                                                                                            TTC‐ TRX Training
Finished Goods                                                $48.00                 $48.00 Center                 LLL Breeze Through Twist Tank (White, 10)


                                                                               109 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                              Desc
                                                             Main Document    Page 142 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest            Location                              Description
                                                                                               TTC‐ TRX Training
Finished Goods                                                $96.00                  $96.00   Center              LLL Cool Racerback II *Nulu (Black, 08)
                                                                                               TTC‐ TRX Training
Finished Goods                                                $72.00                  $72.00   Center              LLL Cool Racerback II *Nulu (Black, 10)
                                                                                               TTC‐ TRX Training
Finished Goods                                               $156.00                $156.00    Center              LLL Energy Bra (Plum, 04)
                                                                                               TTC‐ TRX Training
Finished Goods                                                $52.00                  $52.00   Center              LLL Energy Bra (Plum, 06)

Finished Goods                                                $52.00                 $52.00 SF TRX Office (HQ)     LLL Energy Bra (Plum, 06)
                                                                                            TTC‐ TRX Training
Finished Goods                                               $104.00                $104.00 Center                 LLL Energy Bra (Plum, 08)
                                                                                            TTC‐ TRX Training
Finished Goods                                                $52.00                 $52.00 Center                 LLL Energy Bra (Plum, 10)
                                                                                            TTC‐ TRX Training
Finished Goods                                                $59.00                 $59.00 Center                 LLL Scuba Hoodie IV (Arctic Plum, 06)
                                                                                            TTC‐ TRX Training
Finished Goods                                                $59.00                 $59.00 Center                 LLL Scuba Hoodie IV (Arctic Plum, 08)
                                                                                            TTC‐ TRX Training
Finished Goods                                                $98.00                 $98.00 Center                 LLL Train Times 7/8 Pant (Black, 06)
                                                                                            TTC‐ TRX Training
Finished Goods                                               $147.00                $147.00 Center                 LLL Train Times 7/8 Pant (Black, 08)
                                                                                            TTC‐ TRX Training
Finished Goods                                                $49.00                 $49.00 Center                 LLL Train Times 7/8 Pant (Black, 10)
                                                                                            TTC‐ TRX Training
Finished Goods                                                $49.00                 $49.00 Center                 LLL Wunder Under HR 7/8 Tight (Twillines White Black, 04)
                                                                                            TTC‐ TRX Training
Finished Goods                                                $98.00                 $98.00 Center                 LLL Wunder Under HR 7/8 Tight (Twillines White Black, 06)
                                                                                            TTC‐ TRX Training
Finished Goods                                               $147.00                $147.00 Center                 LLL Wunder Under HR 7/8 Tight (Twillines White Black, 08)
                                                                                            TTC‐ TRX Training
Finished Goods                                               $147.00                $147.00 Center                 LLL Wunder Under HR 7/8 Tight (Twillines White Black, 10)
                                                                                            Quarantined
Finished Goods                                               $916.60                $916.60 Inventory              Floor line toe indicator for TRXMAPS
                                                                                            Tradeshow
Finished Goods                                                $57.29                 $57.29 Warehouse 4            Floor line toe indicator for TRXMAPS
                                                                                            Inventory ‐
Finished Goods                                                $19.10                 $19.10 Manufacturer           Floor line toe indicator for TRXMAPS


                                                                               110 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                              Desc
                                                             Main Document    Page 143 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                                  Description
                                                                                            Tradeshow
Finished Goods                                               $267.34                $267.34 Warehouse 1            Floor line toe indicator for TRXMAPS

                                                                                               SF TRX Office
                                                                                               (HQ):RETURNS ‐ SF
Finished Goods                                                $19.10                  $19.10   TRX Office (HQ)     Floor line toe indicator for TRXMAPS
Finished Goods                                                $38.19                  $38.19   Virtual Location    Floor line toe indicator for TRXMAPS
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                               $267.34                $267.34    Unsellable          Floor line toe indicator for TRXMAPS
                                                                                               Quarantined
Finished Goods                                                $82.83                  $82.83   Inventory           Floor line toe indicator for TRXMAPS ‐ Stretch Labs

Finished Goods                                                 $0.00                  $0.00 Ontario Warehouse      Hardware kit for wall‐mounted MAPS units
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $165.00               $165.00 Unsellable              MAPS Custom Back Panel Kiosk v.3 (GOVERNMENT ONLY)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $82.50                 $82.50 Unsellable             MAPSFLOOR for TRXMAPS
                                                                                            Tradeshow
Finished Goods                                                $82.50                 $82.50 Warehouse 4            MAPSFLOOR for TRXMAPS
                                                                                            Tradeshow
Finished Goods                                               $330.00               $330.00 Warehouse 1             MAPSFLOOR for TRXMAPS (DEMO USE)
                                                                                            Quarantined
Finished Goods                                            $60,209.49             $60,209.49 Inventory              MAPS Kiosk v.3
                                                                                            Inventory ‐
Finished Goods                                               $466.74               $466.74 Manufacturer            MAPS Kiosk v.3
                                                                                            Tradeshow
Finished Goods                                               $933.48               $933.48 Warehouse 4             MAPS Kiosk v.3
                                                                                            Tradeshow
Finished Goods                                             $1,400.22              $1,400.22 Warehouse 1            MAPS Kiosk v.3

Finished Goods                                               $466.74                $466.74 SF TRX Office (HQ) MAPS Kiosk v.3



                                                                               111 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                             Main Document    Page 144 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest           Location                          Description
                                                                                              Ontario
                                                                                              Warehouse:CS
                                                                                              Returns‐Ontario‐
Finished Goods                                             $2,333.70              $2,333.70   Unsellable         MAPS Kiosk v.3
Finished Goods                                              $933.48                $933.48    Virtual Location   MAPS Kiosk v.3
                                                                                              Tradeshow
Finished Goods                                             $1,773.20              $1,773.20   Warehouse 1        MAPS Kiosk v.3 ‐ DEMO Only
                                                                                              Quarantined
Finished Goods                                             $2,659.80              $2,659.80   Inventory          MAPS Kiosk v.3 ‐ DEMO Only

Finished Goods                                               $214.93               $214.93 SF TRX Office (HQ) MAPS Kiosk v.3 ‐ Wall‐mounted
                                                                                            Quarantined
Finished Goods                                             $3,009.07              $3,009.07 Inventory          MAPS Kiosk v.3 ‐ Wall‐mounted
                                                                                                               Custom Magnet for TRXMAPS v3 ‐ Body / Front Panel
Finished Goods                                               $360.00                $360.00 SF TRX Office (HQ) (24.6" x 48.8")
                                                                                                               Custom Magnet for TRXMAPS v3 ‐ Top / Header (24.625" x
Finished Goods                                               $600.00               $600.00 SF TRX Office (HQ) 7.875")
                                                                                            Quarantined
Finished Goods                                               $570.00               $570.00 Inventory           Custom Logo Magnet for TRXMAPS V3‐ StretchLABS
                                                                                            Quarantined
Finished Goods                                                $39.92                 $39.92 Inventory          MAPS USB Cord (Gov Only)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $4.61                  $4.61 Unsellable         MAPS USB Cord (Gov Only)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $40.45                 $40.45 Unsellable         MAPS USB Drive (Gov Only)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $19.35                 $19.35 Unsellable         TRX Camo Tri‐Blend Hoodie ‐ Black‐L

Finished Goods                                               $715.95                $715.95 Ontario Warehouse TRX Camo Tri‐Blend Hoodie ‐ Black‐L

Finished Goods                                             $1,335.15              $1,335.15 Ontario Warehouse TRX Camo Tri‐Blend Hoodie ‐ Black‐M



                                                                               112 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                             Main Document    Page 145 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                            Description
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $19.35                  $19.35 Unsellable         TRX Camo Tri‐Blend Hoodie ‐ Black‐M

Finished Goods                                               $193.50                $193.50 Ontario Warehouse TRX Camo Tri‐Blend Hoodie ‐ Black‐S
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $17.97                 $17.97 Unsellable        TRX Camo Tee ‐ Black‐L

Finished Goods                                                $61.89                  $61.89 Ontario Warehouse TRX Camo Tee ‐ Black‐M
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                 $8.84                   $8.84 Unsellable        TRX Camo Tee ‐ Black‐M

Finished Goods                                               $456.30                $456.30 Ontario Warehouse TRX Camo Tee ‐ Military Green‐L

Finished Goods                                               $633.75                $633.75 Ontario Warehouse TRX Camo Tee ‐ Military Green‐M

Finished Goods                                               $160.55                $160.55 Ontario Warehouse TRX Camo Tee ‐ Military Green‐S
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $8.45                  $8.45 Unsellable        TRX Camo Tee ‐ Military Green‐XL

Finished Goods                                             $4,324.80              $4,324.80 Ontario Warehouse Mesh Bag ‐ Not for individual sale! ‐ production component
                                                                                            Tradeshow
Finished Goods                                                 $3.98                  $3.98 Warehouse 1       Mesh Bag ‐ Large
                                                                                            Quarantined
Finished Goods                                             $3,858.07              $3,858.07 Inventory         Mesh Bag ‐ Large

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Mesh Bag ‐ Large
                                                                                             Tradeshow
Finished Goods                                                 $6.64                   $6.64 Warehouse 1       Mesh Bag ‐ Small

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Mesh Bag ‐ Small


                                                                               113 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                             Main Document    Page 146 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                                Description
                                                                                            Quarantined
Finished Goods                                             $3,115.10              $3,115.10 Inventory            Mesh Bag ‐ Small

Finished Goods                                                $86.85                 $86.85 Ontario Warehouse TRX Meshback Snapback ‐ Black
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $28.95                 $28.95 Unsellable        TRX Meshback Snapback ‐ Black
Finished Goods                                               $130.73                $130.73 TRX In‐Transit    TRX FORCE Tactical Conditioning Program

Finished Goods                                               $117.66                $117.66 SF TRX Office (HQ) TRX FORCE Tactical Conditioning Program
                                                                                            Inventory ‐
Finished Goods                                           $105,631.77            $105,631.77 Manufacturer       TRX FORCE Tactical Conditioning Program
                                                                                                               Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                             $9,691.65              $9,691.65 Tigers‐UK Thurrock Minibands)
                                                                                                               Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                                $10.90                 $10.90 Ontario Warehouse Minibands)
                                                                                                               Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                            $11,293.31             $11,293.31 Tigers Logistics   Minibands)
                                                                                            IFC Integrated     Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                             $3,639.14              $3,639.14 Fulfillment        Minibands)

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF    Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                                 $5.45                  $5.45 TRX Office (HQ)      Minibands)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐     Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                             $1,541.73              $1,541.73 Unsellable           Minibands)
                                                                                            Amazon FBA CA ‐      Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                             $1,394.64              $1,394.64 3PL                  Minibands)
                                                                                                                 Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                             $1,966.66              $1,966.66 Tmall ‐ 3PL          Minibands)
                                                                                            Amazon FBA MX ‐      Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                               $114.40               $114.40 3PL                   Minibands)
                                                                                            Tradeshow            Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                                $10.90                 $10.90 Warehouse 1          Minibands)



                                                                               114 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 147 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest          Location                            Description
                                                                                            Amazon FBA          Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                             $1,334.71              $1,334.71 Returns‐Unusable    Minibands)
                                                                                            IFC Integrated
                                                                                            Fulfillment:IFC ‐   Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                                 $5.45                  $5.45 Returns             Minibands)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $50.70                 $50.70 Unsellable          TRX Men's Interlock Jogger ‐ Charcoal‐L

Finished Goods                                             $1,090.05              $1,090.05 Ontario Warehouse TRX Men's Interlock Jogger ‐ Charcoal‐L

Finished Goods                                             $2,154.75              $2,154.75 Ontario Warehouse TRX Men's Interlock Jogger ‐ Charcoal‐M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $101.40               $101.40 Unsellable         TRX Men's Interlock Jogger ‐ Charcoal‐M

Finished Goods                                               $278.85                $278.85 Ontario Warehouse TRX Men's Interlock Jogger ‐ Charcoal‐S

Finished Goods                                               $253.50                $253.50 Ontario Warehouse TRX Men's Interlock Jogger ‐ Charcoal‐XL
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $50.70                 $50.70 Unsellable        TRX Men's Interlock Jogger ‐ Charcoal‐XL

Finished Goods                                               $630.70                $630.70 Ontario Warehouse TRX Lenticular Tri‐Blend Hoodie ‐ Premium Heather‐L
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $18.55                 $18.55 Unsellable        TRX Lenticular Tri‐Blend Hoodie ‐ Premium Heather‐L
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $37.10                 $37.10 Unsellable        TRX Lenticular Tri‐Blend Hoodie ‐ Premium Heather‐M

Finished Goods                                             $1,094.45              $1,094.45 Ontario Warehouse TRX Lenticular Tri‐Blend Hoodie ‐ Premium Heather‐M



                                                                               115 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 148 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description

Finished Goods                                               $185.50                $185.50 Ontario Warehouse TRX Lenticular Tri‐Blend Hoodie ‐ Premium Heather‐S

Finished Goods                                                $36.75                  $36.75 Ontario Warehouse TRX Lenticular Tee ‐ Black‐S

Finished Goods                                               $147.00                $147.00 Ontario Warehouse TRX Lenticular Tee ‐ Charcoal‐L

Finished Goods                                               $543.90                $543.90 Ontario Warehouse TRX Lenticular Tee ‐ Charcoal‐M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $22.05                 $22.05 Unsellable        TRX Lenticular Tee ‐ Charcoal‐M

Finished Goods                                                $29.40                  $29.40 Ontario Warehouse TRX Lenticular Tee ‐ Charcoal‐S

Finished Goods                                             $2,038.85              $2,038.85 Ontario Warehouse TRX Men's LS Raglan Performance Crew ‐ Black Tonal‐L

Finished Goods                                             $2,325.30              $2,325.30 Ontario Warehouse TRX Men's LS Raglan Performance Crew ‐ Black Tonal‐M

Finished Goods                                               $387.55                $387.55 Ontario Warehouse TRX Men's LS Raglan Performance Crew ‐ Black Tonal‐S

Finished Goods                                               $589.75                $589.75 Ontario Warehouse TRX Men's LS Raglan Performance Crew ‐ Black Tonal‐XL
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $16.85                 $16.85 Unsellable        TRX Men's LS Raglan Performance Crew ‐ Black Tonal‐XL

Finished Goods                                               $162.64                $162.64 Ontario Warehouse Multimount Mounting Hardware only

Finished Goods                                               $268.14                $268.14 Ontario Warehouse Multimount ‐ Bracket with Mounting Hardware GSA

Finished Goods                                            $10,890.92             $10,890.92 Ontario Warehouse Multimount ‐ Bracket with Mounting Hardware
Finished Goods                                             $3,893.37              $3,893.37 Tigers Logistics  Multimount ‐ Bracket with Mounting Hardware
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $6,892.32              $6,892.32 Unsellable        Multimount ‐ Bracket with Mounting Hardware



                                                                               116 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 149 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description

Finished Goods                                               $315.68                $315.68 Tigers‐UK Thurrock Multimount ‐ Bracket with Mounting Hardware
                                                                                            Inventory ‐
Finished Goods                                                $52.61                 $52.61 Manufacturer       Multimount ‐ Bracket with Mounting Hardware
Finished Goods                                                $81.06                 $81.06 Tigers Logistics   Multimount ‐ Wall Bracket Bar

Finished Goods                                                $18.01                  $18.01 Tigers‐UK Thurrock Multimount ‐ Wall Bracket Bar

Finished Goods                                             $9,521.88              $9,521.88 Ontario Warehouse   Multimount ‐ Monkey Bars
Finished Goods                                             $9,601.23              $9,601.23 Tigers Logistics    Multimount ‐ Monkey Bars
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $6,347.92              $6,347.92 Unsellable          Multimount ‐ Monkey Bars
                                                                                            IFC Integrated
Finished Goods                                               $158.70               $158.70 Fulfillment          Multimount ‐ Monkey Bars
                                                                                            Inventory ‐
Finished Goods                                               $396.75               $396.75 Manufacturer         Multimount ‐ Monkey Bars

Finished Goods                                               $158.70                $158.70 Tigers‐UK Thurrock Multimount ‐ Monkey Bars

Finished Goods                                                $42.49                  $42.49 SF TRX Office (HQ) Multimount ‐ 7ft Cross Bar

Finished Goods                                             $2,294.38              $2,294.38 Ontario Warehouse   Multimount ‐ 7ft Cross Bar
                                                                                            IFC Integrated
Finished Goods                                                $28.33                 $28.33 Fulfillment         Multimount ‐ 7ft Cross Bar
                                                                                            Inventory ‐
Finished Goods                                                $14.16                 $14.16 Manufacturer        Multimount ‐ 7ft Cross Bar
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $807.28               $807.28 Unsellable           Multimount ‐ 7ft Cross Bar

Finished Goods                                                $42.49                 $42.49 Tigers‐UK Thurrock Multimount ‐ 7ft Cross Bar
Finished Goods                                             $2,351.03              $2,351.03 Tigers Logistics   Multimount ‐ 7ft Cross Bar

Finished Goods                                                $96.98                  $96.98 Ontario Warehouse Multimount ‐ Junction Piece GSA



                                                                               117 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 150 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest             Location                           Description
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                               $148.59                $148.59    Unsellable         Multimount ‐ Junction Piece
                                                                                               Inventory ‐
Finished Goods                                                 $5.31                   $5.31   Manufacturer       Multimount ‐ Junction Piece
                                                                                               IFC Integrated
Finished Goods                                                $15.92                 $15.92    Fulfillment        Multimount ‐ Junction Piece
Finished Goods                                               $541.31                $541.31    Tigers Logistics   Multimount ‐ Junction Piece

Finished Goods                                               $244.12                $244.12 Ontario Warehouse Multimount ‐ Junction Piece

Finished Goods                                               $100.83                $100.83 Tigers‐UK Thurrock Multimount ‐ Junction Piece

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX Men's Raglan Performance Crew ‐ Charcoal‐L
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $14.94                  $14.94 Unsellable        TRX Men's Raglan Performance Crew ‐ Charcoal‐L

Finished Goods                                                $89.41                  $89.41 Ontario Warehouse TRX Men's Raglan Performance Crew ‐ Charcoal‐M
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $44.70                  $44.70 Unsellable        TRX Men's Raglan Performance Crew ‐ Charcoal‐M

Finished Goods                                               $106.16                $106.16 Ontario Warehouse TRX Men's Raglan Performance Crew ‐ Charcoal‐S

Finished Goods                                               $642.85                $642.85 Ontario Warehouse TRX Men's Raglan Performance Crew ‐ Charcoal/Camo‐L

Finished Goods                                             $1,001.65              $1,001.65 Ontario Warehouse TRX Men's Raglan Performance Crew ‐ Charcoal/Camo‐M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $14.95                 $14.95 Unsellable        TRX Men's Raglan Performance Crew ‐ Charcoal/Camo‐M

Finished Goods                                               $224.25                $224.25 Ontario Warehouse TRX Men's Raglan Performance Crew ‐ Charcoal/Camo‐S



                                                                               118 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 151 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description

Finished Goods                                               $149.50                $149.50 Ontario Warehouse TRX Men's Raglan Performance Crew ‐ Charcoal/Camo‐XL
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $29.90                 $29.90 Unsellable        TRX Men's Raglan Performance Crew ‐ Charcoal/Camo‐XL
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $27.35                 $27.35 Unsellable        TRX Men's Raglan Performance Jacket ‐ Charcoal Camo‐L

Finished Goods                                             $2,461.50              $2,461.50 Ontario Warehouse TRX Men's Raglan Performance Jacket ‐ Charcoal Camo‐L

Finished Goods                                             $2,789.70              $2,789.70 Ontario Warehouse TRX Men's Raglan Performance Jacket ‐ Charcoal Camo‐M

Finished Goods                                               $386.13                $386.13 Ontario Warehouse TRX Men's Raglan Performance Jacket ‐ Charcoal Camo‐S

Finished Goods                                               $164.10                $164.10 Ontario Warehouse TRX Men's Raglan Performance Jacket ‐ Charcoal Camo‐XL

Finished Goods                                               $358.15                $358.15 Ontario Warehouse TRX Men's 9" Taffeta Short ‐ Charcoal/Camo‐L
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $79.91                 $79.91 Unsellable        TRX Men's 9" Taffeta Short ‐ Charcoal/Camo‐M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $37.70                 $37.70 Unsellable        TRX Men's 9" Taffeta Short ‐ Charcoal/Camo‐XL

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX Men's 9" Taffeta Short ‐ Charcoal/Camo‐XL
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                 $7.35                   $7.35 Unsellable        TRX Lenticular Square Tee ‐ Black‐L

Finished Goods                                               $492.45                $492.45 Ontario Warehouse TRX Lenticular Square Tee ‐ Black‐L

Finished Goods                                                $95.55                  $95.55 Ontario Warehouse TRX Lenticular Square Tee ‐ Black‐S


                                                                               119 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 152 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                               Description

Finished Goods                                               $286.65                $286.65 Ontario Warehouse TRX Lenticular Square Tee ‐ Dark Heather‐L

Finished Goods                                               $441.00                $441.00 Ontario Warehouse TRX Lenticular Square Tee ‐ Dark Heather‐M

Finished Goods                                               $102.90                $102.90 Ontario Warehouse TRX Lenticular Square Tee ‐ Dark Heather‐S
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $9.66                  $9.66 Unsellable        Neoprene Sleeve for Orangetheory

Finished Goods                                             $2,575.08              $2,575.08 Ontario Warehouse    Neoprene Sleeve for Orangetheory
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $31.74                 $31.74 Unsellable           Neoprene Sleeve Cover for Carabiner
                                                                                            Tradeshow
Finished Goods                                               $752.51               $752.51 Warehouse 1           ORBBEC ‐ Motion sensing input for TRX Maps V3
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,128.77              $1,128.77 Unsellable           ORBBEC ‐ Motion sensing input for TRX Maps V3

Finished Goods                                               $564.39                $564.39 SF TRX Office (HQ)   ORBBEC ‐ Motion sensing input for TRX Maps V3
                                                                                            Quarantined
Finished Goods                                             $9,594.56              $9,594.56 Inventory            ORBBEC ‐ Motion sensing input for TRX Maps V3
                                                                                            Inventory ‐
Finished Goods                                             $3,198.19              $3,198.19 Manufacturer         ORBBEC ‐ Motion sensing input for TRX Maps V3
                                                                                            Tradeshow
Finished Goods                                               $376.26               $376.26 Warehouse 4           ORBBEC ‐ Motion sensing input for TRX Maps V3
                                                                                            Inventory ‐          ORBBEC ‐ Motion sensing input for TRX Maps V3 ‐ Demo
Finished Goods                                               $137.86               $137.86 Manufacturer          Only
                                                                                            Tradeshow            ORBBEC ‐ Motion sensing input for TRX Maps V3 ‐ Demo
Finished Goods                                               $551.46               $551.46 Warehouse 1           Only
                                                                                            Inventory ‐
Finished Goods                                             $8,400.00              $8,400.00 Manufacturer         TRX Sticker Hang Tag ‐ Yellow

Finished Goods                                             $4,003.57              $4,003.57 Ontario Warehouse Black w/ white TRX text logo


                                                                               120 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                               Desc
                                                             Main Document    Page 153 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                                   Description
                                                                                            Tradeshow
Finished Goods                                               $891.66                $891.66 Warehouse 1           Black w/ white TRX text logo

Finished Goods                                            $14,896.60             $14,896.60 Ontario Warehouse Patch Hat Classic
                                                                                            Tradeshow
Finished Goods                                               $527.50               $527.50 Warehouse 1        Patch Hat Classic

Finished Goods                                            $16,702.70             $16,702.70 Ontario Warehouse Patch Hat Stiff Brim
Finished Goods                                                $13.29                 $13.29 Tigers Logistics  Box sleeve for TRX Pro kit **Not for individual resale

Finished Goods                                                $62.91                  $62.91 Ontario Warehouse Box sleeve for TRX Pro kit **Not for individual resale

Finished Goods                                                $21.71                  $21.71 Ontario Warehouse Box sleeve for TRX PRO4 kit **Not for individual resale

Finished Goods                                            $15,334.00             $15,334.00 Ontario Warehouse PROBAR Mobility Tool
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $2,050.00              $2,050.00 Unsellable        PROBAR Mobility Tool

Finished Goods                                             $1,471.00              $1,471.00 Ontario Warehouse R4 ‐ Accessory ‐ TRX¨ Team Coach Playcard
                                                                                            Tradeshow
Finished Goods                                               $206.08               $206.08 Warehouse 2        R4 ‐ Banner ‐ TRX¨ Team Reversible Pop‐up

Finished Goods                                                $24.60                  $24.60 SF TRX Office (HQ) RELF Box for Kit **Not for individual resale

Finished Goods                                               $298.00                $298.00 Ontario Warehouse RELF Box for TRXGO **Not for individual resale

Finished Goods                                                 $0.00                  $0.00 Ontario Warehouse     RELF Box for TRXPRO4 **Not for individual resale
                                                                                            Amazon FBA CA ‐
Finished Goods                                               $997.15                $997.15 3PL                  TRX RevRoller, 14" x 6"
                                                                                            Amazon FBA
Finished Goods                                              $304.22                $304.22 Returns‐Unusable      TRX RevRoller, 14" x 6"
Finished Goods                                            $17,898.03             $17,898.03 Tigers Logistics     TRX RevRoller, 14" x 6"
Finished Goods                                              $743.64                $743.64 Amazon FBA ‐ 3PL      TRX RevRoller, 14" x 6"
                                                                                            Amazon FBA MX ‐
Finished Goods                                                ‐$16.90               ‐$16.90 3PL                   TRX RevRoller, 14" x 6"



                                                                               121 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                             Main Document    Page 154 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                               Description

Finished Goods                                            $17,086.79             $17,086.79 Ontario Warehouse TRX RevRoller, 14" x 6"

Finished Goods                                               $473.22                $473.22 Tigers‐UK Thurrock TRX RevRoller, 14" x 6"
                                                                                            Tradeshow
Finished Goods                                                $16.50                 $16.50 Warehouse 2
                                                                                            IFC Integrated
Finished Goods                                                 $4.97                  $4.97 Fulfillment        DVD and Guide ‐ TRX¨ RIP: Leaner, Faster, Stronger

Finished Goods                                                 $1.66                  $1.66 SF TRX Office (HQ) DVD and Guide ‐ TRX¨ RIP: Leaner, Faster, Stronger
                                                                                            Tradeshow
Finished Goods                                               $114.29                $114.29 Warehouse 2        DVD and Guide ‐ TRX¨ RIP: Leaner, Faster, Stronger
Finished Goods                                               $982.14                $982.14 Tigers Logistics   Poster ‐ TRX RIP Training

Finished Goods                                             $3,321.17              $3,321.17 Ontario Warehouse Poster ‐ TRX RIP Training

Finished Goods                                               $529.84                $529.84 Tigers‐UK Thurrock   Poster ‐ TRX RIP Training
                                                                                            Tradeshow
Finished Goods                                                $12.92                 $12.92 Warehouse 2          Poster ‐ TRX RIP Training
Finished Goods                                               $982.14                $982.14 Amazon FBA ‐ 3PL     Poster ‐ TRX RIP Training
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $387.69                $387.69 Unsellable           Poster ‐ TRX RIP Training
                                                                                            Amazon FBA
Finished Goods                                               $155.07                $155.07 Returns‐Unusable     Poster ‐ TRX RIP Training
                                                                                            IFC Integrated
Finished Goods                                                $64.61                 $64.61 Fulfillment          Poster ‐ TRX RIP Training
                                                                                            IFC Integrated
Finished Goods                                               $139.10                $139.10 Fulfillment          TRX Rocker ‐ 13" Myofascial Tool
                                                                                            Tradeshow
Finished Goods                                               $818.23                $818.23 Warehouse 1          TRX Rocker ‐ 13" Myofascial Tool

Finished Goods                                            $35,044.71             $35,044.71 Ontario Warehouse TRX Rocker ‐ 13" Myofascial Tool
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $531.85               $531.85 Unsellable         TRX Rocker ‐ 13" Myofascial Tool


                                                                               122 of 226
                            Case 8:22-bk-10949-SC              Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                              Main Document    Page 155 of 494


    General Description of Property (Raw
    Materials, Work in Progress, Finished   Net Book Value of Debtor's    Current Value of
     Goods, Other Inventory or Supplies)             Interest             Debtor's Interest          Location                           Description
Finished Goods                                                $6,758.56              $6,758.56 Tigers Logistics   TRX Rocker ‐ 13" Myofascial Tool

Finished Goods                                                 $171.83                $171.83 SF TRX Office (HQ) TRX Rocker ‐ 13" Myofascial Tool

Finished Goods                                               $3,665.66               $3,665.66 Tigers‐UK Thurrock TRX Rocker ‐ 13" Myofascial Tool

Finished Goods                                              $40,709.79             $40,709.79 Ontario Warehouse TRX Rocker ‐ 26" Myofascial Tool
                                                                                              IFC Integrated
Finished Goods                                                  $40.24                 $40.24 Fulfillment       TRX Rocker ‐ 26" Myofascial Tool
                                                                                              Ontario
                                                                                              Warehouse:CS
                                                                                              Returns‐Ontario‐
Finished Goods                                                 $429.23               $429.23 Unsellable         TRX Rocker ‐ 26" Myofascial Tool

Finished Goods                                               $6,143.36               $6,143.36 Tigers‐UK Thurrock TRX Rocker ‐ 26" Myofascial Tool

Finished Goods                                                $241.44                  $241.44 SF TRX Office (HQ) TRX Rocker ‐ 26" Myofascial Tool
Finished Goods                                               $8,893.11               $8,893.11 Tigers Logistics   TRX Rocker ‐ 26" Myofascial Tool

Finished Goods                                                  $28.50                 $28.50 SF TRX Office (HQ) Enso Travel Roller 8"
                                                                                              Tradeshow          Training Manual ‐ TRX¨ RIP Training Course ‐ Single Manual ‐
Finished Goods                                                   $2.95                  $2.95 Warehouse 2        English METRIC
                                                                                                                 Training Manual ‐ TRX¨ RIP Training Course ‐ Single Manual ‐
Finished Goods                                                 $191.75               $191.75 Tigers Logistics    English METRIC
                                                                                                                 Training Manual ‐ TRX¨ RIP Training Course ‐ Single Manual ‐
Finished Goods                                                   $0.00                  $0.00 Tigers Logistics   German
                                                                                                                 Training Manual ‐ TRX¨ RIP Training Course ‐ Single Manual
Finished Goods                                                   $0.00                  $0.00 Tigers Logistics   Metric Measurement ‐ Spanish
Finished Goods                                                 $105.35               $105.35 TRX In‐Transit      Suspension Anchor with carabiner
                                                                                              Tradeshow
Finished Goods                                                $421.40                $421.40 Warehouse 2         Suspension Anchor with carabiner
Finished Goods                                                  ‐$7.11                 ‐$7.11 Amazon FBA ‐ 3PL Suspension Anchor with carabiner ‐‐ SG
Finished Goods                                               $1,870.39              $1,870.39 Tigers Logistics   Suspension Anchor with carabiner ‐‐ SG

                                                                                               SF TRX Office
                                                                                               (HQ):RETURNS ‐ SF
Finished Goods                                                   $7.11                   $7.11 TRX Office (HQ)   Suspension Anchor with carabiner ‐‐ SG



                                                                                 123 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 156 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest       Location                                Description
                                                                                            Amazon FBA CA ‐
Finished Goods                                               $284.47                $284.47 3PL                  Suspension Anchor with carabiner ‐‐ SG

Finished Goods                                             $4,779.10              $4,779.10 Ontario Warehouse Suspension Anchor with carabiner ‐‐ SG
                                                                                            Amazon FBA
Finished Goods                                               $341.36               $341.36 Returns‐Unusable Suspension Anchor with carabiner ‐‐ SG
Finished Goods                                               $583.16               $583.16 Tmall ‐ 3PL        Suspension Anchor with carabiner ‐‐ SG

Finished Goods                                                 $7.11                  $7.11 SF TRX Office (HQ) Suspension Anchor with carabiner ‐‐ SG
                                                                                            IFC Integrated
Finished Goods                                               $113.79                $113.79 Fulfillment        Suspension Anchor with carabiner ‐‐ SG
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $526.27                $526.27 Unsellable         Suspension Anchor with carabiner ‐‐ SG

Finished Goods                                                $89.25                  $89.25 Ontario Warehouse Tactical Suspension Anchor with Carabiner
Finished Goods                                                $21.00                  $21.00 Tigers Logistics  Tactical Suspension Anchor with Carabiner

Finished Goods                                                 $2.71                  $2.71 Ontario Warehouse ElevFrame ‐ Corner Brace Bolt Set
Finished Goods                                             $2,804.43              $2,804.43 Tigers Logistics  ElevFrame ‐ Corner Brace

Finished Goods                                                $36.42                 $36.42 Tigers‐UK Thurrock   ElevFrame ‐ Corner Brace
                                                                                            IFC Integrated
Finished Goods                                               $254.95               $254.95 Fulfillment           ElevFrame ‐ Corner Brace
                                                                                            Tradeshow
Finished Goods                                             $1,475.05              $1,475.05 Warehouse 2          ElevFrame ‐ Corner Brace
                                                                                            Inventory ‐
Finished Goods                                                $18.21                 $18.21 Manufacturer         ElevFrame ‐ Corner Brace

Finished Goods                                             $1,857.48              $1,857.48 Ontario Warehouse ElevFrame ‐ Corner Brace
                                                                                            Tradeshow
Finished Goods                                               $439.99               $439.99 Warehouse 1        ElevFrame ‐ Corner Brace (Used)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $516.47               $516.47 Unsellable         Frame ‐ Castor (single unit)



                                                                               124 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 157 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest          Location                             Description
                                                                                            Tradeshow
Finished Goods                                               $516.47                $516.47 Warehouse 1         Frame ‐ Castor (single unit)
                                                                                            IFC Integrated
Finished Goods                                               $193.68                $193.68 Fulfillment         Frame ‐ Castor (single unit)

Finished Goods                                             $1,162.06              $1,162.06 Ontario Warehouse   Frame ‐ Castor (single unit)
                                                                                            Inventory ‐
Finished Goods                                                $64.56                 $64.56 Manufacturer        Frame ‐ Castor (single unit)
Finished Goods                                               $106.00               $106.00 Tigers Logistics     Frame ‐ Castor (single unit) ‐ DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                               $848.00               $848.00 Warehouse 1          Frame ‐ Castor (single unit) ‐ DEMO ONLY

Finished Goods                                               $101.28                $101.28 Tigers Logistics    Anchor ‐ TRX¨ Suspension Frame ‐ TTZ Dip Bars ‐ Elevated
                                                                                            Inventory ‐         Anchor ‐ TRX® Suspension Frame ‐ TTZ Dip Bars ‐ Elevated
Finished Goods                                                $42.38                 $42.38 Manufacturer        SG
                                                                                            IFC Integrated
                                                                                            Fulfillment:IFC ‐   Anchor ‐ TRX® Suspension Frame ‐ TTZ Dip Bars ‐ Elevated
Finished Goods                                                $42.38                 $42.38 Returns             SG
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐    Anchor ‐ TRX® Suspension Frame ‐ TTZ Dip Bars ‐ Elevated
Finished Goods                                               $127.14                $127.14 Unsellable          SG
                                                                                            IFC Integrated      Anchor ‐ TRX® Suspension Frame ‐ TTZ Dip Bars ‐ Elevated
Finished Goods                                               $127.14                $127.14 Fulfillment         SG

Finished Goods                                             $1,522.47              $1,522.47 Ontario Warehouse   SFrame ‐ Dip Bar
Finished Goods                                             $1,762.86              $1,762.86 Archive             SFrame ‐ Dip Bar
                                                                                            Inventory ‐         Anchor ‐ TRX® Suspension Frame ‐ TTZ Dip Bars ‐ Standard
Finished Goods                                                $46.02                 $46.02 Manufacturer        SG
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐  Anchor ‐ TRX® Suspension Frame ‐ TTZ Dip Bars ‐ Standard
Finished Goods                                               $184.09               $184.09 Unsellable         SG
                                                                                                              Anchor ‐ TRX® Suspension Frame ‐ TTZ Dip Bars ‐ Standard
Finished Goods                                             $2,117.00              $2,117.00 Ontario Warehouse SG
                                                                                            IFC Integrated    Anchor ‐ TRX® Suspension Frame ‐ TTZ Dip Bars ‐ Standard
Finished Goods                                               $690.33               $690.33 Fulfillment        SG



                                                                               125 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                             Main Document    Page 158 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest          Location                               Description
                                                                                            IFC Integrated
Finished Goods                                               $572.89                $572.89 Fulfillment          Ground Hardware Concrete floor SFrame Stainless Steel
                                                                                            IFC Integrated       Ground hardware for hardwood floor SFrame (purchased
Finished Goods                                                $61.06                 $61.06 Fulfillment          in sets of 16)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐      Ground hardware for hardwood floor SFrame (purchased
Finished Goods                                                $16.65                 $16.65 Unsellable            in sets of 16)
                                                                                                                  Ground hardware for hardwood floor SFrame (purchased
Finished Goods                                               $233.16                $233.16    Tigers Logistics   in sets of 16)
                                                                                                                  Ground hardware for hardwood floor SFrame (purchased
Finished Goods                                                $38.86                  $38.86   Tigers‐UK Thurrock in sets of 16)
                                                                                                                  Ground hardware for hardwood floor SFrame (purchased
Finished Goods                                               $277.57                $277.57    Ontario Warehouse in sets of 16)
                                                                                               Tradeshow          Ground hardware for hardwood floor SFrame (purchased
Finished Goods                                                $16.65                  $16.65   Warehouse 2        in sets of 16)
                                                                                               Tradeshow
Finished Goods                                                 $8.10                  $8.10    Warehouse 2        Frame ‐ Bolt Kit 5 ft
Finished Goods                                                $24.49                 $24.49    TRX In‐Transit     Frame ‐ Bolt Kit 10 ft
Finished Goods                                               $416.25                $416.25    Tigers Logistics   Frame ‐ Bolt Kit 10 ft
                                                                                               Tradeshow
Finished Goods                                                $15.29                  $15.29   Warehouse 2        Frame ‐ Bolt Kit 10 ft DEMO
                                                                                               Tradeshow
Finished Goods                                                $15.29                  $15.29   Warehouse 1        Frame ‐ Bolt Kit 10 ft DEMO
                                                                                               Tradeshow
Finished Goods                                               $100.15                $100.15    Warehouse 2        Frame ‐ Bolt Kit 20 ft
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                               $133.54                $133.54    Unsellable         Frame ‐ Bolt Kit 20 ft

Finished Goods                                               $701.07                $701.07 Ontario Warehouse    Frame ‐ Bolt Kit 20 ft
                                                                                            Tradeshow
Finished Goods                                                $66.77                 $66.77 Warehouse 1          Frame ‐ Bolt Kit 20 ft
Finished Goods                                               $500.76                $500.76 Tigers Logistics     Frame ‐ Bolt Kit 20 ft
                                                                                            Tradeshow
Finished Goods                                                $97.50                 $97.50 Warehouse 1          Frame ‐ Bolt Kit 20 ft Demo



                                                                               126 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                             Main Document    Page 159 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest          Location                               Description
                                                                                            Tradeshow
Finished Goods                                               $561.59                $561.59 Warehouse 2          Frame ‐ Bolt Kit 30 ft
                                                                                            IFC Integrated
Finished Goods                                               $647.99                $647.99 Fulfillment          Frame ‐ Bolt Kit 30 ft

Finished Goods                                                $43.20                  $43.20 SF TRX Office (HQ) Frame ‐ Bolt Kit 30 ft

Finished Goods                                               $431.99                $431.99 Ontario Warehouse    Frame ‐ Bolt Kit 30 ft
                                                                                            Tradeshow
Finished Goods                                               $129.60                $129.60 Warehouse 1          Frame ‐ Bolt Kit 30 ft
Finished Goods                                               $863.99                $863.99 Tigers Logistics     Frame ‐ Bolt Kit 30 ft
                                                                                            Tradeshow
Finished Goods                                                $66.27                 $66.27 Warehouse 1          Frame ‐ Bolt Kit 30 ft (Used)
                                                                                            Inventory ‐
Finished Goods                                                $31.89                 $31.89 Manufacturer         Anchor ‐ TRX® Suspension Frame ‐ TTZ Hammer Bars SG

Finished Goods                                                $95.66                 $95.66 Tigers Logistics     Anchor ‐ TRX® Suspension Frame ‐ TTZ Hammer Bars SG
                                                                                            Tradeshow
Finished Goods                                                $31.89                 $31.89 Warehouse 1          Anchor ‐ TRX® Suspension Frame ‐ TTZ Hammer Bars SG
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $159.43                $159.43 Unsellable           Anchor ‐ TRX® Suspension Frame ‐ TTZ Hammer Bars SG

Finished Goods                                             $1,298.96              $1,298.96 Ontario Warehouse    Frame ‐ Lower Legs GSA
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,780.03              $1,780.03 Unsellable           Frame ‐ Lower Legs
                                                                                            Tradeshow
Finished Goods                                               $837.66                $837.66 Warehouse 1          Frame ‐ Lower Legs
                                                                                            Tradeshow
Finished Goods                                             $1,465.91              $1,465.91 Warehouse 2          Frame ‐ Lower Legs
Finished Goods                                              $209.42                 $209.42 TRX In‐Transit       Frame ‐ Lower Legs
                                                                                            IFC Integrated
Finished Goods                                               $523.54                $523.54 Fulfillment          Frame ‐ Lower Legs

Finished Goods                                               $314.12                $314.12 Tigers‐UK Thurrock Frame ‐ Lower Legs


                                                                               127 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                             Main Document    Page 160 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                               Description
                                                                                             Inventory ‐
Finished Goods                                                $52.35                  $52.35 Manufacturer       Frame ‐ Lower Legs

Finished Goods                                            $20,784.46             $20,784.46 Ontario Warehouse   Frame ‐ Lower Legs
Finished Goods                                            $12,250.79             $12,250.79 Tigers Logistics    Frame ‐ Lower Legs
                                                                                            TTC‐ TRX Training
Finished Goods                                               $142.08               $142.08 Center               Anchor ‐ TRX¨ Suspension Frame ‐ TTZ Lower Legs
                                                                                            Tradeshow
Finished Goods                                             $1,491.84              $1,491.84 Warehouse 1         Anchor ‐ TRX¨ Suspension Frame ‐ TTZ Lower Legs

Finished Goods                                               $416.88               $416.88 Tigers‐UK Thurrock   ElevFrame ‐ Upper Legs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $416.88               $416.88 Unsellable           ElevFrame ‐ Upper Legs
                                                                                            Inventory ‐
Finished Goods                                                $52.11                 $52.11 Manufacturer        ElevFrame ‐ Upper Legs
                                                                                            Tradeshow
Finished Goods                                             $2,501.29              $2,501.29 Warehouse 2         ElevFrame ‐ Upper Legs

Finished Goods                                             $6,044.78              $6,044.78 Ontario Warehouse   ElevFrame ‐ Upper Legs
Finished Goods                                             $8,024.97              $8,024.97 Tigers Logistics    ElevFrame ‐ Upper Legs
                                                                                            IFC Integrated
Finished Goods                                               $729.54               $729.54 Fulfillment          ElevFrame ‐ Upper Legs
                                                                                            Tradeshow           Anchor ‐ TRX¨ Suspension Frame ‐ TTZ Upper Legs ‐
Finished Goods                                             $1,460.39              $1,460.39 Warehouse 1         Elevated (used)

Finished Goods                                             $1,235.78              $1,235.78 Ontario Warehouse S‐Frame ‐ Shortened Upper Legs

Finished Goods                                             $1,120.00              $1,120.00 Ontario Warehouse   Sframe ‐ Upper Legs GSA
Finished Goods                                              $191.48                $191.48 TRX In‐Transit       Sframe ‐ Upper Legs
Finished Goods                                             $2,010.59              $2,010.59 Tigers Logistics    Sframe ‐ Upper Legs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $526.58               $526.58 Unsellable           Sframe ‐ Upper Legs
                                                                                            IFC Integrated
Finished Goods                                               $478.71               $478.71 Fulfillment          Sframe ‐ Upper Legs


                                                                               128 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 161 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description

Finished Goods                                            $12,877.36             $12,877.36 Ontario Warehouse   Sframe ‐ Upper Legs
                                                                                            Tradeshow
Finished Goods                                               $382.97               $382.97 Warehouse 1          Sframe ‐ Upper Legs
                                                                                            Inventory ‐
Finished Goods                                                $47.87                 $47.87 Manufacturer        Sframe ‐ Upper Legs
                                                                                            Tradeshow           Anchor ‐ TRX¨ Suspension Frame ‐ TTZ Upper Legs ‐
Finished Goods                                                $69.52                 $69.52 Warehouse 2         Standard (used)
                                                                                            TTC‐ TRX Training   Anchor ‐ TRX¨ Suspension Frame ‐ TTZ Upper Legs ‐
Finished Goods                                                $69.52                 $69.52 Center              Standard (used)
                                                                                            Tradeshow           Anchor ‐ TRX¨ Suspension Frame ‐ TTZ Upper Legs ‐
Finished Goods                                               $208.55               $208.55 Warehouse 1          Standard (used)
Finished Goods                                               $992.14               $992.14 Tigers Logistics     SFrame Extender 20.5 in ‐ yellow
                                                                                            IFC Integrated
Finished Goods                                                $51.16                 $51.16 Fulfillment         SFrame Extender 20.5 in ‐ yellow
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $54.81                 $54.81 Unsellable          SFrame Extender 20.5 in ‐ yellow

Finished Goods                                               $250.32                $250.32 Tigers‐UK Thurrock SFrame Extender 20.5 in ‐ yellow
                                                                                            Tradeshow
Finished Goods                                               $255.80                $255.80 Warehouse 1        SFrame Extender 20.5 in ‐ yellow

Finished Goods                                               $816.73                $816.73 Ontario Warehouse   SFrame Extender 20.5 in ‐ yellow
                                                                                            Tradeshow
Finished Goods                                               $268.59                $268.59 Warehouse 2        SFrame Extender 20.5 in ‐ yellow
                                                                                            Tradeshow          SFrame Extender 20.5 in ‐ For DEMO use only ‐ NOT FOR
Finished Goods                                               $190.01                $190.01 Warehouse 1        RESALE
                                                                                                               SFrame Extender 20.5 in ‐ For DEMO use only ‐ NOT FOR
Finished Goods                                                $71.78                  $71.78 Ontario Warehouse RESALE
                                                                                             Tradeshow         SFrame Extender 20.5 in ‐ For DEMO use only ‐ NOT FOR
Finished Goods                                                 $1.06                   $1.06 Warehouse 2       RESALE

Finished Goods                                               $454.96                $454.96 Ontario Warehouse SFrame ‐ Foot Pad
                                                                                            Tradeshow
Finished Goods                                                $32.89                 $32.89 Warehouse 1       SFrame ‐ Foot Pad



                                                                               129 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 162 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                               Description
                                                                                            Tradeshow
Finished Goods                                                 $9.00                  $9.00 Warehouse 1          SFrame ‐ Foot Pad ‐ DEMO ONLY
                                                                                            Tradeshow
Finished Goods                                               $410.75                $410.75 Warehouse 1          Frame ‐ Sign Kit

Finished Goods                                             $2,310.49              $2,310.49 Ontario Warehouse    Frame ‐ Sign Kit
Finished Goods                                                $51.34                 $51.34 TRX In‐Transit       Frame ‐ Sign Kit
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $256.72               $256.72 Unsellable            Frame ‐ Sign Kit
                                                                                            IFC Integrated
Finished Goods                                              $616.13                $616.13 Fulfillment           Frame ‐ Sign Kit
Finished Goods                                             $3,388.71              $3,388.71 Tigers Logistics     Frame ‐ Sign Kit
Finished Goods                                                $27.39                 $27.39 Tigers Logistics     Frame‐Sign Kit, demo
                                                                                            Tradeshow
Finished Goods                                               $136.94               $136.94 Warehouse 1           Frame‐Sign Kit, demo

Finished Goods                                             $1,433.14              $1,433.14 Ontario Warehouse Frame ‐ Force Sign Kit GSA

Finished Goods                                             $2,176.68              $2,176.68 Tigers‐UK Thurrock   ElevFrame ‐ Truss with Monkey Bars
                                                                                            Tradeshow
Finished Goods                                             $2,572.44              $2,572.44 Warehouse 2          ElevFrame ‐ Truss with Monkey Bars
Finished Goods                                            $42,939.93             $42,939.93 Tigers Logistics     ElevFrame ‐ Truss with Monkey Bars
                                                                                            Inventory ‐
Finished Goods                                               $197.88               $197.88 Manufacturer          ElevFrame ‐ Truss with Monkey Bars

Finished Goods                                            $45,116.61             $45,116.61 Ontario Warehouse    ElevFrame ‐ Truss with Monkey Bars
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,978.80              $1,978.80 Unsellable           ElevFrame ‐ Truss with Monkey Bars
                                                                                            Tradeshow
Finished Goods                                             $1,583.04              $1,583.04 Warehouse 1          ElevFrame ‐ Truss with Monkey Bars
                                                                                            TTC‐ TRX Training    Anchor ‐ TRX¨ Suspension Frame ‐ TTZ Truss ‐ Elevated
Finished Goods                                               $255.77               $255.77 Center                (Used) ‐ WR and OPS approval required
                                                                                            Tradeshow            Anchor ‐ TRX¨ Suspension Frame ‐ TTZ Truss ‐ Elevated
Finished Goods                                             $6,650.08              $6,650.08 Warehouse 1          (Used) ‐ WR and OPS approval required


                                                                               130 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                              Desc
                                                             Main Document    Page 163 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                                 Description

Finished Goods                                             $2,053.77              $2,053.77 Ontario Warehouse SFrame ‐ Truss GSA
Finished Goods                                              $770.16                $770.16 Tigers Logistics   SFrame ‐ Truss GSA

Finished Goods                                             $3,363.96              $3,363.96 Ontario Warehouse    SFrame ‐ Truss
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $197.88               $197.88 Unsellable            SFrame ‐ Truss
                                                                                            Tradeshow
Finished Goods                                               $395.76               $395.76 Warehouse 1           SFrame ‐ Truss
                                                                                            IFC Integrated
Finished Goods                                             $1,385.16              $1,385.16 Fulfillment          SFrame ‐ Truss
Finished Goods                                              $395.76                $395.76 TRX In‐Transit        SFrame ‐ Truss
                                                                                            Tradeshow            Anchor ‐ TRX¨ Suspension Frame ‐ TTZ Truss ‐ Standard
Finished Goods                                               $296.52               $296.52 Warehouse 1           (Used)
                                                                                            IFC Integrated
Finished Goods                                               $190.97               $190.97 Fulfillment           TRX Shaker Bottle 28 oz

Finished Goods                                               $136.41               $136.41 Tigers‐UK Thurrock    TRX Shaker Bottle 28 oz
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $6.82                  $6.82 Unsellable           TRX Shaker Bottle 28 oz
Finished Goods                                               $347.84               $347.84 Tigers Logistics      TRX Shaker Bottle 28 oz
                                                                                            Amazon FBA
Finished Goods                                             $1,650.51              $1,650.51 Returns‐Unusable     TRX Shaker Bottle 28 oz

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                  $6.82                  $6.82 TRX Office (HQ)   TRX Shaker Bottle 28 oz

Finished Goods                                               $211.43                $211.43 SF TRX Office (HQ)   TRX Shaker Bottle 28 oz
                                                                                            Amazon FBA MX ‐
Finished Goods                                                $54.56                 $54.56 3PL                  TRX Shaker Bottle 28 oz
Finished Goods                                             $3,280.56              $3,280.56 Amazon FBA ‐ 3PL     TRX Shaker Bottle 28 oz
                                                                                            Tradeshow
Finished Goods                                             $2,850.89              $2,850.89 Warehouse 1          TRX Shaker Bottle 28 oz


                                                                               131 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                              Desc
                                                             Main Document    Page 164 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest          Location                                Description
                                                                                             TTC‐ TRX Training
Finished Goods                                                $40.92                  $40.92 Center              TRX Shaker Bottle 28 oz

Finished Goods                                               $313.73                $313.73 Ontario Warehouse    TRX Shaker Bottle 28 oz
                                                                                            Tradeshow
Finished Goods                                               $832.08                $832.08 Warehouse 2          TRX Shaker Bottle 28 oz
                                                                                            Amazon FBA CA ‐
Finished Goods                                               $143.23                $143.23 3PL                  TRX Shaker Bottle 28 oz
                                                                                            Tradeshow
Finished Goods                                                  $0.00                 $0.00 Warehouse 1          T‐shirt ‐ Bella Canvas 3001 ‐ Black
                                                                                            Tradeshow
Finished Goods                                                 $0.00                  $0.00 Warehouse 1          T‐shirt ‐ Bella Canvas 3001 ‐ Black
                                                                                            Tradeshow
Finished Goods                                                 $0.00                  $0.00 Warehouse 1          T‐shirt ‐ Bella Canvas 3001 ‐ Black
                                                                                            Tradeshow
Finished Goods                                                 $0.00                  $0.00 Warehouse 1          T‐shirt ‐ Bella Canvas 3001 ‐ Black
                                                                                            Tradeshow
Finished Goods                                                 $0.00                  $0.00 Warehouse 1          T‐shirt ‐ Bella Canvas 3001 ‐ Black
                                                                                            Tradeshow
Finished Goods                                                 $0.00                  $0.00 Warehouse 1          T‐shirt ‐ Bella Canvas 3001 ‐ Black

Finished Goods                                                $41.28                  $41.28 Ontario Warehouse T‐Shirt ‐ TRX¨ Suspension Training ‐ Men Small

Finished Goods                                                 $8.95                   $8.95 Ontario Warehouse T‐Shirt ‐ TRX¨ Suspension Training ‐ Men XLarge

Finished Goods                                               $324.49                $324.49 Ontario Warehouse    T‐Shirt ‐ TRX¨ Suspension Training ‐ Men Extra Extra Large
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $160.47                $160.47 Unsellable           T‐Shirt ‐TRX¨ Black with Black Mark ‐ Men Medium
                                                                                            Inventory ‐
Finished Goods                                                $62.65                 $62.65 Manufacturer         T‐Shirt ‐TRX¨ Black with Black Mark ‐ Men Extra Large
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $30.07                 $30.07 Unsellable           T‐Shirt ‐TRX¨ Black with Black Mark ‐ Women Small
                                                                                            Tradeshow
Finished Goods                                               $406.09                $406.09 Warehouse 2          T‐Shirt ‐TRX¨ Black with White Mark ‐ Men Large


                                                                               132 of 226
                            Case 8:22-bk-10949-SC              Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                              Main Document    Page 165 of 494


    General Description of Property (Raw
    Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
     Goods, Other Inventory or Supplies)             Interest            Debtor's Interest          Location                               Description
Finished Goods                                                 $58.01                  $58.01 Tigers Logistics    T‐Shirt ‐TRX¨ Black with White Mark ‐ Men Large
                                                                                              Tradeshow
Finished Goods                                                $552.81                 $552.81 Warehouse 2         T‐Shirt ‐TRX¨ Black with White Mark ‐ Men Medium
                                                                                              Ontario
                                                                                              Warehouse:CS
                                                                                              Returns‐Ontario‐
Finished Goods                                                 $99.01                  $99.01 Unsellable          T‐Shirt ‐TRX¨ Black with White Mark ‐ Men Medium
Finished Goods                                                  $8.25                   $8.25 Tigers Logistics    T‐Shirt ‐TRX¨ Black with White Mark ‐ Men Medium
                                                                                              Ontario
                                                                                              Warehouse:CS
                                                                                              Returns‐Ontario‐
Finished Goods                                                $114.18                 $114.18 Unsellable          T‐Shirt ‐TRX¨ Black with White Mark ‐ Men Small

Finished Goods                                                  $5.19                  $5.19 SF TRX Office (HQ)   T‐Shirt ‐TRX¨ Black with White Mark ‐ Men Small
                                                                                             Tradeshow
Finished Goods                                                $243.92                $243.92 Warehouse 2          T‐Shirt ‐TRX¨ Black with White Mark ‐ Men Small
                                                                                             Tradeshow
Finished Goods                                                $361.07                $361.07 Warehouse 2          T‐Shirt ‐TRX¨ Black with White Mark ‐ Men XLarge
                                                                                             Tradeshow
Finished Goods                                                  $4.21                  $4.21 Warehouse 2          T‐Shirt ‐TRX¨ Black with White Mark ‐ Women Large
                                                                                             Tradeshow
Finished Goods                                                $310.62                $310.62 Warehouse 2          T‐Shirt ‐TRX¨ Black with White Mark ‐ Women Medium
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                 $80.76                 $80.76 Unsellable           T‐Shirt ‐TRX¨ Black with White Mark ‐ Women Medium
                                                                                             Tradeshow
Finished Goods                                                $244.59                $244.59 Warehouse 2          T‐Shirt ‐TRX¨ Black with White Mark ‐ Women Small
                                                                                             Tradeshow
Finished Goods                                                $131.81                $131.81 Warehouse 2          T‐Shirt ‐TRX¨ Black with White Mark ‐ Women Extra Small
                                                                                             Tradeshow            T‐Shirt ‐TRX¨ Black with White Mark ‐ Women Extra Extra
Finished Goods                                                 $26.85                 $26.85 Warehouse 2          Small
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                  $7.64                  $7.64 Unsellable           T‐Shirt ‐TRX¨ Grey with Black Mark ‐ Men Large
                                                                                             Tradeshow
Finished Goods                                                $137.60                $137.60 Warehouse 2          T‐Shirt ‐TRX¨ Grey with Black Mark ‐ Men Large


                                                                                133 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 166 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                              Description
                                                                                            Tradeshow
Finished Goods                                               $138.10                $138.10 Warehouse 2         T‐Shirt ‐TRX¨ Grey with Black Mark ‐ Men Medium
                                                                                            Tradeshow
Finished Goods                                                $57.64                 $57.64 Warehouse 2         T‐Shirt ‐TRX¨ Grey with Black Mark ‐ Men Small
                                                                                            Tradeshow
Finished Goods                                                $85.44                 $85.44 Warehouse 2         T‐Shirt ‐TRX¨ Grey with Black Mark ‐ Men Extra Large

Finished Goods                                               $335.44                $335.44 Ontario Warehouse   T‐Shirt ‐TRX¨ Grey with Black Mark ‐ Women Large
                                                                                            Tradeshow
Finished Goods                                               $101.56                $101.56 Warehouse 2         T‐Shirt ‐TRX¨ Grey with Black Mark ‐ Women Medium
                                                                                            Tradeshow
Finished Goods                                               $146.07                $146.07 Warehouse 2         T‐Shirt ‐TRX¨ Grey with Black Mark ‐ Women Small
                                                                                            Tradeshow
Finished Goods                                                $95.54                 $95.54 Warehouse 2         T‐Shirt ‐TRX¨ Grey with Black Mark ‐ Women Extra Small

Finished Goods                                               $345.50                $345.50 Ontario Warehouse TRX Mens T‐Shirt
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $8.69                  $8.69 Unsellable        TRX Mens T‐Shirt

Finished Goods                                                $35.40                  $35.40 Ontario Warehouse TRX Mens T‐Shirt
                                                                                             Tradeshow
Finished Goods                                                $70.80                  $70.80 Warehouse 1       TRX Mens T‐Shirt

Finished Goods                                                $33.16                  $33.16 Ontario Warehouse TRX Mens T‐Shirt

Finished Goods                                                 $8.19                   $8.19 Ontario Warehouse TRX Mens T‐Shirt

Finished Goods                                               $152.40                $152.40 Ontario Warehouse TRX Mens T‐Shirt
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $42.77                 $42.77 Unsellable        TRX Mens T‐Shirt

Finished Goods                                               $162.53                $162.53 Ontario Warehouse TRX Mens T‐Shirt
                                                                                            Tradeshow
Finished Goods                                                $94.10                 $94.10 Warehouse 1       TRX Mens T‐Shirt


                                                                               134 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                      Desc
                                                             Main Document    Page 167 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                          Description
                                                                                            Tradeshow
Finished Goods                                               $137.20                $137.20 Warehouse 1         TRX Mens T‐Shirt

Finished Goods                                               $171.49                $171.49 Ontario Warehouse TRX Mens T‐Shirt
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $51.45                 $51.45 Unsellable        TRX Mens T‐Shirt
                                                                                            Tradeshow
Finished Goods                                                $91.90                 $91.90 Warehouse 1       TRX Mens T‐Shirt

Finished Goods                                             $1,470.42              $1,470.42 Ontario Warehouse TRX Mens T‐Shirt
                                                                                            Tradeshow
Finished Goods                                                $76.10                 $76.10 Warehouse 1       TRX Mens T‐Shirt
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $22.83                 $22.83 Unsellable        TRX Mens T‐Shirt

Finished Goods                                             $1,346.97              $1,346.97 Ontario Warehouse   TRX Mens T‐Shirt
Finished Goods                                              $456.45                $456.45 Tigers Logistics     TRX Mens T‐Shirt
                                                                                            Tradeshow
Finished Goods                                               $143.20               $143.20 Warehouse 1          TRX Mens T‐Shirt
                                                                                            Tradeshow
Finished Goods                                                $53.58                 $53.58 Warehouse 1         TRX Mens T‐Shirt

Finished Goods                                               $466.05                $466.05 Ontario Warehouse TRX Mens T‐Shirt
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $8.96                  $8.96 Unsellable        TRX Mens T‐Shirt
                                                                                            Tradeshow
Finished Goods                                               $107.55                $107.55 Warehouse 1       TRX Mens T‐Shirt

Finished Goods                                                $98.34                 $98.34 Ontario Warehouse TRX Mens T‐Shirt
                                                                                            Tradeshow
Finished Goods                                               $151.98                $151.98 Warehouse 1       TRX Mens T‐Shirt



                                                                               135 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                       Desc
                                                             Main Document    Page 168 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                          Description

Finished Goods                                               $285.25                $285.25 Ontario Warehouse TRX Mens T‐Shirt
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $62.40                 $62.40 Unsellable        TRX Mens T‐Shirt

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                 $8.91                   $8.91 TRX Office (HQ)   TRX Mens T‐Shirt

Finished Goods                                                 $8.91                  $8.91 SF TRX Office (HQ) TRX Mens T‐Shirt
                                                                                            Tradeshow
Finished Goods                                               $196.11                $196.11 Warehouse 1        TRX Mens T‐Shirt

Finished Goods                                             $1,745.25              $1,745.25 Ontario Warehouse TRX Mens T‐Shirt

Finished Goods                                               $107.40                $107.40 SF TRX Office (HQ)   TRX Mens T‐Shirt
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $62.65                 $62.65 Unsellable           TRX Mens T‐Shirt
                                                                                            Tradeshow
Finished Goods                                               $161.10                $161.10 Warehouse 1          TRX Mens T‐Shirt
                                                                                            Tradeshow
Finished Goods                                               $134.10                $134.10 Warehouse 1          TRX Mens T‐Shirt

Finished Goods                                             $1,215.84              $1,215.84 Ontario Warehouse TRX Mens T‐Shirt

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                 $8.94                   $8.94 TRX Office (HQ)   TRX Mens T‐Shirt

Finished Goods                                                $35.76                  $35.76 SF TRX Office (HQ) TRX Mens T‐Shirt

Finished Goods                                                $26.16                  $26.16 SF TRX Office (HQ) TRX Mens T‐Shirt

Finished Goods                                               $706.32                $706.32 Ontario Warehouse TRX Mens T‐Shirt


                                                                               136 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                        Desc
                                                             Main Document    Page 169 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                            Description
                                                                                            Tradeshow
Finished Goods                                               $130.80                $130.80 Warehouse 1         TRX Mens T‐Shirt

Finished Goods                                               $777.40                $777.40 Ontario Warehouse TRX Womens T‐Shirt
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $8.45                  $8.45 Unsellable        TRX Womens T‐Shirt
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $41.25                 $41.25 Unsellable        TRX Womens T‐Shirt

Finished Goods                                               $635.25                $635.25 Ontario Warehouse TRX Womens T‐Shirt

Finished Goods                                                $92.30                  $92.30 Ontario Warehouse TRX Womens T‐Shirt
                                                                                             Tradeshow
Finished Goods                                                $42.78                  $42.78 Warehouse 1       TRX Womens T‐Shirt

Finished Goods                                                  $7.13                  $7.13 Ontario Warehouse TRX Womens T‐Shirt
                                                                                             Tradeshow
Finished Goods                                                $74.20                  $74.20 Warehouse 1       TRX Womens T‐Shirt

Finished Goods                                               $561.80                $561.80 Ontario Warehouse   TRX Womens T‐Shirt
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $5.30                  $5.30 Unsellable          TRX Womens T‐Shirt
                                                                                            Tradeshow
Finished Goods                                                $75.52                 $75.52 Warehouse 1         TRX Womens T‐Shirt
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $4.72                  $4.72 Unsellable          TRX Womens T‐Shirt

Finished Goods                                               $703.28                $703.28 Ontario Warehouse TRX Womens T‐Shirt

Finished Goods                                               $746.20                $746.20 Ontario Warehouse TRX Womens T‐Shirt


                                                                               137 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                        Desc
                                                             Main Document    Page 170 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                           Description
                                                                                             Tradeshow
Finished Goods                                                $45.50                  $45.50 Warehouse 1        TRX Womens T‐Shirt
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                 $4.55                   $4.55 Unsellable         TRX Womens T‐Shirt

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX Womens T‐Shirt
                                                                                             Tradeshow
Finished Goods                                                $70.73                  $70.73 Warehouse 1       TRX Womens T‐Shirt
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                 $6.43                   $6.43 Unsellable        TRX Womens T‐Shirt

Finished Goods                                               $282.92                $282.92 Ontario Warehouse TRX Womens T‐Shirt

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX Womens T‐Shirt

Finished Goods                                               $941.85                $941.85 Ontario Warehouse   TRX Womens T‐Shirt
                                                                                            Tradeshow
Finished Goods                                                $98.28                 $98.28 Warehouse 1         TRX Womens T‐Shirt
Finished Goods                                               $286.65                $286.65 Tigers Logistics    TRX Womens T‐Shirt
                                                                                            Tradeshow
Finished Goods                                               $130.02                $130.02 Warehouse 1         TRX Womens T‐Shirt

Finished Goods                                                 $8.56                   $8.56 SF TRX Office (HQ) TRX Womens T‐Shirt

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                 $8.56                   $8.56 TRX Office (HQ)   TRX Womens T‐Shirt
                                                                                             Tradeshow
Finished Goods                                                $68.49                  $68.49 Warehouse 1       TRX Womens T‐Shirt

Finished Goods                                               $128.41                $128.41 Ontario Warehouse TRX Womens T‐Shirt
Finished Goods                                               $202.80                $202.80 Tigers Logistics  TRX Womens T‐Shirt
                                                                                            Tradeshow
Finished Goods                                                $51.39                 $51.39 Warehouse 1       TRX Womens T‐Shirt


                                                                               138 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 171 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                              Description

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                                 $8.57                  $8.57 TRX Office (HQ)   TRX Womens T‐Shirt
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $8.34                  $8.34 Unsellable        TRX Womens T‐Shirt
                                                                                            Tradeshow
Finished Goods                                               $133.44                $133.44 Warehouse 1       TRX Womens T‐Shirt

Finished Goods                                               $692.22                $692.22 Ontario Warehouse TRX Womens T‐Shirt
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $42.20                 $42.20 Unsellable        TRX Womens T‐Shirt

Finished Goods                                                $42.20                 $42.20 SF TRX Office (HQ) TRX Womens T‐Shirt
                                                                                            Tradeshow
Finished Goods                                               $185.68                $185.68 Warehouse 1        TRX Womens T‐Shirt

Finished Goods                                             $2,456.04              $2,456.04 Ontario Warehouse TRX Womens T‐Shirt
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $25.29                 $25.29 Unsellable        TRX Womens T‐Shirt

Finished Goods                                               $101.16                $101.16 SF TRX Office (HQ) TRX Womens T‐Shirt
                                                                                            Tradeshow
Finished Goods                                               $134.88                $134.88 Warehouse 1        TRX Womens T‐Shirt

Finished Goods                                             $2,655.45              $2,655.45 Ontario Warehouse TRX Womens T‐Shirt
                                                                                            Tradeshow
Finished Goods                                                $67.62                 $67.62 Warehouse 1       TRX Womens T‐Shirt

Finished Goods                                               $819.85                $819.85 Ontario Warehouse TRX Womens T‐Shirt

Finished Goods                                                 $8.74                   $8.74 SF TRX Office (HQ) T‐Shirt ‐TRX¨ Yellow with Black Mark ‐ Men Large


                                                                               139 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                             Main Document    Page 172 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest           Location                             Description
                                                                                               Tradeshow
Finished Goods                                               $262.24                $262.24    Warehouse 2        T‐Shirt ‐TRX¨ Yellow with Black Mark ‐ Men Large
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                                $93.51                  $93.51   Unsellable         T‐Shirt ‐TRX¨ Yellow with Black Mark ‐ Men Medium
                                                                                               Tradeshow
Finished Goods                                               $150.66                $150.66    Warehouse 2        T‐Shirt ‐TRX¨ Yellow with Black Mark ‐ Men Medium
                                                                                               Tradeshow
Finished Goods                                                $20.45                  $20.45   Warehouse 2        T‐Shirt ‐TRX¨ Yellow with Black Mark ‐ Men Small
                                                                                               Tradeshow
Finished Goods                                                $16.90                  $16.90   Warehouse 2        T‐Shirt ‐TRX¨ Yellow with Black Mark ‐ Men Extra Large
                                                                                               Tradeshow
Finished Goods                                               $112.80                $112.80    Warehouse 2        T‐Shirt ‐TRX¨ Yellow with Black Mark ‐ Women Large
                                                                                               Tradeshow
Finished Goods                                                $78.68                  $78.68   Warehouse 2        T‐Shirt ‐TRX¨ Yellow with Black Mark ‐ Women Medium
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                               $389.26                $389.26    Unsellable         T‐Shirt ‐TRX¨ Yellow with Black Mark ‐ Women Small
                                                                                               Tradeshow
Finished Goods                                               $201.12                $201.12    Warehouse 2        T‐Shirt ‐TRX¨ Yellow with Black Mark ‐ Women Small
                                                                                               Tradeshow
Finished Goods                                                $43.21                  $43.21   Warehouse 2        T‐Shirt ‐TRX¨ Yellow with Black Mark ‐ Women Extra Small

Finished Goods                                                 $8.37                   $8.37 SF TRX Office (HQ) T‐Shirt TRX Yellow ‐ Women Extra Extra Small

Finished Goods                                               $153.88                $153.88 Ontario Warehouse T‐Shirt ‐MYBYM Black with Black Mark ‐ Men Large
                                                                                            Tradeshow
Finished Goods                                               $154.89                $154.89 Warehouse 2       T‐Shirt ‐MYBYM Black with Black Mark ‐ Men Medium
                                                                                            Inventory ‐
Finished Goods                                               $578.80                $578.80 Manufacturer      T‐Shirt ‐MYBYM Black with Black Mark ‐ Men Medium

Finished Goods                                               $297.55                $297.55 Ontario Warehouse T‐Shirt ‐MYBYM Black with Black Mark ‐ Men Small

Finished Goods                                                $28.32                  $28.32 Ontario Warehouse T‐Shirt ‐MYBYM Black with Black Mark ‐ Women Medium
                                                                                             Tradeshow
Finished Goods                                                 $7.85                   $7.85 Warehouse 2       T‐Shirt ‐MYBYM Black with Black Mark ‐ Women Small


                                                                               140 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 173 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                          Description
                                                                                                              T‐Shirt ‐MYBYM Black with Black Mark ‐ Women Extra
Finished Goods                                               $285.47                $285.47 Ontario Warehouse Small

Finished Goods                                                $57.66                  $57.66 Ontario Warehouse T‐Shirt ‐MYBYM Grey with Black Mark ‐ Men Large

Finished Goods                                                 $6.23                   $6.23 SF TRX Office (HQ) T‐Shirt ‐MYBYM Grey with Black Mark ‐ Men Medium
                                                                                             Tradeshow
Finished Goods                                                $68.48                  $68.48 Warehouse 2        T‐Shirt ‐MYBYM Grey with Black Mark ‐ Men Medium

Finished Goods                                               $231.45                $231.45 Ontario Warehouse T‐Shirt ‐MYBYM Grey with Black Mark ‐ Men Small
                                                                                            Tradeshow
Finished Goods                                                 $6.61                  $6.61 Warehouse 2       T‐Shirt ‐MYBYM Grey with Black Mark ‐ Men Extra Large
                                                                                            Tradeshow
Finished Goods                                                 $6.80                  $6.80 Warehouse 2       T‐Shirt ‐MYBYM Grey with Black Mark ‐ Women Medium

Finished Goods                                               $348.39                $348.39 Ontario Warehouse Men's T‐Shirt ‐MYBYM

Finished Goods                                             $1,031.04              $1,031.04 Ontario Warehouse Men's T‐Shirt ‐MYBYM
                                                                                            Tradeshow
Finished Goods                                                $14.32                 $14.32 Warehouse 1       Men's T‐Shirt ‐MYBYM
                                                                                            Tradeshow
Finished Goods                                                $15.98                 $15.98 Warehouse 1       Men's T‐Shirt ‐MYBYM

Finished Goods                                               $127.84                $127.84 Ontario Warehouse Men's T‐Shirt ‐MYBYM

Finished Goods                                               $558.11                $558.11 Ontario Warehouse Men's T‐Shirt ‐MYBYM
                                                                                            Tradeshow
Finished Goods                                                $16.66                 $16.66 Warehouse 1       Men's T‐Shirt ‐MYBYM

Finished Goods                                             $2,611.44              $2,611.44 Ontario Warehouse   Men's T‐Shirt ‐MYBYM
                                                                                            Tradeshow
Finished Goods                                                $25.11                 $25.11 Warehouse 1         Men's T‐Shirt ‐MYBYM
                                                                                            Tradeshow
Finished Goods                                                $33.75                 $33.75 Warehouse 1         Men's T‐Shirt ‐MYBYM
                                                                                            Tradeshow
Finished Goods                                                $13.46                 $13.46 Warehouse 1         Men's T‐Shirt ‐MYBYM
                                                                                            Tradeshow
Finished Goods                                                $27.48                 $27.48 Warehouse 1         Men's T‐Shirt ‐MYBYM


                                                                               141 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 174 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description
                                                                                             Tradeshow
Finished Goods                                                $13.22                  $13.22 Warehouse 1        Men's T‐Shirt ‐MYBYM

Finished Goods                                               $343.72                $343.72 Ontario Warehouse   Men's T‐Shirt ‐MYBYM
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $7.52                  $7.52 Unsellable          Men's T‐Shirt ‐MYBYM
                                                                                            Tradeshow
Finished Goods                                               $721.92                $721.92 Warehouse 1         Men's T‐Shirt ‐MYBYM
                                                                                            Tradeshow
Finished Goods                                               $248.82                $248.82 Warehouse 1         Men's T‐Shirt ‐MYBYM

Finished Goods                                               $248.82                $248.82 Ontario Warehouse Men's T‐Shirt ‐MYBYM

Finished Goods                                             $1,142.10              $1,142.10 Ontario Warehouse Men's T‐Shirt ‐MYBYM
                                                                                            Tradeshow
Finished Goods                                             $1,386.81              $1,386.81 Warehouse 1       Men's T‐Shirt ‐MYBYM

Finished Goods                                               $139.40                $139.40 Ontario Warehouse Womens T‐Shirt ‐MYBYM

Finished Goods                                               $379.60                $379.60 Ontario Warehouse Womens T‐Shirt ‐MYBYM
                                                                                            Tradeshow
Finished Goods                                                $21.90                 $21.90 Warehouse 1       Womens T‐Shirt ‐MYBYM
                                                                                            Tradeshow
Finished Goods                                                $15.70                 $15.70 Warehouse 1       Womens T‐Shirt ‐MYBYM

Finished Goods                                             $1,036.20              $1,036.20 Ontario Warehouse Womens T‐Shirt ‐MYBYM
                                                                                            Tradeshow
Finished Goods                                                $31.72                 $31.72 Warehouse 1       Womens T‐Shirt ‐MYBYM

Finished Goods                                               $420.29                $420.29 Ontario Warehouse Womens T‐Shirt ‐MYBYM

Finished Goods                                               $591.85                $591.85 Ontario Warehouse Womens T‐Shirt ‐MYBYM
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $6.65                  $6.65 Unsellable        Womens T‐Shirt ‐MYBYM


                                                                               142 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 175 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description
                                                                                             Tradeshow
Finished Goods                                                 $6.65                   $6.65 Warehouse 1         Womens T‐Shirt ‐MYBYM

Finished Goods                                               $564.40                $564.40 Ontario Warehouse Womens T‐Shirt ‐MYBYM
                                                                                            Tradeshow
Finished Goods                                                $13.60                 $13.60 Warehouse 1       Womens T‐Shirt ‐MYBYM
                                                                                            Tradeshow
Finished Goods                                                $12.84                 $12.84 Warehouse 1       Womens T‐Shirt ‐MYBYM

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                 $6.42                   $6.42 TRX Office (HQ)   Womens T‐Shirt ‐MYBYM

Finished Goods                                               $226.24                $226.24 Ontario Warehouse Womens T‐Shirt ‐MYBYM
                                                                                            Tradeshow
Finished Goods                                                $21.21                 $21.21 Warehouse 1       Womens T‐Shirt ‐MYBYM

Finished Goods                                               $735.90                $735.90 Ontario Warehouse Womens T‐Shirt ‐MYBYM

Finished Goods                                               $120.00                $120.00 Ontario Warehouse Womens T‐Shirt ‐MYBYM
                                                                                            Tradeshow
Finished Goods                                                $18.66                 $18.66 Warehouse 1       Womens T‐Shirt ‐MYBYM

Finished Goods                                               $653.10                $653.10 Ontario Warehouse Womens T‐Shirt ‐MYBYM
                                                                                            Tradeshow
Finished Goods                                               $110.25                $110.25 Warehouse 2       T‐Shirt ‐MYBYM Yellow with Black Mark ‐ Men Large

Finished Goods                                                 $6.49                  $6.49 SF TRX Office (HQ)   T‐Shirt ‐MYBYM Yellow with Black Mark ‐ Men Large
                                                                                            Inventory ‐
Finished Goods                                               $531.78                $531.78 Manufacturer         T‐Shirt ‐MYBYM Yellow with Black Mark ‐ Men Large
                                                                                            Tradeshow
Finished Goods                                                $51.86                 $51.86 Warehouse 2          T‐Shirt ‐MYBYM Yellow with Black Mark ‐ Men Medium
                                                                                            Inventory ‐
Finished Goods                                               $317.63                $317.63 Manufacturer         T‐Shirt ‐MYBYM Yellow with Black Mark ‐ Men Medium
                                                                                            Inventory ‐
Finished Goods                                               $304.32                $304.32 Manufacturer         T‐Shirt ‐MYBYM Yellow with Black Mark ‐ Men Small
                                                                                            Tradeshow
Finished Goods                                               $117.32                $117.32 Warehouse 2          T‐Shirt ‐MYBYM Yellow with Black Mark ‐ Men XLarge


                                                                               143 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 176 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest           Location                            Description
                                                                                               Tradeshow
Finished Goods                                               $179.30                $179.30    Warehouse 2       T‐Shirt ‐MYBYM Yellow with Black Mark ‐ Women Medium
                                                                                               Tradeshow
Finished Goods                                               $106.06                $106.06    Warehouse 2       T‐Shirt ‐MYBYM Yellow with Black Mark ‐ Women Small
                                                                                               Tradeshow
Finished Goods                                                $11.50                  $11.50   Warehouse 2       T‐Shirt ‐TRX¨ Limited Edition Heather Grey ‐ Women Large
                                                                                               Tradeshow         T‐Shirt ‐TRX¨ Limited Edition Heather Grey‐ Women
Finished Goods                                                $57.50                  $57.50   Warehouse 2       Medium
                                                                                               Tradeshow
Finished Goods                                                $69.00                  $69.00   Warehouse 2       T‐Shirt ‐TRX¨ Limited Edition Heather Grey‐ Women Small
                                                                                               Tradeshow         T‐Shirt ‐TRX¨ Limited Edition Heather Grey‐ Women Extra
Finished Goods                                                $57.50                  $57.50   Warehouse 2       Small

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse T‐Shirt TRX Grey ‐ Women Small

Finished Goods                                                $66.80                  $66.80 Ontario Warehouse T‐Shirt ‐TRX¨ Limited Edition Asphalt Grey‐ Men Large

Finished Goods                                               $640.00                $640.00 Ontario Warehouse T‐Shirt ‐ TRX Core Instructor T‐Shirt Black ‐ Men Largearge

Finished Goods                                               $700.00                $700.00 Ontario Warehouse T‐Shirt ‐ TRX Core Instructor T‐Shirt Black ‐ Men Medium

Finished Goods                                               $320.00                $320.00 Ontario Warehouse T‐Shirt ‐ TRX Core Instructor T‐Shirt Black ‐ Men Extra Large

Finished Goods                                               $390.00               $390.00 Ontario Warehouse T‐Shirt ‐ TRX Core Instructor T‐Shirt Black ‐ Women Small
                                                                                                              T‐Shirt ‐ TRX Core Subscription T‐Shirt Black ‐ Men
Finished Goods                                             $3,874.64              $3,874.64 Ontario Warehouse Largearge
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $47.60                 $47.60 Unsellable        T‐Shirt ‐ TRX Core Subscription T‐Shirt Black ‐ Men Medium
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $19.08                 $19.08 Unsellable        TRX Core Subscription T‐Shirt

Finished Goods                                             $1,163.88              $1,163.88 Ontario Warehouse TRX Core Subscription T‐Shirt
                                                                                            Inventory ‐
Finished Goods                                               $276.66               $276.66 Manufacturer       TRX Core Subscription T‐Shirt


                                                                               144 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 177 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐ T‐Shirt ‐ TRX Core Subscription T‐Shirt Black ‐ Women
Finished Goods                                                $66.09                  $66.09 Unsellable       Medium
                                                                                                              T‐Shirt ‐ TRX Core Subscription T‐Shirt Black ‐ Women
Finished Goods                                             $3,030.60              $3,030.60 Ontario Warehouse Medium

Finished Goods                                               $484.12                $484.12 Ontario Warehouse T‐Shirt ‐ TRX Core Subscription T‐Shirt Black ‐ Women Small
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $18.62                 $18.62 Unsellable        T‐Shirt ‐ TRX Core Subscription T‐Shirt Black ‐ Women Small

Finished Goods                                               $276.92                $276.92 Ontario Warehouse UA TShirt TRX Instructor Badge Black Men's Large

Finished Goods                                             $5,616.71              $5,616.71 Ontario Warehouse   T‐Shirt ‐ TRX¨ TEAM ‐ Men Large
                                                                                            Tradeshow
Finished Goods                                               $171.12               $171.12 Warehouse 2          T‐Shirt ‐ TRX¨ TEAM ‐ Men Large
                                                                                            Tradeshow
Finished Goods                                               $352.30               $352.30 Warehouse 1          T‐Shirt ‐ TRX¨ TEAM ‐ Men Large
                                                                                            Tradeshow
Finished Goods                                               $222.04               $222.04 Warehouse 2          T‐Shirt ‐ TRX¨ TEAM ‐ Men Medium
                                                                                            Tradeshow
Finished Goods                                               $260.66               $260.66 Warehouse 1          T‐Shirt ‐ TRX¨ TEAM ‐ Men Medium

Finished Goods                                               $159.29                $159.29 Ontario Warehouse T‐Shirt ‐ TRX¨ TEAM ‐ Men Medium
                                                                                            Tradeshow
Finished Goods                                               $166.56                $166.56 Warehouse 2       T‐Shirt ‐ TRX¨ TEAM ‐ Men Small

Finished Goods                                             $3,204.99              $3,204.99 Ontario Warehouse   T‐Shirt ‐ TRX¨ TEAM ‐ Men Small
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $223.86               $223.86 Unsellable           T‐Shirt ‐ TRX¨ TEAM ‐ Men Extra Large
                                                                                            Tradeshow
Finished Goods                                               $373.10               $373.10 Warehouse 1          T‐Shirt ‐ TRX¨ TEAM ‐ Men Extra Large
                                                                                            Tradeshow
Finished Goods                                               $223.86               $223.86 Warehouse 2          T‐Shirt ‐ TRX¨ TEAM ‐ Men Extra Large


                                                                               145 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                             Main Document    Page 178 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                            Description

Finished Goods                                             $1,775.97              $1,775.97 Ontario Warehouse T‐Shirt ‐ TRX¨ TEAM ‐ Men Extra Large
                                                                                            Tradeshow
Finished Goods                                                $49.05                 $49.05 Warehouse 2       T‐Shirt ‐ TRX¨ TEAM ‐ Men Extra Extra Large
                                                                                            Tradeshow
Finished Goods                                               $318.85               $318.85 Warehouse 1        T‐Shirt ‐ TRX¨ TEAM ‐ Men Extra Extra Large

Finished Goods                                               $372.81                $372.81 Ontario Warehouse T‐Shirt ‐ TRX¨ TEAM ‐ Men Extra Extra Large
                                                                                            Tradeshow
Finished Goods                                               $174.23                $174.23 Warehouse 1       T‐Shirt ‐ TRX¨ TEAM ‐ Women Large

Finished Goods                                             $2,195.34              $2,195.34 Ontario Warehouse T‐Shirt ‐ TRX¨ TEAM ‐ Women Large
                                                                                            Tradeshow
Finished Goods                                                $85.18                 $85.18 Warehouse 2       T‐Shirt ‐ TRX¨ TEAM ‐ Women Large

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse T‐Shirt ‐ TRX¨ TEAM ‐ Women Medium

Finished Goods                                                 $5.17                   $5.17 Ontario Warehouse T‐Shirt ‐ TRX¨ TEAM ‐ Women Small

Finished Goods                                               $780.56                $780.56 Ontario Warehouse T‐Shirt ‐ TRX¨ Team Performance Dri‐Fit ‐ Men Small

Finished Goods                                               $844.35                $844.35 Ontario Warehouse T‐Shirt ‐ TRX¨ Team Performance Dri‐Fit ‐ Men Extra Large

Finished Goods                                               $748.44                $748.44 Ontario Warehouse T‐Shirt ‐ TRX¨ Team Performance Dri‐Fit ‐ Women Large

Finished Goods                                                $24.69                  $24.69 Ontario Warehouse T‐Shirt ‐ TRX¨ Team Performance Dri‐Fit ‐ Women Medium

Finished Goods                                                 $0.00                  $0.00 Ontario Warehouse T‐Shirt ‐ TRX¨ Team Performance Dri‐Fit ‐ Women Small
                                                                                                               T‐Shirt TRX TEAM Dri‐Fit "Coach" Shirt ‐ Goodlife Mens
Finished Goods                                               $570.70                $570.70 Ontario Warehouse Medium
                                                                                                               T‐Shirt TRX TEAM Dri‐Fit "Coach" Shirt ‐ Goodlife Womens
Finished Goods                                               $285.35                $285.35 Ontario Warehouse Large
                                                                                                               T‐Shirt TRX TEAM Dri‐Fit "Head Coach" Shirt ‐ Goodlife
Finished Goods                                               $348.16                $348.16 Ontario Warehouse Womens Small
                                                                                                               Silver brushed charm with white TRX text logo ‐ 1‐9/16 x
Finished Goods                                               $420.00                $420.00 SF TRX Office (HQ) 9/16 x 0.020
                                                                                            Tradeshow
Finished Goods                                               $207.98                $207.98 Warehouse 2        Shorts ‐TRX¨ Men Large


                                                                               146 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                             Main Document    Page 179 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest          Location                              Description

Finished Goods                                                $20.80                 $20.80 SF TRX Office (HQ)   Shorts ‐TRX¨ Men Large
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $164.81                $164.81 Unsellable           Shorts ‐TRX¨ Men Medium
                                                                                            Tradeshow
Finished Goods                                               $123.60                $123.60 Warehouse 2          Shorts ‐TRX¨ Men Medium
                                                                                            Tradeshow
Finished Goods                                                $78.58                 $78.58 Warehouse 2          Shorts ‐TRX¨ Men Extra Large
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $19.65                 $19.65 Unsellable           Shorts ‐TRX¨ Men Extra Large

Finished Goods                                             $2,298.57              $2,298.57 Ontario Warehouse Shorts ‐TRX¨ Men Extra Large

Finished Goods                                                  $0.00                 $0.00 Ontario Warehouse    Sports Illustrated Magazine ‐ Swimsuit Edition ‐ July 2021
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $0.00                  $0.00 Unsellable           Sports Illustrated Magazine ‐ Swimsuit Edition ‐ July 2021
                                                                                            Inventory ‐          TRX Studio Line Bracket Mount and Elevated Extender for
Finished Goods                                               $945.60               $945.60 Manufacturer          BOX 33 Hook Anchor Kit
                                                                                            Inventory ‐          TRX Studio Line Bracket Mount and Standard Extender for
Finished Goods                                             $1,368.45              $1,368.45 Manufacturer         BOX 15 Hook Anchor Kit
                                                                                                                 TRX Studio Line Bracket Mount and Standard Extender for
Finished Goods                                               $456.15                $456.15 Tigers Logistics     BOX 15 Hook Anchor Kit

Finished Goods                                               $303.99                $303.99 SF TRX Office (HQ) Pro Power Bar ‐ 1500lb capacity, black oxide (Part 61800)

Finished Goods                                                $33.39                  $33.39 SF TRX Office (HQ) Pro Olympic Plate 25 lb ‐ Black (Part 61125)

Finished Goods                                                $45.69                  $45.69 SF TRX Office (HQ) Pro Olympic Plate 35 lb ‐ Black (Part 61135)

                                                                                                               TRX Studio Line weighted base plate ‐ standard (4')‐ Base
                                                                                                               plate fabrication service. 3/4 inch think steel plates.
Finished Goods                                               $932.14                $932.14 SF TRX Office (HQ) Includes two adjoining pieces (1‐female; 1‐male).


                                                                               147 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 180 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                               Description

                                                                                                                 TRX Studio Line weighted base plate ‐ standard (4')‐ Base
                                                                                                                 plate fabrication service. 3/4 inch think steel plates.
Finished Goods                                             $4,660.70              $4,660.70 Tigers Logistics     Includes two adjoining pieces (1‐female; 1‐male).

                                                                                                              TRX Studio Line weighted base plate ‐ standard (4')‐ Base
                                                                                                              plate fabrication service. 3/4 inch think steel plates.
Finished Goods                                             $5,592.84              $5,592.84 Ontario Warehouse Includes two adjoining pieces (1‐female; 1‐male).
                                                                                                              TRX Studio Line weighted base plate ‐ extended (5')‐ Base
                                                                                                              plate fabrication service. 3/4 inch think steel plates.
                                                                                            Tradeshow         Extended parts will be made from 2 pieces welded
Finished Goods                                             $1,864.30              $1,864.30 Warehouse 1       together.

Finished Goods                                               $254.90                $254.90 SF TRX Office (HQ) TRX Studio Line Bridge TV support Vendor I/N 3900
                                                                                                               Dumbell Side Storage, sold in pairs, secures to accessory
Finished Goods                                             $6,665.06              $6,665.06 Tigers Logistics   post (current product) ‐ (FLAT BLACK‐35)
                                                                                                               Dumbell Side Storage, sold in pairs, secures to accessory
Finished Goods                                             $8,797.87              $8,797.87 Ontario Warehouse post (current product) ‐ (FLAT BLACK‐35)

Finished Goods                                                $45.21                 $45.21 SF TRX Office (HQ)   TRX Studio Line Drawer Assembly
                                                                                            Tradeshow
Finished Goods                                                $45.21                 $45.21 Warehouse 2      TRX Studio Line Drawer Assembly
                                                                                            Inventory ‐      TRX Studio Line Elevated Extender for BOX 33 Hook Anchor
Finished Goods                                               $381.87                $381.87 Manufacturer     Kit (No Bracket Mount)
                                                                                                             TRX Studio Line Standard Extender for BOX 15 Hook Anchor
Finished Goods                                             $2,068.82              $2,068.82 Land America     Kit (No Bracket Mount)
                                                                                                             TRX Studio Line Standard Extender for BOX 15 Hook Anchor
Finished Goods                                               $268.01               $268.01 Ontario Warehouse Kit (No Bracket Mount)

Finished Goods                                               $609.54                $609.54 Ontario Warehouse TRX Studio Line Extension Arm for iPad Holder ‐ 10307

Finished Goods                                                $33.86                  $33.86 SF TRX Office (HQ) TRX Studio Line Extension Arm for iPad Holder ‐ 10307

Finished Goods                                               $914.12                $914.12 Ontario Warehouse    TRX Studio Line iPad Holder (9" iPad)
                                                                                            Tradeshow            TRX Studio Line Drop Plate for Elevated Bridge to Standard
Finished Goods                                               $101.48                $101.48 Warehouse 1          Bay (Bay on Left Side of Bridge)
Finished Goods                                               $203.31                $203.31 Tigers Logistics     TRX Studio Line Bay Magnet "Core", 45" x 9.5"



                                                                               148 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 181 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description
                                                                                             Tradeshow
Finished Goods                                                $19.68                  $19.68 Warehouse 1        TRX Studio Line Bay Magnet "Core", 45" x 9.5" (SG)

Finished Goods                                               $423.07                $423.07 Ontario Warehouse   TRX Studio Line Bay Magnet "Core", 45" x 9.5" (SG)
                                                                                            Tradeshow
Finished Goods                                                 $9.84                  $9.84 Warehouse 4         TRX Studio Line Bay Magnet "Core", 45" x 9.5" (SG)
Finished Goods                                               $186.94                $186.94 Tigers Logistics    TRX Studio Line Bay Magnet "Core", 45" x 9.5" (SG)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $78.71                 $78.71 Unsellable          TRX Studio Line Bay Magnet "Core", 45" x 9.5" (SG)
                                                                                            Tradeshow
Finished Goods                                                 $0.00                  $0.00 Warehouse 1        TRX Studio Line Bay Magnet "Core", 45" x 9.5" (SG) ‐ DEMO
                                                                                                               TRX Studio Line Bay Magnet "Functional Training", 45" x
Finished Goods                                                $91.11                 $91.11 Tigers Logistics   9.5"
                                                                                                               TRX Studio Line Bay Magnet "Functional Training", 45" x
Finished Goods                                                $32.82                 $32.82 SF TRX Office (HQ) 9.5" (SG)
                                                                                            Tradeshow          TRX Studio Line Bay Magnet "Functional Training", 45" x
Finished Goods                                                $10.94                 $10.94 Warehouse 4        9.5" (SG)
                                                                                                               TRX Studio Line Bay Magnet "Functional Training", 45" x
Finished Goods                                                $76.57                 $76.57 Tigers Logistics   9.5" (SG)
                                                                                                               TRX Studio Line Bay Magnet "Functional Training", 45" x
Finished Goods                                             $6,070.87              $6,070.87 Ontario Warehouse 9.5" (SG)
                                                                                            Tradeshow          TRX Studio Line Bay Magnet "Functional Training", 45" x
Finished Goods                                                $43.75                 $43.75 Warehouse 1        9.5" (SG)
Finished Goods                                               $135.24               $135.24 Tigers Logistics    TRX Studio Line Bay Magnet "Lower Body" " 45" x 9.5"

Finished Goods                                               $117.02                $117.02 Ontario Warehouse TRX Studio Line Bay Magnet "Lower Body" " 45" x 9.5" (SG)

Finished Goods                                               $243.80                $243.80 Tigers Logistics    TRX Studio Line Bay Magnet "Lower Body" " 45" x 9.5" (SG)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $97.52                 $97.52 Unsellable          TRX Studio Line Bay Magnet "Lower Body" " 45" x 9.5" (SG)
                                                                                            Tradeshow
Finished Goods                                                $29.26                 $29.26 Warehouse 1         TRX Studio Line Bay Magnet "Lower Body" " 45" x 9.5" (SG)
Finished Goods                                                $67.62                 $67.62 Tigers Logistics    TRX Studio Line Bay Magnet "Mobility", 45" x 9.5"



                                                                               149 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 182 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description

Finished Goods                                             $1,776.03              $1,776.03 Ontario Warehouse   TRX Studio Line Bay Magnet "Mobility", 45" x 9.5" (SG)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $9.11                  $9.11 Unsellable          TRX Studio Line Bay Magnet "Mobility", 45" x 9.5" (SG)
                                                                                            Tradeshow
Finished Goods                                                $27.32                 $27.32 Warehouse 1         TRX Studio Line Bay Magnet "Mobility", 45" x 9.5" (SG)
Finished Goods                                                $27.32                 $27.32 Tigers Logistics    TRX Studio Line Bay Magnet "Mobility", 45" x 9.5" (SG)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $24.22                 $24.22 Unsellable          TRX Studio Line Bay Magnet "TTZ", 45" x 9.5"
Finished Goods                                                $48.44                 $48.44 Tigers Logistics    TRX Studio Line Bay Magnet "TTZ", 45" x 9.5"
                                                                                            Tradeshow
Finished Goods                                                $15.95                 $15.95 Warehouse 1         TRX Studio Line Bay Magnet "TTZ", 45" x 9.5" (DEMO)
                                                                                            Tradeshow
Finished Goods                                                $87.51                 $87.51 Warehouse 1         TRX Studio Line Bay Magnet "TTZ", 45" x 9.5" (SG)
Finished Goods                                               $306.28               $306.28 Tigers Logistics     TRX Studio Line Bay Magnet "TTZ", 45" x 9.5" (SG)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $382.85               $382.85 Unsellable           TRX Studio Line Bay Magnet "TTZ", 45" x 9.5" (SG)

Finished Goods                                             $8,171.07              $8,171.07 Ontario Warehouse   TRX Studio Line Bay Magnet "TTZ", 45" x 9.5" (SG)
                                                                                            Tradeshow
Finished Goods                                                $32.82                 $32.82 Warehouse 4         TRX Studio Line Bay Magnet "TTZ", 45" x 9.5" (SG)
                                                                                            Inventory ‐
Finished Goods                                                $10.94                 $10.94 Manufacturer        TRX Studio Line Bay Magnet "TTZ", 45" x 9.5" (SG)
                                                                                            Tradeshow
Finished Goods                                                $17.96                 $17.96 Warehouse 1         TRX Studio Line Bay Magnet "TTZ", 45" x 9.5" (SG)
Finished Goods                                               $115.95               $115.95 Tigers Logistics     TRX Studio Line Bay Magnet "Upper Body", 45" x 9.5"
                                                                                            Tradeshow
Finished Goods                                                $19.84                 $19.84 Warehouse 1         TRX Studio Line Bay Magnet "Upper Body", 45" x 9.5" (SG)

Finished Goods                                                $69.45                  $69.45 Ontario Warehouse TRX Studio Line Bay Magnet "Upper Body", 45" x 9.5" (SG)




                                                                               150 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 183 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $89.29                  $89.29 Unsellable         TRX Studio Line Bay Magnet "Upper Body", 45" x 9.5" (SG)
                                                                                             Tradeshow
Finished Goods                                                $17.96                  $17.96 Warehouse 1        TRX Studio Line Corner Magnet "TTZ", 26.75" x 12.6" (SG)

Finished Goods                                             $1,104.54              $1,104.54 Ontario Warehouse TRX Studio Line Corner Magnet "TTZ", 26.75" x 12.6" (SG)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $8.98                  $8.98 Unsellable        TRX Studio Line Corner Magnet "TTZ", 26.75" x 12.6" (SG)
                                                                                            Tradeshow
Finished Goods                                                 $8.98                  $8.98 Warehouse 4       TRX Studio Line Corner Magnet "TTZ", 26.75" x 12.6" (SG)

Finished Goods                                                $53.88                  $53.88 Tigers Logistics   TRX Studio Line Corner Magnet "TTZ", 26.75" x 12.6" (SG)

Finished Goods                                             $1,225.00              $1,225.00 Ontario Warehouse Custom Studio Line Bay Magnet, 45" x 9.5" ‐ EOS

Finished Goods                                               $900.00                $900.00 Ontario Warehouse Custom Studio Line Bay Magnet, 45" x 9.5" ‐ ETF

Finished Goods                                               $600.00                $600.00 Ontario Warehouse Custom Studio Line Bay Magnet, 45" x 9.5" ‐ FIT
Finished Goods                                                $33.17                 $33.17 Tigers Logistics  TRX Studio Line Bridge Magnet "TRX MYBYM" 46" x 7"

Finished Goods                                                $80.80                  $80.80 Tigers Logistics   TRX Studio Line Bridge Magnet "TRX MYBYM" 46" x 7" (SG)
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $17.96                  $17.96 Unsellable         TRX Studio Line Bridge Magnet "TRX MYBYM" 46" x 7" (SG)
                                                                                             Tradeshow
Finished Goods                                                $17.96                  $17.96 Warehouse 4        TRX Studio Line Bridge Magnet "TRX MYBYM" 46" x 7" (SG)
                                                                                             Tradeshow
Finished Goods                                                $53.87                  $53.87 Warehouse 1        TRX Studio Line Bridge Magnet "TRX MYBYM" 46" x 7" (SG)

Finished Goods                                                $17.96                  $17.96 SF TRX Office (HQ) TRX Studio Line Bridge Magnet "TRX MYBYM" 46" x 7" (SG)

Finished Goods                                             $1,436.42              $1,436.42 Ontario Warehouse TRX Studio Line Bridge Magnet "TRX MYBYM" 46" x 7" (SG)



                                                                               151 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 184 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                              Description

Finished Goods                                               $252.27                $252.27 SF TRX Office (HQ) TRX Studio Line MARPO Bracket v1
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $504.54                $504.54 Unsellable         TRX Studio Line MARPO Bracket v1
                                                                                                               Stand Alone Extender for use with SL Universal Mount ‐
Finished Goods                                                $82.40                 $82.40 Ontario Warehouse Elevated Length (Grey webbing) 22.5" long
                                                                                                               Stand Alone Extender for use with SL Universal Mount ‐
Finished Goods                                                $78.38                 $78.38 Tigers Logistics   Elevated Length (Grey webbing) 22.5" long
                                                                                                               Stand Alone Extender for use with SL Universal Mount ‐
Finished Goods                                               $119.25                $119.25 Ontario Warehouse Standard Length (Grey webbing) 11.5" long
                                                                                            Tradeshow          Stand Alone Extender for use with SL Universal Mount ‐
Finished Goods                                                $12.06                 $12.06 Warehouse 1        Standard Length (Grey webbing) 11.5" long

                                                                                                                Front Loaded Plate Storage ‐ To add additional storage for
Finished Goods                                               $504.13                $504.13 Tigers Logistics    plates and bumpers to the front of any TRX Studio Line

                                                                                                              Front Loaded Plate Storage ‐ To add additional storage for
Finished Goods                                            $11,651.09             $11,651.09 Ontario Warehouse plates and bumpers to the front of any TRX Studio Line

Finished Goods                                            $19,092.65             $19,092.65 Ontario Warehouse Pro‐Mounting additional 7ft of track
                                                                                            Inventory ‐       Promounting attachment for TRX Studio Line 21ft Bridge ‐
Finished Goods                                             $3,254.53              $3,254.53 Manufacturer      curve to the left
                                                                                                              Promounting attachment for TRX Studio Line 21ft Bridge ‐
Finished Goods                                            $32,545.28             $32,545.28 Ontario Warehouse curve to the left
                                                                                            Inventory ‐       Promounting attachment for TRX Studio Line 21ft Bridge ‐
Finished Goods                                             $3,254.53              $3,254.53 Manufacturer      curve to the right
                                                                                                              Promounting attachment for TRX Studio Line 21ft Bridge ‐
Finished Goods                                            $35,799.80             $35,799.80 Ontario Warehouse curve to the right
                                                                                                              TRX Studio Line Drop Plate for Elevated Bridge to Standard
Finished Goods                                               $523.75               $523.75 Ontario Warehouse Bay (Bay on Right Side of Bridge)
                                                                                            Tradeshow         TRX Studio Line Drop Plate for Elevated Bridge to Standard
Finished Goods                                               $104.75               $104.75 Warehouse 1        Bay (Bay on Right Side of Bridge)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $16.07                 $16.07 Unsellable        TRX Studio Line Shelf Sticker "Dumbbells", 1" x 12"


                                                                               152 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                             Main Document    Page 185 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                               Description

Finished Goods                                               $300.05                $300.05 Ontario Warehouse TRX Studio Line Shelf Sticker "Dumbbells", 1" x 12"

Finished Goods                                               $300.08                $300.08 Ontario Warehouse TRX Studio Line Shelf Sticker "Foam Rollers", 1" x 12"
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $16.08                 $16.08 Unsellable        TRX Studio Line Shelf Sticker "Foam Rollers", 1" x 12"
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $16.07                 $16.07 Unsellable        TRX Studio Line Shelf Sticker "Medicine Balls", 1" x 12"

Finished Goods                                               $300.01                $300.01 Ontario Warehouse TRX Studio Line Shelf Sticker "Medicine Balls", 1" x 12"

Finished Goods                                               $281.35                $281.35 Ontario Warehouse TRX Studio Line Shelf Sticker "Wall Balls", 1" x 12"
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $10.72                 $10.72 Unsellable        TRX Studio Line Shelf Sticker "Wall Balls", 1" x 12"
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $16.08                 $16.08 Unsellable        TRX Studio Line Shelf Sticker "Slam Balls", 1" x 12"

Finished Goods                                               $294.72                $294.72 Ontario Warehouse TRX Studio Line Shelf Sticker "Slam Balls", 1" x 12"
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $16.07                 $16.07 Unsellable        TRX Studio Line Shelf Sticker "Stability Balls", 1" x 12"

Finished Goods                                               $297.38                $297.38 Ontario Warehouse TRX Studio Line Shelf Sticker "Stability Balls", 1" x 12"
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $13.40                 $13.40 Unsellable        TRX Studio Line Shelf Sticker "Kettlebells", 1" x 12"

Finished Goods                                               $284.07                $284.07 Ontario Warehouse TRX Studio Line Shelf Sticker "Kettlebells", 1" x 12"


                                                                               153 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 186 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                            Description
                                                                                                              Studio Line Strenth Bay Add on ‐ Converts any TRX Studio
Finished Goods                                            $19,014.13             $19,014.13 Tigers Logistics  Line Bay to a Strength or Free Standing Bay
                                                                                                              Studio Line Strenth Bay Add on ‐ Converts any TRX Studio
Finished Goods                                            $59,155.07             $59,155.07 Ontario Warehouse Line Bay to a Strength or Free Standing Bay

Finished Goods                                               $545.85                $545.85 Ontario Warehouse TRX Studio Line installation warning and sign off sticker
                                                                                            Tradeshow
Finished Goods                                                 $1.66                  $1.66 Warehouse 1       TRX Studio Line installation warning and sign off sticker

Finished Goods                                               $196.31                $196.31 Tigers Logistics    TRX Studio Line installation warning and sign off sticker
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $16.15                 $16.15 Unsellable          TRX Studio Line installation warning and sign off sticker
                                                                                            Inventory ‐
Finished Goods                                                 $0.41                  $0.41 Manufacturer        TRX Studio Line installation warning and sign off sticker
                                                                                            Tradeshow
Finished Goods                                                 $0.41                  $0.41 Warehouse 4         TRX Studio Line installation warning and sign off sticker

Finished Goods                                            $13,541.34             $13,541.34 Ontario Warehouse   BOX 1 TRX Studio Line Vertical Tube
                                                                                            Tradeshow
Finished Goods                                                $75.23                 $75.23 Warehouse 2         BOX 1 TRX Studio Line Vertical Tube
Finished Goods                                             $1,579.82              $1,579.82 Tigers Logistics    BOX 1 TRX Studio Line Vertical Tube
                                                                                            Tradeshow
Finished Goods                                               $752.30               $752.30 Warehouse 1          BOX 1 TRX Studio Line Vertical Tube

Finished Goods                                                $75.23                 $75.23 SF TRX Office (HQ) BOX 1 TRX Studio Line Vertical Tube
                                                                                            Tradeshow
Finished Goods                                               $451.38               $451.38 Warehouse 4         BOX 1 TRX Studio Line Vertical Tube
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $7,899.12              $7,899.12 Unsellable         BOX 1 TRX Studio Line Vertical Tube

Finished Goods                                           $159,336.46            $159,336.46 Ontario Warehouse BOX 1 TRX Studio Line Vertical Tube (FLAT BLACK‐35)
                                                                                            Tradeshow
Finished Goods                                               $300.92               $300.92 Warehouse 1        BOX 1 TRX Studio Line Vertical Tube (FLAT BLACK‐35)



                                                                               154 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 187 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                               Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,354.13              $1,354.13 Unsellable           BOX 1 TRX Studio Line Vertical Tube (FLAT BLACK‐35)

Finished Goods                                              $150.46                 $150.46 SF TRX Office (HQ) BOX 1 TRX Studio Line Vertical Tube (FLAT BLACK‐35)
Finished Goods                                            $33,101.06             $33,101.06 Tigers Logistics   BOX 1 TRX Studio Line Vertical Tube (FLAT BLACK‐35)
                                                                                            Tradeshow
Finished Goods                                               $650.10               $650.10 Warehouse 1         BOX 1 TRX Studio Line Vertical Tube (DEMO)

Finished Goods                                               $130.02                $130.02 SF TRX Office (HQ)   BOX 1 TRX Studio Line Vertical Tube (DEMO)
                                                                                            Tradeshow
Finished Goods                                               $245.91                $245.91 Warehouse 4          BOX 2 TRX Studio Line Foot Kit
                                                                                            Tradeshow
Finished Goods                                               $737.73                $737.73 Warehouse 1          BOX 2 TRX Studio Line Foot Kit
                                                                                            Tradeshow
Finished Goods                                                $61.48                 $61.48 Warehouse 2          BOX 2 TRX Studio Line Foot Kit

Finished Goods                                                $61.48                  $61.48 SF TRX Office (HQ) BOX 2 TRX Studio Line Foot Kit

Finished Goods                                             $9,774.90              $9,774.90 Ontario Warehouse    BOX 2 TRX Studio Line Foot Kit
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $6,701.03              $6,701.03 Unsellable           BOX 2 TRX Studio Line Foot Kit
Finished Goods                                              $676.25                $676.25 Tigers Logistics      BOX 2 TRX Studio Line Foot Kit
                                                                                            Tradeshow
Finished Goods                                              $245.91                $245.91 Warehouse 1           BOX 2 TRX Studio Line Foot Kit (FLAT BLACK‐35)
Finished Goods                                            $27,849.25             $27,849.25 Tigers Logistics     BOX 2 TRX Studio Line Foot Kit (FLAT BLACK‐35)

Finished Goods                                           $125,536.77            $125,536.77 Ontario Warehouse BOX 2 TRX Studio Line Foot Kit (FLAT BLACK‐35)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,106.59              $1,106.59 Unsellable        BOX 2 TRX Studio Line Foot Kit (FLAT BLACK‐35)

Finished Goods                                               $245.91                $245.91 SF TRX Office (HQ) BOX 2 TRX Studio Line Foot Kit (FLAT BLACK‐35)



                                                                               155 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 188 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                              Description
                                                                                            Tradeshow
Finished Goods                                               $531.30                $531.30 Warehouse 1         BOX 2 TRX Studio Line Foot Kit (DEMO)

Finished Goods                                               $106.26                $106.26 SF TRX Office (HQ) BOX 2 TRX Studio Line Foot Kit (DEMO)

Finished Goods                                               $266.40               $266.40 SF TRX Office (HQ)   BOX 3 TRX Studio Line Ladder Kit
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $9,856.72              $9,856.72 Unsellable          BOX 3 TRX Studio Line Ladder Kit
Finished Goods                                              $133.20                $133.20 Tigers Logistics     BOX 3 TRX Studio Line Ladder Kit
                                                                                            Tradeshow
Finished Goods                                               $399.60               $399.60 Warehouse 4          BOX 3 TRX Studio Line Ladder Kit

Finished Goods                                            $20,379.43             $20,379.43 Ontario Warehouse   BOX 3 TRX Studio Line Ladder Kit
                                                                                            Tradeshow
Finished Goods                                               $133.20               $133.20 Warehouse 2          BOX 3 TRX Studio Line Ladder Kit
                                                                                            Tradeshow
Finished Goods                                              $799.19                $799.19 Warehouse 1          BOX 3 TRX Studio Line Ladder Kit
Finished Goods                                            $33,299.73             $33,299.73 Tigers Logistics    BOX 3 TRX Studio Line Ladder Kit (FLAT BLACK‐35)
                                                                                            Tradeshow
Finished Goods                                               $266.40               $266.40 Warehouse 1          BOX 3 TRX Studio Line Ladder Kit (FLAT BLACK‐35)

Finished Goods                                           $165,965.86            $165,965.86 Ontario Warehouse BOX 3 TRX Studio Line Ladder Kit (FLAT BLACK‐35)

Finished Goods                                               $266.40               $266.40 SF TRX Office (HQ)   BOX 3 TRX Studio Line Ladder Kit (FLAT BLACK‐35)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,331.99              $1,331.99 Unsellable          BOX 3 TRX Studio Line Ladder Kit (FLAT BLACK‐35)
                                                                                            Tradeshow
Finished Goods                                               $460.44               $460.44 Warehouse 1          BOX 3 TRX Studio Line Ladder Kit (DEMO)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $297.35               $297.35 Unsellable           BOX 4 TRX Studio Line Bay Arms Kit

Finished Goods                                            $12,191.34             $12,191.34 Ontario Warehouse BOX 4 TRX Studio Line Bay Arms Kit


                                                                               156 of 226
                            Case 8:22-bk-10949-SC              Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                              Main Document    Page 189 of 494


    General Description of Property (Raw
    Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
     Goods, Other Inventory or Supplies)             Interest            Debtor's Interest          Location                            Description
Finished Goods                                                 $198.23                $198.23 Tigers Logistics   BOX 4 TRX Studio Line Bay Arms Kit
Finished Goods                                              $21,607.41             $21,607.41 Tigers Logistics   BOX 4 TRX Studio Line Bay Arm Kit (FLAT BLACK‐35)

Finished Goods                                            $191,493.20            $191,493.20 Ontario Warehouse BOX 4 TRX Studio Line Bay Arm Kit (FLAT BLACK‐35)

Finished Goods                                                $396.47                $396.47 SF TRX Office (HQ) BOX 4 TRX Studio Line Bay Arm Kit (FLAT BLACK‐35)
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                              $1,784.10              $1,784.10 Unsellable         BOX 4 TRX Studio Line Bay Arm Kit (FLAT BLACK‐35)
                                                                                             Tradeshow
Finished Goods                                                $171.30               $171.30 Warehouse 1         BOX 4 TRX Studio Line Bay Arms Kit (DEMO)

Finished Goods                                                 $85.65                 $85.65 SF TRX Office (HQ) BOX 4 TRX Studio Line Bay Arms Kit (DEMO)
                                                                                             Tradeshow
Finished Goods                                                $102.70                $102.70 Warehouse 2        BOX 5 TRX Studio Line Bridge arm kit

Finished Goods                                                $102.70                $102.70 SF TRX Office (HQ) BOX 5 TRX Studio Line Bridge arm kit
                                                                                             Tradeshow
Finished Goods                                                $410.79                $410.79 Warehouse 1        BOX 5 TRX Studio Line Bridge arm kit
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $821.58                $821.58 Unsellable         BOX 5 TRX Studio Line Bridge arm kit

Finished Goods                                             $43,441.16             $43,441.16 Ontario Warehouse BOX 5 TRX Studio Line Bridge arm kit
                                                                                             Tradeshow
Finished Goods                                               $410.79                $410.79 Warehouse 1        BOX 5 TRX Studio Line Bridge Arm kit (FLAT BLACK‐35)
Finished Goods                                              $9,345.50              $9,345.50 Tigers Logistics  BOX 5 TRX Studio Line Bridge Arm kit (FLAT BLACK‐35)

Finished Goods                                             $16,534.34             $16,534.34 Ontario Warehouse BOX 5 TRX Studio Line Bridge Arm kit (FLAT BLACK‐35)
                                                                                             Tradeshow
Finished Goods                                                $355.00               $355.00 Warehouse 1        BOX 5 TRX Studio Line Bridge arm kit (DEMO)

Finished Goods                                                $266.25                $266.25 SF TRX Office (HQ) BOX 5 TRX Studio Line Bridge arm kit (DEMO)

Finished Goods                                             $35,384.84             $35,384.84 Ontario Warehouse BOX 6 TRX Studio Line Bridge arm



                                                                                157 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 190 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest           Location                            Description
                                                                                              Tradeshow
Finished Goods                                               $340.24                $340.24   Warehouse 2        BOX 6 TRX Studio Line Bridge arm
                                                                                              Ontario
                                                                                              Warehouse:CS
                                                                                              Returns‐Ontario‐
Finished Goods                                              $680.48                $680.48    Unsellable         BOX 6 TRX Studio Line Bridge arm
Finished Goods                                             $6,804.78              $6,804.78   Tigers Logistics   BOX 6 TRX Studio Line Bridge Beam (FLAT BLACK‐35)
                                                                                              Tradeshow
Finished Goods                                               $170.12                $170.12   Warehouse 1        BOX 6 TRX Studio Line Bridge Beam (FLAT BLACK‐35)

Finished Goods                                            $14,630.27             $14,630.27 Ontario Warehouse BOX 6 TRX Studio Line Bridge Beam (FLAT BLACK‐35)

Finished Goods                                               $147.02                $147.02 SF TRX Office (HQ)   BOX 6 TRX Studio Line Bridge arm (DEMO)
                                                                                            Tradeshow
Finished Goods                                               $294.04               $294.04 Warehouse 1           BOX 6 TRX Studio Line Bridge arm (DEMO)
Finished Goods                                               $406.97               $406.97 Tigers Logistics      BOX 7 TRX Studio Line Bridge Support
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $5,941.71              $5,941.71 Unsellable           BOX 7 TRX Studio Line Bridge Support
                                                                                            Tradeshow
Finished Goods                                               $244.18                $244.18 Warehouse 4          BOX 7 TRX Studio Line Bridge Support

Finished Goods                                             $7,081.21              $7,081.21 Ontario Warehouse    BOX 7 TRX Studio Line Bridge Support
                                                                                            Tradeshow
Finished Goods                                               $488.36               $488.36 Warehouse 1           BOX 7 TRX Studio Line Bridge Support
                                                                                            Quarantined
Finished Goods                                             $4,069.66              $4,069.66 Inventory            BOX 7 TRX Studio Line Bridge Support
Finished Goods                                            $20,266.92             $20,266.92 Tigers Logistics     BOX 7 TRX Studio Line Bay Support (FLAT BLACK‐35)

Finished Goods                                               $162.79                $162.79 SF TRX Office (HQ) BOX 7 TRX Studio Line Bay Support (FLAT BLACK‐35)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $813.93                $813.93 Unsellable         BOX 7 TRX Studio Line Bay Support (FLAT BLACK‐35)

Finished Goods                                            $84,648.98             $84,648.98 Ontario Warehouse BOX 7 TRX Studio Line Bay Support (FLAT BLACK‐35)



                                                                               158 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 191 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                               Description
                                                                                            Tradeshow
Finished Goods                                               $162.79                $162.79 Warehouse 1          BOX 7 TRX Studio Line Bay Support (FLAT BLACK‐35)

Finished Goods                                               $140.68                $140.68 SF TRX Office (HQ) BOX 7 TRX Studio Line Bridge Support (DEMO)
                                                                                            Tradeshow
Finished Goods                                               $492.38                $492.38 Warehouse 1        BOX 7 TRX Studio Line Bridge Support (DEMO)
Finished Goods                                                $72.44                 $72.44 Tigers Logistics   BOX 8 TRX Studio Line Clamshell Kit

Finished Goods                                            $46,941.27             $46,941.27 Ontario Warehouse BOX 8 TRX Studio Line Clamshell Kit
                                                                                            Tradeshow
Finished Goods                                                $72.44                 $72.44 Warehouse 2       BOX 8 TRX Studio Line Clamshell Kit

Finished Goods                                               $362.20                $362.20 SF TRX Office (HQ) BOX 8 TRX Studio Line Clamshell Kit
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,014.16              $1,014.16 Unsellable         BOX 8 TRX Studio Line Clamshell Kit

Finished Goods                                            $17,675.42             $17,675.42 Ontario Warehouse    BOX 8 TRX Studio Line Clamshell Kit (FLAT BLACK‐35)
                                                                                            Tradeshow
Finished Goods                                              $289.76                $289.76 Warehouse 1           BOX 8 TRX Studio Line Clamshell Kit (FLAT BLACK‐35)
Finished Goods                                             $9,706.99              $9,706.99 Tigers Logistics     BOX 8 TRX Studio Line Clamshell Kit (FLAT BLACK‐35)
                                                                                            Tradeshow
Finished Goods                                               $592.99               $592.99 Warehouse 1           BOX 8 TRX Studio Line Clamshell Kit (DEMO)

Finished Goods                                               $296.49                $296.49 SF TRX Office (HQ) BOX 8 TRX Studio Line Clamshell Kit (DEMO)

Finished Goods                                                $84.85                 $84.85 SF TRX Office (HQ)   BOX 9 TRX Studio Line Monkey Bar Bridge Kit
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $593.97                $593.97 Unsellable           BOX 9 TRX Studio Line Monkey Bar Bridge Kit
Finished Goods                                               $509.12                $509.12 Tigers Logistics     BOX 9 TRX Studio Line Monkey Bar Bridge Kit
                                                                                            Tradeshow
Finished Goods                                               $254.56                $254.56 Warehouse 2          BOX 9 TRX Studio Line Monkey Bar Bridge Kit
                                                                                            Tradeshow
Finished Goods                                               $169.71                $169.71 Warehouse 1          BOX 9 TRX Studio Line Monkey Bar Bridge Kit



                                                                               159 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 192 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description

Finished Goods                                            $52,523.79             $52,523.79 Ontario Warehouse BOX 9 TRX Studio Line Monkey Bar Bridge Kit
                                                                                                              BOX 9 TRX Studio Line Monkey Bar Bridge Kit (FLAT BLACK‐
Finished Goods                                             $5,854.83              $5,854.83 Tigers Logistics  35)
                                                                                            Tradeshow         BOX 9 TRX Studio Line Monkey Bar Bridge Kit (FLAT BLACK‐
Finished Goods                                               $169.71               $169.71 Warehouse 1        35)
                                                                                                              BOX 9 TRX Studio Line Monkey Bar Bridge Kit (FLAT BLACK‐
Finished Goods                                             $9,842.91              $9,842.91 Ontario Warehouse 35)
                                                                                            Tradeshow
Finished Goods                                               $219.99               $219.99 Warehouse 1        BOX 9 TRX Studio Line Monkey Bar Bridge Kit (DEMO)

Finished Goods                                                $73.33                 $73.33 SF TRX Office (HQ)   BOX 9 TRX Studio Line Monkey Bar Bridge Kit (DEMO)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $611.73                $611.73 Unsellable           BOX 10 TRX Studio Line Monkey Bar Kit
                                                                                            Tradeshow
Finished Goods                                               $183.52                $183.52 Warehouse 1          BOX 10 TRX Studio Line Monkey Bar Kit
                                                                                            Tradeshow
Finished Goods                                               $305.86                $305.86 Warehouse 2          BOX 10 TRX Studio Line Monkey Bar Kit

Finished Goods                                            $21,135.22             $21,135.22 Ontario Warehouse BOX 10 TRX Studio Line Monkey Bar Kit
Finished Goods                                                $61.17                 $61.17 Tigers Logistics  BOX 10 TRX Studio Line Monkey Bar Kit

Finished Goods                                             $5,046.76              $5,046.76 Tigers Logistics     BOX 10 TRX Studio Line Monkey Bar Kit (FLAT BLACK‐35)
                                                                                            Tradeshow
Finished Goods                                               $152.93               $152.93 Warehouse 1           BOX 10 TRX Studio Line Monkey Bar Kit (FLAT BLACK‐35)

Finished Goods                                               $764.66                $764.66 Ontario Warehouse BOX 10 TRX Studio Line Monkey Bar Kit (FLAT BLACK‐35)

Finished Goods                                               $187.16                $187.16 SF TRX Office (HQ) BOX 10 TRX Studio Line Monkey Bar Kit (DEMO)
                                                                                            Tradeshow
Finished Goods                                               $187.16                $187.16 Warehouse 1        BOX 10 TRX Studio Line Monkey Bar Kit (DEMO)
                                                                                            Tradeshow
Finished Goods                                               $302.34                $302.34 Warehouse 4        BOX 11 TRX Studio Line T Bay Arms Kit (Pair)

Finished Goods                                             $9,675.00              $9,675.00 Ontario Warehouse BOX 11 TRX Studio Line T Bay Arms Kit (Pair)



                                                                               160 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 193 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description

Finished Goods                                            $17,520.87             $17,520.87 Ontario Warehouse BOX 11 TRX Studio Line T‐Bay Arm Kit (FLAT BLACK‐35)

Finished Goods                                             $2,585.05              $2,585.05 Tigers Logistics    BOX 11 TRX Studio Line T‐Bay Arm Kit (FLAT BLACK‐35)

Finished Goods                                             $2,114.92              $2,114.92 Ontario Warehouse   BOX 12 TRX Studio Line Corner Pull Up Bar
Finished Goods                                              $169.19                $169.19 Tigers Logistics     BOX 12 TRX Studio Line Corner Pull Up Bar
                                                                                            Tradeshow
Finished Goods                                                $84.60                 $84.60 Warehouse 4         BOX 12 TRX Studio Line Corner Pull Up Bar
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $84.60                 $84.60 Unsellable          BOX 12 TRX Studio Line Corner Pull Up Bar

Finished Goods                                               $676.77                $676.77 Tigers Logistics    BOX 12 TRX Studio Line Corner Pull Up Bar (FLAT BLACK‐35)

Finished Goods                                             $4,568.23              $4,568.23 Ontario Warehouse BOX 12 TRX Studio Line Corner Pull Up Bar (FLAT BLACK‐35)

Finished Goods                                             $4,089.18              $4,089.18 Ontario Warehouse   BOX 13 TRX Studio Line Corner Unit Shelf Bracket Kit
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $77.15                 $77.15 Unsellable          BOX 13 TRX Studio Line Corner Unit Shelf Bracket Kit
Finished Goods                                               $154.31               $154.31 Tigers Logistics     BOX 13 TRX Studio Line Corner Unit Shelf Bracket Kit
                                                                                            Tradeshow
Finished Goods                                                $77.15                 $77.15 Warehouse 4       BOX 13 TRX Studio Line Corner Unit Shelf Bracket Kit
                                                                                                              BOX 13 TRX Studio Line Corner Unit Shelf Bracket Kit (FLAT
Finished Goods                                               $694.39               $694.39 Tigers Logistics   BLACK‐35)
                                                                                                              BOX 13 TRX Studio Line Corner Unit Shelf Bracket Kit (FLAT
Finished Goods                                             $4,320.64              $4,320.64 Ontario Warehouse BLACK‐35)
                                                                                            Tradeshow
Finished Goods                                               $210.63               $210.63 Warehouse 4        BOX 14 TRX Studio Line Corner Shelf Kit

Finished Goods                                             $4,949.88              $4,949.88 Ontario Warehouse BOX 14 TRX Studio Line Corner Shelf Kit
Finished Goods                                               $579.24                $579.24 Tigers Logistics  BOX 14 TRX Studio Line Corner Shelf Kit




                                                                               161 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 194 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                              Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $210.63                $210.63 Unsellable          BOX 14 TRX Studio Line Corner Shelf Kit

Finished Goods                                             $2,001.02              $2,001.02 Tigers Logistics    BOX 14 TRX Studio Line Corner Shelf Kit (FLAT BLACK‐35)

Finished Goods                                            $10,794.96             $10,794.96 Ontario Warehouse   BOX 14 TRX Studio Line Corner Shelf Kit (FLAT BLACK‐35)
                                                                                            Tradeshow           BOX 15 TRX Studio Line Standard Anchor / Hook Kit
Finished Goods                                               $111.53               $111.53 Warehouse 4          (Standard Extender)
                                                                                            Tradeshow           BOX 15 TRX Studio Line Standard Anchor / Hook Kit
Finished Goods                                               $260.23               $260.23 Warehouse 1          (Standard Extender)
                                                                                            Tradeshow           BOX 15 TRX Studio Line Standard Anchor / Hook Kit
Finished Goods                                                $37.18                 $37.18 Warehouse 2         (Standard Extender)
                                                                                                                BOX 15 TRX Studio Line Standard Anchor / Hook Kit
Finished Goods                                               $185.88               $185.88 Tigers Logistics     (Standard Extender)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐  BOX 15 TRX Studio Line Standard Anchor / Hook Kit
Finished Goods                                             $2,026.11              $2,026.11 Unsellable        (Standard Extender)
                                                                                                              BOX 15 TRX Studio Line Standard Anchor / Hook Kit
Finished Goods                                             $8,030.09              $8,030.09 Ontario Warehouse (Standard Extender)
                                                                                            Tradeshow
Finished Goods                                                $74.35                 $74.35 Warehouse 1       BOX 15 TRX Studio Line Anchor / Hook Kit (FLAT BLACK‐35)

Finished Goods                                             $7,639.73              $7,639.73 Tigers Logistics    BOX 15 TRX Studio Line Anchor / Hook Kit (FLAT BLACK‐35)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $334.59               $334.59 Unsellable           BOX 15 TRX Studio Line Anchor / Hook Kit (FLAT BLACK‐35)

Finished Goods                                            $38,607.61             $38,607.61 Ontario Warehouse BOX 15 TRX Studio Line Anchor / Hook Kit (FLAT BLACK‐35)

Finished Goods                                                $74.35                  $74.35 SF TRX Office (HQ) BOX 15 TRX Studio Line Anchor / Hook Kit (FLAT BLACK‐35)
                                                                                             Tradeshow          BOX 15 TRX Studio Line Standard Anchor / Hook Kit
Finished Goods                                                $31.05                  $31.05 Warehouse 1        (Standard Extender) (DEMO)
                                                                                                                BOX 15 TRX Studio Line Standard Anchor / Hook Kit
Finished Goods                                                $77.62                  $77.62 SF TRX Office (HQ) (Standard Extender) (DEMO)


                                                                               162 of 226
                            Case 8:22-bk-10949-SC              Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                              Main Document    Page 195 of 494


    General Description of Property (Raw
    Materials, Work in Progress, Finished   Net Book Value of Debtor's    Current Value of
     Goods, Other Inventory or Supplies)             Interest             Debtor's Interest          Location                            Description
Finished Goods                                                $2,986.65              $2,986.65 Tigers Logistics   BOX 16 TRX Studio Line Standard shelf
                                                                                               Tradeshow
Finished Goods                                                 $633.53                 $633.53 Warehouse 1        BOX 16 TRX Studio Line Standard shelf
                                                                                               Tradeshow
Finished Goods                                                 $905.05                 $905.05 Warehouse 4        BOX 16 TRX Studio Line Standard shelf

Finished Goods                                                  $90.50                  $90.50 SF TRX Office (HQ) BOX 16 TRX Studio Line Standard shelf
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                               $8,054.91               $8,054.91 Unsellable         BOX 16 TRX Studio Line Standard shelf

Finished Goods                                              $64,258.28             $64,258.28 Ontario Warehouse BOX 16 TRX Studio Line Standard shelf

Finished Goods                                                 $543.03                $543.03 SF TRX Office (HQ) BOX 16 TRX Studio Line Standard Shelf (FLAT BLACK‐35)
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                               $1,176.56               $1,176.56 Unsellable        BOX 16 TRX Studio Line Standard Shelf (FLAT BLACK‐35)

Finished Goods                                               $8,959.96               $8,959.96 Tigers Logistics   BOX 16 TRX Studio Line Standard Shelf (FLAT BLACK‐35)

Finished Goods                                            $153,857.85             $153,857.85 Ontario Warehouse BOX 16 TRX Studio Line Standard Shelf (FLAT BLACK‐35)
                                                                                              Tradeshow
Finished Goods                                                 $683.67               $683.67 Warehouse 1        BOX 16 TRX Studio Line Standard shelf (DEMO)

Finished Goods                                                 $113.95                $113.95 SF TRX Office (HQ) BOX 16 TRX Studio Line Standard shelf (DEMO)
                                                                                              Tradeshow
Finished Goods                                                 $176.03                $176.03 Warehouse 1        BOX 17 TRX Studio Line Ball Shelf
                                                                                              Tradeshow
Finished Goods                                                  $58.68                 $58.68 Warehouse 2        BOX 17 TRX Studio Line Ball Shelf

Finished Goods                                               $9,036.06               $9,036.06 Ontario Warehouse BOX 17 TRX Studio Line Ball Shelf
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                                 $352.05                $352.05 Unsellable         BOX 17 TRX Studio Line Ball Shelf



                                                                                 163 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                             Main Document    Page 196 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                                 Description
                                                                                            Tradeshow
Finished Goods                                               $117.35                $117.35 Warehouse 4           BOX 17 TRX Studio Line Ball Shelf

Finished Goods                                            $16,487.88             $16,487.88 Ontario Warehouse     BOX 17 TRX Studio Line Ball Shelf (FLAT BLACK‐35)
Finished Goods                                             $2,229.68              $2,229.68 Tigers Logistics      BOX 17 TRX Studio Line Ball Shelf (FLAT BLACK‐35)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $293.38               $293.38 Unsellable             BOX 17 TRX Studio Line Ball Shelf (FLAT BLACK‐35)
                                                                                            Tradeshow
Finished Goods                                                $58.68                 $58.68 Warehouse 1           BOX 17 TRX Studio Line Ball Shelf (FLAT BLACK‐35)

Finished Goods                                                $50.71                 $50.71 SF TRX Office (HQ)    BOX 17 TRX Studio Line Ball Shelf (DEMO)
Finished Goods                                               $247.93                $247.93 Tigers Logistics      BOX 18 TRX Studio Line Corner Support Kit
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $123.97                $123.97 Unsellable            BOX 18 TRX Studio Line Corner Support Kit
                                                                                            Tradeshow
Finished Goods                                               $123.97                $123.97 Warehouse 4           BOX 18 TRX Studio Line Corner Support Kit

Finished Goods                                             $3,347.08              $3,347.08 Ontario Warehouse BOX 18 TRX Studio Line Corner Support Kit

Finished Goods                                             $6,818.12              $6,818.12 Ontario Warehouse BOX 18 TRX Studio Line Corner Support Kit (FLAT BLACK‐35)

Finished Goods                                             $1,363.62              $1,363.62 Tigers Logistics     BOX 18 TRX Studio Line Corner Support Kit (FLAT BLACK‐35)
                                                                                            Tradeshow            BOX 19 TRX Studio Line Strap Hanger Rails (SL17‐
Finished Goods                                                $73.61                 $73.61 Warehouse 2          BALLSHELF required)
                                                                                                                 BOX 19 TRX Studio Line Strap Hanger Rails (SL17‐
Finished Goods                                             $4,195.75              $4,195.75    Ontario Warehouse BALLSHELF required)
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐  BOX 19 TRX Studio Line Strap Hanger Rails (FLAT BLACK‐35)
Finished Goods                                               $294.44                $294.44    Unsellable        (SL17‐BALLSHELF‐35 required)
                                                                                                                 BOX 19 TRX Studio Line Strap Hanger Rails (FLAT BLACK‐35)
Finished Goods                                               $294.44                $294.44    Ontario Warehouse (SL17‐BALLSHELF‐35 required)
                                                                                               Tradeshow
Finished Goods                                                $95.13                  $95.13   Warehouse 4       BOX 20 TRX Studio Line Mat Holder


                                                                               164 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 197 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                              Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $475.67                $475.67 Unsellable          BOX 20 TRX Studio Line Mat Holder
                                                                                            Tradeshow
Finished Goods                                                $47.57                 $47.57 Warehouse 2         BOX 20 TRX Studio Line Mat Holder

Finished Goods                                             $5,708.00              $5,708.00 Ontario Warehouse   BOX 20 TRX Studio Line Mat Holder
Finished Goods                                             $1,427.00              $1,427.00 Tigers Logistics    BOX 20 TRX Studio Line Mat Holder (FLAT BLACK‐35)
                                                                                            Tradeshow
Finished Goods                                                $47.57                 $47.57 Warehouse 1         BOX 20 TRX Studio Line Mat Holder (FLAT BLACK‐35)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $47.57                 $47.57 Unsellable          BOX 20 TRX Studio Line Mat Holder (FLAT BLACK‐35)

Finished Goods                                             $4,328.57              $4,328.57 Ontario Warehouse BOX 20 TRX Studio Line Mat Holder (FLAT BLACK‐35)
                                                                                            Tradeshow
Finished Goods                                                $82.31                 $82.31 Warehouse 1       BOX 20 TRX Studio Line Mat Holder (DEMO)

Finished Goods                                             $3,722.75              $3,722.75 Ontario Warehouse BOX 21 TRX Studio Line T‐Bay Foot Kit

Finished Goods                                               $132.96                $132.96 SF TRX Office (HQ) BOX 21 TRX Studio Line T‐Bay Foot Kit
                                                                                            Tradeshow
Finished Goods                                               $132.96                $132.96 Warehouse 4        BOX 21 TRX Studio Line T‐Bay Foot Kit

Finished Goods                                             $1,136.74              $1,136.74 Tigers Logistics    BOX 21 TRX Studio Line T‐Bay Foot Kit (FLAT BLACK‐35)

Finished Goods                                             $7,578.27              $7,578.27 Ontario Warehouse BOX 21 TRX Studio Line T‐Bay Foot Kit (FLAT BLACK‐35)

Finished Goods                                             $8,355.03              $8,355.03 Ontario Warehouse BOX 22 TRX Studio Line Bridge T Arms Kit
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $618.89               $618.89 Unsellable         BOX 22 TRX Studio Line Bridge T Arms Kit
                                                                                                              BOX 22 TRX Studio Line Bridge T‐Bridge Arm Kit (FLAT
Finished Goods                                             $1,701.95              $1,701.95 Tigers Logistics  BLACK‐35)



                                                                               165 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 198 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                           Description
                                                                                                              BOX 22 TRX Studio Line Bridge T‐Bridge Arm Kit (FLAT
Finished Goods                                            $12,223.09             $12,223.09 Ontario Warehouse BLACK‐35)

Finished Goods                                                $82.76                 $82.76 SF TRX Office (HQ) BOX 23 TRX Studio Line Bridge Pull Up Side Rail
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $662.06                $662.06 Unsellable         BOX 23 TRX Studio Line Bridge Pull Up Side Rail
                                                                                            Tradeshow
Finished Goods                                               $165.52                $165.52 Warehouse 4        BOX 23 TRX Studio Line Bridge Pull Up Side Rail

Finished Goods                                            $33,351.28             $33,351.28 Ontario Warehouse BOX 23 TRX Studio Line Bridge Pull Up Side Rail
                                                                                            Tradeshow         BOX 23 TRX Studio Line Bridge Pull Up Side Rail (FLAT
Finished Goods                                               $496.55               $496.55 Warehouse 1        BLACK‐35)
                                                                                                              BOX 23 TRX Studio Line Bridge Pull Up Side Rail (FLAT
Finished Goods                                             $6,620.60              $6,620.60 Tigers Logistics  BLACK‐35)
                                                                                                              BOX 23 TRX Studio Line Bridge Pull Up Side Rail (FLAT
Finished Goods                                            $11,999.84             $11,999.84 Ontario Warehouse BLACK‐35)
                                                                                            Tradeshow
Finished Goods                                               $429.12                $429.12 Warehouse 1       BOX 23 TRX Studio Line Bridge Pull Up Side Rail (DEMO)

Finished Goods                                                $71.52                 $71.52 SF TRX Office (HQ) BOX 23 TRX Studio Line Bridge Pull Up Side Rail (DEMO)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $384.74                $384.74 Unsellable         BOX 24 TRX Studio Line Dip and Step Station

Finished Goods                                             $8,656.70              $8,656.70 Ontario Warehouse BOX 24 TRX Studio Line Dip and Step Station
                                                                                            Tradeshow
Finished Goods                                               $192.37               $192.37 Warehouse 1        BOX 24 TRX Studio Line Dip and Step Station

Finished Goods                                               $195.90                $195.90 SF TRX Office (HQ) BOX 24 TRX Studio Line Dip and Step Station (DEMO)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $131.41                $131.41 Unsellable         BOX 24a TRX Studio Line Accessory Post
Finished Goods                                                $65.70                 $65.70 Tigers Logistics   BOX 24a TRX Studio Line Accessory Post



                                                                               166 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                             Main Document    Page 199 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                              Description

Finished Goods                                            $21,945.19             $21,945.19 Ontario Warehouse BOX 24a TRX Studio Line Accessory Post

Finished Goods                                            $24,967.58             $24,967.58 Ontario Warehouse BOX 24a TRX Studio Line Accessory Post (FLAT BLACK‐35)

Finished Goods                                             $4,007.95              $4,007.95 Tigers Logistics    BOX 24a TRX Studio Line Accessory Post (FLAT BLACK‐35)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $131.41               $131.41 Unsellable           BOX 24a TRX Studio Line Accessory Post (FLAT BLACK‐35)

Finished Goods                                             $4,499.77              $4,499.77 Ontario Warehouse   BOX 24b TRX Studio Line Dip Bars
Finished Goods                                                $84.90                 $84.90 Tigers Logistics    BOX 24b TRX Studio Line Dip Bars
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                              $169.80                $169.80 Unsellable           BOX 24b TRX Studio Line Dip Bars (FLAT BLACK‐35)
Finished Goods                                             $2,292.34              $2,292.34 Tigers Logistics    BOX 24b TRX Studio Line Dip Bars (FLAT BLACK‐35)

Finished Goods                                             $7,046.81              $7,046.81 Ontario Warehouse BOX 24b TRX Studio Line Dip Bars (FLAT BLACK‐35)
Finished Goods                                               $184.76                $184.76 Tigers Logistics  BOX 24c TRX Studio Line Step Up Platform

Finished Goods                                             $6,004.73              $6,004.73 Ontario Warehouse BOX 24c TRX Studio Line Step Up Platform

Finished Goods                                             $2,217.13              $2,217.13 Tigers Logistics    BOX 24c TRX Studio Line Step Up Platform (FLAT BLACK‐35)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $184.76               $184.76 Unsellable           BOX 24c TRX Studio Line Step Up Platform (FLAT BLACK‐35)

Finished Goods                                             $7,852.34              $7,852.34 Ontario Warehouse BOX 24c TRX Studio Line Step Up Platform (FLAT BLACK‐35)

Finished Goods                                               $524.38                $524.38 Ontario Warehouse BOX 24d TRX Studio Line MARPO X8 Bracket
                                                                                                              BOX 24d TRX Studio Line MARPO X8 Bracket (FLAT BLACK‐
Finished Goods                                               $334.74                $334.74 Ontario Warehouse 35)




                                                                               167 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 200 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                              Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $2,114.23              $2,114.23 Unsellable          BOX 25 TRX Studio Line Bay single bar pull up
                                                                                            Tradeshow
Finished Goods                                                $66.07                 $66.07 Warehouse 1         BOX 25 TRX Studio Line Bay single bar pull up
                                                                                            Tradeshow
Finished Goods                                                $66.07                 $66.07 Warehouse 4         BOX 25 TRX Studio Line Bay single bar pull up

Finished Goods                                             $1,717.81              $1,717.81 Ontario Warehouse BOX 25 TRX Studio Line Bay single bar pull up
Finished Goods                                                $99.10                 $99.10 Tigers Logistics   BOX 25 TRX Studio Line Bay single bar pull up
                                                                                                               BOX 25 TRX Studio Line Bay Single Pull Up Bar (FLAT BLACK‐
Finished Goods                                             $4,790.05              $4,790.05 Tigers Logistics   35)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐   BOX 25 TRX Studio Line Bay Single Pull Up Bar (FLAT BLACK‐
Finished Goods                                               $330.35               $330.35 Unsellable          35)
                                                                                                               BOX 25 TRX Studio Line Bay Single Pull Up Bar (FLAT BLACK‐
Finished Goods                                            $40,533.69             $40,533.69 Ontario Warehouse 35)
                                                                                                               BOX 25 TRX Studio Line Bay Single Pull Up Bar (FLAT BLACK‐
Finished Goods                                                $66.07                 $66.07 SF TRX Office (HQ) 35)

Finished Goods                                                $28.55                 $28.55 SF TRX Office (HQ) BOX 25 TRX Studio Line Bay single bar pull up (DEMO)
                                                                                            Tradeshow
Finished Goods                                                $57.10                 $57.10 Warehouse 1        BOX 25 TRX Studio Line Bay single bar pull up (DEMO)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $112.11                $112.11 Unsellable         BOX 26 TRX Studio Line Spacer Kit (for Storage Bays)

Finished Goods                                             $1,494.85              $1,494.85 Ontario Warehouse BOX 26 TRX Studio Line Spacer Kit (for Storage Bays)
                                                                                            Tradeshow
Finished Goods                                               $112.11               $112.11 Warehouse 1        BOX 26 TRX Studio Line Spacer Kit (for Storage Bays)
                                                                                                              BOX 26 TRX Studio Line Spacer Kit (for Storage Bays) (FLAT
Finished Goods                                             $2,597.30              $2,597.30 Ontario Warehouse BLACK‐35)
                                                                                                              BOX 26 TRX Studio Line Spacer Kit (for Storage Bays) (FLAT
Finished Goods                                             $2,242.27              $2,242.27 Tigers Logistics  BLACK‐35)



                                                                               168 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 201 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description

Finished Goods                                               $248.78                $248.78 Tigers Logistics    BOX 27 TRX Studio Line Ladder Washer Plate with Pegs
                                                                                            Tradeshow
Finished Goods                                               $124.39                $124.39 Warehouse 4         BOX 27 TRX Studio Line Ladder Washer Plate with Pegs
                                                                                            Tradeshow
Finished Goods                                               $248.78                $248.78 Warehouse 1         BOX 27 TRX Studio Line Ladder Washer Plate with Pegs

Finished Goods                                            $70,654.70             $70,654.70 Ontario Warehouse BOX 27 TRX Studio Line Ladder Washer Plate with Pegs
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $2,425.65              $2,425.65 Unsellable        BOX 27 TRX Studio Line Ladder Washer Plate with Pegs

Finished Goods                                               $186.59               $186.59 SF TRX Office (HQ) BOX 27 TRX Studio Line Ladder Washer Plate with Pegs
                                                                                            Tradeshow         BOX 27 TRX Studio Line Ladder Washer Plate (FLAT BLACK‐
Finished Goods                                               $124.39               $124.39 Warehouse 1        35)
                                                                                                              BOX 27 TRX Studio Line Ladder Washer Plate (FLAT BLACK‐
Finished Goods                                               $124.39               $124.39 SF TRX Office (HQ) 35)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐  BOX 27 TRX Studio Line Ladder Washer Plate (FLAT BLACK‐
Finished Goods                                               $497.57               $497.57 Unsellable         35)
                                                                                                              BOX 27 TRX Studio Line Ladder Washer Plate (FLAT BLACK‐
Finished Goods                                            $13,247.76             $13,247.76 Tigers Logistics  35)
                                                                                                              BOX 27 TRX Studio Line Ladder Washer Plate (FLAT BLACK‐
Finished Goods                                            $55,914.24             $55,914.24 Ontario Warehouse 35)

Finished Goods                                                $96.31                 $96.31 SF TRX Office (HQ) BOX 27 TRX Studio Line Ladder Washer Plate (DEMO)
                                                                                            Tradeshow
Finished Goods                                               $337.08               $337.08 Warehouse 1         BOX 27 TRX Studio Line Ladder Washer Plate (DEMO)
                                                                                                               BOX 28 TRX Studio Line Bridge to Bay (Bay on Left Side of
Finished Goods                                             $1,092.15              $1,092.15 Ontario Warehouse Bridge)
                                                                                            Tradeshow          BOX 28 TRX Studio Line Bridge to Bay (Bay on Left Side of
Finished Goods                                                $47.48                 $47.48 Warehouse 1        Bridge)
                                                                                                               BOX 28 TRX Studio Line Bridge to Bay (Bay on Left Side of
Finished Goods                                                $47.48                 $47.48 SF TRX Office (HQ) Bridge)
                                                                                                               BOX 29 TRX Studio Line Bridge to Bay (Bay on Right Side of
Finished Goods                                                $47.26                 $47.26 SF TRX Office (HQ) Bridge)


                                                                               169 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 202 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                           Description
                                                                                             Tradeshow        BOX 29 TRX Studio Line Bridge to Bay (Bay on Right Side of
Finished Goods                                                $47.26                  $47.26 Warehouse 1      Bridge)
                                                                                                              BOX 29 TRX Studio Line Bridge to Bay (Bay on Right Side of
Finished Goods                                               $992.39                $992.39 Ontario Warehouse Bridge)
                                                                                                              BOX 29 TRX Studio Line Bridge to Bay (Bay on Right Side of
Finished Goods                                               $102.08                $102.08 Ontario Warehouse Bridge) (FLAT BLACK‐35)
                                                                                            Tradeshow
Finished Goods                                                $36.70                 $36.70 Warehouse 1       BOX 30 TRX Studio Line Bridge Universal Mount

Finished Goods                                             $9,982.74              $9,982.74 Ontario Warehouse BOX 30 TRX Studio Line Bridge Universal Mount

Finished Goods                                             $2,614.65              $2,614.65 Ontario Warehouse BOX 30 TRX Studio Line Bridge Mid Hook (FLAT BLACK‐35)

Finished Goods                                                $34.86                  $34.86 Tigers Logistics   BOX 30 TRX Studio Line Bridge Mid Hook (FLAT BLACK‐35)
                                                                                             Tradeshow
Finished Goods                                                 $0.00                   $0.00 Warehouse 1        BOX 30 TRX Studio Line Bridge Universal Mount (DEMO)

Finished Goods                                               $648.20               $648.20 Ontario Warehouse BOX 31 TRX Studio Line Wall Mount Bracket Kit (2 per kit)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $26.46                 $26.46 Unsellable        BOX 31 TRX Studio Line Wall Mount Bracket Kit (2 per kit)
                                                                                                              BOX 31 TRX Studio Line Wall Mount Bracket Kit (2 per kit)
Finished Goods                                               $443.16               $443.16 Tigers Logistics   (FLAT BLACK‐35)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐  BOX 31 TRX Studio Line Wall Mount Bracket Kit (2 per kit)
Finished Goods                                                 $6.61                  $6.61 Unsellable        (FLAT BLACK‐35)
                                                                                                              BOX 31 TRX Studio Line Wall Mount Bracket Kit (2 per kit)
Finished Goods                                               $833.40               $833.40 Ontario Warehouse (FLAT BLACK‐35)
                                                                                                              BOX 32 TRX Studio Line Elevated Vertical Tube (for
Finished Goods                                               $546.40               $546.40 SF TRX Office (HQ) Elevated Bridges)
                                                                                                              BOX 32 TRX Studio Line Elevated Vertical Tube (for
Finished Goods                                            $14,889.40             $14,889.40 Ontario Warehouse Elevated Bridges)
                                                                                            Tradeshow         BOX 33 TRX Studio Line Elevated Anchor / Hook Kit
Finished Goods                                               $120.74               $120.74 Warehouse 1        (Elevated Extender)
                                                                                                              BOX 33 TRX Studio Line Elevated Anchor / Hook Kit
Finished Goods                                             $8,904.41              $8,904.41 Ontario Warehouse (Elevated Extender)


                                                                               170 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 203 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                              Description
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐   BOX 33 TRX Studio Line Elevated Anchor / Hook Kit
Finished Goods                                                $60.37                  $60.37 Unsellable         (Elevated Extender)
                                                                                             Inventory ‐        BOX 33 TRX Studio Line Elevated Anchor / Hook Kit
Finished Goods                                                $90.55                  $90.55 Manufacturer       (Elevated Extender) (FLAT BLACK‐35)
                                                                                                                BOX 33 TRX Studio Line Elevated Anchor / Hook Kit
Finished Goods                                               $603.69                $603.69   Tigers Logistics  (Elevated Extender) (FLAT BLACK‐35)
                                                                                                                BOX 33 TRX Studio Line Elevated Anchor / Hook Kit
Finished Goods                                             $4,769.14              $4,769.14   Ontario Warehouse (Elevated Extender) (FLAT BLACK‐35)
                                                                                                                BOX 34 TRX Studio Line Elevated Vertical Tube (Additional
Finished Goods                                            $15,256.52             $15,256.52   Ontario Warehouse bolt hole pattern)
                                                                                              Ontario
                                                                                              Warehouse:CS
                                                                                              Returns‐Ontario‐  BOX 34 TRX Studio Line Elevated Vertical Tube (Additional
Finished Goods                                               $331.66                $331.66   Unsellable        bolt hole pattern)
                                                                                              Tradeshow         BOX 34 TRX Studio Line Elevated Vertical Tube (Additional
Finished Goods                                               $331.66                $331.66   Warehouse 1       bolt hole pattern)
                                                                                                                BOX 34 TRX Studio Line Elevated Vertical Tube (Additional
Finished Goods                                            $24,128.52             $24,128.52   Ontario Warehouse bolt hole pattern) (FLAT BLACK‐35)
                                                                                                                BOX 34 TRX Studio Line Elevated Vertical Tube (Additional
Finished Goods                                             $2,487.48              $2,487.48   Tigers Logistics  bolt hole pattern) (FLAT BLACK‐35)

Finished Goods                                               $240.65               $240.65 SF TRX Office (HQ) BOX 35 TRX Studio Line Drawer Assembly
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $2,647.12              $2,647.12 Unsellable        BOX 35 TRX Studio Line Drawer Assembly
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $481.29               $481.29 Unsellable         BOX 35 TRX Studio Line Drawer Assembly (FLAT BLACK‐35)

Finished Goods                                             $9,385.24              $9,385.24 Tigers Logistics     BOX 35 TRX Studio Line Drawer Assembly (FLAT BLACK‐35)

Finished Goods                                            $76,044.54             $76,044.54 Ontario Warehouse BOX 35 TRX Studio Line Drawer Assembly (FLAT BLACK‐35)
                                                                                            Tradeshow
Finished Goods                                                $14.45                 $14.45 Warehouse 1       BOX 36 TRX Studio Line Loop Plate


                                                                               171 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 204 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                              Description
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $43.34                  $43.34 Unsellable          BOX 36 TRX Studio Line Loop Plate

Finished Goods                                                $14.45                  $14.45 SF TRX Office (HQ) BOX 36 TRX Studio Line Loop Plate

Finished Goods                                             $1,430.22              $1,430.22 Ontario Warehouse    BOX 36 TRX Studio Line Loop Plate
                                                                                            Tradeshow
Finished Goods                                                $28.89                 $28.89 Warehouse 4          BOX 36 TRX Studio Line Loop Plate
                                                                                            Tradeshow
Finished Goods                                                $14.45                 $14.45 Warehouse 1          BOX 36 TRX Studio Line Loop Plate (FLAT BLACK‐35)
Finished Goods                                               $794.56                $794.56 Tigers Logistics     BOX 36 TRX Studio Line Loop Plate (FLAT BLACK‐35)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $43.34                 $43.34 Unsellable           BOX 36 TRX Studio Line Loop Plate (FLAT BLACK‐35)

Finished Goods                                             $2,210.33              $2,210.33 Ontario Warehouse BOX 36 TRX Studio Line Loop Plate (FLAT BLACK‐35)

Finished Goods                                             $1,411.17              $1,411.17 Ontario Warehouse BOX 37 TRX Studio Line Land Mine Accessory Attachment

Finished Goods                                                $56.45                  $56.45 Tigers Logistics    BOX 37 TRX Studio Line Land Mine Accessory Attachment

Finished Goods                                                $56.45                 $56.45 SF TRX Office (HQ)   BOX 37 TRX Studio Line Land Mine Accessory Attachment
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $56.45                 $56.45 Unsellable           BOX 37 TRX Studio Line Land Mine Accessory Attachment
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐  BOX 37 TRX Studio Line Land Mine Accessory Attachment
Finished Goods                                               $225.79                $225.79 Unsellable        (FLAT BLACK‐35)
                                                                                                              BOX 37 TRX Studio Line Land Mine Accessory Attachment
Finished Goods                                             $1,806.29              $1,806.29 Tigers Logistics  (FLAT BLACK‐35)
                                                                                                              BOX 37 TRX Studio Line Land Mine Accessory Attachment
Finished Goods                                             $7,676.74              $7,676.74 Ontario Warehouse (FLAT BLACK‐35)



                                                                               172 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 205 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                              Description

Finished Goods                                               $179.80                $179.80 SF TRX Office (HQ) BOX 38 TRX Studio Line Shelf Liner

Finished Goods                                             $7,774.94              $7,774.94 Ontario Warehouse    BOX 38 TRX Studio Line Shelf Liner
                                                                                            Tradeshow
Finished Goods                                                $49.60                 $49.60 Warehouse 1          BOX 38 TRX Studio Line Shelf Liner
Finished Goods                                               $136.40               $136.40 Tigers Logistics      BOX 38 TRX Studio Line Shelf Liner
                                                                                            Tradeshow
Finished Goods                                                 $1.79                  $1.79 Warehouse 1          BOX 38 TRX Studio Line Shelf Liner ‐ DEMO ONLY

Finished Goods                                               $866.68               $866.68 Ontario Warehouse BOX 39 TRX Studio Line Bay Ball Target
                                                                                            Tradeshow
Finished Goods                                                $86.67                 $86.67 Warehouse 1      BOX 39 TRX Studio Line Bay Ball Target
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,126.68              $1,126.68 Unsellable       BOX 39 TRX Studio Line Bay Ball Target

Finished Goods                                                $86.67                  $86.67 SF TRX Office (HQ) BOX 39 TRX Studio Line Bay Ball Target

Finished Goods                                             $1,626.38              $1,626.38 Ontario Warehouse BOX 40 TRX Studio Line Bridge Ball Target
                                                                                            Tradeshow
Finished Goods                                                $95.67                 $95.67 Warehouse 1       BOX 40 TRX Studio Line Bridge Ball Target

Finished Goods                                               $657.05                $657.05 Ontario Warehouse BOX 41 TRX Studio Line Drop Plate LH

Finished Goods                                             $1,018.41              $1,018.41 Tigers Logistics     BOX 41 TRX Studio Line Drop Plate LH (FLAT BLACK‐35)

Finished Goods                                             $1,741.16              $1,741.16 Ontario Warehouse BOX 41 TRX Studio Line Drop Plate LH (FLAT BLACK‐35)

Finished Goods                                             $4,253.56              $4,253.56 Ontario Warehouse BOX 42 TRX Studio Line Drop Plate RH

Finished Goods                                             $1,774.01              $1,774.01 Ontario Warehouse BOX 42 TRX Studio Line Drop Plate RH (FLAT BLACK‐35)

Finished Goods                                             $1,018.41              $1,018.41 Tigers Logistics     BOX 42 TRX Studio Line Drop Plate RH (FLAT BLACK‐35)

Finished Goods                                             $3,907.97              $3,907.97 Ontario Warehouse BOX 43 TRX Studio Line Top Liner for SL35‐DRAWER



                                                                               173 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                             Main Document    Page 206 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                             Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $181.01                $181.01 Unsellable         BOX 44 TRX Studio Line Dumbbell Shelf

Finished Goods                                            $26,698.86             $26,698.86 Ontario Warehouse BOX 44 TRX Studio Line Dumbbell Shelf

Finished Goods                                             $2,896.15              $2,896.15 Tigers Logistics   BOX 44 TRX Studio Line Dumbbell Shelf (FLAT BLACK‐35)

Finished Goods                                            $35,025.29             $35,025.29 Ontario Warehouse BOX 44 TRX Studio Line Dumbbell Shelf (FLAT BLACK‐35)

Finished Goods                                             $1,413.77              $1,413.77 Ontario Warehouse BOX 45 TRX Studio Line Fitness Mat Side Storage
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $628.34               $628.34 Unsellable         BOX 45 TRX Studio Line Fitness Mat Side Storage
                                                                                                              BOX 45 TRX Studio Line Fitness Mat Side Storage (FLAT
Finished Goods                                             $7,225.95              $7,225.95 Ontario Warehouse BLACK‐35)
                                                                                                              BOX 45 TRX Studio Line Fitness Mat Side Storage (FLAT
Finished Goods                                             $1,649.40              $1,649.40 Tigers Logistics  BLACK‐35)

Finished Goods                                             $1,487.83              $1,487.83 Ontario Warehouse BOX 46 TRX Studio Line Med Ball Side Storage
                                                                                                              BOX 46 TRX Studio Line Med Ball Side Storage (FLAT BLACK‐
Finished Goods                                             $3,922.47              $3,922.47 Tigers Logistics  35)
                                                                                                              BOX 46 TRX Studio Line Med Ball Side Storage (FLAT BLACK‐
Finished Goods                                            $17,448.22             $17,448.22 Ontario Warehouse 35)
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐  BOX 46 TRX Studio Line Med Ball Side Storage (FLAT BLACK‐
Finished Goods                                               $270.52               $270.52 Unsellable         35)
                                                                                                              Training Manual ‐ Sports Medicine TRX¨ Suspension
Finished Goods                                             $5,410.63              $5,410.63 Ontario Warehouse Training Course ‐ Single Manual English METRIC
                                                                                                              Training Manual ‐ Sports Medicine TRX¨ Suspension
Finished Goods                                             $2,213.44              $2,213.44 Tigers Logistics  Training Course ‐ Single Manual English METRIC
                                                                                            Tradeshow
Finished Goods                                               $288.00               $288.00 Warehouse 2        Socks TRX Unisex Black L
                                                                                            Tradeshow
Finished Goods                                               $252.00               $252.00 Warehouse 2        Socks TRX Unisex Black M


                                                                               174 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 207 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                              Description
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                 $8.18                   $8.18 Unsellable          Socks TRX Unisex Black S

Finished Goods                                                $12.13                 $12.13 SF TRX Office (HQ)   Socks TRX Unisex XL, 1" Black
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $23.25                 $23.25 Unsellable           Socks TRX Unisex Yellow L
                                                                                            Tradeshow
Finished Goods                                               $224.80                $224.80 Warehouse 2          Socks TRX Unisex Yellow L
                                                                                            Tradeshow
Finished Goods                                               $252.08                $252.08 Warehouse 2          Socks TRX Unisex Yellow M
                                                                                            Tradeshow
Finished Goods                                               $116.09                $116.09 Warehouse 2          Socks TRX Unisex Yellow S

Finished Goods                                               $184.06                $184.06 Ontario Warehouse Socks TRX Unisex XL, 2" Yellow
                                                                                            Tradeshow
Finished Goods                                                $60.02                 $60.02 Warehouse 2       Socks TRX Unisex XL, 2" Yellow

Finished Goods                                                $12.00                 $12.00 SF TRX Office (HQ)   Socks TRX Unisex XL, 2" Yellow
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $8.72                  $8.72 Unsellable           Socks TRX Unisex Black M
                                                                                            Tradeshow
Finished Goods                                                $79.05                 $79.05 Warehouse 2          TRX FORCE Stainless Steel Water Bottle
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,248.68              $1,248.68 Unsellable           TRX MYBYM Stainless Steel Water Bottle
                                                                                            Amazon FBA CA ‐
Finished Goods                                             $2,195.26              $2,195.26 3PL                  TRX MYBYM Stainless Steel Water Bottle
                                                                                            Tradeshow
Finished Goods                                             $7,240.33              $7,240.33 Warehouse 2          TRX MYBYM Stainless Steel Water Bottle
                                                                                            Amazon FBA MX ‐
Finished Goods                                                ‐$40.28               ‐$40.28 3PL                  TRX MYBYM Stainless Steel Water Bottle


                                                                               175 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 208 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description
                                                                                            IFC Integrated
Finished Goods                                              $312.17                $312.17 Fulfillment          TRX MYBYM Stainless Steel Water Bottle
Finished Goods                                             $3,393.59              $3,393.59 Tigers Logistics    TRX MYBYM Stainless Steel Water Bottle

Finished Goods                                            $22,083.51             $22,083.51 Ontario Warehouse TRX MYBYM Stainless Steel Water Bottle

Finished Goods                                                $40.28                 $40.28 Tigers‐UK Thurrock TRX MYBYM Stainless Steel Water Bottle
                                                                                            Tradeshow
Finished Goods                                               $473.29                $473.29 Warehouse 1        TRX MYBYM Stainless Steel Water Bottle

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                                $60.42                 $60.42 TRX Office (HQ)   TRX MYBYM Stainless Steel Water Bottle
Finished Goods                                             $8,176.84              $8,176.84 Amazon FBA ‐ 3PL TRX MYBYM Stainless Steel Water Bottle
                                                                                            Amazon FBA
Finished Goods                                             $2,175.12              $2,175.12 Returns‐Unusable TRX MYBYM Stainless Steel Water Bottle

Finished Goods                                               $289.17                $289.17 Ontario Warehouse Black 3x1 ST patch TRX Core
                                                                                                              Yellow 4x1 ST patch with black TRX Core logo and white
Finished Goods                                               $389.94                $389.94 Ontario Warehouse stripes

Finished Goods                                               $299.88                $299.88 Ontario Warehouse Yellow 3x1 ST patch TRX Core

Finished Goods                                               $355.77                $355.77 Ontario Warehouse Black 4x1 ST patch TRX ELITE

Finished Goods                                               $321.60                $321.60 Ontario Warehouse Black and tan 4x1 ST patch TRX ELITE

Finished Goods                                               $281.52                $281.52 Ontario Warehouse Yellow 3x1 ST patch TRX ELITE

Finished Goods                                               $377.88                $377.88 Ontario Warehouse Black 4x1 ST patch TTC

Finished Goods                                               $301.41                $301.41 Ontario Warehouse Black 3x1 ST patch TTC curved logo

Finished Goods                                               $298.35                $298.35 Ontario Warehouse Black/yellow 3x1 ST patch TTC Est 2021

Finished Goods                                               $385.92                $385.92 Ontario Warehouse Multi 4x1 ST patch TTC

Finished Goods                                               $295.29                $295.29 Ontario Warehouse Yellow 3x1 ST patch with black TRX logo in circle


                                                                               176 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 209 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                              Description

Finished Goods                                               $289.17                $289.17 Ontario Warehouse Yellow 3x1 ST patch with faded black TRX logo

Finished Goods                                               $373.86                $373.86 Ontario Warehouse Yellow 4x1 ST patch with black TRX logo in black rain

Finished Goods                                               $381.90               $381.90 Ontario Warehouse Yellow 4x1 ST patch with black TRX logo and white stripes
                                                                                            Tradeshow         Training Manual‐TRX Suspension Training Course‐Single
Finished Goods                                                 $3.50                  $3.50 Warehouse 2       Manual‐English‐V3
                                                                                                              Training Manual ‐ TRX® Suspension Training Course ‐ Single
Finished Goods                                             $6,044.22              $6,044.22 Tigers Logistics  Manual ‐ French
Finished Goods                                                 $0.00                  $0.00 Tigers Logistics
                                                                                                              Training Manual ‐ TRX® Suspension Training Course ‐ Single
Finished Goods                                             $4,840.32              $4,840.32 Tigers Logistics  Manual ‐ German V2 METRIC
                                                                                                              Training Manual ‐ TRX® Suspension Training Course ‐ Single
Finished Goods                                             $6,332.00              $6,332.00 Ontario Warehouse Manual ‐ Italian
                                                                                                              Training Manual ‐ TRX® Suspension Training Course ‐ Single
Finished Goods                                             $3,815.97              $3,815.97 Tigers Logistics  Manual ‐ Italian
                                                                                                              Training Manual ‐ TRX® Suspension Training Course ‐ Single
Finished Goods                                             $3,095.82              $3,095.82 Ontario Warehouse Manual Portuguese
                                                                                                              Training Manual ‐ TRX¨ Suspension Training Course ‐ Single
Finished Goods                                                 $0.00                  $0.00 Tigers Logistics  Manual ‐ Russian
                                                                                                              Training Manual ‐ TRX® Suspension Training Course Single
Finished Goods                                             $4,728.15              $4,728.15 Ontario Warehouse Manual ‐ Spanish
                                                                                                              Training Manual ‐ TRX® Suspension Training Course ‐ Single
Finished Goods                                             $1,422.72              $1,422.72 Tigers Logistics  Manual ‐ Spanish METRIC
                                                                                                              Training Manual ‐ TRX Suspension Training Course 2015 ‐
Finished Goods                                                $31.46                 $31.46 Tigers Logistics  Single Manual ‐ English
                                                                                                              Training Manual ‐ TRX Suspension Training Course 2015 ‐
Finished Goods                                             $1,919.26              $1,919.26 Ontario Warehouse Single Manual ‐ English
                                                                                                              Training Manual ‐ TRX Suspension Training Course 2015 ‐
Finished Goods                                             $3,171.88              $3,171.88 Tigers Logistics  Single Manual ‐ Russian
                                                                                                              Training Manual ‐ TRX Suspension Training Course 2015 ‐
Finished Goods                                             $2,208.71              $2,208.71 Tigers Logistics  Single Manual ‐ Spanish
                                                                                                              Training Manual ‐ TRX Suspension Training Course 2015 ‐
Finished Goods                                             $4,131.40              $4,131.40 Ontario Warehouse Single Manual ‐ Spanish

Finished Goods                                               $500.00                $500.00 SF TRX Office (HQ) Yellow Block logo ‐ 3" x 3"



                                                                               177 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 210 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                            Description
                                                                                                               Black Bag w/ yellow TRX block logo. TRX text logo laser
Finished Goods                                             $1,033.50              $1,033.50 SF TRX Office (HQ) engraved on straw

Finished Goods                                                 $2.00                   $2.00 SF TRX Office (HQ) TRX Essentials: Strength
                                                                                             Tradeshow
Finished Goods                                                $15.96                  $15.96 Warehouse 2        TRX Essentials: Strength

Finished Goods                                             $1,628.73              $1,628.73 Ontario Warehouse Box sleeve for TRX Strong Kit **Not for individual resale
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $386.40               $386.40 Unsellable         TRX Suspension Training Banner

Finished Goods                                               $127.50                $127.50 SF TRX Office (HQ) Gradient Sunglasses, black

Finished Goods                                               $140.25                $140.25 SF TRX Office (HQ) Gradient Sunglasses, yellow

Finished Goods                                               $288.74                $288.74 SF TRX Office (HQ) Sunscreen with Carabiner
                                                                                            Tradeshow
Finished Goods                                               $161.38                $161.38 Warehouse 2        TRX Education: Trainer Basics DVD

Finished Goods                                                 $2.15                  $2.15 SF TRX Office (HQ) TRX Education: Trainer Basics DVD
                                                                                                               RWB TRXPRO4‐DIGICAM 2021 Promotion ‐ Sticker Only
Finished Goods                                               $350.00                $350.00 Ontario Warehouse (1.75"x1")

Finished Goods                                             $1,754.72              $1,754.72 Ontario Warehouse Tech Taco Cord Organizer (#2070)
                                                                                            Tradeshow
Finished Goods                                                 $3.12                  $3.12 Warehouse 2       TRX Performance: Tennis

Finished Goods                                                 $1.04                   $1.04 SF TRX Office (HQ) TRX Performance: Tennis

Finished Goods                                                $10.38                  $10.38 SF TRX Office (HQ) TRX Performance: Team Sports
                                                                                             Tradeshow
Finished Goods                                                $53.97                  $53.97 Warehouse 2        TRX Performance: Team Sports

Finished Goods                                             $3,500.00              $3,500.00 Ontario Warehouse TRX Thick Grips‐ set of 2

Finished Goods                                                $10.06                  $10.06 SF TRX Office (HQ) TRX Performance: Train Like the Pros


                                                                               178 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                             Main Document    Page 211 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                                 Description
                                                                                            Tradeshow
Finished Goods                                                $46.30                 $46.30 Warehouse 2       TRX Performance: Train Like the Pros
                                                                                            Tradeshow         White with black TRX text logo ‐ 15" x 13"
Finished Goods                                               $540.00                $540.00 Warehouse 1       100% Cotton (350gsm)
                                                                                                              White with black TRX text logo ‐ 15" x 13"
Finished Goods                                             $5,736.00              $5,736.00 Ontario Warehouse 100% Cotton (350gsm)

Finished Goods                                                $15.59                  $15.59 SF TRX Office (HQ) Titleist TRX Golf Workout DVD

Finished Goods                                               $242.08                $242.08 Ontario Warehouse Tri fold Insert (19.5" x 8.5", 6.5" x 8.5")

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                                 $3.56                  $3.56 TRX Office (HQ)   Tri fold Insert (19.5" x 8.5", 6.5" x 8.5")
                                                                                                              Pouch Sleeve (4.5" x 17" flat size, 4.5" x 7")(Sleeve to wrap
Finished Goods                                               $250.98                $250.98 Ontario Warehouse around zipper pouch 7" x 9")

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF Pouch Sleeve (4.5" x 17" flat size, 4.5" x 7")(Sleeve to wrap
Finished Goods                                                 $3.56                   $3.56 TRX Office (HQ)   around zipper pouch 7" x 9")

Finished Goods                                                $18.00                  $18.00 SF TRX Office (HQ) 8oz. Travel Mug
                                                                                             Tradeshow
Finished Goods                                                 $4.86                   $4.86 Warehouse 1        Plastic Bandit set of 2 handles

Finished Goods                                                $95.92                  $95.92 Tigers‐UK Thurrock Plastic Bandit set of 2 handles
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $10.93                  $10.93 Unsellable         Plastic Bandit set of 2 handles

Finished Goods                                            $21,378.38             $21,378.38 Ontario Warehouse Plastic Bandit set of 2 handles
                                                                                            Amazon FBA
Finished Goods                                                $55.95                 $55.95 Returns‐Unusable Plastic Bandit set of 2 handles
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $468.56               $468.56 Unsellable         Plastic Bandit set of 2 handles


                                                                               179 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 212 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                                Description
                                                                                            Quarantined
Finished Goods                                             $2,685.46              $2,685.46 Inventory           Plastic Bandit set of 2 handles
Finished Goods                                                 $0.00                  $0.00 Amazon FBA ‐ 3PL    Plastic Bandit set of 2 handles

Finished Goods                                             $3,734.46              $3,734.46 Ontario Warehouse Plastic Bandit set of 2 handles
                                                                                            Tradeshow
Finished Goods                                                $48.95                 $48.95 Warehouse 1       Plastic Bandit set of 2 handles

Finished Goods                                               $398.62                $398.62 Tigers‐UK Thurrock Plastic Bandit set of 2 handles
                                                                                            Amazon FBA CA ‐
Finished Goods                                               $146.86                $146.86 3PL                Plastic Bandit set of 2 handles

Finished Goods                                            $32,239.48             $32,239.48 Ontario Warehouse Plastic Bandit V2 ‐ pair of 2 handles w/Character Packaging
                                                                                                               Plastic Bandit Kit ‐ 2 handles and 4 Bands‐ (2) 5/15, (2)
Finished Goods                                            $34,483.37             $34,483.37 Ontario Warehouse 15/30
                                                                                            Amazon FBA CA ‐ Plastic Bandit Kit ‐ 2 handles and 4 Bands‐ (2) 5/15, (2)
Finished Goods                                                ‐$34.73               ‐$34.73 3PL                15/30
                                                                                                               Plastic Bandit Kit ‐ 2 handles and 4 Bands‐ (2) 5/15, (2)
Finished Goods                                            $10,400.57             $10,400.57 Amazon FBA ‐ 3PL 15/30
                                                                                            Amazon FBA MX ‐ Plastic Bandit Kit ‐ 2 handles and 4 Bands‐ (2) 5/15, (2)
Finished Goods                                               $381.99               $381.99 3PL                 15/30
                                                                                            Tradeshow          Plastic Bandit Kit ‐ 2 handles and 4 Bands‐ (2) 5/15, (2)
Finished Goods                                                $52.09                 $52.09 Warehouse 1        15/30
                                                                                            Quarantined        Plastic Bandit Kit ‐ 2 handles and 4 Bands‐ (2) 5/15, (2)
Finished Goods                                            $41,480.76             $41,480.76 Inventory          15/30
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐   Plastic Bandit Kit ‐ 2 handles and 4 Bands‐ (2) 5/15, (2)
Finished Goods                                             $2,222.49              $2,222.49 Unsellable         15/30
                                                                                            IFC Integrated     Plastic Bandit Kit ‐ 2 handles and 4 Bands‐ (2) 5/15, (2)
Finished Goods                                                $17.36                 $17.36 Fulfillment        15/30
                                                                                            Amazon FBA         Plastic Bandit Kit ‐ 2 handles and 4 Bands‐ (2) 5/15, (2)
Finished Goods                                               $329.90               $329.90 Returns‐Unusable 15/30
                                                                                                               Plastic Bandit Kit ‐ 2 handles and 4 Bands‐ (2) 5/15, (2)
Finished Goods                                             $4,444.99              $4,444.99 Tigers‐UK Thurrock 15/30
                                                                                                               4‐sided Aluminum Barbell Collar with laser engraved logo
Finished Goods                                             $4,516.19              $4,516.19 Ontario Warehouse on 3 sides (set of 2)



                                                                               180 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 213 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest          Location                             Description
                                                                                                                 4‐sided Aluminum Barbell Collar with laser engraved logo
Finished Goods                                             $1,510.43              $1,510.43   Tigers Logistics   on 3 sides (set of 2)
                                                                                                                 Wax strap bracelet with matte black metal ring with gold
Finished Goods                                             $1,616.80              $1,616.80   Ontario Warehouse writing on both sides
                                                                                              Tradeshow          Wax strap bracelet with matte black metal ring with gold
Finished Goods                                               $340.56                $340.56   Warehouse 1        writing on both sides
                                                                                                                 Wax strap bracelet with matte black metal ring with gold
Finished Goods                                             $1,424.16              $1,424.16   SF TRX Office (HQ) writing on both sides
                                                                                              Ontario
                                                                                              Warehouse:CS
                                                                                              Returns‐Ontario‐
Finished Goods                                               $162.51                $162.51   Unsellable         ER STR Band 15/30

Finished Goods                                            $84,642.82             $84,642.82 Ontario Warehouse    ER STR Band 15/30
                                                                                            Inventory ‐
Finished Goods                                               $286.78               $286.78 Manufacturer          ER STR Band 15/30
                                                                                            Quarantined
Finished Goods                                             $5,200.26              $5,200.26 Inventory            ER STR Band 15/30
Finished Goods                                              $286.78                $286.78 Tigers Logistics      ER STR Band 15/30
                                                                                            Tradeshow
Finished Goods                                                $90.81                 $90.81 Warehouse 1          ER STR Band 15/30
                                                                                            Amazon FBA
Finished Goods                                                $51.73                 $51.73 Returns‐Unusable     TRX Strength ER Band 15lb/30lb ‐ w/retail packaging

Finished Goods                                            $19,745.14             $19,745.14 Ontario Warehouse TRX Strength ER Band 15lb/30lb ‐ w/retail packaging
Finished Goods                                             $1,921.31              $1,921.31 Amazon FBA ‐ 3PL TRX Strength ER Band 15lb/30lb ‐ w/retail packaging
                                                                                            Quarantined
Finished Goods                                             $6,182.41              $6,182.41 Inventory         ER STR Band 25/50

Finished Goods                                               $329.19                $329.19 Tigers‐UK Thurrock ER STR Band 25/50

Finished Goods                                                $56.20                 $56.20 Ontario Warehouse ER STR Band 25/50
Finished Goods                                             $9,040.77              $9,040.77 Tigers Logistics  ER STR Band 25/50
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $224.81               $224.81 Unsellable         ER STR Band 25/50



                                                                               181 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 214 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                              Description
                                                                                            Tradeshow
Finished Goods                                                $48.17                 $48.17 Warehouse 1         ER STR Band 25/50
Finished Goods                                               $117.22                $117.22 Amazon FBA ‐ 3PL    TRX Strength ER Band 25lb/50lb ‐ w/retail packaging

Finished Goods                                            $16,118.09             $16,118.09 Ontario Warehouse   TRX Strength ER Band 25lb/50lb ‐ w/retail packaging
                                                                                            Quarantined
Finished Goods                                             $4,501.34              $4,501.34 Inventory           TRX Strength ER Band 25lb/50lb ‐ w/retail packaging
                                                                                            Amazon FBA
Finished Goods                                                $58.61                 $58.61 Returns‐Unusable    TRX Strength ER Band 25lb/50lb ‐ w/retail packaging
                                                                                            Quarantined
Finished Goods                                            $15,062.53             $15,062.53 Inventory           ER STR Band 35/70
Finished Goods                                             $3,254.18              $3,254.18 Tigers Logistics    ER STR Band 35/70

Finished Goods                                               $233.20                $233.20 Ontario Warehouse ER STR Band 35/70
                                                                                            Tradeshow
Finished Goods                                               $127.20                $127.20 Warehouse 1       ER STR Band 35/70

Finished Goods                                               $848.00               $848.00 Tigers‐UK Thurrock   ER STR Band 35/70
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                              $360.40                $360.40 Unsellable           ER STR Band 35/70
Finished Goods                                             $1,057.69              $1,057.69 Amazon FBA ‐ 3PL    TRX Strength ER Band 35lb/70lb ‐ w/retail packaging
                                                                                            Quarantined
Finished Goods                                             $5,488.55              $5,488.55 Inventory           TRX Strength ER Band 35lb/70lb ‐ w/retail packaging

Finished Goods                                             $3,244.53              $3,244.53 Ontario Warehouse TRX Strength ER Band 35lb/70lb ‐ w/retail packaging
                                                                                            Amazon FBA
Finished Goods                                              $114.34                $114.34 Returns‐Unusable TRX Strength ER Band 35lb/70lb ‐ w/retail packaging
Finished Goods                                             $3,050.46              $3,050.46 Tigers Logistics  ER STR Band 45/110

Finished Goods                                             $3,176.40              $3,176.40 Ontario Warehouse ER STR Band 45/110
                                                                                            Tradeshow
Finished Goods                                               $195.90               $195.90 Warehouse 1        ER STR Band 45/110
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $433.78               $433.78 Unsellable         ER STR Band 45/110


                                                                               182 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 215 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                              Description
                                                                                            Quarantined
Finished Goods                                            $18,666.60             $18,666.60 Inventory           ER STR Band 45/110

Finished Goods                                             $1,259.37              $1,259.37 Tigers‐UK Thurrock ER STR Band 45/110
Finished Goods                                             $1,432.57              $1,432.57 Amazon FBA ‐ 3PL TRX Strength ER Band 45lb/110lb ‐ w/retail packaging

Finished Goods                                             $2,122.33              $2,122.33 Ontario Warehouse TRX Strength ER Band 45lb/110lb ‐ w/retail packaging
                                                                                            Quarantined
Finished Goods                                             $6,791.46              $6,791.46 Inventory         TRX Strength ER Band 45lb/110lb ‐ w/retail packaging
                                                                                            Amazon FBA
Finished Goods                                               $106.12               $106.12 Returns‐Unusable TRX Strength ER Band 45lb/110lb ‐ w/retail packaging

Finished Goods                                            $50,939.85             $50,939.85 Ontario Warehouse   ER STR Band 5/15
                                                                                            Tradeshow
Finished Goods                                                $68.19                 $68.19 Warehouse 1         ER STR Band 5/15
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $136.38               $136.38 Unsellable           ER STR Band 5/15
                                                                                            Quarantined
Finished Goods                                               $640.97               $640.97 Inventory            ER STR Band 5/15
                                                                                            Inventory ‐
Finished Goods                                               $204.56               $204.56 Manufacturer         ER STR Band 5/15

Finished Goods                                             $2,226.34              $2,226.34 Tigers‐UK Thurrock ER STR Band 5/15
Finished Goods                                              $722.79                $722.79 Tigers Logistics    ER STR Band 5/15

Finished Goods                                            $25,710.29             $25,710.29 Ontario Warehouse   TRX Strength ER Band 5lb/15lb ‐ w/retail packaging
Finished Goods                                              $978.50                 $978.50 Amazon FBA ‐ 3PL    TRX Strength ER Band 5lb/15lb ‐ w/retail packaging
                                                                                            Amazon FBA
Finished Goods                                                $23.87                 $23.87 Returns‐Unusable    TRX Strength ER Band 5lb/15lb ‐ w/retail packaging
                                                                                            Quarantined
Finished Goods                                             $5,426.83              $5,426.83 Inventory           ER STR Band 60/150
                                                                                            Tradeshow
Finished Goods                                               $267.52               $267.52 Warehouse 1          ER STR Band 60/150




                                                                               183 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                        Desc
                                                             Main Document    Page 216 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                           Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                              $401.28                $401.28 Unsellable          ER STR Band 60/150
Finished Goods                                             $3,286.67              $3,286.67 Tigers Logistics   ER STR Band 60/150

Finished Goods                                             $2,445.89              $2,445.89 Tigers‐UK Thurrock ER STR Band 60/150

Finished Goods                                            $16,796.42             $16,796.42 Ontario Warehouse ER STR Band 60/150

Finished Goods                                             $4,628.75              $4,628.75 Ontario Warehouse TRX Strength ER Band 60lb/150lb ‐ w/retail packaging
                                                                                            Amazon FBA
Finished Goods                                               $136.81               $136.81 Returns‐Unusable TRX Strength ER Band 60lb/150lb ‐ w/retail packaging
Finished Goods                                               $456.03               $456.03 Amazon FBA ‐ 3PL TRX Strength ER Band 60lb/150lb ‐ w/retail packaging
                                                                                                              Box for TRX‐ER‐BAND‐25/50 (RETAIL) *Not for individual
Finished Goods                                               $668.91               $668.91 Ontario Warehouse resale
                                                                                                              Box for TRX‐ER‐BAND‐35/70 (RETAIL) *Not for individual
Finished Goods                                             $1,891.87              $1,891.87 Ontario Warehouse resale
                                                                                                              Box for TRX‐ER‐BAND‐5/15 (RETAIL) *Not for individual
Finished Goods                                               $243.20               $243.20 Ontario Warehouse resale
                                                                                                              Box for TRX‐ER‐BAND‐60/150 (RETAIL) *Not for individual
Finished Goods                                               $675.67               $675.67 Ontario Warehouse resale

Finished Goods                                             $7,958.27              $7,958.27 Tigers Logistics   TRX Strength ER Fabric BANDS(3pc) Light/Medium/Heavy

Finished Goods                                             $5,038.61              $5,038.61 Ontario Warehouse TRX Strength ER Fabric BANDS(3pc) Light/Medium/Heavy

Finished Goods                                               $810.47               $810.47 Tigers‐UK Thurrock TRX Strength ER Fabric BANDS(3pc) Light/Medium/Heavy
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $29.29                 $29.29 Unsellable        TRX Strength ER Fabric BANDS(3pc) Light/Medium/Heavy
                                                                                                              Box for TRX‐ER‐FBAND‐SET (RETAIL) *Not for individual
Finished Goods                                               $406.00               $406.00 Ontario Warehouse resale
                                                                                                              TRX Strength ER Fabric BANDS(3pc) Light/Medium/Heavy ‐
Finished Goods                                             $1,030.78              $1,030.78 Amazon FBA ‐ 3PL w/retail packaging
                                                                                                              TRX Strength ER Fabric BANDS(3pc) Light/Medium/Heavy ‐
Finished Goods                                            $18,428.35             $18,428.35 Tigers Logistics  w/retail packaging


                                                                               184 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 217 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                              Description
                                                                                                               TRX Strength ER Fabric BANDS(3pc)     Light/Medium/Heavy ‐
Finished Goods                                             $4,462.53              $4,462.53 Ontario Warehouse w/retail packaging
                                                                                                               TRX Strength ER Fabric BANDS(3pc)     Light/Medium/Heavy ‐
Finished Goods                                             $9,528.44              $9,528.44 Tigers‐UK Thurrock w/retail packaging
                                                                                            IFC Integrated     TRX Strength ER Fabric BANDS(3pc)     Light/Medium/Heavy ‐
Finished Goods                                               $226.27               $226.27 Fulfillment         w/retail packaging
                                                                                            Amazon FBA         TRX Strength ER Fabric BANDS(3pc)     Light/Medium/Heavy ‐
Finished Goods                                                $37.71                 $37.71 Returns‐Unusable w/retail packaging
                                                                                            Amazon FBA CA ‐ TRX Strength ER Fabric BANDS(3pc)        Light/Medium/Heavy ‐
Finished Goods                                                ‐$12.57               ‐$12.57 3PL                w/retail packaging
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $12.17                 $12.17 Unsellable         ER 12" Mini Band 10/25

Finished Goods                                             $2,209.65              $2,209.65 Tigers‐UK Thurrock ER 12" Mini Band 10/25
Finished Goods                                             $9,830.80              $9,830.80 Tigers Logistics   ER 12" Mini Band 10/25

Finished Goods                                             $1,074.39              $1,074.39 Ontario Warehouse ER 12" Mini Band 10/25
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $35.77                 $35.77 Unsellable        ER 12" Mini Band 2/8
Finished Goods                                             $4,803.06              $4,803.06 Tigers Logistics  ER 12" Mini Band 2/8

Finished Goods                                               $628.49                $628.49 Ontario Warehouse ER 12" Mini Band 2/8

Finished Goods                                             $2,143.49              $2,143.49 Tigers‐UK Thurrock ER 12" Mini Band 2/8
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $11.06                 $11.06 Unsellable         ER 12" Mini Band 5/12
Finished Goods                                             $6,445.20              $6,445.20 Tigers Logistics   ER 12" Mini Band 5/12

Finished Goods                                             $2,085.70              $2,085.70 Ontario Warehouse ER 12" Mini Band 5/12

Finished Goods                                               $290.45                $290.45 Tigers‐UK Thurrock ER 12" Mini Band 5/12



                                                                               185 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 218 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                              Description

Finished Goods                                             $3,068.46              $3,068.46 Tigers‐UK Thurrock ER 12" Mini Band 6/17
Finished Goods                                             $8,719.62              $8,719.62 Tigers Logistics   ER 12" Mini Band 6/17

Finished Goods                                             $3,373.20              $3,373.20 Ontario Warehouse   ER 12" Mini Band 6/17
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $3.02                  $3.02 Unsellable          ER 12" Mini Band 6/17
                                                                                            Amazon FBA          Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                               $112.04               $112.04 Returns‐Unusable     Minibands) ‐ Retail Box included
                                                                                            Tradeshow           Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                                 $5.90                  $5.90 Warehouse 1         Minibands) ‐ Retail Box included
                                                                                                                Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                            $11,723.14             $11,723.14 Tigers Logistics    Minibands) ‐ Retail Box included
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐  Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                                $58.97                 $58.97 Unsellable        Minibands) ‐ Retail Box included
                                                                                                              Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                               $595.59                $595.59 Amazon FBA ‐ 3PL Minibands) ‐ Retail Box included
                                                                                                              Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                           $141,408.86            $141,408.86 Ontario Warehouse Minibands) ‐ Retail Box included
                                                                                            IFC Integrated    Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                               $566.11               $566.11 Fulfillment        Minibands) ‐ Retail Box included
                                                                                            Tradeshow         Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                                $10.90                 $10.90 Warehouse 1       Minibands) ‐ Polybagged
                                                                                            Amazon FBA        Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                             $1,160.38              $1,160.38 Returns‐Unusable Minibands) ‐ Polybagged
                                                                                            Amazon FBA MX ‐ Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                                ‐$38.13               ‐$38.13 3PL               Minibands) ‐ Polybagged
                                                                                            Amazon FBA CA ‐ Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                                ‐$49.03               ‐$49.03 3PL               Minibands) ‐ Polybagged
                                                                                            Quarantined       Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                             $1,002.40              $1,002.40 Inventory         Minibands) ‐ Polybagged
                                                                                                              Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                            $62,818.70             $62,818.70 Ontario Warehouse Minibands) ‐ Polybagged



                                                                               186 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                             Main Document    Page 219 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest          Location                              Description
                                                                                                                  Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                            $32,686.86             $32,686.86 Tigers Logistics      Minibands) ‐ Polybagged
                                                                                                                  Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                             $1,656.13              $1,656.13 Amazon FBA ‐ 3PL      Minibands) ‐ Polybagged
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐    Miniband Bundle Pack ‐ (1) units of each weight (4 total
Finished Goods                                               $272.39               $272.39 Unsellable           Minibands) ‐ Polybagged
                                                                                                                Box for TRX‐ER‐MNBD‐BDL (RETAIL) *Not for individual
Finished Goods                                             $5,332.23              $5,332.23   Ontario Warehouse resale
                                                                                              Ontario
                                                                                              Warehouse:CS
                                                                                              Returns‐Ontario‐
Finished Goods                                               $311.80                $311.80   Unsellable        TRX Door Hinge Anchor
                                                                                              Amazon FBA
Finished Goods                                               $130.76                $130.76   Returns‐Unusable TRX Door Hinge Anchor
Finished Goods                                               $895.17                $895.17   Amazon FBA ‐ 3PL TRX Door Hinge Anchor

Finished Goods                                            $16,002.44             $16,002.44 Ontario Warehouse TRX Door Hinge Anchor
                                                                                            Tradeshow         Evans 8195 Prevail Drawstring backpack, black, 2 colour
Finished Goods                                             $1,185.00              $1,185.00 Warehouse 1       single‐sided

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $57.39                  $57.39 TRX Office (HQ)   BB‐SPOPS, Big Bertha – Special Ops 40oz/1.2L

Finished Goods                                               $229.55               $229.55 Tigers‐UK Thurrock BB‐SPOPS, Big Bertha – Special Ops 40oz/1.2L
                                                                                            Tradeshow
Finished Goods                                             $2,869.34              $2,869.34 Warehouse 1       BB‐SPOPS, Big Bertha – Special Ops 40oz/1.2L

Finished Goods                                               $889.50                $889.50 Ontario Warehouse BB‐SPOPS, Big Bertha – Special Ops 40oz/1.2L

Finished Goods                                               $388.05                $388.05 Ontario Warehouse Black 2x3 patch TRX Core
                                                                                                              Yellow 2x3 patch with black TRX Core logo and white
Finished Goods                                               $390.04                $390.04 Ontario Warehouse stripes

Finished Goods                                               $392.03                $392.03 Ontario Warehouse Yellow 2x3 patch TRX Core



                                                                               187 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 220 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description

Finished Goods                                               $296.51                $296.51 Ontario Warehouse Black 2x3 patch TRX ELITE

Finished Goods                                               $304.47                $304.47 Ontario Warehouse Black and tan 2x3 patch TRX ELITE

Finished Goods                                               $358.20                $358.20 Ontario Warehouse Yellow 2x3 patch TRX ELITE

Finished Goods                                             $1,286.40              $1,286.40 Ontario Warehouse Sports Illustrated ST Patch 1x4
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                  $1.34                 $1.34 Unsellable        Sports Illustrated ST Patch 1x4

Finished Goods                                               $302.48                $302.48 Ontario Warehouse Black 2x3 patch TTC

Finished Goods                                               $394.02                $394.02 Ontario Warehouse Black 2x3 patch TTC New Member

Finished Goods                                               $374.12                $374.12 Ontario Warehouse Black 2x3 patch TTC curved logo

Finished Goods                                               $394.02                $394.02 Ontario Warehouse Black/yellow 2x3 patch TTC Est 2021

Finished Goods                                               $392.03                $392.03 Ontario Warehouse Multi 2x3 patch TTC

Finished Goods                                               $396.01                $396.01 Ontario Warehouse Yellow 2x3 patch TTC New Member

Finished Goods                                                  $0.00                  $0.00 Ontario Warehouse TRX ‐ USA Flag 2x3 patch

Finished Goods                                               $370.14                $370.14 Ontario Warehouse Yellow 2x3 patch with black TRX logo in circle

Finished Goods                                               $370.14                $370.14 Ontario Warehouse Yellow 2x3 patch with faded black TRX logo

Finished Goods                                               $376.11                $376.11 Ontario Warehouse Yellow 2x3 patch with black TRX logo in black rain

Finished Goods                                               $362.18                $362.18 Ontario Warehouse Yellow 2x3 patch with black TRX logo and white stripes

Finished Goods                                             $3,493.03              $3,493.03 Tigers‐UK Thurrock TRX PLYOCUBE Foam 20x24x30
                                                                                            Tradeshow
Finished Goods                                               $174.65               $174.65 Warehouse 1         TRX PLYOCUBE Foam 20x24x30


                                                                               188 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 221 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                                Description

Finished Goods                                            $22,355.39             $22,355.39 Ontario Warehouse    TRX PLYOCUBE Foam 20x24x30
Finished Goods                                            $11,177.70             $11,177.70 Tigers Logistics     TRX PLYOCUBE Foam 20x24x30
                                                                                            TTC‐ TRX Training
Finished Goods                                               $368.00               $368.00 Center                16oz. Clear Double Wall Acrylic Tumbler
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,239.83              $1,239.83 Unsellable           TRX Suspension training mat 72 x 24
                                                                                            Tradeshow
Finished Goods                                               $892.67               $892.67 Warehouse 1           TRX Suspension training mat 72 x 24

Finished Goods                                             $1,223.29              $1,223.29 Ontario Warehouse TRX Suspension training mat 72 x 24

Finished Goods                                             $9,373.08              $9,373.08 Tigers‐UK Thurrock   TRX Suspension training mat 72 x 24
Finished Goods                                            $30,979.09             $30,979.09 Tigers Logistics     TRX Suspension training mat 72 x 24
                                                                                            Quarantined
Finished Goods                                             $3,041.70              $3,041.70 Inventory            TRX Suspension training mat 72 x 24
Finished Goods                                            $17,567.78             $17,567.78 Tigers Logistics     TRX Suspension training mat 72 x 24 ‐ Retail ready
Finished Goods                                              $923.74                 $923.74 Amazon FBA ‐ 3PL     TRX Suspension training mat 72 x 24 ‐ Retail ready

Finished Goods                                            $47,530.42             $47,530.42 Ontario Warehouse    TRX Suspension training mat 72 x 24 ‐ Retail ready
                                                                                            Amazon FBA CA ‐
Finished Goods                                               $184.75               $184.75 3PL                   TRX Suspension training mat 72 x 24 ‐ Retail ready
                                                                                            Amazon FBA
Finished Goods                                                $50.39                 $50.39 Returns‐Unusable     TRX Suspension training mat 72 x 24 ‐ Retail ready
                                                                                            Amazon FBA MX ‐
Finished Goods                                                ‐$16.80               ‐$16.80 3PL                  TRX Suspension training mat 72 x 24 ‐ Retail ready

Finished Goods                                            $30,801.68             $30,801.68 Ontario Warehouse TRX Suspension training mat 72 x 48
Finished Goods                                              $480.00                $480.00 Tigers Logistics   Suspension Trainer Patch Sleeve 1 in

Finished Goods                                             $3,325.44              $3,325.44 Ontario Warehouse Suspension Trainer Patch Sleeve 1 in

Finished Goods                                            $11,674.70             $11,674.70 Ontario Warehouse Suspension Trainer Patch Sleeve 1.5 in




                                                                               189 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 222 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                              Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                 $3.43                  $3.43 Unsellable          Suspension Trainer Patch Sleeve 1.5 in
Finished Goods                                             $1,713.34              $1,713.34 Tigers Logistics    Suspension Trainer Patch Sleeve 1.5 in

Finished Goods                                             $1,427.06              $1,427.06 Ontario Warehouse Black w/ white TRX text logo ‐ 14" H x 13 1/4" W
                                                                                            Amazon FBA
Finished Goods                                                 $9.00                  $9.00 Returns‐Unusable TRX Training Gloves (pair of two) ‐ Large
Finished Goods                                               $873.13               $873.13 Tigers Logistics   TRX Training Gloves (pair of two) ‐ Large

Finished Goods                                             $2,745.40              $2,745.40 Ontario Warehouse TRX Training Gloves (pair of two) ‐ Large

Finished Goods                                               $981.14                $981.14 Tigers‐UK Thurrock TRX Training Gloves (pair of two) ‐ Large
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $18.00                 $18.00 Unsellable         TRX Training Gloves (pair of two) ‐ Large
Finished Goods                                               $333.05                $333.05 Amazon FBA ‐ 3PL TRX Training Gloves (pair of two) ‐ Large

Finished Goods                                             $4,878.70              $4,878.70 Ontario Warehouse TRX Training Gloves (pair of two) ‐ Medium

Finished Goods                                              $513.07                $513.07 Tigers‐UK Thurrock   TRX Training Gloves (pair of two) ‐ Medium
Finished Goods                                             $1,773.26              $1,773.26 Tigers Logistics    TRX Training Gloves (pair of two) ‐ Medium
Finished Goods                                              $216.03                $216.03 Amazon FBA ‐ 3PL     TRX Training Gloves (pair of two) ‐ Medium
                                                                                            Amazon FBA
Finished Goods                                                $36.01                 $36.01 Returns‐Unusable    TRX Training Gloves (pair of two) ‐ Medium
Finished Goods                                               $261.04               $261.04 Amazon FBA ‐ 3PL     TRX Training Gloves (pair of two) ‐ Small
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $18.00                 $18.00 Unsellable          TRX Training Gloves (pair of two) ‐ Small
Finished Goods                                             $1,773.26              $1,773.26 Tigers Logistics    TRX Training Gloves (pair of two) ‐ Small

Finished Goods                                               $540.08                $540.08 Tigers‐UK Thurrock TRX Training Gloves (pair of two) ‐ Small
                                                                                            Amazon FBA
Finished Goods                                                $18.00                 $18.00 Returns‐Unusable TRX Training Gloves (pair of two) ‐ Small



                                                                               190 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 223 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                               Description

Finished Goods                                             $4,176.60              $4,176.60 Ontario Warehouse TRX Training Gloves (pair of two) ‐ Small
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $27.02                 $27.02 Unsellable        TRX Wrist Wraps (pair of two)

Finished Goods                                             $3,188.64              $3,188.64 Ontario Warehouse TRX Wrist Wraps (pair of two)
                                                                                            Amazon FBA
Finished Goods                                                $13.51                 $13.51 Returns‐Unusable TRX Wrist Wraps (pair of two)
Finished Goods                                               $229.69               $229.69 Amazon FBA ‐ 3PL TRX Wrist Wraps (pair of two)

Finished Goods                                             $1,236.27              $1,236.27 Tigers‐UK Thurrock   TRX Wrist Wraps (pair of two)
Finished Goods                                             $2,040.19              $2,040.19 Tigers Logistics     TRX Wrist Wraps (pair of two)
Finished Goods                                             $2,952.14              $2,952.14 Tigers Logistics     TRX Weighted Jump Rope
                                                                                            Amazon FBA CA ‐
Finished Goods                                               $144.36                $144.36 3PL                  TRX Weighted Jump Rope
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $43.31                 $43.31 Unsellable           TRX Weighted Jump Rope
                                                                                            Amazon FBA
Finished Goods                                                $64.96                 $64.96 Returns‐Unusable     TRX Weighted Jump Rope
                                                                                            IFC Integrated
Finished Goods                                              $144.36                $144.36 Fulfillment           TRX Weighted Jump Rope
Finished Goods                                             $1,753.96              $1,753.96 Amazon FBA ‐ 3PL     TRX Weighted Jump Rope

Finished Goods                                             $2,013.81              $2,013.81 Tigers‐UK Thurrock TRX Weighted Jump Rope

Finished Goods                                            $10,141.22             $10,141.22 Ontario Warehouse TRX Weighted Jump Rope
                                                                                                              TRX Yoga Block ‐ 4"x6"x9" ‐ debossed TRX logo ‐ TRX yellow
Finished Goods                                             $2,671.05              $2,671.05 Ontario Warehouse stripe (1 block)
                                                                                                              TRX Yoga Block ‐ 4"x6"x9" ‐ debossed TRX logo ‐ TRX yellow
Finished Goods                                               $336.72               $336.72 Tigers‐UK Thurrock stripe (1 block)
                                                                                                              TRX Yoga Block ‐ 4"x6"x9" ‐ debossed TRX logo ‐ TRX yellow
Finished Goods                                               $374.55               $374.55 Tigers Logistics   stripe (1 block)

Finished Goods                                                $66.72                  $66.72 Ontario Warehouse (TRX‐BOX10) TRX10 Hardware Kit


                                                                               191 of 226
                            Case 8:22-bk-10949-SC              Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                        Desc
                                                              Main Document    Page 224 of 494


    General Description of Property (Raw
    Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
     Goods, Other Inventory or Supplies)             Interest            Debtor's Interest          Location                          Description
Finished Goods                                                 $22.24                  $22.24 Tigers Logistics   (TRX‐BOX10) TRX10 Hardware Kit

Finished Goods                                                $161.60                $161.60 Ontario Warehouse (TRX‐BOX11) TRX11 Hardware Kit

Finished Goods                                                 $77.52                  $77.52 Ontario Warehouse (TRX‐BOX12) TRX12 Hardware Kit

Finished Goods                                                $128.80                $128.80 Ontario Warehouse (TRX‐BOX13) TRX13 Hardware Kit
Finished Goods                                                 $25.76                 $25.76 Tigers Logistics  (TRX‐BOX13) TRX13 Hardware Kit

Finished Goods                                                 $14.68                  $14.68 Ontario Warehouse (TRX‐BOX14) TRX14 Hardware Kit
Finished Goods                                                  $2.04                   $2.04 Tigers Logistics  (TRX‐BOX15) TRX15 Hardware Kit

Finished Goods                                                  $9.18                   $9.18 Ontario Warehouse (TRX‐BOX15) TRX15 Hardware Kit

Finished Goods                                                 $79.35                  $79.35 Ontario Warehouse (TRX‐BOX18) TRX18 Hardware Kit
Finished Goods                                                 $31.74                  $31.74 Tigers Logistics  (TRX‐BOX18) TRX18 Hardware Kit

Finished Goods                                                 $48.66                  $48.66 Ontario Warehouse (TRX‐BOX2) TRX2 Hardware Kit

Finished Goods                                                $111.09                $111.09 Ontario Warehouse (TRX‐BOX21) TRX21 Hardware Kit
Finished Goods                                                 $51.40                 $51.40 Tigers Logistics  (TRX‐BOX22) TRX22 Hardware Kit

Finished Goods                                                 $61.68                  $61.68 Ontario Warehouse (TRX‐BOX22) TRX22 Hardware Kit

Finished Goods                                                $130.20                $130.20 Ontario Warehouse (TRX‐BOX23) TRX23 Hardware Kit
Finished Goods                                                 $38.84                 $38.84 Tigers Logistics  (TRX‐BOX25) TRX25 Hardware Kit

Finished Goods                                                $126.23                $126.23 Ontario Warehouse (TRX‐BOX25) TRX25 Hardware Kit
Finished Goods                                                 $32.44                 $32.44 Tigers Logistics  (TRX‐BOX26) TRX26 Hardware Kit

Finished Goods                                                 $64.88                  $64.88 Ontario Warehouse (TRX‐BOX26) TRX26 Hardware Kit
Finished Goods                                                 $53.08                  $53.08 Tigers Logistics  (TRX‐BOX3) TRX3 Hardware Kit

Finished Goods                                                 $53.08                  $53.08 Ontario Warehouse (TRX‐BOX3) TRX3 Hardware Kit
Finished Goods                                                 $20.56                  $20.56 Tigers Logistics  (TRX‐BOX4) TRX4 Hardware Kit

Finished Goods                                                $113.08                $113.08 Ontario Warehouse (TRX‐BOX4) TRX4 Hardware Kit



                                                                                192 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 225 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                             Description
                                                                                                              TRX Training Zone Floor Graphic Set ‐ 4 custom plates (32
Finished Goods                                            $23,722.74             $23,722.74 Ontario Warehouse exercises) with 4 TRX run outs

                                                                                                              TRX Training Zone Floor Graphic Set (FIT4LESS) ‐ 5 Large
Finished Goods                                             $2,926.42              $2,926.42 Ontario Warehouse Decals; 16 Floor Indicators; 2 Intensity Indicators

Finished Goods                                                $61.68                 $61.68 Ontario Warehouse (TRX‐BOX5) TRX5 Hardware Kit
Finished Goods                                               $113.08                $113.08 Tigers Logistics  (TRX‐BOX5) TRX5 Hardware Kit

Finished Goods                                                $55.20                  $55.20 Ontario Warehouse (TRX‐BOX8) TRX8 Hardware Kit
Finished Goods                                                $42.34                  $42.34 Tigers Logistics  (TRX‐BOX9) TRX9 Hardware Kit

Finished Goods                                               $127.02               $127.02 Ontario Warehouse (TRX‐BOX9) TRX9 Hardware Kit
                                                                                            IFC Integrated
Finished Goods                                            $12,593.94             $12,593.94 Fulfillment      Amazon Suspension Trainer SG Produced

Finished Goods                                           $375,945.50            $375,945.50 Ontario Warehouse    Amazon Suspension Trainer SG Produced
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $27.14                 $27.14 Unsellable           Amazon Suspension Trainer SG Produced
                                                                                            Amazon FBA MX ‐
Finished Goods                                             $1,899.95              $1,899.95 3PL                  Amazon Suspension Trainer SG Produced
Finished Goods                                            $87,451.91             $87,451.91 Tigers Logistics     Amazon Suspension Trainer SG Produced

Finished Goods                                            $46,847.30             $46,847.30 Tigers‐UK Thurrock   Amazon Suspension Trainer SG Produced
                                                                                            Amazon FBA AU ‐
Finished Goods                                            $11,291.12             $11,291.12 3PL                  Amazon Suspension Trainer SG Produced
                                                                                            Amazon FBA CA ‐
Finished Goods                                            $17,289.53             $17,289.53 3PL                  Amazon Suspension Trainer SG Produced
                                                                                            Amazon FBA
Finished Goods                                            $19,623.75             $19,623.75 Returns‐Unusable     Amazon Suspension Trainer SG Produced

Finished Goods                                                $54.28                 $54.28 SF TRX Office (HQ) Amazon Suspension Trainer SG Produced
Finished Goods                                            $78,359.30             $78,359.30 Amazon FBA ‐ 3PL Amazon Suspension Trainer SG Produced
                                                                                            Amazon FBA UAE ‐
Finished Goods                                             $4,125.60              $4,125.60 3PL                Amazon Suspension Trainer SG Produced



                                                                               193 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 226 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                               Description
                                                                                            Tradeshow            Celebration Shopping Tote Bag ‐ 16x20 ‐ (5938‐1620) ‐
Finished Goods                                               $912.51                $912.51 Warehouse 1          APPROVAL REQUIRED
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐   Celebration Shopping Tote Bag ‐ 16x20 ‐ (5938‐1620) ‐
Finished Goods                                                $94.40                 $94.40 Unsellable         APPROVAL REQUIRED
                                                                                                               Celebration Shopping Tote Bag ‐ 16x20 ‐ (5938‐1620) ‐
Finished Goods                                               $155.23                $155.23 Ontario Warehouse APPROVAL REQUIRED
                                                                                                               Celebration Shopping Tote Bag ‐ 16x20 ‐ (5938‐1620) ‐
Finished Goods                                               $209.77                $209.77 SF TRX Office (HQ) APPROVAL REQUIRED

Finished Goods                                                $78.00                 $78.00 SF TRX Office (HQ) Marketing ‐ TRX® 2015 Shopping Bag ‐ TPoB Branded
                                                                                            Tradeshow
Finished Goods                                              $321.95                $321.95 Warehouse 2         Beanie ‐ Black Fleece TRX Branded (white)
Finished Goods                                           $156,149.22            $156,149.22 Tigers Logistics   TRX BURN System Suspension Trainer

Finished Goods                                            $43,061.91             $43,061.91 Tigers‐UK Thurrock TRX BURN System Suspension Trainer
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $654.18               $654.18 Unsellable          TRX BURN System Suspension Trainer

Finished Goods                                            $27,873.63             $27,873.63 Ontario Warehouse TRX BURN System Suspension Trainer
                                                                                                               TRX Cinch Bags ‐ Commercial Swag Use Only. Approval
Finished Goods                                               $657.80                $657.80 SF TRX Office (HQ) required
                                                                                            Tradeshow
Finished Goods                                             $1,003.43              $1,003.43 Warehouse 1        CLUB COMP UNIT (NOT FOR INDIVIDUAL SALE)

Finished Goods                                               $192.97               $192.97 SF TRX Office (HQ)    CLUB COMP UNIT (NOT FOR INDIVIDUAL SALE)
                                                                                            Tradeshow
Finished Goods                                             $6,759.24              $6,759.24 Warehouse 2          Commercial Suspension Trainer, single unit
Finished Goods                                                $98.92                 $98.92 Archive              Commercial Suspension Trainer, single unit
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,186.99              $1,186.99 Unsellable           Commercial Suspension Trainer, single unit

Finished Goods                                                $65.94                  $65.94 SF TRX Office (HQ) Commercial Suspension Trainer, single unit


                                                                               194 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                             Main Document    Page 227 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest           Location                              Description

Finished Goods                                                 $0.00                  $0.00 Ontario Warehouse Commercial Suspension Trainer, single unit ‐ COMP UNIT
Finished Goods                                               $886.32                $886.32 Tigers Logistics  Frame ‐ Extender for Club3 38 inches Yellow

Finished Goods                                               $105.31                $105.31 SF TRX Office (HQ) Frame ‐ Extender for Club3 38 inches Yellow

Finished Goods                                             $4,576.40              $4,576.40 Ontario Warehouse Frame ‐ Extender for Club3 38 inches Yellow
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $149.18               $149.18 Unsellable         Frame ‐ Extender for Club3 38 inches Yellow
                                                                                            IFC Integrated
Finished Goods                                               $399.28               $399.28 Fulfillment        Frame ‐ Extender for Club3 38 inches Yellow

Finished Goods                                               $122.86               $122.86 Tigers‐UK Thurrock      Frame ‐ Extender for Club3 38 inches Yellow
                                                                                            Tradeshow
Finished Goods                                                $70.20                 $70.20 Warehouse 2            Frame ‐ Extender for Club3 38 inches Yellow
                                                                                            Tradeshow
Finished Goods                                             $2,690.90              $2,690.90 Warehouse 2            TRXCLUB3‐PINK
Finished Goods                                              $616.49                 $616.49 Archive                Commercial Suspension Trainer
                                                                                            Tradeshow
Finished Goods                                             $3,555.11              $3,555.11 Warehouse 2            Commercial Suspension Trainer

Finished Goods                                               $554.84                $554.84 Ontario Warehouse Commercial Suspension Trainer

                                                                                               SF TRX Office
                                                                                               (HQ):RETURNS ‐ SF
Finished Goods                                               $915.37                $915.37    TRX Office (HQ)     Commercial Suspension Trainer C4
                                                                                               Tradeshow
Finished Goods                                             $5,644.79              $5,644.79    Warehouse 1         Commercial Suspension Trainer C4
                                                                                               Tradeshow
Finished Goods                                               $355.98                $355.98    Warehouse 4         Commercial Suspension Trainer C4
                                                                                               IFC Integrated
Finished Goods                                                $25.43                  $25.43   Fulfillment         Commercial Suspension Trainer C4
                                                                                               Tradeshow
Finished Goods                                             $2,364.71              $2,364.71    Warehouse 2         Commercial Suspension Trainer C4

Finished Goods                                            $46,734.81             $46,734.81 Ontario Warehouse Commercial Suspension Trainer C4


                                                                               195 of 226
                            Case 8:22-bk-10949-SC              Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                              Main Document    Page 228 of 494


    General Description of Property (Raw
    Materials, Work in Progress, Finished   Net Book Value of Debtor's    Current Value of
     Goods, Other Inventory or Supplies)             Interest             Debtor's Interest          Location                             Description
Finished Goods                                              $86,248.35              $86,248.35 Tigers Logistics      Commercial Suspension Trainer C4
Finished Goods                                                $2,034.16              $2,034.16 Sorinex               Commercial Suspension Trainer C4

Finished Goods                                               $1,398.48               $1,398.48 Tigers‐UK Thurrock Commercial Suspension Trainer C4

Finished Goods                                                 $127.13                $127.13 SF TRX Office (HQ) Commercial Suspension Trainer C4
                                                                                              Inventory ‐
Finished Goods                                                 $457.69               $457.69 Manufacturer        Commercial Suspension Trainer C4
                                                                                              Ontario
                                                                                              Warehouse:CS
                                                                                              Returns‐Ontario‐
Finished Goods                                              $20,748.42             $20,748.42 Unsellable         Commercial Suspension Trainer C4
                                                                                                                 Commercial Suspension Trainer, DEMO FROM
                                                                                                                 TRADESHOW/DEMO STOCK ‐ MUST GET WR AND OPS
Finished Goods                                               $2,209.00              $2,209.00 SF TRX Office (HQ) APPROVAL
                                                                                                                 Commercial Suspension Trainer, DEMO FROM
                                                                                              Tradeshow          TRADESHOW/DEMO STOCK ‐ MUST GET WR AND OPS
Finished Goods                                               $3,226.30              $3,226.30 Warehouse 1        APPROVAL
                                                                                                                 Commercial Suspension Trainer C4, Single Unit ‐ Life
Finished Goods                                               $1,271.35              $1,271.35 Ontario Warehouse Fitness Packaging (LIFE FITNESS SALES ONLY)
                                                                                              Tradeshow
Finished Goods                                               $2,583.84              $2,583.84 Warehouse 1        Commercial Suspension Trainer C4‐2018 Summit Edition

Finished Goods                                                   $0.00                   $0.00 Ontario Warehouse PINK CLUB COMP UNIT (NOT FOR INDIVIDUAL SALE)

Finished Goods                                                  $10.38                 $10.38 SF TRX Office (HQ) TRX Door Anchor
Finished Goods                                               $2,499.01              $2,499.01 Tigers Logistics   TRX Door Anchor + box SG

Finished Goods                                                  $64.49                  $64.49 SF TRX Office (HQ) TRX Door Anchor + box SG

                                                                                                 SF TRX Office
                                                                                                 (HQ):RETURNS ‐ SF
Finished Goods                                                  $32.25                  $32.25   TRX Office (HQ)     TRX Door Anchor + box SG
Finished Goods                                                   $5.37                   $5.37   Amazon FBA ‐ 3PL    TRX Door Anchor + box SG
                                                                                                 IFC Integrated
Finished Goods                                                 $166.60                $166.60    Fulfillment         TRX Door Anchor + box SG
                                                                                                 Tradeshow
Finished Goods                                                  $48.37                  $48.37   Warehouse 2         TRX Door Anchor + box SG


                                                                                 196 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                             Main Document    Page 229 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest          Location                           Description

Finished Goods                                               $440.69                $440.69 Tigers‐UK Thurrock TRX Door Anchor + box SG
                                                                                            Amazon FBA
Finished Goods                                               $134.36                $134.36 Returns‐Unusable TRX Door Anchor + box SG
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $440.69                $440.69 Unsellable         TRX Door Anchor + box SG

Finished Goods                                             $1,714.37              $1,714.37 Ontario Warehouse TRX Door Anchor + box SG
                                                                                            TTC‐ TRX Training
Finished Goods                                               $128.98               $128.98 Center             TRX Door Anchor + box SG
Finished Goods                                                $97.44                 $97.44 Amazon FBA ‐ 3PL TRX Door Anchor (bulk/poly bagged)

Finished Goods                                             $4,321.87              $4,321.87 Ontario Warehouse TRX Door Anchor (bulk/poly bagged)

Finished Goods                                               $131.95                $131.95 Ontario Warehouse TRX Door Anchor + box SG ‐ DEMO SKU ONLY

                                                                                                               TRX BRANDED POS/DISPLAY UNIT ‐ MUST SPECIFY IN
Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse ORDER MEMO THE VERSION AND IF UNIT IS NEW OR USED

                                                                                                                TRX BRANDED POS/DISPLAY UNIT ‐ MUST SPECIFY IN
Finished Goods                                                 $0.00                   $0.00 Tigers Logistics   ORDER MEMO THE VERSION AND IF UNIT IS NEW OR USED

Finished Goods                                             $3,905.20              $3,905.20 Ontario Warehouse DUO SHORT COMP UNIT (NOT FOR INDIVIDUAL SALE)
                                                                                            Tradeshow
Finished Goods                                                $38.94                 $38.94 Warehouse 1       TRX Duo Trainer Long
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $272.56               $272.56 Unsellable         TRX Duo Trainer Long

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $77.87                  $77.87 TRX Office (HQ)   TRX Duo Trainer Long

Finished Goods                                               $895.56                $895.56 Ontario Warehouse TRX Duo Trainer Long



                                                                               197 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                              Desc
                                                             Main Document    Page 230 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest           Location                               Description
                                                                                               Tradeshow
Finished Goods                                               $545.12                $545.12    Warehouse 2         TRX Duo Trainer Long
                                                                                               Tradeshow
Finished Goods                                               $132.86                $132.86    Warehouse 2         DEMO ONLY NOT FOR SALE TRX Duo TrainerLong
                                                                                               Tradeshow
Finished Goods                                               $375.10                $375.10    Warehouse 1         TRX Duo Trainer Short
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                               $337.59                $337.59    Unsellable          TRX Duo Trainer Short
                                                                                               Tradeshow
Finished Goods                                             $1,752.67              $1,752.67    Warehouse 1         DEMO ONLY NOT FOR SALE TRX Duo Trainer Short

Finished Goods                                                  $1.40                  $1.40 Ontario Warehouse Education Gift Card, good for 1 LIVE Education Course
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                 $0.70                   $0.70 Unsellable        Education Gift Card, good for 1 LIVE Education Course
                                                                                             Tradeshow
Finished Goods                                                $32.93                  $32.93 Warehouse 1       Education Gift Card, good for 1 LIVE Education Course

                                                                                               SF TRX Office
                                                                                               (HQ):RETURNS ‐ SF
Finished Goods                                                 $1.40                   $1.40   TRX Office (HQ)     Education Gift Card, good for 1 LIVE Education Course
                                                                                               Tradeshow
Finished Goods                                                 $8.00                   $8.00   Warehouse 1         Education Gift Card, good for AGTC Education Course
                                                                                               Tradeshow
Finished Goods                                                 $4.00                   $4.00   Warehouse 2         Education Gift Card, good for AGTC Education Course
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                                 $0.80                   $0.80   Unsellable          Education Gift Card, good for AGTC Education Course

Finished Goods                                                $76.80                 $76.80 SF TRX Office (HQ) Education Gift Card, good for AGTC Education Course
                                                                                            IFC Integrated
Finished Goods                                            $29,788.07             $29,788.07 Fulfillment        Elite Suspension Trainer

Finished Goods                                               $123.86                $123.86 SF TRX Office (HQ) Elite Suspension Trainer


                                                                               198 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 231 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                                Description

Finished Goods                                           $122,341.65            $122,341.65 Ontario Warehouse Elite Suspension Trainer
                                                                                            Tradeshow
Finished Goods                                               $123.86               $123.86 Warehouse 1        Elite Suspension Trainer

Finished Goods                                                 $8.85                  $8.85 SF TRX Office (HQ) FitDeck TRX
                                                                                            Tradeshow
Finished Goods                                                $11.80                 $11.80 Warehouse 2        FitDeck TRX
Finished Goods                                             $1,423.68              $1,423.68 Tigers Logistics   FIT Suspension Trainer

Finished Goods                                               $171.82                $171.82 SF TRX Office (HQ) FIT Suspension Trainer

Finished Goods                                               $384.86                $384.86 Ontario Warehouse FIT & GO COMP UNIT (NOT FOR INDIVIDUAL SALE)

Finished Goods                                               $360.38               $360.38 SF TRX Office (HQ)   TRX FIT System Suspension Trainer
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                            $15,653.90             $15,653.90 Unsellable          TRX FIT System Suspension Trainer
Finished Goods                                              $473.00                $473.00 Tigers Logistics     TRX FIT System Suspension Trainer
                                                                                            Tradeshow
Finished Goods                                               $180.19               $180.19 Warehouse 1          TRX FIT System Suspension Trainer

Finished Goods                                           $308,438.18            $308,438.18 Ontario Warehouse TRX FIT System Suspension Trainer
                                                                                            Amazon FBA
Finished Goods                                                $22.52                 $22.52 Returns‐Unusable TRX FIT System Suspension Trainer

Finished Goods                                            $43,492.80             $43,492.80 Ontario Warehouse TRX FIT System Suspension Trainer ‐ French/English

Finished Goods                                             $2,546.05              $2,546.05 Ontario Warehouse TRXFIT‐RTL French/English Sleeve ‐ Canadian Tire
                                                                                                               TRX BRANDED FOLDABLE DISPLAY UNIT 2 shelf display 58”
Finished Goods                                               $528.00                $528.00 SF TRX Office (HQ) Tall 22” wide x 11”
                                                                                            IFC Integrated
Finished Goods                                            $19,171.96             $19,171.96 Fulfillment        TRX GO Suspension Trainer
                                                                                            Amazon FBA MX ‐
Finished Goods                                              ‐$583.27               ‐$583.27 3PL                TRX GO Suspension Trainer
Finished Goods                                           $204,399.42            $204,399.42 Amazon FBA ‐ 3PL TRX GO Suspension Trainer



                                                                               199 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 232 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                              Description

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                                $25.36                 $25.36 TRX Office (HQ)   TRX GO Suspension Trainer
                                                                                            Amazon FBA
Finished Goods                                            $30,076.64             $30,076.64 Returns‐Unusable TRX GO Suspension Trainer
                                                                                            Amazon FBA CA ‐
Finished Goods                                            $15,291.92             $15,291.92 3PL               TRX GO Suspension Trainer

Finished Goods                                                $50.72                  $50.72 SF TRX Office (HQ) TRX GO Suspension Trainer
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $76.08                  $76.08 Unsellable         TRX GO Suspension Trainer

Finished Goods                                             $4,437.95              $4,437.95 Tigers‐UK Thurrock TRX GO Suspension Trainer

Finished Goods                                            $89,063.37             $89,063.37 Ontario Warehouse TRX GO Suspension Trainer
                                                                                            Amazon FBA CA ‐
Finished Goods                                             $3,724.16              $3,724.16 3PL               TRX GO Suspension Trainer ‐ Black
                                                                                            IFC Integrated
Finished Goods                                             $6,603.12              $6,603.12 Fulfillment       TRX GO Suspension Trainer ‐ Black

Finished Goods                                            $10,406.52             $10,406.52 Ontario Warehouse   TRX GO Suspension Trainer ‐ Black
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $26.41                 $26.41 Unsellable          TRX GO Suspension Trainer ‐ Black
Finished Goods                                            $54,436.14             $54,436.14 Amazon FBA ‐ 3PL    TRX GO Suspension Trainer ‐ Black
                                                                                            Amazon FBA
Finished Goods                                               $739.55               $739.55 Returns‐Unusable     TRX GO Suspension Trainer ‐ Black

Finished Goods                                               $484.80                $484.80 Ontario Warehouse TRX GO Suspension Trainer ‐ COMP UNIT

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX GO Suspension Trainer ‐ DEMO ONLY

Finished Goods                                                 $8.10                  $8.10 SF TRX Office (HQ) TRX® Golf Ball (Pack of 3)
Finished Goods                                             $2,208.91              $2,208.91 Tmall ‐ 3PL        Baseball Cap ‐ Black TRX


                                                                               200 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 233 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                               Description
                                                                                            Tradeshow
Finished Goods                                               $574.32                $574.32 Warehouse 1          Baseball Cap ‐ Black TRX
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $14.73                 $14.73 Unsellable           Baseball Cap ‐ Black TRX

Finished Goods                                             $4,358.92              $4,358.92 Ontario Warehouse Baseball Cap ‐ Black TRX
                                                                                            Tradeshow
Finished Goods                                               $824.66               $824.66 Warehouse 2        Baseball Cap ‐ Black TRX

Finished Goods                                                $70.54                  $70.54 SF TRX Office (HQ) TRX Home Suspension Trainer ‐ SG

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                                $70.54                 $70.54 TRX Office (HQ)   TRX Home Suspension Trainer ‐ SG
Finished Goods                                             $9,557.92              $9,557.92 TRX In‐Transit    TRX Home Suspension Trainer ‐ SG

Finished Goods                                             $7,769.19              $7,769.19 Ontario Warehouse HOME COMP UNIT (NOT FOR INDIVIDUAL SALE)

Finished Goods                                                $60.46                  $60.46 SF TRX Office (HQ) HOME COMP UNIT (NOT FOR INDIVIDUAL SALE)

Finished Goods                                                $69.68                 $69.68 SF TRX Office (HQ)   Pink version TRX Homekit
                                                                                            Tradeshow
Finished Goods                                               $507.95                $507.95 Warehouse 2          Home Suspension Trainer
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $25.40                 $25.40 Unsellable           Home Suspension Trainer
                                                                                            Tradeshow
Finished Goods                                                $66.24                 $66.24 Warehouse 2          Home Suspension Trainer

Finished Goods                                                $99.35                 $99.35 SF TRX Office (HQ) Home Suspension Trainer
Finished Goods                                               $662.35                $662.35 Tigers Logistics   Home Suspension Trainer

Finished Goods                                            $30,810.84             $30,810.84 Tigers‐UK Thurrock TRX Home Suspension Trainer v.2
                                                                                            TTC‐ TRX Training
Finished Goods                                             $2,220.33              $2,220.33 Center             TRX Home Suspension Trainer v.2


                                                                               201 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 234 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest          Location                             Description

                                                                                              SF TRX Office
                                                                                              (HQ):RETURNS ‐ SF
Finished Goods                                               $486.65                $486.65   TRX Office (HQ)     TRX Home Suspension Trainer v.2
                                                                                              IFC Integrated
                                                                                              Fulfillment:IFC ‐
Finished Goods                                              $243.32                $243.32    Returns             TRX Home Suspension Trainer v.2
Finished Goods                                           $217,987.46            $217,987.46   Tigers Logistics    TRX Home Suspension Trainer v.2
                                                                                              Tradeshow
Finished Goods                                               $790.80                $790.80   Warehouse 1         TRX Home Suspension Trainer v.2

Finished Goods                                               $364.99                $364.99 SF TRX Office (HQ) TRX Home Suspension Trainer v.2

Finished Goods                                            $69,681.77             $69,681.77 Ontario Warehouse TRX Home Suspension Trainer v.2
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                            $33,092.00             $33,092.00 Unsellable        TRX Home Suspension Trainer v.2

Finished Goods                                             $6,406.14              $6,406.14 Ontario Warehouse TRX HOME Suspension Trainer ‐ SG ‐ DEMO ONLY

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $23.32                  $23.32 TRX Office (HQ)   TRX HOME KIT

Finished Goods                                             $1,982.30              $1,982.30 Ontario Warehouse TRX HOME KIT
Finished Goods                                              $469.17                $469.17 Archive            Home Suspension Trainer

Finished Goods                                                $26.07                 $26.07 SF TRX Office (HQ)    Home Suspension Trainer
Finished Goods                                               $417.04                $417.04 xxTST Southeastxx     Home Suspension Trainer
                                                                                            Tradeshow
Finished Goods                                             $1,902.76              $1,902.76 Warehouse 2           Home Suspension Trainer
Finished Goods                                                $78.20                 $78.20 zzWestzz              Home Suspension Trainer
Finished Goods                                               $312.78                $312.78 TRX In‐Transit        Home Suspension Trainer
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $294.53                $294.53 Unsellable            TRX Invizi‐Mount


                                                                               202 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 235 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                              Description
                                                                                            Quarantined
Finished Goods                                            $10,304.64             $10,304.64 Inventory            TRX Invizi‐Mount

Finished Goods                                                $40.35                  $40.35 Ontario Warehouse TRX Invizi‐Mount
                                                                                             TTC‐ TRX Training
Finished Goods                                                $20.17                  $20.17 Center            TRX Invizi‐Mount

Finished Goods                                                $36.31                 $36.31 SF TRX Office (HQ)   TRX Invizi‐Mount
                                                                                            IFC Integrated
Finished Goods                                               $153.32                $153.32 Fulfillment          TRX Invizi‐Mount
                                                                                            Tradeshow
Finished Goods                                                $60.52                 $60.52 Warehouse 1          TRX Invizi‐Mount
                                                                                            IFC Integrated
                                                                                            Fulfillment:IFC ‐
Finished Goods                                                 $8.07                  $8.07 Returns              TRX Invizi‐Mount

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                                 $4.03                  $4.03 TRX Office (HQ)   TRX Invizi‐Mount
Finished Goods                                                $36.31                 $36.31 Tmall ‐ 3PL       TRX Invizi‐Mount
Finished Goods                                             $1,279.00              $1,279.00 Tigers Logistics  TRX Invizi‐Mount

Finished Goods                                            $11,592.17             $11,592.17 Ontario Warehouse TRX Invizi‐Mount V2

Finished Goods                                              $830.71                $830.71 Tigers‐UK Thurrock    TRX Invizi‐Mount V2
Finished Goods                                             $3,555.69              $3,555.69 Tigers Logistics     TRX Invizi‐Mount V2
                                                                                            Amazon FBA CA ‐
Finished Goods                                               $320.96               $320.96 3PL                   TRX Invizi‐Mount V2
                                                                                            Amazon FBA
Finished Goods                                               $113.28               $113.28 Returns‐Unusable      TRX Invizi‐Mount V2
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $88.11                 $88.11 Unsellable           TRX Invizi‐Mount V2
Finished Goods                                               $289.49               $289.49 Amazon FBA ‐ 3PL      TRX Invizi‐Mount V2




                                                                               203 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 236 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                               Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $643.51                $643.51 Unsellable          MAPS Kiosk
                                                                                            Tradeshow
Finished Goods                                               $643.51                $643.51 Warehouse 4         MAPS Kiosk

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                               $509.95                $509.95 TRX Office (HQ)   MAPS Kiosk v.2

Finished Goods                                               $509.95               $509.95 SF TRX Office (HQ)   MAPS Kiosk v.2
                                                                                            Inventory ‐
Finished Goods                                               $509.95               $509.95 Manufacturer         MAPS Kiosk v.2
                                                                                            Quarantined
Finished Goods                                             $2,549.75              $2,549.75 Inventory           MAPS Kiosk v.2
                                                                                            Tradeshow
Finished Goods                                             $1,053.44              $1,053.44 Warehouse 1         MAPS Kiosk v.2 ‐ DEMO
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $71.55                 $71.55 Unsellable          TRX Facemask ‐ O/S
Finished Goods                                                $26.50                 $26.50 Tigers Logistics    TRX Facemask ‐ O/S

Finished Goods                                             $1,396.55              $1,396.55 Ontario Warehouse TRX Facemask ‐ O/S

Finished Goods                                               $265.00                $265.00 Tigers‐UK Thurrock TRX Facemask ‐ O/S

Finished Goods                                             $6,466.60              $6,466.60 Ontario Warehouse TRX Facemask ‐ O/S ‐ version 2
                                                                                            Tradeshow
Finished Goods                                                $36.00                 $36.00 Warehouse 2       Xmount
                                                                                            Inventory ‐
Finished Goods                                             $7,955.60              $7,955.60 Manufacturer      TRX MOVE System Suspension Trainer

Finished Goods                                            $24,178.79             $24,178.79 Tigers‐UK Thurrock TRX MOVE System Suspension Trainer
Finished Goods                                           $186,774.66            $186,774.66 Tigers Logistics   TRX MOVE System Suspension Trainer

Finished Goods                                             $5,095.75              $5,095.75 Ontario Warehouse TRX MOVE System Suspension Trainer


                                                                               204 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                             Main Document    Page 237 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                                Description
                                                                                            Tradeshow
Finished Goods                                             $5,319.43              $5,319.43 Warehouse 1         Black w/ yellow TRX block logo ‐ 5.5" x 8.25"

Finished Goods                                             $3,934.04              $3,934.04 Ontario Warehouse Black w/ yellow TRX block logo ‐ 5.5" x 8.25"

Finished Goods                                             $9,218.39              $9,218.39 SF TRX Office (HQ) Black w/ yellow TRX block logo ‐ 5.5" x 8.25"
                                                                                                               Black with yellow and gray TRX Core Instructor Logo ‐ 5.5" x
Finished Goods                                               $700.00               $700.00 SF TRX Office (HQ) 8.25"

Finished Goods                                               $624.22                $624.22 SF TRX Office (HQ) TRX Notebook ‐ Black WE ARE TRX

Finished Goods                                                $80.00                 $80.00 Ontario Warehouse Pear Gift Card, good for 1 year subscription
Finished Goods                                               $415.63                $415.63 Tigers Logistics  TRX Branded Pen Please order in qtys of 20
                                                                                            Tradeshow
Finished Goods                                               $265.09                $265.09 Warehouse 1       Yellow Pen w/ black TRX text logo

Finished Goods                                               $812.05                $812.05 Ontario Warehouse   Yellow Pen w/ black TRX text logo
                                                                                            Tradeshow           TRX Branded Pin ‐ Approval Required .75" Die Struck Soft
Finished Goods                                               $216.00                $216.00 Warehouse 1         Enamel Lapel Pin
                                                                                            Tradeshow
Finished Goods                                               $479.16                $479.16 Warehouse 2         Pro Suspension Trainer
Finished Goods                                               $575.00                $575.00 TRX In‐Transit      Pro Suspension Trainer

Finished Goods                                               $133.84                $133.84 Tigers‐UK Thurrock Frame ‐ Extender for Pro3 38 inches Black

Finished Goods                                              $884.31                $884.31 Ontario Warehouse Frame ‐ Extender for Pro3 38 inches Black
Finished Goods                                             $2,232.30              $2,232.30 Tigers Logistics Frame ‐ Extender for Pro3 38 inches Black
Finished Goods                                                 $4.78                  $4.78 Tmall ‐ 3PL      Frame ‐ Extender for Pro3 38 inches Black

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                                $28.68                 $28.68 TRX Office (HQ)   Frame ‐ Extender for Pro3 38 inches Black
                                                                                            IFC Integrated
Finished Goods                                               $358.51                $358.51 Fulfillment       Frame ‐ Extender for Pro3 38 inches Black
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $344.17                $344.17 Unsellable        Frame ‐ Extender for Pro3 38 inches Black


                                                                               205 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                              Desc
                                                             Main Document    Page 238 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest             Location                             Description
                                                                                               Tradeshow
Finished Goods                                               $191.20                $191.20    Warehouse 2        Frame ‐ Extender for Pro3 38 inches Black
Finished Goods                                                $14.07                 $14.07    Archive            Pink Pro Suspension Trainer
                                                                                               IFC Integrated
Finished Goods                                                $94.74                  $94.74   Fulfillment        PRO Suspension Trainer SG Produced
                                                                                               Amazon FBA
Finished Goods                                             $6,032.02              $6,032.02    Returns‐Unusable   PRO Suspension Trainer SG Produced

Finished Goods                                                $63.16                 $63.16 SF TRX Office (HQ)    PRO Suspension Trainer SG Produced
                                                                                            Amazon FBA MX ‐
Finished Goods                                             $7,326.86              $7,326.86 3PL                   PRO Suspension Trainer SG Produced
Finished Goods                                                $31.58                 $31.58 Tmall ‐ 3PL           PRO Suspension Trainer SG Produced
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $94.74                 $94.74 Unsellable            PRO Suspension Trainer SG Produced
Finished Goods                                            $16,548.59             $16,548.59 Amazon FBA ‐ 3PL      PRO Suspension Trainer SG Produced

Finished Goods                                            $77,405.72             $77,405.72 Ontario Warehouse PRO Suspension Trainer SG Produced

Finished Goods                                            $12,443.02             $12,443.02 Tigers‐UK Thurrock    PRO Suspension Trainer SG Produced
                                                                                            Amazon FBA AU ‐
Finished Goods                                               $442.14               $442.14 3PL                    PRO Suspension Trainer SG Produced
Finished Goods                                               $252.65               $252.65 Tigers Logistics       PRO Suspension Trainer SG Produced
                                                                                            Amazon FBA CA ‐
Finished Goods                                               $915.86               $915.86 3PL                    PRO Suspension Trainer SG Produced

Finished Goods                                                $31.07                 $31.07 SF TRX Office (HQ)    Pro Suspension Trainer
                                                                                            Tradeshow
Finished Goods                                             $1,118.48              $1,118.48 Warehouse 2           Pro Suspension Trainer
                                                                                            TTC‐ TRX Training
Finished Goods                                               $282.69               $282.69 Center                 Pro Suspension Trainer
Finished Goods                                                $40.38                 $40.38 Amazon FBA ‐ 3PL      Pro Suspension Trainer

Finished Goods                                                $40.38                 $40.38 SF TRX Office (HQ) Pro Suspension Trainer
Finished Goods                                               $201.92                $201.92 Tigers Logistics   Pro Suspension Trainer
                                                                                            IFC Integrated
Finished Goods                                               $469.72                $469.72 Fulfillment        Pro Suspension Trainer


                                                                               206 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                             Main Document    Page 239 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                                Description

Finished Goods                                                $72.27                 $72.27 SF TRX Office (HQ)   Pro Suspension Trainer
Finished Goods                                           $327,577.61            $327,577.61 Tigers Logistics     Pro Suspension Trainer
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                            $13,766.50             $13,766.50 Unsellable           Pro Suspension Trainer
                                                                                            TTC‐ TRX Training
Finished Goods                                               $433.59               $433.59 Center                Pro Suspension Trainer
                                                                                            Tradeshow
Finished Goods                                               $505.86               $505.86 Warehouse 1           Pro Suspension Trainer

Finished Goods                                            $47,116.83             $47,116.83 Ontario Warehouse Pro Suspension Trainer

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                               $433.59                $433.59 TRX Office (HQ)   Pro Suspension Trainer

Finished Goods                                            $18,138.54             $18,138.54 Tigers‐UK Thurrock Pro Suspension Trainer
                                                                                            IFC Integrated
                                                                                            Fulfillment:IFC ‐
Finished Goods                                               $289.06               $289.06 Returns             Pro Suspension Trainer

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse Commercial Suspension Trainer C4

Finished Goods                                             $7,232.00              $7,232.00 Ontario Warehouse Pro Suspension Trainer ‐ DEMO ONLY
Finished Goods                                           $181,267.32            $181,267.32 Tigers Logistics  TRX Pro4 Suspension Trainer Digicamo

Finished Goods                                                $37.65                  $37.65 SF TRX Office (HQ) TRX Pro4 Suspension Trainer Digicamo

Finished Goods                                             $8,585.16              $8,585.16 Tigers‐UK Thurrock TRX Pro4 Suspension Trainer Digicamo
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,355.55              $1,355.55 Unsellable         TRX Pro4 Suspension Trainer Digicamo

Finished Goods                                            $44,582.57             $44,582.57 Ontario Warehouse TRX Pro4 Suspension Trainer Digicamo



                                                                               207 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                             Main Document    Page 240 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                               Description

Finished Goods                                                $41.80                  $41.80 SF TRX Office (HQ) TRX Rip Cord Carabiner

Finished Goods                                             $7,695.38              $7,695.38 Ontario Warehouse TRX Rip Cord Carabiner

Finished Goods                                                $28.80                 $28.80 SF TRX Office (HQ)
                                                                                            Tradeshow
Finished Goods                                               $587.72                $587.72 Warehouse 2        Rip Trainer DEMO only Not for purchase

Finished Goods                                                $57.88                  $57.88 SF TRX Office (HQ) Rip Cord ‐ Extra Extra Heavy Resistance

Finished Goods                                               $564.34                $564.34 Tigers‐UK Thurrock   Rip Cord ‐ Extra Extra Heavy Resistance
                                                                                            IFC Integrated
Finished Goods                                               $303.88                $303.88 Fulfillment          Rip Cord ‐ Extra Extra Heavy Resistance
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $115.76                $115.76 Unsellable           Rip Cord ‐ Extra Extra Heavy Resistance
                                                                                            Amazon FBA CA ‐
Finished Goods                                               $231.52                $231.52 3PL                  Rip Cord ‐ Extra Extra Heavy Resistance

Finished Goods                                             $7,206.18              $7,206.18 Ontario Warehouse    Rip Cord ‐ Extra Extra Heavy Resistance
Finished Goods                                             $3,820.14              $3,820.14 Tigers Logistics     Rip Cord ‐ Extra Extra Heavy Resistance
                                                                                            Tradeshow
Finished Goods                                               $144.70               $144.70 Warehouse 1           Rip Cord ‐ Extra Extra Heavy Resistance
                                                                                            Amazon FBA
Finished Goods                                                $28.94                 $28.94 Returns‐Unusable     Rip Cord ‐ Extra Extra Heavy Resistance
Finished Goods                                               $115.76               $115.76 Amazon FBA ‐ 3PL      Rip Cord ‐ Extra Extra Heavy Resistance
                                                                                            Tradeshow
Finished Goods                                               $127.40               $127.40 Warehouse 1           Rip Cord ‐ Extra Heavy Resistance
                                                                                            Amazon FBA CA ‐
Finished Goods                                              $165.62                $165.62 3PL                   Rip Cord ‐ Extra Heavy Resistance
Finished Goods                                             $3,108.49              $3,108.49 Tigers Logistics     Rip Cord ‐ Extra Heavy Resistance

Finished Goods                                             $7,682.06              $7,682.06 Ontario Warehouse Rip Cord ‐ Extra Heavy Resistance
                                                                                            Amazon FBA
Finished Goods                                                $12.74                 $12.74 Returns‐Unusable Rip Cord ‐ Extra Heavy Resistance



                                                                               208 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 241 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest          Location                             Description
                                                                                             TTC‐ TRX Training
Finished Goods                                                $25.48                  $25.48 Center              Rip Cord ‐ Extra Heavy Resistance

Finished Goods                                                $12.74                 $12.74 Tigers‐UK Thurrock Rip Cord ‐ Extra Heavy Resistance
                                                                                            Tradeshow
Finished Goods                                               $229.32                $229.32 Warehouse 2        Rip Cord ‐ Extra Heavy Resistance
Finished Goods                                                $76.44                 $76.44 Amazon FBA ‐ 3PL Rip Cord ‐ Extra Heavy Resistance

Finished Goods                                                $50.96                 $50.96 SF TRX Office (HQ)   Rip Cord ‐ Extra Heavy Resistance
                                                                                            IFC Integrated
Finished Goods                                               $114.66                $114.66 Fulfillment          Rip Cord ‐ Extra Heavy Resistance
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $127.40                $127.40 Unsellable           Rip Cord ‐ Extra Heavy Resistance
                                                                                            IFC Integrated
Finished Goods                                               $556.21                $556.21 Fulfillment          TRX Group Rip Training Station

Finished Goods                                             $3,337.25              $3,337.25 Ontario Warehouse    TRX Group Rip Training Station
Finished Goods                                              $556.21                $556.21 Tigers Logistics      TRX Group Rip Training Station
                                                                                            Tradeshow
Finished Goods                                             $3,893.46              $3,893.46 Warehouse 2          TRX Group Rip Training Station
Finished Goods                                             $2,664.35              $2,664.35 Tigers Logistics     Rip Cord ‐ Heavy Resistance
                                                                                            Tradeshow
Finished Goods                                               $209.56               $209.56 Warehouse 2           Rip Cord ‐ Heavy Resistance
                                                                                            IFC Integrated
Finished Goods                                               $129.72               $129.72 Fulfillment           Rip Cord ‐ Heavy Resistance

Finished Goods                                               $109.77                $109.77 SF TRX Office (HQ)   Rip Cord ‐ Heavy Resistance
                                                                                            Amazon FBA
Finished Goods                                                 $9.98                  $9.98 Returns‐Unusable     Rip Cord ‐ Heavy Resistance
                                                                                            Amazon FBA CA ‐
Finished Goods                                               $109.77                $109.77 3PL                  Rip Cord ‐ Heavy Resistance
                                                                                            Tradeshow
Finished Goods                                                $69.85                 $69.85 Warehouse 1          Rip Cord ‐ Heavy Resistance

Finished Goods                                               $179.62                $179.62 Tigers‐UK Thurrock Rip Cord ‐ Heavy Resistance



                                                                               209 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                              Desc
                                                             Main Document    Page 242 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                                 Description
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $219.53                $219.53 Unsellable             Rip Cord ‐ Heavy Resistance
                                                                                            TTC‐ TRX Training
Finished Goods                                                $39.92                 $39.92 Center                 Rip Cord ‐ Heavy Resistance

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $19.96                  $19.96 TRX Office (HQ)   Rip Cord ‐ Heavy Resistance

Finished Goods                                             $9,829.16              $9,829.16 Ontario Warehouse      Rip Cord ‐ Heavy Resistance
Finished Goods                                              $219.53                $219.53 Amazon FBA ‐ 3PL        Rip Cord ‐ Heavy Resistance
                                                                                            Amazon FBA CA ‐
Finished Goods                                               $164.40               $164.40 3PL                     Rip Cord ‐ Light Resistance
Finished Goods                                               $255.74               $255.74 Amazon FBA ‐ 3PL        Rip Cord ‐ Light Resistance
                                                                                            IFC Integrated
Finished Goods                                               $118.73               $118.73 Fulfillment             Rip Cord ‐ Light Resistance
                                                                                            Tradeshow
Finished Goods                                                $73.07                 $73.07 Warehouse 1            Rip Cord ‐ Light Resistance

Finished Goods                                               $383.60                $383.60 Tigers‐UK Thurrock Rip Cord ‐ Light Resistance

Finished Goods                                             $9,644.87              $9,644.87 Ontario Warehouse Rip Cord ‐ Light Resistance
Finished Goods                                             $2,237.68              $2,237.68 Tigers Logistics  Rip Cord ‐ Light Resistance
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $146.13               $146.13 Unsellable         Rip Cord ‐ Light Resistance

                                                                                               SF TRX Office
                                                                                               (HQ):RETURNS ‐ SF
Finished Goods                                                 $9.13                   $9.13   TRX Office (HQ)     Rip Cord ‐ Light Resistance
                                                                                               Tradeshow
Finished Goods                                               $675.87                $675.87    Warehouse 2         Rip Cord ‐ Light Resistance
Finished Goods                                               $124.23                $124.23    Amazon FBA ‐ 3PL    Rip Cord ‐ Medium Resistance
                                                                                               Amazon FBA CA ‐
Finished Goods                                                $76.45                  $76.45   3PL                 Rip Cord ‐ Medium Resistance


                                                                               210 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                             Main Document    Page 243 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                            Description
                                                                                            Tradeshow
Finished Goods                                                $57.34                 $57.34 Warehouse 1         Rip Cord ‐ Medium Resistance
Finished Goods                                             $2,981.51              $2,981.51 Tigers Logistics    Rip Cord ‐ Medium Resistance

Finished Goods                                            $10,119.93             $10,119.93 Ontario Warehouse   Rip Cord ‐ Medium Resistance
                                                                                            IFC Integrated
Finished Goods                                               $133.79               $133.79 Fulfillment          Rip Cord ‐ Medium Resistance
                                                                                            Amazon FBA
Finished Goods                                                 $9.56                  $9.56 Returns‐Unusable    Rip Cord ‐ Medium Resistance
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $124.23               $124.23 Unsellable           Rip Cord ‐ Medium Resistance
                                                                                            Tradeshow
Finished Goods                                               $324.91               $324.91 Warehouse 2          Rip Cord ‐ Medium Resistance

Finished Goods                                               $277.13                $277.13 Tigers‐UK Thurrock Rip Cord ‐ Medium Resistance

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $19.11                  $19.11 TRX Office (HQ)   Rip Cord ‐ Medium Resistance

Finished Goods                                                $95.56                  $95.56 SF TRX Office (HQ) Rip Cord ‐ Medium Resistance
                                                                                             TTC‐ TRX Training
Finished Goods                                                $38.22                  $38.22 Center             Rip Cord ‐ Medium Resistance

Finished Goods                                             $7,179.70              $7,179.70 Ontario Warehouse Rip Trainer Basic Kit GSA

Finished Goods                                                $64.84                  $64.84 SF TRX Office (HQ) RIP COMP UNIT (NOT FOR INDIVIDUAL SALE)

Finished Goods                                              $129.68                $129.68 Ontario Warehouse RIP COMP UNIT (NOT FOR INDIVIDUAL SALE)
Finished Goods                                            $33,904.31             $33,904.31 Tigers Logistics Rip Trainer Basic Kit

Finished Goods                                           $166,513.89            $166,513.89 Ontario Warehouse Rip Trainer Basic Kit
                                                                                            Inventory ‐
Finished Goods                                             $1,249.93              $1,249.93 Manufacturer      Rip Trainer Basic Kit




                                                                               211 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                                             Main Document    Page 244 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest           Location                             Description
                                                                                             IFC Integrated
                                                                                             Fulfillment:IFC ‐
Finished Goods                                                $78.12                  $78.12 Returns             Rip Trainer Basic Kit

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                              $429.66                $429.66 TRX Office (HQ)    Rip Trainer Basic Kit
Finished Goods                                             $9,179.16              $9,179.16 Amazon FBA ‐ 3PL Rip Trainer Basic Kit
                                                                                            Amazon FBA
Finished Goods                                             $1,249.93              $1,249.93 Returns‐Unusable Rip Trainer Basic Kit

Finished Goods                                              $156.24                $156.24 Tigers‐UK Thurrock    Rip Trainer Basic Kit
Finished Goods                                            $11,093.11             $11,093.11 TRX In‐Transit       Rip Trainer Basic Kit
                                                                                            Tradeshow
Finished Goods                                             $1,640.53              $1,640.53 Warehouse 1          Rip Trainer Basic Kit
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                            $12,577.40             $12,577.40 Unsellable           Rip Trainer Basic Kit
                                                                                            Amazon FBA CA ‐
Finished Goods                                             $2,734.22              $2,734.22 3PL                  Rip Trainer Basic Kit

Finished Goods                                              $117.18                $117.18 SF TRX Office (HQ)    Rip Trainer Basic Kit
Finished Goods                                             $1,328.05              $1,328.05 Sorinex              Rip Trainer Basic Kit
                                                                                            Quarantined
Finished Goods                                             $7,187.09              $7,187.09 Inventory            Rip Trainer Basic Kit
                                                                                            TTC‐ TRX Training
Finished Goods                                               $156.24               $156.24 Center                Rip Trainer Basic Kit

                                                                                                              Rip Trainer Basic Kit, DEMO FROM TRADESHOW/DEMO
Finished Goods                                               $262.55                $262.55 Ontario Warehouse STOCK ‐ MUST GET WR AND OPS APPROVAL

                                                                                            Tradeshow            Rip Trainer Basic Kit, DEMO FROM TRADESHOW/DEMO
Finished Goods                                             $3,478.78              $3,478.78 Warehouse 1          STOCK ‐ MUST GET WR AND OPS APPROVAL
                                                                                            TTC‐ TRX Training
Finished Goods                                               $195.10               $195.10 Center                TRX Strong System Suspension Trainer
                                                                                            Tradeshow
Finished Goods                                                $27.87                 $27.87 Warehouse 2          TRX Strong System Suspension Trainer


                                                                               212 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 245 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description

Finished Goods                                            $16,722.46             $16,722.46 Tigers‐UK Thurrock TRX Strong System Suspension Trainer

Finished Goods                                           $206,522.41            $206,522.41 Ontario Warehouse TRX Strong System Suspension Trainer
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $5,323.32              $5,323.32 Unsellable        TRX Strong System Suspension Trainer
Finished Goods                                           $140,747.39            $140,747.39 Tigers Logistics  TRX Strong System Suspension Trainer

Finished Goods                                               $390.19                $390.19 SF TRX Office (HQ) TRX Strong System Suspension Trainer
                                                                                            Tradeshow
Finished Goods                                               $222.97                $222.97 Warehouse 1        TRX Strong System Suspension Trainer
                                                                                            IFC Integrated
Finished Goods                                               $614.48                $614.48 Fulfillment        TRX SWEAT System Suspension Trainer

Finished Goods                                            $17,615.01             $17,615.01 Tigers‐UK Thurrock   TRX SWEAT System Suspension Trainer
Finished Goods                                           $146,567.40            $146,567.40 Tigers Logistics     TRX SWEAT System Suspension Trainer
                                                                                            IFC Integrated
                                                                                            Fulfillment:IFC ‐
Finished Goods                                                $58.52                 $58.52 Returns              TRX SWEAT System Suspension Trainer
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $2,370.13              $2,370.13 Unsellable           TRX SWEAT System Suspension Trainer

Finished Goods                                            $86,260.87             $86,260.87 Ontario Warehouse TRX SWEAT System Suspension Trainer
                                                                                            Tradeshow
Finished Goods                                               $144.00               $144.00 Warehouse 2        Tactical Suspension Trainer with a locking carabiner.

Finished Goods                                               $103.77                $103.77 SF TRX Office (HQ) TACTICAL COMP UNIT (NOT FOR INDIVIDUAL SALE)
                                                                                            Tradeshow
Finished Goods                                                 $6.47                  $6.47 Warehouse 2        Talon Trainer

Finished Goods                                               $323.26                $323.26 Ontario Warehouse Talon Trainer




                                                                               213 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                             Main Document    Page 246 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest          Location                               Description
                                                                                                                TRX Tactical Training Box (Heavy) ‐ Fully deployable 16‐
                                                                                                                gauge, heavy duty steel chest custom fabricated to anchor
                                                                                                                and store a functional training rig. The dual‐sided 2”x2”
                                                                                                                powder coated steel frame consists of two independent
                                                                                              Tradeshow         squat racks and 4 chin up stations. Contains a full load out
Finished Goods                                             $9,398.00              $9,398.00   Warehouse 2       of fitness equipment.
Finished Goods                                             $4,699.00              $4,699.00   Sorinex           TRX Tactical Training Box (Heavy) Commercial
                                                                                                                TRX Tactical Training Box (Light) Fully deployable 16‐gauge,
                                                                                                                heavy duty steel chest custom fabricated to anchor and
                                                                                                                store a functional training rig. The single‐sided 2”x2”
                                                                                              Tradeshow         powder coated steel frame doubles as both a chin up bar
Finished Goods                                             $2,402.00              $2,402.00   Warehouse 1       and fully functional squat rack.
                                                                                                                TRX Tactical Training Box (Light) Fully deployable 16‐gauge,
                                                                                                                heavy duty steel chest custom fabricated to anchor and
                                                                                                                store a functional training rig. The single‐sided 2”x2”
                                                                                                                powder coated steel frame doubles as both a chin up bar
Finished Goods                                             $4,804.00              $4,804.00   Sorinex           and fully functional squat rack.
                                                                                                                TRX Tactical Training Box (Light) Fully deployable 16‐gauge,
                                                                                                                heavy duty steel chest custom fabricated to anchor and
                                                                                                                store a functional training rig. The single‐sided 2”x2”
                                                                                                                powder coated steel frame doubles as both a chin up bar
Finished Goods                                             $7,206.00              $7,206.00   Ontario Warehouse and fully functional squat rack.
                                                                                              Tradeshow
Finished Goods                                             $3,197.00              $3,197.00   Warehouse 2       TRX Tactical Training Box Light ‐ Dual Tower
Finished Goods                                                 $0.00                  $0.00   Sorinex           Tactical Training Box Light ‐ Dual Tower Commercial

                                                                                                                  TRX Tactical Training Rack (Medium package) includes:
                                                                                                                  Sorinex BaseFit Unlimited Tall Squat Stand (for pull‐ups,
                                                                                                                  squatting, benching), integrated storage (for bumper
                                                                                                                  plates, kettlebells, med balls), Sorinex WOD bar (olympic
                                                                                                                  20 kg bushing barbell), Sorinex Flat Utility Bench, Sorinex Hi‐
                                                                                                                  Temp black bumper plate set (pairs of 10, 25, 35, and 45
                                                                                                                  lbs), Sorinex ductile iron kettlebell set (one each: 16, 24,
                                                                                                                  and 32 kgs), Sorinex Kevlar med ball set (10, 14, and 20lbs),
                                                                                                                  Pair spring collars (olympic), Sorinex trigger bar, Sorinex
                                                                                            Tradeshow             trigger rolller, wall ball target, TRX Force kit suspension
Finished Goods                                             $5,798.00              $5,798.00 Warehouse 2           trainer, TRX Rip Trainer



                                                                               214 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                      Desc
                                                             Main Document    Page 247 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                          Description

Finished Goods                                                $51.39                 $51.39 SF TRX Office (HQ)   Xmount
                                                                                            Tradeshow
Finished Goods                                               $436.78               $436.78 Warehouse 2           Xmount
                                                                                            Amazon FBA MX ‐
Finished Goods                                             $1,464.87              $1,464.87 3PL                  TRX Xmount
                                                                                            Amazon FBA UAE ‐
Finished Goods                                                $13.69                 $13.69 3PL                  TRX Xmount
Finished Goods                                               $184.82                $184.82 Tmall ‐ 3PL          TRX Xmount
                                                                                            Amazon FBA
Finished Goods                                                $47.92                 $47.92 Returns‐Unusable     TRX Xmount
Finished Goods                                                $13.69                 $13.69 Tigers Logistics     TRX Xmount
                                                                                            IFC Integrated
Finished Goods                                             $3,888.06              $3,888.06 Fulfillment          TRX Xmount

Finished Goods                                                $54.76                  $54.76 SF TRX Office (HQ) TRX Xmount
                                                                                             TTC‐ TRX Training
Finished Goods                                                $82.14                  $82.14 Center             TRX Xmount

Finished Goods                                             $1,143.14              $1,143.14 Tigers‐UK Thurrock TRX Xmount
                                                                                            Amazon FBA CA ‐
Finished Goods                                               $527.08               $527.08 3PL                 TRX Xmount
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $13.69                 $13.69 Unsellable         TRX Xmount

Finished Goods                                                $20.54                 $20.54 Ontario Warehouse TRX Xmount
                                                                                            Tradeshow
Finished Goods                                                $27.38                 $27.38 Warehouse 1        TRX Xmount
                                                                                            Tigers
                                                                                            Logistics:Tigers ‐
Finished Goods                                               $143.75                $143.75 Returns            TRX Xmount

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                                $27.38                 $27.38 TRX Office (HQ)   TRX Xmount
Finished Goods                                             $5,702.59              $5,702.59 Amazon FBA ‐ 3PL TRX Xmount (bulk/poly bagged)


                                                                               215 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                             Main Document    Page 248 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest           Location                          Description
                                                                                             IFC Integrated
Finished Goods                                                $87.35                  $87.35 Fulfillment         TRX Xmount (bulk/poly bagged)

Finished Goods                                            $14,474.85             $14,474.85 Ontario Warehouse    TRX Xmount (bulk/poly bagged)
Finished Goods                                             $1,160.48              $1,160.48 Tigers Logistics     TRX Xmount (bulk/poly bagged)
                                                                                            IFC Integrated
                                                                                            Fulfillment:IFC ‐
Finished Goods                                                $18.72                 $18.72 Returns              TRX Xmount (bulk/poly bagged)
                                                                                            Amazon FBA CA ‐
Finished Goods                                               $623.92                $623.92 3PL                  TRX Xmount (bulk/poly bagged)

Finished Goods                                               $204.91                $204.91 Ontario Warehouse TRX Xmount ‐ DEMO ONLY

Finished Goods                                             $4,319.46              $4,319.46 Tigers‐UK Thurrock   White TRX Xmount
                                                                                            Amazon FBA CA ‐
Finished Goods                                               $556.45                $556.45 3PL                  White TRX Xmount
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,599.80              $1,599.80 Unsellable           White TRX Xmount
Finished Goods                                              $340.83                $340.83 Tmall ‐ 3PL           White TRX Xmount
Finished Goods                                             $3,373.49              $3,373.49 Amazon FBA ‐ 3PL     White TRX Xmount
                                                                                            Tradeshow
Finished Goods                                                 $6.96                  $6.96 Warehouse 2          White TRX Xmount
                                                                                            IFC Integrated
Finished Goods                                               $326.92               $326.92 Fulfillment           White TRX Xmount
Finished Goods                                                 $6.96                  $6.96 Tigers Logistics     White TRX Xmount
                                                                                            TTC‐ TRX Training
Finished Goods                                                $55.65                 $55.65 Center               White TRX Xmount

                                                                                             SF TRX Office
                                                                                             (HQ):RETURNS ‐ SF
Finished Goods                                                $41.73                  $41.73 TRX Office (HQ)   White TRX Xmount

Finished Goods                                             $2,677.49              $2,677.49 Ontario Warehouse White TRX Xmount (bulk/poly bagged)
                                                                                            Amazon FBA CA ‐
Finished Goods                                               $500.05               $500.05 3PL                White TRX Xmount (bulk/poly bagged)



                                                                               216 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 249 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                              Description

                                                                                            SF TRX Office
                                                                                            (HQ):RETURNS ‐ SF
Finished Goods                                                 $6.33                  $6.33 TRX Office (HQ)   White TRX Xmount (bulk/poly bagged)
                                                                                            IFC Integrated
Finished Goods                                               $341.81                $341.81 Fulfillment       White TRX Xmount (bulk/poly bagged)
Finished Goods                                               $113.94                $113.94 Tigers Logistics  White TRX Xmount (bulk/poly bagged)

Finished Goods                                               $158.40               $158.40 Ontario Warehouse    White TRX Xmount ‐ DEMO ONLY
                                                                                            Amazon FBA CA ‐
Finished Goods                                             $1,944.60              $1,944.60 3PL                 Grey Oval X‐mount in box
Finished Goods                                            $43,065.73             $43,065.73 Tigers Logistics    Grey Oval X‐mount in box
Finished Goods                                            $12,347.41             $12,347.41 Amazon FBA ‐ 3PL    Grey Oval X‐mount in box
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,225.25              $1,225.25 Unsellable          Grey Oval X‐mount in box

Finished Goods                                           $139,924.10            $139,924.10 Ontario Warehouse Grey Oval X‐mount in box
                                                                                            Tradeshow
Finished Goods                                                 $7.90                  $7.90 Warehouse 1       Grey Oval X‐mount in box
                                                                                            Amazon FBA MX ‐
Finished Goods                                              ‐$150.19               ‐$150.19 3PL               Grey Oval X‐mount in box

Finished Goods                                             $9,130.12              $9,130.12 Tigers‐UK Thurrock Grey Oval X‐mount in box
                                                                                            Amazon FBA
Finished Goods                                             $2,513.75              $2,513.75 Returns‐Unusable Grey Oval X‐mount in box

Finished Goods                                                $31.80                  $31.80 Ontario Warehouse Box for TRXXMOUNT4 (grey)

Finished Goods                                            $32,425.78             $32,425.78 Ontario Warehouse   Grey Oval X‐mount in box ‐ French/English
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                             $1,897.17              $1,897.17 Unsellable          Grey Oval X‐mount in box ‐ French/English
Finished Goods                                            $36,583.74             $36,583.74 Tigers Logistics    White Oval X‐mount in box
                                                                                            Amazon FBA MX ‐
Finished Goods                                                $63.24                 $63.24 3PL                 White Oval X‐mount in box


                                                                               217 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 250 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                              Description
                                                                                            Amazon FBA
Finished Goods                                             $3,193.57              $3,193.57 Returns‐Unusable     White Oval X‐mount in box

Finished Goods                                             $7,976.01              $7,976.01 Tigers‐UK Thurrock   White Oval X‐mount in box
                                                                                            IFC Integrated
Finished Goods                                               $790.49               $790.49 Fulfillment           White Oval X‐mount in box
                                                                                            Amazon FBA CA ‐
Finished Goods                                              $102.76                $102.76 3PL                   White Oval X‐mount in box
Finished Goods                                             $8,292.21              $8,292.21 Amazon FBA ‐ 3PL     White Oval X‐mount in box

Finished Goods                                            $64,551.17             $64,551.17 Ontario Warehouse White Oval X‐mount in box
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $830.01                $830.01 Unsellable        White Oval X‐mount in box

Finished Goods                                                $31.80                 $31.80 Ontario Warehouse    Box for TRXXMOUNT4 (white)
                                                                                            Tradeshow            FORCE Tactical Kit GSA (Part # TSMDVD2), NSN: 7830‐01‐
Finished Goods                                                $84.30                 $84.30 Warehouse 1          597‐4939
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐  FORCE Tactical Kit GSA (Part # TSMDVD2), NSN: 7830‐01‐
Finished Goods                                             $6,743.74              $6,743.74 Unsellable        597‐4939
                                                                                                              FORCE Tactical Kit GSA (Part # TSMDVD2), NSN: 7830‐01‐
Finished Goods                                           $474,000.63            $474,000.63 Ontario Warehouse 597‐4939

Finished Goods                                             $1,872.00              $1,872.00 Ontario Warehouse    Banner ‐ TRX Training Zone Wall Banner
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                              $504.00                $504.00 Unsellable            Banner ‐ TRX Training Zone Wall Banner
Finished Goods                                             $2,736.00              $2,736.00 Tigers Logistics     Banner ‐ TRX Training Zone Wall Banner
                                                                                            IFC Integrated
Finished Goods                                                $54.00                 $54.00 Fulfillment          Banner ‐ TRX Training Zone Wall Banner

Finished Goods                                             $7,009.20              $7,009.20 Ontario Warehouse Banner ‐ TRX Training Zone FORCE Wall Banner

Finished Goods                                                 $3.88                   $3.88 SF TRX Office (HQ) Sframe and MultiMount Instructions


                                                                               218 of 226
                            Case 8:22-bk-10949-SC              Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                              Main Document    Page 251 of 494


    General Description of Property (Raw
    Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
     Goods, Other Inventory or Supplies)             Interest            Debtor's Interest          Location                          Description
Finished Goods                                                  $3.88                   $3.88 TRX In‐Transit     Sframe and MultiMount Instructions

Finished Goods                                              $1,280.40              $1,280.40 Ontario Warehouse   Sframe and MultiMount Instructions
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                 $11.64                 $11.64 Unsellable          Sframe and MultiMount Instructions
                                                                                             Tradeshow
Finished Goods                                                 $81.48                 $81.48 Warehouse 1         Sframe and MultiMount Instructions
Finished Goods                                                $391.88               $391.88 Tigers Logistics     Sframe and MultiMount Instructions
                                                                                             IFC Integrated
Finished Goods                                                $151.32               $151.32 Fulfillment          Sframe and MultiMount Instructions
                                                                                             Tradeshow
Finished Goods                                                 $65.96                 $65.96 Warehouse 2         Sframe and MultiMount Instructions
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                 $25.00                 $25.00 Unsellable          UA Gift Card
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                 $98.20                 $98.20 Unsellable          TRX Unisex Bamboo Hoodie ‐ Charcoal ‐ L
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                 $73.65                 $73.65 Unsellable          TRX Unisex Bamboo Hoodie ‐ Charcoal ‐ M

Finished Goods                                                $270.05                $270.05 Ontario Warehouse TRX Unisex Bamboo Hoodie ‐ Charcoal ‐ S
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                 $73.65                 $73.65 Unsellable        TRX Unisex Bamboo Hoodie ‐ Charcoal ‐ XL

Finished Goods                                                $171.85               $171.85 Ontario Warehouse TRX Unisex Bamboo Hoodie ‐ Charcoal ‐ XS
                                                                                                                Black with white TRX box logo ‐ 2 1/4" W x 3 3/8" H x 1/8"
Finished Goods                                              $1,425.00              $1,425.00 SF TRX Office (HQ) D

Finished Goods                                              $1,189.85              $1,189.85 Ontario Warehouse TRX Ladies 8" Biker Short ‐ Camo‐L


                                                                                219 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                        Desc
                                                             Main Document    Page 252 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                             Description

Finished Goods                                             $2,222.55              $2,222.55 Ontario Warehouse TRX Ladies 8" Biker Short ‐ Camo‐M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $22.45                 $22.45 Unsellable        TRX Ladies 8" Biker Short ‐ Camo‐M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $67.35                 $67.35 Unsellable        TRX Ladies 8" Biker Short ‐ Camo‐S

Finished Goods                                             $2,559.30              $2,559.30 Ontario Warehouse TRX Ladies 8" Biker Short ‐ Camo‐S

Finished Goods                                               $516.35                $516.35 Ontario Warehouse TRX Ladies 8" Biker Short ‐ Camo‐XS

Finished Goods                                               $605.25                $605.25 Ontario Warehouse TRX Ladies Compression Bra ‐ Black‐L

Finished Goods                                             $1,318.10              $1,318.10 Ontario Warehouse TRX Ladies Compression Bra ‐ Black‐M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $26.90                 $26.90 Unsellable        TRX Ladies Compression Bra ‐ Black‐M

Finished Goods                                             $1,627.45              $1,627.45 Ontario Warehouse TRX Ladies Compression Bra ‐ Black‐S
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $53.80                 $53.80 Unsellable        TRX Ladies Compression Bra ‐ Black‐S

Finished Goods                                               $336.25                $336.25 Ontario Warehouse TRX Ladies Compression Bra ‐ Black‐XS

Finished Goods                                             $1,131.55              $1,131.55 Ontario Warehouse TRX Ladies L/S Cropped Hoodie ‐ Sage‐L
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $42.70                 $42.70 Unsellable        TRX Ladies L/S Cropped Hoodie ‐ Sage‐L

Finished Goods                                             $1,878.80              $1,878.80 Ontario Warehouse TRX Ladies L/S Cropped Hoodie ‐ Sage‐M


                                                                               220 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                             Main Document    Page 253 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                            Description
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $21.35                  $21.35 Unsellable         TRX Ladies L/S Cropped Hoodie ‐ Sage‐M

Finished Goods                                             $2,412.55              $2,412.55 Ontario Warehouse TRX Ladies L/S Cropped Hoodie ‐ Sage‐S
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $21.35                 $21.35 Unsellable        TRX Ladies L/S Cropped Hoodie ‐ Sage‐XS

Finished Goods                                               $512.40                $512.40 Ontario Warehouse TRX Ladies L/S Cropped Hoodie ‐ Sage‐XS

Finished Goods                                               $466.20                $466.20 Ontario Warehouse TRX Ladies Cropped Racerback Tank ‐ Black‐L
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $12.95                 $12.95 Unsellable        TRX Ladies Cropped Racerback Tank ‐ Black‐L

Finished Goods                                               $906.50                $906.50 Ontario Warehouse TRX Ladies Cropped Racerback Tank ‐ Black‐M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $25.90                 $25.90 Unsellable        TRX Ladies Cropped Racerback Tank ‐ Black‐M

Finished Goods                                             $1,282.05              $1,282.05 Ontario Warehouse TRX Ladies Cropped Racerback Tank ‐ Black‐S
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $51.80                 $51.80 Unsellable        TRX Ladies Cropped Racerback Tank ‐ Black‐S

Finished Goods                                               $103.60                $103.60 Ontario Warehouse TRX Ladies Cropped Racerback Tank ‐ Black‐XS

Finished Goods                                               $313.50                $313.50 Ontario Warehouse TRX Camo Cropped Tank ‐ Dark Grey Heather‐L
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $10.45                 $10.45 Unsellable        TRX Camo Cropped Tank ‐ Dark Grey Heather‐L


                                                                               221 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                         Desc
                                                             Main Document    Page 254 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest        Location                             Description

Finished Goods                                               $614.47                $614.47 Ontario Warehouse TRX Camo Cropped Tank ‐ Dark Grey Heather‐M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $10.59                 $10.59 Unsellable        TRX Camo Cropped Tank ‐ Dark Grey Heather‐M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $31.85                 $31.85 Unsellable        TRX Camo Cropped Tank ‐ Dark Grey Heather‐S

Finished Goods                                               $520.28                $520.28 Ontario Warehouse TRX Camo Cropped Tank ‐ Dark Grey Heather‐S
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $122.75                $122.75 Unsellable        TRX Ladies High‐Waist Legging ‐ Black‐L

Finished Goods                                               $343.70                $343.70 Ontario Warehouse TRX Ladies High‐Waist Legging ‐ Black‐L

Finished Goods                                               $859.25                $859.25 Ontario Warehouse TRX Ladies High‐Waist Legging ‐ Black‐M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $171.85                $171.85 Unsellable        TRX Ladies High‐Waist Legging ‐ Black‐M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                               $196.80                $196.80 Unsellable        TRX Ladies High‐Waist Legging ‐ Black‐S

Finished Goods                                             $1,254.62              $1,254.62 Ontario Warehouse TRX Ladies High‐Waist Legging ‐ Black‐S

Finished Goods                                               $273.03                $273.03 Ontario Warehouse TRX Ladies High‐Waist Legging ‐ Black‐XS
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $13.35                 $13.35 Unsellable        TRX Lenticular Muscle Tank ‐ Black‐L




                                                                               222 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 255 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $26.70                  $26.70 Unsellable         TRX Lenticular Muscle Tank ‐ Black‐M
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $13.35                  $13.35 Unsellable         TRX Lenticular Muscle Tank ‐ Black‐S

Finished Goods                                               $344.85                $344.85 Ontario Warehouse TRX Lenticular Square Cropped Tank ‐ Dark Grey Heather‐L
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $20.90                 $20.90 Unsellable        TRX Lenticular Square Cropped Tank ‐ Dark Grey Heather‐L
                                                                                                              TRX Lenticular Square Cropped Tank ‐ Dark Grey Heather‐
Finished Goods                                               $783.75                $783.75 Ontario Warehouse M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $20.90                 $20.90 Unsellable        TRX Lenticular Square Cropped Tank ‐ Dark Grey Heather‐S

Finished Goods                                               $574.75                $574.75 Ontario Warehouse TRX Lenticular Square Cropped Tank ‐ Dark Grey Heather‐S

Finished Goods                                                 $0.00                   $0.00 Ontario Warehouse TRX Lenticular Square Muscle Tank ‐ Black‐L
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $13.35                  $13.35 Unsellable        TRX Lenticular Square Muscle Tank ‐ Black‐L

Finished Goods                                               $453.90                $453.90 Ontario Warehouse TRX Lenticular Square Muscle Tank ‐ Black‐M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $26.70                 $26.70 Unsellable        TRX Lenticular Square Muscle Tank ‐ Black‐M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $13.54                 $13.54 Unsellable        TRX Lenticular Square Muscle Tank ‐ Black‐S


                                                                               223 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                                             Main Document    Page 256 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                             Description

Finished Goods                                               $460.29                $460.29 Ontario Warehouse TRX Lenticular Square Muscle Tank ‐ Black‐S

Finished Goods                                                $66.75                  $66.75 Ontario Warehouse TRX Camo Muscle Tank ‐ Black‐L

Finished Goods                                               $774.30                $774.30 Ontario Warehouse TRX Camo Muscle Tank ‐ Black‐M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $26.70                 $26.70 Unsellable        TRX Camo Muscle Tank ‐ Black‐M

Finished Goods                                               $841.05                $841.05 Ontario Warehouse TRX Camo Muscle Tank ‐ Black‐S

Finished Goods                                               $302.10                $302.10 SF TRX Office (HQ) TRX Branded Marketing Wrist Band ‐ APPROVAL REQUIRED

Finished Goods                                               $782.76                $782.76 Ontario Warehouse TRX Branded Marketing Wrist Band ‐ APPROVAL REQUIRED
                                                                                            Tradeshow
Finished Goods                                             $1,343.99              $1,343.99 Warehouse 2       TRX Branded Marketing Wrist Band ‐ APPROVAL REQUIRED
                                                                                                              TRX Branded Marketing Wrist Band V2 ‐ Silicone bracelet,
Finished Goods                                             $2,234.35              $2,234.35 Ontario Warehouse 1/2"
                                                                                                              TRX Branded Marketing Wrist Band V2 ‐ Silicone bracelet,
Finished Goods                                                $11.36                 $11.36 Tigers Logistics  1/2"
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $33.10                 $33.10 Unsellable        TRX Ladies Taffeta Short ‐ Black‐L

Finished Goods                                             $1,870.15              $1,870.15 Ontario Warehouse TRX Ladies Taffeta Short ‐ Black‐M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $16.55                 $16.55 Unsellable        TRX Ladies Taffeta Short ‐ Black‐M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $49.65                 $49.65 Unsellable        TRX Ladies Taffeta Short ‐ Black‐S

Finished Goods                                             $2,217.70              $2,217.70 Ontario Warehouse TRX Ladies Taffeta Short ‐ Black‐S


                                                                               224 of 226
                            Case 8:22-bk-10949-SC             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                             Main Document    Page 257 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished   Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)              Interest            Debtor's Interest         Location                              Description
                                                                                             Ontario
                                                                                             Warehouse:CS
                                                                                             Returns‐Ontario‐
Finished Goods                                                $33.10                  $33.10 Unsellable         TRX Ladies Taffeta Short ‐ Black‐XS

Finished Goods                                               $397.20                $397.20 Ontario Warehouse TRX Ladies Taffeta Short ‐ Black‐XS
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $15.35                 $15.35 Unsellable        TRX Ladies Strappy Bra ‐ Camo‐L

Finished Goods                                               $782.85                $782.85 Ontario Warehouse TRX Ladies Strappy Bra ‐ Camo‐L

Finished Goods                                             $1,366.15              $1,366.15 Ontario Warehouse TRX Ladies Strappy Bra ‐ Camo‐M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $46.05                 $46.05 Unsellable        TRX Ladies Strappy Bra ‐ Camo‐M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $15.35                 $15.35 Unsellable        TRX Ladies Strappy Bra ‐ Camo‐S

Finished Goods                                             $1,688.50              $1,688.50 Ontario Warehouse TRX Ladies Strappy Bra ‐ Camo‐S

Finished Goods                                               $491.20                $491.20 Ontario Warehouse TRX Ladies Strappy Bra ‐ Camo‐XS
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $15.35                 $15.35 Unsellable        TRX Ladies Strappy Bra ‐ Camo‐XS

Finished Goods                                               $926.25                $926.25 Ontario Warehouse TRX Ladies Strappy Bra ‐ Sage‐L

Finished Goods                                             $1,524.75              $1,524.75 Ontario Warehouse TRX Ladies Strappy Bra ‐ Sage‐M
                                                                                            Ontario
                                                                                            Warehouse:CS
                                                                                            Returns‐Ontario‐
Finished Goods                                                $42.75                 $42.75 Unsellable        TRX Ladies Strappy Bra ‐ Sage‐M


                                                                               225 of 226
                            Case 8:22-bk-10949-SC               Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                                               Main Document    Page 258 of 494


   General Description of Property (Raw
   Materials, Work in Progress, Finished     Net Book Value of Debtor's   Current Value of
   Goods, Other Inventory or Supplies)                Interest            Debtor's Interest         Location                               Description
                                                                                               Ontario
                                                                                               Warehouse:CS
                                                                                               Returns‐Ontario‐
Finished Goods                                                  $14.25                  $14.25 Unsellable          TRX Ladies Strappy Bra ‐ Sage‐S

Finished Goods                                               $1,752.75              $1,752.75 Ontario Warehouse TRX Ladies Strappy Bra ‐ Sage‐S

Finished Goods                                                 $840.75                $840.75 Ontario Warehouse TRX Ladies Strappy Bra ‐ Sage‐XS

Finished Goods                                               $5,104.75              $5,104.75 Ontario Warehouse TRXXMOUNT4 French/English Box ‐ Canadian Tire

Finished Goods                                               $1,194.37              $1,194.37 Ontario Warehouse TRXXMOUNT4 French/English Insert ‐ Canadian Tire

Finished Goods                                                 $945.03                $945.03 Ontario Warehouse TRXXMOUNT4 Packaging Insert (4.5"x5.625")
Finished Goods                                                 $344.94                $344.94 Tigers Logistics  TRXXMOUNT4 Packaging Insert (4.5"x5.625")
Finished Goods                                                 $374.34                $374.34 Tigers Logistics  TRXXMOUNT4 (White) Packaging Insert (4.5"x5.625")

Finished Goods                                                 $947.68                $947.68 Ontario Warehouse TRXXMOUNT4 (White) Packaging Insert (4.5"x5.625")

Finished Goods                                                 $572.61                $572.61 Ontario Warehouse Xmount Lag Shield Kit I/N 51214

Finished Goods                                                  $21.12                 $21.12 Tigers‐UK Thurrock   Xmount Lag Shield Kit I/N 51214
                                                                                              Ontario
                                                                                              Warehouse:CS
                                                                                              Returns‐Ontario‐
Finished Goods                                                   $8.45                  $8.45 Unsellable           Xmount Lag Shield Kit I/N 51214
Finished Goods                                                 $362.03                $362.03 Tmall ‐ 3PL          Xmount Lag Shield Kit I/N 51214
                                                                                              IFC Integrated
Finished Goods                                                   $9.65                  $9.65 Fulfillment          Xmount Lag Shield Kit I/N 51214
Finished Goods                                                  $69.99                 $69.99 Tigers Logistics     Xmount Lag Shield Kit I/N 51214
                                                                                              Tradeshow
Finished Goods                                                   $0.00                  $0.00 Warehouse 1          Yellow airwall with black TRX logo

Finished Goods                                               $1,185.92              $1,185.92 SF TRX Office (HQ) Zip‐up Sweatshirt ‐TRX¨ Grey ‐ Men X‐Large
12200 ‐ Inventory In Transit                             $3,124,954.27          $3,124,954.27
12300 ‐ Other Inventory ‐Dfd Rev                           $162,949.53            $162,949.53
12305 ‐ Other ‐ Expected Returns Inventory                  $85,562.37             $85,562.37
                                                        $20,866,878.69         $20,866,878.69


                                                                                 226 of 226
                          Case 8:22-bk-10949-SC      Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06               Desc
                                                    Main Document    Page 259 of 494



Schedule B ‐ Exhibit 41

   General Description of Property (Office Furniture, Office   Net Book Value of Debtor's   Valuation Method Used for     Current Value of
           Fixtures, Office Equpment, Collectibles)                     Interest                  Current Value           Debtor's Interest
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
               Tradeshow Booth Construction                                         $0.00   Straight‐Line Depreciation                   $0.00
                          Dell Server                                               $0.00   Straight‐Line Depreciation                   $0.00
                       Sewing Machine                                               $0.00   Straight‐Line Depreciation                   $0.00
                        (3) Dell Servers                                            $0.00   Straight‐Line Depreciation                   $0.00
                DROBO Nas Network Storage                                           $0.00   Straight‐Line Depreciation                   $0.00
                DROBO Nas Network Storage                                           $0.00   Straight‐Line Depreciation                   $0.00


                                                                    1 of 46
                       Case 8:22-bk-10949-SC         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06               Desc
                                                    Main Document    Page 260 of 494



   General Description of Property (Office Furniture, Office   Net Book Value of Debtor's   Valuation Method Used for     Current Value of
           Fixtures, Office Equpment, Collectibles)                     Interest                  Current Value           Debtor's Interest
                       Sewing Machines                                              $0.00   Straight‐Line Depreciation                   $0.00
                      X Serve Hardware                                              $0.00   Straight‐Line Depreciation                   $0.00
                      Network Hardware                                              $0.00   Straight‐Line Depreciation                   $0.00
                          Dell Server                                               $0.00   Straight‐Line Depreciation                   $0.00
                    Poweredge R710 Server                                           $0.00   Straight‐Line Depreciation                   $0.00
                    Poweredge R710 Server                                           $0.00   Straight‐Line Depreciation                   $0.00
              Powervault 1 MD1000 (hardware)                                        $0.00   Straight‐Line Depreciation                   $0.00
             Powervault 4 MD1000s (hardware)                                        $0.00   Straight‐Line Depreciation                   $0.00
                 New server‐ Ultra path 3000                                        $0.00   Straight‐Line Depreciation                   $0.00
                    Production server KVM                                           $0.00   Straight‐Line Depreciation                   $0.00
              Hardware, 1 Server for new office                                     $0.00   Straight‐Line Depreciation                   $0.00
                  2 Poweredge R415 Server                                           $0.00   Straight‐Line Depreciation                   $0.00
                  1 Poweredge R910 Server                                           $0.00   Straight‐Line Depreciation                   $0.00
          Trdshw Sup‐LP Strtch, Stnd Cse, Military                                  $0.00   Straight‐Line Depreciation                   $0.00
                  1 server for IT department                                        $0.00   Straight‐Line Depreciation                   $0.00
                     MICR implementation                                            $0.00   Straight‐Line Depreciation                   $0.00
                New Soundsystem for TSbooth                                         $0.00   Straight‐Line Depreciation                   $0.00
                   SmartConnect/Flexicoder                                          $0.00   Straight‐Line Depreciation                   $0.00
             Enhancements to Tradeshowbooth                                         $0.00   Straight‐Line Depreciation                   $0.00
                    ServerUpgrade at 1660                                           $0.00   Straight‐Line Depreciation                   $0.00
               Compile Reports, Reim2/22‐3/25                                       $0.00   Straight‐Line Depreciation                   $0.00
                DefineHighLevelRequ3/16‐3/20                                        $0.00   Straight‐Line Depreciation                   $0.00
               Mgmt Reporter Writing 3/22‐29                                        $0.00   Straight‐Line Depreciation                   $0.00
             Mekorma MICR Implement3/24‐25                                          $0.00   Straight‐Line Depreciation                   $0.00
                 Purchasing/Inv Train3/28‐4/1                                       $0.00   Straight‐Line Depreciation                   $0.00
                 Purchasing/Inv Train3/28‐4/1                                       $0.00   Straight‐Line Depreciation                   $0.00
Mgmt Report Writig/Reim3/15‐29                                                      $0.00   Straight‐Line Depreciation                   $0.00
TBennett Reimbursables 4/11                                                         $0.00   Straight‐Line Depreciation                   $0.00
JGraham4/18‐4/26                                                                    $0.00   Straight‐Line Depreciation                   $0.00
Projec Mgmt/TravelExp3/28‐4/26                                                      $0.00   Straight‐Line Depreciation                   $0.00
JGraham Reimbursables 4/4‐4/13                                                      $0.00   Straight‐Line Depreciation                   $0.00


                                                                    2 of 46
                       Case 8:22-bk-10949-SC          Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06               Desc
                                                     Main Document    Page 261 of 494



    General Description of Property (Office Furniture, Office   Net Book Value of Debtor's   Valuation Method Used for     Current Value of
             Fixtures, Office Equpment, Collectibles)                    Interest                  Current Value           Debtor's Interest
Analysis/Deploy 5/2‐5/9                                                              $0.00   Straight‐Line Depreciation                   $0.00
Project Mgmt/reimburs4/20‐5/25                                                       $0.00   Straight‐Line Depreciation                   $0.00
Consulting Services 5/16‐5/25                                                        $0.00   Straight‐Line Depreciation                   $0.00
Process Review 5/2‐5/25                                                              $0.00   Straight‐Line Depreciation                   $0.00
Process Review,Testing 6/6‐26                                                        $0.00   Straight‐Line Depreciation                   $0.00
Install & Setup for Credit Card                                                      $0.00   Straight‐Line Depreciation                   $0.00
Process Review/Compile Status                                                        $0.00   Straight‐Line Depreciation                   $0.00
RTriggs 6/27‐7/20 ERP phase 2                                                        $0.00   Straight‐Line Depreciation                   $0.00
Finance Server                                                                       $0.00   Straight‐Line Depreciation                   $0.00
J Graham‐Travel time                                                                 $0.00   Straight‐Line Depreciation                   $0.00
RTriggs 9/19‐9/23                                                                    $0.00   Straight‐Line Depreciation                   $0.00
JGraham travel time                                                                  $0.00   Straight‐Line Depreciation                   $0.00
JGraham 9/20‐9/22                                                                    $0.00   Straight‐Line Depreciation                   $0.00
Process Review/support                                                               $0.00   Straight‐Line Depreciation                   $0.00
Finance/Legal/HR Server                                                              $0.00   Straight‐Line Depreciation                   $0.00
Overstock‐Network Fluke equip                                                        $0.00   Straight‐Line Depreciation                   $0.00
Travel Time Reimbursables                                                            $0.00   Straight‐Line Depreciation                   $0.00
Phase 2 ERP                                                                          $0.00   Straight‐Line Depreciation                   $0.00
Reimbursable Travel Phase 2 ERP                                                      $0.00   Straight‐Line Depreciation                   $0.00
Project Mgmt/Deploy                                                                  $0.00   Straight‐Line Depreciation                   $0.00
Business Pilot                                                                       $0.00   Straight‐Line Depreciation                   $0.00
Project Mgmt/Deploy                                                                  $0.00   Straight‐Line Depreciation                   $0.00
RTriggs‐Test Support                                                                 $0.00   Straight‐Line Depreciation                   $0.00
Reimbursables 10/20‐10/27                                                            $0.00   Straight‐Line Depreciation                   $0.00
Reimbursables 10/24‐28                                                               $0.00   Straight‐Line Depreciation                   $0.00
Development/Deploy 10/17‐27                                                          $0.00   Straight‐Line Depreciation                   $0.00
Deploy,Project Mgmt‐10/31‐11/9                                                       $0.00   Straight‐Line Depreciation                   $0.00
JGraham Travel Time                                                                  $0.00   Straight‐Line Depreciation                   $0.00
RTriggs‐ Airfare 10/01                                                               $0.00   Straight‐Line Depreciation                   $0.00
Deploy,Proj.Mgmt‐11/16‐11/23                                                         $0.00   Straight‐Line Depreciation                   $0.00
RTriggs‐TravelExp.‐10/24‐10/28                                                       $0.00   Straight‐Line Depreciation                   $0.00


                                                                     3 of 46
                       Case 8:22-bk-10949-SC          Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06               Desc
                                                     Main Document    Page 262 of 494



    General Description of Property (Office Furniture, Office   Net Book Value of Debtor's   Valuation Method Used for     Current Value of
             Fixtures, Office Equpment, Collectibles)                    Interest                  Current Value           Debtor's Interest
Storage for IT Servers‐MD 1000                                                       $0.00   Straight‐Line Depreciation                   $0.00
Reimbursables RTriggs                                                                $0.00   Straight‐Line Depreciation                   $0.00
JGraham,TBenett travel,parking                                                       $0.00   Straight‐Line Depreciation                   $0.00
RTriggs ‐ travel expenses                                                            $0.00   Straight‐Line Depreciation                   $0.00
Development,proj mgmt,deployme                                                       $0.00   Straight‐Line Depreciation                   $0.00
RTriggs ‐ travel time                                                                $0.00   Straight‐Line Depreciation                   $0.00
JGraham ‐ travel time                                                                $0.00   Straight‐Line Depreciation                   $0.00
JGraham‐travel time                                                                  $0.00   Straight‐Line Depreciation                   $0.00
RTriggs ‐ airfare                                                                    $0.00   Straight‐Line Depreciation                   $0.00
Development,proj mgmt,deployme                                                       $0.00   Straight‐Line Depreciation                   $0.00
Project mgmt,deployment                                                              $0.00   Straight‐Line Depreciation                   $0.00
Developmemt/Proj Mgmt                                                                $0.00   Straight‐Line Depreciation                   $0.00
Project Management                                                                   $0.00   Straight‐Line Depreciation                   $0.00
Reimbursables                                                                        $0.00   Straight‐Line Depreciation                   $0.00
Reimbursables                                                                        $0.00   Straight‐Line Depreciation                   $0.00
Deploy/Proj Mgmt                                                                     $0.00   Straight‐Line Depreciation                   $0.00
Reimbursables                                                                        $0.00   Straight‐Line Depreciation                   $0.00
RT Mileage/Parking/Tolls                                                             $0.00   Straight‐Line Depreciation                   $0.00
Travel Time/Mileage                                                                  $0.00   Straight‐Line Depreciation                   $0.00
Project Management 3/9‐3/15                                                          $0.00   Straight‐Line Depreciation                   $0.00
Firewalls to Replace Sonicwall                                                       $0.00   Straight‐Line Depreciation                   $0.00
Wireless Network Replacement                                                         $0.00   Straight‐Line Depreciation                   $0.00
10G Network Upgrade                                                                  $0.00   Straight‐Line Depreciation                   $0.00
Military Iphone App                                                                  $0.00   Straight‐Line Depreciation                   $0.00
Force App                                                                            $0.00   Straight‐Line Depreciation                   $0.00
Force App                                                                            $0.00   Straight‐Line Depreciation                   $0.00
Force App                                                                            $0.00   Straight‐Line Depreciation                   $0.00
Modular Trade Show Booth                                                             $0.00   Straight‐Line Depreciation                   $0.00
Force App                                                                            $0.00   Straight‐Line Depreciation                   $0.00
Force App                                                                            $0.00   Straight‐Line Depreciation                   $0.00
Project 20' Shipping container                                                       $0.00   Straight‐Line Depreciation                   $0.00


                                                                     4 of 46
                       Case 8:22-bk-10949-SC         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06               Desc
                                                    Main Document    Page 263 of 494



   General Description of Property (Office Furniture, Office   Net Book Value of Debtor's   Valuation Method Used for     Current Value of
           Fixtures, Office Equpment, Collectibles)                     Interest                  Current Value           Debtor's Interest
2 Apple Thunderbolt Displays                                                        $0.00   Straight‐Line Depreciation                   $0.00
Stephen Gould invoice 5062933 for 20 floorstand displays ‐ 120
Retail                                                                              $0.00   Straight‐Line Depreciation                  $0.00
Macbook Pro 15in. 2.5G 152837                                                       $0.00   Straight‐Line Depreciation                  $0.00
T 463‐5912 ‐ 3 Dell Networking X1052P ‐ Switches                                    $0.00   Straight‐Line Depreciation                  $0.00

15‐Inch Macbook Pro Retina Display, 2.2GHz, 16GB SDRAM,
256GB Flash Storage, Intel Iris, Force touch, T20160115.0253 ‐
AppleCare Protection Plan. Allocated Sales Tax $213.10.
Depreciate over 3 years ‐ 1/1/2016 ‐ 12/31/2018 ‐ New IT Hire                   ‐$450.00 Straight‐Line Depreciation                  ‐$450.00
Apple Thunderbolt Display ‐ 27inch ‐ T20160115.0246.
Allocated Sales Tax $106.49. Depreciate over 3 years. New IT
Hire                                                                               $0.00 Straight‐Line Depreciation                     $0.00
1238207 Height Adj Desk Maple Silver ‐ Amortize over 7
years/84 months May 2016 ‐ April 2023                                            $153.33 Straight‐Line Depreciation                   $153.33
3x Dell Latitude E5570, 1x MacBook Pro 15‐inch with Retina
Display, warranty, adaptors, docking station & taxes, amortize
from May 2016 through April 2019                                                   $0.00 Straight‐Line Depreciation                     $0.00
Apple Thunderbolt Display 27‐inch, flash drive, cable, warranty
& taxes. Amortize May 2016‐April 2019                                              $0.00 Straight‐Line Depreciation                     $0.00
Ergonomic keyboard, Lenovo X1 Carbon, docking station,
cable, docking station & taxes ‐ Amortize over 36 months July
2016 ‐ June 2019                                                                   $0.00 Straight‐Line Depreciation                     $0.00
Height Adjustable Maple Black Desks Amortize over 7 years/84
months August 2016 ‐ July 2023                                                   $350.37 Straight‐Line Depreciation                   $350.37
13' MacBook Pro with Retina display, 13' MacBook Air, 11'
MacBook Air, Keyboard & Warranty Depreciate from 9/1/2016
to 8/31/2019 3 Years                                                               $0.00 Straight‐Line Depreciation                     $0.00
3 Plantronics headsets for TTC ‐ Depreciate over 3 years from
Sept 2016 ‐ Aug 2019                                                               $0.00 Straight‐Line Depreciation                     $0.00




                                                                   5 of 46
                       Case 8:22-bk-10949-SC         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06            Desc
                                                    Main Document    Page 264 of 494



   General Description of Property (Office Furniture, Office   Net Book Value of Debtor's Valuation Method Used for    Current Value of
           Fixtures, Office Equpment, Collectibles)                     Interest                Current Value          Debtor's Interest
Macbook Pro Dual for Nick Vay in Commercial; original date
080416 Depreciate from Aug 2016 ‐ July 2019                                        $0.00 Straight‐Line Depreciation                   $0.00

IT Team: Mackbook Air 11 inch 1.6G 4 GB 316004, Macbook
Pro 13in 2.7 G 8 GB 315948 Amortize 9/1/2016‐8/31/2019                             $0.00 Straight‐Line Depreciation                   $0.00
2 Dell Latitude Laptops E5470 8GB Memory, 500GB Hard Drive ‐
Currently backup laptops unassigned ‐ Amortize from October
2016 to September 2019                                                             $0.00 Straight‐Line Depreciation                   $0.00
2 iPadPros 9.7 wifi 32GB. 1 Gray, 1 Rose. Amortize over 3
years. October 2016 ‐ September 2019                                               $0.00 Straight‐Line Depreciation                   $0.00

4 Plantronics cs540 Headsets for Customer Service Team ‐
Amortize over 3 years from October 2016 ‐ September 2019                           $0.00 Straight‐Line Depreciation                   $0.00
Dell Latitude E5470 6th Gen Intel Core 8GB Mem, 500GB Hard
drive T20161107.0842 Amortize over 3 years November 2016 ‐
October 2019                                                                       $0.00 Straight‐Line Depreciation                   $0.00
Phase 1 TRX Mobile eCommerce Build Amortize over 3 year
November 2016 ‐ October 2019                                                       $0.00 Straight‐Line Depreciation                   $0.00
Macbook Air Depreciate from Nov 2016 to Oct 2019 over 3
years.                                                                             $0.00 Straight‐Line Depreciation                   $0.00
Capitalize Website Development ‐ Hubspot Setup and
Configuration Invoice 4650 dated 10/24/2016 ‐ Amortize over
3 years ‐ November 2016 ‐ October 2019                                             $0.00 Straight‐Line Depreciation                   $0.00
Website Development ‐ Hubspot Setup and Configuration ($7K
due at completion) ‐ Amortize over 3 years ‐ November 2016 ‐
October 2019                                                                       $0.00 Straight‐Line Depreciation                   $0.00

Capitalize Macbook Pro 13 inch 2.9G 8G from Office Depot
invoice 799981184001 from October 2015 Depreciate from
October 2015 ‐ September 2018 over 3 years                                         $0.03 Straight‐Line Depreciation                   $0.03




                                                                    6 of 46
                       Case 8:22-bk-10949-SC         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06              Desc
                                                    Main Document    Page 265 of 494



   General Description of Property (Office Furniture, Office     Net Book Value of Debtor's Valuation Method Used for    Current Value of
            Fixtures, Office Equpment, Collectibles)                      Interest                Current Value          Debtor's Interest
Capitalize Computer Hardware/Software from Gowda's
Expense reports ‐ Office Software and Hardware Solutions
depreciate over 3 years from August 2015 ‐ July 2018
A4E23484212E4D148EF4                                                                ‐$0.07 Straight‐Line Depreciation                  ‐$0.07
Capitalize Computer Hardware/Software from Gowda's
Expense reports ‐ 3 Laptops and related expense depreciate
over 3 years from September 2015 ‐ Aug 2018
F86090AD110F4870B619                                                                ‐$0.02 Straight‐Line Depreciation                  ‐$0.02

Capitalize Computer Hardware/Software from Gowda's
Expense reports ‐ 4 Dell Laptops after 6 were stolen, Doug
Levinthal's Mack Build‐out ‐ depreciate over 3 years from June
2015 ‐ May 2018 76A8910BEB914EBEAE32                                                 $0.03 Straight‐Line Depreciation                   $0.03
Capitalize Expenses from Inflow 7505 50% Down for
development of new mobile website. Invoice dated
10/20/2016. Amortize over 3 years from November 2016 ‐
October 2019                                                                         $0.00 Straight‐Line Depreciation                   $0.00
Capitalize Computer Hardware/Software from Gowda's
Expense reports ‐ Mac Hardware for TTC as old one broke
down depreciate over 3 years from July 2015 ‐ June 2018
B807B0958E8045AC9F05                                                                 $0.00 Straight‐Line Depreciation                   $0.00
Capitalize Computer Hardware/Software from Gowda's
Expense reports ‐ Office Hardware and Software Solutions ‐
depreciate over 3 years from Oct 2015 ‐ Sept 2018
34273100F3F04047AA5F                                                                 $0.00 Straight‐Line Depreciation                   $0.00
Capitalize Computer Hardware/Software from Gowda's
Expense reports ‐ 3 laptops (1 for Alyssa Lee and spares), Mac
Computer Hardware for Sid Nasr ‐ depreciate over 3 years
from Nov 2015 ‐ Oct 2018 63C6E6E45A6049E4AF27                                        $0.00 Straight‐Line Depreciation                   $0.00




                                                                      7 of 46
                       Case 8:22-bk-10949-SC         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06             Desc
                                                    Main Document    Page 266 of 494



    General Description of Property (Office Furniture, Office  Net Book Value of Debtor's Valuation Method Used for     Current Value of
            Fixtures, Office Equpment, Collectibles)                    Interest                Current Value           Debtor's Interest
4 Seagate Constellation SAS Hard Drives, 2 Dell Latitude
Laptops. Amortize over 3 years December 2016 ‐ November
2019                                                                                $0.00 Straight‐Line Depreciation                   $0.00
Mobile Site Consulting & Migration Project. Project Completion
Date : 12/01/2016. Depreciate over 3 years from November
2016 ‐ October 2019                                                                 $0.00 Straight‐Line Depreciation                   $0.00

Mobile Site Consulting & Migration Project. One time
additional time to finalize the Ga/GTM updates ‐ Amortize over
3 years from November 2016 ‐ October 2019                                         ‐$0.01 Straight‐Line Depreciation                   ‐$0.01
MacBook Pro 13 inch hardware w/ Screen + Software ‐
Electronic + CEDA ‐15 Amortize over 3 years from December
2016 ‐ November 2019                                                               $0.00 Straight‐Line Depreciation                    $0.00
HP Laserjet printer for the warehouse. Depreciate over 3 years ‐
December 2016 ‐ November 2019                                                      $0.00 Straight‐Line Depreciation                    $0.00

Capitalize Raizlabs TRX 123 App Development Fees from 2016.
Raizlabs invoices 1361 and 1375 for outside development fees
"External direct costs of material and services consumed in
developing or obtaining internal‐use software". Do NOT
Amortize until we release the app to the public. Finance to
provide app release date.                                                     $95,000.00 Straight‐Line Depreciation              $95,000.00
Capitalize Macbook Pro 13 inch 3.3G 16G from Apple part #
S3191LL/A Depreciate from December 2016 ‐ November 2019
over 3 years                                                                       $0.00 Straight‐Line Depreciation                    $0.00
Phase 2 TRX Mobile eCommerce Build Amortize over 3 years
November 2016 ‐ October 2019                                                       $0.00 Straight‐Line Depreciation                    $0.00




                                                                   8 of 46
                      Case 8:22-bk-10949-SC          Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06              Desc
                                                    Main Document    Page 267 of 494



   General Description of Property (Office Furniture, Office     Net Book Value of Debtor's Valuation Method Used for    Current Value of
           Fixtures, Office Equpment, Collectibles)                       Interest                Current Value          Debtor's Interest

Capitalize Macbook Pro 15 inch 2.9G 1TB from Apple part #
MLW92LL/A Depreciate from January 2017 ‐ December 2019
over 3 years ‐ Capitalize Expenses from Becker's Expense
Report ID 2A937A224AAD41B9A16B from January 2017                                     $0.00 Straight‐Line Depreciation                   $0.00

Dell Latitude E3750 ProSupport 3 years T20170202.0841, Dell
UltraHD Docking Station etc including tax. Depreciate over 3
years from January 2017 ‐ December 2019 Ann Zuelke                                   $0.00 Straight‐Line Depreciation                   $0.00
Dell OptiPlex ; Mouse ; Keyboard etc ‐ Bela Mekare's new
computer. T20170201.0943 ‐ Depreciate from Jan 2017 ‐
December 2019 3 years                                                                $0.00 Straight‐Line Depreciation                   $0.00
Capitalize Groove Commerce Invoice 4772 which was originally
expensed ‐ Website Development ‐ Amortize over 3 years ‐
February 2017 ‐ January 2020                                                         $0.00 Straight‐Line Depreciation                   $0.00
TRX Pro App Ipad and Web Development Amortize over 3
years.Dep from July 2017                                                             $0.00 Straight‐Line Depreciation                   $0.00
TRX Consumer App iOS and Andriod Development. Amortize
over 3 years. Dep from July 2017                                                     $0.00 Straight‐Line Depreciation                   $0.00

3 Dell Latitude E7470 BTX Laptops, 1 Dell Docking Station USB
3.0, 3 E‐Port, 130W Simple Port Replicator Customer Kit ‐
Amortize over 3 years from March 2017 to February 2020                               $0.00 Straight‐Line Depreciation                   $0.00
Hanging TRX Sign Purchase for trade shows ‐ Depreciate over 3
years from March 2017 to February 2020 to the 350 Marketing
department                                                                           $0.00 Straight‐Line Depreciation                   $0.00
Website Development ‐ Hubspot Make it Personal Phase 1
(50% due at completion) ‐ Amortize over 3 years ‐ April 2017 ‐
March 2020                                                                           $0.00 Straight‐Line Depreciation                   $0.00




                                                                      9 of 46
                      Case 8:22-bk-10949-SC        Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06              Desc
                                                  Main Document    Page 268 of 494



   General Description of Property (Office Furniture, Office  Net Book Value of Debtor's Valuation Method Used for     Current Value of
            Fixtures, Office Equpment, Collectibles)                   Interest                Current Value           Debtor's Interest
Website Development ‐ Design and Development of Dedicated
Video Hosting Page ‐ Make it Personal Amortize over 3 years ‐
May 2017 ‐ April 2020                                                              $0.00 Straight‐Line Depreciation                   $0.00
Capitalize RAH Cell phone from AMEX Expense Report
D998A728CD974624B556 4/30/2017 ‐ Amortize over 3 years
from May 2017 to April 2020                                                        $0.00 Straight‐Line Depreciation                   $0.00

Capitalize TRX MAPS Best Buy Dell Monitor purchased on
Casey Corcoran's expense report 5/12/2017. Dell OptiPlex 23
Touchscreen Allinone Intel Core i5 8GB Memory 500GB Hard
Drive Model OPTI74402459AIO SKU 4986907 Amortize over 3
years from May 2017 ‐ April 2020                                                  $0.00 Straight‐Line Depreciation                    $0.00

Website Rebuild for trxtraining.com ‐‐ Dep from Aug 2017                          $0.00 Straight‐Line Depreciation                    $0.00

Website Rebuild for trxtraining.com ‐‐ Dep from Aug 2017                          $0.00 Straight‐Line Depreciation                    $0.00

4x IPAD Mini 4 WI‐FI plus Apple CarePK9NLL/A and AC
adapters Amortize over 3 years from June 2017 ‐ May 2020                          $0.00 Straight‐Line Depreciation                    $0.00
Dell Purchase/Other Charges. ‐‐ Precision Tower , Xeon
Processor , Hard Drive etc. Mauricio's computer ‐ Amortize
over 3 years from June 2017 ‐ May 2020                                            $0.00 Straight‐Line Depreciation                    $0.00
Applecare + For MB/MB Air ‐ PHX Apple care for Georgia's new
laptop. On invoice 4444332806. Amortize over 3 years July
2017 ‐ June 2020                                                                  $0.00 Straight‐Line Depreciation                    $0.00
MB AIR 13.3/8GB ZOUV Georgia's Laptop ‐ Amortize over 3
years July 2017 ‐ June 2020                                                       $0.00 Straight‐Line Depreciation                    $0.00
Website Rebuild June 2017 Amortize over 3 years from Aug
2017 ‐ July 2020                                                                  $0.00 Straight‐Line Depreciation                    $0.00
Website Rebuild May 2017 Amortize over 3 years from Aug
2017 ‐ July 2020                                                                  $0.00 Straight‐Line Depreciation                    $0.00


                                                                  10 of 46
                       Case 8:22-bk-10949-SC          Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06             Desc
                                                     Main Document    Page 269 of 494



     General Description of Property (Office Furniture, Office   Net Book Value of Debtor's Valuation Method Used for    Current Value of
             Fixtures, Office Equpment, Collectibles)                     Interest                Current Value          Debtor's Interest
IDEA World 2017 ‐ Trade Show Retail Shelving and Closets to
be used for multiple shows ‐ Amortize over 3 years from July
2017 ‐ June 2020                                                                     $0.00 Straight‐Line Depreciation                   $0.00
SEO Website Redesign ‐ Ensure the new website is properly
migrated and optimized for organic search, and incorporates
all SEO best practices. Amortize over 3 years from Aug 2017 ‐
July 2020                                                                            $0.00 Straight‐Line Depreciation                   $0.00
Materials for Furniture and Fixtures for trade shows ‐
Depreciate over 3 years from July 2017 ‐ June 2020                                   $0.00 Straight‐Line Depreciation                   $0.00
Website Development Hubspot Email Transfer Project | 30%
Project Deposit Amortize over 3 years from Aug 2017 ‐ July
2020                                                                                 $0.00 Straight‐Line Depreciation                   $0.00
Applecare + For MB/MB Air ‐ PHX ‐ Jenai's Mac ‐ See
4447078411 ‐ Amortize over 3 years from July 2017 ‐ June
2020 with the laptop                                                                 $0.00 Straight‐Line Depreciation                   $0.00
Apple MBP 13.3 Space Gray Product # Z0UK ‐ Jenia's Mac ‐
Amortize over 3 years from July 2017 ‐ June 2020                                     $0.00 Straight‐Line Depreciation                   $0.00
4 Bluetooth scanners for the factory ‐ Amortize over 3 years
from July 2017 to June 2020                                                          $0.00 Straight‐Line Depreciation                   $0.00
Website Development Hubspot Email Transfer Project | 30%
Project Deposit Amortize over 3 years from Aug 2017 ‐ July
2020                                                                                 $0.00 Straight‐Line Depreciation                   $0.00
MacBook Air + Apple Care for Jen Thomas Product #
MQD42LL/A ‐ Amortize over 3 years from August 2017 to July
2020                                                                                 $0.00 Straight‐Line Depreciation                   $0.00
Website Rebuild July 2017 Amortize over 3 years from August
2017 ‐ July 2020                                                                     $0.00 Straight‐Line Depreciation                   $0.00
Apple Care + USB ‐ C Digital for Anil's Macbook Pro 13" ‐
Depreciate over 3 years from August 2017 ‐ July 2020                                 $0.00 Straight‐Line Depreciation                   $0.00




                                                                     11 of 46
                      Case 8:22-bk-10949-SC          Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06            Desc
                                                    Main Document    Page 270 of 494



   General Description of Property (Office Furniture, Office   Net Book Value of Debtor's Valuation Method Used for    Current Value of
           Fixtures, Office Equpment, Collectibles)                     Interest                Current Value          Debtor's Interest

Apple Care + Thunderbolt Adapter for Alex V's Macbook Pro
15" Amortize over 3 years from August 2017 ‐ July 2020                             $0.00 Straight‐Line Depreciation                   $0.00

spare/new hire Dell computers as well as one for Rosaura ‐
Depreciate over 3 years from August 2017 to July 2020                              $0.00 Straight‐Line Depreciation                   $0.00
MBP 15.4 Space Gray + Recycle Fee Alex V's Macbook Pro
Product # Z0UC. Depreciate over 3 years from August 2017 ‐
July 2020                                                                          $0.00 Straight‐Line Depreciation                   $0.00
MBP 13.3 Space Gray + Recycle Fee Anil's Macbook Pro
Product #Z0UH. Depreciate over 3 years from August 2017 ‐
July 2020                                                                          $0.00 Straight‐Line Depreciation                   $0.00
Applecare fro Macbook Pro 15 inch + Thunderbolt 3 to
Thunderbolt 2 Heather Ham ‐ Depreciate over 3 years from
August 2017 to July 2020                                                           $0.00 Straight‐Line Depreciation                   $0.00
Applecare + FOR MB PRO 13' for Ryan Damon ‐ Depreciate
over 3 years from August 2017 to July 2020                                         $0.00 Straight‐Line Depreciation                   $0.00
Applecare + FOR MB PRO 13' Chris Frankel Depreciate over 3
years from August 2017 to July 2020                                                $0.00 Straight‐Line Depreciation                   $0.00
MBP 13.3 Space Gray Macbook Pro for Ryan Damon ‐
Depreciate over 3 years from August 2017 ‐ July 2020                               $0.00 Straight‐Line Depreciation                   $0.00
MBP 15.4 Space Gray Macbook Pro for Heather Ham ‐
Depreciate from August 2017 ‐ July 2020                                            $0.00 Straight‐Line Depreciation                   $0.00
MBP 13.3 Space Gray ‐ Macbook Pro for Chris Frankel ‐
depreciate over 3 years from August 2017 ‐ July 2020                               $0.00 Straight‐Line Depreciation                   $0.00
TRX Training | Hubspot Email Transfer Project | 40% Final.
Depreciate over 3 years from Aug 2017 ‐ July 2020                                  $0.00 Straight‐Line Depreciation                   $0.00

TRX Aug 2017 Installment ‐ Website Rebuild Development ‐
Depreciate over 3 years from Aug 2017 ‐ July 2020                                  $0.00 Straight‐Line Depreciation                   $0.00




                                                                   12 of 46
                      Case 8:22-bk-10949-SC          Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06              Desc
                                                    Main Document    Page 271 of 494



   General Description of Property (Office Furniture, Office     Net Book Value of Debtor's Valuation Method Used for    Current Value of
           Fixtures, Office Equpment, Collectibles)                       Interest                Current Value          Debtor's Interest

Apple care + USB + Thunderbolt for Casey Corcoran ‐
Depreciate over 3 years from October 2017 ‐ September 2020                           $0.00 Straight‐Line Depreciation                   $0.00
Apple care + USB and adapters for Sean Todd ‐ Depreciate over
3 years October 2017 ‐ September 2020                                                $0.00 Straight‐Line Depreciation                   $0.00

Capitalize Sony Camera Package for the Marketing Department
on Bela's Expense Reports in October 2017
DE11802EB9CB47E3AD3B and 5BC9D3C8FBE64A82B6A2
Depreciate over 5 years from October 2017 to September 2022                        $585.31 Straight‐Line Depreciation                $585.31
TRX September 2017 Installment Website Rebuild
Development ‐ Depreciate over 3 years from Aug 2017 ‐ July
2020                                                                                 $0.00 Straight‐Line Depreciation                   $0.00

MBP 15.4 Space Gray Laptop for Casey Corcoran. Depreciate
over 3 years from October 2017 ‐ September 2020                                      $0.00 Straight‐Line Depreciation                   $0.00

MBP 15.4 Space Gray ‐ Sean Todd Laptop Apple ‐ Depreciate
over 3 years from October 2017 ‐ September 2020                                      $0.00 Straight‐Line Depreciation                   $0.00

Two desktop computers + monitors for the warehouse.
Depreciate over 3 years from October 2017 to September 2020                          $0.00 Straight‐Line Depreciation                   $0.00
2 IPADs for the TTC Front Desk ‐ Depreciate over 3 years from
November 2017 ‐ October 2020                                                         $0.00 Straight‐Line Depreciation                   $0.00

H‐5149 Zebra Direct Thermal Transfer Printer ‐ Depreciate over
3 years from November 2017 ‐ October 2020                                            $0.00 Straight‐Line Depreciation                   $0.00
TRX November 2017 instalment                                                         $0.00 Straight‐Line Depreciation                   $0.00




                                                                     13 of 46
                      Case 8:22-bk-10949-SC         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06               Desc
                                                   Main Document    Page 272 of 494



    General Description of Property (Office Furniture, Office   Net Book Value of Debtor's Valuation Method Used for     Current Value of
            Fixtures, Office Equpment, Collectibles)                     Interest                Current Value           Debtor's Interest
Reverse JETRX74891255 which was to Capitalize Raizlabs TRX
123 App Development Fees from 2016. Raizlabs invoices 1361
and 1375 for outside development fees "External direct costs
of material and services consumed in developing or
obtaining(more...)                                                             ‐$95,000.00 Straight‐Line Depreciation             ‐$95,000.00
TRX December 2017 Installment Depreciate over 3 years from
Aug 2017 ‐ July 2020                                                                 $0.00 Straight‐Line Depreciation                   $0.00
TRX November 2017 Instalment Depreciate over 3 years from
Aug 2017 ‐ July 2020                                                                 $0.00 Straight‐Line Depreciation                   $0.00

2 Dell Latitude 7480 BTX laptops and accessories ‐ Depreciate
over 3 years from December 2017 to November 2020                                     $0.00 Straight‐Line Depreciation                   $0.00
Capitalize Fixed Assets from Bela's December 2017 Expense
Reports C18E0CDECBA541A398BD and
DA65585603104777AF69 ‐ Standing Desks ‐ Depreciate over 5
years from December 2017 to November 2022                                          $96.41 Straight‐Line Depreciation                   $96.41
TRX January 2018 Installment of Website Development‐
Depreciate over 3 years from Aug 2017 ‐ July 2020                                    $0.00 Straight‐Line Depreciation                   $0.00
MacBook Air 13.3 1.8GHZ 8 GB 256 GB + Applecare + tax ‐
Brynne Elliott ‐ Depreciate over 3 years from Jan 2018 to Dec
2020                                                                                 $0.00 Straight‐Line Depreciation                   $0.00

MacBook Air 13.3inch 1.8GHZ 8GB 256GB + Applecare Justin
Pan ‐ Depreciate over 3 years from Jan 2018 to December 2020                         $0.00 Straight‐Line Depreciation                   $0.00
Dell Purchase & Other Charges 4 Dell Latitude laptops 7480
BTX ‐ Depreciate over 3 years from February 2018 to January
2021                                                                                 $0.00 Straight‐Line Depreciation                   $0.00
MacBook Pro 13.3 SPACE GRAY + Applecare ‐ ecomm team ‐
Depreciate over 3 years from Feb 2018 ‐ Jan 2021                                     $0.00 Straight‐Line Depreciation                   $0.00
PZ new MB AIR C1MW300AJ1WM‐Depreciate Feb 18‐Jan 21 3
years                                                                                $0.00 Straight‐Line Depreciation                   $0.00


                                                                    14 of 46
                      Case 8:22-bk-10949-SC        Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                Desc
                                                  Main Document    Page 273 of 494



   General Description of Property (Office Furniture, Office  Net Book Value of Debtor's   Valuation Method Used for     Current Value of
            Fixtures, Office Equpment, Collectibles)                   Interest                  Current Value           Debtor's Interest
TRX February 2018 Installment Installment of Website
Development‐ Depreciate over 3 years from Aug 2017 ‐ July
2020                                                                               $0.00   Straight‐Line Depreciation                   $0.00
MQD32LL/A MB Air 13.3in 1.8 GHZ 8GB + Apple Care for Front
Desk Depreciate over 3 years from March 2018 to February
2021                                                                               $0.00   Straight‐Line Depreciation                   $0.00
Desktop Casing, Motherboard, Power Supply, Solid State Drive,
Hard Drive, Cooling for Mauricio Depreciate over 3 years from
March 2018 to February 2021                                                        $0.00   Straight‐Line Depreciation                   $0.00
Desktop Memory for Mauricio Depreciate over 3 years from
March 2018 to February 2021                                                        $0.00   Straight‐Line Depreciation                   $0.00
Monitor Depreciate over 3 years from March 2018 to February
2021                                                                               $0.00   Straight‐Line Depreciation                   $0.00

4 Dell Latitude 7480 BTX Laptops + 7th Generation Intel Core
etc Depreciate over 3 years from March 2018 ‐ February 2021                       $0.00 Straight‐Line Depreciation                      $0.00
Intel Desktop Processor, Video Card, Radiator, for Mauricio ‐
Depreciate from April 2018 to March 2021                                          $0.00 Straight‐Line Depreciation                      $0.00
TRX March 2018 Installment Depreciate over 3 years from Aug
2017 ‐ July 2020                                                                  $0.00 Straight‐Line Depreciation                      $0.00
APC Smart UPS Uninterruptible power supply ‐ Depreciate over
7 years from April 2018 to March 2025                                         $1,979.26 Straight‐Line Depreciation                 $1,979.26
Add to Newegg Capitalization Mauricio's Computer Depreciate
from April 2018 to March 2021                                                     $0.00 Straight‐Line Depreciation                      $0.00
TRX 30 Day Bridge ‐‐ 1st 50% ‐ Website development ‐
Depreciate over 3 years from March 2018 ‐ Feb 2021                                $0.00 Straight‐Line Depreciation                      $0.00
MAPS monitor Trade Show Equip Deprec over 5 years May18‐
Apr 2023                                                                        $157.07 Straight‐Line Depreciation                   $157.07
MAPS monitor Trade Show Equip Deprec over 5 years May18‐
Apr 2023                                                                        $200.30 Straight‐Line Depreciation                   $200.30




                                                                  15 of 46
                       Case 8:22-bk-10949-SC         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06               Desc
                                                    Main Document    Page 274 of 494



   General Description of Property (Office Furniture, Office      Net Book Value of Debtor's Valuation Method Used for    Current Value of
           Fixtures, Office Equpment, Collectibles)                        Interest                Current Value          Debtor's Interest
MacBook AIR + Apple Care for Marketing Temp ‐ Depreciate
from May 2018 ‐ April 2021 3 years                                                    $0.00 Straight‐Line Depreciation                   $0.00
Microsoft Surface Tablet for core‐Depreciate from May18‐Apr
2021                                                                                  $0.00 Straight‐Line Depreciation                   $0.00

UK Website development ‐ new website similar to US website ‐
do not depreciate until next $10,500 invoice is received ‐‐
Depreciate from July 2018 to June 2021 over 3 years                                   $0.00 Straight‐Line Depreciation                   $0.00
US Website development ‐ Single‐sign‐on implmentation for
TRX ecosystem‐ Depreciate over 3 years ‐‐ Jan 2019 to Dec
2021                                                                                  $0.00 Straight‐Line Depreciation                   $0.00

MacBook AIR 13.3/8GB Laptop for Lorenzo Applecare 2nd
invoice ‐ Depreciate over 3 years from June 2018 to May 2021                          $0.00 Straight‐Line Depreciation                   $0.00
MacBook AIR 13.3/8GB Laptop for EDU plus applecare ‐
Depreciate over 3 years from June 2018 to May 2021                                    $0.00 Straight‐Line Depreciation                   $0.00
MacBook AIR 13.3/8GB Laptop for Lorenzo ‐ Depreciate over 3
years from June 2018 to May 2021                                                      $0.00 Straight‐Line Depreciation                   $0.00
Macbook Pro 15 laptop for CEO‐depreciate May18‐Apr21                                  $0.00 Straight‐Line Depreciation                   $0.00
MBP 15.4 SG + APPLE CARE + USB etc for Sid Nasr ‐ Depreciate
over 3 years from June 2018 to May 2021                                               $0.00 Straight‐Line Depreciation                   $0.00
Kelsey and 2 Back‐ups ‐ 3 Dell Latitude 7480 BTX Laptops ‐
Depreciate over 3 years from June 2018 ‐ May 2021                                     $0.00 Straight‐Line Depreciation                   $0.00
Build risers for monitors + acrylic bracket for computers ‐
Depreciate over 5 years from June 2018 to May 2023                                  $200.03 Straight‐Line Depreciation                $200.03
Applecare + For Macbook ‐ Combine with Laptop invoice for
Allison Aclado ‐ Depreciate over 3 years from July 2018 to June
2021                                                                                  $0.00 Straight‐Line Depreciation                   $0.00
Add to Cusick Macbook Pro 13" ‐ Applecare + For MB
Depreciate over 3 years from July 2018 to June 2021                                   $0.00 Straight‐Line Depreciation                   $0.00




                                                                      16 of 46
                      Case 8:22-bk-10949-SC          Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06             Desc
                                                    Main Document    Page 275 of 494



    General Description of Property (Office Furniture, Office   Net Book Value of Debtor's Valuation Method Used for    Current Value of
            Fixtures, Office Equpment, Collectibles)                     Interest                Current Value          Debtor's Interest
MacBook Air 1.3/8GB ZOUV for Allison Aclado ‐ Depreciate
over 3 years from July 2018 to June 2021                                            $0.00 Straight‐Line Depreciation                   $0.00
Rick Cusick MacBook Pro 13.3 Space Gray Laptop ‐ Depreciate
over 3 years from July 2018 to June 2021                                            $0.00 Straight‐Line Depreciation                   $0.00
Artisan Complete Ltd.Invoice INV093397 for 75 retail endcaps
owned by FA LLC. Depreciate over 5 years from July 2018 to
June 2023                                                                       $3,575.14 Straight‐Line Depreciation              $3,575.14

Website Development ‐ TRX Dev Support & Content Creation ‐‐
123.59 hours ‐ New ecomm enhancements, new EDU website
and MAPS web pages. This is strictly development . Depreciate
over 3 years ‐ August 2018 ‐ July 2021                                              $0.00 Straight‐Line Depreciation                   $0.00
new laptop for mauricio‐dep over 3 years Aug18‐July21                               $0.00 Straight‐Line Depreciation                   $0.00

3 Microsoft Surface Tablets‐dep over 3 years Aug18‐July21                           $0.00 Straight‐Line Depreciation                   $0.00
LG Ultrafine 27" Monitory + Magic Mouse + Keyboard + Cables
for RAH ‐ Depreciate over 3 years from August 2018 to July
2021                                                                                $0.00 Straight‐Line Depreciation                   $0.00
2 Latitude 7490 Laptops ‐ Depreciate over 3 years from Sept
2018 to Aug 2021                                                                    $0.00 Straight‐Line Depreciation                   $0.00
Installation, setup, and purchase of video projector & audio
system for lobby ‐ depreciate over 3 years from September
2018 to August 2021                                                                 $0.00 Straight‐Line Depreciation                   $0.00
TRX Dev Support & Content creation ( 92.3 hours ) building in
new ecomm enhancements, new EDU website and MAPS web
pages. This is strictly development. Amortize over 3 years ‐
September 2018 ‐ August 2021                                                        $0.00 Straight‐Line Depreciation                   $0.00

standing desks ‐ depreciate over 5 years Oct 2018‐Sept 2023                       $307.91 Straight‐Line Depreciation                $307.91
2 Dell Latitude 7490 Laptops ‐ Depreciate over 3 years from
October 2018 to September 2021                                                      $0.00 Straight‐Line Depreciation                   $0.00


                                                                    17 of 46
                       Case 8:22-bk-10949-SC           Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06              Desc
                                                      Main Document    Page 276 of 494



   General Description of Property (Office Furniture, Office       Net Book Value of Debtor's Valuation Method Used for    Current Value of
           Fixtures, Office Equpment, Collectibles)                         Interest                Current Value          Debtor's Interest

Applecare+For MAC Pro Combine with Evan Andrews Mac
Laptop Depreciate over 3 years from October 2018 ‐ Sept 2021                           $0.00 Straight‐Line Depreciation                   $0.00
MAC Pro for Evan Andrews ‐ Depreciate over 3 years from
October 2018 to September 2021                                                         $0.00 Straight‐Line Depreciation                   $0.00
TRX Dev Support & Content creation ‐new ecomm
enhancements, new EDU website and MAPS web pages. This is
strictly development. Amortize over 3 years ‐ October 2018 ‐
Sept 2021                                                                              $0.00 Straight‐Line Depreciation                   $0.00
2 Dell Latitude 7490 Laptops ‐ depreciate over 3 years from
November 2018 to October 2021                                                          $0.00 Straight‐Line Depreciation                   $0.00

UK Website development ‐ new website similar to US website ‐
Depreciate from July 2018 to June 2021 over 3 years                                    $0.00 Straight‐Line Depreciation                   $0.00
TRX 30 Day Bridge ‐ Final 50% Website development ‐
Depreciate over 3 years from March 2018 ‐ Feb 2021                                     $0.00 Straight‐Line Depreciation                   $0.00
Applecare + MBP 13.3 Space Gray Laptop for Emily Brown ‐
Depreciate over 3 years from Dec 2018 ‐ Nov 2021                                       $0.00 Straight‐Line Depreciation                   $0.00
MBP 13.3 Space Gray Laptop for Emily Brown ‐ Depreciate over
3 years from Dec 2018 ‐ Nov 2021                                                       $0.00 Straight‐Line Depreciation                   $0.00
ZT230 DIRECT THERMAL/THERMAL PRINTER ‐ Depreciate over
3 years from Jan 2019 to Dec 2021                                                      $0.00 Straight‐Line Depreciation                   $0.00
PNOE Breath Analysis Device ‐ Depreciate over 5 years from
Jan 2019 to Dec 2024                                                               $2,670.72 Straight‐Line Depreciation              $2,670.72

2 computer monitors ‐ depreciate over 3 years Jan19‐Dec21                              $0.00 Straight‐Line Depreciation                   $0.00

WEBSITE DEVELOPMENT‐ v2 development. HYFN built various
new features and added coded for customer reviews,
upsell/crosssell features, new PDP copy alignment fields, etc. ‐
Depreciate over 3 years from Jan 2019 to Dec 2021                                      $0.00 Straight‐Line Depreciation                   $0.00


                                                                       18 of 46
                      Case 8:22-bk-10949-SC          Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06               Desc
                                                    Main Document    Page 277 of 494



    General Description of Property (Office Furniture, Office   Net Book Value of Debtor's Valuation Method Used for      Current Value of
            Fixtures, Office Equpment, Collectibles)                     Interest                Current Value            Debtor's Interest
AppleCare ‐ Combine with MacBook Air Space Gray
13.3/1.6GHZ for Bela ‐ Depreciate over 3 years from Feb 2019
to Jan 2022                                                                         $0.00 Straight‐Line Depreciation                     $0.00
MacBook Air Space Gray 13.3/1.6GHZ for Bela ‐ Depreciate
over 3 years from Feb 2019 to Jan 2022                                              $0.00   Straight‐Line Depreciation                  $0.00
Owl Camera ‐ dep over 3 years Feb19‐Jan22 ‐ Warranty                                $0.00   Straight‐Line Depreciation                  $0.00
Owl Camera ‐ dep over 3 years Feb19‐Jan22                                           $0.00   Straight‐Line Depreciation                  $0.00
Noel's Camera Equip‐Dep over 5 years Jan19‐Dec23                                  $422.80   Straight‐Line Depreciation                $422.80
Noel Camera equipment‐dep over 5 years Feb19‐Jan24                                $243.46   Straight‐Line Depreciation                $243.46
Noel Camera equipment‐dep over 5 years Feb19‐Jan24                                $131.51   Straight‐Line Depreciation                $131.51
Noel Camera equipment‐dep over 5 years Feb19‐Jan24                                $131.51   Straight‐Line Depreciation                $131.51
Equipment for Products ‐ New Tooling Costs for JRT new EU
Straps ‐‐ POTRX1574 ‐ Depreciate over 5 years from Feb 2019
to Jan 2024                                                                     $5,676.99 Straight‐Line Depreciation                $5,676.99
Equipment for Products ‐ New Tooling Costs for KB sizing ‐‐
POTRX1574 ‐ Depreciate over 5 years from Feb 2019 to Jan
2024                                                                            $4,348.67 Straight‐Line Depreciation                $4,348.67

Software & Development Charges for the Project " TRX Admin
Portal "‐ Depreciate over 3 years from March 2019 ‐ Feb 2022                        $0.00 Straight‐Line Depreciation                     $0.00
Website Development ‐ Support & content creation ‐‐ Nov
2019 to Jan 2019 ‐‐ 54.94 hrs @200 / hr ‐ Depreciate over 3
years from Jan 2019 ‐ December 2021                                                 $0.00 Straight‐Line Depreciation                     $0.00
Software & Development Charges for the Project " TRX Admin
Portal ‐‐ 50 % of the Project fee ‐‐‐ Depreciate over 3 years
from March 2019 ‐ Feb 2022                                                          $0.00 Straight‐Line Depreciation                     $0.00
Best Buy Camera Equipment ‐ Dep over 5 years from Mar19‐
Feb24                                                                             $588.99 Straight‐Line Depreciation                  $588.99
MBA 13.3 + Applecare Louis Lopez ‐ Depreciate over 3 years
from March 2019 to Feb 2022                                                         $0.00 Straight‐Line Depreciation                     $0.00




                                                                    19 of 46
                      Case 8:22-bk-10949-SC          Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                Desc
                                                    Main Document    Page 278 of 494



    General Description of Property (Office Furniture, Office   Net Book Value of Debtor's   Valuation Method Used for     Current Value of
             Fixtures, Office Equpment, Collectibles)                    Interest                  Current Value           Debtor's Interest
TRX Development Support & Content Creation ‐‐ Depreciate
over 3 years from Jan 2019 to Feb 2022                                               $0.00   Straight‐Line Depreciation                   $0.00
RD and GF iPhones ‐ Dep over 3 years from Mar19‐Feb22                                $0.00   Straight‐Line Depreciation                   $0.00
Software Development ‐ 50% Down on TRX MAPS Translations ‐
Do not amortize until Finance gives amortization period ‐ May
2019 to April 2022                                                                   $0.00   Straight‐Line Depreciation                   $0.00
Software & Development Charges for the Project " TRX Admin
Portal ‐‐ 25% of the project fee ‐ Depreciate over 3 years from
March 2019 to Feb 2022                                                               $0.00   Straight‐Line Depreciation                   $0.00
50% of Fitbit App Design and Build ‐ do not amortize until
second invoice received                                                         $14,125.00   Straight‐Line Depreciation             $14,125.00
TRX Amendment to the SOW ‐‐ Depreciate over 3 years from
March 2019 to Feb 2022                                                               $0.00   Straight‐Line Depreciation                   $0.00
25% Down on TRX MAPS Translations due upon delivery of
image to Dell ‐ Amortize over 3 years from May 2019 to April
2022 ‐ Software Development                                                          $0.00   Straight‐Line Depreciation                   $0.00
MB Air 13.3 SPACE GRAY ‐ Maddie Martin ‐ Depreciate over 3
years from May 2019 ‐ April 2022                                                     $0.00   Straight‐Line Depreciation                   $0.00

Apple Care + For MBP 13.3 SPACE GRAY ‐ Marissa Christie ‐
Depreciate over 3 years from May 2019 ‐ April 2022                                  $0.00 Straight‐Line Depreciation                      $0.00
MBP 13.3 SPACE GRAY ‐ Marissa Christie ‐ Depreciate over 3
years from May 2019 ‐ April 2022                                                    $0.00 Straight‐Line Depreciation                      $0.00
Applecare + For MB / MB Air ‐ Maddie Martin to be combined
with laptop purchase invoice Depreciate over 3 years from
May 2019 ‐ April 2022                                                               $0.00 Straight‐Line Depreciation                      $0.00
P.O ‐ Rosaura ‐‐ Uline Pallet Truck for warehouse ‐ Depreciate
over 5 years from May 2019 to April 2024                                          $716.72 Straight‐Line Depreciation                   $716.72
US Website development ‐ Single‐sign‐on implmentation for
TRX ecosystem‐ Final 50% received ‐ Depreciate over 3 years ‐‐
Jan 2019 to Dec 2021                                                                $0.00 Straight‐Line Depreciation                      $0.00


                                                                   20 of 46
                      Case 8:22-bk-10949-SC         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                  Desc
                                                   Main Document    Page 279 of 494



    General Description of Property (Office Furniture, Office   Net Book Value of Debtor's    Valuation Method Used for     Current Value of
            Fixtures, Office Equpment, Collectibles)                     Interest                   Current Value           Debtor's Interest
Final 25% on TRX MAPS Translations due upon TRX approval of
system image and TRX HQ start‐up/squat testing approval to
proceed with commercial deployment ‐ Amortize over 3 years
from May 2019 to April 2022                                                           $0.00   Straight‐Line Depreciation                   $0.00
Gov Software Customization for TRXMAPS Kiosks ‐ Amortize
over 3 years from May 2019 to April 2022                                              $0.00   Straight‐Line Depreciation                   $0.00
Sean Mcknight Dell XPS 15 (9570) Laptop ‐ Depreciate over 3
years from June 2019 to May 2022                                                    ‐$16.08   Straight‐Line Depreciation                 ‐$16.08
Dell Laptop Mobile Precision 7730CXTO BASE for Pete
Ambrosini ‐ Depreciate from June 2019 to May 2022                                    ‐$9.44   Straight‐Line Depreciation                  ‐$9.44
MBP 13.3 Laptop for Hutchison ‐ Dep over 3 years June19‐
May22                                                                               ‐$13.26   Straight‐Line Depreciation                 ‐$13.26
TRX Commercial Website ‐ Website Development ‐ Depreciate
over 3 years from July 2019 ‐ June 2022                                           $2,585.37   Straight‐Line Depreciation              $2,585.37
Apple Care + For MB PRO 15" for Ashlie Reitz ‐ Depreciate over
3 years from July 2019 to June 2022                                                   $7.26   Straight‐Line Depreciation                   $7.26
MBP 15.4 Silver Ashli Reitz ‐ Depreciate over 3 years from July
2019 ‐ June 2022                                                                     $65.27   Straight‐Line Depreciation                  $65.27
Dell Latitude 7480 Item W084X ‐ Alex Martinez ‐ Depreciate
over 3 years from July 2019 ‐ June 2022                                              $17.40   Straight‐Line Depreciation                  $17.40
John H Cell Phone ‐ Dep over 3 years from July19‐Jun22                               $27.50   Straight‐Line Depreciation                  $27.50
Computer Equip HHam ‐ Dep over 3 years July19‐June22                                 $38.34   Straight‐Line Depreciation                  $38.34
APPLECARE+ FOR MB PRO 13' ‐ PHX ‐ Rob Martin ‐ Depreciate
over 3 years from Aug 2019 to July 2022                                              $11.88   Straight‐Line Depreciation                  $11.88
MacBook Pro 13.3 Space Gray Laptop Rob Martin ‐ Depreciate
from August 2019 ‐ July 2022                                                       $110.30    Straight‐Line Depreciation                $110.30
50% of Fitbit App Design and Build ‐ Software / App
Development ‐ Depreciate over 3 years from August 2019 to
July 2022                                                                          $693.17    Straight‐Line Depreciation                $693.17




                                                                    21 of 46
                      Case 8:22-bk-10949-SC          Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                Desc
                                                    Main Document    Page 280 of 494



    General Description of Property (Office Furniture, Office  Net Book Value of Debtor's    Valuation Method Used for     Current Value of
            Fixtures, Office Equpment, Collectibles)                    Interest                   Current Value           Debtor's Interest
Applecare for Macbook pro and iPad Pro + Magic Mouse 2
Space Gray + Magic Keyboard etc Yariv Padva ‐ depreciate over
3 years from Aug 2019 to July 2022                                                  $42.70   Straight‐Line Depreciation                  $42.70
iPad pro Space Gray 12.9 Yariv Padva ‐ Depreciate over 3 years
from Aug 2019 to July 2022                                                          $60.20   Straight‐Line Depreciation                  $60.20
Used 48x48 stack racks / U‐01007 for warehouse ‐ depreciate
over 7 years from Aug 2019 to July 2026                                          $2,351.94   Straight‐Line Depreciation              $2,351.94
Camera Equipment Macro Lens‐Dep over 5 years from Sept19‐
Aug24                                                                             $483.06    Straight‐Line Depreciation                $483.06

MacBook Pro 13.3 Space Gray for Yariv Padva (Starts Sept 3) ‐
Depreciate over 3 years from September 2019 ‐ August 2022                         $172.74 Straight‐Line Depreciation                   $172.74
MBP 13.3 + AppleCare ‐ For Glenna Bongcaron HR ‐ Depreciate
over 3 years from Sept 2019 ‐ Aug 2022                                            $136.47 Straight‐Line Depreciation                   $136.47
Applecare + For MB Dan Bell ‐ depreciate over 3 years from
Sept 2019 to Aug 2022                                                              $17.21 Straight‐Line Depreciation                     $17.21
MBA 13.3 Silver /1.6 GHZ ‐ Dan Bell ‐ depreciate over 3 years
from Sept 2019 to Aug 2022                                                        $117.87 Straight‐Line Depreciation                   $117.87
Dell Actiontec ScreenBeam + Superbowl meeting room
projector ‐ Depreciate over 3 years from Sept 2019 to August
2022                                                                              $193.37 Straight‐Line Depreciation                   $193.37
Physmodo Lenovo Laptop Purchase Requested through P
Dickman and S Mcknight ‐ Depreciate over 3 years from Sept
2019 ‐ Aug 2022                                                                    $85.25 Straight‐Line Depreciation                     $85.25
Racking deposit for Unit A. ‐ depreciate over 7 years from Nov
2019 (Unit A lease begins) to Oct 2026                                          $3,454.96 Straight‐Line Depreciation                 $3,454.96
30% Racking for Unit A. ‐ depreciate over 7 years from Nov
2019 (Unit A lease begins) to Oct 2026                                          $2,198.61 Straight‐Line Depreciation                 $2,198.61
Camera Equipment ‐ Dep over 5 years from Nov19‐Oct24                             $727.24 Straight‐Line Depreciation                   $727.24
Dell Latitude 7400 BTX Laptop for Mark Reis Depreciate over 3
years from Nov 2019 (start date in Nov)‐ Oct 2022                                 $243.48 Straight‐Line Depreciation                   $243.48


                                                                   22 of 46
                       Case 8:22-bk-10949-SC          Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06               Desc
                                                     Main Document    Page 281 of 494



    General Description of Property (Office Furniture, Office  Net Book Value of Debtor's    Valuation Method Used for     Current Value of
             Fixtures, Office Equpment, Collectibles)                   Interest                   Current Value           Debtor's Interest
Dell Advanced Projector for World Cup Meeting room ‐
Depreciate over 3 years from Oct 2019 to Sept 2022                                $235.63    Straight‐Line Depreciation                $235.63
Racking and Camera System for Unit A. ‐ depreciate over 7
years from Nov 2019 (Unit A lease begins) to Oct 2026                            $4,183.64   Straight‐Line Depreciation              $4,183.64
P.O Number ‐‐ PETE Racking for Unit A. ‐ depreciate over 7
years from Nov 2019 (Unit A lease begins) to Oct 2026                            $2,710.05   Straight‐Line Depreciation              $2,710.05
P.O Number ‐‐ John ‐‐ Used Wire Mesh Decks PETE Racking for
Unit A. ‐ depreciate over 7 years from Nov 2019 (Unit A lease
begins) to Oct 2026                                                               $869.76    Straight‐Line Depreciation                $869.76
TRX Core 2.0 ‐ Website Development ‐ Depreciate over 3 years ‐
TRX Finance to let team know when Core 2.0 is released to
start depreciation                                                             $12,409.12    Straight‐Line Depreciation             $12,409.12
2 Dell Docks + 1 Dell Latitude Laptop for IT + Fixed Hardware
Configuration ‐ Depreciate over 3 years from Dec 2019 ‐ Nov
2022                                                                              $347.14    Straight‐Line Depreciation                $347.14
Opening Balance Sheet "Standard Adjustments" Per Trial
Balance Tab in the "Opening Balance Sheet Workbook‐ jd v3"
spreadsheet                                                                          $0.00   Straight‐Line Depreciation                   $0.00
Opening Balance Sheet "Standard Adjustments" Per Trial
Balance Tab in the "Opening Balance Sheet Workbook‐ jd v3"
spreadsheet                                                                          $0.00   Straight‐Line Depreciation                  $0.00
Camera Equipment‐Dep over 5 years from Jan20‐Dec24                               $4,009.47   Straight‐Line Depreciation              $4,009.47
Apple Care for 2 Macbook Pros for Georgia and Nasario ‐
please combine with laptop invoice ‐ Amortize from over 3
years Feb 2020 ‐ Jan 2023                                                         $112.42    Straight‐Line Depreciation                $112.42

MBP 13.3 Silver replacement computers for Georgia and
Nasario ‐ depreciate over 3 years from Feb 2020 ‐ Jan 2023.                       $661.36 Straight‐Line Depreciation                   $661.36
Dell Dock + Dell Latitude ‐ two new hires ‐ depreciate over 3
years from Feb 2020 ‐ Jan 2023                                                    $893.25 Straight‐Line Depreciation                   $893.25




                                                                   23 of 46
                       Case 8:22-bk-10949-SC           Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06              Desc
                                                      Main Document    Page 282 of 494



   General Description of Property (Office Furniture, Office       Net Book Value of Debtor's Valuation Method Used for    Current Value of
           Fixtures, Office Equpment, Collectibles)                         Interest                Current Value          Debtor's Interest

2 Dell Latitude laptops ‐ One for Chris Allen, One Spare. Please
amortize over 3 years from March 2020 to Feb 2023                                    $753.92 Straight‐Line Depreciation                $753.92

Website/App Development ‐ Consumer App Development fee ‐
amortize over 3 years from April 2020 to March 2023                                $6,782.41 Straight‐Line Depreciation              $6,782.41
Website Development ‐ Core Platform ‐ SOW Payment 1 ‐ Do
not depreciate until Finance indicates                                            $45,888.89 Straight‐Line Depreciation             $45,888.89
Website Development ‐ TRX Live Alpha Platform ‐ Do not
depreciate until Finance indicates                                                 $3,915.85 Straight‐Line Depreciation              $3,915.85
ADA website development ‐ amortize over 3 years from June
2020 ‐ May 2023                                                                    $2,676.52 Straight‐Line Depreciation              $2,676.52
Website Development ‐ Core Platform ‐ SOW Payment 2 ‐ Do
not depreciate until Finance indicates                                            $47,023.55 Straight‐Line Depreciation             $47,023.55
Apple Laptop for Chris Frankel dep June 20 ‐ May23                                 $1,118.78 Straight‐Line Depreciation              $1,118.78
Apple Laptop for Glenna dep June 20 ‐ May23                                         $994.11 Straight‐Line Depreciation                $994.11
Furniture, Fixtures and Equipment: TRX Live Filming Equip‐Dep
over 3 years from July20‐June23                                                    $3,748.29 Straight‐Line Depreciation              $3,748.29
Core Platform SOW ‐ Website Capitalization ‐ Depreciate over
3 years from August 2020 ‐ July 2023                                              $47,023.55 Straight‐Line Depreciation             $47,023.55
Payment 4 Core Platform SOW ‐ Website Capitalization ‐
Depreciate over 3 years from August 2020 ‐ July 2023                              $47,023.55 Straight‐Line Depreciation             $47,023.55
Internal Use Software ‐ Amortize over 3 years from August
2020 to July 2023 Docusign CLM implementation                                      $3,089.85 Straight‐Line Depreciation              $3,089.85
Internal Use Software ‐ Domo BI Tool Implementation Fees ‐
Amortize over 3 year from August 2020 ‐ July 2023                                  $3,824.07 Straight‐Line Depreciation              $3,824.07
Core Platform SOW Payment 5 ‐ Website Capitalization ‐
Depreciate over 3 years from August 2020 to July 2023                             $47,023.55 Straight‐Line Depreciation             $47,023.55
TRX Signifyd API Development ‐ Website Development ‐
Automation of approving non‐fraudulent orders ‐ Amortize
over 3 years from August 2020 ‐ July 2023                                          $1,835.56 Straight‐Line Depreciation              $1,835.56


                                                                       24 of 46
                      Case 8:22-bk-10949-SC        Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                 Desc
                                                  Main Document    Page 283 of 494



    General Description of Property (Office Furniture, Office Net Book Value of Debtor's    Valuation Method Used for     Current Value of
            Fixtures, Office Equpment, Collectibles)                   Interest                   Current Value           Debtor's Interest
Dell XPS 15 7000 Series 7590 Laptop for Jacob G ‐ Depreciate
over 3 years from Aug 2020 ‐ July 2023                                           $756.07    Straight‐Line Depreciation                $756.07
Internal Use Software ‐ Amortize over 3 years from August
2020 to July 2023 Docusign CLM implementation                                   $1,824.08   Straight‐Line Depreciation              $1,824.08
Macbook Pro ‐ New User ‐ Maya + Apple Care ‐ New User ‐
Maya shumpert + Shipping ‐ New User ‐ Maya shumpert ‐ Start
date 09/08/2020 ‐ Please Amortize from Sept 2020 ‐ August
2023                                                                             $864.69    Straight‐Line Depreciation                $864.69
Website / Software Development ‐ Demand Planning Tool ‐
Depreciate over 3 years from November 2020 (launch month) ‐
October 2023                                                                    $5,494.05   Straight‐Line Depreciation              $5,494.05
Core Platform SOW Payment 6 ‐ Website Capitalization ‐
Depreciate over 3 years from August 2020 to July 2023                         $47,023.56    Straight‐Line Depreciation             $47,023.56
Project Name: Fitness Anywhere‐00224223‐TM‐PI ‐ Website /
Software Development ‐ Demand Planning Tool ‐ Depreciate
over 3 years from November 2020 (launch month) ‐ October
2023                                                                            $7,993.20   Straight‐Line Depreciation              $7,993.20
16 inch Macbook Pro + Apple Care ‐ Warren Frost ‐ amortize
over 3 years from Sept 2020 ‐ August 2023                                       $1,324.90   Straight‐Line Depreciation              $1,324.90
Internal Use Software ‐ Amortize over 3 years from August
2020 to July 2023 Docusign CLM implementation ‐‐ Sep 1 to
Sep 15                                                                          $3,059.26   Straight‐Line Depreciation              $3,059.26
Internal Use Software ‐ Amortize over 3 years from August
2020 to July 2023 Docusign CLM implementation ‐‐ Sept 16 to
Sept 30                                                                         $3,040.15   Straight‐Line Depreciation              $3,040.15
Internal Use Software ‐ Amortize over 3 years from October
2020 to Sept 2023 Paystand implementation                                       $1,357.69   Straight‐Line Depreciation              $1,357.69
Core Platform SOW Payment 7 ‐ Website Capitalization ‐
Depreciate over 3 years from August 2020 to July 2023                         $47,023.56    Straight‐Line Depreciation             $47,023.56




                                                                  25 of 46
                       Case 8:22-bk-10949-SC         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06              Desc
                                                    Main Document    Page 284 of 494



   General Description of Property (Office Furniture, Office     Net Book Value of Debtor's Valuation Method Used for    Current Value of
           Fixtures, Office Equpment, Collectibles)                       Interest                Current Value          Debtor's Interest

Uberflip / Sprintfwd implementation ‐ Website Captialization ‐
Depreciate over 3 years from Oct 2020 ‐ Sept 2023                                $2,189.81 Straight‐Line Depreciation              $2,189.81
Lenovo Laptop ‐ Justin Galiani ‐ Depreciate Oct 2020 ‐ Sept
2023                                                                               $660.65 Straight‐Line Depreciation                $660.65

Macbook Pro ‐ Brynne, Nasario, Mike M, Apple Care ‐ Brynne,
Nasario, Mike M, &
2 TBD ‐ Amortize over 3 years from October 2020 ‐ Sept 2023                      $3,663.56 Straight‐Line Depreciation              $3,663.56
6 Dell Latitude 7400 BTX laptops                                                 $2,926.87 Straight‐Line Depreciation              $2,926.87
Internal Use Software ‐ Amortize over 3 years from August
2020 to July 2023 Docusign CLM implementation                                    $1,242.82 Straight‐Line Depreciation              $1,242.82
Project Name: Fitness Anywhere‐00224223‐TM‐PI ‐ Website /
Software Development ‐ Demand Planning Tool ‐ Depreciate
over 3 years from November 2020 (launch month) ‐ October
2023                                                                             $8,010.59 Straight‐Line Depreciation              $8,010.59
Internal Use Software ‐ Amortize over 3 years from August
2020 to July 2023 Docusign CLM implementation ‐‐ Oct 16 to
Oct31                                                                            $2,638.61 Straight‐Line Depreciation              $2,638.61
Core Platform SOW Retainer , November ‐ Website
Capitalization ‐ Depreciate over 3 years from August 2020 to
July 2023                                                                       $47,800.92 Straight‐Line Depreciation             $47,800.92
Project Name: Fitness Anywhere‐00224223‐TM‐PI. Website /
Software Development ‐ Demand Planning Tool ‐ Depreciate
over 3 years from November 2020 (launch month) ‐ October
2023                                                                             $4,349.34 Straight‐Line Depreciation              $4,349.34
Internal Use Software ‐ Amortize over 3 years from August
2020 to July 2023 Docusign CLM implementation ‐‐Nov 2 to
Nov 12                                                                             $917.78 Straight‐Line Depreciation                $917.78




                                                                     26 of 46
                       Case 8:22-bk-10949-SC          Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06            Desc
                                                     Main Document    Page 285 of 494



    General Description of Property (Office Furniture, Office   Net Book Value of Debtor's Valuation Method Used for    Current Value of
            Fixtures, Office Equpment, Collectibles)                     Interest                Current Value          Debtor's Interest
20 hours of professional services per agreement ‐ Adaptive
OfficeConnect Software Development ‐ Depreciate over 3
years from May 2020 ‐ April 2023                                                $1,345.83 Straight‐Line Depreciation              $1,345.83
Internal Use Software ‐ Amortize over 3 years from August
2020 to July 2023 Docusign CLM implementation ‐‐Nov 16 to
Nov 30                                                                            $592.73 Straight‐Line Depreciation                $592.73

3 Dell Latitude 7400 BTX Laptops ‐ Depreciate over 3 years
from December 2020 to November 2023 ‐ Palacio and 2 spares                      $1,368.84 Straight‐Line Depreciation              $1,368.84
Website Development ‐ Zuora implementation ‐ Amortize over
3 years from Feb 2021 ‐ Jan 2024                                                  $905.97 Straight‐Line Depreciation                $905.97
Core Platform SOW Retainer , November ‐ Website
Capitalization ‐ Depreciate over 3 years from August 2020 to
July 2023                                                                      $47,800.92 Straight‐Line Depreciation             $47,800.92

Website development ‐ Friendbuy Referral program Set up fee ‐
Amortize over 3 years from Dec 2020 to Nov 2023                                   $740.28 Straight‐Line Depreciation                $740.28
Project Name: Fitness Anywhere‐00224223‐TM‐PI. Website /
Software Development ‐ Demand Planning Tool ‐ Depreciate
over 3 years from November 2020 (launch month) ‐ October
2023                                                                              $923.41 Straight‐Line Depreciation                $923.41
Internal Use Software ‐ Domo BI Tool Implementation Fees ‐
Amortize over 3 year from August 2020 ‐ July 2023                               $3,824.08 Straight‐Line Depreciation              $3,824.08
Internal Use Software ‐ Amortize over 3 years from August
2020 to July 2023 Docusign CLM implementation ‐‐Dec 01 to
Dec 31                                                                            $305.92 Straight‐Line Depreciation                $305.92
ADA website development ‐ amortize over 3 years from June
2020 ‐ May 2023                                                                 $2,578.21 Straight‐Line Depreciation              $2,578.21
Website Development ‐ Zuora implementation ‐ Amortize over
3 years from Feb 2021 ‐ Jan 2024                                                  $452.99 Straight‐Line Depreciation                $452.99




                                                                    27 of 46
                       Case 8:22-bk-10949-SC         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                  Desc
                                                    Main Document    Page 286 of 494



    General Description of Property (Office Furniture, Office    Net Book Value of Debtor's    Valuation Method Used for     Current Value of
             Fixtures, Office Equpment, Collectibles)                     Interest                   Current Value           Debtor's Interest
Pallet truck scale ‐ Depreciate over 5 years from Jan 2021 to
December 2025                                                                      $1,346.34   Straight‐Line Depreciation              $1,346.34
2020‐33359 Slack Quickstart for TRX ‐‐ Johnson Wang Dec‐
2020 Quick Start Launch ‐ Internal Use Software Capitalization ‐
Slack Implementation ‐ Amortize over 3 years from Feb 2021 ‐
Jan 2024                                                                            $988.33    Straight‐Line Depreciation                $988.33
Opti Plex 7080 SFF BTX ‐ Depreciate over 3 years from Jan 2021
‐ December 2023 ‐ replacing the Label printing computer in the
warehouse                                                                           $552.13    Straight‐Line Depreciation                $552.13
2 Dell Laptops 121520 CMorris and spare ‐ Depreciate over 3
years from January 2021 ‐ December 2023                                            $2,216.50   Straight‐Line Depreciation              $2,216.50

Internal Use Software ‐ Domo BI Tool Implementation Fees ‐
Amortize over 3 years from August 2020 ‐ July 2023                                $3,824.07 Straight‐Line Depreciation                 $3,824.07
Core Platform SOW Retainer , January'21 ‐ Website
Capitalization ‐ Depreciate over 3 years from August 2020 to
July 2023                                                                       $47,800.93 Straight‐Line Depreciation                 $47,800.93

Internal Use Software ‐ Docusign CLM Project ‐ do not amortize
until finance indicates ‐‐ Amortize from Aug 2020 to July 2023                    $3,334.59 Straight‐Line Depreciation                 $3,334.59
Website Development ‐ Digital leCom / Related Projects ‐‐
Robert Gedeon & Allison Aclado ‐ Amortize over 3 years from
Jan 2021 ‐ December 2023                                                          $2,788.94 Straight‐Line Depreciation                 $2,788.94

Website Development ‐ Google Dev Reconfiguration Project ‐
Depreciate over 3 years from Jan 2021 ‐ Dec 2023                                  $3,909.72 Straight‐Line Depreciation                 $3,909.72
Project Name: Fitness Anywhere‐00224223‐TM‐PI. Website /
Software Development ‐ Demand Planning Tool ‐ Depreciate
over 3 years from November 2020 (launch month) ‐ October
2023                                                                               $773.13 Straight‐Line Depreciation                    $773.13




                                                                     28 of 46
                       Case 8:22-bk-10949-SC          Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06            Desc
                                                     Main Document    Page 287 of 494



    General Description of Property (Office Furniture, Office Net Book Value of Debtor's Valuation Method Used for      Current Value of
            Fixtures, Office Equpment, Collectibles)                   Interest                 Current Value           Debtor's Interest
Website Development ‐ Zuora implementation ‐ Amortize over
3 years from Feb 2021 ‐ Jan 2024                                                $3,294.44 Straight‐Line Depreciation              $3,294.44

4 laptops. 1. Steve Smith replacement (approved by Hutch) 2.
New user (Christine Michaud) 3. HR Intern replacement (she’s
currently using Glennas) 4. Spare APPLECARE+ FOR MB PRO 13'
‐ PHX ‐ Amortize over 3 years from Feb 2021 ‐ Jan 2024                           $590.80 Straight‐Line Depreciation                 $590.80
2020‐33359 Slack Quickstart for TRX ‐‐ Johnson Wang Dec‐
2020 Quick Start Launch ‐ Internal Use Software Capitalization ‐
Slack Implementation ‐ Amortize over 3 years from Feb 2021 ‐
Jan 2024                                                                         $878.52 Straight‐Line Depreciation                 $878.52
MacBook Pro 13.3 SLV/8C CPU/8C GPU ‐ Amortize over 3 years
from Feb 2021 ‐ Jan 2024 The four laptops are for Steve Smith,
Mike Meluch, Christine Michaud (replacement), and Maddie
Martin (replacement).                                                            $932.88 Straight‐Line Depreciation                 $932.88
MacBook Pro 13.3 SLV/8C CPU/8C GPU ‐ Amortize over 3 years
from Feb 2021 ‐ Jan 2024 The four laptops are for Steve Smith,
Mike Meluch, Christine Michaud (replacement), and Maddie
Martin (replacement).                                                            $932.88 Straight‐Line Depreciation                 $932.88
MacBook Pro 13.3 SLV/8C CPU/8C GPU ‐ Amortize over 3 years
from Feb 2021 ‐ Jan 2024 The four laptops are for Steve Smith,
Mike Meluch, Christine Michaud (replacement), and Maddie
Martin (replacement).                                                            $932.88 Straight‐Line Depreciation                 $932.88
MacBook Pro 13.3 SLV/8C CPU/8C GPU ‐ Amortize over 3 years
from Feb 2021 ‐ Jan 2024 The four laptops are for Steve Smith,
Mike Meluch, Christine Michaud (replacement), and Maddie
Martin (replacement).                                                            $932.88 Straight‐Line Depreciation                 $932.88
Core Platform SOW Retainer , February '21 ‐‐ Website
Capitalization ‐ Depreciate over 3 years from August 2020 to
July 2023                                                                     $47,800.93 Straight‐Line Depreciation              $47,800.93




                                                                   29 of 46
                       Case 8:22-bk-10949-SC          Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06              Desc
                                                     Main Document    Page 288 of 494



    General Description of Property (Office Furniture, Office  Net Book Value of Debtor's   Valuation Method Used for     Current Value of
             Fixtures, Office Equpment, Collectibles)                   Interest                  Current Value           Debtor's Interest
Project Name: Fitness Anywhere‐00224223‐TM‐PI. Website /
Software Development ‐ Demand Planning Tool ‐ Depreciate
over 3 years from November 2020 (launch month) ‐ October
2023                                                                              $314.08   Straight‐Line Depreciation                $314.08
Dell Laptop 02122021 Angelal Leigh ‐ Depreciate over 3 years
from February 2021 ‐ January 2024                                                 $296.71   Straight‐Line Depreciation                $296.71
Internal Use Software ‐ Docusign CLM Project ‐ do not amortize
until finance indicates                                                           $891.00   Straight‐Line Depreciation                $891.00

Website Development ‐ Zuora implementation ‐ Amortize over
3 years from Feb 2021 ‐ Jan 2024 ‐ 600 CORE Department                         $1,482.50 Straight‐Line Depreciation                 $1,482.50

Depreciate over 5 years from March 2021 ‐ Feb 2026 TTC
Camera Sony BRC‐X1000/1 14.2 Megapixel Network Camera ‐
12x Optical ‐ Exmor R CMOS ‐ HDMI ‐ Ceiling Mount, Table
Mount, Tripod Mount S0110004731 Corsair Cam Link 4K Game
Capturing Device ‐ Functions: Video Game Capturing, Video
Game Streaming, Video Game Recording ‐ USB 3.0 ‐ Shipping
charges 953849282625 052459024643909 Sales Tax Total                           $6,725.68 Straight‐Line Depreciation                 $6,725.68

Internal Use Software ‐ Docusign CLM Project ‐ do not amortize
until finance indicates ‐‐ Depreciate from Aug20 to July 23                    $5,544.91 Straight‐Line Depreciation                 $5,544.91
2020‐33359 Slack Quickstart for TRX ‐‐ Johnson Wang Dec‐
2020 Quick Start Launch ‐ Internal Use Software Capitalization ‐
Slack Implementation ‐ Amortize over 3 years from Feb 2021 ‐
Jan 2024                                                                         $329.44 Straight‐Line Depreciation                   $329.44
Warehouse ‐ Zebra ZT410 Thermal Transfer Printer ‐
Depreciate over 3 years from March 21 ‐ Feb 24                                   $779.32 Straight‐Line Depreciation                   $779.32

Hoppes Laptop ‐ Dell Mobile Precision Workstation 5550BTX ‐
Depreciate over 3 years from March 2021 ‐ February 2024                        $1,273.84 Straight‐Line Depreciation                 $1,273.84


                                                                   30 of 46
                       Case 8:22-bk-10949-SC          Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06             Desc
                                                     Main Document    Page 289 of 494



    General Description of Property (Office Furniture, Office    Net Book Value of Debtor's Valuation Method Used for    Current Value of
             Fixtures, Office Equpment, Collectibles)                     Interest                Current Value          Debtor's Interest
Computer Hardware and Software: Headset mics for LIVE
studios UK‐Amort 3 years Mar21‐Feb24                                             $1,843.38 Straight‐Line Depreciation              $1,843.38
Core Platform SOW Retainer , February '21 ‐‐ Website
Capitalization ‐ Depreciate over 3 years from August 2020 to
July 2023                                                                       $47,800.92 Straight‐Line Depreciation             $47,800.92

Internal Use Software and Website Development ‐ Capitalized ‐
eCommerce Platform ‐‐ Robert Gedeon & Allison Aclado ‐
Depreciate over 3 years from March 2021 ‐ Feb 2024                               $3,374.58 Straight‐Line Depreciation              $3,374.58
2 Dell Latitude 7420 BTX Laptops ‐ LJ Eve and Spare ‐
Depreciate over 3 years from March 2021 ‐ April 2024                             $2,068.31 Straight‐Line Depreciation              $2,068.31
Project Name: Fitness Anywhere‐00224223‐TM‐PI. Website /
Software Development ‐ Demand Planning Tool ‐ Depreciate
over 3 years from November 2020 (launch month) ‐ October
2023                                                                               $241.60 Straight‐Line Depreciation                $241.60

Internal Use Software and Website Development ‐ Capitalized ‐
eCommerce Platform ‐‐ Robert Gedeon & Allison Aclado ‐
Depreciate over 3 years from March 2021 ‐ Feb 2024                               $3,230.37 Straight‐Line Depreciation              $3,230.37
Internal Use Software ‐ Docusign CLM Project ‐ do not amortize
until finance indicates ( March 1 to March 15 ) Deprecoiate
from Aug 2020 to July 2023                                                       $1,338.42 Straight‐Line Depreciation              $1,338.42

Internal Use Software ‐ Domo BI Tool Implementation Fees ‐
Amortize over 3 years from August 2020 ‐ July 2023                               $3,824.08 Straight‐Line Depreciation              $3,824.08
Website Development / Internal Use Software Domo & Google
Amortize from Jan 2021 ‐ Dec 2023                                                $5,212.96 Straight‐Line Depreciation              $5,212.96
Website Development / Internal Use Software Slack / Art Cloud
Archive Amortize from Jan 2021 ‐ Dec 2023                                        $2,606.48 Straight‐Line Depreciation              $2,606.48




                                                                     31 of 46
                      Case 8:22-bk-10949-SC        Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                Desc
                                                  Main Document    Page 290 of 494



   General Description of Property (Office Furniture, Office Net Book Value of Debtor's    Valuation Method Used for     Current Value of
            Fixtures, Office Equpment, Collectibles)                  Interest                   Current Value           Debtor's Interest
Website Development / Internal Use Software
Zuora/Inspire/SerialNumber/GDPR Amortize from Jan 2021 ‐
Dec 2023                                                                       $4,639.54   Straight‐Line Depreciation              $4,639.54
Website Development / Internal Use Software ‐ Domo/UK ‐
Amortize from Feb 2021 ‐ March 2024                                            $4,118.06   Straight‐Line Depreciation              $4,118.06
Website Development / Internal Use Software ‐ Slack / Art
Cloud Archive Amortize from Feb 2021 ‐ March 2024                              $4,941.67   Straight‐Line Depreciation              $4,941.67
Website Development / Internal Use Software ‐
Zuora/Inspire/Serial Number/GDPR ‐ Amortize from Feb 2021 ‐
March 2024                                                                     $5,573.10   Straight‐Line Depreciation              $5,573.10
Website Development / Internal Use Software ‐ Domo
Amortize from March 2021 to February 2024                                      $4,037.96   Straight‐Line Depreciation              $4,037.96

Website Development / Internal Use Software ‐ Slack / Art
Cloud Archive Amortize from March 2021 ‐ February 2024                        $4,369.65 Straight‐Line Depreciation                 $4,369.65
Website Development / Internal Use Software ‐ Zuora/
Inspire/Serial Number/GDPR Amortize from March 2021 to
February 2024                                                                 $5,768.52 Straight‐Line Depreciation                 $5,768.52
Capitalized ‐ eCommerce Platform ‐ Website Development and
Internal Use Software ‐ Depreciate over 3 years from March
2021 ‐ Feb 2024                                                               $3,518.80 Straight‐Line Depreciation                 $3,518.80
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado ( Depreciate from
March'21 to Feb'24 ‐‐ 3 Years )                                               $3,446.69 Straight‐Line Depreciation                 $3,446.69
Website Development ‐ ExperienceCO ‐ TRX SSO on Digital
Course Pages ‐ Amortize over 3 years from April 2021 ‐ March
2024                                                                          $2,708.74 Straight‐Line Depreciation                 $2,708.74
Website Development ‐ TRX ID.me Integration ‐‐ Amortize over
3 years from April 2021 ‐ March 2024                                          $5,417.48 Straight‐Line Depreciation                 $5,417.48




                                                                  32 of 46
                      Case 8:22-bk-10949-SC         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06              Desc
                                                   Main Document    Page 291 of 494



   General Description of Property (Office Furniture, Office    Net Book Value of Debtor's Valuation Method Used for    Current Value of
           Fixtures, Office Equpment, Collectibles)                      Interest                Current Value          Debtor's Interest
Website Development ‐ Monthly enhancements ‐ TRX
SUPPORT, Q1 2021 ‐‐ Amortize over 3 years from April 2021 ‐
March 2024                                                                     $38,696.30 Straight‐Line Depreciation             $38,696.30

Internal Use Software / Website Development ‐ Core Platform
SOW Retainer ‐‐ March Accelerated Development ‐‐ Amortize
over 3 years from April 2021 ‐ March 2024                                      $30,231.48 Straight‐Line Depreciation             $30,231.48

Core Platform SOW Retainer ‐‐ April Accelerated Development ‐
‐ Amortize over 3 years from April 2021 ‐ March 2024                           $30,231.48 Straight‐Line Depreciation             $30,231.48
Core Platform SOW Retainer ‐‐ April'21 ‐‐ Amortize over 3
years from April 2021 ‐ March 2024                                             $75,578.70 Straight‐Line Depreciation             $75,578.70
Internal Use Software ‐ Docusign CLM Project ‐ Depreciate
from Aug 2020 to July 2023                                                      $2,045.88 Straight‐Line Depreciation              $2,045.88

Statement of work ‐ SOW#JH200309TRXv2 276 hours covered
by SOW in March Actual Hours across team = 688.5 Overages =
412.5 @ discounted overages rate ‐‐ April 2021 to March 2024                   $24,940.97 Straight‐Line Depreciation             $24,940.97

Jacob Guajardo ‐ Computer Precision 3640 Tower CTO BASE,
1TB SSD, Monitor ‐ Depreciate from Feb 2021 ‐ Jan 2024                          $2,063.79 Straight‐Line Depreciation              $2,063.79
2 Laptops, one is for Behnam, one is for Andrew Duffle (350
Marketing ProductCo). MBP 13.3 SPG/8C CPU/8C GPU
APPLECARE+ FOR MB PRO 13' ‐ PHX Depreciation Period : 3
years from April 2021 to March 2024                                             $2,378.33 Straight‐Line Depreciation              $2,378.33
Website Development ‐ BigCommerce Customer Sync ‐
ProductCo ‐ Depreciate from April 2021 ‐ March 2024                             $1,360.42 Straight‐Line Depreciation              $1,360.42
Website Development ‐ Zuora implementation ‐ Amortize over
3 years from Feb 2021 ‐ Jan 2024                                                  $988.33 Straight‐Line Depreciation                $988.33




                                                                    33 of 46
                      Case 8:22-bk-10949-SC        Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                 Desc
                                                  Main Document    Page 292 of 494



    General Description of Property (Office Furniture, Office Net Book Value of Debtor's    Valuation Method Used for     Current Value of
             Fixtures, Office Equpment, Collectibles)                  Interest                   Current Value           Debtor's Interest
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado ( Depreciate from April
2021 to March 2024 )                                                            $3,718.47   Straight‐Line Depreciation              $3,718.47
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado ( Depreciate for 3 yrs
from April'21 to March '24 )                                                    $3,416.16   Straight‐Line Depreciation              $3,416.16
Internal Use Software ‐ Docusign CLM Project ‐ we should be
amortizing from August 2020 ‐ July 2023                                            $76.49   Straight‐Line Depreciation                  $76.49
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Depreciate 3 years ‐‐
April'21 to March'24                                                            $3,778.94   Straight‐Line Depreciation              $3,778.94
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Depreciate 3 years ‐‐
April'21 to March'24                                                            $3,476.62   Straight‐Line Depreciation              $3,476.62
Website Development ‐ Zuora implementation ‐ Amortize over
3 years from Feb 2021 ‐ Jan 2024                                                  $823.61   Straight‐Line Depreciation                $823.61
Adam G and Zoe D ‐ MacbookPros ‐ Depreciate from May 2021
‐ April 2024 13.3 SPG/8C CPU/8C GPU With the following
configuration                                                                   $2,487.60   Straight‐Line Depreciation              $2,487.60

Core Platform SOW Retainer, May Accelerated developments
Amortize over 3 years from May 2021 ‐ April 2024                              $31,620.37 Straight‐Line Depreciation                $31,620.37
Core Platform SOW Retainer ‐‐ May'21 ‐‐ Amortize over 3 years
from May 2021 ‐ April 2024                                                    $79,050.93 Straight‐Line Depreciation                $79,050.93
Capitalized ‐ Projects Digital eCom / Related Projects ‐‐
Depreciate from May 2021 to April 2024 ‐‐ 3 Yrs                               $16,995.95 Straight‐Line Depreciation                $16,995.95
Internal Use Software ‐ Docusign CLM Project ‐ we should be
amortizing from August 2020 ‐ July 2023                                          $267.69 Straight‐Line Depreciation                   $267.69

Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Depreciate for 3 Yrs from May 2021 to April 2024                      $1,581.02 Straight‐Line Depreciation                 $1,581.02


                                                                  34 of 46
                      Case 8:22-bk-10949-SC         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                Desc
                                                   Main Document    Page 293 of 494



    General Description of Property (Office Furniture, Office Net Book Value of Debtor's    Valuation Method Used for     Current Value of
             Fixtures, Office Equpment, Collectibles)                  Interest                   Current Value           Debtor's Interest
Colleen and IT Laptops ‐ Depreciate over 3 years from May
2021 ‐ April 2024                                                               $2,466.83   Straight‐Line Depreciation              $2,466.83
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Depreciate for 3 Yrs
from May 2021 to April 2024                                                     $3,478.24   Straight‐Line Depreciation              $3,478.24
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Depreciate for 3 Yrs
from May 2021 to April 2024                                                     $3,573.10   Straight‐Line Depreciation              $3,573.10

nternal Use Software ‐ Docusign CLM Project ‐ we should be
amortizing from August 2020 ‐ July 2023 ( May 1 to May 15 )                    $1,147.22 Straight‐Line Depreciation                 $1,147.22
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Depreciate for 3 Yrs
from May 2021 to April 2024                                                    $3,509.86 Straight‐Line Depreciation                 $3,509.86
Rob Hoyle's laptop‐dep over 3 years June21‐May24                               $1,831.23 Straight‐Line Depreciation                 $1,831.23
David Allen's laptop‐dep over 3 years June21‐May24                             $1,826.71 Straight‐Line Depreciation                 $1,826.71
For the month of May‐2021 Lead Architect + SDM Core Zuora
Configuration Consulting on Zuora API Amortize over 3 years
from Feb 2021 ‐ Jan 2024                                                         $617.71 Straight‐Line Depreciation                   $617.71
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Depreciate for 3 Yrs
from May 2021 to April 2024                                                    $3,731.20 Straight‐Line Depreciation                 $3,731.20

Core Platform SOW Retainer, June Accelerated developments
Amortize over 3 years from June 2021 ‐ May 2024                               $33,009.26 Straight‐Line Depreciation                $33,009.26
Core Platform SOW Retainer ‐‐ June'21 ‐‐ Amortize over 3 years
from June 2021 ‐ May 2024                                                     $82,523.15 Straight‐Line Depreciation                $82,523.15

Internal Use Software ‐ Docusign CLM Project ‐ we should be
amortizing from August 2020 ‐ July 2023 ( May 16 to May 30 )                      $95.60 Straight‐Line Depreciation                     $95.60




                                                                  35 of 46
                       Case 8:22-bk-10949-SC          Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06              Desc
                                                     Main Document    Page 294 of 494



   General Description of Property (Office Furniture, Office      Net Book Value of Debtor's Valuation Method Used for    Current Value of
           Fixtures, Office Equpment, Collectibles)                        Interest                Current Value          Debtor's Interest

Capitalized ‐ Projects Digital eCom / Related Projects
Zuora/Inspire/SerialNumber/GDPR Capitalized ‐ Projects ERP /
Related Projects Domo / Google / Amazon Capitalized ‐
eCommerce Platform 100% Operation Projects Docusign
Project etc Capitalized ‐ eCommerce Platform 100% IT /
Related Projects Slack / Art Cloud Archive etc Depreciate for 3
Yrs from June 2021 to May 2024                                                   $15,910.46 Straight‐Line Depreciation             $15,910.46
Weis, Ali Wu, Limon ‐ ThinkPad P14s laptops Gen 1, Intel Core
i7‐10510U (1.80GHz, 8MB), 14.0 1920 x 1080 Non‐Touch,
Windows 10 Pro 64, 16.0GB, Depreciate for 3 years from June
2021 to May 2024                                                                  $4,038.63 Straight‐Line Depreciation              $4,038.63
Capitalized ‐ eCommerce Platform Digital eCom / Related
Projects Robert Gedeon Allison Aclado Depreciate for 3 Yrs
from June 2021 to May 2024                                                        $3,432.96 Straight‐Line Depreciation              $3,432.96

Internal Use Software ‐ Domo BI Tool Implementation Fees ‐
Amortize over 3 years from August 2020 ‐ July 2023
APPROVAL STATUS                                                                   $3,824.07 Straight‐Line Depreciation              $3,824.07
Capitalized ‐ eCommerce Platform Digital eCom / Related
Projects Robert Gedeon Allison Aclado Depreciate for 3 Yrs
from June 2021 to May 2024                                                        $3,697.04 Straight‐Line Depreciation              $3,697.04
2 Laptops for D Judd M Villa ‐ Depreciate for 3 years from June
2021 to May 2024                                                                  $2,585.52 Straight‐Line Depreciation              $2,585.52

Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Capitalized ‐ eCommerce Platform 100% Digital eCom
/ Related Projects Depreciate ‐‐ ( June 2021 to May 2024 )                        $3,465.97 Straight‐Line Depreciation              $3,465.97




                                                                      36 of 46
                       Case 8:22-bk-10949-SC         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06              Desc
                                                    Main Document    Page 295 of 494



   General Description of Property (Office Furniture, Office     Net Book Value of Debtor's Valuation Method Used for    Current Value of
           Fixtures, Office Equpment, Collectibles)                       Interest                Current Value          Debtor's Interest

Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Capitalized ‐ eCommerce Platform 100% Digital eCom
/ Related Projects Depreciate from June 2021 to May 2024                         $2,310.65 Straight‐Line Depreciation              $2,310.65
Curry's refund + UK employee Computer Puchase                                    $3,821.96 Straight‐Line Depreciation              $3,821.96
Lenovo ThinkCentre M70s 11 DCOO2VUS Desktop Computer ‐
Lenovo NVIDIA GeForce GT 730 Graphic Card ‐ Depreciation ‐‐
3 Years June 2021 to May 2024                                                      $826.67 Straight‐Line Depreciation                $826.67

Core Platform SOW Retainer, June Accelerated developments
Amortize over 3 years from July 2021 ‐ June 2024                                $34,398.15 Straight‐Line Depreciation             $34,398.15
Core Platform SOW Retainer ‐‐ June'21 ‐‐ Amortize over 3 years
from July 2021 ‐ June 2024                                                      $85,995.37 Straight‐Line Depreciation             $85,995.37

Capitalized ‐ Projects Digital eCom / Related Projects
Zuora/Inspire/SerialNumber/GDPR etc Capitalized ‐ Projects
ERP / Related Projects Domo / Google / Amazon etc Capitalized
‐ Projects Operation / Related Projects Docusign Project etc
Capitalized ‐ Projects IT / Related Projects Slack / Art Cloud
Archive etc Depreciate from July 2021 to June 2024                              $19,985.32 Straight‐Line Depreciation             $19,985.32

nternal Use Software ‐ Docusign CLM Project ‐ we should be
amortizing from August 2020 ‐ July 2023 ( June 01 to June 30 )                      $95.60 Straight‐Line Depreciation                  $95.60
Capitalized ‐ eCommerce Platform Robert Gedeon Allison
Aclado Depreciate from July 2021 to June 2024                                    $2,751.85 Straight‐Line Depreciation              $2,751.85

MBP 16.0 SG/2.3GHZ 8C/16GB/5500M/1TB‐USA Recycle Fee
AC+ MACBOOK PRO 16‐INCH ‐ PHX Web Order Number:
2110223066 Depreciate for 3 years ( July '21 to June'24 )                        $2,188.34 Straight‐Line Depreciation              $2,188.34
Capitalized ‐ eCommerce Platform Robert Gedeon Allison
Aclado Depreciate from July 2021 to June 2024                                    $3,818.19 Straight‐Line Depreciation              $3,818.19


                                                                     37 of 46
                       Case 8:22-bk-10949-SC          Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06             Desc
                                                     Main Document    Page 296 of 494



   General Description of Property (Office Furniture, Office     Net Book Value of Debtor's Valuation Method Used for    Current Value of
           Fixtures, Office Equpment, Collectibles)                       Interest                Current Value          Debtor's Interest

Internal Use Software ‐ Docusign CLM Project ‐ we should be
amortizing from August 2020 ‐ July 2023 ( July 01 to July 15 )                     $114.72 Straight‐Line Depreciation                $114.72

Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Period of Depreciation ‐‐ July 2021 to June 2024                        $3,715.00 Straight‐Line Depreciation              $3,715.00

Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Period of Depreciation ‐‐ July 2021 to June 2024                        $3,474.21 Straight‐Line Depreciation              $3,474.21
UK IT hardware orders                                                            $1,817.38 Straight‐Line Depreciation              $1,817.38
Core Platform SOW Retainer, Accelerated developments
resources July ’21 Amortize over 3 years from Aug 2021 ‐ July
2024                                                                            $35,787.04 Straight‐Line Depreciation             $35,787.04
Core Platform SOW Retainer ‐‐ July'21 ‐‐ Amortize over 3 years
from Aug 2021 ‐ July 2024                                                       $89,467.59 Straight‐Line Depreciation             $89,467.59

Capitalized ‐ Projects Digital eCom / Related Projects
Zuora/Inspire/SerialNumber/GDPR etc Capitalized ‐ Projects
ERP / Related Projects Domo / Google / Amazon etc Capitalized
‐ Projects Operation / Related Projects Docusign Project etc
Capitalized ‐ Projects IT / Related Projects Slack / Art Cloud
Archive etc Depreciate 3 years ( August 2021 to July 2024 )                     $15,102.13 Straight‐Line Depreciation             $15,102.13
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Depreciate for 3 years (
Aug2021 to July 2024 )                                                           $3,686.06 Straight‐Line Depreciation              $3,686.06
Reclass the account to 14120 Computer Hardware and
Software ‐ Amortize over 3 years from August 2021 ‐ July 2024
invoice 649                                                                      $8,932.44 Straight‐Line Depreciation              $8,932.44
MBP 13.3 SPG/8C CPU/8C GPU Depreciate from Aug 2021 to
July 2024                                                                        $1,249.83 Straight‐Line Depreciation              $1,249.83




                                                                     38 of 46
                       Case 8:22-bk-10949-SC         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06               Desc
                                                    Main Document    Page 297 of 494



   General Description of Property (Office Furniture, Office      Net Book Value of Debtor's Valuation Method Used for    Current Value of
           Fixtures, Office Equpment, Collectibles)                        Interest                Current Value          Debtor's Interest

MBP 16.0 SPACE GRAY Depreciate from Aug 2021 to July 2024                         $2,566.67 Straight‐Line Depreciation              $2,566.67
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Amortize for 3 years
from Aug 2021 to July 2024                                                        $4,473.38 Straight‐Line Depreciation              $4,473.38
Custom Consulting                                                                 $7,157.41 Straight‐Line Depreciation              $7,157.41
MBP 13.3 SPG/8C CPU/8C GPU AC+ MACBOOK PRO 13‐INCH
M1 ‐ PHX Web Order Number : 2110265470 Depreciate from
Aug 2021 to July 2024                                                             $1,829.78 Straight‐Line Depreciation              $1,829.78
MBP 13.3 SPG/8C CPU/8C GPU AC+ MACBOOK PRO 13‐INCH
M1 ‐ PHX Web Order Number : 2110265470 Depreciate from
Aug 2021 to July 2024                                                             $1,249.83 Straight‐Line Depreciation              $1,249.83

Internal Use Software ‐ Docusign CLM Project ‐ we should be
amortizing from August 2020 ‐ July 2023 ( Aug 01 to Aug 15 )                        $191.20 Straight‐Line Depreciation                $191.20
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Depreciate for 3 Years ‐‐
Aug'21 to July'24                                                                 $4,509.17 Straight‐Line Depreciation              $4,509.17
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Depreciate for 3 years (
Aug 2021 to July 2024 )                                                           $4,366.02 Straight‐Line Depreciation              $4,366.02
Robert Gedeon Capitalized eCommerce Platform 100% Digital
eCom/ Related Projects Depreciate from August 2021 to July
2024                                                                              $4,294.44 Straight‐Line Depreciation              $4,294.44
MBP 13.3 SPG/8C CPU/8C GPU AC+ MACBOOK PRO 13‐INCH
M1 ‐ PHX Web Order Number : 1015077992 Depreciate ‐‐ (
Aug'2021 to July 2024 )                                                           $1,249.83 Straight‐Line Depreciation              $1,249.83
DOCK BOARD ‐ 72 X 60", 10,000 LB                                                   $895.94 Straight‐Line Depreciation                $895.94

Core & TTC Platform SOW Retainer Mobile & Web Teams
August '21 ‐‐ Amortize over 3 years from Sep 2021 ‐ Aug 2024                     $92,939.81 Straight‐Line Depreciation             $92,939.81


                                                                      39 of 46
                       Case 8:22-bk-10949-SC           Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06               Desc
                                                      Main Document    Page 298 of 494



   General Description of Property (Office Furniture, Office        Net Book Value of Debtor's Valuation Method Used for    Current Value of
           Fixtures, Office Equpment, Collectibles)                          Interest                Current Value          Debtor's Interest

Internal Use Software ‐ Docusign CLM Project ‐ we should be
amortizing from August 2020 ‐ July 2023 ( Aug 16 to Aug 31 )                           $38.24 Straight‐Line Depreciation                  $38.24

Capitalized ‐ Projects Digital eCom / Related Projects
Zuora/Inspire/SerialNumber/GDPR etc Capitalized ‐ Projects
ERP / Related Projects Domo / Google / Amazon etc Capitalized
‐ Projects Operation / Related Projects Docusign Project etc
Capitalized ‐ Projects IT / Related Projects Slack / Art Cloud
Archive etc Depreciate from Sep 2021 to Aug 2024                                   $11,580.30 Straight‐Line Depreciation             $11,580.30
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Depreciate from Sep 2021 to Aug 2024                                       $5,873.80 Straight‐Line Depreciation              $5,873.80
MBP 13.3 SPG/8C CPU/8C GPU Depreciate From Sep'21 to
Aug'24                                                                              $1,298.33 Straight‐Line Depreciation              $1,298.33
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects ( Sep 2021 to Aug 2024 )                                                   $5,576.39 Straight‐Line Depreciation              $5,576.39
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Depreciate from Sep 2021 to Aug 2024                                       $7,435.19 Straight‐Line Depreciation              $7,435.19
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Depreciate from Sep 2021 to Aug 2024                                       $5,873.80 Straight‐Line Depreciation              $5,873.80
 Low Profile Floor Scale                                                            $1,031.40 Straight‐Line Depreciation              $1,031.40
Core & TTC Platform SOW Retainer Mobile & Web Teams
September '21 Final before new agreement ‐‐ Amortize over 3
years from Oct 2021 ‐ Sep 2024                                                     $96,412.04 Straight‐Line Depreciation             $96,412.04
CapEx breakout Below Capitalized ‐ Projects Digital eCom /
Related Projects Zuora/Inspire/SerialNumber/GDPR etc
Capitalized ‐ Projects ERP / Related Projects Domo / Google /
Amazon etc Capitalized ‐ Projects Operation / Related Projects
Docusign Project etc Capitalized ‐ Projects IT / Related Projects
Slack / Art Cloud Archive etc ( Amortize from Oct 2021 to Sep
2024 )                                                                             $12,263.61 Straight‐Line Depreciation             $12,263.61


                                                                        40 of 46
                      Case 8:22-bk-10949-SC          Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06            Desc
                                                    Main Document    Page 299 of 494



   General Description of Property (Office Furniture, Office   Net Book Value of Debtor's Valuation Method Used for    Current Value of
           Fixtures, Office Equpment, Collectibles)                     Interest                Current Value          Debtor's Interest

nternal Use Software ‐ Docusign CLM Project ‐ we should be
amortizing from August 2020 ‐ July 2023 ( Sep 16 to Sep 30 )                      $76.48 Straight‐Line Depreciation                  $76.48
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Abid Mahmood (
Amortize from Oct'21 to Sep'24 )                                               $6,421.04 Straight‐Line Depreciation              $6,421.04
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Abid Mahmood (
Amortize from Oct 2021 to Sep 2024 )                                           $5,919.70 Straight‐Line Depreciation              $5,919.70
MBP 13.3 SLV/8C CPU/8C GPU Amortize Period ( Oct'21 to
Sep'24 )                                                                       $1,346.84 Straight‐Line Depreciation              $1,346.84
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Abid Mahmood (
Amortize from Oct 2021 to Sep 2024 )                                           $5,823.29 Straight‐Line Depreciation              $5,823.29
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Abid Mahmood
Depreciate from Oct'21 to Sep 2024                                             $6,825.97 Straight‐Line Depreciation              $6,825.97

Internal Use Software ‐ Docusign CLM Project ‐ we should be
amortizing from August 2020 ‐ July 2023 ( Oct 16 to Oct 31 )                     $229.44 Straight‐Line Depreciation                $229.44
Capitalized ‐ Projects Digital eCom / Related Projects
Zuora/Inspire/SerialNumber/GDPR etc Capitalized Nov'21 to
Oct'24                                                                        $11,087.15 Straight‐Line Depreciation             $11,087.15
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects ( Nov'21 to Oct'24 )                                                  $5,993.06 Straight‐Line Depreciation              $5,993.06
laptop coverage/warranty extension                                              $147.89 Straight‐Line Depreciation                $147.89
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Abid Mahmood (
Nov'21 to Oct'24 )                                                             $6,232.78 Straight‐Line Depreciation              $6,232.78
MBP 13.3 SPG/8C CPU/8C GPU ‐‐ Nov'21 to Oct'24                                 $1,557.21 Straight‐Line Depreciation              $1,557.21




                                                                   41 of 46
                      Case 8:22-bk-10949-SC        Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                Desc
                                                  Main Document    Page 300 of 494



   General Description of Property (Office Furniture, Office Net Book Value of Debtor's    Valuation Method Used for     Current Value of
             Fixtures, Office Equpment, Collectibles)                 Interest                   Current Value           Debtor's Interest
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Abid Mahmood (
Nov'21 to Oct'24 )                                                             $6,552.41   Straight‐Line Depreciation              $6,552.41
Lenovo ThinkPad ‐‐ Nov'21 to Oct'24                                            $5,217.23   Straight‐Line Depreciation              $5,217.23
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Abid Mahmood (
Nov'21 to Oct'24 )                                                             $6,152.87   Straight‐Line Depreciation              $6,152.87
MBP 13.3 SLV/8C CPU/8C GPU ( Nov'21 to Oc'24 )
                                                                               $3,065.97   Straight‐Line Depreciation              $3,065.97
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Abid Mahmood (
Nov'21 to Oct'24 )                                                             $5,353.80   Straight‐Line Depreciation              $5,353.80
MBP 14.2 SG ( Dec'21 to Nov'24 )                                               $2,336.62   Straight‐Line Depreciation              $2,336.62
Capitalized ‐ Projects Digital eCom                                             $330.74    Straight‐Line Depreciation               $330.74
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Allison Aclado Abid Mahmood Robert Gedeon From
Dec'21 to Nov'24                                                               $5,601.92   Straight‐Line Depreciation              $5,601.92
Computer ‐‐ TRX LIVE & ON‐DEMAND                                               $1,034.61   Straight‐Line Depreciation              $1,034.61
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Allison Aclado Abid Mahmood Robert Gedeon From
Dec'21 to Nov'24                                                               $6,532.13   Straight‐Line Depreciation              $6,532.13
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Abid Mahmood ‐‐
Dec'21 to Nov'24                                                               $6,201.39   Straight‐Line Depreciation              $6,201.39
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Abid Mahmood ‐‐
Dec'21 to Nov'24                                                               $5,953.33   Straight‐Line Depreciation              $5,953.33
Custom Consulting ( Dec'21 to Nov'24 )                                       $33,074.07    Straight‐Line Depreciation             $33,074.07
December AMEX Louis Lopez                                                      $3,560.94   Straight‐Line Depreciation              $3,560.94
December AMEX Louis Lopez                                                      $3,560.95   Straight‐Line Depreciation              $3,560.95




                                                                  42 of 46
                      Case 8:22-bk-10949-SC        Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                 Desc
                                                  Main Document    Page 301 of 494



    General Description of Property (Office Furniture, Office Net Book Value of Debtor's    Valuation Method Used for     Current Value of
             Fixtures, Office Equpment, Collectibles)                  Interest                   Current Value           Debtor's Interest
Capitalized ‐ Projects Digital eCom / Related Projects
Zuora/Inspire/SerialNumber/GDPR etc                                           $18,780.49    Straight‐Line Depreciation             $18,780.49
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Jan'22 to Dec'24                                                       $5,555.09   Straight‐Line Depreciation              $5,555.09
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Jan'22 to Dec'24                                                       $9,272.73   Straight‐Line Depreciation              $9,272.73
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Abid Mahmood ( Jan'21
to Dec'24 )                                                                     $9,400.93   Straight‐Line Depreciation              $9,400.93
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Abid Mahmood ( Jan'21
to Dec'24 )                                                                     $8,546.30   Straight‐Line Depreciation              $8,546.30
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Abid Mahmood ( Jan'21
to Dec'24 )                                                                     $5,982.41   Straight‐Line Depreciation              $5,982.41
66200 IT Expenses adjustments (MR email 20Mar22)                                $1,477.83   Straight‐Line Depreciation              $1,477.83
66200 IT Expenses adjustments (MR email 20Mar22)                                  $320.49   Straight‐Line Depreciation               $320.49
66200 IT Expenses adjustments (MR email 20Mar22)                              $90,435.54    Straight‐Line Depreciation             $90,435.54
66200 IT Expenses adjustments (MR email 20Mar22)                              $96,894.49    Straight‐Line Depreciation             $96,894.49
66200 IT Expenses adjustments (MR email 20Mar22)                              $90,055.06    Straight‐Line Depreciation             $90,055.06

Depreciation of Sprint Development/Maint adj dtd 31Jan2022                    ‐$5,203.57 Straight‐Line Depreciation                 ‐$5,203.57
Capitalized ‐ Projects Digital eCom / Related Projects
Zuora/Inspire/SerialNumber/GDPR etc Capitalized ‐ Feb'22 to
Jan'25                                                                        $17,675.72 Straight‐Line Depreciation                $17,675.72
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects Robert Gedeon Allison Aclado Abid Mahmood ( Feb'22
to Jan'25 )                                                                    $7,323.98 Straight‐Line Depreciation                 $7,323.98
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects ‐‐ Robert Gedeon Allison Aclado Abid Mahmood (
Feb'22 to Jan'25 )                                                             $9,927.08 Straight‐Line Depreciation                 $9,927.08


                                                                  43 of 46
                      Case 8:22-bk-10949-SC        Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                 Desc
                                                  Main Document    Page 302 of 494



    General Description of Property (Office Furniture, Office Net Book Value of Debtor's    Valuation Method Used for     Current Value of
             Fixtures, Office Equpment, Collectibles)                  Interest                   Current Value           Debtor's Interest
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects ‐‐ Robert Gedeon Allison Aclado Abid Mahmood (
Feb'22 to Jan'25 )                                                              $6,618.06   Straight‐Line Depreciation              $6,618.06
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects ( Feb'22 to Jan'25)                                                    $7,279.86   Straight‐Line Depreciation              $7,279.86
Capitalized ‐ ( March'22 to Feb'25                                            $18,801.01    Straight‐Line Depreciation             $18,801.01
TRX Development Support 2021 SOW (T&M) Feb '22                                $87,199.50    Straight‐Line Depreciation             $87,199.50
TRX Development Support 2021 SOW (T&M) March '22                              $13,652.78    Straight‐Line Depreciation             $13,652.78
Period : March'22 ‐‐ Platform ; Integration & Support                           $8,874.31   Straight‐Line Depreciation              $8,874.31
Capitalized ‐ eCommerce Platform
100%
Digital eCom / Related Projects ( March'22 to Feb'25 )                          $9,556.94   Straight‐Line Depreciation              $9,556.94
Capitalized ‐ eCommerce Platform
100%
Digital eCom / Related Projects ( March '22 to Feb'25 )                       $10,012.04    Straight‐Line Depreciation             $10,012.04
TRX Support 2022 ( 03/01/22 to 03/15/22 )                                       $1,276.54   Straight‐Line Depreciation              $1,276.54

Revised: Statement of work ‐ SOW#JH200309TRXv2 Extended
IT Management and Support as well as an IT Ecosystem
Assessment, findings and go forward Recommendation Report                     $13,652.78 Straight‐Line Depreciation                $13,652.78
Capitalized ‐ eCommerce Platform
100%
Digital eCom / Related Projects ( March '22 to Feb'25 )                        $9,556.94 Straight‐Line Depreciation                 $9,556.94
Capitalized ‐ eCommerce Platform
100%
Digital eCom / Related Projects ( March '22 to Feb'25 )                       $10,467.13    Straight‐Line Depreciation             $10,467.13
Product Implementations: Implementation Fee                                    $2,002.41    Straight‐Line Depreciation              $2,002.41
TRX Support 2022 ( 03/16/22 to 03/31/22 )                                       $389.10     Straight‐Line Depreciation               $389.10
February Expenses (02/01/2022)                                                 $1,530.76    Straight‐Line Depreciation              $1,530.76
February Expenses (02/01/2022)                                                 $1,530.77    Straight‐Line Depreciation              $1,530.77
February Expenses (02/01/2022)                                                 $1,831.09    Straight‐Line Depreciation              $1,831.09


                                                                  44 of 46
                      Case 8:22-bk-10949-SC         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                 Desc
                                                   Main Document    Page 303 of 494



   General Description of Property (Office Furniture, Office   Net Book Value of Debtor's    Valuation Method Used for     Current Value of
             Fixtures, Office Equpment, Collectibles)                   Interest                   Current Value           Debtor's Interest
February Expenses (02/01/2022)                                                   $1,831.10   Straight‐Line Depreciation               $1,831.10
TRX Development Support 2021 SOW (T&M) March '22                              $104,507.83    Straight‐Line Depreciation            $104,507.83
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects ‐‐( April'22 to March'25 )                                            $23,976.68    Straight‐Line Depreciation             $23,976.68
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects ( April'22 to March'25 )                                              $10,411.39    Straight‐Line Depreciation             $10,411.39
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects ( April 2022 to March 2025 )                                          $10,786.57    Straight‐Line Depreciation             $10,786.57
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects ( April 2022 to March 2025 )                                            $9,098.24   Straight‐Line Depreciation              $9,098.24
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects ( April 2022 to March 2025 )                                            $9,332.73   Straight‐Line Depreciation              $9,332.73
TRX Development Support 2021 SOW (T&M) April '22                               $92,073.72    Straight‐Line Depreciation             $92,073.72
Capitalized ‐ Projects ERP / Related Projects Domo / Google /
Amazon etc Capitalized ‐ Projects Operation / Related Projects
( May 2022 to April 2025 )                                                       $5,432.29   Straight‐Line Depreciation              $5,432.29
Capitalized eCommerce Platform 100% Digital eCom / Related
Projects Additional Shopify Integration work ( May 2022 to
April 2025 )                                                                     $7,822.50   Straight‐Line Depreciation              $7,822.50
Capitalized ‐ eCommerce Platform 100% Digital eCom / Related
Projects ( May 2022 to April 2025 )                                              $6,518.75   Straight‐Line Depreciation              $6,518.75

Capitalized ‐ eCommerce Platform ‐‐‐ May 2022 to April 2025                     $7,363.77 Straight‐Line Depreciation                 $7,363.77
Capitalized ‐ eCommerce Platform 100% ‐‐‐ May 2022 to April
2025 Digital eCom / Related Projects                                            $7,412.06 Straight‐Line Depreciation                 $7,412.06

Capitalized eCommerce Platform 100% ‐‐ May'22 to April'25                       $6,277.31 Straight‐Line Depreciation                 $6,277.31

Capitalized eCommerce Platform 100% ‐‐ May'22 to April'25                      $44,089.59 Straight‐Line Depreciation                $44,089.59

Capitalized eCommerce Platform 100% ‐‐ May'22 to April'25                       $7,375.00 Straight‐Line Depreciation                 $7,375.00


                                                                   45 of 46
                   Case 8:22-bk-10949-SC          Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06            Desc
                                                 Main Document    Page 304 of 494



General Description of Property (Office Furniture, Office   Net Book Value of Debtor's Valuation Method Used for    Current Value of
        Fixtures, Office Equpment, Collectibles)                     Interest                Current Value          Debtor's Interest

                                                                           $3,050,114.96                                  $3,050,114.96




                                                                46 of 46
 Case 8:22-bk-10949-SC       Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06         Desc
                            Main Document    Page 305 of 494

                                   Schedule B – Exhibit 60
                              Schedule of Copyright Registrations


                                                                        Copyright
  #          Name                             Full Title                              Date
                                                                         Number
[1]   Fitness Anywhere,
      Inc.                 All Body Xpress Volume 1.                  PA0001648104    2007

[2]   Fitness Anywhere,
      Inc.                 All Body Xpress Workout Guide.             VA0001692428    2007

[3]   Fitness Anywhere,    Military fitness guide : TRX suspension
      Inc.                                                            TX0006446728    2006
                           training.
[4]   Fitness Anywhere,
      Inc.                 TRX all body workout.                      VA0001326158    2005

[5]   Fitness Anywhere,
      Inc.                 TRX Basic Training.                        PA0001727874    2009

[6]   Fitness Anywhere,
      Inc.                 TRX Basic Training.                        VA0001755968    2009

[7]   Fitness Anywhere,    TRX Basic Training Quick Start & Workout
      Inc.                                                            TX0007252143    2009
                           Guide.
[8]   Fitness Anywhere,
      Inc.                 TRX Boot Camp: Ropes & Straps.             PA0001628051    2009

[9]   Fitness Anywhere,    TRX Boot Camp: Ropes & Straps Workout
      Inc.                                                            VA0001747882    2009
                           Guide.
[ 10 ] Fitness Anywhere,   TRX core strength : vol. 1.                PA0001381425    2006
       Inc.

[ 11 ] Fitness Anywhere,   TRX core strength : vol. 1.                VA0001403391    2006
       Inc.

[ 12 ] Fitness Anywhere,   TRX Essentials: Cardio Circuit.            PA0001626892    2009
       Inc.

[ 13 ] Fitness Anywhere,   TRX Essentials: Cardio Circuit Workout
                                                                      VA0001747884    2009
       Inc.                Guide.
[ 14 ] Fitness Anywhere,   TRX Flexibility.                           VA0001664325    2008
       Inc.

[ 15 ] Fitness Anywhere,   TRX Force Field Guide.                     VA0001743941    2010
       Inc.

[ 16 ] Fitness Anywhere,   TRX Force Trainer Course.                  TX0007275006    2010
       Inc.

[ 17 ] Fitness Anywhere,   TRX Force Trainer Course User’s Guide.     TX0007268893    2010
       Inc.

[ 18 ] Fitness Anywhere,   TRX Performance: Team Sports.              PA0001622895    2008
       Inc.


                                          1 of 4
 Case 8:22-bk-10949-SC       Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06       Desc
                            Main Document    Page 306 of 494
[ 19 ] Fitness Anywhere,   TRX Performance: Train Like The Pros.    PA0001623374    2008
       Inc.

                                                                      Copyright
  #          Name                            Full Title                             Date
                                                                       Number
[ 20 ] Fitness Anywhere,   TRX Pilates series.                      VA0001326157    2005
       Inc.

[ 21 ] Fitness Anywhere,   TRX Strength.                            VA0001664327    2008
       Inc.

[ 22 ] Fitness Anywhere,   TRX Strength Advanced.                   VA0001664323    2008
       Inc.

[ 23 ] Fitness Anywhere,   TRX Suspension Training Course.          TX0007267550    2008
       Inc.

[ 24 ] Fitness Anywhere,   TRX Suspension Training Group Course.    PA0001753512    2008
       Inc.

[ 25 ] Fitness Anywhere,   TRX System Professional.                 VA0001423942    2006
       Inc.

[ 26 ] Fitness Anywhere,   TRX Team Coach Playbook.                 TX0007257144    2010
       Inc.

[ 27 ] Fitness Anywhere,   RIP TRAINING Leaner Faster Stronger.     TX0007886434    2013
       LLC

[ 28 ] Fitness Anywhere    TRX All Body Workout Function Strength
                                                                    VA0001787364    2005
       LLC                 Control.
[ 29 ] Fitness Anywhere    TRX Boot Camp Ropes & Straps Round 2.    VA0001817406    2009
       LLC

[ 30 ] Fitness Anywhere    TRX Boot Camp Ropes & Straps Round 2.    VA0001780730    2009
       LLC

[ 31 ] Fitness Anywhere    TRX Boot Camp Ropes & Straps Round 2.    TX0007393092    2009
       LLC

[ 32 ] Fitness Anywhere    TRX Education Trainer Basics.            VA0001779639    2007
       LLC

[ 33 ] Fitness Anywhere    TRX Essentials Flexibility.              TX0007402378    2010
       LLC

[ 34 ] Fitness Anywhere    TRX Essentials Flexibility.              VA0001817574    2008
       LLC

[ 35 ] Fitness Anywhere    TRX Essentials Flexibility.              VA0001783409    2008
       LLC

[ 36 ] Fitness Anywhere    TRX Essentials Strength.                 VA0001817599    2008
       LLC

[ 37 ] Fitness Anywhere    TRX Essentials Strength.                 TX0007395670    2008
       LLC

[ 38 ] Fitness Anywhere    TRX Essentials Strength.                 VA0001779525    2008
       LLC


                                           2 of 4
 Case 8:22-bk-10949-SC      Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06          Desc
                           Main Document    Page 307 of 494



                                                                        Copyright
  #          Name                            Full Title                               Date
                                                                         Number
[ 39 ] Fitness Anywhere   TRX Female Silhouette actual work et al.    VA0001858853    2012
       LLC

[ 40 ] Fitness Anywhere   TRX Flexibility.                            VA0001796892    2008
       LLC

[ 41 ] Fitness Anywhere   TRX Force.                                  VA0001819177    2008
       LLC

[ 42 ] Fitness Anywhere   TRX Force.                                  VA0001780717    2008
       LLC

[ 43 ] Fitness Anywhere   TRX Force Field Guide.                      TX0007394610    2010
       LLC

[ 44 ] Fitness Anywhere   TRX Get Started Set Up Activate Workout.    TX0007695173    2012
       LLC

[ 45 ] Fitness Anywhere   TRX Golf Workout.                           VA0001787389    2007
       LLC

[ 46 ] Fitness Anywhere   TRX Golf Workout.                           PA0001764162    2007
       LLC

[ 47 ] Fitness Anywhere   TRX Home Gym Product Package Image
                                                                      VA0001995042    2015
       LLC                (1015)
[ 48 ] Fitness Anywhere   TRX Home Male Silhouette.                   VA0001858946    2012
       LLC

[ 49 ] Fitness Anywhere   TRX Home Package Design.                    VA0001858938    2012
       LLC

[ 50 ] Fitness Anywhere   TRX Kettlebell Iron Circuit Conditioning.   VA0001819176    2010
       LLC

[ 51 ] Fitness Anywhere   TRX Kettlebell Iron Circuit Conditioning.   TX0007393088    2010
       LLC

[ 52 ] Fitness Anywhere   TRX Kettlebell Iron Circuit Conditioning.   VA0001781673    2010
       LLC

[ 53 ] Fitness Anywhere   TRX Performance: Tennis.                    VA0001817392    2008
       LLC

[ 54 ] Fitness Anywhere   TRX Performance: Tennis.                    TX0007387297    2008
       LLC

[ 55 ] Fitness Anywhere   TRX Performance: Tennis.                    VA0001779637    2008
       LLC

[ 56 ] Fitness Anywhere   TRX Pilates Series Function Strength
                                                                      VA0001787204    2005
       LLC                Control.
[ 57 ] Fitness Anywhere   TRX Pro Package Design.                     VA0001858949    2012
       LLC


                                         3 of 4
 Case 8:22-bk-10949-SC       Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06         Desc
                            Main Document    Page 308 of 494



                                                                        Copyright
  #          Name                            Full Title                               Date
                                                                         Number
[ 58 ] Fitness Anywhere    TRX Rip Trainer: Basic Training.           PA0001789490    2011
       LLC

[ 59 ] Fitness Anywhere    TRX Rip Trainer: Basic Training.           VA0001781491    2011
       LLC

[ 60 ] Fitness Anywhere    TRX Rip Trainer: Basic Training.           TX0007390962    2011
       LLC

[ 61 ] Fitness Anywhere,   TRX SETUP & USE.                           PA0001891599    2013
       LLC

[ 62 ] Fitness Anywhere    TRX Strength.                              VA0001793260    2009
       LLC

[ 63 ] Fitness Anywhere    TRX Strength Advanced.                     VA0001787624    2009
       LLC

[ 64 ] Fitness Anywhere    TRX Suspension Training Sports Medicine:
                                                                      TX0007376286    2010
       LLC                 User’s Guide.
[ 65 ] Fitness Anywhere    TRX Team Coach Workbook.                   TX0007393116    2010
       LLC

[ 66 ] Fitness Anywhere    TRX Team Rollout Manual.                   TX0007396873    2010
       LLC

[ 67 ] Fitness Anywhere    TRX TEAM Training Camp Play Cards.         TX0007546105    2010
       LLC




                                           4 of 4
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                    Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           309Bof 494


    Name of Owner                      Address1                 City            State Zip                                Description of Property                             Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 U.S. Patent No. D669,945: Hand grip for an exercise device                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 U.S. Patent No. D831,764: Dual stitch pattern for a flexible strap             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 U.S. Patent No. D818,809: Stitching protector for flexible straps              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 U.S. Patent No. D820,063: Wood motif handle for holding a flexible strap   Unknown
                                                                                            U.S. Patent No. D808,251: Flattened dual‐stacked lengthening mechanism for
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 a flexible strap                                                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 U.S. Patent No. D842,946: Exercise apparatus wall anchor                       Unknown
                                                                                            Application No.29/587,143: Crossing line motif handle for holding a flexible
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 strap                                                                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 U.S. Registration No. D921213: Multizonal roller                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Application No.29/759,030: Exercise Band Handle (D)                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Application No.29/747,915: Mountable Anchor Point                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Application No.29/776,252: Exercise Ball                                       Unknown

TRXperience LLC         1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Musical composition licensing agreement with Broadcast Music Inc (BMI)         Unknown
                                                                                            Licensing agreement with Society of Composers, Authors and Music
TRXperience LLC         1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Publishers of Canada (SOCAN)                                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark App. No. 90/078,548 : Bandit (Training equipment)                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark Reg No. 5,456,211 : Duo Trainer (Digital materials)                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark Reg No. 4,674,630 : EFT (Fitness classes)                            Unknown
                                                                                            Trademark Reg No. 4,674,631 : Expeditionary Functional Training (Training
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 equipment)                                                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark Reg No.3,476,009 : Force Training Kit (Training equipment)           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark Reg No.3,922,984 : Get with the movement (Fitness classes)           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark Reg No.5,309,188 :Invizi mount (Hardware mounting systems)           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark Reg No.4,203,502 :Iron circuit (Digital material)                    Unknown



                                                                                      1 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                   Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           310Bof 494


    Name of Owner                      Address1                 City            State Zip                            Description of Property                               Value
                                                                                            Trademark Reg No.6,011,421 : Movement is a vital sign (Physical education
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 services)                                                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark Reg No.4,187,178 : RIP (Training equipment)                         Unknown
                                                                                            Trademark Reg No.4,366,625 : Suspension training (Training equipment,
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Digital materials and training equipment)                                     Unknown
                                                                                            TRX: Trademark Reg No.3,384, 871 (Fitness classes), 3,202,696 (Fitness
                                                                                            classes), 4,731,160 (Apparel), 4,998,892 (Apparel) and 4,542,811 (Software as
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 a service)                                                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark App No.903635512 : TRX CERTIFIED (Certified Mark)                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark Reg No.4,422,454 : TRX CORE (Fitness Classes)                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark Reg No.4,027,129 : TRX FORCE (Fitness Classes)                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark App No.90360346 : TRX LIVE (Streaming of video classes)           Unknown
                                                                                            Trademark Reg No.6,139,690 : TRX M BODY STRAP INTO THE MOVEMENT
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 (Fitness Classes)                                                           Unknown
                                                                                            Trademark Reg No.4,583,899 : TRX MAKE YOUR BODY MACHINE (Training
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Equipment)                                                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark Reg No.6,049,742 : TRX ROCKER (Training Equipment)                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark Reg No.4,129,135 : TRX TEAM (Fitness classes)                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark Reg No.3,925,283 : TRX TRAINING CENTER (Fitness classes)          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark Reg No.4,345,798 : TRX TRAINING CENTER (Fitness classes)          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark App No. 90/593,456 : TRX TRAINING CLUB (Fitness classes)          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark Reg No. 4,459,672 : TRX TRAINING ZONE (Fitness classes)           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark Reg No. 2,953,907 : VECTOR RESISTANCE (Training equipment)        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark Reg No. 4,011,271 : X (Digital material, Fitness classes)         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Trademark Reg No. 4,125,533 : XMOUNT (Hardware mounting system)             Unknown

                                                                                            US Patent No. 10,245,460
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 APPARATUS, KIT, AND METHOD FOR PERFORMING STRAP‐BASED EXERCISES             Unknown



                                                                                      2 of 54
                            Case 8:22-bk-10949-SC                 Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                              Desc
                                                                 Main Exhibit
                                                                      Document61/64 toPage
                                                                                       Schedule
                                                                                            311Bof 494


    Name of Owner                      Address1                  City           State Zip                                  Description of Property                       Value
                                                                                                U.S. Patent No. 10,857,413 APPARATUS, KIT, AND METHOD FOR PERFORMING
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596     STRAP‐BASED EXERCISES                                                  Unknown
                                                                                                U.S. App. No. 17/094,487 APPARATUS, KIT, AND METHOD FOR PERFORMING
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596     STRAP‐BASED EXERCISES                                                  Unknown
                                                                                                U.S. Patent No. 9,155,931
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596     STRAP RESTRAINT APPARATUS                                              Unknown
                                                                                                U.S. Patent No. 8,840,532
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596     STRAP ADJUSTER AND KEEPER AND METHOD OF STRAP CONTROL                  Unknown
                                                                                                U.S. Patent No. 7,762,932
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596     INELASTIC EXERCISE DEVICE HAVING A LIMITED RANGE                       Unknown
                                                                                                U.S. Patent No. 8,083,653
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596     EXERCISE DEVICE HAVING A DOOR ANCHOR                                   Unknown

                                                                                            U.S. Patent No. 8,043,197
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 EXERCISE DEVICE HAVING INELASTIC STRAPS AND INTERCHANGEABLE PARTS          Unknown
                                                                                            U.S. Patent No. 7,044,896
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 EXERCISE DEVICE INCLUDING ADJUSTABLE, INELASTIC STRAPS                     Unknown
                                                                                            U.S. Patent No. 7,090,622 (Continuation of 7,044,896)
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 EXERCISE DEVICE GRIPS AND ACCESSORIES FOR EXERCISE DEVICES                 Unknown
                                                                                            U.S. Patent No. 7,806,814 (CIP of ‘896 and ‘622) COMBINATION GRIP FOR AN
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 EXERCISE DEVICE                                                            Unknown
                                                                                            U.S. Application No. 12/209,151
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 COMBINATION GRIP FOR AN EXERCISE DEVICE                                    Unknown
                                                                                            U.S. Patent No. 9,199,119
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 EXERCISE BAR ATTACHMENT AND METHOD                                         Unknown
                                                                                            U.S. Patent No. 8,628,059
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 ASSEMBLY FOR A MOVABLE FRAME                                               Unknown
                                                                                            U.S. Patent No. 7,785,244
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 f              CA    94596 COMBINATION GRIP FOR AN EXERCISE DEVICE                                    Unknown
                                                                                            U.S. Patent No. 7,722,508
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 COMBINATION GRIP FOR AN EXERCISE DEVICE                                    Unknown
                                                                                            U.S. Patent No. 7,651,448
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 METHOD OF USING AN ADJUSTABLE EXERCISE DEVICE                              Unknown
                                                                                            U.S. Patent No. 9,433,258
                                                                                            *Continuation in Part of U.S. Patent No. 8,840,532
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 STRAP ADJUSTER AND KEEPER                                                  Unknown

                                                                                            Patent No. 8,469,864
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 EXERCISE DEVICE HAVING INELASTIC STRAPS AND INTERCHANGEABLE PARTS          Unknown
                                                                                            U.S. App. No. 16/592,337
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 MULTI‐ZONAL ROLLER AND METHOD OF USE THEREOF                               Unknown




                                                                                      3 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           312Bof 494


    Name of Owner                      Address1                 City            State Zip                              Description of Property                          Value
                                                                                            U.S. App. No. 62/860,477 (Provisional Application)
                                                                                            EXERCISE SYSTEM FOR USING VARIABLE LOCATION ANCHORS AND VARIABLE
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 BIASING ELEMENTS, AND METHOD OF USE THEREOF                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596                                                                           Unknown

TRXperience LLC         1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 SESAC Performance License for Online Fitness Services                     Unknown
                                                                                            American Society of Composers, Authors and Publishers (ASCAP) Licensing
Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 agreement                                                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: 1trx.com                                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: 2trx.com                                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: 4evertrx.com                                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: 90daytrx.com                                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: abouttrx.com                                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: abstrx.com                                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: airforcetrx.com                                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: allbodyexpress.com                                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: allbodyxpress.com                                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: alltrx.com                                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: alltrxallthetime.com                                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: armytrx.com                                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: asiapacifictrx.com                                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: athletestrx.com                                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: besttotalbodytool.com                                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: besttrx.com                                                  Unknown




                                                                                      4 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                  Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           313Bof 494


    Name of Owner                      Address1                 City            State Zip                               Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: besttrxsale.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: besttrxsales.info                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: besttrxstore.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: besttrxstore.info                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: besttrxstore.net                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: besttrxstore.org                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: besttrxstoreblog.info                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: besttrxtraining.info                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: besttrxworkout.info                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: blitztrx.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: body‐weightstraps.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyconcierge.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyleverage.org                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyweight‐trainer.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyweight‐training.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyweightleverage.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyweightonly.biz                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyweightonly.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyweightonly.org                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyweightonly.tv                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyweightresistance.com                        Unknown



                                                                                      5 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                               Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           314Bof 494


    Name of Owner                      Address1                 City            State Zip                            Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyweightresistancestraps.com               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyweightresistancetrainer.com              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyweightresistancetrx.com                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyweightstraps.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyweightsuspension.com                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyweightsuspensiontraining.com             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyweighttrain.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyweighttrainer.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyweighttraining.biz                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyweighttraining.net                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bodyweighttraining.tv                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: boxingstraps.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: bustamovement.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: buycheaptrx.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: buycheaptrx.info                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: buycheaptrx.net                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: buycheaptrx.org                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: buycheaptrxblog.info                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: buydiscounttrx.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: buygenuinetrx.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: buygenuinetrxproducts.com                    Unknown



                                                                                      6 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                 Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           315Bof 494


    Name of Owner                      Address1                 City            State Zip                              Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: buysuspensiontrainer.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: buysuspensiontraining.com                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: buytrx.biz                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: buytrx.us                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: buytrxbundles.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: buytrxproducts.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: buytrxpropack.biz                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: buytrxpropack.us                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: buytrxsuspension.info                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: buytrxsuspensiontrainer.com                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: buytrxteam.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: buytrxtraining.info                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: californiatrx.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: captaintrx.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: cheaptrx.co                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: cheaptrx.info                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: cheaptrx.net                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: cheaptrx.org                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: cheaptrx.us                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: cheaptrxforsale.info                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: cheaptrxonline.info                            Unknown



                                                                                      7 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                               Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           316Bof 494


    Name of Owner                      Address1                 City            State Zip                            Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: cheaptrxsale.info                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: cheaptrxshop.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: cheaptrxstore.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: cheaptrxsuspension.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: cheaptrxtraining.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: cheaptrxtraining.info                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: chinatrx.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: coachtrx.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: coastguardtrx.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: communitytrx.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: core‐centric.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: corecentricity.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: counterfeittrx.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: coursestrx.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: crazytrx.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: demoatrx.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: discounttrx.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: donotbuytrx.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: doyoutrx.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: educationtrx.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: famevisuals.com                              Unknown



                                                                                      8 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           317Bof 494


    Name of Owner                      Address1                 City            State Zip                             Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: famevisuals.me                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: famevisuals.mobi                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: famevisuals.net                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: famevisuals.org                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: famevisuals.tv                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fantrx.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: findcheaptrx.info                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: findtrxsale.info                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: findtrxstore.info                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnessanyplace.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnessanywhere.biz                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnessanywhere.ca                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnessanywhere.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnessanywhere.info                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnessanywhere.mobi                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnessanywhere.net                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnessanywhere.tv                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnessanywhere.us                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnessanywherebrasil.com                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnessanywheredistributor.com                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnessanywheredistributors.com               Unknown



                                                                                      9 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                 Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           318Bof 494


    Name of Owner                      Address1                 City            State Zip                              Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnessanywheremerchandise.com                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnessanywhereonline.com                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnessanywhereonlinestore.com                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnessanywhereshop.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnessanywhereshop.info                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnessanywheresucks.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnessanywhereusa.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnesseverywhere.info                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnesseverywhere.mobi                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnesseverywhere.org                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnesseverywhere.tv                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnesseverywhereonline.com                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnessinabag.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitnesstrainingtrx.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fitonthefly.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: flextrx.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: forcetrainingkit.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: forcetrx.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: freetrx.biz                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: freetrx.co                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: freetrx.com                                    Unknown



                                                                                      10 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                  Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           319Bof 494


    Name of Owner                      Address1                 City            State Zip                               Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: freetrx.info                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: freetrx.net                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: freetrx.org                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: freetrx.us                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: freetrxblog.info                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: freetrxbootcamp.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: freetrxcoupon.info                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: freetrxkettlebell.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: freetrxshop.info                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: freetrxstore.info                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: freetrxtraining.info                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fullactionsuspensiontraining.com                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fullactionsuspensiontraining.net                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: fullactionsuspensiontraining.org                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: functionalandfuntraining.com                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: functionalfitnesstrx.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: functionalspot.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: functionaltraining.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: functionaltrx.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: funtrx.com                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: genuinetrx.com                                  Unknown



                                                                                      11 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                 Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           320Bof 494


    Name of Owner                      Address1                 City            State Zip                              Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: get‐with‐the‐movement.com                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: getatrx.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: getmovingwithtrx.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: getsuspended.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: getwiththemovement.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: getwiththetrainingzone.com                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: getyourtrx.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: gravitytraining.org                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: gstc‐trx.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: gstctrx.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: hangouttraining.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: hardcoretrx.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: homeofsuspensiontraining.com                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: homeofthetrx.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: hometrainingtrx.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: ilovebodyweighttraining.com                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: ilovesuspensiontraining.com                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: ilovetrx.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: integraltrainingtrx.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: integraltrxtraining.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: internettrxbuying.com                          Unknown



                                                                                      12 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                 Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           321Bof 494


    Name of Owner                      Address1                 City            State Zip                              Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: ironforcetrx.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: irontrx.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: iusetrx.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: jointhecore.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: jointrxteam.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: justtrx.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: kettlebelltrx.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: kettlepack.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: kettleruck.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: lifetimefunction.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: lifetrx.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: lovetrx.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: makeyourbodyyourmachine.com                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: makeyourbodyyourmachineshop.com                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: makeyourbodyyourmachinestore.com               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: marinestrx.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: medicaltrx.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: militaryfitnessguide.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: militaryforceexercise.com                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: militarytrx.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mlbstraps.com                                  Unknown



                                                                                      13 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                               Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           322Bof 494


    Name of Owner                      Address1                 City            State Zip                            Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mmastraps.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mmasuspensionstraps.com                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mobiletrx.info                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mobiletrx.org                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: modetrx.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: movementtrx.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: musclesandfitnesstrx.com                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mycheaptrx.info                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mysuspensionyoga.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxfitness.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxforcekit.info                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxkettlebell.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxpro.info                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxprograms.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxpropack.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxshop.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxshop.info                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxstore.info                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxsucks.biz                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxsucks.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxsucks.info                              Unknown



                                                                                      14 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                               Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           323Bof 494


    Name of Owner                      Address1                 City            State Zip                            Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxsucks.us                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxsucksblog.info                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxsucksnow.info                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxsucksonline.info                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxsucksshop.info                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxsuckssite.info                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxsucksstore.info                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxsuckstoday.info                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxsuspensiontraining.com                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxtrainer.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxtraining.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxtraining.info                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxtrainingpro.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxtrainingstore.co                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxtrainingstore.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxtrainingstore.info                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxtrainingstore.net                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxtrainingstore.org                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxworkouts.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: mytrxyoga.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: navysealstraps.com                           Unknown



                                                                                      15 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           324Bof 494


    Name of Owner                      Address1                 City            State Zip                             Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: navysealsuspensiontraining.com                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: navysealtrx.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: nbastraps.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: newtrx.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: newtrxfitness.us                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: newtrxpro.info                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: newtrxtraining.info                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: nhlstraps.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: nomorefreeweights.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: noseriouslythisistherealtrx.com               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: oaklandtrx.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: offficialtrx.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: officialtrx.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: onlinetrxshop.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: ontourtrx.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: orderingtrx.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: pectationstrx.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: professionaleducationtrx.com                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: programmingtrx.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: propacktrx.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: randyhetricksucks.com                         Unknown



                                                                                      16 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                  Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           325Bof 494


    Name of Owner                      Address1                 City            State Zip                               Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: redefinedtrx.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: rehabilitationtrx.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: rehabtrx.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: resistancestraps.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: rip‐corefx.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: rip‐corefx.net                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: rip‐fitness.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: rip‐fitness.net                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: rip‐trainer.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: rip‐training.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: rip.training                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: ripcorefx.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: ripcorefx.net                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: riptrainer.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: saleontrx.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: saleontrx.info                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: saleontrx.net                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: saleontrx.org                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: saleontrxblog.info                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: sanfranciscotrx.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: sealstraps.com                                  Unknown



                                                                                      17 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                  Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           326Bof 494


    Name of Owner                      Address1                 City            State Zip                               Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: sealtrx.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: shopdiscounttrx.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: shopgenuinetrx.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: shopmilitarytrx.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: shoppingtrx.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: shopsuspensiontrainer.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: shoptrx.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: shoptrx.net                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: shoptrx.org                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: shoptrxbundles.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: shoptrxforcekit.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: shoptrxpropack.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: shoptrxsframes.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: shoptrxsuspensiontrainer.com                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: shoptrxteam.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: slingfit.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: slingfit.net                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: slingfit.org                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: slingfitness.net                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: slingfitness.org                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: slingtraining.com                               Unknown



                                                                                      18 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                  Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           327Bof 494


    Name of Owner                      Address1                 City            State Zip                               Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: slingtraining.info                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: slingtraining.net                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: sportsmedicinetrx.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: sporttrx.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: stc‐trx.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: stctrx.com                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: straighttrx.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: strapfit.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: strapfit.net                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: strapfit.org                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: strapfitness.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: strapfitness.net                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: strapfitness.org                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: straptraining.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: straptraining.net                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: straptraining.org                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: strongtrx.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: studiotrx.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspendedtrx.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspendlimits.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspendyourlimits.com                           Unknown



                                                                                      19 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                               Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           328Bof 494


    Name of Owner                      Address1                 City            State Zip                            Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspendyourself.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspension‐studio.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspension‐studios.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspension‐trainer.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspension‐training.com                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspension‐workout.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspension.training                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensionathlete.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensionathletics.com                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensionbased.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensionfit.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensionfitness.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensionfitnesstraining.com                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensionlab.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensionloft.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensionpilates.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensionstrap.org                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensionstraps.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensionstudio.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensionstudios.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainer.biz                        Unknown



                                                                                      20 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                               Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           329Bof 494


    Name of Owner                      Address1                 City            State Zip                            Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainer.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainer.info                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainer.net                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainer.org                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainer.us                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainers.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainers.net                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainers.org                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainershop.com                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainerstore.com                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainerwebstore.com                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontraingdeals.com                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontraining.biz                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontraining.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontraining.info                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontraining.net                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontraining.org                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontraining.us                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontraininganywhere.com               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainingbodyweightexercise.com     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainingcourse.com                 Unknown



                                                                                      21 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                               Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           330Bof 494


    Name of Owner                      Address1                 City            State Zip                            Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainingeducation.com              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontraininghome.com                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontraininglab.com                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainingmerch.com                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainingshop.com                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainingstore.com                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainingstraps.com                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainingstudio.com                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainingstudios.com                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainingtrx.com                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainingusa.com                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainingzone.com                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrainwithtrx.com                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensiontrxtraining.com                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensionworkout.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensionworkouts.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensionyoga.mobi                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensionyoga.net                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensionyoga.tv                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: suspensionyogaonline.com                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: tacticaltrx.com                              Unknown



                                                                                      22 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           331Bof 494


    Name of Owner                      Address1                 City            State Zip                             Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: tacticaltrxtraining.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: teamathletestrx.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: teamcaptaintrx.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: teamcoachtrx.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thebodyisyourmachine.com                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thefitnesseverywhere.com                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thegenuinetrx.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: therealdealtrx.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: therealtrx.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thetrxbootcamp.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thetrxfitness.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thetrxforcekit.info                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thetrxkettlebell.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thetrxmovement.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thetrxpilates.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thetrxpro.info                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thetrxpropack.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thetrxshop.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thetrxshop.net                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thetrxshop.org                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thetrxstore.com                               Unknown



                                                                                      23 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                               Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           332Bof 494


    Name of Owner                      Address1                 City            State Zip                            Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thetrxsuspensiontraining.com                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thetrxtrainer.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thetrxtrainingpro.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thetrxworkout.info                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thetrxworkouts.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: thetrxyoga.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: totalbodystrength.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: totalresistanceexercise.com                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: totalresistancestraps.com                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: totalresistancetraining.com                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: totalresistancexercise.com                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trainanywherewithtrx.com                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trainingcamptrx.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trainingcentertrx.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trainingstraps.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trainlikedrew.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trainontrx.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: traintrxteam.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trainwithfraser.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trainwithnatalie.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trainwithrandy.com                           Unknown



                                                                                      24 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                  Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           333Bof 494


    Name of Owner                      Address1                 City            State Zip                               Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trainwithsuspension.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: travelfit.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐baseball.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐bootcamp.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐core.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐education.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐europe.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐fitnessanyhere.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐fitnessanywhere.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐fitnessanywhere.net                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐football.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐gstc.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐kettlebell.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐lifestyle.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐live.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐mobile.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐mobile.info                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐mobile.net                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐mobile.org                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐ondemand.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐propack.com                                 Unknown



                                                                                      25 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                  Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           334Bof 494


    Name of Owner                      Address1                 City            State Zip                               Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐running.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐shop.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐snowboarding.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐soccer.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐stc.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐suspension‐trainer.com                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐suspension‐training.com                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐trainer.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐training.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐trainingclub.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐trainingzone.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐virtualpersonaltraining.com                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐vpt.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐workouts.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx‐zone.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx.co.uk                                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx.fit                                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx.training                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx.uk                                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx101.com                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx4ever.com                                    Unknown



                                                                                      26 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           335Bof 494


    Name of Owner                      Address1                 City            State Zip                             Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trx4sale.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxabs.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxaction.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxadvanced.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxairforce.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxambassador.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxamerica.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxandyou.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxarmy.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxasiapacific.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxathletes.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxathletics.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxathome.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxaustralia.com.au                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbalance.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxband.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbands.info                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbargins.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbenefits.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbestdeal.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbestdeal.info                              Unknown



                                                                                      27 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                  Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           336Bof 494


    Name of Owner                      Address1                 City            State Zip                               Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbestdeal.net                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbestdeal.org                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbestdealonline.info                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxblackandyellow.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxblast.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxblitz.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxblog.co                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxblog.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxblog.net                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxblog.org                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxblowout.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxblows.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbody.biz                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbody.co                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbody.info                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbody.net                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbody.org                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbody.us                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbodytraining.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbodyweb.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbodyweightexercise.com                       Unknown



                                                                                      28 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                 Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           337Bof 494


    Name of Owner                      Address1                 City            State Zip                              Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbootcampcentral.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbootcamponline.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbrasil.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbrazil.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbuilt.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbundle.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbundles.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbuy.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbuy.info                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbuy.net                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbuy.org                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbuying.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbuying.net                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbuying.org                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbuyingsite.info                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbuynow.info                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxbuyzone.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcaptain.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcenter.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcenter.info                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcentral.com                                 Unknown



                                                                                      29 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                 Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           338Bof 494


    Name of Owner                      Address1                 City            State Zip                              Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcertificate.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcheapsale.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcheck.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxchina.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxciting.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxclass.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxclassfinder.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcloseout.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxclubs.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcoach.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcoastguard.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcommunity.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcondition.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcore.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcorestrength.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcoretraining.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcoupon.biz                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcoupon.co                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcoupon.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcoupon.info                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcoupon.net                                  Unknown



                                                                                      30 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                  Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           339Bof 494


    Name of Owner                      Address1                 City            State Zip                               Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcoupon.org                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcoupon.us                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcouponblog.info                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcoupons.info                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcouponshop.info                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcouponsite.info                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcouponstore.info                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcoupontoday.info                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcourses.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxcrazy.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxday.com                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxdeal.biz                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxdeal.co                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxdeal.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxdeal.info                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxdeal.net                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxdeal.org                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxdeal.us                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxdevelop.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxdirectory.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxdiscount.com                                 Unknown



                                                                                      31 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           340Bof 494


    Name of Owner                      Address1                 City            State Zip                             Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxdiscount.info                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxdiscount4you.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxdiscountnow.info                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxdiscountshop.info                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxdiscountstore.info                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxdiscounttoday.info                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxdomestic.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxdrive.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxdvds.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxecommerce.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxeducate.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxeducation.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxenntrenamiento.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxequipment.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxers.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxessential.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxessentials.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxexercises.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfactor.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfan.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfatloss.com                                Unknown



                                                                                      32 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           341Bof 494


    Name of Owner                      Address1                 City            State Zip                             Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfilms.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfitforlife.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfitness‐shop.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfitness‐shop.info                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfitness‐shops.info                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfitness.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfitness.info                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfitnessanyhere.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfitnessanywhere.ca                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfitnessanywhere.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfitnessanywhere.info                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfitnesscenter.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfitnessequipment.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfitnessmovement.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfitnessonline.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfitnessshop.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfitnessshop.info                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfitnessusa.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfitnessworld.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfootball.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxforce.com                                  Unknown



                                                                                      33 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                  Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           342Bof 494


    Name of Owner                      Address1                 City            State Zip                               Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxforce.info                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxforcekit.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxforcesshop.biz                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxforcesshop.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxforcesshop.us                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxforcetraining.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxforever.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxforlife.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxforsale.info                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfoundation.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfoundation.net                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfoundation.org                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfun.com                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfunctionalfitness.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfunctionaltraining.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxfunworkout.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxgear.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxgearshop.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxgifts.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxgroupfitness.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxgym.com                                      Unknown



                                                                                      34 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                  Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           343Bof 494


    Name of Owner                      Address1                 City            State Zip                               Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxgym.info                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxgyms.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxhardcore.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxheadquarters.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxhealth.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxhome.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxidea.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxinaction.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxindia.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxing.com                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxinstruction.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxintegraltraining.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxiron.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxironcircuit.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxironcircuit.net                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxironcircuit.org                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxironforce.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxisawesome.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxitaly.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxjourney.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxkettlebellcentral.com                        Unknown



                                                                                      35 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                 Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           344Bof 494


    Name of Owner                      Address1                 City            State Zip                              Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxkettlebellonline.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxknockoff.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxknockoffs.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxlacrosse.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxlacrosse.info                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxlacrosse.net                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxlacrosse.org                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxlacrosse.us                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxlax.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxlax.info                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxlax.net                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxlax.org                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxlax.us                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxleader.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxlearn.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxlife.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxlocations.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxlocator.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxlove.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmaps.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmaps.info                                   Unknown



                                                                                      36 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                 Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           345Bof 494


    Name of Owner                      Address1                 City            State Zip                              Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmarines.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmarket.info                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxme.com                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmedical.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmedicine.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmerchandise.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmerchshop.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmilitary.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmma.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmmaonline.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmobi.net                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmobil.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmobil.info                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmobil.org                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmobile.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmobile.info                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmobile.net                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmobile.org                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmove.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmovement.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmovement.net                                Unknown



                                                                                      37 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                  Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           346Bof 494


    Name of Owner                      Address1                 City            State Zip                               Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmovement.org                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmovementonline.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmuscle.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmusclebuilding.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxmusclesandfitness.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxnavy.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxnavyseal.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxnow.com                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxoffer.biz                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxoffer.co                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxoffer.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxoffer.net                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxoffer.org                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxonlinestore.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxonsale.biz                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxonsale.co                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxonsale.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxonsale.info                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxonsale.net                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxonsale.org                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxonsale.us                                    Unknown



                                                                                      38 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                   Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           347Bof 494


    Name of Owner                      Address1                 City            State Zip                                Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxonsaleblog.info                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxontour.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxorders.biz                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxorders.co                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxorders.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxorders.net                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxorders.org                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxordersonline.info                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxorderssite.info                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxordersstore.info                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpapers.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpectations.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxperformance.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpersonaltrainers.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpictures.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpilates.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpilates.info                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpilates.mobi                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpilates.net                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpilates.tv                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpilatesonline.com                             Unknown



                                                                                      39 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                 Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           348Bof 494


    Name of Owner                      Address1                 City            State Zip                              Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxplan.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxplanet.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpower.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxprepare.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpro.biz                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpro.co                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpro.info                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpro.net                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpro.org                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpro.us                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxprocards.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxproductioncompany.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxproducts.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxprofessional.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxprofessional.info                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxprofessionaleducation.com                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxprogram.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxprogramme.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxprogramming.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxprograms.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxprogramsonline.com                          Unknown



                                                                                      40 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                  Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           349Bof 494


    Name of Owner                      Address1                 City            State Zip                               Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpromo.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpropack.biz                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpropack.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpropack.info                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpropack.me                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpropack.mobi                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpropack.net                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpropack.org                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpropack.tv                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpropack.us                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpropackage.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpropackonline.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxpros.info                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxprosite.info                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxprotraining.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxr4.com                                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxradio.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxradio.net                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxradio.org                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxredefined.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxrehab.com                                    Unknown



                                                                                      41 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                  Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           350Bof 494


    Name of Owner                      Address1                 City            State Zip                               Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxrehabilitation.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxrocks.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxropes.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxroutine.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxrussia.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsale.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsaleok.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsave.biz                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsave.co                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsave.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsave.info                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsave.net                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsave.org                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxschool.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxseal.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsealstraps.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsell.info                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsell.net                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsell.org                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxserver.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsf.com                                       Unknown



                                                                                      42 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                 Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           351Bof 494


    Name of Owner                      Address1                 City            State Zip                              Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsframe.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxshape.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxship.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxshop.biz                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxshop.co                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxshop.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxshop.net                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxshop.org                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxshop.us                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxshopping.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxshopping.info                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxshopping.net                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxshopping.org                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxshops.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxshow.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxshred.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsite.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxslingfitness.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxslingfitness.net                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsoldier.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxspecial.biz                                 Unknown



                                                                                      43 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                  Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           352Bof 494


    Name of Owner                      Address1                 City            State Zip                               Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxspecial.co                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxspecial.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxspecial.info                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxspecial.net                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxspecial.org                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsport.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsportsmedicine.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxspot.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxst.com                                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxstart.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxstc.com                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxstore.biz                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxstore.co                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxstore.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxstore.net                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxstore.org                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxstore.us                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxstoreonline.info                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxstrap.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxstraps.info                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxstrengthandconditioning.com                  Unknown



                                                                                      44 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           353Bof 494


    Name of Owner                      Address1                 City            State Zip                             Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxstressed.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxstrong.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxstudios.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxstuff.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsucksblog.info                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsucksnow.info                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsucksonline.info                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsucksshop.info                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuckssite.info                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuckstoday.info                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsummit2018.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuperstore.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuspended.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuspension.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuspensioncenter.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuspensionleader.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuspensionlearn.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuspensiononline.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuspensiononsale.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuspensionrehab.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuspensionsale.com                         Unknown



                                                                                      45 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                 Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           354Bof 494


    Name of Owner                      Address1                 City            State Zip                              Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuspensiontrain.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuspensiontrainer.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuspensiontraineronline.com                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuspensiontrainerprofessional.com           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuspensiontrainerpropack.com                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuspensiontrainers.com                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuspensiontrainers.org                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuspensiontraining.com                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsuspensiontrainingworkout.com               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsweat.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsystem.biz                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsystem.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsystem.info                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsystem.net                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsystem.org                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxsystem.us                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtactical.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtacticaltraining.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtaiwan.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtake.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxteach.com                                   Unknown



                                                                                      46 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                   Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           355Bof 494


    Name of Owner                      Address1                 City            State Zip                                Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxteamathletes.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxteamcaptain.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxteamcoach.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxteamstore.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxteamsuspensiontrainers.com                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxteamsuspensiontraining.com                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtennis.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxthestore.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxthought.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtotalbodytraining.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtotaltraining.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrain.biz                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrain.co                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrain.info                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrain.net                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrain.org                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrain.us                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainer.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainerdirectory.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraineronline.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainershop.com                               Unknown



                                                                                      47 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           356Bof 494


    Name of Owner                      Address1                 City            State Zip                             Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainerstore.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.biz                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.cc                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.club                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.co                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.co.uk                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.com.au                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.com.co                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.com.es                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.com.mx                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.com.tw                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.es                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.in                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.info                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.jp                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.live                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.me                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.mobi                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.mx                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.nl                                Unknown



                                                                                      48 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           357Bof 494


    Name of Owner                      Address1                 City            State Zip                             Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.org                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.tv                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.tw                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.us                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraining.ws                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingaustralia.com.au                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingblog.info                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingcamp.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingcenter.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingcentersanfrancisco.com             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingclub.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingcompany.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingnow.info                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingonline.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingonline.info                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingpro.biz                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingpro.co                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingpro.info                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingpro.org                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingproducts.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingprofessional.com                   Unknown



                                                                                      49 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           358Bof 494


    Name of Owner                      Address1                 City            State Zip                             Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingproshop.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingprosite.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingprostore.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingprotoday.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingshop.info                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingsite.info                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingspace.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingstore.info                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingstraps.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingsystem.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingtoday.info                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainingzone.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtraininzone.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainonline.info                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrains.info                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainsite.info                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrainzone.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtrend.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtriathlete.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtv.co                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtv.com                                     Unknown



                                                                                      50 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                  Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           359Bof 494


    Name of Owner                      Address1                 City            State Zip                               Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtv.net                                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtv.org                                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxtz.com                                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxuniversal.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxuniverse.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxvectorresistance.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxvideo.biz                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxvideo.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxvideo.info                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxvideo.net                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxvideo.org                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxvideoblog.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxvideonow.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxvideoonline.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxvideoshop.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxvideosite.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxvideostore.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxvirtualpersonaltraining.com                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxvisuals.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxvpt.com                                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxwarehouse.com                                Unknown



                                                                                      51 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                 Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           360Bof 494


    Name of Owner                      Address1                 City            State Zip                              Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxwebstore.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxweight.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxworkout.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxworkout.info                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxworkoutonline.info                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxworkouts.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxworkoutscentral.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxworkoutshop.info                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxworkoutsonline.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxworkoutstore.info                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxworkouttoday.info                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxworldwide.com                               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxyoga.com                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxyoga.mobi                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxyoga.net                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxyoga.org                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxyoga.tv                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxyogaonline.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxyogas.com                                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxyouthtraining.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxzone.com                                    Unknown



                                                                                      52 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                  Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           361Bof 494


    Name of Owner                      Address1                 City            State Zip                               Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: trxzone.info                                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: tryatrx.com                                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: ttc‐trainers.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: txrtrainingzone.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: ultimateoutdoorworkout.com                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: ultimateoutdoorworkout.net                      Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: universaltrx.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: universetrx.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: vector‐resistance.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: vectorresistance.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: vectorresistancetraining.com                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: vortextraining.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: vrxfitness.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: vrxtraining.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: warriortrx.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: webbodylever.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: webbodyleverage.com                             Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: webbodyweightleverage.com                       Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: webbodyweightleverageexercise.com               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: webgravitytraining.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: websuspensionbased.com                          Unknown



                                                                                      53 of 54
                            Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                               Desc
                                                                Main Exhibit
                                                                     Document61/64 toPage
                                                                                      Schedule
                                                                                           362Bof 494


    Name of Owner                      Address1                 City            State Zip                            Description of Property            Value

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: websuspensionbasedtraining.com               Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: webtrxbootcamp.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: webtrxfitness.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: webtrxkettlebell.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: webtrxpropack.com                            Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: webtrxtraining.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: webtrxworkouts.com                           Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: weightkettlebell.com                         Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: whatistrx.com                                Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: whatisvectorresistance.com                   Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: whatstrx.com                                 Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: workoutsuspension.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: workouttrxfitness.com                        Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: yellowandblackstraps.com                     Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: yogatrxworkouts.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: yourbodyisyourmachine.com                    Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: yourfreetrx.com                              Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: yourtrx.com                                  Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: yourtrxbootcamp.com                          Unknown

Fitness Anywhere, LLC   1990 N California Blvd Suite 20 PMB 1058 Walnut Creek   CA    94596 Domain Name: yourtrxkettlebell.com                        Unknown




                                                                                      54 of 54
            Case 8:22-bk-10949-SC                         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                             Desc
                                                         Main Document    Page 363 of 494                                                                     7/06/22 4:30PM


Fill in this information to identify the case:

Debtor name          Fitness Anywhere LLC

United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA

Case number (if known)              8:22-bk-10949-SC
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                  Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.
2.1    Woodforest National Bank                     Describe debtor's property that is subject to a lien                  $19,375,000.00                Unknown
       Creditor's Name                              Secured by substantially all assets of the
       Attn: CMB Loan Operations                    Debtor
       25231 Grogans Mill Road,
       6th Floor
       The Woodlands, TX 77380
       Creditor's mailing address                   Describe the lien
                                                    UCC Financing Statement
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.




                                                                                                                            $19,375,000.
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                      00

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                             you enter the related creditor?    account number for
                                                                                                                                                this entity
        Katten Muchin Rosenman LLP
        Attn: Jan Harris Cate, Esq.                                                                          Line   2.1
        515 South Flower Street, Suite 1000
        Los Angeles, CA 90071




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 2
          Case 8:22-bk-10949-SC          Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                          Desc
                                        Main Document    Page 364 of 494                                               7/06/22 4:30PM


Debtor    Fitness Anywhere LLC                                             Case number (if known)   8:22-bk-10949-SC
          Name

      Woodforest National Bank
      Attn: David A. Macdonald                                                     Line   2.1
      1330 Lake Robbins Drive, Suite 500
      The Woodlands, TX 77380




Official Form 206D      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                   page 2 of 2
            Case 8:22-bk-10949-SC                         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                             Desc
                                                         Main Document    Page 365 of 494                                                                    7/06/22 4:30PM


Fill in this information to identify the case:

Debtor name        Fitness Anywhere LLC

United States Bankruptcy Court for the:         CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA

Case number (if known)          8:22-bk-10949-SC
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach he Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, he claim is:                                $557.56        $557.56
          Alabama Department of Revenue                       Check all that apply.
          PO Box 327489                                        Contingent
          Montgomery, AL 36132                                 Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes

2.2       Priority creditor's name and mailing address        As of the petition filing date, he claim is:                                  $46.43       $46.43
          Alabama Department of Revenue                       Check all that apply.
          PO Box 327489                                        Contingent
          Montgomery, AL 36133                                 Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 47
                                                                                                             26717
           Case 8:22-bk-10949-SC                         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                     Desc
                                                        Main Document    Page 366 of 494                                                          7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                                    Case number (if known)   8:22-bk-10949-SC
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, he claim is:                         $2,732.13      $2,732.13
         Arizona Department of Revenue                      Check all that apply.
         PO Box 29085                                        Contingent
         Phoenix, AZ 85038                                   Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.4      Priority creditor's name and mailing address       As of the petition filing date, he claim is:                           $267.62      $267.62
         Arkansas Excise Tax                                Check all that apply.
         PO Box 1272                                         Contingent
         Little Rock, AR 72203                               Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.5      Priority creditor's name and mailing address       As of the petition filing date, he claim is:                        $15,897.26      $15,897.26
         California Francishe Tax Board                     Check all that apply.
         PO Box 942867                                       Contingent
         Sacramento, CA 94267                                Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.6      Priority creditor's name and mailing address       As of the petition filing date, he claim is:                         $1,258.89      $1,258.89
         Colorado Department of Revenue                     Check all that apply.
         30 S Nevada Ave                                     Contingent
         Colorado Springs, CO 80903                          Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 47
           Case 8:22-bk-10949-SC                         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                     Desc
                                                        Main Document    Page 367 of 494                                                          7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                                    Case number (if known)   8:22-bk-10949-SC
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, he claim is:                           $910.79      $910.79
         Comptroller of Maryland                            Check all that apply.
         1306 South Salisbury Blvd                           Contingent
         Suite 182                                           Unliquidated
         Salisbury, MD 21801                                 Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.8      Priority creditor's name and mailing address       As of the petition filing date, he claim is:                            $95.65      $95.65
         DC Office of Tax                                   Check all that apply.
         1101 4th Street                                     Contingent
         2nd Floor                                           Unliquidated
         Washington, DC 20024                                Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.9      Priority creditor's name and mailing address       As of the petition filing date, he claim is:                           $109.56      $0.00
         Department of Revenue                              Check all that apply.
         PO Box 960                                          Contingent
         Jackson, MS 39205                                   Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.10     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                           $694.87      $694.87
         Department of Revenue Services                     Check all that apply.
         State of CT                                         Contingent
         PO Box 2976                                         Unliquidated
         Hartford, CT 06104                                  Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 47
           Case 8:22-bk-10949-SC                         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                     Desc
                                                        Main Document    Page 368 of 494                                                          7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                                    Case number (if known)   8:22-bk-10949-SC
            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                            $17.84      $17.84
         Department of Taxation - Hawaii                    Check all that apply.
         PO Box 259                                          Contingent
         Honolulu, HI 96809                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.12     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                             $0.00      $0.00
         Employment Development Dept                        Check all that apply.
         Bankruptcy Group MIC 92E                            Contingent
         PO Box 826880                                       Unliquidated
         Sacramento, CA 94280                                Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.13     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                        $12,788.00      $12,788.00
         Florida Department of Revenue                      Check all that apply.
         5050 W Tennessee St                                 Contingent
         Tallahassee, FL 32399                               Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.14     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                             $0.00      $0.00
         Francise Tax Board                                 Check all that apply.
         Bankruptcy Section MS: A-340                        Contingent
         Sacramento, CA 95812                                Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 47
           Case 8:22-bk-10949-SC                         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                     Desc
                                                        Main Document    Page 369 of 494                                                          7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                                    Case number (if known)   8:22-bk-10949-SC
            Name

2.15     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                         $1,594.94      $1,594.94
         Georgia Department of Revenue                      Check all that apply.
         PO Box 105408                                       Contingent
         Atlanta, GA 30348                                   Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.16     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                           $319.67      $319.67
         Idaho Sales Tax Commission                         Check all that apply.
         11321 W Chinden Blvd                                Contingent
         Boise, ID 83714                                     Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.17     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                         $2,204.48      $2,204.48
         Illinois Department of Revenue                     Check all that apply.
         PO Box 19013                                        Contingent
         Springfield, IL 62794                               Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.18     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                           $701.48      $701.48
         Indiana Department of Revenue                      Check all that apply.
         PO Box 40                                           Contingent
         Indianapolis, IN 46206                              Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 5 of 47
           Case 8:22-bk-10949-SC                         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                     Desc
                                                        Main Document    Page 370 of 494                                                          7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                                    Case number (if known)   8:22-bk-10949-SC
            Name

2.19     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                             $0.00      $0.00
         Internal Revenue Service                           Check all that apply.
         PO Box 7346                                         Contingent
         Philadelphia, PA 19101                              Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Notice only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.20     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                        $99,371.99      $15,150.00
         John Hutchinson                                    Check all that apply.
         665 Blair Avenue                                    Contingent
         Piedmont, CA 94611                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.21     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                           $271.12      $271.12
         Kansas Department of Revenue                       Check all that apply.
         PO Box 3506                                         Contingent
         Topeka, KS 66625                                    Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.22     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                           $347.31      $347.31
         Kentucky Department of Revenue                     Check all that apply.
         PO Box 856910                                       Contingent
         Louisville, KY 40285                                Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 6 of 47
           Case 8:22-bk-10949-SC                         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                     Desc
                                                        Main Document    Page 371 of 494                                                          7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                                    Case number (if known)   8:22-bk-10949-SC
            Name

2.23     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                        $62,500.00      $15,150.00
         Liz Moothart                                       Check all that apply.
         1017 Pearl Street                                   Contingent
         Unit D                                              Unliquidated
         Santa Monica, CA 90405                              Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Severance
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.24     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                           $279.32      $279.32
         Louisiana Department of Revenue                    Check all that apply.
         PO Box 201                                          Contingent
         Baton Rouge, LA 70821                               Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.25     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                           $329.40      $329.40
         Maine Revenue Services                             Check all that apply.
         PO Box 9107                                         Contingent
         Augusta, ME 04332                                   Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.26     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                       $350,000.00      $15,150.00
         Mark Reis                                          Check all that apply.
         4349 NE Glisan St.                                  Contingent
         Portland, OR 97213                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Severance
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 7 of 47
           Case 8:22-bk-10949-SC                         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                     Desc
                                                        Main Document    Page 372 of 494                                                          7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                                    Case number (if known)   8:22-bk-10949-SC
            Name

2.27     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                         $1,621.30      $1,621.30
         Massachusetts Department of                        Check all that apply.
         Revenue                                             Contingent
         PO Box 7000                                         Unliquidated
         Boston, MA 02204                                    Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.28     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                         $1,078.11      $1,078.11
         Michigan Department of Treasury                    Check all that apply.
         PO Box 30778                                        Contingent
         Lansing, MI 48909                                   Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.29     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                           $999.45      $999.45
         Minnesota Department of Revenue                    Check all that apply.
         6330 600 N Robert St                                Contingent
         St Paul, MN 55101                                   Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.30     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                           $694.10      $694.10
         Missouri Department of Revenue                     Check all that apply.
         PO Box 840                                          Contingent
         Jefferson City, MO 65105                            Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 8 of 47
           Case 8:22-bk-10949-SC                         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                     Desc
                                                        Main Document    Page 373 of 494                                                          7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                                    Case number (if known)   8:22-bk-10949-SC
            Name

2.31     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                            $17.42      $17.42
         Missouri Department of Revenue                     Check all that apply.
         Taxation Division                                   Contingent
         PO Box 3400                                         Unliquidated
         Jefferson City, MO 65105-3400                       Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.32     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                       $150,000.00      $15,150.00
         Nasario Mejia                                      Check all that apply.
         631 Claudius Way                                    Contingent
         Windsor, CA 95492                                   Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Severance
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.33     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                           $287.36      $287.36
         Nebraska Department of Revenue                     Check all that apply.
         505A Broadway                                       Contingent
         Suite 800                                           Unliquidated
         Scottsbluff, NE 69361                               Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.34     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                           $540.93      $540.93
         Nevada Department of Taxation                      Check all that apply.
         700 E Warm Springs Rd                               Contingent
         2nd Floor                                           Unliquidated
         Las Vegas, NV 89119                                 Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 9 of 47
           Case 8:22-bk-10949-SC                         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                     Desc
                                                        Main Document    Page 374 of 494                                                          7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                                    Case number (if known)   8:22-bk-10949-SC
            Name

2.35     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                           $472.30      $472.30
         New Mexico Taxation and Revenue                    Check all that apply.
         Dept. Albuquerque District                          Contingent
         PO Box 8485                                         Unliquidated
         Albuquerque, NM 87198                               Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.36     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                         $3,095.91      $3,095.91
         North Carolina                                     Check all that apply.
         Department of Revenue                               Contingent
         PO Box 25000                                        Unliquidated
         Raleigh, ND 27640                                   Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.37     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                         $6,204.34      $6,204.34
         NYS Tax Department                                 Check all that apply.
         Taxpayer Assistance Bureau                          Contingent
         Harriman Campus Rd                                  Unliquidated
         Albany, NY 12227                                    Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.38     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                           $731.53      $731.53
         Ohio Department of Taxation                        Check all that apply.
         PO Box 182131                                       Contingent
         Columbus, OH 43218                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 10 of 47
           Case 8:22-bk-10949-SC                         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                      Desc
                                                        Main Document    Page 375 of 494                                                          7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                                    Case number (if known)   8:22-bk-10949-SC
            Name

2.39     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                           $254.15      $254.15
         Oklahoma Sales Tax Department                      Check all that apply.
         PO Box 26850                                        Contingent
         Oklahoma City, OK 73126                             Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.40     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                         $1,334.48      $1,334.48
         PA Department of Revenue                           Check all that apply.
         EFT Unit                                            Contingent
         6th Floor Strawberry Square                         Unliquidated
         Harrisburg, PA 17128                                Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.41     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                      $1,200,000.00     $15,150.00
         Randal Hetrick                                     Check all that apply.
         803 Denise Court                                    Contingent
         Mill Valley, CA 94941                               Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Severance
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.42     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                           $211.83      $211.83
         Rhode Island Division of Taxation                  Check all that apply.
         One Capitol Hill                                    Contingent
         Providence, RI 02908                                Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 11 of 47
           Case 8:22-bk-10949-SC                         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                     Desc
                                                        Main Document    Page 376 of 494                                                          7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                                    Case number (if known)   8:22-bk-10949-SC
            Name

2.43     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                           $979.78      $979.78
         South Carolina                                     Check all that apply.
         Department of Revenue                               Contingent
         PO Box 100193                                       Unliquidated
         Columbia, SC 29202                                  Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.44     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                           $121.35      $121.35
         South Dakota Department of                         Check all that apply.
         Revenue                                             Contingent
         445 East Capital Ave                                Unliquidated
         Pierre, SD 57501                                    Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.45     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                         $1,146.43      $1,146.43
         Tennessee Department of Revenue                    Check all that apply.
         7175 Strawberry Plains Pike                         Contingent
         Suite 209                                           Unliquidated
         Knoxville, TN 37914                                 Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes

2.46     Priority creditor's name and mailing address       As of the petition filing date, he claim is:                         $7,356.10      $7,356.10
         Texas Comptroller of                               Check all that apply.
         Public Accounts                                     Contingent
         PO Box 13528                                        Unliquidated
         Austin, TX 78711                                    Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 12 of 47
             Case 8:22-bk-10949-SC                         Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                                Desc
                                                          Main Document    Page 377 of 494                                                                       7/06/22 4:30PM


Debtor        Fitness Anywhere LLC                                                                      Case number (if known)      8:22-bk-10949-SC
              Name

2.47       Priority creditor's name and mailing address         As of the petition filing date, he claim is:                               $2,720.37         $2,720.37
           Virginia Department of Taxation                      Check all that apply.
           PO Box 1478                                           Contingent
           Richmond, VA 23218                                    Unliquidated
                                                                 Disputed
           Date or dates debt was incurred                      Basis for the claim:


           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes

2.48       Priority creditor's name and mailing address         As of the petition filing date, he claim is:                               $4,314.72         $4,314.72
           Washington State Dept of Revenue                     Check all that apply.
           Dept of Revenue                                       Contingent
           PO Box 47476                                          Unliquidated
           Olympia, WA 98504                                     Disputed
           Date or dates debt was incurred                      Basis for the claim:


           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes

2.49       Priority creditor's name and mailing address         As of the petition filing date, he claim is:                               $6,156.55         $6,156.55
           Wisconsin Department of Revenue                      Check all that apply.
           PO Box 8902                                           Contingent
           Madison, WI 53708                                     Unliquidated
                                                                 Disputed
           Date or dates debt was incurred                      Basis for the claim:


           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes

2.50       Priority creditor's name and mailing address         As of the petition filing date, he claim is:                                  $101.91        $101.91
           Wyoming Department of Revenue                        Check all that apply.
           122 W 25th St                                         Contingent
           Cheyenne, WY 82002                                    Unliquidated
                                                                 Disputed
           Date or dates debt was incurred                      Basis for the claim:


           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 13 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 378 of 494                                                                7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $350.00
         26 Fitness, Inc                                            Contingent
         1501 7th Street Ln Southeast                               Unliquidated
         Hickory, NC 28602                                          Disputed
         Date(s) debt was incurred 2/1/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,250.00
         5 Star Janitorial Inc.                                     Contingent
         7349 Milliken Ave.                                         Unliquidated
         1406                                                       Disputed
         Rancho Cucamonga, CA 91730
                                                                   Basis for the claim:    Service
         Date(s) debt was incurred 5/15/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $34,965.00
         8020 Consulting LLC                                        Contingent
         6303 Owensmouth Ave                                        Unliquidated
         10th Floor                                                 Disputed
         Woodland Hills, CA 91367
                                                                   Basis for the claim:    Logistics
         Date(s) debt was incurred 2/7/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $11,386.21
         Aaron P Moser                                              Contingent
         5225 Craftsman Drive                                       Unliquidated
         Parker, CO 80134                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    PTO
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $195.00
         Accounting Principles, Inc.                                Contingent
         Accounting Principles, Inc                                 Unliquidated
         Dept CH 14031                                              Disputed
         Palatine, IL 60055-4031
                                                                   Basis for the claim:    HR
         Date(s) debt was incurred 1/30/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $8,444.74
         Acorn Paper Products Company                               Contingent
         PO Box 23965                                               Unliquidated
         Los Angeles, CA 90023-0965                                 Disputed
         Date(s) debt was incurred 5/24/2022
                                                                   Basis for the claim:    Supples
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $22,396.90
         Active Design Systems, LLC                                 Contingent
         6216 Autumnwood Dr                                         Unliquidated
         Frisco, TX 75035                                           Disputed
         Date(s) debt was incurred 2/16/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 14 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 379 of 494                                                                7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $48,750.00
         Ada Support Inc.                                           Contingent
         96 Spadina avenue                                          Unliquidated
         Unit 801                                                   Disputed
         Toronto, OH 12345
                                                                   Basis for the claim:    Technology
         Date(s) debt was incurred   4/7/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $14,561.82
         Adcom Worldwide                                            Contingent
         4300 Raley Boulevard                                       Unliquidated
         Sacramento, CA 95838                                       Disputed
         Date(s) debt was incurred 3/31/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $8,861.34
         Admiral Insurance Group                                    Contingent
         PO Box 639824                                              Unliquidated
         Cincinnati, OH 45263-9824                                  Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:    Insurance
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $300.00
         Advanced HealthStyles Fitness Equipment                    Contingent
         Fitness Equipmen                                           Unliquidated
         861 South Park Dr. #100                                    Disputed
         Littleton, CO 80120
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 3/1/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $76,068.01
         AFCO Acceptance Corporation                                Contingent
         750 B Street, Suite 2400                                   Unliquidated
         San Diego, CA 92101                                        Disputed
         Date(s) debt was incurred 6/6/2022
                                                                   Basis for the claim:    Insurance
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $95,951.59
         American Express (Corp Card)                               Contingent
         BOX 0001                                                   Unliquidated
         Los Angeles, CA 90096                                      Disputed
         Date(s) debt was incurred 5/13/2022
                                                                   Basis for the claim:    Financial
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,500.00
         Anders Deenfeldt                                           Contingent
         Thorvaldensgade 36 1 tv                                    Unliquidated
         Aarhus C                                                   Disputed
         DENMARK
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 7/1/2018
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 15 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 380 of 494                                                                7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,000.00
         Anthony S. Erlick                                          Contingent
         2127 Red Oak Place                                         Unliquidated
         Danville, CA 94506                                         Disputed
         Date(s) debt was incurred   6/1/2022                      Basis for the claim:    Consulting
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,633.33
         Anthony S. Erlick                                          Contingent
         2127 Red Oak Place                                         Unliquidated
         Danville, CA 94506                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,083.11
         Anytime Fitness                                            Contingent
         Anytime Fitness                                            Unliquidated
         11 Weir Drive                                              Disputed
         Woodbury, MN 55125
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 4/30/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,600.00
         Apex Vista Fitness Services                                Contingent
         23610 N. 20th Drive, Ste. 8                                Unliquidated
         Phoenix, AZ 85085                                          Disputed
         Date(s) debt was incurred 2/9/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $10,133.79
         Apple Inc.                                                 Contingent
         1950 N. Stemmons Fwy, Ste 5010                             Unliquidated
         Dallas, TX 75207                                           Disputed
         Date(s) debt was incurred 12/1/2021
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,893.03
         Ashli Reitz                                                Contingent
         1161 Meadowcrest Drive                                     Unliquidated
         Corte Madera, CA 94925                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    PTO
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,129.38
         Avalara Inc                                                Contingent
         Avalara Inc                                                Unliquidated
         Dept CH 16781                                              Disputed
         Palatine, IL 60055-6781
                                                                   Basis for the claim:    Technology
         Date(s) debt was incurred 6/7/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 16 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 381 of 494                                                                7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $16,314.65
         AvantLink                                                  Contingent
         1922 Prospector Avenue                                     Unliquidated
         Park City, UT 84060                                        Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,213.79
         Avask GBP                                                  Contingent
         1st Floor Oceana House                                     Unliquidated
         39-49 Commercial Road                                      Disputed
         Southampton, 0 SO15 1GA
                                                                   Basis for the claim:    Technology
         Date(s) debt was incurred 4/1/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Avendra LLC                                                Contingent
         Attn: Controller                                           Unliquidated
         P.O. Box 75019                                             Disputed
         Baltimore, MD 21275-5019
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 2/4/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,037.57
         Avery Dennison Hong Kong B.V                               Contingent
         No. 7 , Chun Ying Street                                   Unliquidated
         New Territories, 0 19720                                   Disputed
         Date(s) debt was incurred 6/7/2022
                                                                   Basis for the claim:    Supplies
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $550.28
         B2BGateway.Net                                             Contingent
         Payment Processing Center                                  Unliquidated
         PO Box 838                                                 Disputed
         Hope Valley, RI 02832
                                                                   Basis for the claim:    Technology
         Date(s) debt was incurred 5/31/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $600.00
         BeaverFit North America, LLC                               Contingent
         PO BOX 6760                                                Unliquidated
         Incline Village, NV 89450                                  Disputed
         Date(s) debt was incurred 5/1/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $23,400.00
         BigCommerce, Inc.                                          Contingent
         11305 Four Points Drive                                    Unliquidated
         Bldg II, Third Floor                                       Disputed
         Austin, TX 78726
                                                                   Basis for the claim:    Technology
         Date(s) debt was incurred 5/2/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 17 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 382 of 494                                                                 7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,896.40
         BlenderBottle Europe Benley GmbH                           Contingent
         Heinrich-Lanz-Allee 12                                     Unliquidated
         Frankfurt GERMANY, 0 60437                                 Disputed
         Date(s) debt was incurred 3/9/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,398.33
         Blue Banyan Solutions, Inc.                                Contingent
         1569 Solano Ave., Suite 645                                Unliquidated
         Berkeley, CA 94707                                         Disputed
         Date(s) debt was incurred 5/31/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,337.51
         Bodyactive Consultants Ltd                                 Contingent
         Ross Eathorne                                              Unliquidated
         3f, 8 Crown Terrace                                        Disputed
         Hong Kong, 0 11111-1111
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 6/11/2018
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $12,748.88
         Brand Amp LLC                                              Contingent
         1945 Placentia Avenue                                      Unliquidated
         Bldg C                                                     Disputed
         Costa Mesa, CA 92627
                                                                   Basis for the claim:    Technology
         Date(s) debt was incurred 5/31/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $655.80
         Brightcove Inc.                                            Contingent
         290 Congress Street                                        Unliquidated
         4th Floor                                                  Disputed
         Boston, MA 02210
                                                                   Basis for the claim:    Technology
         Date(s) debt was incurred   5/31/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $11,182.25
         Brynne Elliott                                             Contingent
         554 Wakerobin Lane                                         Unliquidated
         San Rafael, CA 94903                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    PTO
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $399,949.49
         Buy Box Experts                                            Contingent
         3020 N Cullen Ct.                                          Unliquidated
         Pleasant Grove, UT 84062                                   Disputed
         Date(s) debt was incurred 6/2/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 18 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 383 of 494                                                                7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $15,799.99
         Bynder LLC                                                 Contingent
         321 Summer Street, Suite 100                               Unliquidated
         Boston, MA 02210                                           Disputed
         Date(s) debt was incurred 4/12/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $52,411.04
         C.H. Robinson Worldwide Inc.                               Contingent
         & Subsidiary                                               Unliquidated
         PO Box 9121                                                Disputed
         Minneapolis, MN 55480-9121
                                                                   Basis for the claim:    Logistics
         Date(s) debt was incurred 4/1/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $600.00
         Cameron Booth                                              Contingent
         413 Grand Street                                           Unliquidated
         New York, NY 10002                                         Disputed
         Date(s) debt was incurred   3/21/2022                     Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $10,483.20
         Camp6, Inc                                                 Contingent
         Camp6, Inc                                                 Unliquidated
         340 S. Lemon Ave                                           Disputed
         Walnut Creek, CA 91789
                                                                   Basis for the claim:    Financial
         Date(s) debt was incurred 5/31/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,625.00
         Chair Twenty, LLC                                          Contingent
         2110 4th street                                            Unliquidated
         Unit 19                                                    Disputed
         Santa Monica, CA 90405
                                                                   Basis for the claim:    Technology
         Date(s) debt was incurred 6/1/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,663.11
         Charlotte Tooth                                            Contingent
         Flat 4, 85 Marina                                          Unliquidated
         St Leonards on Sea ENGLAND                                 Disputed
         0 TN38 0BL
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 4/1/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,493.60
         ChartHop, Inc.                                             Contingent
         130 Shore Road                                             Unliquidated
         350                                                        Disputed
         Port Washington, NY 11050
                                                                   Basis for the claim:    Technology
         Date(s) debt was incurred 4/7/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 19 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 384 of 494                                                                7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Christen Selbod                                            Contingent
         c/o Blake E. Burtchaell
         1327 N Broadway
                                                                    Unliquidated
         Santa Ana, CA 92706                                        Disputed
         Date(s) debt was incurred                                 Basis for the claim:    Personal injury claim
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $36,680.23
         Comma,8 LLC                                                Contingent
         703 Pier Avenue                                            Unliquidated
         Suite B #632                                               Disputed
         Hermosa Beach, CA 90254
                                                                   Basis for the claim:    Services
         Date(s) debt was incurred 5/1/22
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $235.50
         Commerce Technologies, LLC                                 Contingent
         25736 Network Place                                        Unliquidated
         Chicago, IL 60673-1257                                     Disputed
         Date(s) debt was incurred 5/31/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,190.00
         Commercial Fitness Equipment                               Contingent
         4686 Isabelle Unit A                                       Unliquidated
         Eugene, OR 97402                                           Disputed
         Date(s) debt was incurred 10/1/2021
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,280.00
         Conde Nast                                                 Contingent
         1 World Trade Center                                       Unliquidated
         New York, NY 10007                                         Disputed
         Date(s) debt was incurred 5/5/2022
                                                                   Basis for the claim:    Goods
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,888,774.77
         Core Health & Fitness, LLC                                 Contingent
         4400 Northeast 77th Avenue                                 Unliquidated
         Suite 300                                                  Disputed
         Vancouver, WA 98662
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 5/27/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $318.11
         Corodata Records Management , Inc.                         Contingent
         PO Box 842638                                              Unliquidated
         Los Angeles, CA 90084-2638                                 Disputed
         Date(s) debt was incurred 5/31/2022
                                                                   Basis for the claim:    Supplies
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 20 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 385 of 494                                                                7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $50.87
         Corodata Shredding Inc.                                    Contingent
         Corodata Shredding Inc.                                    Unliquidated
         PO Box 846137                                              Disputed
         Los Angeles, CA 90084
                                                                   Basis for the claim:    Supplies
         Date(s) debt was incurred 3/31/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $14,490.46
         Corporation Service Company                                Contingent
         Po Box 13397                                               Unliquidated
         Philadelphia, PA 19101-3397                                Disputed
         Date(s) debt was incurred 5/6/2022
                                                                   Basis for the claim:    Legal
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,000.00
         Crackyl Media Inc.                                         Contingent
         1955 Ashgrove Court                                        Unliquidated
         London, 0 N6K 4S2                                          Disputed
         Date(s) debt was incurred 3/26/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $15,000.00
         Crunch Franchising, LLC                                    Contingent
         1 Harbour Place, Suite 230                                 Unliquidated
         Portsmouth, NH 03801                                       Disputed
         Date(s) debt was incurred 4/25/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $240.00
         Crystal & Company                                          Contingent
         Wall Street Station                                        Unliquidated
         PO Box 1405                                                Disputed
         New York, NY 10268
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred   4/12/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $64.06
         Culligan Water of Ontario                                  Contingent
         1925 Burgundy Pl                                           Unliquidated
         Ontario, CA 91761                                          Disputed
         Date(s) debt was incurred 5/31/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $594.00
         CyberSource Corporation                                    Contingent
         CyberSource Corporation                                    Unliquidated
         PO Box 742842                                              Disputed
         Los Angeles, CA 90074-2842
                                                                   Basis for the claim:    Technology
         Date(s) debt was incurred 5/31/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 21 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 386 of 494                                                                7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $48,741.00
         Cyclops Marine Ltd                                         Contingent
         Unit 25 The Slipway,                                       Unliquidated
         Port Solent UK, 0 PO6 4TR                                  Disputed
         Date(s) debt was incurred 4/29/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $524.14
         Czarnowski Display Service, Inc.                           Contingent
         6067 Eagle Way                                             Unliquidated
         Chicago, IL 60678-1060                                     Disputed
         Date(s) debt was incurred 7/9/2021
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,793.75
         Daniel Herron                                              Contingent
         20801 River Rd. Ne                                         Unliquidated
         Saint Paul, OR 97137                                       Disputed
         Date(s) debt was incurred   6/1/2022                      Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $612.50
         Dayna Kriger                                               Contingent
         346 Margate Terrace                                        Unliquidated
         Deerfield, IL 60015                                        Disputed
         Date(s) debt was incurred   6/1/2022                      Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,056.00
         Degree, Inc (DBA Lattice)                                  Contingent
         PO Box 207585                                              Unliquidated
         Dallas, TX 75320-7585                                      Disputed
         Date(s) debt was incurred 3/1/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $742.00
         DGI Logistics                                              Contingent
         7350 Transit Rd                                            Unliquidated
         Williamsville, NY 14221                                    Disputed
         Date(s) debt was incurred 11/4/2021
                                                                   Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $56,359.61
         DHL Express USA, Inc.Acct 968185964                        Contingent
         16592 Collections Center Drive                             Unliquidated
         Chicago, IL 60693                                          Disputed
         Date(s) debt was incurred 5/18/2022
                                                                   Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 22 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 387 of 494                                                                 7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $73,700.00
         Dirbos Inc.                                                Contingent
         27758 Santa Margarita Pkwy                                 Unliquidated
         Suite 366                                                  Disputed
         Mission Viejo, CA 92691
                                                                   Basis for the claim:    Technology
         Date(s) debt was incurred 6/6/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $46,479.94
         Domo, Inc.                                                 Contingent
         772 East 930 South                                         Unliquidated
         American Fork, UT 84003-9773                               Disputed
         Date(s) debt was incurred 5/24/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,960.00
         DPI - Digital Print Imaging                                Contingent
         DPI                                                        Unliquidated
         645 Mariposa Street                                        Disputed
         San Francisco, CA 94107
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 1/12/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $38,731.33
         DSV Air & Sea Inc.                                         Contingent
         2100 West 195Th Street                                     Unliquidated
         Torrance, CA 90501                                         Disputed
         Date(s) debt was incurred 5/2/2022
                                                                   Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $604,850.24
         Duane Morris LLP                                           Contingent
         ATTN: Payment Processing                                   Unliquidated
         30 South 17Th Street                                       Disputed
         Philadelphia, PA 19103-4196
                                                                   Basis for the claim:    Legal
         Date(s) debt was incurred 5/23/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $469.37
         Eat the Frog Fitness                                       Contingent
         1567 Highlands DR NE                                       Unliquidated
         STE 110 #185                                               Disputed
         Issaquah, WA 98029
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 4/30/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $0.00
         Ecore International, Inc                                   Contingent
         715 FOUNTAIN AVENUE                                        Unliquidated
         LANCASTER, PA 17601                                        Disputed
         Date(s) debt was incurred 4/22/2020
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 23 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 388 of 494                                                                 7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,500.00
         Elite536, LLC                                              Contingent
         5753 Highway 85 N                                          Unliquidated
         Crestview, FL 32536                                        Disputed
         Date(s) debt was incurred   5/24/2022                     Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $14,694.26
         Engine Yard, Inc                                           Contingent
         580 Market Street                                          Unliquidated
         Suite 150                                                  Disputed
         SAN FRANCISCO, CA 94104
                                                                   Basis for the claim:    Technology
         Date(s) debt was incurred 5/31/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $700.00
         Equipment Services                                         Contingent
         11398 Antigua Dr                                           Unliquidated
         Jurupa Valley                                              Disputed
         Jurupa Valley, CA 91752
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 5/31/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $596,213.15
         Equity38, LLC                                              Contingent
         450 Newport Center Drive                                   Unliquidated
         Suite 590                                                  Disputed
         Newport Beach, CA 92660
                                                                   Basis for the claim:    Services
         Date(s) debt was incurred 3/16/22
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $18,179.98
         Exceed Group                                               Contingent
         655 W. Grand Ave                                           Unliquidated
         Suite 170                                                  Disputed
         Elmhurst, IL 60126
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred   3/8/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $6,997,557.30
         Exemplar Design                                            Contingent
         4680 Parkway Drive                                         Unliquidated
         Suite 300                                                  Disputed
         Mason, OK 45040
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred   6/1/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $65,696.12
         Facebook, Inc.                                             Contingent
         Facebook Inc - Attn: A/R                                   Unliquidated
         15161 Collections Ctr Dr                                   Disputed
         Chicago, IL 60693
                                                                   Basis for the claim:    Technology
         Date(s) debt was incurred 5/31/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 24 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 389 of 494                                                                7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,842.50
         Fast Simon, Inc.                                           Contingent
         5375 Beechwood Lane                                        Unliquidated
         Los Altos, CA 94024                                        Disputed
         Date(s) debt was incurred 3/25/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $560.30
         Fastenal Company                                           Contingent
         2001 Theurer Blvd                                          Unliquidated
         Winona, MN 55987                                           Disputed
         Date(s) debt was incurred   3/1/2022                      Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,750.00
         FBI National Academy                                       Contingent
         Academy Associates Inc.                                    Unliquidated
         1 Range Road                                               Disputed
         Quantico, VA 22135
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 3/30/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,600.00
         FDR Services, Inc.                                         Contingent
         7545 Misty Lane                                            Unliquidated
         Pinson, AL 35126                                           Disputed
         Date(s) debt was incurred   6/3/2022                      Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $32,533.26
         Fedex Express                                              Contingent
         PO Box 7221                                                Unliquidated
         Pasadena, CA 91109-7321                                    Disputed
         Date(s) debt was incurred 5/16/2022
                                                                   Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $9,356.83
         Fedex Freight                                              Contingent
         Fed Ex                                                     Unliquidated
         PO Box 21415                                               Disputed
         Pasadena, CA 91185-1415
                                                                   Basis for the claim:    Logistics
         Date(s) debt was incurred 2/3/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,303.30
         Fedex Trade Networks Canada ACH                            Contingent
         Box 916200                                                 Unliquidated
         Toronto CANADA, 0 M5W 0E9                                  Disputed
         Date(s) debt was incurred 3/28/2022
                                                                   Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 25 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 390 of 494                                                                7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $76,000.00
         Feed Media Inc.                                            Contingent
         845 Market St #450                                         Unliquidated
         San Francisco, CA 94103                                    Disputed
         Date(s) debt was incurred 4/6/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $729.46
         Ferrellgas, LP                                             Contingent
         Ferrellgas, LP                                             Unliquidated
         PO Box 173940                                              Disputed
         Denver, CO 80217
                                                                   Basis for the claim:    Utility
         Date(s) debt was incurred   5/26/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,125.00
         Fidelity                                                   Contingent
         PO Box 73307                                               Unliquidated
         Chicago, IL 60673-7307                                     Disputed
         Date(s) debt was incurred 4/1/2022
                                                                   Basis for the claim:    Financial
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.88     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,316.66
         FIT Summit Pte. Ltd.                                       Contingent
         35b Boat Quay                                              Unliquidated
         Singapore, 0 49824                                         Disputed
         Date(s) debt was incurred   4/1/2022                      Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.89     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,800.00
         Five Star Transport                                        Contingent
         18530 Damon Drive                                          Unliquidated
         Hesperia, CA 92345                                         Disputed
         Date(s) debt was incurred   5/26/2022                     Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.90     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,412,705.64
         Flexport Inc                                               Contingent
         P.O. Box 207244                                            Unliquidated
         Dallas, TX 75320-7244                                      Disputed
         Date(s) debt was incurred 6/7/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.91     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,075.00
         Foxsight                                                   Contingent
         655 West Irving Park Road                                  Unliquidated
         Chicago, IL 60613                                          Disputed
         Date(s) debt was incurred 5/31/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 26 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 391 of 494                                                               7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.92     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,500.00
         Franklin Retail Solutions                                  Contingent
         310 Spring Street                                          Unliquidated
         West Roxbury, MA 02132                                     Disputed
         Date(s) debt was incurred 2/1/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.93     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $325.00
         Freighthawk Xpress                                         Contingent
         255 Madsen Drive                                           Unliquidated
         Bloomingdale, IL 60106                                     Disputed
         Date(s) debt was incurred 6/6/2022
                                                                   Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.94     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $0.00
         Frontier Communications Corporation                        Contingent
         401 Merritt 7                                              Unliquidated
         Norwalk, CT 06851                                          Disputed
         Date(s) debt was incurred 2/25/2020
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.95     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,200.00
         Frontline Fitness Equipment                                Contingent
         Frontline Fitness Equipment                                Unliquidated
         380 Jefferson Boulevard                                    Disputed
         Warwick, RI 02886
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 5/4/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.96     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,050.00
         Full Sail Enterprises, Inc.                                Contingent
         15632 Product Lane, Ste. A                                 Unliquidated
         Huntington Beach, CA 92649                                 Disputed
         Date(s) debt was incurred 12/17/2021
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.97     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $10.94
         Gavin Featherstone                                         Contingent
         208 Purchase Cres                                          Unliquidated
         Stittsville CANADA, 0 K2S2L8                               Disputed
         Date(s) debt was incurred 1/1/2019
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.98     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5.74
         Gerard Recio                                               Contingent
         #516-1355 Harwood Street                                   Unliquidated
         Vancouver CANADA, 0 V6E 3W3                                Disputed
         Date(s) debt was incurred 7/5/2018
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 27 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 392 of 494                                                                7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.99     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $60.00
         Getty Images(US),Inc.                                      Contingent
         PO Box 953604                                              Unliquidated
         St. Louis, MO 63195-3604                                   Disputed
         Date(s) debt was incurred 11/17/2021
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.100    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $22,050.00
         Gingerpic, LLC                                             Contingent
         126 Sycamore Avenue                                        Unliquidated
         Larkspur, CA 94939                                         Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:    Marketing
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.101    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $300.00
         Gohealth Urgent Care                                       Contingent
         5555 Glenridge Connector                                   Unliquidated
         Suite 700                                                  Disputed
         Atlanta, GA 30342
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 12/1/2021
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.102    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $98,468.25
         Google                                                     Contingent
         Dept 33654                                                 Unliquidated
         P.O. Box 39000                                             Disputed
         San Francisco, CA 94139
                                                                   Basis for the claim:    Technology
         Date(s) debt was incurred 5/31/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.103    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $41.00
         Google Cloud GSuite                                        Contingent
         1600 Amphitheatre Parkway                                  Unliquidated
         Mountain View, CA 94043                                    Disputed
         Date(s) debt was incurred 5/6/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.104    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $14.26
         Google Voice Inc                                           Contingent
         1600 Amphitheatre Parkway                                  Unliquidated
         Mountain View, CA 94043                                    Disputed
         Date(s) debt was incurred 7/31/2019
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.105    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,766.05
         GSA-IFF                                                    Contingent
         USDA Office of the CFO                                     Unliquidated
         2300 Main St 2SE                                           Disputed
         Kansas City, MO 64108
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 1/12/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 28 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 393 of 494                                                                7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.106    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $49,093.21
         Hearst Magazine Media, Inc.                                Contingent
         3540 Toringdon Way                                         Unliquidated
         Building #7                                                Disputed
         CHARLOTTE, NC, NC 28277
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 2/1/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.107    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $39,737.50
         Helix Human Capital LLC                                    Contingent
         18210 Edna Road                                            Unliquidated
         Jonestown, TX 78645                                        Disputed
         Date(s) debt was incurred 4/29/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.108    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,189.00
         Helpmonks LLC                                              Contingent
         9793 Lima Cir                                              Unliquidated
         Commerce City, CO 80022                                    Disputed
         Date(s) debt was incurred 3/1/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.109    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,107.00
         ID.me, Inc.                                                Contingent
         8280 Greensboro Dr., Suite 800                             Unliquidated
         McLean, VA 22102                                           Disputed
         Date(s) debt was incurred 5/31/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.110    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         IHRSA                                                      Contingent
         70 Fargo Street                                            Unliquidated
         Boston, MA 02210                                           Disputed
         Date(s) debt was incurred   9/1/2021                      Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.111    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,900.00
         Influx Inc                                                 Contingent
         8605 Santa Monica Blvd 63484                               Unliquidated
         West Hollywood, CA 90069                                   Disputed
         Date(s) debt was incurred 5/18/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.112    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $60,142.60
         Innomark Communications, LLC                               Contingent
         420 Distribution Circle                                    Unliquidated
         PO Box 715035                                              Disputed
         Fairfield, OH 45014
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 12/9/2021
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 29 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 394 of 494                                                                7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.113    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $91,701.41
         InspireThreeSixty LLC                                      Contingent
         10190 Telesis Court                                        Unliquidated
         San Diego, CA 92121                                        Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.114    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,936.22
         InterCultural Elements                                     Contingent
         5 Wei estra e                                              Unliquidated
         Leipzig GERMANY, 0 04299                                   Disputed
         Date(s) debt was incurred 11/16/2021
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.115    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $63,138.00
         ISUPPORT WORLDWIDE LLC                                     Contingent
         1019 West James St                                         Unliquidated
         Kent, WA 98032                                             Disputed
         Date(s) debt was incurred 4/30/2022
                                                                   Basis for the claim:    Financial
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.116    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,275.00
         J.B. HUNT                                                  Contingent
         615 JB Hunt Corporate Drive                                Unliquidated
         Lowell, AR 72745                                           Disputed
         Date(s) debt was incurred 4/12/2022
                                                                   Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.117    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $20,409.70
         Jack Nadel International                                   Contingent
         PO Box 8342                                                Unliquidated
         Pasadena, CA 91109-8342                                    Disputed
         Date(s) debt was incurred 4/14/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.118    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,977.53
         Jacob Guajardo                                             Contingent
         15 Little Pond Coutnry Rd                                  Unliquidated
         Cumberland, RI 02864                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    PTO
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.119    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         JAS Forwarding (Netherlands) BV                            Contingent
         Breguetlaan 2                                              Unliquidated
         Oude Meer NETHERLANDS, NH 01438                            Disputed
         Date(s) debt was incurred 5/1/2022
                                                                   Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 30 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 395 of 494                                                                7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.120    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,190.51
         Johnson Controls Security Solutions                        Contingent
         PO Box 371967                                              Unliquidated
         Pittsburgh, PA 15250-7967                                  Disputed
         Date(s) debt was incurred 2/1/2022
                                                                   Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.121    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,800.00
         Kanaree.io                                                 Contingent
         3802 South 16th Street                                     Unliquidated
         Chickasha, OK 73018                                        Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.122    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $925.00
         Keith Design Group                                         Contingent
         Keith Design Group                                         Unliquidated
         11558 Henness Road                                         Disputed
         Truckee, CA 96161
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred   12/29/2021
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.123    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $8,590.05
         Kevin T. Leonard                                           Contingent
         150 San Marin Drive                                        Unliquidated
         Novato, CA 94945                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    PTO
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.124    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $28,870.97
         KLAVIYO                                                    Contingent
         125 Summer Street                                          Unliquidated
         Floor 6                                                    Disputed
         Boston, MA 02111
                                                                   Basis for the claim:    Technology
         Date(s) debt was incurred   5/9/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.125    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,519.25
         Krystal Say                                                Contingent
         1255 Enfield St.                                           Unliquidated
         Enfield, CT 06082                                          Disputed
         Date(s) debt was incurred   5/7/2022                      Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.126    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,200.00
         Kustomer, Inc.                                             Contingent
         5 Penn Plaza, 19Th Floor                                   Unliquidated
         New York City, NY 10001                                    Disputed
         Date(s) debt was incurred 3/30/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 31 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 396 of 494                                                                 7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.127    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $145,901.00
         Lahlouh Inc                                                Contingent
         1649 Adrian Road                                           Unliquidated
         Burlingame, CA 94010                                       Disputed
         Date(s) debt was incurred 5/25/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.128    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $0.00
         Land America Health & Fitness                              Contingent
         R.2207~2208, 22F, Island Place                             Unliquidated
         Tower, Island Place, 510 King's Rd                         Disputed
         North Point HONG KONG, 0 00003
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 6/1/2020
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.129    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $347.69
         LexDellmeier Germany                                       Contingent
         Nymphenburger Str. 23                                      Unliquidated
         Munchen GERMANY, 0 80335                                   Disputed
         Date(s) debt was incurred 9/9/2021
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.130    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $17,160.00
         Liebenson Law                                              Contingent
         411 Lafayette St, 6th Floor                                Unliquidated
         New York, NY 10003                                         Disputed
         Date(s) debt was incurred 5/9/2022
                                                                   Basis for the claim:    Legal
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.131    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,061.00
         Littler Mendelson, PC                                      Contingent
         2301 MCGEE STREET SUITE 800                                Unliquidated
         KANSAS CITY, MO 64108                                      Disputed
         Date(s) debt was incurred 5/31/2022
                                                                   Basis for the claim:    Legal
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.132    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $300.00
         Lo Wai Yin                                                 Contingent
                                                                    Unliquidated
         Date(s) debt was incurred   6/1/2022                       Disputed
         Last 4 digits of account number                           Basis for the claim:    Trade
                                                                   Is the claim subject to offset?    No  Yes
3.133    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,750.00
         Localytics                                                 Contingent
         101 Arch Street, 8th Floor                                 Unliquidated
         Boston, MA 02110                                           Disputed
         Date(s) debt was incurred 6/30/2020
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 32 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 397 of 494                                                                 7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.134    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $40,550.00
         LoginRadius Inc.                                           Contingent
         815 West Hastings Street, Suite 801                        Unliquidated
         Vancouver CANADA, 0 V6C 1B4                                Disputed
         Date(s) debt was incurred 11/26/2021
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.135    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,994.70
         Loretz Visuals                                             Contingent
         35 Sandridge Road                                          Unliquidated
         ENGLAND, 0 SN12 7BQ                                        Disputed
         Date(s) debt was incurred 4/5/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.136    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $639.21
         Louis Lopez                                                Contingent
         4131 Ostrom Avenue                                         Unliquidated
         Lakewood, CA 90713                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    PTO
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.137    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $600.00
         Lynne Virant                                               Contingent
         Lynne G. Virant                                            Unliquidated
         850 Fort Pickens Road, Unit #750                           Disputed
         Pensacola Beach, FL 32561
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 5/15/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.138    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,585.20
         Madeline Martin                                            Contingent
         469 A Panoramic Highway                                    Unliquidated
         Mill Valley, CA 94941                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    PTO
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.139    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $290,958.04
         MAN Staffing, LLC                                          Contingent
         550 East Del Amo Boulevard                                 Unliquidated
         Carson, CA 90746                                           Disputed
         Date(s) debt was incurred 6/6/2022
                                                                   Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.140    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $72.24
         Marin Lazic                                                Contingent
         Unit 13 19 Glassop Street                                  Unliquidated
         Balmain NSW 2041                                           Disputed
         Sydney AUSTRALIA, 0 02041
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 4/21/2018
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 33 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 398 of 494                                                                 7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.141    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $575.00
         Mark Campbell                                              Contingent
         2535 Jefferson St                                          Unliquidated
         Kansas City, MO 64108                                      Disputed
         Date(s) debt was incurred 5/22/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.142    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $125,295.36
         McCollister's Transportation                               Contingent
         Group, Inc                                                 Unliquidated
         8 Terri Lane                                               Disputed
         Burlington, NJ 08016
                                                                   Basis for the claim:    Logistics
         Date(s) debt was incurred 6/7/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.143    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,400.00
         Medallia Inc                                               Contingent
         575 Market Street, Ste 1850                                Unliquidated
         San Francisco, CA 94105                                    Disputed
         Date(s) debt was incurred 2/17/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.144    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         Michael and Rebecca Geis                                   Contingent
         c/o Robert C. Beck, Jr.
         1717 Arch Street, Suite 3500
                                                                    Unliquidated
         Philadelphia, PA 19103                                     Disputed
         Date(s) debt was incurred                                 Basis for the claim:    Claim for personal injury
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.145    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $750.00
         Michelle Felzmann                                          Contingent
         19 Tuscany Estates Point NW                                Unliquidated
         Calgary CANADA, 0 T3L0C3 CA                                Disputed
         Date(s) debt was incurred 5/1/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.146    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $59.94
         Microsoft Corporation                                      Contingent
         One Microsoft Way                                          Unliquidated
         Redmond, WA 98052                                          Disputed
         Date(s) debt was incurred 9/1/2019
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.147    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,676.51
         Miguel Vargas                                              Contingent
         877 Hanlon Way                                             Unliquidated
         Benicia, CA 94510                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    PTO
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 34 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 399 of 494                                                                 7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.148    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $506.68
         Mitel                                                      Contingent
         28760 Network Place                                        Unliquidated
         Chicago, IL 60673-1287                                     Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.149    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,750.00
         Models do Eat                                              Contingent
         206 Kealakai Place                                         Unliquidated
         Paia, HI 96779                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.150    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,080.00
         monday.com Ltd                                             Contingent
         6 Yitzhak Sadeh Street                                     Unliquidated
         Tel Aviv, CA 00677-7506                                    Disputed
         Date(s) debt was incurred 1/10/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.151    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $181,787.50
         Morrison & Foerster LLP                                    Contingent
         P.O. BOX 742335                                            Unliquidated
         Los Angeles, CA 90074                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Legal
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.152    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $36,750.00
         Moss Adams LLP                                             Contingent
         PO Box 748369                                              Unliquidated
         Los Angeles, CA 90074-8369                                 Disputed
         Date(s) debt was incurred 5/17/2022
                                                                   Basis for the claim:    Financial
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.153    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,999.96
         NeoGrid North America, LLC                                 Contingent
         6750 North Andrews Avenue                                  Unliquidated
         Fort Lauderdale, FL 33309                                  Disputed
         Date(s) debt was incurred 5/17/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.154    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $101,012.76
         NetSuite Inc                                               Contingent
         500 Oracle Parkway                                         Unliquidated
         Redwood City, CA 94065                                     Disputed
         Date(s) debt was incurred 4/22/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 35 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 400 of 494                                                                7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.155    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,899.79
         Nicole Lata                                                Contingent
         1540 Jackson Street                                        Unliquidated
         Oakland, CA 94612                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    PTO
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.156    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,907.07
         North Climb Fitness Equipment Services                     Contingent
         Equipment Services                                         Unliquidated
         33 Shore Breeze Drive, Unit 410                            Disputed
         Toronto CANADA, 0 M8V 0G1
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 8/11/2020
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.157    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         NOSSK, Inc.                                                Contingent
         c/o Bernard Jaron Kornberg
         58 West Portal Avenue, PMB 782
                                                                    Unliquidated
         San Francisco, CA 94127                                    Disputed
         Date(s) debt was incurred                                 Basis for the claim:    Claim for Dec Relief
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.158    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,895.00
         NVA                                                        Contingent
         332 West Lee Hwy Pmb 228                                   Unliquidated
         Warrenton, VA 20186                                        Disputed
         Date(s) debt was incurred 5/12/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.159    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,800.00
         OMS                                                        Contingent
         45 Collingwood Dr                                          Unliquidated
         Cranston, RI 02921                                         Disputed
         Date(s) debt was incurred   3/1/2022                      Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.160    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $12,424.00
         Pacful Printing & Fulfillment                              Contingent
         11311 white rock rd                                        Unliquidated
         rancho cordova, CA 94572                                   Disputed
         Date(s) debt was incurred 1/28/2022
                                                                   Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.161    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,396.12
         Pacific Customs Brokers                                    Contingent
         1400 A Street                                              Unliquidated
         Blaine, WA 98231                                           Disputed
         Date(s) debt was incurred 6/3/2022
                                                                   Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 36 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 401 of 494                                                                7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.162    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,430.84
         Packaging Plus                                             Contingent
         501 North Smith Avenue                                     Unliquidated
         Suite 102                                                  Disputed
         Corona, CA 92880
                                                                   Basis for the claim:    Logistics
         Date(s) debt was incurred 4/1/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.163    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $14,869.61
         Paragon Brokerage, Inc                                     Contingent
         720 Industrial Blvd., Suite 400                            Unliquidated
         Grapevine, TX 76051                                        Disputed
         Date(s) debt was incurred 4/28/2022
                                                                   Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.164    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,000.00
         Pear Sports LLC                                            Contingent
         2211 Michelson Drive Suite 300                             Unliquidated
         Irvine, CA 92612                                           Disputed
         Date(s) debt was incurred 10/28/2021
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.165    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           Unknown
         Phil Mahony                                                Contingent
         c/o Thomas Q. Keefe
         6 Executive Woods Ct
                                                                    Unliquidated
         Belleville, IL 62226                                       Disputed
         Date(s) debt was incurred                                 Basis for the claim:    Personal injury claim
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.166    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $840.58
         Pitney Bowes Lease                                         Contingent
         PO Box 371887                                              Unliquidated
         Pittsburgh, PA 15250-7887                                  Disputed
         Date(s) debt was incurred 12/22/2019
                                                                   Basis for the claim:    Supplies
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.167    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $45,000.00
         Power Digital Marketing, Inc.                              Contingent
         2251 San Diego Ave Suite A250                              Unliquidated
         San Diego, CA 92110                                        Disputed
         Date(s) debt was incurred 5/17/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.168    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $135.60
         Prey, Inc.                                                 Contingent
         548 Market St. #30152                                      Unliquidated
         San Francisco, CA 94104                                    Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 37 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 402 of 494                                                                 7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.169    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $14.40
         Prime Fitness                                              Contingent
         25027 Oak Drive                                            Unliquidated
         Damascus, MD 20872                                         Disputed
         Date(s) debt was incurred 12/31/2020
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.170    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $30,880.32
         Priority 1 Inc.                                            Contingent
         1800 E Roosevelt                                           Unliquidated
         Little Rock, AR 75284-0808                                 Disputed
         Date(s) debt was incurred 4/7/2022
                                                                   Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.171    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,600.00
         PROBAR MOBILITY                                            Contingent
         221 Bolivar Street                                         Unliquidated
         Suite 200                                                  Disputed
         Jefferson City, MO 65101
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 4/30/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.172    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,141.71
         ProPack Logis                                              Contingent
         7351 Vantage Way                                           Unliquidated
         Delta CANADA, 0 V4G 1C9                                    Disputed
         Date(s) debt was incurred 5/31/2022
                                                                   Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.173    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,317.00
         Prosource Fitness Equipment                                Contingent
         6503 Hilburn Drive                                         Unliquidated
         Raleigh, NC 27613                                          Disputed
         Date(s) debt was incurred 12/20/2021
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.174    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $937.50
         Prospera Law, LLP                                          Contingent
         1901 Avenue of the Stars #480                              Unliquidated
         Suite 480                                                  Disputed
         Los Angeles, CA 90067
                                                                   Basis for the claim:    Legal
         Date(s) debt was incurred 5/31/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.175    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $105,746.95
         Pyramid Case Co Inc                                        Contingent
         122 Manton Avenue                                          Unliquidated
         Box 4                                                      Disputed
         Providence, RI 02909-3369
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 5/27/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 38 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 403 of 494                                                                7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.176    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,968.83
         Radial                                                     Contingent
         PO Box 204113                                              Unliquidated
         Dallas, TX 75320-4114                                      Disputed
         Date(s) debt was incurred 6/7/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.177    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,000.00
         Rakuten USA, Inc.                                          Contingent
         6985 S. Union Park Center                                  Unliquidated
         Suite 300                                                  Disputed
         Midvale, UT 84047
                                                                   Basis for the claim:    Technology
         Date(s) debt was incurred 12/1/2021
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.178    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $10,000.00
         Ravins Business Services                                   Contingent
         1750 4th St                                                Unliquidated
         Hood River, OR 97031                                       Disputed
         Date(s) debt was incurred 6/3/2022
                                                                   Basis for the claim:    Financial
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.179    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $19,280.00
         Red Points Solutions,S.L                                   Contingent
         38 Carrer de Berl n                                        Unliquidated
         Barcelona SPAIN, CT 08029                                  Disputed
         Date(s) debt was incurred 5/15/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.180    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $65,451.14
         Redwood Supply Chain Solutions                             Contingent
         1765 North Elston Avenue                                   Unliquidated
         Suite 216                                                  Disputed
         Chicago, IL 60642
                                                                   Basis for the claim:    Logistics
         Date(s) debt was incurred 2/17/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.181    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $921.16
         Refund Sniper LLC                                          Contingent
         988 Allen Lane                                             Unliquidated
         Woodmere, NY 11598                                         Disputed
         Date(s) debt was incurred 4/6/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.182    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $850.00
         Rewind Fitness LLC                                         Contingent
         7111 West 151st Street #296                                Unliquidated
         Overland Park, KS 66223                                    Disputed
         Date(s) debt was incurred 3/1/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 39 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 404 of 494                                                                7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.183    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $15.33
         Rick Sewchuk                                               Contingent
         123 Bridle Estates Mews                                    Unliquidated
         Calgary CANADA, 0 T2Y5A8                                   Disputed
         Date(s) debt was incurred 12/29/2020
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.184    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $14,560.00
         Right Side Up, LLC                                         Contingent
         9901 Brodie Lane, Suite 160 PMB515                         Unliquidated
         Austin, TX 78748                                           Disputed
         Date(s) debt was incurred 4/26/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.185    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,692.50
         Robyn Hagan Cain                                           Contingent
         1121 N 2nd St                                              Unliquidated
         Nashville, TN 37207                                        Disputed
         Date(s) debt was incurred   5/31/2022                     Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.186    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,240.00
         Rosaura Garcia Resendiz                                    Contingent
         234 Elizabeth Lane                                         Unliquidated
         Upland, CA 91786                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    PTO
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.187    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,400.00
         Ryan Heft                                                  Contingent
         3600 Highway 31E                                           Unliquidated
         Bethpage, TN 37022                                         Disputed
         Date(s) debt was incurred   5/4/2022                      Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.188    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Samantha Milk                                              Contingent
         1005 Wigwam Parkway                                        Unliquidated
         Henderson, NV 89074                                        Disputed
         Date(s) debt was incurred 3/1/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.189    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,434.29
         Singer Burke Zimmer, LLP                                   Contingent
         6345 Balboa Boulevard                                      Unliquidated
         Suite 375                                                  Disputed
         Encino, CA 91316
                                                                   Basis for the claim:    Legal
         Date(s) debt was incurred 5/31/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 40 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 405 of 494                                                                 7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.190    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,000.00
         Soldiers to Sidelines                                      Contingent
         8234 Burnley Road                                          Unliquidated
         Towson, MD 21204                                           Disputed
         Date(s) debt was incurred   9/1/2021                      Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.191    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $24,860.00
         Sorinex Exercise Equipment                                 Contingent
         193 LITTON DR                                              Unliquidated
         Lexington, SC 29073-8010                                   Disputed
         Date(s) debt was incurred 3/25/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.192    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $20,600.00
         SportingLife Pty. Ltd.                                     Contingent
         109 (B) Cecil Ave                                          Unliquidated
         Castle Hill AUSTRALIA, 0 02154                             Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.193    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $352,600.11
         SprintFWD, LLC                                             Contingent
         703 Pier Avenue                                            Unliquidated
         Suite B #632                                               Disputed
         Hermosa Beach, CA 90254
         Date(s) debt was incurred 5/1/22
                                                                   Basis for the claim:    Services
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.194    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $10,584.49
         SPS Commerce Inc                                           Contingent
         333 South Seventh Street, Suite 101                        Unliquidated
         Minneapolis, MN 55402                                      Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:    Legal
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.195    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,088.85
         Staples                                                    Contingent
         Staples Business Advantage                                 Unliquidated
         Dept LA                                                    Disputed
         Chicago, IL 60696-3689
                                                                   Basis for the claim:    Supplies
         Date(s) debt was incurred 6/4/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.196    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,149,881.00
         Stephen Gould Corporation                                  Contingent
         Stephen Gould Corporation                                  Unliquidated
         35 South Jefferson Road                                    Disputed
         Whippany, NJ 07981
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 5/18/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 41 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 406 of 494                                                                 7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.197    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $30,847.52
         Sunrise Nationwide USA Inc.                                Contingent
         101 West Walnut Street                                     Unliquidated
         Suite 129                                                  Disputed
         Gardena, CA 90248
                                                                   Basis for the claim:    Logistics
         Date(s) debt was incurred 5/17/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.198    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $0.00
         SurfaceCo, The Surface Company                             Contingent
         1350 West Venture Drive                                    Unliquidated
         Janesville, WI 53546                                       Disputed
         Date(s) debt was incurred 7/1/2021
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.199    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $35,100.00
         Systems Continuity                                         Contingent
         21681 Cabrosa                                              Unliquidated
         Mission Viejo, CA 92691                                    Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:    Technology
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.200    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $205,201.25
         Syzygy Digital Marketing, Inc                              Contingent
         41 Flatbush Avenue                                         Unliquidated
         Brooklyn, NY 11217                                         Disputed
         Date(s) debt was incurred 4/30/2022
                                                                   Basis for the claim:    Marketing
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.201    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $5.38
         Taryn Alexander                                            Contingent
         413 Scott Blvd                                             Unliquidated
         Milton CANADA, 0 L9T 0T1                                   Disputed
         Date(s) debt was incurred 12/31/2019
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.202    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $17,403.78
         Teads, Inc.                                                Contingent
         55 5th Ave                                                 Unliquidated
         17th Floor                                                 Disputed
         New York, NY 10003
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred   11/1/2021
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.203    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             Unknown
         The Arena Platform Inc.                                    Contingent
         c/o Sharon L. Schneier
         1251 Avenue of the Americas 21st Fl
                                                                    Unliquidated
         New York, NY 10020                                         Disputed
         Date(s) debt was incurred                                 Basis for the claim:    Breach of contract claim
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 42 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 407 of 494                                                                7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.204    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,150.00
         The Beans Group, Inc.                                      Contingent
         100 Wall Street                                            Unliquidated
         Suite 902                                                  Disputed
         New York, NY 10005
                                                                   Basis for the claim:    Trade
         Date(s) debt was incurred 11/7/2021
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.205    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $950.00
         The Fitness Center Service Tech                            Contingent
         4802 West Bexley Park Drive                                Unliquidated
         Delray Beach, FL 33445                                     Disputed
         Date(s) debt was incurred 10/25/2021
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.206    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $13,732.89
         The Hartford FA082651                                      Contingent
         P.O. Box 415738                                            Unliquidated
         Boston, MA 02241-5738                                      Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:    Insurance
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.207    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $83,139.07
         The Trade Desk                                             Contingent
         42 N Chestnut St.                                          Unliquidated
         Ventura, CA 93001                                          Disputed
         Date(s) debt was incurred   5/31/2022                     Basis for the claim:    Marketing
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.208    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $57,980.43
         Tigers International Logistics BV                          Contingent
         Schaapherderweg 24                                         Unliquidated
         Ridderkerk NETHERLANDS, 0 02988                            Disputed
         Date(s) debt was incurred 6/2/2022
                                                                   Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.209    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $10,576.00
         Timothy E. Bourke                                          Contingent
         1900 Sutter Street                                         Unliquidated
         Unit 1                                                     Disputed
         San Francisco, CA 94115
                                                                   Basis for the claim:    PTO
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.210    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $37,277.87
         TMA Worldwide, Inc.                                        Contingent
         4038 Aitken Dairy Road                                     Unliquidated
         Rocklin, CA 95677                                          Disputed
         Date(s) debt was incurred 6/7/2022
                                                                   Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 43 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 408 of 494                                                                 7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.211    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,597.50
         Transperfect Translations Intl                             Contingent
         Attn:Accounts Receivable                                   Unliquidated
         Three Parks Avenue, 39th Floor                             Disputed
         New York, NY 10016
                                                                   Basis for the claim:    Logistics
         Date(s) debt was incurred 3/30/2022
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.212    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $3,117,187.50
         TRX HoldCo LLC                                             Contingent
         450 Newport Center Drive                                   Unliquidated
         Suite 590                                                  Disputed
         Newport Beach, CA 92660
                                                                   Basis for the claim:    Management Fees
         Date(s) debt was incurred 4/30/2021
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.213    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $300,000.00
         TRX HoldCo LLC                                             Contingent
         450 Newport Center Drive                                   Unliquidated
         Suite 590                                                  Disputed
         Newport Beach, CA 92660
                                                                                     Cash Transfer to Fitness Anywhere, LLC to pay
                                                                   Basis for the claim:
         Date(s) debt was incurred 5/5/2022
                                                                   critical suppliers
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.214    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $36.63
         Uline Shipping Supplies                                    Contingent
         PO Box 88741                                               Unliquidated
         Chicago, IL 60680-1741                                     Disputed
         Date(s) debt was incurred 2/25/2022
                                                                   Basis for the claim:    Supplies
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.215    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,355,266.42
         UPS                                                        Contingent
         55 Glenlake Parkway NE                                     Unliquidated
         Atlanta, GA 30328                                          Disputed
         Date(s) debt was incurred 6/4/2022
                                                                   Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.216    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $115,518.29
         US Customs and Border Protection                           Contingent
         PO BOX 979126                                              Unliquidated
         St. Louis, MO 63197-9000                                   Disputed
         Date(s) debt was incurred 6/1/2022
                                                                   Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.217    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $64,303.00
         USA Global Logistics LLC                                   Contingent
         255 Madsen Drive                                           Unliquidated
         Bloomingdale, IL 60108                                     Disputed
         Date(s) debt was incurred 5/31/2022
                                                                   Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 44 of 47
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 409 of 494                                                                7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                                            Case number (if known)            8:22-bk-10949-SC
            Name

3.218    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Verizon                                                    Contingent
         The MB & W Building                                        Unliquidated
         26000 Cannon Road                                          Disputed
         Cleveland, OH 44146
                                                                   Basis for the claim:    Utility
         Date(s) debt was incurred 3/4/2020
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.219    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $0.00
         Verizon Media Inc.                                         Contingent
         770 Broadway                                               Unliquidated
         New York, NY 10003                                         Disputed
         Date(s) debt was incurred   10/12/2021                    Basis for the claim:    Utility
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.220    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,000.00
         Vicky Ya-Chi Hung                                          Contingent
         No 60 Sec 1 Zongcheng Rd Shilin                            Unliquidated
         Taipei CHINA, 0 00111                                      Disputed
         Date(s) debt was incurred 12/29/2021
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.221    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,259.86
         Vincent Wagliardo                                          Contingent
         216 Fallen Road                                            Unliquidated
         Ennis, TX 75119                                            Disputed
         Date(s) debt was incurred   5/11/2022                     Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.222    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,998.50
         Wellness Solutions Inc.                                    Contingent
         6614 James Madison Hwy                                     Unliquidated
         Haymarket, VA 20169                                        Disputed
         Date(s) debt was incurred 2/1/2022
                                                                   Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.223    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,880.00
         Wholesale Pallets, Inc.                                    Contingent
         142 S. San Antonio Ave                                     Unliquidated
         Pomona, CA 91766                                           Disputed
         Date(s) debt was incurred 6/2/2022
                                                                   Basis for the claim:    Logistics
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.224    Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $15,000.00
         Wilco Collective LLC                                       Contingent
         12 Pinckney Street                                         Unliquidated
         Greenville, SC 29601                                       Disputed
         Date(s) debt was incurred   3/30/2022                     Basis for the claim:    Trade
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 45 of 47
            Case 8:22-bk-10949-SC                       Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                                Desc
                                                       Main Document    Page 410 of 494                                                                        7/06/22 4:30PM


Debtor       Fitness Anywhere LLC                                                                   Case number (if known)            8:22-bk-10949-SC
             Name

3.225     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $631.43
          Wistia, Inc.                                                      Contingent
          17 Tudor Street                                                   Unliquidated
          Cambridge, MA 02139                                               Disputed
          Date(s) debt was incurred 5/28/2022
                                                                           Basis for the claim:    Technology
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.226     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $27,136.00
          Workday Inc.                                                      Contingent
          6110 Stoneridge Mall Road                                         Unliquidated
          Pleasanton, CA 94588                                              Disputed
          Date(s) debt was incurred 4/5/2022
                                                                           Basis for the claim:    Technology
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.227     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $200.00
          Zeal Fitness Training LLC                                         Contingent
          3401 East Laurel Avenue                                           Unliquidated
          Visalia, CA 93292                                                 Disputed
          Date(s) debt was incurred 2/15/2022
                                                                           Basis for the claim:    Trade
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.228     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $12,078.00
          Zendesk                                                           Contingent
          Zendesk Inc                                                       Unliquidated
          Dept CH 19895                                                     Disputed
          Palatine, IL 60055-9895
                                                                           Basis for the claim:    Technology
          Date(s) debt was incurred 3/30/2022
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.229     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $568.32
          Zoe Ades                                                          Contingent
                                                                            Unliquidated
          Date(s) debt was incurred   10/5/2021                             Disputed
          Last 4 digits of account number                                  Basis for the claim:    Trade
                                                                           Is the claim subject to offset?    No  Yes
3.230     Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $5,110.80
          Zoom Video Communications, Inc                                    Contingent
          PO Box 888843                                                     Unliquidated
          Suite 600                                                         Disputed
          Los Angeles, CA 90088-8843
                                                                           Basis for the claim:    Technology
          Date(s) debt was incurred 5/26/2022
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.


Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 46 of 47
           Case 8:22-bk-10949-SC    Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                    Desc
                                   Main Document    Page 411 of 494                                                       7/06/22 4:30PM


Debtor      Fitness Anywhere LLC                                      Case number (if known)        8:22-bk-10949-SC
            Name

                                                                                       Total of claim amounts
5a. Total claims from Part 1                                             5a.       $                 1,943,736.73
5b. Total claims from Part 2                                             5b.   +   $                22,036,848.39

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                  5c.       $                   23,980,585.12




Official Form 206 E/F              Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 47 of 47
            Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                       Desc
                                                   Main Document    Page 412 of 494                                                            7/06/22 4:30PM


Fill in this information to identify the case:

Debtor name        Fitness Anywhere LLC

United States Bankruptcy Court for the:      CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA

Case number (if known)      8:22-bk-10949-SC
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Distributor agreement
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    3D Fitness s.r.o
             List the contract number of any                                        Orlicka kasarna 1491
                   government contract                                              Zamberk Czech Republic 564 01


2.2.         State what the contract or           Invoice auditing and
             lease is for and the nature of       reporting, contract
             the debtor's interest                analysis and
                                                  negotiation
                State the term remaining
                                                                                    3PLogic LLC
             List the contract number of any                                        1765 North Elston Avenue, Suite 216
                   government contract                                              Chicago, IL 60642


2.3.         State what the contract or           SOW
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    A2Z Fitness
             List the contract number of any                                        Matsa, Kifisia 145 64, Greece
                   government contract


2.4.         State what the contract or           Master Subscription
             lease is for and the nature of       and Services
             the debtor's interest                Agreement for
                                                  Accessibility Testing /
                                                  Reporting / Quality
                                                  Assurance Testing /
                                                  Monitoring Services.
                                                  Digital Accessibility
                                                  Training.
                State the term remaining                                            A360 Enterprises LLC
                                                                                    1422 W. Lake Street, Suite 314
             List the contract number of any                                         MN 55408
Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 413 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

                government contract


2.5.      State what the contract or        Distributor agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        AC Provision for Sports Ltd
          List the contract number of any                               9 Anexasartisias Street
                government contract                                     Pafos CYPRUS 08028


2.6.      State what the contract or        Product disposition
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Academy Sports+Outdoors
          List the contract number of any                               1800 N Mason Rd
                government contract                                     Katy, TX 77449


2.7.      State what the contract or        Duty drawback
          lease is for and the nature of    support/project
          the debtor's interest             management
                                            agreement
             State the term remaining
                                                                        Acceler8 Partners Inc
          List the contract number of any                               4008 Louetta Road, Suite 199
                government contract                                     Spring, TX 77388


2.8.      State what the contract or        Appearance Agreement
          lease is for and the nature of    and Release
          the debtor's interest

             State the term remaining
                                                                        Ace Cauthen
          List the contract number of any                               723NE 93rd Avenue
                government contract                                     Portland, OR 97220


2.9.      State what the contract or        Promote sales of
          lease is for and the nature of    product and solicit
          the debtor's interest             order from Costco
                                            locations
             State the term remaining
                                                                        Acosta LLC
          List the contract number of any                               1180 NW Maple Street, Suite 330
                government contract                                     Issaquah, WA 98027




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 2 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 414 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.10.     State what the contract or        Distributor agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Active Aid
          List the contract number of any                               Vinkelvej 32G
                government contract                                     Viborg DENMARK 08800


2.11.     State what the contract or        Software
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Adobe
          List the contract number of any                               345 Park Ave
                government contract                                     San Francisco, CA 95110


2.12.     State what the contract or        Payroll software
          lease is for and the nature of    subscription
          the debtor's interest

             State the term remaining
                                                                        ADP Totalsource
          List the contract number of any                               600 California Street
                government contract                                     San Francisco, CA 94108


2.13.     State what the contract or        Insurance premium
          lease is for and the nature of    finance agreement
          the debtor's interest

             State the term remaining
                                                                        AFCO Insurance Premium Finance
          List the contract number of any                               5600 N.River Road, Suite 400
                government contract                                     Rosemont, IL 60018


2.14.     State what the contract or        Software services
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Affirm Inc
          List the contract number of any                               650 California Street, 12th floor
                government contract                                     San Francisco, CA 94108


2.15.     State what the contract or        Appearance Agreement
          lease is for and the nature of    and Release
          the debtor's interest
                                                                        Aidan Paolone
             State the term remaining                                   417 Hampden Road
                                                                        Corona Del Mar, CA

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 3 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 415 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

          List the contract number of any
                government contract


2.16.     State what the contract or        Post-production
          lease is for and the nature of    services
          the debtor's interest

             State the term remaining
                                                                         Alchemy Creative Inc
          List the contract number of any                                1736 18th Street
                government contract                                      San Francisco, CA 94107


2.17.     State what the contract or        Marketing on Amazon
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                    Amazon.com services LLC
                                                                         Attn: General Counsel
          List the contract number of any                                P.O. Box# 81226
                government contract                                      Seattle, WA 98108


2.18.     State what the contract or        Appearance Agreement
          lease is for and the nature of    and Release
          the debtor's interest

             State the term remaining
                                                                         Anthony Carey
          List the contract number of any                                3425 5th Ave
                government contract                                      San Diego, CA 92103


2.19.     State what the contract or        Appearance Agreement
          lease is for and the nature of    and Release
          the debtor's interest

             State the term remaining
                                                                         Anthony Gooran
          List the contract number of any                                51 Sussex St
                government contract                                      San Francisco, CA 94131


2.20.     State what the contract or        Authorized distributor
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Anytime Fitness LLC
          List the contract number of any                                11 Weir Drive
                government contract                                      Woodburry, MN 55125




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 4 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 416 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.21.     State what the contract or        Consulting Services
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining
                                                                         Ashley Suhr
          List the contract number of any                                307 Hayland Lane
                government contract                                      Foster City, CA 94404


2.22.     State what the contract or        Marketing and Referral
          lease is for and the nature of    Fee Agreement.
          the debtor's interest

             State the term remaining
                                                                         Athlete' Performance Inc
          List the contract number of any                                2629 E Rose Garden Ln
                government contract                                      Phoenix, AZ 85050


2.23.     State what the contract or        TRX Maps User Video
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Autodemo
          List the contract number of any                                1129 Payne Street
                government contract                                      Louisville, KY 40204


2.24.     State what the contract or        Application
          lease is for and the nature of    development, software
          the debtor's interest             services, affiliate
                                            tracking and payment
                                            network services
             State the term remaining

          List the contract number of any                                Avant Marketing Group
                government contract                                      Park City, UT 84060


2.25.     State what the contract or        eCommerce
          lease is for and the nature of    procurement services
          the debtor's interest

             State the term remaining
                                                                         Avendra
          List the contract number of any                                540 Gaither Road, Suite 200
                government contract                                      Rockville, MD 20850


2.26.     State what the contract or        Commercial
          lease is for and the nature of
          the debtor's interest                                          B2BGateway.Net
                                                                         PO Box 838
             State the term remaining                                    Hope Valley, RI 02832

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 5 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 417 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease


          List the contract number of any
                government contract


2.27.     State what the contract or        Construction services
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Bear Construction Company
          List the contract number of any                               1501 Rohlwing Road
                government contract                                     Rolling Meadows, IL 60008


2.28.     State what the contract or        Distributor agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Beaverfit North America LLC
          List the contract number of any                               1200 Woodland Ave, Suite D
                government contract                                     Reno, NV


2.29.     State what the contract or        Appearance Agreement
          lease is for and the nature of    and Release
          the debtor's interest

             State the term remaining
                                                                        Benjamin Monk
          List the contract number of any                               2323 NW Savier St., Apt 312
                government contract                                     Portland, OR 97210


2.30.     State what the contract or        Drive sales of TRX
          lease is for and the nature of    SKUs
          the debtor's interest

             State the term remaining
                                                                        Best Buy Ads
          List the contract number of any                               7601 Penn Avenue South
                government contract                                     S Richfield, MN 55423


2.31.     State what the contract or        Drive sales
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Best Buy Purchasing LLC
          List the contract number of any                               7601 Penn Avenue South
                government contract                                     Richfield, MN 55423




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 6 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 418 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.32.     State what the contract or        Software-as-a-service
          lease is for and the nature of    solution
          the debtor's interest

             State the term remaining                                   BigCommerce Inc
                                                                        11305 Four Points Dr
          List the contract number of any                               Bldg 2, 3rd Floor
                government contract                                     Austin, TX 78726


2.33.     State what the contract or        Appearance Agreement
          lease is for and the nature of    and Release
          the debtor's interest

             State the term remaining
                                                                        BJ Guinn
          List the contract number of any                               20 La Paloma Pl
                government contract                                     El Sobrante, CA 94803


2.34.     State what the contract or        Appearance Agreement
          lease is for and the nature of    and Release
          the debtor's interest

             State the term remaining
                                                                        Blake Kasemeier
          List the contract number of any                               1735 Carleton St, Apt B
                government contract                                     Berkely, CA 94703


2.35.     State what the contract or        Recruiting services
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Blue Chip Theory
          List the contract number of any                               631 Claudius Way
                government contract                                     Windsor, CA 95492


2.36.     State what the contract or        Represent and promote
          lease is for and the nature of    brand in New Zealand
          the debtor's interest             and Australia E Com

             State the term remaining
                                                                        Blue Fitness Pty Ltd
          List the contract number of any                               45A Normanby Road, Mount Eden
                government contract                                     Auckland NEW ZEALAND 01024


2.37.     State what the contract or        Professional writing
          lease is for and the nature of    and blogging services
          the debtor's interest
                                                                        Blue Ox Films
             State the term remaining                                   216 N Tillamook St.
                                                                        Portland, OR 97227

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 7 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 419 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

          List the contract number of any
                government contract


2.38.     State what the contract or        Promotion
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Boulder Crest Foundation
                                                                        33735 Snickersville Turnpike
          List the contract number of any                               PO Box 117
                government contract                                     Bluemont, VA 20135


2.39.     State what the contract or        MARKETING
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Box.com
          List the contract number of any                               900 Jefferson Ave
                government contract                                     Redwood, CA 94063


2.40.     State what the contract or        Video cloud platform
          lease is for and the nature of    provider
          the debtor's interest

             State the term remaining
                                                                        Brightcove
          List the contract number of any                               290 Congress Street
                government contract                                     Boston, MA 02210


2.41.     State what the contract or        Build digital assets for
          lease is for and the nature of    Black Friday & Cyber
          the debtor's interest             Monday holiday
                                            campaign
             State the term remaining
                                                                        Cameron Booth
          List the contract number of any                               413 Grand St, Apt F806
                government contract                                     NY, NY 10002


2.42.     State what the contract or        Accounting and
          lease is for and the nature of    book-keeping services
          the debtor's interest             in NetSuite as specified
                                            by SOW
             State the term remaining
                                                                        Camp6 Inc
          List the contract number of any                               340 South Lemon Avenue
                government contract                                     Walnut, CA 91789




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 8 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 420 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.43.     State what the contract or        Lifestyle image
          lease is for and the nature of    retouching - dumbells,
          the debtor's interest             wrist wraps and gloves

             State the term remaining
                                                                        Campfire LLC
          List the contract number of any                               1319 SE Mlk jr. Blvd, Ste:214
                government contract                                     Portland, OR 97214


2.44.     State what the contract or        Partnership agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Canadian Fitness Professionals Inc
          List the contract number of any                               2180 Yonge Street
                government contract                                     Toronto CANADA, ON M4S 2B9


2.45.     State what the contract or        Purchase of
          lease is for and the nature of    merchandise
          the debtor's interest

             State the term remaining
                                                                        Canadian Tire Corporation Limited
          List the contract number of any                               2180 Yonge Street
                government contract                                     Toronto CANADA, ON M4S 2B9


2.46.     State what the contract or        Supplier agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Canadian Tire Corporation Limited
          List the contract number of any                               2180 Yonge Street
                government contract                                     Toronto CANADA, ON M4S 2B9


2.47.     State what the contract or        Online video service
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining
                                                                        Canadian Tire Corporation Limited
          List the contract number of any                               2180 Yonge Street
                government contract                                     Toronto CANADA, ON M4S 2B9


2.48.     State what the contract or        Platform for managing
          lease is for and the nature of    brand assets
          the debtor's interest
                                                                        Canto
             State the term remaining                                   625 Market St., Suite 600
                                                                        San Francisco, CA 94105

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 9 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                             Main Document    Page 421 of 494                                                  7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                     Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

          List the contract number of any
                government contract


2.49.     State what the contract or        Lease Agreement for
          lease is for and the nature of    1477 Cedar Street, Unit
          the debtor's interest             A, Ontario, California

             State the term remaining
                                                                          Cedar Avenue Five LLC
          List the contract number of any                                 30922 Westgreen Drive
                government contract                                       Laguna Niguel, CA 92677


2.50.     State what the contract or        Lease Agreement for
          lease is for and the nature of    1477 Cedar Street, Unit
          the debtor's interest             B Ontario, California

             State the term remaining
                                                                          Cedar Avenue Five LLC
          List the contract number of any                                 30922 Westgreen Drive
                government contract                                       Laguna Niguel, CA 92677


2.51.     State what the contract or        Condominium
          lease is for and the nature of    Conversion Application
          the debtor's interest

             State the term remaining
                                                                          Cedar Avenue Five LLC
          List the contract number of any                                 30922 Westgreen Drive
                government contract                                       Laguna Niguel, CA 92677


2.52.     State what the contract or        Data processing
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          Celigo Inc
          List the contract number of any                                 1820 Gateway Drive #260
                government contract                                       San Mateo, CA


2.53.     State what the contract or        Consulting services
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          Change Your Strategy LLC
          List the contract number of any                                 5340 Gunbarrel Center Ct, Apt 1-109
                government contract                                       Boulder, CO 80301




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                    Page 10 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 422 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.54.     State what the contract or        Web app and API
          lease is for and the nature of    access
          the debtor's interest

             State the term remaining
                                                                        ChartHop Inc
          List the contract number of any                               130 Shore Road, #350
                government contract                                     Port Washington, NY 11050


2.55.     State what the contract or        Advertisement services
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Club Solutions Magazine a Division of Pe
          List the contract number of any                               211 Townepark Circle, Suite 200
                government contract                                     Louisville, KY 40243


2.56.     State what the contract or        Consulting services
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Colin McDonald
          List the contract number of any                               10035 Burr St
                government contract                                     Oakland, CA 94605


2.57.     State what the contract or        eCommerce solution
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining
                                                                        Commerce Technologies, LLC
          List the contract number of any                               25736 Network Place
                government contract                                     Chicago, IL 60673


2.58.     State what the contract or        Commercial Partner
          lease is for and the nature of    Product Sales
          the debtor's interest             Agreement

             State the term remaining
                                                                        Commercial Fitness Products Inc
          List the contract number of any                               10360 Timberstone Rd
                government contract                                     Alpharetta, GA 30022


2.59.     State what the contract or        Software services
          lease is for and the nature of
          the debtor's interest
                                                                        Concur Technologies Inc
             State the term remaining                                   888 Brannan St #100
                                                                        San Francisco, CA

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 11 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 423 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

          List the contract number of any
                government contract


2.60.     State what the contract or        GDPR and ePrivacy
          lease is for and the nature of    solution agreement
          the debtor's interest

             State the term remaining
                                                                         Cookie Bot
          List the contract number of any                                Havnegrade 39
                government contract                                      Copenhagen, DENMARK 01058-0000


2.61.     State what the contract or        Staffing for creative
          lease is for and the nature of    roles: Adrian
          the debtor's interest             Famularcano

             State the term remaining
                                                                         Creative Circle LLC
          List the contract number of any                                38027 Network Place
                government contract                                      Chicago, IL 60673


2.62.     State what the contract or        Domain Name
          lease is for and the nature of    Management Services.
          the debtor's interest

             State the term remaining
                                                                         CSC Corporate Domains Inc
          List the contract number of any                                251 Little Falls Drive
                government contract                                      Wilmington, DE 19808


2.63.     State what the contract or        Digital brand services
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining
                                                                         CSC Corporate Domains Inc
          List the contract number of any                                251 Little Falls Drive
                government contract                                      Wilmington, DE 19808


2.64.     State what the contract or        payment service
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining
                                                                         Cybersource Corporation
          List the contract number of any                                PO Box 74842
                government contract                                      Los Angeles, CA 90074




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 12 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 424 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.65.     State what the contract or        Graphic design
          lease is for and the nature of    services
          the debtor's interest

             State the term remaining
                                                                        Daniel Goldfarb
          List the contract number of any                               400 E Stonewall St, Apt. 647
                government contract                                     Charlotte, NC 28202


2.66.     State what the contract or        Design production
          lease is for and the nature of    services
          the debtor's interest

             State the term remaining
                                                                        Daniel Herron
          List the contract number of any                               P.O. Box# 1236
                government contract                                     Newberg, OR


2.67.     State what the contract or        On camera talent for
          lease is for and the nature of    apparel shoot
          the debtor's interest

             State the term remaining
                                                                        Danielle Repetti
          List the contract number of any                               1470 40th ave
                government contract                                     San Francisco, CA 94122


2.68.     State what the contract or        Trainer agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   David Ruiz
                                                                        Av/ Espa a 4, Bloque F
          List the contract number of any                               3F Pozuelo de Alarcon
                government contract                                     SPAIN 28224


2.69.     State what the contract or        Subscription; technical
          lease is for and the nature of    support, privacy, and
          the debtor's interest             other obligations;
                                            updates; third-party
                                            services; privacy
                                            compliance
             State the term remaining
                                                                        Degree Inc dba Lattice
          List the contract number of any                               600 Battery Street
                government contract                                     San Francisco, CA 94111


2.70.     State what the contract or        Domestic Vendor
          lease is for and the nature of    Agreement where             Dick's Sporting Goods Inc
          the debtor's interest             Dick's will sell Vendor's   345 Court Street
                                            merchandise.                Coraopolis, PA 15108

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 13 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 425 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

             State the term remaining

          List the contract number of any
                government contract


2.71.     State what the contract or        Consulting services
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        DigMEE Partners Inc
          List the contract number of any                               3720 S Susan Street, Suite 250
                government contract                                     Santa Ana, CA 92704


2.72.     State what the contract or        Keynote Speaking
          lease is for and the nature of    Engagement
          the debtor's interest

             State the term remaining

          List the contract number of any                               Dillman Investments
                government contract                                     Columbia, SC 29205


2.73.     State what the contract or        IT systems
          lease is for and the nature of    management and
          the debtor's interest             support

             State the term remaining
                                                                        Dirbos Inc
          List the contract number of any                               23272 Mill Creek Drive, Suite 310
                government contract                                     Laguna Hills, CA 92653


2.74.     State what the contract or        DocuSign CLM
          lease is for and the nature of    subscription;
          the debtor's interest             eSignature System
                                            Automated Premium
                                            Subscription;
                                            eSignature Sandbox;
                                            DocuSign CLM UAT
                                            Sandbox; Premier
                                            Support.
             State the term remaining
                                                                        DocuSign Inc
          List the contract number of any                               221 Main Street, Suite 1000
                government contract                                     San Francisco, CA 94105




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 14 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                             Main Document    Page 426 of 494                                                  7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                     Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.75.     State what the contract or        Domo Professional
          lease is for and the nature of    Platform; User
          the debtor's interest             Licenses; Technical
                                            Support; Education;
                                            Professional Service
                                            Hours.
             State the term remaining
                                                                          Domo Inc
          List the contract number of any                                 772 E. Utah Valley Drive
                government contract                                       American Fork, UT 84003


2.76.     State what the contract or        Music search and
          lease is for and the nature of    editing services
          the debtor's interest

             State the term remaining
                                                                          Doug Darnell
          List the contract number of any                                 9129 Beverlywood street
                government contract                                       Los Angeles, CA


2.77.     State what the contract or        E-Commerce
          lease is for and the nature of    Photoshoot: Master
          the debtor's interest             Trainer for Prosumer
                                            images for use in
                                            digital, website,
                                            organic and paid social
                                            US & UK.
             State the term remaining
                                                                          Douglas Li
          List the contract number of any                                 2800 Elliott Avenue, #1128
                government contract                                       Seattle, WA 98121


2.78.     State what the contract or        Software
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          DropBox
          List the contract number of any                                 1800 Owens St
                government contract                                       San Francisco, CA 94158


2.79.     State what the contract or        Agreement for legal
          lease is for and the nature of    services re: general IP
          the debtor's interest             matters.

             State the term remaining                                     Duane Morris LLP
                                                                          190 South LaSalle Street
          List the contract number of any                                 Suite 3700
                government contract                                       Chicago, IL 60603




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                    Page 15 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 427 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.80.     State what the contract or        Father's Day and TRX
          lease is for and the nature of    Home Gym Launch
          the debtor's interest             Campaign Photoshoot

             State the term remaining
                                                                        Dylan Paolone
          List the contract number of any                               4717 Hampden Road
                government contract                                     Corona Del Mar, CA 92625


2.81.     State what the contract or        Consulting and Data
          lease is for and the nature of    Aggregation services.
          the debtor's interest

             State the term remaining
                                                                        DYODE Inc
          List the contract number of any                               451 W. Lambert Road, Suite 212
                government contract                                     Brea, CA 92821


2.82.     State what the contract or        Licensees for
          lease is for and the nature of    purchases from TRX.
          the debtor's interest

             State the term remaining
                                                                        Eat The Frog Fitness
          List the contract number of any                               1609 R Avenue
                government contract                                     Anacortes, WA


2.83.     State what the contract or        COMMERCIAL
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        EC Designs
          List the contract number of any                               4860 W 147th St
                government contract                                     Hawthorne, CA 90250


2.84.     State what the contract or        Commercial Sales
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Ecdesign
          List the contract number of any                               4860 W 147th St
                government contract                                     Hawthorne, CA 90250


2.85.     State what the contract or        Distributor agreement
          lease is for and the nature of
          the debtor's interest
                                                                        EKS Dis Ticaret Ltd
             State the term remaining                                   Barbaros Bulvari, Konak Ap, 62/5
                                                                        Istanbul TURKEY

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 16 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                             Main Document    Page 428 of 494                                                  7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                     Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

          List the contract number of any
                government contract


2.86.     State what the contract or        Audit and Monitoring
          lease is for and the nature of    setup; basic plan;
          the debtor's interest             Training Proposal

             State the term remaining
                                                                          Elevar
          List the contract number of any                                 520 Folly Road
                government contract                                       Charleston, SC 29412


2.87.     State what the contract or        Marketing and Strategy
          lease is for and the nature of    services.
          the debtor's interest

             State the term remaining
                                                                          Elisabeth Powell
          List the contract number of any                                 4430 Paces Battle NW
                government contract                                       Atlanta, GA 30327


2.88.     State what the contract or        Lease agreement for
          lease is for and the nature of    one forklift located at
          the debtor's interest             Ontario warehouse. No
                                            written lease
                                            agreement.
             State the term remaining
                                                                          Elite Forklift Service and Repairs
          List the contract number of any                                 1496 E Francis St
                government contract                                       Ontario, CA 91761


2.89.     State what the contract or        Services to be
          lease is for and the nature of    performed for
          the debtor's interest             Woodforest National
                                            Bank with respect to
                                            certain records and
                                            transactions of Fitness
                                            Anywhere LLC.
             State the term remaining
                                                                          Elliott Davis
          List the contract number of any                                 220 Eat Broad Street, Suite 500
                government contract                                       Greenville, SC 29601




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                    Page 17 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 429 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.90.     State what the contract or        E38 agrees to make
          lease is for and the nature of    Justin Galiani and
          the debtor's interest             Grayce Penn available
                                            to Fitness Anywhere
                                            LLC to provide
                                            services, which are to
                                            include financial
                                            planning and analysis
                                            and support to the CFO
                                            of Fitness Anywhere
                                            LLC and support to the
                                            executive committee.
             State the term remaining                                   Equity38 LLC
                                                                        450 Newport Center Drive
          List the contract number of any                               Suite 590
                government contract                                     Newport Beach, CA 92660


2.91.     State what the contract or        Management
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining                                   Equity38, LLC
                                                                        450 Newport Center Drive
          List the contract number of any                               Suite 590
                government contract                                     Newport Beach, CA 92660


2.92.     State what the contract or        Platform Setup and
          lease is for and the nature of    Redirect Build; Product
          the debtor's interest             Catalog Build; Ads and
                                            Promotions;
                                            Commission.
             State the term remaining

          List the contract number of any                               ExpertVoice Inc
                government contract


2.93.     State what the contract or        Counterparty to
          lease is for and the nature of    distribute certain
          the debtor's interest             products within Taiwan
                                            which TRX elects to
                                            sell to the counterparty.
             State the term remaining
                                                                        F1 Recreation Taiwan
          List the contract number of any                               8F-2, No. 415, Sec. 4, Xinyi Rd
                government contract                                     Taipei City 110 TAIWAN


2.94.     State what the contract or        Camera rental for video
          lease is for and the nature of    production.
          the debtor's interest
                                                                        Fair Stream Creative LLC
             State the term remaining                                   427 Burk Street, #2
                                                                        Oakland, CA 94610

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 18 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 430 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

          List the contract number of any
                government contract


2.95.     State what the contract or        Subject Matter
          lease is for and the nature of    Expertise- is
          the debtor's interest             responsible for the
                                            creation and on-screen
                                            talent for the TRX for
                                            the Post Natal Athlete
                                            Digital Course.
                                            Responsible for
                                            building the content,
                                            shot list, and appearing
                                            in the filming of this
                                            new 60-90min digital
                                            course.
             State the term remaining
                                                                        Farel Hruska
          List the contract number of any                               732 Foxhall Court
                government contract                                     San Marcos, CA 92078




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 19 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 431 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.96.     State what the contract or        Marketing and Sale of
          lease is for and the nature of    items bearing the
          the debtor's interest             National Academy Seal.
                                            TRX is required to
                                            furnish to the products
                                            committee chairman
                                            and National Director of
                                            the FBINAA, Inc. a copy
                                            of all sales receipts,
                                            and a summary of
                                            orders placed for
                                            memorabilia bearing
                                            the FBINAA, Inc. name,
                                            emblem or seal.
                                            Memorabilia is defined
                                            as any item bearing any
                                            part of the FBI National
                                            Academy seal
                                            quarterly. In
                                            consideration of this
                                            agreement TRX agrees
                                            to provide FBINAA the
                                            following program
                                            benefits: (i) the right to
                                            resell and distribute the
                                            TRX PRO4 Suspension
                                            TrainerTM and TRX
                                            EliteTM Kits at its
                                            Quantico store or
                                            online through the
                                            FBINAA online store;
                                            (ii) FBINAA shall
                                            receive a 50% discount
                                            from the TRX list price
                                            for TRX products that
                                            are purchased by
                                            FBINAA for resale and
                                            distribution; and (iii)
                                            FBINAA shall receive a
                                            semiannual rebate
                                            payment of twenty-five
                                            percent (25%) of any
                                            online sales made by
                                            FBINAA of the TRX
                                            PRO4 Suspension
                                            TrainerTM product
                                            through its online store
                                            during the term of this
                                            agreement.
             State the term remaining
                                                                         Federal Bureau of Investigation National
          List the contract number of any                                FBI Academy Bldg 8, 102
                government contract                                      Quantico, VA 22135




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 20 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                             Main Document    Page 432 of 494                                                  7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                     Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.97.     State what the contract or        Transportation services
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          Fedex Express Corporation
          List the contract number of any                                 PO Box 7221
                government contract                                       Pasadena, CA 91109


2.98.     State what the contract or        retail and distribution
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining
                                                                          FGL Sports Ltd
          List the contract number of any                                 110, 205 Quarry park Blvd SE
                government contract                                       Calgary CANADA, Alberta


2.99.     State what the contract or        Affiliate agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                     Fibr LLC
                                                                          32107 Lindero Canyon Road
          List the contract number of any                                 Suite 233
                government contract                                       Westlake Village, CA 91361


2.100.    State what the contract or        Marketing
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          Figma
          List the contract number of any                                 116 New Mongomery St
                government contract                                       San Francisco, CA 94105


2.101.    State what the contract or        Sweepstakes
          lease is for and the nature of    promotion.
          the debtor's interest

             State the term remaining
                                                                          FindKeep.Love LLC
          List the contract number of any                                 PO Box 33006
                government contract                                       Los Gatos, CA 95031


2.102.    State what the contract or        2022 Leadership Circle
          lease is for and the nature of    Agreement.
          the debtor's interest
                                                                          FIT Summit Pte Ltd
             State the term remaining                                     35B Boat Quay
                                                                          SINGAPORE 49824

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                    Page 21 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 433 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

          List the contract number of any
                government contract


2.103.    State what the contract or        Fit4Mom will cause its
          lease is for and the nature of    authorized franchisees
          the debtor's interest             and/or other authorized
                                            club partners
                                            (collectively,
                                            "Franchisees") to
                                            purchase certain
                                            "Products" directly
                                            from TRX.
             State the term remaining
                                                                        Fit4Mom Corp
          List the contract number of any                               1850 Diamond Street, Suite 102
                government contract                                     San Marcos, CA 92078


2.104.    State what the contract or        Preferred Vendor
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Fitness 1440 Entity Inc
          List the contract number of any                               870 E Williams Field Rd
                government contract                                     Gilbert, AZ 85295


2.105.    State what the contract or        Distributor agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Fitness Master Franchises FZCO
          List the contract number of any                               Bay Square building, 01 Floor P
                government contract                                     Dubai UAW


2.106.    State what the contract or        Preferred Vendor
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Fitness Premier LLC
          List the contract number of any                               530 W. North Street, Suite 105
                government contract                                      IL 60442


2.107.    State what the contract or        Marketing and sales
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining                                   Fitness Quest 10
                                                                        9972 Scripps Ranch Blvd
          List the contract number of any                               San Diego, CA 92131
Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 22 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 434 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

                government contract


2.108.    State what the contract or        Duty drawback
          lease is for and the nature of    services.
          the debtor's interest

             State the term remaining
                                                                        Flexport Customs LLC
          List the contract number of any                               760 Market Street, 8th Floor
                government contract                                     San Francisco, CA 94102


2.109.    State what the contract or        Creative copywriting
          lease is for and the nature of    services
          the debtor's interest

             State the term remaining
                                                                        Geoffrey McCartney
          List the contract number of any                               1903 West George Street #1
                government contract                                     Chicago, IL 60657


2.110.    State what the contract or        Website services
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Ginerpic LLC
          List the contract number of any                               126 Sycamore Avenue
                government contract                                     Larkspure, CA 94939


2.111.    State what the contract or        Videographer on set for
          lease is for and the nature of    On Demand to capture
          the debtor's interest             Behind the scenes
                                            clips of the TRX
                                            Creative photoshoot.
                                            Includes all raw clips
                                            delivered via Google
                                            drive, and a 3-5 minute
                                            edited highlight reel.
             State the term remaining
                                                                        Ginger Snap Inc
          List the contract number of any                               2820 Royal Hills Court, Simi Valley
                government contract                                     Simi Valley, CA 93065


2.112.    State what the contract or        Website services
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Gingerpic LLC
          List the contract number of any                               126 Sycamore Avenue
                government contract                                     Larkspure, CA 94939

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 23 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 435 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease



2.113.    State what the contract or        Digital
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        GitHub
          List the contract number of any                               88 Colin P Kelly Jr Street
                government contract                                     San Francisco, CA 94107


2.114.    State what the contract or        Consulting Services
          lease is for and the nature of    Agreement: Lifestyle
          the debtor's interest             and product image
                                            retouching.
             State the term remaining
                                                                        GREENROOMIMAGING LLC
          List the contract number of any                               226 Moscow Court
                government contract                                     San Francisco, CA 64112




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 24 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                             Main Document    Page 436 of 494                                                   7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                      Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.115.    State what the contract or        Consulting Services
          lease is for and the nature of    Agreement: The
          the debtor's interest             Services shall be a
                                            photo shoot by
                                            Provider to capture
                                            images of Jill De Jong
                                            and her home gym set
                                            up that will be used for
                                            a TRX landing page
                                            that TRX will use for
                                            branding, promotional
                                            and marketing
                                            purposes.
                                            Notwithstanding
                                            anything to the
                                            contrary in the
                                            Agreement, TRX and
                                            Provider agree that
                                            TRX s use of the
                                            images shall be limited
                                            to a use for TRX
                                            Website Content and
                                            Social Media. Any use
                                            beyond these two
                                            media shall be subject
                                            to additional fees. In
                                            addition, Provider and
                                            Jill de Jong shall have
                                            the right to use the
                                            content created under
                                            this SOW for their own
                                            self-promotional
                                            materials, but may not
                                            otherwise sell or use
                                            the content for any
                                            other purpose without
                                            TRX s prior consent,
                                            which will not be
                                            unreasonably withheld
                                            or delayed.
             State the term remaining
                                                                           Greg Hinsdale Photography
          List the contract number of any                                  1187 Coast Village Road # 780
                government contract                                        Santa Barbara, CA 93108


2.116.    State what the contract or        Media advertisements
          lease is for and the nature of    services
          the debtor's interest

             State the term remaining                                      GSI Media Inc dba Pepperjam
                                                                           7 South Main Street
          List the contract number of any                                  3rd Floor
                government contract                                        Wilkes-Barre, PA 18701



Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                     Page 25 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 437 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.117.    State what the contract or        Software
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        GSuite
          List the contract number of any                               1600 Amphitheatre Parkway
                government contract                                     Mountain View, CA 94043


2.118.    State what the contract or        Management Fee for
          lease is for and the nature of    managed advertising.
          the debtor's interest

             State the term remaining
                                                                        Hanapin Marketing LLC
          List the contract number of any                               501 N. Morton Street, Suite 212
                government contract                                     Bloomington, IN 47404


2.119.    State what the contract or        TRX appoints HARCO
          lease is for and the nature of    as its authorized
          the debtor's interest             reseller to market and
                                            sell certain TRX fitness
                                            and exercise products
                                            ("TRX Products") solely
                                            through the
                                            "Authorized Corporate
                                            Channel".
             State the term remaining
                                                                        Harco Industries Inc
          List the contract number of any                               333 S. Van Brunt Street
                government contract                                     Englewood, NJ 07631


2.120.    State what the contract or        Digital
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Heroku
                                                                        415 Mission Street
          List the contract number of any                               3rd Floor
                government contract                                     San Francisco, CA 94105


2.121.    State what the contract or        Provided design edits
          lease is for and the nature of    and create optimization
          the debtor's interest             for Colleen Morris for
                                            TRX design deck.
             State the term remaining
                                                                        Hoffman-Heidlberg Agency
          List the contract number of any                               125 E. Broad Street
                government contract                                     Greenville, SC 29601




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 26 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 438 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.122.    State what the contract or        Approval to allow
          lease is for and the nature of    sub-distributor
          the debtor's interest             marketing and
                                            distribution rights.
             State the term remaining                                   Holmes Place Group
                                                                        Leidsegracht 38-40 Amsterdam, 1016
          List the contract number of any                               CM Netherlands
                government contract


2.123.    State what the contract or        TRX grants HK
          lease is for and the nature of    permission to use
          the debtor's interest             certain TRX trademarks
                                            within the Work, as well
                                            as within approved HK
                                            marketing, publicity,
                                            and/or sales materials
                                            related to the Work.
             State the term remaining
                                                                        Human Kinetics Inc
          List the contract number of any                               1607 North market Street
                government contract                                     Champaign, IL 61820


2.124.    State what the contract or        HYFN will work closely
          lease is for and the nature of    with the TRX team to
          the debtor's interest             develop and launch the
                                            new UK site for TRX.
                                            For this project, HYFN
                                            will close the existing
                                            TRX HubSpot site &
                                            menu and make a new
                                            instance.
             State the term remaining                                   HYFN
                                                                        1235 Hermosa Ave
          List the contract number of any                               Suite 300
                government contract                                     Hermosa Beach, CA 90254


2.125.    State what the contract or        Fitness Anywhere will
          lease is for and the nature of    engage HYFN to
          the debtor's interest             produce refreshed
                                            website engineering
                                            and content
                                            development along
                                            with necessary website
                                            maintenance and
                                            ongoing engineering
                                            support.
             State the term remaining                                   HYFN
                                                                        1235 Hermosa Ave
          List the contract number of any                               Suite 300
                government contract                                     Hermosa Beach, CA 90254




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 27 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                             Main Document    Page 439 of 494                                                   7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                      Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.126.    State what the contract or        Verification services
          lease is for and the nature of    agreement. TRX will
          the debtor's interest             license the verification
                                            product.
             State the term remaining
                                                                           ID.me Inc
          List the contract number of any                                  8280 Greensboro Drive, Suite 800
                government contract                                        Tysons Corner, VA 22102


2.127.    State what the contract or        Distributor for Africa
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Impex TransAfrica Ltd
                                                                           The Mirage, Westlands
          List the contract number of any                                  Ground Floor Unit #7
                government contract                                        Nairobi KENYA


2.128.    State what the contract or        Indi platform licensing
          lease is for and the nature of    and development
          the debtor's interest

             State the term remaining
                                                                           Indi.com
          List the contract number of any                                  5141 California Ave
                government contract                                        Irvine, CA 92617


2.129.    State what the contract or        Influx will provide
          lease is for and the nature of    Client with one (1)
          the debtor's interest             full-time dedicated
                                            Digital Only support
                                            agent Influx will charge
                                            Client at the fixed
                                            monthly rate set out in
                                            Fees below Influx
                                            agents will provide
                                            support via Client s
                                            helpdesk for Client s
                                            current/prospective
                                            customers. Additional
                                            channels may be
                                            deployed over time
                                            upon mutual
                                            agreement.
             State the term remaining
                                                                           Infllux Inc
          List the contract number of any                                  8605 Santa Monica Blvd 63484
                government contract                                        West Hollywood, CA 90069




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                     Page 28 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 440 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.130.    State what the contract or        Master Service
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        InspireThreeSixty LLC
          List the contract number of any                               10190 Telsis Court
                government contract                                     San Diego, CA 92121


2.131.    State what the contract or        Warehouse and
          lease is for and the nature of    Fulfillment Services
          the debtor's interest             agreement

             State the term remaining
                                                                        Integrated Fulfillment
          List the contract number of any                               7351 Vangtage Way
                government contract                                     Delta CANADA, BC CANADA V4G 1C9


2.132.    State what the contract or        24/7 Live Customer
          lease is for and the nature of    Support Standard
          the debtor's interest             Project Management
                                            Intralinks Designer
                                            Document Locking &
                                            Protection
                                            Watermarking
                                            Reporting Full Text
                                            Search/OCR Mobile
                                            Access Intralinks
                                            Platform Bulk
                                            Download (folders and
                                            files) and Standard
                                            Report Exports
             State the term remaining
                                                                        Intralinks Inc
          List the contract number of any                               150 E. 42nd Street
                government contract                                     NY, NY 10017


2.133.    State what the contract or        California Consumer
          lease is for and the nature of    Privacy Act Scoping
          the debtor's interest             Consulting
                                            Engagement.
             State the term remaining
                                                                        Irvine Technology Corporation
          List the contract number of any                               17900 Von karman Ave, Suite 100
                government contract                                     Irvine, CA 92614


2.134.    State what the contract or        Business Process
          lease is for and the nature of    Outsourcing
          the debtor's interest             Agreement
                                                                        iSupport Worldwide LLC
             State the term remaining                                   1019 West James St
                                                                        Kent, WA 98032

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 29 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 441 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

          List the contract number of any
                government contract


2.135.    State what the contract or        Consulting services
          lease is for and the nature of    agreement for
          the debtor's interest             photography services.

             State the term remaining
                                                                         Jack Connolly
          List the contract number of any                                103 Gates Street
                government contract                                      Greenville, SC 00029-6111


2.136.    State what the contract or        Distribution and
          lease is for and the nature of    Services agreement
          the debtor's interest             and Rights agreement

             State the term remaining
                                                                         JAGEX LLC
          List the contract number of any                                4200 Northside Drive, Building 7
                government contract                                      Atlanta, GA 30327


2.137.    State what the contract or        Consulting Services
          lease is for and the nature of    Agreement for
          the debtor's interest             freelance producer.

             State the term remaining
                                                                         Jillian Cornette
          List the contract number of any                                400 Wilmington Circle
                government contract                                      Oviedo, FL 32765


2.138.    State what the contract or        Digital
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                    JIRA
                                                                         341 George Street
          List the contract number of any                                Level 6
                government contract                                      Sydney AUSTRALIA NSW 2000


2.139.    State what the contract or        Audio/video shoot
          lease is for and the nature of    production services at
          the debtor's interest             a rate of $850/day.
                                            Post-production edit
                                            services at a rate of
                                            $50/hr.
             State the term remaining
                                                                         Joseph DiBartolo
          List the contract number of any                                1100 Calle Del Cerro, Apt 50D
                government contract                                      San Clemente, CA 92672



Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 30 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 442 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.140.    State what the contract or        Design production
          lease is for and the nature of    services : image
          the debtor's interest             editing, retouching and
                                            design with creative
                                            direction and assets
                                            provided by TRX.
             State the term remaining
                                                                        Joseph Peraud
          List the contract number of any                               655 W. Irving Park Road
                government contract                                     Chicago, IL 60613


2.141.    State what the contract or        Perform workouts as
          lease is for and the nature of    support talent at the
          the debtor's interest             TRX ELITE shoot
                                            9/14-9/15 and be
                                            available for photos
                                            and interviews as
                                            needed. Booked for a
                                            full day and a half.
             State the term remaining
                                                                        Joshua Phelen
          List the contract number of any                               1981 Wallace Ave, C204
                government contract                                     Costa Mesa, CA 92627


2.142.    State what the contract or        Marketing
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Kanaree.io
          List the contract number of any                               3802 South 16th Street
                government contract                                     Chickasha, OK 73018


2.143.    State what the contract or        Advertising.
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Kargo
          List the contract number of any                               826 Broadway 4th Floor
                government contract                                     New York, NY 10003


2.144.    State what the contract or        Production Services.
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Kevin Dorman
          List the contract number of any                               Ste 4343
                government contract                                     Contra Costa County, CA 94563



Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 31 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 443 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.145.    State what the contract or        Video Production
          lease is for and the nature of    Services
          the debtor's interest

             State the term remaining
                                                                        Killeen James
          List the contract number of any                               Apt 18, 169 Sale Road
                government contract                                     Manchester, UK M23 0QP


2.146.    State what the contract or        Master services
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining
                                                                        Klaviyo Inc
          List the contract number of any                               125 Summer street, Floor 6
                government contract                                     Boston, MA 02110


2.147.    State what the contract or        Purchase agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   KLF Ukraine
                                                                        Obolonskaya rvsd, 7 blvd 4
          List the contract number of any                               Office 2
                government contract                                     Kiev UKRAINE


2.148.    State what the contract or        Sales agreement for KA
          lease is for and the nature of    to be an agent.
          the debtor's interest

             State the term remaining
                                                                        Knowledge Advantage
          List the contract number of any                               7633 Portico Place
                government contract                                     Longmont, CO 80503


2.149.    State what the contract or        TRX Trainer / Instructor
          lease is for and the nature of    Services Agreement.
          the debtor's interest

             State the term remaining
                                                                        Kristin Leffel
          List the contract number of any                               1806 Port Sheffield Place
                government contract                                     Newport Beach, CA 92660


2.150.    State what the contract or        Consulting,
          lease is for and the nature of    configuring,
          the debtor's interest             integrating, testing and
                                            deloyment services          Kustomer Inc
             State the term remaining                                   5 Penn Plaza 19th floor
                                                                        New York City, NY 10001

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 32 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 444 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

          List the contract number of any
                government contract


2.151.    State what the contract or        Annual rebate program
          lease is for and the nature of    tied to manufacturing
          the debtor's interest             agreement

             State the term remaining                                    Land America Health & Fitness Co Ltd
                                                                         R.2207~2208, 22F Island Place Tower
          List the contract number of any                                510 King's Road, North Point
                government contract                                      Hong Kong


2.152.    State what the contract or        Third amendment to
          lease is for and the nature of    International product
          the debtor's interest             and education
                                            distribution agreement
             State the term remaining                                    LFR
                                                                         Centralnaya street, 30
          List the contract number of any                                pos. Volodarskogo Leninsky district Mosc
                government contract                                      RUSSIA


2.153.    State what the contract or        Appointment of
          lease is for and the nature of    authorized reseller
          the debtor's interest             solely through
                                            authorized corporate
                                            channel
             State the term remaining
                                                                         Live Large LLC
          List the contract number of any                                8255 S. Las Vegas Blvd#117
                government contract                                      Las Vegas, NV 89123


2.154.    State what the contract or        Photography
          lease is for and the nature of    production for product
          the debtor's interest             images for social media
                                            promotion
             State the term remaining
                                                                         Liza Gershman
          List the contract number of any                                4910 Ponderosa Drive
                government contract                                      Santa Rosa, CA 95404


2.155.    State what the contract or        Customer identity
          lease is for and the nature of    management and data
          the debtor's interest             hosting platform

             State the term remaining
                                                                         LoginRadius Inc
          List the contract number of any                                501 - 1281 West Georgia Street
                government contract                                      Vancouver CANADA V6E 3J7




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 33 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                             Main Document    Page 445 of 494                                                  7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                     Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.156.    State what the contract or        Master buying
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining
                                                                          Lowe's Companies Inc
          List the contract number of any                                 1000 Lowe's Boulevard
                government contract                                       Mooresville, NC 28117


2.157.    State what the contract or        Web based data
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining
                                                                          Lucidchart
          List the contract number of any                                 10355 S Jordan Gateway #300
                government contract                                       South Jordan, UT 84095


2.158.    State what the contract or        Appearance agreement
          lease is for and the nature of    and release
          the debtor's interest

             State the term remaining
                                                                          Luiza Silva
          List the contract number of any                                 3992 Greenwood Ave
                government contract                                       Oakland, CA 94602


2.159.    State what the contract or        License of Work Hard
          lease is for and the nature of    instrumental by Fresh
          the debtor's interest             Fades

             State the term remaining
                                                                          Marmoset LLC
          List the contract number of any                                 2105 SE 7th Ave
                government contract                                       Portland, OR 97214


2.160.    State what the contract or        LOI for Virtual Fitness
          lease is for and the nature of    Programming
          the debtor's interest

             State the term remaining
                                                                          Massachusetts General Hospital
          List the contract number of any                                 55 Fruit St
                government contract                                       Boston, MA 02114




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                    Page 34 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 446 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.161.    State what the contract or        Matrix Fitness SA (PTY)
          lease is for and the nature of    LTD will act as a
          the debtor's interest             distributor for certain
                                            products of TRX. Matrix
                                            Fitness SA (PTY) LTD
                                            wil be authorized to
                                            provide certain training
                                            courses in support of
                                            the Products as
                                            provided for herein, in
                                            each cash in the
                                            Republic of South
                                            Africa.
             State the term remaining                                   Matrix Fitness SA (PTY) LTD
                                                                        Unit 12, Waterford Office Park
          List the contract number of any                               Waterford Drive
                government contract                                     Johannesburg SOUTH AFRICA


2.162.    State what the contract or        Matric Fitness SA LTD
          lease is for and the nature of    to transfer functional
          the debtor's interest             equipment business to
                                            a FT World (PTY) LTD
                                            From the effective date,
                                            TRX will deal solely
                                            with FT World (PTY)
                                            LTD
             State the term remaining
                                                                        Matrix Fitness SA (PTY) LTD
          List the contract number of any                               PO Box 218 Fourways
                government contract                                     Johannesburg SOUTH AFRICA 02055


2.163.    State what the contract or        Ecomm
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Matrixify
          List the contract number of any                               10 E 62nd St
                government contract                                     New York, NY 10065


2.164.    State what the contract or        Graphic design and
          lease is for and the nature of    illustrative branding
          the debtor's interest             work

             State the term remaining
                                                                        Maxwell Hendren
          List the contract number of any                               1000 Oak Street, Apt. 5
                government contract                                     San Francisco, CA 94117




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 35 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                             Main Document    Page 447 of 494                                                   7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                      Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

2.165.    State what the contract or        Software subscription
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Medallia Inc
          List the contract number of any                                  575 Market St. Suite 1850
                government contract                                        San Francisco, CA 94105


2.166.    State what the contract or        Purchase agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Medical University of South Carolina
          List the contract number of any                                  171 Ashley Ave
                government contract                                        Charleston, SC 29425


2.167.    State what the contract or        Distributor agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Mefitpro Trading LLC
                                                                           102 Intercoil Business Center
          List the contract number of any                                  Umm Suquiem Road
                government contract                                        Dubai UAE


2.168.    State what the contract or        Agreement re Hinge
          lease is for and the nature of    Mount
          the debtor's interest

             State the term remaining
                                                                           Metaproto LLC
          List the contract number of any                                  10 EUSTIS STREET
                government contract                                        Cambridge, MA 02140


2.169.    State what the contract or        Vendor agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           MFAC LLC
          List the contract number of any                                  11 Amflex Drive
                government contract                                        Cranston, RI 02921


2.170.    State what the contract or        Presentation for virtual
          lease is for and the nature of    training summit
          the debtor's interest
                                                                           Michael Piercy
             State the term remaining                                      58 Clinton Rd.
                                                                           Fairfield, NJ 07004

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                     Page 36 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 448 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

          List the contract number of any
                government contract


2.171.    State what the contract or        Supply chain and
          lease is for and the nature of    product development
          the debtor's interest             services

             State the term remaining
                                                                         Michael Schubeck
          List the contract number of any                                6035 N Kirkwood Ave
                government contract                                      Chicago, IL 60646


2.172.    State what the contract or        Serve as Chief
          lease is for and the nature of    Administrative Officer
          the debtor's interest             of Fitness Anywhere
                                            LLC and work under
                                            the direction of the
                                            Executive Chairman,
                                            Brent Leffel.
             State the term remaining
                                                                         Michael Zuercher
          List the contract number of any                                4105 Via Largavista
                government contract                                      Palos Verdes Estates, CA 90274


2.173.    State what the contract or        Software
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Microsoft
          List the contract number of any                                One Microsoft Way
                government contract                                      Redmond, WA 98052


2.174.    State what the contract or        Consulting services
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining
                                                                         Models Do Eat LLC
          List the contract number of any                                206 Kealakai Place
                government contract                                      Paia, HI 96779


2.175.    State what the contract or        Enterprise plan for
          lease is for and the nature of    work OS platform
          the debtor's interest

             State the term remaining
                                                                         Monday com
          List the contract number of any                                6 Yitzhak Sadeh Street
                government contract                                      Tel Aviv, CA 00677-7506


Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 37 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 449 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease


2.176.    State what the contract or        Development of TRX
          lease is for and the nature of    for adaptive athlete
          the debtor's interest             online course

             State the term remaining
                                                                         Movement Rx
          List the contract number of any                                5745 Kearny Villa Road Suite 113
                government contract                                      San Diego, CA 92123


2.177.    State what the contract or        IP Purchase Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Nantong Jiacheng Sporting and Leisure Ut
          List the contract number of any                                Bayi Industrial Zone
                government contract                                      Nantong Jiacheng CHINA


2.178.    State what the contract or        Marketing photo and
          lease is for and the nature of    video asset production
          the debtor's interest

             State the term remaining
                                                                         Nathaniel Hammer
          List the contract number of any                                662 Westlake St.
                government contract                                      Encinitas, CA 92024


2.179.    State what the contract or        Marketing and strategy
          lease is for and the nature of    consultant
          the debtor's interest

             State the term remaining
                                                                         Neile M. Hartman
          List the contract number of any                                18 Great Road
                government contract                                      Barrington, RI 02806


2.180.    State what the contract or        supply chain data
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Neogrid
          List the contract number of any                                55 W Monroe St
                government contract                                      Chicago, IL 60603


2.181.    State what the contract or        Monthly SaaS plan
          lease is for and the nature of
          the debtor's interest                                          Netstock USA LLC
                                                                         1777 S. Harrison St. Suite 1500
             State the term remaining                                    Denver, CO 80210

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 38 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 450 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease


          List the contract number of any
                government contract


2.182.    State what the contract or        Subscription services
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        NetSuite Inc
          List the contract number of any                               2955 Campus Drive, Suite 100
                government contract                                     San Mateo, CA 94403


2.183.    State what the contract or        Employee well being
          lease is for and the nature of    program
          the debtor's interest

             State the term remaining
                                                                        Neuropace
          List the contract number of any                               455 N. Bernado Ave
                government contract                                     Mountain View, CA 94043


2.184.    State what the contract or        Platform and platform
          lease is for and the nature of    widget services
          the debtor's interest

             State the term remaining                                   Niche Interactive Media Inc dba Shopping
                                                                        212 W. Van Buren St.
          List the contract number of any                               Suite 2N
                government contract                                     Chicago, IL 60607


2.185.    State what the contract or        Live education sources
          lease is for and the nature of    services
          the debtor's interest

             State the term remaining
                                                                        Oak Street Fitness Studio
          List the contract number of any                               3220 West Oriole Ave.
                government contract                                     Visalia, CA 93291


2.186.    State what the contract or        Retail
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Open Text Inc
          List the contract number of any                               24685 Network Place
                government contract                                     Chicago, IL 60673




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 39 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 451 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.187.    State what the contract or        Premium support
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Oracle America Inc
          List the contract number of any                               2300 Oracle Way
                government contract                                     Austin, TX 78741


2.188.    State what the contract or        Copywriting and
          lease is for and the nature of    copyediting services
          the debtor's interest

             State the term remaining
                                                                        Pam Spence
          List the contract number of any                               9178 N 107th Way
                government contract                                     Scottsdale, AZ 85258


2.189.    State what the contract or        Sales representative
          lease is for and the nature of    services
          the debtor's interest

             State the term remaining                                   Paragon Brokerage Inc
                                                                        720 Industrial Blvd
          List the contract number of any                               Suite 400
                government contract                                     Grapevine, TX 76051


2.190.    State what the contract or        omnichannel ecom
          lease is for and the nature of    tech
          the debtor's interest

             State the term remaining                                   Paystand
                                                                        1800 Green Hills Rd
          List the contract number of any                               Suite 2000
                government contract                                     Scotts Valley, CA 95066


2.191.    State what the contract or        Advertising
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Peake Marketing LLC
          List the contract number of any                               211 Townepark Circle, Suite 200
                government contract                                     Louisville, KY 40243


2.192.    State what the contract or        Upgrade of consumer
          lease is for and the nature of    app services
          the debtor's interest                                         Pear Sports LLC
                                                                        20371 Irvine Avenue
             State the term remaining                                   Suite 120
                                                                        Newport Beach, CA 92660

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 40 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 452 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

          List the contract number of any
                government contract


2.193.    State what the contract or        Brand management
          lease is for and the nature of    services
          the debtor's interest

             State the term remaining
                                                                        PebblePost Inc
          List the contract number of any                               400 Lafayette Street, 2nd floor
                government contract                                     NY, NY 10003


2.194.    State what the contract or        Marketing agreement to
          lease is for and the nature of    sell through TRX
          the debtor's interest             channels

             State the term remaining                                   PhiTBoD LLC
                                                                        221 Bolivar Street
          List the contract number of any                               Suite 200
                government contract                                     Jefferson City, MO 65101


2.195.    State what the contract or        Senior Secured Note
          lease is for and the nature of    Agreement (TRX is the
          the debtor's interest             lender)

             State the term remaining
                                                                        Physmodo Inc
          List the contract number of any                               5151 Headquarters Dr, Suite 285
                government contract                                     Plano, TX 75024


2.196.    State what the contract or        Revolving loan
          lease is for and the nature of    agreement (TRX is the
          the debtor's interest             lender)

             State the term remaining
                                                                        Physmodo Inc
          List the contract number of any                               5151 Headquarters Dr, Suite 285
                government contract                                     Plano, TX 75024


2.197.    State what the contract or        Security agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Physmodo Inc
          List the contract number of any                               5151 Headquarters Dr, Suite 285
                government contract                                     Plano, TX 75024




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 41 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 453 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.198.    State what the contract or        Intercreditor agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Physmodo Inc
                                                                        5151 Headquarters Drive
          List the contract number of any                               Suite 285
                government contract                                     Plano, TX 75024


2.199.    State what the contract or        Software license and
          lease is for and the nature of    sales agreement
          the debtor's interest

             State the term remaining                                   Physmodo Inc
                                                                        5151 Headquarters Drive
          List the contract number of any                               Suite 285
                government contract                                     Plano, TX 75024


2.200.    State what the contract or        Addendum to
          lease is for and the nature of    International
          the debtor's interest             Distribution Agreement
                                            to provide translation
                                            services.
             State the term remaining
                                                                        Planet Fitness Italia
          List the contract number of any                               4 Liberty Ln
                government contract                                     W Hampton, NH 03842


2.201.    State what the contract or        Product purchasing
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining                                   Play It Again Sports
                                                                        2 Fairfield Blvd
          List the contract number of any                               Sutie 9
                government contract                                     Ponte Verda, FL 37082


2.202.    State what the contract or        Marketing services
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Power Digital Marketing Inc
                                                                        2251 San Diego Avenue
          List the contract number of any                               Suite A250
                government contract                                     San Diego, CA 92110


2.203.    State what the contract or        Reporting tool
          lease is for and the nature of    agreement
          the debtor's interest                                         Power My Analytics
                                                                        2497 Coolidge Avenue
             State the term remaining                                   Orlando, FL 32804

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 42 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 454 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease


          List the contract number of any
                government contract


2.204.    State what the contract or        Distributor agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Premco Associates Premium Incentive Sale
          List the contract number of any                               9889 E. Easter Ave
                government contract                                     Centennial, CA 80112


2.205.    State what the contract or        Video and photo
          lease is for and the nature of    production services
          the debtor's interest

             State the term remaining
                                                                        Preston Smith
          List the contract number of any                               3249 Gidran Dr.
                government contract                                     Fort Worth, TX 76244


2.206.    State what the contract or        TRX Distributor
          lease is for and the nature of    Agreement.
          the debtor's interest

             State the term remaining
                                                                        Professional Fitness Pvt ltd
          List the contract number of any                               C 110 (3rd Floor), Lajpat nagar 1
                government contract                                     New Delhi INDIA 00011-0024


2.207.    State what the contract or        Comprehensive Rate
          lease is for and the nature of    Package
          the debtor's interest

             State the term remaining
                                                                        Propack (Integrated Fulfillment)
          List the contract number of any                               7351 Vantage Way
                government contract                                     Delta CANADA, BC V4G 1C9




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 43 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 455 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.208.    State what the contract or        For and in
          lease is for and the nature of    consideration of
          the debtor's interest             purchases of the
                                            Supplier's products by
                                            Gopher Sport made
                                            contemporaneous with
                                            this agreement or to be
                                            made hereafter, the
                                            Supplier hereby
                                            promises and agrees to
                                            indemnify Gopher
                                            Sport.
             State the term remaining
                                                                        Prophet Corporation, DBA Gopher Sport
          List the contract number of any                               2525 Lemond Street SW
                government contract                                     Owatonna, MN 55060


2.209.    State what the contract or        International
          lease is for and the nature of    distribution agreement.
          the debtor's interest

             State the term remaining
                                                                        R-Med Orvosi Muszergyarto es Kereskedelm
          List the contract number of any                               Brasso ut 83-85, H-1112
                government contract                                     Budapest HUNGARY


2.210.    State what the contract or        Work under CFO and
          lease is for and the nature of    provide part time
          the debtor's interest             controller and
                                            accounting services
                                            and work alongside the
                                            Company's bankruptcy
                                            professionals.
             State the term remaining
                                                                        Rachel Ravins
          List the contract number of any                               1750 4th Street
                government contract                                     Hood River, OR 97031


2.211.    State what the contract or        Software services
          lease is for and the nature of    agreement for
          the debtor's interest             omnichannel
                                            commerce
                                            technologies and
                                            operation
             State the term remaining
                                                                        Radial
          List the contract number of any                               PO Box 204113
                government contract                                     Dallas, TX 75320




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 44 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 456 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.212.    State what the contract or        Marketing services
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                    Rakuten Marketing LLC
                                                                         215 Park Avenue South
          List the contract number of any                                2nd floor
                government contract                                      New York, NY 10003


2.213.    State what the contract or        Ecomm
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Recharge
          List the contract number of any                                3030 Nebraska Ave
                government contract                                      Santa Monica, CA 90404


2.214.    State what the contract or        Payment and
          lease is for and the nature of    allowances agreement
          the debtor's interest

             State the term remaining
                                                                         Recreational Equipment Inc
          List the contract number of any                                6750 S 22nd St
                government contract                                      Kent, WA 98032


2.215.    State what the contract or        Brand enforcement and
          lease is for and the nature of    protection services
          the debtor's interest             add-on

             State the term remaining                                    Red Points Solutions SL
                                                                         Carrer de Berlin 38
          List the contract number of any                                1a
                government contract                                      Barcelona SPAIN 08029


2.216.    State what the contract or        Digital
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                    Redshift (Amazon Web Cloud Service)
                                                                         16 E 34th St
          List the contract number of any                                Floor 18
                government contract                                      New York, NY 10016


2.217.    State what the contract or        Reconciliation and
          lease is for and the nature of    recovery of losses for
          the debtor's interest             inventory sent to
                                            Amazon services              Refund Sniper LLC
             State the term remaining                                    988 Allen Lane
                                                                         Woodmere, NY 11598

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 45 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 457 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

          List the contract number of any
                government contract


2.218.    State what the contract or        Teach live education
          lease is for and the nature of    courses; creation of
          the debtor's interest             training videos, written
                                            materials, or other
                                            content; virtual training
                                            sessions
             State the term remaining
                                                                        Renae McCloud
          List the contract number of any                               9445 NE Coral Ct
                government contract                                     Bainbridge Island, WA 98110


2.219.    State what the contract or        SaaS services
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   RevenueCat Inc
                                                                        633 Taraval St
          List the contract number of any                               #101
                government contract                                     San Francisco, CA


2.220.    State what the contract or        Lifestyle photoshoot
          lease is for and the nature of    talent for holiday
          the debtor's interest             campaign

             State the term remaining
                                                                        Ricky Jaime
          List the contract number of any                               1123 1/2 queen anne pl
                government contract                                     Los Angeles, CA 90019


2.221.    State what the contract or        Marketing consulting
          lease is for and the nature of    services
          the debtor's interest

             State the term remaining
                                                                        Right Side Up LLC
          List the contract number of any                               9901 Brodie Lane, Suite 160 PMB515
                government contract                                     Austin, TX 78748


2.222.    State what the contract or        Consulting services
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Robert Lively & Elite536 LLC
          List the contract number of any                               994 Nightingale Place
                government contract                                     Vass, NC 28394



Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 46 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                             Main Document    Page 458 of 494                                                  7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                     Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.223.    State what the contract or        Support talent at elite
          lease is for and the nature of    photoshoot services
          the debtor's interest

             State the term remaining
                                                                          Robert McCullough
          List the contract number of any                                 439 Lake Street
                government contract                                       Huntington Beach, CA 92648


2.224.    State what the contract or        Copywriting services
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          Robyn Hagan Cain
          List the contract number of any                                 1121 N. 2nd Street
                government contract                                       Nashville, TN 37207


2.225.    State what the contract or        Promotion and prudct
          lease is for and the nature of    sales agreement
          the debtor's interest

             State the term remaining
                                                                          Rock Steady Boxing Inc
          List the contract number of any                                 7440 N Shadeland Ave Ste 202
                government contract                                       Indianpolis, IN 46250


2.226.    State what the contract or        Video editing,
          lease is for and the nature of    production services
          the debtor's interest

             State the term remaining                                     Ronald Schnetke
                                                                          2110 4th street
          List the contract number of any                                 unit 19
                government contract                                       Santa Monica, CA 90405


2.227.    State what the contract or        Location scouting
          lease is for and the nature of    services for golf and
          the debtor's interest             baseball photoshoot

             State the term remaining
                                                                          Russ Eddy
          List the contract number of any                                 1 Yolo Street Corte
                government contract                                       Madera, CA 94925




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                    Page 47 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                             Main Document    Page 459 of 494                                                  7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                     Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.228.    State what the contract or        Building/sending
          lease is for and the nature of    emails in support of the
          the debtor's interest             TRX e-commerce
                                            business, Klaviyo
                                            migration support, and
                                            other tasks as may be
                                            requested from
                                            time-to-time during the
                                            term of this SOW.
             State the term remaining
                                                                          Ryan Heft
          List the contract number of any                                 3600 Highway 31I
                government contract                                       Bethpage, TN 37022


2.229.    State what the contract or        Marketing services
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          ScaleItForMe LLC
          List the contract number of any                                 1031 Byerley Avenue
                government contract                                       San Jose, CA 95125


2.230.    State what the contract or        Assist consumers with
          lease is for and the nature of    product warranty
          the debtor's interest             issues and provide
                                            assistance in repair or
                                            replacements of
                                            products
             State the term remaining
                                                                          Scheels
          List the contract number of any                                 1707 Gold Drive
                government contract                                       Fargo, ND 58103


2.231.    State what the contract or        Merchant services
          lease is for and the nature of    agreement amendment
          the debtor's interest

             State the term remaining
                                                                          ShareASale.com Inc
          List the contract number of any                                 15W Hubbard St, Suite 500
                government contract                                       Chicago, IL 60654




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                    Page 48 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 460 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.232.    State what the contract or        Possibility of providing
          lease is for and the nature of    certain manufacturing
          the debtor's interest             services in connection
                                            with the patented
                                            "Suspension Trainer",
                                            and this LOI allows for
                                            TRX to evaluate the
                                            proposed costs that
                                            Shenzhen Stanford
                                            Industries Co LTD puts
                                            forth so as to
                                            determine whether
                                            initiative a formal
                                            manufacturing
                                            agreement.
             State the term remaining                                   Shenzhen Stanford Industries Co LTD
                                                                        18 Xin Tang Industrial Zone Da Kang
          List the contract number of any                               Heng Gang
                government contract                                     Shenzhen CHINA 00051-8000


2.233.    State what the contract or        Ecomm
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Shipper HQ
                                                                        15511 Hwy 71
          List the contract number of any                               Suite 110 #116
                government contract                                     Bee Cave, TX 78738


2.234.    State what the contract or        Software services
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Shogun Labs Inc
          List the contract number of any                               340 S Lemon Ave #1085
                government contract                                     Walnut, CA 91789


2.235.    State what the contract or        Marketplace retailer
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining                                   Shop PO LLC
                                                                        20 Channel Center
          List the contract number of any                               3rd floor
                government contract                                     Boston, MA 02210


2.236.    State what the contract or        Hosting, software,
          lease is for and the nature of    commerce services           Shopify Inc
          the debtor's interest                                         151 O'Connor Street
                                                                        Ground floor
             State the term remaining                                   Ottawa CANADA, ON K2P 2L8

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 49 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 461 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease


          List the contract number of any
                government contract


2.237.    State what the contract or        Web-based digital
          lease is for and the nature of    asset management
          the debtor's interest             software subscription

             State the term remaining
                                                                         Shutterstock Inc
          List the contract number of any                                1730 S. Amphlett Blvd Ste 320
                government contract                                      San Mateo, CA 94402


2.238.    State what the contract or        Commercial Sales
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Sketchup
          List the contract number of any                                4730 Walnut St
                government contract                                      Boulder, CO 80301


2.239.    State what the contract or        Software subscription
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining
                                                                         Slack Technologies Inc
          List the contract number of any                                500 Howard St
                government contract                                      San Francisco, CA 94105


2.240.    State what the contract or        Collaboration to
          lease is for and the nature of    design, develop,
          the debtor's interest             manufacture, and
                                            market new products.
             State the term remaining
                                                                         Sorine Exercise Equipment
          List the contract number of any                                4068 Fernandina Road, Suite E
                government contract                                      Columbia, SC 29212


2.241.    State what the contract or        Video editorial, sound
          lease is for and the nature of    design, audio mix,
          the debtor's interest             music selection,
                                            motion graphics.
             State the term remaining
                                                                         Spencer Saltman
          List the contract number of any                                11855 Magnolia Blvd Apt 24
                government contract                                      Valley Village, CA 91607




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 50 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 462 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.242.    State what the contract or        Spenga to sell products
          lease is for and the nature of    on behalf of TRX.
          the debtor's interest

             State the term remaining
                                                                         Spenga Holdings LLC
          List the contract number of any                                13161 W 143rd Street, Suite 103
                government contract                                      Homer Glen, IL 60491


2.243.    State what the contract or        Preferred vendor
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining                                    Spenga Holdings LLC
                                                                         13161 W 143rd Street
          List the contract number of any                                Suite 103
                government contract                                      Homer Glen, IL 60491


2.244.    State what the contract or        Consulting services
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                    Sporting Life Pty. Ltd
                                                                         Grant Twible, Principal 109B
          List the contract number of any                                Cecil Avenue
                government contract                                      Castle Hill, New South Wales 02154-0000


2.245.    State what the contract or        eCommerce agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Spreetail
          List the contract number of any                                2021 Transformation Dr, Ste 2500
                government contract                                      Lincoln, NE 68508


2.246.    State what the contract or        SprintFWD to integrate
          lease is for and the nature of    ID.me authentication
          the debtor's interest             into the TRX
                                            e-commerce store cart.
             State the term remaining
                                                                         SprintFWD LLC
          List the contract number of any                                703 Pier Ave Ste B #632
                government contract                                      Hermosa Beach, CA 90254


2.247.    State what the contract or        Marketing
          lease is for and the nature of
          the debtor's interest                                          Sprout Spocial
                                                                         131 S Dearborn St
             State the term remaining                                    Suite 700
                                                                         Chicago, IL 60603

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 51 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                             Main Document    Page 463 of 494                                                  7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                     Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

          List the contract number of any
                government contract


2.248.    State what the contract or        Customer support,
          lease is for and the nature of    training, data
          the debtor's interest             collection, validation,
                                            storage, and software
                                            updates.
             State the term remaining
                                                                          SPS Commerce Inc
          List the contract number of any                                 333 South Seventh Street Suite 1000
                government contract                                       Minneapolis, MN 55402


2.249.    State what the contract or        Supply TRX with
          lease is for and the nature of    certain equipment to be
          the debtor's interest             sold.

             State the term remaining
                                                                          Stephan Gould Corporation
          List the contract number of any                                 2150 River Plaza Drive, Suite 245
                government contract                                       Sacramento, CA


2.250.    State what the contract or        TRX to supply Stretch
          lease is for and the nature of    Labs Franchise LLC
          the debtor's interest             with TRX MAPS units.

             State the term remaining
                                                                          Stretch Labs Franchise LLC
          List the contract number of any                                 1660 Pacific Avenue
                government contract                                       San Francisco, CA 94109


2.251.    State what the contract or        Ecomm
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          Stripe
          List the contract number of any                                 345 Oyster Point Blvd
                government contract                                       South San Francisco, CA 94080


2.252.    State what the contract or        TRX to provide certain
          lease is for and the nature of    Club 4 Suspension
          the debtor's interest             Trainers in
                                            consideration for
                                            certain services to be
                                            provided by SM to TRX
                                            employees.
             State the term remaining
                                                                          Studio Mix
          List the contract number of any                                 1000 Van Ness Ave, 3rd Floor
                government contract                                       San Francisco, CA 94109

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                    Page 52 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 464 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease



2.253.    State what the contract or        Delivery and handling
          lease is for and the nature of    of inventory.
          the debtor's interest

             State the term remaining
                                                                        Sunrise Nationwide USA Inc
          List the contract number of any                               12400 Philadelphia St.
                government contract                                     Eastvale, CA 91752


2.254.    State what the contract or        Marketing
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Survey Monkey
          List the contract number of any                               One Curiosity Way
                government contract                                     San Mateo, CA 94403


2.255.    State what the contract or        Onsite desktop
          lease is for and the nature of    engineer
          the debtor's interest

             State the term remaining
                                                                        Synoptek LLC
          List the contract number of any                               19520 Jamboree Road #110
                government contract                                     Irvine, CA 92612


2.256.    State what the contract or        IT advisory services,
          lease is for and the nature of    end-user services,
          the debtor's interest             security management.

             State the term remaining
                                                                        Synoptek LLC
          List the contract number of any                               19520 Jamboree Road #110
                government contract                                     Irvine, CA 92612


2.257.    State what the contract or        Paid media and
          lease is for and the nature of    analytics services
          the debtor's interest

             State the term remaining
                                                                        Syzygy Digital Marketing Inc
          List the contract number of any                               41 Flatbush Avenue
                government contract                                     Brooklyn, NY 11217


2.258.    State what the contract or        Advertising
          lease is for and the nature of                                Taboola Inc
          the debtor's interest                                         1115 Broadway 7th Floor
                                                                        NY, NY 10010
Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 53 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 465 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

             State the term remaining

          List the contract number of any
                government contract


2.259.    State what the contract or        Trademark License
          lease is for and the nature of    Agreement.
          the debtor's interest

             State the term remaining
                                                                        TAG Fitness LLC
          List the contract number of any                               320 Charles Court
                government contract                                     West Chicago, IL 60185


2.260.    State what the contract or        Merchant agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Tam(squared) Inc
          List the contract number of any                               353 Sacramento St.
                government contract                                     San Francisco, CA 94111


2.261.    State what the contract or        Distribution Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Techno Sport Condition SLU
          List the contract number of any                               C/Plastic 1 - Poligono Les Guixeres
                government contract                                     Badalona SPAIN 08915


2.262.    State what the contract or        Distribution Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Techno Sport Condition SLU
          List the contract number of any                               C/Plastic 1 - Poligono Les Guixeres
                government contract                                     Badalona SPAIN 08915


2.263.    State what the contract or        Marketing services
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        The Brand Amp
          List the contract number of any                               1945 Placentia Ave, Bldg C
                government contract                                     Costa Mesa, CA 92627



Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 54 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 466 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.264.    State what the contract or        Customs power of
          lease is for and the nature of    attorney agreement
          the debtor's interest

             State the term remaining
                                                                        Tigers (USA) Global Logistics Limited
          List the contract number of any                               Dept CH 19499
                government contract                                     Palatine, IL 60055


2.265.    State what the contract or        Consulting services
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining
                                                                        Tina Mai Consulting LLC
          List the contract number of any                               542 N. Civic Dr, Apt A
                government contract                                     Walnut Creek, CA 94597


2.266.    State what the contract or        warehouse agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        TMA
          List the contract number of any                               1900 Burgundy Place
                government contract                                     Ontario, CA 91761


2.267.    State what the contract or        Consulting services
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining
                                                                        Todd Tankersley Photography
          List the contract number of any                               315 South Van Ness Avenue
                government contract                                     San Francisco, CA 94103


2.268.    State what the contract or        Sales consulting
          lease is for and the nature of    services
          the debtor's interest

             State the term remaining
                                                                        Tony Erlick
          List the contract number of any                               2127 Red Oak Place
                government contract                                     Danville, CA 94506


2.269.    State what the contract or        Technology agreement
          lease is for and the nature of
          the debtor's interest                                         Trimble
                                                                        935 Stewart Drive
             State the term remaining                                   PO Box 3642
                                                                        Sunnyvale, CA 94085

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 55 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                             Main Document    Page 467 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                    Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

          List the contract number of any
                government contract


2.270.    State what the contract or        Reseller agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Trove Brands LLC
          List the contract number of any                               250 South 850 East
                government contract                                     Lehi, UT


2.271.    State what the contract or        Co-marketing
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining
                                                                        Truecoach Inc
          List the contract number of any                               1825 33rd St.
                government contract                                     Boulder, CO 80301


2.272.    State what the contract or        Distribution rights
          lease is for and the nature of    upon sale of entities
          the debtor's interest

             State the term remaining
                                                                        TRX HoldCo LLC / TRXperience LLC
          List the contract number of any                               1660 Pacific Avenue
                government contract                                     San Francisco, CA 94109


2.273.    State what the contract or        Amended and restated
          lease is for and the nature of    IP License Agreement
          the debtor's interest

             State the term remaining
                                                                        TRX Holdco LLC, TRXperience LLC
          List the contract number of any                               1660 Pacific Avenue
                government contract                                     San Francisco, CA 94109


2.274.    State what the contract or        Management
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining                                   TRX Holdco, LLC
                                                                        450 Newport Center Drive
          List the contract number of any                               Suite 590
                government contract                                     Newport Beach, CA 92660




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                   Page 56 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                            Desc
                                             Main Document    Page 468 of 494                                                  7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                     Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                            State the name and mailing address for all other parties with
                                                                      whom the debtor has an executory contract or unexpired
                                                                      lease

2.275.    State what the contract or        Commercial Partner
          lease is for and the nature of    Product Sales
          the debtor's interest             Agreement

             State the term remaining
                                                                          UG Franchise Operations LLC
          List the contract number of any                                 1501 Quail Street, Suite 100
                government contract                                       Newport Beach, CA 92660


2.276.    State what the contract or        Equipment Finance
          lease is for and the nature of    Agreement - Guaranty
          the debtor's interest

             State the term remaining
                                                                          ULI Canada Inc
          List the contract number of any                                 3700 Morgan Avenue
                government contract                                       Evansville, IN 47715


2.277.    State what the contract or        Carrier Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                          United Parcel Services
          List the contract number of any                                 4300E 68th St
                government contract                                       Cleveland, OH


2.278.    State what the contract or        Provision of
          lease is for and the nature of    warehousing, storage,
          the debtor's interest             handling, delivery, and
                                            related services
             State the term remaining
                                                                          USA Global Logistics/FreightHawk Xpress
          List the contract number of any                                 2095 S Archibald Ave, Suite 200
                government contract                                       Ontario, CA 91761


2.279.    State what the contract or        Master services
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining
                                                                          Venngo Inc
          List the contract number of any                                 155 Rexdale Boulevard, Suite 207
                government contract                                       Toronto CANADA, ON M9W 5Z8


2.280.    State what the contract or        EDU/ECOMM
          lease is for and the nature of
          the debtor's interest
                                                                          Vimeo
             State the term remaining                                     555 West 18th Street
                                                                          New York, NY 10011

Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                    Page 57 of 59
         Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                             Main Document    Page 469 of 494                                                   7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                      Case number (if known)   8:22-bk-10949-SC
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                             State the name and mailing address for all other parties with
                                                                       whom the debtor has an executory contract or unexpired
                                                                       lease

          List the contract number of any
                government contract


2.281.    State what the contract or        Creative Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                           Vinicio Vela
          List the contract number of any                                  5216 Blue Sky Ct.
                government contract                                        Antioch, CA 94531


2.282.    State what the contract or        Consulting services
          lease is for and the nature of    agreement
          the debtor's interest

             State the term remaining
                                                                           ViV Mgmt LLC
          List the contract number of any                                  6267 Doyle Street
                government contract                                        Emeryville, CA 94608


2.283.    State what the contract or        Commercial Sales
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                      Vray
                                                                           8500 Stellar Dr
          List the contract number of any                                  Unit 8A
                government contract                                        Culver City, CA 90232


2.284.    State what the contract or        Exclusive License
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                           XD Fit LLC
          List the contract number of any                                  4680 Parkway Drive, Suite 300
                government contract                                        Mason, OH 45040


2.285.    State what the contract or        ID verification services
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                           Youth Discount
          List the contract number of any                                  59-61 Charlotte Street
                government contract                                        Birmingham UK B31PX




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                     Page 58 of 59
          Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                           Desc
                                              Main Document    Page 470 of 494                                                 7/06/22 4:30PM

Debtor 1 Fitness Anywhere LLC                                                     Case number (if known)   8:22-bk-10949-SC
           First Name         Middle Name          Last Name



          Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.286.     State what the contract or        Marketing
           lease is for and the nature of
           the debtor's interest

              State the term remaining
                                                                         Zapier
           List the contract number of any                               548 Market St #62411
                 government contract                                     San Francisco, CA 94101




         *Please take notice that the inclusion herein of any listed agreement shall not be deemed to constitute an admission by
         the Debtor that such agreement is an executory contract, contract, unexpired lease, or lease. The Debtor is
         investigating the nature of all of its agreements and reserves all of its rights, including its right to contest the validity
         and/or nature of any agreement listed in this Schedule.




Official Form 206G                     Schedule G: Executory Contracts and Unexpired Leases                                   Page 59 of 59
         Case 8:22-bk-10949-SC                    Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                    Desc
                                                 Main Document    Page 471 of 494                                                             7/06/22 4:30PM


Fill in this information to identify the case:

Debtor name      Fitness Anywhere LLC

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA

Case number (if known)   8:22-bk-10949-SC
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    Fitness                     1990 N. California Blvd                                  Woodforest National             D       2.1
          Anywhere                    Suite 20 PMB 1058,                                       Bank                             E/F
          International,              Walnut Creek, CA 94596
                                                                                                                               G
          LLC                         Fitness Anywhere International, LLC,
                                      TRXperience, LLC and TRX Holdco, LLC
                                      are guarantors of the debt owed by
                                      Fitness Anywhere, LLC to Woodforest
                                      National Bank




   2.2    TRX Holdco, LLC             450 Newport Center Drive                                 Woodforest National             D       2.1
                                      Suite 590                                                Bank                             E/F
                                      Newport Beach, CA 92660
                                                                                                                               G
                                      Fitness Anywhere International, LLC,
                                      TRXperience, LLC and TRX Holdco, LLC
                                      are guarantors of the debt owed by
                                      Fitness Anywhere, LLC to Woodforest
                                      National Bank




   2.3    TRXperience,                450 Newport Center Drive                                 Woodforest National             D       2.1
          LLC                         Suite 590                                                Bank                             E/F
                                      Newport Beach, CA 92660
                                                                                                                               G
                                      Fitness Anywhere International, LLC,
                                      TRXperience, LLC and TRX Holdco, LLC
                                      are guarantors of the debt owed by
                                      Fitness Anywhere, LLC to Woodforest
                                      National Bank




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 1
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                       Desc
                                                  Main Document    Page 472 of 494                                                             7/06/22 4:30PM




Fill in this information to identify the case:

Debtor name         Fitness Anywhere LLC

United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA

Case number (if known)    8:22-bk-10949-SC
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                            $20,059,594.00
      From 1/01/2022 to Filing Date
                                                                                       Other


      For prior year:                                                                  Operating a business                            $59,224,390.00
      From 1/01/2021 to 12/31/2021
                                                                                       Other


      For year before that:                                                            Operating a business                            $83,713,409.00
      From 1/01/2020 to 12/31/2020
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
Case 8:22-bk-10949-SC    Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06   Desc
                        Main Document    Page 473 of 494
             Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                      Desc
                                                 Main Document    Page 474 of 494                                                         7/06/22 4:30PM

Debtor       Fitness Anywhere LLC                                                              Case number (if known) 8:22-bk-10949-SC



              Case title                             Nature of case               Court or agency's name and          Status of case
              Case number                                                         address
      7.1.    The Arena Platform f/k/a               Arena seeking                Supreme Court of the State             Pending
              Maven Coalition (Plaintiff) v          $1.6 million under           of NY                                On appeal
              Fitness Anywhere LLC d/b/a             Joint Marketing              60 Centre St
                                                                                                                       Concluded
              TRX (Defendant)                        Agreement. TRX               New York, NY 10007
              656570/2022                            had paid first
                                                     $400K installment
                                                     in June 2020 and
                                                     refused to pay
                                                     balance due to
                                                     TRX view that
                                                     plaintiff had not
                                                     performed as
                                                     required under the
                                                     agreement.

      7.2.    Nossk, Inc. (Plaintiff). v.            Former owners of             USDC, Northern District of             Pending
              Fitness Anywhere LLC                   Woss (TRX                    California                           On appeal
              (Defendant); Fitness                   successfully                 280 South 1st Street
                                                                                                                       Concluded
              Anywhere LLC                           enforced prior               San Jose, CA 95113
              (Counter-Plaintiff) v. Nossk,          patents against
              Inc. (Counter-Defendant);              them and won
              Fitness Anywhere LLC                   $14M judgment,
              (Third-Party Plaintiff) v.             and they declared
              Wonoda, Inc., Mr. Wolfgang             BK) filed a case in
              Ott and Ms. Nadia Ott                  November 2021
              (Third-Party Defendants)               for declaratory
              Case No. 5:21-cv-08914-BLF             judgment because
                                                     TRX, using
                                                     appropriate
                                                     enforcement
                                                     measures,
                                                     reported
                                                     infringing
                                                     products that
                                                     Nossk was selling
                                                     on Amazon, and
                                                     Amazon took
                                                     down the Nossk
                                                     product listings
                                                     based on valid
                                                     TRX patents. TRX
                                                     has
                                                     counterclaimed
                                                     and is seeking
                                                     damages from
                                                     the owners for
                                                     piercing the
                                                     corporate veil on
                                                     fraudulent
                                                     conveyance
                                                     theory

      7.3.    Fitness Anywhere LLC                   TRX Design                   USDC, North District of              Pending
              (Plaintiff) vs. Charmante              Patent                       Illinois                             On appeal
              Store, et al. (Defendants)             contingency                  219 South Dearborn Street              Concluded
              Case No: 21-cv-6476                    lawsuit                      Chicago, IL 60604




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 3
             Case 8:22-bk-10949-SC                 Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                          Desc
                                                  Main Document    Page 475 of 494                                                              7/06/22 4:30PM

Debtor       Fitness Anywhere LLC                                                              Case number (if known) 8:22-bk-10949-SC



              Case title                              Nature of case              Court or agency's name and               Status of case
              Case number                                                         address
      7.4.    Michael Geis and Rebecca                Personal injury             Superior Court of New                       Pending
              Geis (H/W Plaintiffs) vs.               suit. Alleging              Jersey                                    On appeal
              Fitness Anywhere LLC d/b/a              head injury after           101 South 5th Street
                                                                                                                            Concluded
              TRX; Dick's Sporting Goods,             falling while using         Camden, NJ 08103
              LLC and John Does 1-50                  TRX in June 2020
              (Defendants)                            - claimed buckle
              CAM-L-003046-21                         broke.

      7.5.    Phil Mahony (Plaintiff) v.              Personal injury.            Circuit Court, Madison                      Pending
              Fitness Anywhere LLC,                   Alleging internal           County, Illinois                          On appeal
              Functional Fitness Images,              and external                155 N. Main Street
                                                                                                                            Concluded
              Chad Campbell, and Any                  injuries after              Edwardsville, IL 62025
              Unknown Owners                          falling while using
              (Defendants)                            TRX in March
              Case No. 21-L-2021L 000981              2020

      7.6.    Christen Seibold (Plaintiff) v.         Personal Injury.            Superior Court of CA                        Pending
              Fitness Anywhere, Inc.;                 Alleging injury             County of LA                              On appeal
              Fitness Anywhere LLC dba                from a "TRX                 312 N Spring St,
                                                                                                                            Concluded
              TRX Training (Defendants)               product"                    Los Angeles, CA 90012
              Case Number 22STCV15402

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
              Recipient's name and address            Description of the gifts or contributions                 Dates given                          Value

      9.1.    NAACP                                   Cash
              40 Rector Street
              5th LF
              New York, NY 10006                                                                                6/4/2020                      $25,000.00

              Recipients relationship to debtor
              N/A


      9.2.    Boulder Crest                           Cash
              33735 Snickersville Turnpike
              PO Box 117
              Bluemont, VA 20135                                                                                6/4/2020                      $25,000.00

              Recipients relationship to debtor
              N/A




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
             Case 8:22-bk-10949-SC                 Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                       Desc
                                                  Main Document    Page 476 of 494                                                              7/06/22 4:30PM

Debtor        Fitness Anywhere LLC                                                               Case number (if known) 8:22-bk-10949-SC



              Recipient's name and address            Description of the gifts or contributions                 Dates given                          Value

      9.3.    Special Operations Warrior              Cash
              Foundation
              1137 Marbella Plaza Dr
              Tampa, FL 33619                                                                                   6/1/2021                      $14,959.52

              Recipients relationship to debtor
              N/A


      9.4.    Team Red, White and Blue                Cash
              198 14th Street Northwest
              Atlanta, GA 30318                                                                                 2/23/2022                      $5,675.86

              Recipients relationship to debtor
              N/A


      9.5.    Team Red, White and Blue                Cash
              198 14th Street Northwest
              Atlanta, GA 30318                                                                                 2/23/2022                     $10,000.00

              Recipients relationship to debtor
              N/A


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and            Amount of payments received for the loss                  Dates of loss           Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
               Who was paid or who received             If not money, describe any property transferred               Dates              Total amount or
               the transfer?                                                                                                                      value
               Address
      11.1.    Levene Neale Bender Yoo &
               Golubchik LLP
               2818 La Cienega Avenue
               Los Angeles, CA 90034                                                                                  6/1/2022                $30,000.00

               Email or website address
               www.lnbyg.com

               Who made the payment, if not debtor?




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 5
           Case 8:22-bk-10949-SC                 Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                   Desc
                                                Main Document    Page 477 of 494                                                         7/06/22 4:30PM

Debtor        Fitness Anywhere LLC                                                            Case number (if known) 8:22-bk-10949-SC



               Who was paid or who received            If not money, describe any property transferred               Dates         Total amount or
               the transfer?                                                                                                                value
               Address
      11.2.    Levene Neale Bender Yoo &
               Golubchik LLLP
               2818 La Cienega Avenue
               Los Angeles, CA 90034                                                                                 5/31/2022          $10,000.00

               Email or website address
               www.lnbyg.com

               Who made the payment, if not debtor?




      11.3.    Levene Neale Bender Yoo &
               Golubchik LLP
               2818 La Cienega Avenue
               Los Angeles, CA 90034                                                                                 5/23/2022          $10,000.00

               Email or website address
               www.lnbyg.com

               Who made the payment, if not debtor?




      11.4.    Integrity Square LLC
               72 Madison Ave
               11th Floor
               New York, NY 10016                                                                                    1/31/2022          $35,000.00

               Email or website address


               Who made the payment, if not debtor?




      11.5.    Integrity Square LLC
               72 Madison Ave
               11th Floor
               New York, NY 10016                                                                                    3/1/2022           $11,767.00

               Email or website address


               Who made the payment, if not debtor?




      11.6.    Kroll Securities LLC
               55E 52nd Street
               17th Floor
               New York, NY 10022                                                                                    6/1/2022           $25,000.00

               Email or website address


               Who made the payment, if not debtor?




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 6
           Case 8:22-bk-10949-SC                    Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                         Desc
                                                   Main Document    Page 478 of 494                                                                7/06/22 4:30PM

Debtor        Fitness Anywhere LLC                                                              Case number (if known) 8:22-bk-10949-SC



               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.7.    Kroll Securities LLC
               55E 52nd Street
               17th Floor
               New York, NY 10022                                                                                      6/2/2022                 $75,000.00

               Email or website address


               Who made the payment, if not debtor?




      11.8.    Kroll Securities LLC
               55E 52nd Street
               17th Floor
               New York, NY 10022                                                                                      3/23/2022                $25,000.00

               Email or website address


               Who made the payment, if not debtor?




      11.9.    Levene Neale Bender Yoo &
               Golubchik LLP
               2818 La Cienega Avenue
               Los Angeles, CA 90034                                                                                   6/2/2022                 $60,000.00

               Email or website address
               www.lnbyg.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 7
           Case 8:22-bk-10949-SC                     Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                       Desc
                                                    Main Document    Page 479 of 494                                                             7/06/22 4:30PM

Debtor        Fitness Anywhere LLC                                                              Case number (if known) 8:22-bk-10949-SC




      Does not apply
                Address                                                                                            Dates of occupancy
                                                                                                                   From-To
      14.1.     1660 Pacific Avenue                                                                                9/8/2007 to 9/30/2020
                San Francisco, CA 94109

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
      Yes. Fill in the information below.

                Facility name and address              Nature of the business operation, including type of services            If debtor provides meals
                                                       the debtor provides                                                     and housing, number of
                                                                                                                               patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

      No.
          Yes. State the nature of the information collected and retained.

                 Name, location, email, personalized username and password, an
                 image or avatar, achievements, milestones or other indications, the
                 total number of classes taken, the dates and which classes taken, a
                 customer's followers and who the customer follows, and a limited
                 amount of fitness, physical activity, and health-related information.
                 Does the debtor have a privacy policy about that information?
                  No
                  Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

      No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
                     No Go to Part 10.
                     Yes. Fill in below:
Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
                Financial Institution name and         Last 4 digits of           Type of account or          Date account was               Last balance
                Address                                account number             instrument                  closed, sold,              before closing or
                                                                                                              moved, or                           transfer
                                                                                                              transferred

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 8
           Case 8:22-bk-10949-SC                     Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                           Desc
                                                    Main Document    Page 480 of 494                                                                  7/06/22 4:30PM

Debtor      Fitness Anywhere LLC                                                                 Case number (if known) 8:22-bk-10949-SC



19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      Cedar Avenue Five, LLC                                 Kevin Leonard                         Inventory, marketing assets                  No
      1477 E. Cedar, Unit A                                                                                                                     Yes
      Ontario, CA 91761

      Extra Space Storage                                    Glenna Bongcaron                      Marketing storage                            No
      3406 Hollis Street                                                                                                                        Yes
      Emeryville, CA 94608

      CSI Mini Storage                                       Glenna Bongcaron                      Corporate storage                            No
      855 Parr Blvd. #3                                                                                                                         Yes
      Richmond, CA 94801

      Cube Smart Self Storage                                Jon Hendel                            IT Hardware storage                          No
      20485 El Toro Rd                                                                                                                          Yes
      Mission Viejo, CA 92692

      Cedar Avenue Five LLC                                  Kevin Leonard                         Inventory, marketing assets                  No
      1477 E. Cedar, Unit B                                                                                                                     Yes
      Ontario, CA 91761

      CYXTERA Data Center                                    Jon Heinhel/Matt Hale                 Datacenter Storage                           No
      17836 Gillette Ave                                                                                                                        Yes
      Irvine, CA 92614

      Costa Mesa Moving                                      Grayce Penn                           TTC Equipment Storage                        No
      2614 S Oak Street                                                                                                                         Yes
      Santa Ana, CA 92707

      Extra Storage                                          Gelnna Bongcaron                      Marketing and Corporate                      No
      3480 Tennesse Street                                                                         Storage                                      Yes
      Vallejo, CA 94591

      USA Global                                             John Benson                           Warehouse Storage                            No
      2095 S. Archibald Ave                                                                                                                     Yes
      Suite 200
      Ontario, CA 91761

      TMA                                                    John Benson                           Warehouse Storage                            No
      1900 Burgundy Place                                                                                                                       Yes
      Ontario, CA 91761



Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 9
           Case 8:22-bk-10949-SC                    Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                             Desc
                                                   Main Document    Page 481 of 494                                                                     7/06/22 4:30PM

Debtor      Fitness Anywhere LLC                                                                Case number (if known) 8:22-bk-10949-SC



      Facility name and address                             Names of anyone with                  Description of the contents                   Does debtor
                                                            access to it                                                                        still have it?
      Sunrise Nationwide                                    John Benson                           Warehouse Storage                              No
      12400 E Philadelphia St.                                                                                                                   Yes
      Eastvale, CA 91752



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or descr bes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 10
           Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                              Desc
                                                  Main Document    Page 482 of 494                                                                      7/06/22 4:30PM

Debtor      Fitness Anywhere LLC                                                                Case number (if known) 8:22-bk-10949-SC



   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.1.                                             Holding company                                   EIN:
            Fitness Anywhere                                                                                        None
            International, LLC
            450 Newport Center Drive                                                                   From-To      1/21/2011 to present
            Suite 590
            Newport Beach, CA 92660

   25.2.                                             SBI-code: 6420 - Financial                        EIN:
            Fitness Anywhere Europe                                                                                 RSIN 850222278
            Coöperatief U.A.                         holdings
            Hoogoorddreef 15                                                                           From-To      1/10/2011 to present
            1101BA Amsterdam

   25.3.                                             Sales of fitness products and                     EIN:
            Fitness Anywhere UK Limited                                                                             Company No. 08138295
            c/o TMF Group                            services
            8th Floor, 20 Farringdon                                                                   From-To      7/11/2012 to present
            Street
            London, UK EC4A $AB

   25.4.                                             Sales of fitness products and                     EIN:
            TRX Training Japan Co. Ltd.                                                                             Company No. 0104-01-095320
            Takaden Aoyama Bldg.                     services
            1F, 2-7-8 Shibuya                                                                          From-To      8/10/2011 to present
            Shibuya-ku Tokyo


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Elliott Davis                                                                                                      2019 - 2020
                    355 South Main Street
                    Greenville, SC 29601
      26a.2.        Moss Adams                                                                                                         2021
                    Fox Tower
                    805 SW Broadway
                    Portland, OR 97206
      26a.3.        Camp 6                                                                                                             2019 - 2022
                    340 S. Lemon Ave
                    #5446N
                    Walnut, CA 91789
      26a.4.        iSupport                                                                                                           2020 - 2022
                    1019 West James Street
                    Kent, WA 98032
      26a.5.        Rachel Ravins                                                                                                      2022
                    1750 4th Street
                    Hood River, OR 97031
      26a.6.        Baker Tilly                                                                                                        2019 - 2022
                    18500 Von Karman Ave
                    10th Floor
                    Irvine, CA 92612

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 11
           Case 8:22-bk-10949-SC                    Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                         Desc
                                                   Main Document    Page 483 of 494                                                                7/06/22 4:30PM

Debtor      Fitness Anywhere LLC                                                                Case number (if known) 8:22-bk-10949-SC




           None
      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.1.        Elliott Davis                                                                                                   2019 - 2020
                    355 South Main Street
                    Greenville, SC 29601
      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.2.        Moss Adams                                                                                                      2021
                    Fox Tower
                    805 SW Broadway
                    Santa Ana, CA 92706

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Camp 6
                    340 S. Lemon Ave
                    #5546N
                    Walnut, CA 91789
      26c.2.        iSupport
                    1019 West James St.
                    Kent, WA 98032
      26c.3.        Rachel Ravins
                    1750 4th Street
                    Hood River, OR 97031
      26c.4.        Equity 38, LLC
                    450 Newport Center Drive
                    Suite 590
                    Newport Beach, CA 92660

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address
      26d.1.  Woodforest National Bank
                    Attn: David A. Macdonald
                    1330 Lake Robbins Drive, Suite 500
                    The Woodlands, TX 77380
      26d.2.        Stephen Gould
                    35 South Jefferson Road
                    Whippany, NJ 07981

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

      No
          Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 12
           Case 8:22-bk-10949-SC                Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                      Desc
                                               Main Document    Page 484 of 494                                                            7/06/22 4:30PM

Debtor      Fitness Anywhere LLC                                                             Case number (if known) 8:22-bk-10949-SC



             Name of the person who supervised the taking of the                 Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                    or other basis) of each inventory
      27.1 John Benson
      .                                                                          December 2019            $5,500,000, landed cost

             Name and address of the person who has possession of
             inventory records
             John Benson
             1477 E. Cedar Street
             Unit A&B
             Ontario, CA 91761


      27.2 John Benson
      .                                                                          December 2020            $10,000,000, landed cost

             Name and address of the person who has possession of
             inventory records
             John Benson
             1477 E. Cedar Street
             Unit A&B
             Ontario, CA 91761


      27.3 John Benson
      .                                                                          December 2021            $7,500,000, landed cost

             Name and address of the person who has possession of
             inventory records
             John Benson
             1477 E. Cedar Street
             Unit A&B
             Ontario, CA 91761


      27.4 John Benson
      .                                                                          December 2021            $1,750,000, landed cost

             Name and address of the person who has possession of
             inventory records
             John Benson
             2095 S. Archibald Ave
             Suite 200
             Ontario, CA 91761


      27.5 John Benson
      .                                                                          December 2021            $1,500,000, landed cost

             Name and address of the person who has possession of
             inventory records
             John Benson
             1900 Burgundy Pl
             Ontario, CA 91761


      27.6 John Benson
      .                                                                          December 2021            $1,250,000, landed cost

             Name and address of the person who has possession of
             inventory records
             John Benson
             12400 E. Philadelphia St.
             Mira Loma, CA 91752



Official Form 207                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 13
           Case 8:22-bk-10949-SC               Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                   Desc
                                              Main Document    Page 485 of 494                                                         7/06/22 4:30PM

Debtor      Fitness Anywhere LLC                                                            Case number (if known) 8:22-bk-10949-SC



28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                               Address                                              Position and nature of any         % of interest, if
                                                                                              interest                           any
      Brent Leffel                       450 Newport Center Drive                             Member of Board of
                                         Suite 590                                            Managers, Chairman, 50%
                                         Newport Beach, CA 92660                              owner of Equity38, LLC
      Name                               Address                                              Position and nature of any         % of interest, if
                                                                                              interest                           any
      C. David Cox                       450 Newport Center Drive                             Member of Board of
                                         Suite 590                                            Managers, 50% owner of
                                         Newport Beach, CA 92660                              Equity 38, LLC
      Name                               Address                                              Position and nature of any         % of interest, if
                                                                                              interest                           any
      Jurgen Pauquet                     1155 S. Grand Ave                                    Chief Executive Officer
                                         Apt. 1216
                                         Los Angeles, CA 90015
      Name                               Address                                              Position and nature of any         % of interest, if
                                                                                              interest                           any
      Mark Reis                          4349 NE Gilsan Street                                Chief Financial Officer
                                         Portland, OR 97213

      Name                               Address                                              Position and nature of any         % of interest, if
                                                                                              interest                           any
      Michael Zuercher                   4105 Via Largavista                                  Secretary
                                         Palos Verdes Peninsula, CA 90274

      Name                               Address                                              Position and nature of any         % of interest, if
                                                                                              interest                           any
      TRX Holdco, LLC                    450 Newport Center Drive                             Controlling Unitholder
                                         Suite 590
                                         Newport Beach, CA 92660


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      No
          Yes. Identify below.

      Name                               Address                                              Position and nature of any    Period during which
                                                                                              interest                      position or interest
                                                                                                                            was held
      Thomas Davin                       9 Cherry Hills Lane                                  Member of Board of            October 7, 2020
                                         Newport Beach, CA 92660                              Managers                      through June 18,
                                                                                                                            2021
      Name                               Address                                              Position and nature of any    Period during which
                                                                                              interest                      position or interest
                                                                                                                            was held
      Randal Hetrick                     269 Cleveland Avenue                                 Member of Board of            January 21, 2011
                                         Mill Valley, CA 94941                                Managers                      through June 1,
                                                                                                                            2022
      Name                               Address                                              Position and nature of any    Period during which
                                                                                              interest                      position or interest
                                                                                                                            was held
      Jerry Hunter                       508 Upland Road                                      Member of Board of            April 11, 2011
                                         Medina, WA 98039                                     Managers                      through
                                                                                                                            December 31,
                                                                                                                            2021

30. Payments, distributions, or withdrawals credited or given to insiders
Official Form 207                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 14
              Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                      Desc
                                                     Main Document    Page 486 of 494                                                             

 "73YORp                                                                            2X7pK^J37Rp -:   %M



      ,AY?BLppe72Qp379OQ7p;GAK>pY?CXp42X7p6A6pZ?7p673YORpPROaB67p2LpBLXB67RpcY?pa2G^7pBKp2Lep9OTJpBK4G_6BK>p X2G2SepOY?7Qp4OJP7LX2YBOLp6R2bXp3OL^X7Xp
      GO2KXp4R76BYXpOKpHO2KXpXYO4FpR767JPYBOKXp2L6pOPYBOLXp7d7R4BX76p

             
             -7X p %67KYD=p37GOb p

                !,=1M,>0M,00C1FFM@3MC1/8B81>GM           =@H?GM@3M=@>1KM@CM01F/C8BG8@>M,>0M I,;H1M@3M             ,G1FM             $1,F@>M3@CM
                                                         BC@B1CGKM                                                                    BC@I908>4MG61MI,;H1M
          M %22M "AMM


                $1;,G8@>F69BMG@M01.G@CM




 '9G68>MMK1,CFM.13@C1M39;9?4MG68FM/,F1M6,FMG71M01.G@DM.11>M,M=1=.1CM@3M,?KM/@?F@;90,G10M4D@HBM3@CMG,JMBHCB@F1F

             
       #p -7X p %67KYD=p37GOb p

     !,=1M@3M G71MB,C1?GM/@CB@C,G8@>M                                                                   =B<@K1CM 01>G838/,G9@>M>H=.1CM@3MG61MB,C1?GM
                                                                                                        /@CB@C,G9@>M

 p'9G68>MpK1,DFM.13@C1M39;9>4MG68FM/,F1M6,FMG71M01.G@DM,FM,>M1=B;@K1DM.11?MD1FB@>F9.<1M3@CM/@?GD8.HG9>4MG@M,MB1>F9@>M3H>0M

             
       #p -7X p %67KYD=p37GOb p

     !,=1M@3M G71MB1>F8@?M 3H>0M                                                                        =B<@K1CM 01>G838/,G9@>M>H=.1CM@3MG61MB1>F8@>M
                                                                                                        3H>0M

L&85>,GHE1M,>0M1/;,C,G8@>M
       '$! !M 2LFS_PY5p:R2^6pBXp2pX7SBO^Xp4TEJ7 p '2FBK>p2p92GX7pXZ2Y7J7KYp4OK472GBK>pPROP7WepOQpO3Y2BKBK>pJOL7epORpPQOP7U]ep3ep<2_6pBLp
       4OKK74YCOKpbBY?p2p32KFR^P[4ep42X7p42KpR7X^GYpALp;K7Xp^PpYOppORpBJPRAXOKJ7LYp9ORp^PpYOppe72QXpORp3OY?p
       p+*!pggpppp2K6pp

       %p?2a7p7d2JBK76pY?7pBL9OSJ2YBOKpBKpY?AXp         2K6p2Lep2YY24?J7KYXp2K6p?2a7p2pR72XOK23G7p37GA7:pY?2YpY?7pAL9OTJ2YDOLpBXpYS^7p
       2K6p4OV84\ p

       %p674G2R7p^K67RpP7K2GYepO9pP7h^TepY?2YpY@7p9OR7>ODK>pBXpYR_7p2L6p4ORR74Y p

$d74^Y76pOKp          .&0`/Ifijp( ()******M
                                         M     +M

                                                      0              1111111111111p 0p
                                                                         n 6oK2J07p
                                                                 k(lMmNY7
 *B>K2Y^Q7pO9pBK6AaB6_2Gp XB>KAL>pOKp37?2H:pO9p[?7p673\ORp

)OXBYEOKpOQpR7G2YBOLX?BPpYOp673YORp                    

C1M,009G8@?,;MB,41FMG@M          #339/8,;M@C=M M,GG,/610M
       -7X




     +! ++                             '''+"++$&+"$+ " )(&++"$+%(#'*+                                
       Case 8:22-bk-10949-SC                        Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                                       Desc
                                                   Main Document    Page 487 of 494


SOFA - EXHIBIT 3
                                                                                                                                   Reasons for
                                                                                                                                   payment or     Dates of  Total Amount or
            Creditor Name                        Address1                      Address2             City    State     Zip Country    transfer    Payments         value
3PL Central LLC               3PL Central 830 S Pacific Coast Hwy Suite 102                El Segundo      CA      90245          Technology      5/12/2022    (6,416.36)
3PL Central LLC               3PL Central 830 S Pacific Coast Hwy Suite 102                El Segundo      CA      90245          Technology       6/7/2022    (6,416.36)
Acorn Paper                   Acorn Paper Products Company PO Box 23965                    Angeles         CA      90023          Supplies        3/11/2022    (5,775.13)
Acorn Paper                   Acorn Paper Products Company PO Box 23965                    Angeles         CA      90023          Supplies        3/14/2022   (25,117.93)
Acorn Paper                   Acorn Paper Products Company PO Box 23965                    Angeles         CA      90023          Supplies        3/24/2022   (11,063.56)
Acorn Paper                   Acorn Paper Products Company PO Box 23965                    Angeles         CA      90023          Supplies         4/8/2022        (711.15)
Acorn Paper                   Acorn Paper Products Company PO Box 23965                    Angeles         CA      90023          Supplies        4/22/2022        (221.70)
Acorn Paper                   Acorn Paper Products Company PO Box 23965                    Angeles         CA      90023          Supplies        5/20/2022    (6,719.07)
                                                                              West 16th                    Ontar
ADP Canada Co.                3250 Bloor Street                               Floor        Etobicoke       io     M8X 2X9 Canada   Technology    4/27/2022    (12,675.50)
                                                                              West 16th                    Ontar
ADP Canada Co.                3250 Bloor Street                               Floor        Etobicoke       io     M8X 2X9 Canada   Technology    5/26/2022    (12,007.82)
AFCO Acceptance Corporation   750 B Street                                    Suite 2400   San Diego       CA       92101          Insurance      4/6/2022    (79,871.40)
AFCO Acceptance Corporation   750 B Street                                    Suite 2400   San Diego       CA       92101          Insurance     5/16/2022    (15,000.00)
AFCO Acceptance Corporation   750 B Street                                    Suite 2400   San Diego       CA       92101          Insurance     5/19/2022    (10,000.00)
AFCO Acceptance Corporation   750 B Street                                    Suite 2400   San Diego       CA       92101          Insurance     5/23/2022    (25,000.00)
AFCO Acceptance Corporation   750 B Street                                    Suite 2400   San Diego       CA       92101          Insurance     5/25/2022    (26,068.01)
Ami McMullen                  3039 Bon Air Ave None                                        Louisville      KY       40205          Contractor    5/12/2022     (1,150.00)
Anthony S. Erlick             2127 Red Oak Place                                           Danville        CA       94506          Contractor    3/11/2022     (7,000.00)
Anthony S. Erlick             2127 Red Oak Place                                           Danville        CA       94506          Contractor    3/28/2022     (1,526.26)
Anthony S. Erlick             2127 Red Oak Place                                           Danville        CA       94506          Contractor     4/7/2022     (7,000.00)
Anthony S. Erlick             2127 Red Oak Place                                           Danville        CA       94506          Contractor    4/21/2022     (3,500.00)
Anthony S. Erlick             2127 Red Oak Place                                           Danville        CA       94506          Contractor    4/27/2022     (3,500.00)
Anthony S. Erlick             2127 Red Oak Place                                           Danville        CA       94506          Contractor     5/5/2022     (1,268.00)
Anthony S. Erlick             2127 Red Oak Place                                           Danville        CA       94506          Contractor    5/12/2022     (3,500.00)
Anthony S. Erlick             2127 Red Oak Place                                           Danville        CA       94506          Contractor    5/27/2022     (3,500.00)
Anytime Fitness               11 Weir Drive, Woodbury                                      Woodburry       MN       55125          Other         3/29/2022     (4,437.09)
AT&T 415 345-1152 404 2       PO BOX 5025                                                  Carol Stream    IL       60197          Utility        4/5/2022       (754.71)
AT&T 415 345-1152 404 2       PO BOX 5025                                                  Carol Stream    IL       60197          Utility        5/5/2022       (754.13)
AT&T 415 345-1152 404 2       PO BOX 5025                                                  Carol Stream    IL       60197          Utility        6/6/2022       (753.85)
Avalara Inc                   Avalara Inc Avalara Inc Dept CH 16781                        Palatine        IL       60055          Technology    3/11/2022     (2,040.52)
Avalara Inc                   Avalara Inc Avalara Inc Dept CH 16781                        Palatine        IL       60055          Technology     4/8/2022     (2,040.52)
Avalara Inc                   Avalara Inc Avalara Inc Dept CH 16781                        Palatine        IL       60055          Technology    5/10/2022     (2,038.67)
Avant Marketing Group         Dynamic Web Source 1922 Prospector Avenue                    Park City       UT       84060          Marketing     3/23/2022    (16,452.79)
Avant Marketing Group         Dynamic Web Source 1922 Prospector Avenue                    Park City       UT       84060          Marketing      5/6/2022    (25,710.50)
Avant Marketing Group         Dynamic Web Source 1922 Prospector Avenue                    Park City       UT       84060          Marketing     5/31/2022     (4,554.45)
                              B2BGateway.Net Payment Processing Center PO
                                                                                           Hope Valley     RI      02832           Technology
B2BGateway.Net                Box 838                                                                                                            4/20/2022     (1,218.16)
Barr Editorial                1247 East Stone Ridge Drive                                  Flagstaff       AZ      86001         Marketing        4/4/2022        (87.50)
BellaCocool GmbH              18 Pettenkoferstraße                                         Berlin          BE      10247 Germany Marketing       5/12/2022       (329.84)
                              1810 Embarcadero Rd Suite 100 B, Palo Alto, CA
                                                                                           Palo Alto       CA      94303           Technology
Bill.com                      94303 US                                                                                                            4/1/2022         (69.93)
                              1810 Embarcadero Rd Suite 100 B, Palo Alto, CA
                                                                                           Palo Alto       CA      94303           Technology
Bill.com                      94303 US                                                                                                           4/27/2022       (274.74)
                              1810 Embarcadero Rd Suite 100 B, Palo Alto, CA
                                                                                           Palo Alto       CA      94303           Technology
Bill.com                      94303 US                                                                                                           5/27/2022       (169.83)
Bing Ads                      PO Box 847543                                                Dallas          TX      75284           Marketing     4/22/2022    (19,390.28)
Bing Ads                      PO Box 847543                                                Dallas          TX      75284           Marketing      5/6/2022    (22,682.43)
Bing Ads                      PO Box 847543                                                Dallas          TX      75284           Marketing      6/3/2022     (3,038.15)
                              Blue Banyan Solutions, Inc. 1569 Solano Ave.,
                                                                                           Berkeley        CA      94707           Consulting
Blue Banyan Solutions, Inc.   Suite 645                                                                                                           5/6/2022    (27,112.51)
                              Blue Banyan Solutions, Inc. 1569 Solano Ave.,
                                                                                           Berkeley        CA      94707           Consulting
Blue Banyan Solutions, Inc.   Suite 645                                                                                                           6/7/2022       (665.00)
Bongcaron, Glenna             463 Picasso Court, , CA 94592                                Vallejo         CA      94592           Employee       6/1/2022     (5,769.43)
Bourke, Timothy               1900 Sutter Street                             Unit 1        San Francisco   CA      94113           Employee       5/1/2022       (769.75)
Brand Amp LLC                 Brand Amp 1945 Placentia Avenue Bldg C                       Costa Mesa      CA      92627           Marketing     3/23/2022    (24,391.14)
Brand Amp LLC                 Brand Amp 1945 Placentia Avenue Bldg C                       Costa Mesa      CA      92627           Marketing     3/31/2022    (12,500.00)
Brand Amp LLC                 Brand Amp 1945 Placentia Avenue Bldg C                       Costa Mesa      CA      92627           Marketing      4/7/2022    (12,500.00)
Brand Amp LLC                 Brand Amp 1945 Placentia Avenue Bldg C                       Costa Mesa      CA      92627           Marketing     4/14/2022    (12,555.80)
Brand Amp LLC                 Brand Amp 1945 Placentia Avenue Bldg C                       Costa Mesa      CA      92627           Marketing     4/21/2022    (12,641.07)
Brand Amp LLC                 Brand Amp 1945 Placentia Avenue Bldg C                       Costa Mesa      CA      92627           Marketing     4/29/2022    (12,723.79)
Brand Amp LLC                 Brand Amp 1945 Placentia Avenue Bldg C                       Costa Mesa      CA      92627           Marketing      5/6/2022    (12,549.50)
Brand Amp LLC                 Brand Amp 1945 Placentia Avenue Bldg C                       Costa Mesa      CA      92627           Marketing     5/13/2022       (500.00)
Brand Amp LLC                 Brand Amp 1945 Placentia Avenue Bldg C                       Costa Mesa      CA      92627           Marketing     5/26/2022     (6,250.00)
Brand Amp LLC                 Brand Amp 1945 Placentia Avenue Bldg C                       Costa Mesa      CA      92627           Marketing      6/3/2022    (11,508.06)
Brand Amp LLC                 Brand Amp 1945 Placentia Avenue Bldg C                       Costa Mesa      CA      92627           Marketing      6/3/2022    (13,491.94)
Brandon R. Wagner             4731 N. Paseo Aquimuri                                       Tucson          AZ      85750           Contractor    3/29/2022     (3,000.00)
Bright Futures, Inc           5775 La Jolla Mesa Drive                                     La Jolla        CA      92037           Contractor    3/15/2022     (9,750.00)
Brightcove Inc.               292 Congress Street 4th Floor                                Boston          MA      02210           Technology    4/12/2022       (796.39)
Brightcove Inc.               292 Congress Street 4th Floor                                Boston          MA      02210           Technology    4/12/2022       (195.85)
Brightcove Inc.               292 Congress Street 4th Floor                                Boston          MA      02210           Technology     6/2/2022     (2,460.93)
                                                                             4316 Dos
                              4316 Dos Cabezas Dr                                          Austin          TN      78749           Contractor
Britny Fowler                                                                Cabezas Dr                                                          5/12/2022     (750.00)
Buy Box Experts               3020 N Cullen Ct. Pleasant                                   Grove           UT      84062           Consulting    3/28/2022  (54,993.42)
Buy Box Experts               3020 N Cullen Ct. Pleasant                                   Grove           UT      84062           Consulting    3/31/2022  (25,000.00)
Buy Box Experts               3020 N Cullen Ct. Pleasant                                   Grove           UT      84062           Consulting     4/7/2022  (25,000.00)
Buy Box Experts               3020 N Cullen Ct. Pleasant                                   Grove           UT      84062           Consulting    4/13/2022  (25,000.00)
Buy Box Experts               3020 N Cullen Ct. Pleasant                                   Grove           UT      84062           Consulting    4/21/2022  (30,000.00)
Buy Box Experts               3020 N Cullen Ct. Pleasant                                   Grove           UT      84062           Consulting    4/22/2022 (105,000.00)
Buy Box Experts               3020 N Cullen Ct. Pleasant                                   Grove           UT      84062           Consulting    4/29/2022  (25,000.00)
Buy Box Experts               3020 N Cullen Ct. Pleasant                                   Grove           UT      84062           Consulting     5/6/2022  (24,990.01)
Buy Box Experts               3020 N Cullen Ct. Pleasant                                   Grove           UT      84062           Consulting    5/12/2022  (25,000.00)
                              C.H. Robinson Worldwide Inc. & Subsidiaries PO                                      55480-
                                                                                           Minneapolis     MN                      Logistics
C.H. Robinson                 Box 9121                                                                              9121                         3/15/2022 (130,748.65)
                              C.H. Robinson Worldwide Inc. & Subsidiaries PO                                      55480-
                                                                                           Minneapolis     MN                      Logistics
C.H. Robinson                 Box 9121                                                                              9121                         5/20/2022     (5,000.00)
Camp6                         340 S. Lemon Avenue #5446N                                   Walnut Creek    CA      91789           Contractor     4/6/2022     (5,816.70)
Camp6                         340 S. Lemon Avenue #5446N                                   Walnut Creek    CA      91789           Contractor     5/5/2022    (11,818.62)
Canto Inc.                    340 S. Lemon Avenue #5446N                                   Walnut Creek    CA      91789           Technology    5/26/2022    (10,250.00)
Cedar Avenue Five             340 S. Lemon Avenue #5446N                                   Walnut Creek    CA      91789           Logistics      4/5/2022    (18,250.00)
Cedar Avenue Five             340 S. Lemon Avenue #5446N                                   Walnut Creek    CA      91789           Logistics      4/5/2022     (8,500.00)
Cedar Avenue Five             340 S. Lemon Avenue #5446N                                   Walnut Creek    CA      91789           Logistics      5/6/2022     (8,500.00)
Cedar Avenue Five             340 S. Lemon Avenue #5446N                                   Walnut Creek    CA      91789           Logistics     5/12/2022    (18,250.00)
Cedar Avenue Five             340 S. Lemon Avenue #5446N                                   Walnut Creek    CA      91789           Logistics      6/3/2022    (26,750.00)
       Case 8:22-bk-10949-SC                                    Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                      Desc
                                                               Main Document    Page 488 of 494


Chair Twenty, LLC                       2110 4th street Unit 19                                   Santa Monica    CA    90405   Marketing    3/14/2022    (1,200.00)
Chair Twenty, LLC                       2110 4th street Unit 19                                   Santa Monica    CA    90405   Marketing     4/7/2022    (2,287.50)
Comma8 LLC                              703 Pier Ave Ste B 632                                    Hermosa Beach   CA    90254   Marketing    3/14/2022   (20,000.00)
Comma8 LLC                              703 Pier Ave Ste B 632                                    Hermosa Beach   CA    90254   Marketing    3/28/2022   (20,000.00)
Comma8 LLC                              703 Pier Ave Ste B 632                                    Hermosa Beach   CA    90254   Marketing    4/14/2022   (50,000.00)
Comma8 LLC                              703 Pier Ave Ste B 632                                    Hermosa Beach   CA    90254   Marketing    4/21/2022    (3,556.52)
Comma8 LLC                              703 Pier Ave Ste B 632                                    Hermosa Beach   CA    90254   Marketing    5/27/2022   (25,000.00)
                                       Commerce Technologies, LLC 25736 Network                                        60673-
                                                                                                  Chicago         IL            Technology
CommerceHub                            Place                                                                             1257                3/17/2022      (456.50)
Concur Technologies                    621257 Collection Center Drive                             Chicago         IL    60693   Technology   5/16/2022    (2,068.47)
                                       4400 Northeast 77th Avenue Suite 300
                                                                                                  Vancouver       WA   98662    Inventory
Core Health & Fitness, LLC             Manufacturer Land America                                                                             3/14/2022   (50,000.00)
                                       4400 Northeast 77th Avenue Suite 300
                                                                                                  Vancouver       WA   98662    Inventory
Core Health & Fitness, LLC             Manufacturer Land America                                                                             3/18/2022   (50,000.00)
                                       4400 Northeast 77th Avenue Suite 300
                                                                                                  Vancouver       WA   98662    Inventory
Core Health & Fitness, LLC             Manufacturer Land America                                                                             3/28/2022   (50,000.00)
                                       4400 Northeast 77th Avenue Suite 300
                                                                                                  Vancouver       WA   98662    Inventory
Core Health & Fitness, LLC             Manufacturer Land America                                                                             3/31/2022   (50,000.00)
                                       4400 Northeast 77th Avenue Suite 300
                                                                                                  Vancouver       WA   98662    Inventory
Core Health & Fitness, LLC             Manufacturer Land America                                                                              4/7/2022   (50,000.00)
                                       4400 Northeast 77th Avenue Suite 300
                                                                                                  Vancouver       WA   98662    Inventory
Core Health & Fitness, LLC             Manufacturer Land America                                                                             4/13/2022   (50,000.00)
                                       4400 Northeast 77th Avenue Suite 300
                                                                                                  Vancouver       WA   98662    Inventory
Core Health & Fitness, LLC             Manufacturer Land America                                                                             4/21/2022   (50,005.29)
                                       4400 Northeast 77th Avenue Suite 300
                                                                                                  Vancouver       WA   98662    Inventory
Core Health & Fitness, LLC             Manufacturer Land America                                                                             4/29/2022   (49,999.52)
                                       4400 Northeast 77th Avenue Suite 300
                                                                                                  Vancouver       WA   98662    Inventory
Core Health & Fitness, LLC             Manufacturer Land America                                                                             4/29/2022   (25,168.47)
                                       4400 Northeast 77th Avenue Suite 300
                                                                                                  Vancouver       WA   98662    Inventory
Core Health & Fitness, LLC             Manufacturer Land America                                                                             5/12/2022   (50,000.00)
                                       4400 Northeast 77th Avenue Suite 300
                                                                                                  Vancouver       WA   98662    Inventory
Core Health & Fitness, LLC             Manufacturer Land America                                                                             5/20/2022   (50,000.00)
                                       4400 Northeast 77th Avenue Suite 300
                                                                                                  Vancouver       WA   98662    Inventory
Core Health & Fitness, LLC             Manufacturer Land America                                                                              6/3/2022   (50,000.00)
Coulie, Jason                          1222 Del Rey Ave                                           Modesto         CA    95350   Employee      4/4/2022       (42.66)
Coulie, Jason                          1222 Del Rey Ave                                           Modesto         CA    95350   Employee     4/14/2022    (3,289.50)
Culligan Water of Ontario              Culligan Water of Ontario 1925 Burgundy Pl                 Ontario         CA    91761   Utility      3/16/2022       (32.03)
Culligan Water of Ontario              Culligan Water of Ontario 1925 Burgundy Pl                 Ontario         CA    91761   Utility      4/18/2022       (32.03)
Culligan Water of Ontario              Culligan Water of Ontario 1925 Burgundy Pl                 Ontario         CA    91761   Utility      5/17/2022       (32.03)
Daniel Goldfarb                        400 East Stonewall Street                                  Charlotte       NC   228202   Contractor    4/7/2022      (375.00)
DigMEE Partners Inc                    3720 South Susan St. Suite 250                             Santa Ana       CA    92704   Consulting   4/14/2022   (10,000.00)
DigMEE Partners Inc                    3720 South Susan St. Suite 250                             Santa Ana       CA    92704   Consulting   4/21/2022   (10,000.00)
DigMEE Partners Inc                    3720 South Susan St. Suite 250                             Santa Ana       CA    92704   Consulting   4/29/2022   (14,000.00)
                                       Dirbos Inc. 27758 Santa Margarita Pkwy Suite
                                                                                                  Mission Viejo   CA   92691    Consulting
Dirbos Inc.                            366                                                                                                   3/14/2022   (19,550.00)
                                       Dirbos Inc. 27758 Santa Margarita Pkwy Suite
                                                                                                  Mission Viejo   CA   92691    Consulting
Dirbos Inc.                            366                                                                                                   3/22/2022   (22,500.00)
                                       Dirbos Inc. 27758 Santa Margarita Pkwy Suite
                                                                                                  Mission Viejo   CA   92691    Consulting
Dirbos Inc.                            366                                                                                                   3/28/2022   (20,656.25)
                                       Dirbos Inc. 27758 Santa Margarita Pkwy Suite
                                                                                                  Mission Viejo   CA   92691    Consulting
Dirbos Inc.                            366                                                                                                   3/31/2022   (15,000.00)
                                       Dirbos Inc. 27758 Santa Margarita Pkwy Suite
                                                                                                  Mission Viejo   CA   92691    Consulting
Dirbos Inc.                            366                                                                                                    4/7/2022   (40,250.00)
                                       Dirbos Inc. 27758 Santa Margarita Pkwy Suite
                                                                                                  Mission Viejo   CA   92691    Consulting
Dirbos Inc.                            366                                                                                                    4/7/2022   (17,575.00)
                                       Dirbos Inc. 27758 Santa Margarita Pkwy Suite
                                                                                                  Mission Viejo   CA   92691    Consulting
Dirbos Inc.                            366                                                                                                   4/14/2022   (15,000.00)
                                       Dirbos Inc. 27758 Santa Margarita Pkwy Suite
                                                                                                  Mission Viejo   CA   92691    Consulting
Dirbos Inc.                            366                                                                                                   4/21/2022   (15,000.00)
                                       Dirbos Inc. 27758 Santa Margarita Pkwy Suite
                                                                                                  Mission Viejo   CA   92691    Consulting
Dirbos Inc.                            366                                                                                                   4/26/2022   (29,662.50)
                                       Dirbos Inc. 27758 Santa Margarita Pkwy Suite
                                                                                                  Mission Viejo   CA   92691    Consulting
Dirbos Inc.                            366                                                                                                   4/28/2022   (25,000.00)
                                       Dirbos Inc. 27758 Santa Margarita Pkwy Suite
                                                                                                  Mission Viejo   CA   92691    Consulting
Dirbos Inc.                            366                                                                                                   5/12/2022   (50,000.00)
                                       Dirbos Inc. 27758 Santa Margarita Pkwy Suite
                                                                                                  Mission Viejo   CA   92691    Consulting
Dirbos Inc.                            366                                                                                                   5/19/2022   (25,375.00)
                                                                                                                       84003-
                                       772 East 930 South                                         American Fork   UT            Technology
Domo                                                                                                                     9773                 4/8/2022   (20,000.00)
                                                                                                                       84003-
                                       772 East 930 South                                         American Fork   UT            Technology
Domo                                                                                                                     9773                4/14/2022   (10,000.00)
                                                                                                                       84003-
                                       772 East 930 South                                         American Fork   UT            Technology
Domo                                                                                                                     9773                4/14/2022   (10,000.00)
                                       DPI Prepress International DPI 645 Mariposa
                                                                                                  San Francisco   CA   94107    Supplies
DPI - Digital Print Imaging            Street                                                                                                 4/6/2022     (314.00)
                                                                                                                       19103-
                                       30 South 17Th Street                                       Philadelphia    PA            Legal
Duane Morris LLP                                                                                                         4196                 6/3/2022   (60,000.00)
Duffle, Andrew                          818 Southwest Vista Avenue                     Portland    Portland       OR    97205   Employee      5/1/2022      (151.19)
Eat the Frog Fitness                    1567 Highlands DR NE STE 110 #185                         Issaquah        WA    98029   Marketing    3/29/2022    (3,650.58)
                                        Elite Forklift Service and Repairs Inc 11398
                                                                                                  Mira Loma       CA   91752    Logistics
Elite Forklift Service and Repairs Inc. Antigua Drive                                                                                         6/7/2022    (5,773.78)
Elite536                                5753 Highway 85 N                                         Crestview       FL   32536    Contractor   3/14/2022    (4,167.67)
Elite536                                5753 Highway 85 N                                         Crestview       FL   32536    Contractor   3/21/2022    (4,167.67)
Elite536                                5753 Highway 85 N                                         Crestview       FL   32536    Contractor   3/22/2022    (1,000.00)
Elite536                                5753 Highway 85 N                                         Crestview       FL   32536    Contractor   4/13/2022    (4,167.67)
Elite536                                5753 Highway 85 N                                         Crestview       FL   32536    Contractor   5/13/2022    (4,167.67)
Elliott, Brynne                         544 Wakerobin Lane                                        San Rafael      CA   94903    Employee      4/3/2022      (288.94)
Elliott, Brynne                         544 Wakerobin Lane                                        San Rafael      CA   94903    Employee      4/4/2022    (1,289.08)
Elliott, Brynne                         544 Wakerobin Lane                                        San Rafael      CA   94903    Employee     5/16/2022    (1,366.30)
Elliott, Brynne                         544 Wakerobin Lane                                        San Rafael      CA   94903    Employee     5/16/2022    (2,175.72)
Energia Fitness LLC                     1005 Wigwam Parkway Apt 4202                              Henderson       NV   89074    Marketing    3/15/2022      (500.00)
Energia Fitness LLC                     1005 Wigwam Parkway Apt 4202                              Henderson       NV   89074    Marketing    3/24/2022    (1,745.55)
Energia Fitness LLC                     1005 Wigwam Parkway Apt 4202                              Henderson       NV   89074    Marketing    3/29/2022    (2,250.00)
Energia Fitness LLC                     1005 Wigwam Parkway Apt 4202                              Henderson       NV   89074    Marketing    5/12/2022      (750.00)
Energia Fitness LLC                     1005 Wigwam Parkway Apt 4202                              Henderson       NV   89074    Marketing     6/7/2022      (750.00)
Equipment Services                      1005 Wigwam Parkway Apt 4202                              Henderson       NV   89074    Logistics    5/16/2022    (3,500.00)
                                                                                                                                Management
                                       450 Newport Center Drive, Suite 590                        Newport Beach   CA   92660
Equity 38, LLC                                                                                                                  Fee          4/22/2022    (8,880.93)
       Case 8:22-bk-10949-SC                            Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                       Desc
                                                       Main Document    Page 489 of 494


                                                                                                                         Management
                                  450 Newport Center Drive, Suite 590           Newport Beach   CA      92660
Equity 38, LLC                                                                                                           Fee          4/27/2022    (8,880.93)
                                                                                                                         Management
                                  450 Newport Center Drive, Suite 590           Newport Beach   CA      92660
Equity 38, LLC                                                                                                           Fee           6/3/2022   (8,880.93)
Erlick , Anthony S                2127 Red Oak Place                            Danville        CA      94506            Consulting    4/4/2022     (412.58)
Eve, Lawrence                     13640 Stonybrook Lane                         El Cajon        CA      92021            Employee     3/17/2022   (1,596.02)
Eve, Lawrence                     13640 Stonybrook Lane                         El Cajon        CA      92021            Employee     3/30/2022     (166.61)
Eve, Lawrence                     13640 Stonybrook Lane                         El Cajon        CA      92021            Employee     3/30/2022   (1,382.65)
Eve, Lawrence                     13640 Stonybrook Lane                         El Cajon        CA      92021            Employee     5/10/2022   (1,905.43)
Eve, Lawrence                     13640 Stonybrook Lane                         El Cajon        CA      92021            Employee     5/10/2022   (1,657.41)
Exemplar Design                   4680 Parkway Drive Suite 300                  Mason           OK      45040            Inventory    3/18/2022 (100,000.00)
                                                                                                       60055-
                                  Dept. CH 19775                                Palatine        IL                       Technology
Experticity                                                                                              9775                          5/6/2022  (40,437.89)
Facebook, Inc.                    15161 Collections Center Drive                Chicago         IL      60693            Marketing    5/12/2022 (193,304.76)
Facebook, Inc.                    15161 Collections Center Drive                Chicago         IL      60693            Marketing     6/3/2022  (40,926.62)
                                                                                                Cana     M5W
                                  Fedex Trade Networks Canada Box 916200        Toronto                       Canada     Logistics
Fedex Trade Networks Canada ACH                                                                 da        0E9                          4/4/2022    (8,664.74)
Ferrellgas, LP                    Ferrellgas, LP Ferrellgas, LP PO Box 173940   Denver          CO      80217            Utility      4/15/2022    (2,114.67)
Firmex Corp                       110 Spadina Avenue Suite 700                  Toronto         ON    M5V 2K4 Canada     Technology   3/29/2022    (3,500.00)
                                                                                                Singa         Singapor
                                  FIT Summit Pte. Ltd. 35b Boat Quay            Singapore              049824            Marketing
FIT Summit Pte. Ltd.                                                                            pore          e                       4/14/2022    (2,148.55)
FitLife Media LLC                 1001 Avenida Pico Suite C #523                San Clemente    CA      92673            Marketing     4/8/2022      (450.00)
FitnessExperts LLC                21238 Via Fiore                               Boca Raton      FL      33433            Marketing    3/30/2022      (875.00)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                         3/15/2022 (201,785.16)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                         3/28/2022   (25,000.00)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                         3/31/2022   (58,851.00)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                         3/31/2022   (82,166.16)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                         3/31/2022   (45,284.12)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                          4/7/2022   (26,802.92)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                         4/14/2022   (25,093.56)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                         4/21/2022   (22,803.47)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                         4/22/2022   (79,876.94)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                         4/29/2022   (25,188.64)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                          5/6/2022    (6,931.69)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                          5/6/2022    (5,962.36)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                          5/6/2022    (1,746.84)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                          5/6/2022    (3,524.24)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                          5/6/2022    (3,619.41)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                          5/6/2022    (3,008.77)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                          5/6/2022     (206.69)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                          5/6/2022     (495.53)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                          5/6/2022   (55,658.31)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                          5/6/2022   (17,055.70)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                          5/6/2022   (12,562.76)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                          5/6/2022   (15,776.71)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                          5/6/2022    (7,736.84)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                          5/6/2022   (11,454.65)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                          5/6/2022    (5,360.36)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                          5/6/2022    (3,067.14)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                         5/12/2022   (25,415.87)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                         5/19/2022   (25,121.13)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                         5/26/2022   (25,517.45)
                                                                                                       75320-
                                  P.O. Box 207244                               Dallas          TX                       Logistics
Flexport Inc                                                                                             7244                          6/3/2022   (25,000.00)
Foxsight                          655 West Irving Park Road                     Chicago         IL      60613            Marketing     4/7/2022    (1,475.00)
                                                                                                       94257-
                                  PO Box 942857                                 Sacramento      CA                       Tax
Franchise Tax Board                                                                                      0531                         3/23/2022    (3,300.00)
                                                                                                       94257-
                                  PO Box 942857                                 Sacramento      CA                       Tax
Franchise Tax Board                                                                                      0531                         3/23/2022    (2,500.00)
                                                                                                       94257-
                                  PO Box 942857                                 Sacramento      CA                       Tax
Franchise Tax Board                                                                                      0531                         3/23/2022     (800.00)
                                                                                                       94257-
                                  PO Box 942857                                 Sacramento      CA                       Tax
Franchise Tax Board                                                                                      0531                         3/23/2022    (1,000.00)
                                                                                                       94257-
                                  PO Box 942857                                 Sacramento      CA                       Tax
Franchise Tax Board                                                                                      0531                         3/23/2022     (800.00)
                                                                                                       94257-
                                  PO Box 942857                                 Sacramento      CA                       Tax
Franchise Tax Board                                                                                      0531                         3/23/2022     (800.00)
                                                                                                       94257-
                                  PO Box 942857                                 Sacramento      CA                       Tax
Franchise Tax Board                                                                                      0531                         3/23/2022     (800.00)
       Case 8:22-bk-10949-SC                               Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                              Desc
                                                          Main Document    Page 490 of 494


                                                                                                                 94257-
                                      PO Box 942857                                   Sacramento         CA                        Tax
Franchise Tax Board                                                                                                0531                         3/23/2022     (800.00)
                                                                                                                 94257-
                                      PO Box 942857                                   Sacramento         CA                        Tax
Franchise Tax Board                                                                                                0531                         3/24/2022      (800.00)
Freighthawk Xpress                  255 Madsen Drive                                  Bloomingdale       IL       60106            Logistics    3/31/2022    (7,099.61)
Freighthawk Xpress                  255 Madsen Drive                                  Bloomingdale       IL       60106            Logistics    5/25/2022    (3,075.00)
                                    Frontier Communications Corporation 401 Merritt
                                                                                      Norwalk            CT       6851             Utility
Frontier Communications Corporation 7                                                                                                            4/1/2022     (368.15)
                                    Frontier Communications Corporation 401 Merritt
                                                                                      Norwalk            CT       6851             Utility
Frontier Communications Corporation 7                                                                                                           4/19/2022     (368.15)
                                    Frontier Communications Corporation 401 Merritt
                                                                                      Norwalk            CT       6851             Utility
Frontier Communications Corporation 7                                                                                                           5/20/2022     (367.50)
Furey, Ellen                        2934 Las Olas Court                                Carlsbad          CA      92009             Employee     3/17/2022     (764.18)
Furey, Ellen                        2934 Las Olas Court                                Carlsbad          CA      92009             Employee      4/4/2022      (78.29)
Geoffrey P McCartney                1903 West George Street apt 1                     Chicago            IL      60657             Contractor   3/16/2022   (3,600.00)
Gingerpic, LLC                      126 Sycamore Avenue                               Larkspur           CA      94939             Marketing    4/14/2022  (10,000.00)
Gingerpic, LLC                      126 Sycamore Avenue                               Larkspur           CA      94939             Marketing     6/3/2022  (20,400.00)
Google                              P.O. Box 39000                                    San Francisco      CA      94139             Technology   3/29/2022 (112,069.82)
Google                              P.O. Box 39000                                    San Francisco      CA      94139             Technology    5/6/2022  (85,974.60)
Google                              P.O. Box 39000                                    San Francisco      CA      94139             Technology   5/26/2022  (32,526.15)
Google                              P.O. Box 39000                                    San Francisco      CA      94139             Technology   5/26/2022  (11,975.89)
Google                              P.O. Box 39000                                    San Francisco      CA      94139             Technology    6/3/2022  (50,000.00)
Google                              P.O. Box 39000                                    San Francisco      CA      94139             Technology    6/3/2022  (15,872.67)
Google Cloud GSuite                 1600 Amphitheatre Parkway                         Mountain View      CA      94043             Technology    4/5/2022   (3,863.17)
Google Cloud GSuite                 1600 Amphitheatre Parkway                         Mountain View      CA      94043             Technology    4/6/2022      (41.00)
Google Cloud GSuite                 1600 Amphitheatre Parkway                         Mountain View      CA      94043             Technology    5/6/2022      (41.00)
Google Cloud GSuite                 1600 Amphitheatre Parkway                         Mountain View      CA      94043             Technology    5/6/2022   (3,888.66)
Google Cloud GSuite                 1600 Amphitheatre Parkway                         Mountain View      CA      94043             Technology    6/6/2022   (3,892.06)
Green, Adam                         2139 Crosswind Drive                              Graham             NC      27253             Employee      4/3/2022   (1,211.11)
Green, Adam                         2139 Crosswind Drive                              Graham             NC      27253             Employee      4/4/2022   (2,288.61)
Green, Adam                         2139 Crosswind Drive                              Graham             NC      27253             Employee     5/10/2022   (1,618.84)
Green, Adam                         2139 Crosswind Drive                              Graham             NC      27253             Employee     5/16/2022     (760.89)
Guajardo, Jacob                     15 Little Rond Coutnry Rd                         Cumerband          RI       2864             Employee     5/16/2022   (1,629.10)
Guajardo, Jacob                     15 Little Rond Coutnry Rd                         Cumerband          RI       2864             Employee      6/1/2022   (1,443.89)
Guebara, Christopher                2022 W Willow Street                              Stockton           CA      95203             Employee     4/24/2022     (557.21)
Hoppes, John                        23737 W Bayview Rd                                Antioch            IL      60002             Employee     5/10/2022   (1,654.35)
Hoppes, John                        23737 W Bayview Rd                                Antioch            IL      60002             Employee     5/10/2022     (191.24)
Hubbard Functional Wellness LLC     1206 Apollo Road #850682                          Richardson         TX      75081             Marketing    5/12/2022     (800.00)
ID.me, Inc.                         8280 Greensboro Dr., Suite 800                    McLean             VA      22102             Technology   3/17/2022   (1,306.95)
ID.me, Inc.                         8280 Greensboro Dr., Suite 800                    McLean             VA      22102             Technology    5/6/2022   (6,424.30)
ID.me, Inc.                         8280 Greensboro Dr., Suite 800                    McLean             VA      22102             Technology    6/3/2022     (382.35)
Influx Inc                          Influx Inc 8605 Santa Monica Blvd                 West Hollywood     CA      90069             Marketing    5/31/2022   (3,800.00)
InspireThreeSixty LLC               10190 Telesis Court                               San Diego          CA      92121             Technology   3/29/2022  (18,352.00)
ISUPPORT WORLDWIDE LLC              1019 West James St                                Kent               WA      98032             Contractor   3/29/2022  (29,992.00)
ISUPPORT WORLDWIDE LLC              1019 West James St                                Kent               WA      98032             Contractor   5/12/2022  (32,259.02)
ISUPPORT WORLDWIDE LLC              1019 West James St                                Kent               WA      98032             Contractor    6/3/2022  (32,267.02)
                                                                                                         Nethe
                                                                                      Breguetlaan Oude                    Netherla
                                      JAS Forwarding (Netherlands) BV                                    rland    1438             Logistics
                                                                                      Meer                                nds
JAS Forwarding (Netherlands) BV                                                                          s                                      3/21/2022    (6,484.75)
                                                                                                         Nethe
                                                                                      Breguetlaan Oude                 Netherla
                                      JAS Forwarding (Netherlands) BV                                    rland    1438          Logistics
                                                                                      Meer                             nds
JAS Forwarding (Netherlands) BV                                                                          s                                      4/20/2022       (66.83)
                                                                                                         Nethe
                                                                                      Breguetlaan Oude                    Netherla
                                      JAS Forwarding (Netherlands) BV                                    rland    1438             Logistics
                                                                                      Meer                                nds
JAS Forwarding (Netherlands) BV                                                                          s                                      4/21/2022 (124,237.16)
                                                                                                         Nethe
                                                                                      Breguetlaan Oude                    Netherla
                                      JAS Forwarding (Netherlands) BV                                    rland    1438             Logistics
                                                                                      Meer                                nds
JAS Forwarding (Netherlands) BV                                                                          s                                      4/21/2022 (124,237.16)
                                                                                                         Nethe
                                                                                      Breguetlaan Oude                    Netherla
                                      JAS Forwarding (Netherlands) BV                                    rland    1438             Logistics
                                                                                      Meer                                nds
JAS Forwarding (Netherlands) BV                                                                          s                                       5/5/2022   (17,286.77)
                                                                                                         Nethe
                                                                                      Breguetlaan Oude                    Netherla
                                      JAS Forwarding (Netherlands) BV                                    rland    1438             Logistics
                                                                                      Meer                                nds
JAS Forwarding (Netherlands) BV                                                                          s                                       6/7/2022    (8,401.68)
                                                                                                                 75312-
                                      Jas Forwarding Inc. Dept 3570 PO Box 123570     Dallas             TX                        Logistics
JASF01                                                                                                             3570                          6/7/2022      (660.00)
Jordanna Eve Dworkin                  1367 Kansas Street                              San Francisco      CA       94107            Contractor   4/22/2022      (300.00)
Jordanna Eve Dworkin                  1367 Kansas Street                              San Francisco      CA       94107            Contractor   5/12/2022      (375.00)
Justin Russ                           5925 365th St. W #303                           Brandenton         FL       34120            Contractor   5/13/2022    (1,800.00)
Justin Russ                           5925 365th St. W #303                           Brandenton         FL       34120            Contractor    6/7/2022      (750.00)
Leonard, Kevin                        150 San Marin Drive                             Novato             CA       94945            Employee     3/17/2022    (1,150.79)
Leonard, Kevin                        150 San Marin Drive                             Novato             CA       94945            Employee      4/4/2022      (568.55)
Leonard, Kevin                        150 San Marin Drive                             Novato             CA       94945            Employee      4/4/2022      (927.71)
Leonard, Kevin                        150 San Marin Drive                             Novato             CA       94945            Employee     5/24/2022    (1,149.72)
Leonard, Kevin                        150 San Marin Drive                             Novato             CA       94945            Employee     5/24/2022    (1,206.57)
Levene, Neale, Bender, Yoo &
                                      2818 La Cienega Avenue                          Los Angeles        CA      90034             Bankruptcy
Golubchik L.L.P                                                                                                                                 5/23/2022   (10,000.00)
Levene, Neale, Bender, Yoo &
                                      2818 La Cienega Avenue                          Los Angeles        CA      90034             Bankruptcy
Golubchik L.L.P                                                                                                                                 5/31/2022   (10,000.00)
Levene, Neale, Bender, Yoo &
                                      2818 La Cienega Avenue                          Los Angeles        CA      90034             Bankruptcy
Golubchik L.L.P                                                                                                                                  6/1/2022   (30,000.00)
Levene, Neale, Bender, Yoo &
                                      2818 La Cienega Avenue                          Los Angeles        CA      90034             Bankruptcy
Golubchik L.L.P                                                                                                                                  6/2/2022   (60,000.00)
MAN Staffing, LLC                     550 East Del Amo Boulevard                      Carson             CA      90746             Logistics     4/7/2022   (21,152.43)
MAN Staffing, LLC                     550 East Del Amo Boulevard                      Carson             CA      90746             Logistics     4/7/2022    (3,848.00)
MAN Staffing, LLC                     550 East Del Amo Boulevard                      Carson             CA      90746             Logistics    4/13/2022   (24,889.45)
MAN Staffing, LLC                     550 East Del Amo Boulevard                      Carson             CA      90746             Logistics    4/21/2022   (25,000.00)
MAN Staffing, LLC                     550 East Del Amo Boulevard                      Carson             CA      90746             Logistics    4/29/2022   (25,554.70)
MAN Staffing, LLC                     550 East Del Amo Boulevard                      Carson             CA      90746             Logistics     5/6/2022   (25,000.00)
MAN Staffing, LLC                     550 East Del Amo Boulevard                      Carson             CA      90746             Logistics    5/12/2022   (25,000.00)
MAN Staffing, LLC                     550 East Del Amo Boulevard                      Carson             CA      90746             Logistics    5/19/2022   (25,000.00)
MAN Staffing, LLC                     550 East Del Amo Boulevard                      Carson             CA      90746             Logistics    5/26/2022   (25,315.50)
MAN Staffing, LLC                     550 East Del Amo Boulevard                      Carson             CA      90746             Logistics     6/3/2022   (15,000.00)
Martin, Madeline                      469 A Panoramic Highway                         Mill Valley        CA      94941             Employee     4/24/2022      (148.25)
Maximum Training Solutions, LLC       2650 S.Francis Drive                            Brookine           MO      65619             Marketing    5/12/2022    (1,250.00)
McCollister's Transportation Group,
                                      8 Terri Lane                                    Burlington         NJ      08016             Logistics
Inc                                                                                                                                             4/12/2022   (25,473.50)
McCollister's Transportation Group,
                                      8 Terri Lane                                    Burlington         NJ      08016             Logistics
Inc                                                                                                                                             4/14/2022   (10,040.00)
        Case 8:22-bk-10949-SC                                 Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                           Desc
                                                             Main Document    Page 491 of 494


McCollister's Transportation Group,
                                      8 Terri Lane                                     Burlington           NJ      08016          Logistics
Inc                                                                                                                                             4/21/2022    (4,075.00)
McCollister's Transportation Group,
                                      8 Terri Lane                                     Burlington           NJ      08016          Logistics
Inc                                                                                                                                             4/21/2022    (4,520.00)
McCollister's Transportation Group,
                                      8 Terri Lane                                     Burlington           NJ      08016          Logistics
Inc                                                                                                                                             4/21/2022    (3,120.00)
McCollister's Transportation Group,
                                      8 Terri Lane                                     Burlington           NJ      08016          Logistics
Inc                                                                                                                                             4/22/2022   (21,840.00)
McCollister's Transportation Group,
                                      8 Terri Lane                                     Burlington           NJ      08016          Logistics
Inc                                                                                                                                              5/6/2022   (25,000.00)
McCollister's Transportation Group,
                                      8 Terri Lane                                     Burlington           NJ      08016          Logistics
Inc                                                                                                                                             5/12/2022   (12,413.33)
McCollister's Transportation Group,
                                      8 Terri Lane                                     Burlington           NJ      08016          Logistics
Inc                                                                                                                                             5/19/2022   (12,580.00)
McCollister's Transportation Group,
                                      8 Terri Lane                                     Burlington           NJ      08016          Logistics
Inc                                                                                                                                             5/26/2022   (12,870.00)
McCollister's Transportation Group,
                                      8 Terri Lane                                     Burlington           NJ      08016          Logistics
Inc                                                                                                                                              6/2/2022   (12,526.00)
Meluch, Mike                          1508 Sawallow Street                             Naperville           IL      60565          Employee     3/17/2022      (883.60)
Meluch, Mike                          1508 Sawallow Street                             Naperville           IL      60565          Employee     4/24/2022    (1,210.54)
Meluch, Mike                          1508 Sawallow Street                             Naperville           IL      60565          Employee     5/24/2022    (1,380.19)
Metaproto, LLC                        10 Eustis St                                     Cambridge            MA      02140          Marketing    3/18/2022    (1,499.68)
Microsoft Corporation                 One Microsoft Way                                Redmond              WA      98052          Technology   4/11/2022    (1,236.00)
Microsoft Corporation                 One Microsoft Way                                Redmond              WA      98052          Technology    5/9/2022    (1,236.00)
Mimeo.com, Inc.                       3350 MIAC COVE                                   Memphis              TN      38118          Technology   3/17/2022       (55.31)
Mimeo.com, Inc.                       3350 MIAC COVE                                   Memphis              TN      38118          Technology   5/27/2022       (54.14)
                                                                                                                   55145-
                                      Mail Station 1765 800 Lone Oak Rd                St. Paul             MN                     Tax
Minnesota Dept of Revenue                                                                                            1765                       3/21/2022      (220.00)
Models Do Eat, LLC                    206 Kealakai Place                               Paia                 HI      96779          Marketing    4/22/2022    (3,750.00)
Models Do Eat, LLC                    206 Kealakai Place                               Paia                 HI      96779          Marketing    4/28/2022    (3,750.00)
Models Do Eat, LLC                    206 Kealakai Place                               Paia                 HI      96779          Marketing    5/12/2022    (3,750.00)
Models Do Eat, LLC                    206 Kealakai Place                               Paia                 HI      96779          Marketing    5/26/2022    (3,750.00)
Moo, Inc.                             14 Blackstone Valley Place                       Lincoln              RI      02865          Marketing    3/30/2022       (52.73)
Morrison & Foerster, LLP              425 Market Street                                San Francisco        CA      94105          Legal        5/31/2022   (10,700.00)
Moser, Aaron                          5225 Craftsman Drive                             Parker               CO      80134          Employee     4/10/2022    (1,240.40)
Movement Rx Physical                  5745 Kearny Villa Road Suite 113                 San Diego            CA      92123          Marketing    3/29/2022    (6,000.00)
Neile Maloney Hartman                 18 Great Road                                    Barrington           RI      02806          Contractor   4/14/2022   (10,231.75)
                                      NeoGrid North America, LLC 6750 North
                                                                                       Fort Lauderdale      FL      33309          Marketing
Neogrid                               Andrews Avenue                                                                                            3/23/2022     (939.40)
                                      NeoGrid North America, LLC 6750 North
                                                                                       Fort Lauderdale      FL      33309          Marketing
Neogrid                               Andrews Avenue                                                                                            4/26/2022      (666.67)
NetSuite Inc                          500 Oracle Parkway                               Redwood City         CA      94065          Technology    4/6/2022   (84,214.98)
                                      124 Belvedere Street                             San Rafael           CA      94901          Inventory
O'Neil Custom Bags & Embroidery Inc                                                                                                             4/11/2022    (4,933.50)
Outside Interactive, Inc.             5720 Flatiron Parkway                            Boulder              CO      80301          Marketing    3/30/2022    (6,500.00)
Outside Interactive, Inc.             5720 Flatiron Parkway                            Boulder              CO      80301          Marketing    3/30/2022    (3,500.00)
Paystand                              1800 Green Hills Road Suite 2000                 Scotts Valley        CA      95066          Technology    4/4/2022    (2,140.00)
Paystand                              1800 Green Hills Road Suite 2000                 Scotts Valley        CA      95066          Technology    5/2/2022    (2,140.00)
Paystand                              1800 Green Hills Road Suite 2000                 Scotts Valley        CA      95066          Technology    6/2/2022    (2,140.00)
Penn, Grayce                          2960 Champion Way Unit 2708                      Tustin               CA      92782          Contractor   3/13/2022    (1,009.37)
Penn, Grayce                          2960 Champion Way Unit 2708                      Tustin               CA      92782          Contractor    4/4/2022      (509.15)
                                                                                                                   75284-
                                      Priority 1 Inc. 1800 E Roosevelt                 Little Rock          AR                     Logistics
Priority 1 Inc.                                                                                                      0808                       4/12/2022     (529.67)
                                                                                                                   75284-
                                      Priority 1 Inc. 1800 E Roosevelt                 Little Rock          AR                     Logistics
Priority 1 Inc.                                                                                                      0808                       4/12/2022     (420.06)
                                                                                                                   75284-
                                      Priority 1 Inc. 1800 E Roosevelt                 Little Rock          AR                     Logistics
Priority 1 Inc.                                                                                                      0808                       4/12/2022     (376.03)
                                      ProPack Logistics Canada ULC CAD 7351                                 Cana
                                                                                       Delta, BC                 V4G 1C9 Canada    Logistics
ProPack CAD                           Vantage Way                                                           da                                  5/13/2022   (10,364.35)
                                                                                                                   63195-
                                      P. O. Box 959635                                 St. Louis            MO                     Marketing
Questex Media                                                                                                        9635                        5/5/2022   (14,040.00)
Quincy Williams                       401 W. Rich Street 205                           Columbus             OH      43215          Contractor    4/7/2022    (1,500.00)
Ralfs Upmanis EUR                     A. Caka 96-10                                    Riga                 Riga        0 Latvia   Other        3/29/2022      (113.55)
Ravins Business Services              Ravins Business Services 1750 4th St             Hood River           OR      97031          Consulting   4/22/2022    (2,500.00)
Ravins Business Services              Ravins Business Services 1750 4th St             Hood River           OR      97031          Consulting   4/29/2022    (2,500.00)
Ravins Business Services              Ravins Business Services 1750 4th St             Hood River           OR      97031          Consulting    5/5/2022    (2,500.00)
Ravins Business Services              Ravins Business Services 1750 4th St             Hood River           OR      97031          Consulting   5/12/2022    (2,500.00)
Ravins Business Services              Ravins Business Services 1750 4th St             Hood River           OR      97031          Consulting   5/19/2022    (2,500.00)
                                      CORPORATE CENTER ONE 5301
                                                                                       Austin               TX      78735          Legal
Registered Agent Solutions, Inc.      SOUTHWEST PKWY SUITE 400                                                                                   5/5/2022     (167.08)
                                      CORPORATE CENTER ONE 5301
                                                                                       Austin               TX      78735          Legal
Registered Agent Solutions, Inc.      SOUTHWEST PKWY SUITE 400                                                                                   5/5/2022     (750.00)
Renae McCloud                         9445 NE Coral Ct                                 Brainbridge Island   WA      98110          Contractor   3/29/2022     (750.00)
Renae McCloud                         9445 NE Coral Ct                                 Brainbridge Island   WA      98110          Contractor   5/12/2022     (750.00)
Renae McCloud                         9445 NE Coral Ct                                 Brainbridge Island   WA      98110          Contractor    6/7/2022     (750.00)
                                                                                                                   02940-
                                      Dept #88 PO Box 9702                             Providence           RI                     Tax
Rhode Island Division of Taxation                                                                                    9702                        4/4/2022     (400.00)
                                                                                                                   02940-
                                      Dept #88 PO Box 9702                             Providence           RI                     Tax
Rhode Island Division of Taxation                                                                                    9702                        4/4/2022     (400.00)
                                                                                                                   02940-
                                      Dept #88 PO Box 9702                             Providence           RI                     Tax
Rhode Island Division of Taxation                                                                                    9702                        4/5/2022     (400.00)
                                                                                                                   02940-
                                      Dept #88 PO Box 9702                             Providence           RI                     Tax
Rhode Island Division of Taxation                                                                                    9702                        4/5/2022     (400.00)
                                                                                                                   02940-
                                      Dept #88 PO Box 9702                             Providence           RI                     Tax
Rhode Island Division of Taxation                                                                                    9702                        4/5/2022     (400.00)
                                      Right Side Up, LLC 9901 Brodie Lane, Suite 160
                                                                                       Austin               TX      78748          Contractor
Right Side Up, LLC                    PMB515                                                                                                    3/10/2022    (4,760.00)
                                      Right Side Up, LLC 9901 Brodie Lane, Suite 160
                                                                                       Austin               TX      78748          Contractor
Right Side Up, LLC                    PMB515                                                                                                    4/14/2022   (11,200.00)
Robyn Hagan Cain                      Robyn Hagan Cain 1121 N 2nd St                   Nashville            TN      37207          Contractor   3/30/2022    (8,448.50)
Robyn Hagan Cain                      Robyn Hagan Cain 1121 N 2nd St                   Nashville            TN      37207          Contractor    5/6/2022    (8,972.00)
Robyn Hagan Cain                      Robyn Hagan Cain 1121 N 2nd St                   Nashville            TN      37207          Contractor   5/27/2022    (8,559.00)
Ryan Heft                             Ryan Heft 3600 Highway 31E                       Bethpage             TN      37022          Contractor   3/11/2022    (1,250.00)
Ryan Heft                             Ryan Heft 3600 Highway 31E                       Bethpage             TN      37022          Contractor    5/2/2022    (2,280.00)
Shana Verstegen                       1021 Seminole Hwy.                               Madison              WI      53711          Contractor   5/12/2022    (2,696.15)
Shana Verstegen                       1021 Seminole Hwy.                               Madison              WI      53711          Contractor    6/7/2022      (704.00)
Shute, Daryl                          14326 Willow Bend Park Apt 1.                    Town and Country     MO      63017          Employee      4/4/2022      (115.40)
Shute, Daryl                          14326 Willow Bend Park Apt 1.                    Town and Country     MO      63017          Employee     4/10/2022      (455.20)
Shute, Daryl                          14326 Willow Bend Park Apt 1.                    Town and Country     MO      63017          Employee     4/10/2022    (1,415.54)
       Case 8:22-bk-10949-SC                             Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                            Desc
                                                        Main Document    Page 492 of 494


Shute, Daryl                        14326 Willow Bend Park Apt 1.                 Town and Country   MO    63017               Employee     5/16/2022    (1,652.63)
Slack Technologies, Inc.            500 Howard St. 6th Floor                      San Francisco      CA    94105               Technology   3/30/2022   (35,994.62)
Southern California Edison          P.O. Box 300                                  Rosemead           CA    91772               Utility       4/1/2022      (588.96)
Southern California Edison          P.O. Box 300                                  Rosemead           CA    91772               Utility      4/19/2022      (552.50)
Southern California Edison          P.O. Box 300                                  Rosemead           CA    91772               Utility      5/18/2022      (723.01)
Spenga Holdings, LLC                13161 W 143rd St #103                         Homer Glen         IL    60491               Other         4/1/2022    (1,518.75)
SportingLife Pty. Ltd.              109 (B) Cecil Ave                             Castle Hill        NSW    2154   Australia   Contractor   3/14/2022   (10,300.00)
SportingLife Pty. Ltd.              109 (B) Cecil Ave                             Castle Hill        NSW    2154   Australia   Contractor   3/23/2022      (700.78)
SportingLife Pty. Ltd.              109 (B) Cecil Ave                             Castle Hill        NSW    2154   Australia   Contractor    4/1/2022   (12,287.23)
SportingLife Pty. Ltd.              109 (B) Cecil Ave                             Castle Hill        NSW    2154   Australia   Contractor    4/5/2022   (10,300.00)
SportingLife Pty. Ltd.              109 (B) Cecil Ave                             Castle Hill        NSW    2154   Australia   Contractor    4/7/2022    (1,132.03)
SportingLife Pty. Ltd.              109 (B) Cecil Ave                             Castle Hill        NSW    2154   Australia   Contractor    4/7/2022      (737.35)
SportingLife Pty. Ltd.              109 (B) Cecil Ave                             Castle Hill        NSW    2154   Australia   Contractor   4/26/2022   (10,300.00)
SportingLife Pty. Ltd.              109 (B) Cecil Ave                             Castle Hill        NSW    2154   Australia   Contractor    5/5/2022    (1,600.11)
SportingLife Pty. Ltd.              109 (B) Cecil Ave                             Castle Hill        NSW    2154   Australia   Contractor   5/27/2022    (1,613.05)
SportingLife Pty. Ltd.              109 (B) Cecil Ave                             Castle Hill        NSW    2154   Australia   Contractor   5/27/2022   (10,300.00)
SprintFWD LLC                       703 Pier Ave Ste B 632                        Hermosa Beach      CA    90254               Technology   3/31/2022   (20,000.00)
SprintFWD LLC                       703 Pier Ave Ste B 632                        Hermosa Beach      CA    90254               Technology    4/7/2022   (20,000.54)
SprintFWD LLC                       703 Pier Ave Ste B 632                        Hermosa Beach      CA    90254               Technology   4/22/2022   (27,000.00)
SprintFWD LLC                       703 Pier Ave Ste B 632                        Hermosa Beach      CA    90254               Technology   4/28/2022   (50,000.00)
SprintFWD LLC                       703 Pier Ave Ste B 632                        Hermosa Beach      CA    90254               Technology   5/11/2022   (50,000.00)
SprintFWD LLC                       703 Pier Ave Ste B 632                        Hermosa Beach      CA    90254               Technology   5/20/2022   (25,000.00)
SprintFWD LLC                       703 Pier Ave Ste B 632                        Hermosa Beach      CA    90254               Technology    6/3/2022   (25,000.00)
                                    SPS Commerce Inc 333 South Seventh Street,
                                                                                  Minneapolis        MN    55402               Legal
SPS Commerce Inc                    Suite 101                                                                                               4/18/2022   (12,068.75)
STAT07                              Michigan Department of Treasury               Lansing            MI    48922               Tax          3/22/2022    (7,000.00)
Stephen Gould Corporation           35 South Jefferson Road                       Whippany           NJ    07981               Inventory    3/14/2022   (10,000.00)
Stephen Gould Corporation           35 South Jefferson Road                       Whippany           NJ    07981               Inventory     4/1/2022    (2,030.40)
                                    Sunrise Nationwide USA Inc. 101 West Walnut
                                                                                  Gardena            CA    90248               Logistics
Sunrise Nationwide USA Inc.         Street Suite 129                                                                                        3/18/2022   (23,900.62)
                                    Sunrise Nationwide USA Inc. 101 West Walnut
                                                                                  Gardena            CA    90248               Logistics
Sunrise Nationwide USA Inc.         Street Suite 129                                                                                        5/13/2022   (10,000.00)
                                    Sunrise Nationwide USA Inc. 101 West Walnut
                                                                                  Gardena            CA    90248               Logistics
Sunrise Nationwide USA Inc.         Street Suite 129                                                                                         6/6/2022   (15,000.00)
Supervillain LLC                    811 Folger Avenue                             Berkeley           CA    94710               Marketing    3/14/2022    (1,100.00)
Susan Moore                         587 Island Blvd                               Fox Island         WA    98333               Contractor   3/29/2022      (435.00)
Systems Continuity                  Systems Continuity 21681 Cabrosa              Mission Viejo      CA    92691               Technology    4/1/2022    (9,550.00)
Systems Continuity                  Systems Continuity 21681 Cabrosa              Mission Viejo      CA    92691               Technology   4/28/2022   (24,350.00)
Syzygy Digital Marketing, Inc       41 Flatbush Avenue                            Brooklyn           NY    11217               Marketing    3/28/2022   (30,000.00)
Syzygy Digital Marketing, Inc       41 Flatbush Avenue                            Brooklyn           NY    11217               Marketing    5/12/2022   (10,000.00)
                                                                                                                   Netherla
                                    Schaapherderweg 24, 2988 CK Ridderkerk        Rotterdam                                    Logistics
Tigers International Logistics BV                                                                                  nds                       4/1/2022    (2,100.20)
                                                                                                                   Netherla
                                    Schaapherderweg 24, 2988 CK Ridderkerk        Rotterdam                                    Logistics
Tigers International Logistics BV                                                                                  nds                      4/11/2022   (30,634.61)
                                                                                                                   Netherla
                                    Schaapherderweg 24, 2988 CK Ridderkerk        Rotterdam                                    Logistics
Tigers International Logistics BV                                                                                  nds                      4/13/2022    (5,229.99)
                                                                                                                   Netherla
                                    Schaapherderweg 24, 2988 CK Ridderkerk        Rotterdam                                    Logistics
Tigers International Logistics BV                                                                                  nds                      5/19/2022   (50,885.03)
                                                                                                                   Netherla
                                    Schaapherderweg 24, 2988 CK Ridderkerk        Rotterdam                                    Logistics
Tigers International Logistics BV                                                                                  nds                      5/26/2022   (48,387.03)
                                                                                                                   Netherla
                                    Schaapherderweg 24, 2988 CK Ridderkerk        Rotterdam                                    Logistics
Tigers International Logistics BV                                                                                  nds                      5/26/2022       (67.03)
TMA Worldwide, Inc.                 TMA Worldwide Inc 4038 Aitken Dairy Road      Rocklin            CA     95677           Logistics       3/14/2022   (27,692.00)
TMA Worldwide, Inc.                 TMA Worldwide Inc 4038 Aitken Dairy Road      Rocklin            CA     95677           Logistics       3/18/2022   (22,517.54)
TMA Worldwide, Inc.                 TMA Worldwide Inc 4038 Aitken Dairy Road      Rocklin            CA     95677           Logistics       3/18/2022    (3,493.45)
TMA Worldwide, Inc.                 TMA Worldwide Inc 4038 Aitken Dairy Road      Rocklin            CA     95677           Logistics       3/28/2022   (12,888.11)
TMA Worldwide, Inc.                 TMA Worldwide Inc 4038 Aitken Dairy Road      Rocklin            CA     95677           Logistics        4/7/2022   (22,770.85)
TMA Worldwide, Inc.                 TMA Worldwide Inc 4038 Aitken Dairy Road      Rocklin            CA     95677           Logistics        4/7/2022    (2,362.62)
TMA Worldwide, Inc.                 TMA Worldwide Inc 4038 Aitken Dairy Road      Rocklin            CA     95677           Logistics       4/14/2022   (15,230.05)
TMA Worldwide, Inc.                 TMA Worldwide Inc 4038 Aitken Dairy Road      Rocklin            CA     95677           Logistics       4/22/2022   (15,605.04)
TMA Worldwide, Inc.                 TMA Worldwide Inc 4038 Aitken Dairy Road      Rocklin            CA     95677           Logistics       4/29/2022   (15,587.08)
TMA Worldwide, Inc.                 TMA Worldwide Inc 4038 Aitken Dairy Road      Rocklin            CA     95677           Logistics        5/6/2022   (15,116.78)
TMA Worldwide, Inc.                 TMA Worldwide Inc 4038 Aitken Dairy Road      Rocklin            CA     95677           Logistics       5/12/2022   (15,194.18)
TMA Worldwide, Inc.                 TMA Worldwide Inc 4038 Aitken Dairy Road      Rocklin            CA     95677           Logistics       5/19/2022   (15,185.80)
TMA Worldwide, Inc.                 TMA Worldwide Inc 4038 Aitken Dairy Road      Rocklin            CA     95677           Logistics       5/26/2022   (15,000.00)
TMA Worldwide, Inc.                 TMA Worldwide Inc 4038 Aitken Dairy Road      Rocklin            CA     95677           Logistics        6/3/2022   (15,000.00)
Twible, Grant                       109 (B) Cecil Ave                             Castle Hill        NSW     2154 Australia Contractor      4/24/2022      (890.82)
Twible, Grant                       109 (B) Cecil Ave                             Castle Hill        NSW     2154 Australia Contractor       6/1/2022    (1,862.87)
                                                                                                           60680-
                                    Uline Shipping Supplies PO Box 88741          Chicago            IL                     Supplies
Uline Shipping Supplies                                                                                      1741                            6/7/2022   (15,259.06)
Upwork                              441 Logue Ave. 2nd Floor                      Mountain View      CA     94043           Consulting       4/1/2022       (49.99)
Upwork                              441 Logue Ave. 2nd Floor                      Mountain View      CA     94043           Consulting      4/19/2022       (49.99)
                                                                                                           63197-
                                    PO BOX 979126                                 St. Louis          MO                     Logistics
US Customs and Border Protection                                                                             9000                           5/23/2022   (21,177.06)
                                                                                                           63197-
                                    PO BOX 979126                                 St. Louis          MO                     Logistics
US Customs and Border Protection                                                                             9000                           3/22/2022    (5,347.88)
                                                                                                           63197-
                                    PO BOX 979126                                 St. Louis          MO                     Logistics
US Customs and Border Protection                                                                             9000                           3/22/2022    (7,789.88)
                                                                                                           63197-
                                    PO BOX 979126                                 St. Louis          MO                     Logistics
US Customs and Border Protection                                                                             9000                           3/22/2022    (5,347.88)
                                                                                                           63197-
                                    PO BOX 979126                                 St. Louis          MO                     Logistics
US Customs and Border Protection                                                                             9000                           3/22/2022    (1,653.14)
                                                                                                           63197-
                                    PO BOX 979126                                 St. Louis          MO                     Logistics
US Customs and Border Protection                                                                             9000                           3/22/2022     (468.60)
                                                                                                           63197-
                                    PO BOX 979126                                 St. Louis          MO                     Logistics
US Customs and Border Protection                                                                             9000                           3/22/2022    (1,135.84)
                                                                                                           63197-
                                    PO BOX 979126                                 St. Louis          MO                     Logistics
US Customs and Border Protection                                                                             9000                           3/22/2022   (49,997.30)
                                                                                                           63197-
                                    PO BOX 979126                                 St. Louis          MO                     Logistics
US Customs and Border Protection                                                                             9000                           3/22/2022   (17,402.72)
                                                                                                           63197-
                                    PO BOX 979126                                 St. Louis          MO                     Logistics
US Customs and Border Protection                                                                             9000                           3/22/2022    (1,474.88)
                                                                                                           63197-
                                    PO BOX 979126                                 St. Louis          MO                     Logistics
US Customs and Border Protection                                                                             9000                           3/22/2022    (2,926.76)
                                                                                                           63197-
                                    PO BOX 979126                                 St. Louis          MO                     Logistics
US Customs and Border Protection                                                                             9000                           3/22/2022    (1,830.28)
                                                                                                           63197-
                                    PO BOX 979126                                 St. Louis          MO                     Logistics
US Customs and Border Protection                                                                             9000                           4/22/2022   (28,102.36)
      Case 8:22-bk-10949-SC                                 Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                             Desc
                                                           Main Document    Page 493 of 494


                                                                                                          63197-
                                     PO BOX 979126                                    St. Louis      MO            Logistics
US Customs and Border Protection                                                                            9000                4/22/2022   (20,002.68)
                                                                                                          63197-
                                     PO BOX 979126                                    St. Louis      MO            Logistics
US Customs and Border Protection                                                                            9000                4/22/2022   (11,850.67)
                                                                                                          63197-
                                     PO BOX 979126                                    St. Louis      MO            Logistics
US Customs and Border Protection                                                                            9000                4/22/2022    (5,972.67)
                                                                                                          63197-
                                     PO BOX 979126                                    St. Louis      MO            Logistics
US Customs and Border Protection                                                                            9000                4/22/2022    (4,128.58)
                                                                                                          63197-
                                     PO BOX 979126                                    St. Louis      MO            Logistics
US Customs and Border Protection                                                                            9000                4/22/2022    (3,855.77)
                                                                                                          63197-
                                     PO BOX 979126                                    St. Louis      MO            Logistics
US Customs and Border Protection                                                                            9000                4/22/2022     (974.59)
                                                                                                          63197-
                                     PO BOX 979126                                    St. Louis      MO            Logistics
US Customs and Border Protection                                                                            9000                4/22/2022    (3,829.63)
                                                                                                          63197-
                                     PO BOX 979126                                    St. Louis      MO            Logistics
US Customs and Border Protection                                                                            9000                4/22/2022    (3,736.22)
                                                                                                          63197-
                                     PO BOX 979126                                    St. Louis      MO            Logistics
US Customs and Border Protection                                                                            9000                5/23/2022   (52,691.88)
                                                                                                          63197-
                                     PO BOX 979126                                    St. Louis      MO            Logistics
US Customs and Border Protection                                                                            9000                5/23/2022   (19,719.69)
                                                                                                          63197-
                                     PO BOX 979126                                    St. Louis      MO            Logistics
US Customs and Border Protection                                                                            9000                5/23/2022   (11,119.71)
                                                                                                          63197-
                                     PO BOX 979126                                    St. Louis      MO            Logistics
US Customs and Border Protection                                                                            9000                5/23/2022    (9,984.46)
                                                                                                          63197-
                                     PO BOX 979126                                    St. Louis      MO            Logistics
US Customs and Border Protection                                                                            9000                5/23/2022    (7,391.74)
                                                                                                          63197-
                                     PO BOX 979126                                    St. Louis      MO            Logistics
US Customs and Border Protection                                                                            9000                5/23/2022    (6,176.30)
                                                                                                          63197-
                                     PO BOX 979126                                    St. Louis      MO            Logistics
US Customs and Border Protection                                                                            9000                5/23/2022    (3,529.31)
                                                                                                          63197-
                                     PO BOX 979126                                    St. Louis      MO            Logistics
US Customs and Border Protection                                                                            9000                5/23/2022    (3,517.23)
                                                                                                          63197-
                                     PO BOX 979126                                    St. Louis      MO            Logistics
US Customs and Border Protection                                                                            9000                5/23/2022    (1,935.07)
USA Global Logistics LLC             255 Madsen Drive                                 Bloomingdale   IL    60108   Logistics    3/17/2022   (35,155.00)
USA Global Logistics LLC             255 Madsen Drive                                 Bloomingdale   IL    60108   Logistics    3/18/2022   (29,188.00)
Verizon --442284108-00001            PO Box -- 489                                    Newark         NJ     7101   Utility       4/6/2022      (179.90)
Verizon --442284108-00001            PO Box -- 489                                    Newark         NJ     7101   Utility       5/4/2022      (179.87)
Verizon --442284108-00001            PO Box -- 489                                    Newark         NJ     7101   Utility       6/6/2022      (179.87)
Weaver, Brian                        13850 Azul Lane                                  Frisco         TX    75035   Employee      4/4/2022      (693.94)
Weaver, Brian                        13850 Azul Lane                                  Frisco         TX    75035   Employee     4/10/2022    (2,471.36)
Weaver, Brian                        13850 Azul Lane                                  Frisco         TX    75035   Employee     5/19/2022    (4,441.61)
Wholesale Pallets, Inc.              Wholesale Pallets, Inc. 142 S. San Antonio Ave   Pomona         CA    91766   Logistics    3/14/2022   (17,980.00)
Wholesale Pallets, Inc.              Wholesale Pallets, Inc. 142 S. San Antonio Ave   Pomona         CA    91766   Logistics    5/19/2022   (10,110.00)
Wholesale Pallets, Inc.              Wholesale Pallets, Inc. 142 S. San Antonio Ave   Pomona         CA    91766   Logistics    5/26/2022    (9,070.00)
Wholesale Pallets, Inc.              Wholesale Pallets, Inc. 142 S. San Antonio Ave   Pomona         CA    91766   Logistics     6/7/2022    (9,170.00)
Wilco Collective LLC                 Wilco Collective LLC 12 Pinckney Street          Greenville     SC    29601   Marketing    3/14/2022    (5,000.00)
Wistia, Inc.                         Wistia, Inc. 17 Tudor Street                     Cambridge      MA     2139   Marketing     4/5/2022      (512.25)
Wistia, Inc.                         Wistia, Inc. 17 Tudor Street                     Cambridge      MA     2139   Marketing     4/6/2022      (512.25)
Work Anytime Franchising Systems ,
                                     2325 Lakeview Parkway Suite 200                  Alpharetta     GA   30009    Technology
LLC                                                                                                                             3/25/2022    (5,000.00)
Wrike, Inc.                          70 North 2nd Street                              San Jose       CA   95113    Technology   4/21/2022    (4,093.35)
Yotpo Inc                            33 W 19th St. 5th floor                          New York       NY   10011    Marketing     6/3/2022    (8,868.00)
Zendesk                              Zendesk Zendesk Inc Dept CH 19895                Palatine       IL   60055    Technology   3/23/2022   (12,578.00)
                                     Zoom Video Communications, Inc PO Box
                                                                                      Los Angeles    CA   90088    Technology
Zoom Video Communications, Inc       888843 Suite 600                                                                           3/14/2022    (1,189.76)
                             Case 8:22-bk-10949-SC                   Doc 19 Filed 07/11/22 Entered 07/11/22 10:22:06                                      Desc
                                                                             SOFA ‐ EXHIBIT
                                                                    Main Document     Page4 494 of 494


SOFA Part 2, Question 4 ‐ Payments or transfers made within 1 year preceding commencement of this case to creditors who are or were insiders


      Insider Name              Address1              Address2         City    State      Zip        Relationship to Debtor Reasons for payment or transfer Dates of Payments    Amount Paid
                                                                                                                                                                    6/8/2021 ‐
Hetrick, Randal           269 Cleveland Ave                         Mill Valley CA        99941      Employee              Payroll                                    6/7/2022       $297,379
Fitness Anywhere UK       C/O TMF GROUP 8th      20 Farringdon                                       Debtor controlled     Fund operating expenses and
Limited                   floor                  Street             London     UK      EC4A 4AB      entity                payroll                                  1/24/2022        $117,718
Fitness Anywhere UK       C/O TMF GROUP 8th      20 Farringdon                                       Debtor controlled     Fund operating expenses and
Limited                   floor                  Street             London     UK      EC4A 4AB      entity                payroll                                 12/21/2021        $134,123
Fitness Anywhere UK       C/O TMF GROUP 8th      20 Farringdon                                       Debtor controlled     Fund operating expenses and
Limited                   floor                  Street             London     UK      EC4A 4AB      entity                payroll                                  12/8/2021        $116,229
Fitness Anywhere UK       C/O TMF GROUP 8th      20 Farringdon                                       Debtor controlled     Fund operating expenses and
Limited                   floor                  Street             London     UK      EC4A 4AB      entity                payroll                                 11/10/2021        $266,980
Fitness Anywhere UK       C/O TMF GROUP 8th      20 Farringdon                                       Debtor controlled     Fund operating expenses and
Limited                   floor                  Street             London     UK      EC4A 4AB      entity                payroll                                  9/30/2021        $275,229
Fitness Anywhere UK       C/O TMF GROUP 8th      20 Farringdon                                       Debtor controlled     Fund operating expenses and
Limited                   floor                  Street             London     UK      EC4A 4AB      entity                payroll                                  5/25/2022         $16,821
Fitness Anywhere UK       C/O TMF GROUP 8th      20 Farringdon                                       Debtor controlled     Fund operating expenses and
Limited                   floor                  Street             London     UK      EC4A 4AB      entity                payroll                                  4/28/2022         $21,223
Fitness Anywhere UK       C/O TMF GROUP 8th      20 Farringdon                                       Debtor controlled     Fund operating expenses and
Limited                   floor                  Street             London     UK      EC4A 4AB      entity                payroll                                  8/27/2021        $139,899




                                                                                                1 of 1
